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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,       §
      Plaintiffs,                         §
                                          §   Consolidated Case No. 5:21-cv-844-XR
v.                                        §
                                          §
GREGORY W. ABBOTT, et al.,                §
     Defendants.                          §



       Documents Produced with State Defendants’ Initial Disclosures
                          November 5, 2021


           Copy Filed with the Court November 15, 2021 (ECF 112)

                                   Senate Bill 1
                              Legislative Session: 87
                              Second Special Session

                                      Part VIII
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Date: November 15, 2021                        Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on November 15, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
                                              PATRICK K. SWEETEN
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HOUSE                                                                      SB 1 (2nd reading)
RESEARCH                                                            Hughes (Murr, et al.), et al.
ORGANIZATION bill analysis              8/26/2021                         (CSSB 1 by Ashby)

SUBJECT:          Revising election laws, modifying offenses and criminal penalties

COMMITTEE:        Constitutional Rights and Remedies, Select — committee substitute
                  recommended

VOTE:             9 ayes — Ashby, Clardy, Geren, Jetton, Klick, Landgraf, Lozano,
                  Shaheen, White

                  5 nays — S. Thompson, Bucy, A. Johnson, Longoria, Moody

                  1 absent — Neave

SENATE VOTE:      On final passage, August 12 — 18-11 (Alvarado, Blanco, Eckhardt,
                  Gutierrez, Hinojosa, Johnson, Lucio, Powell, West, Whitmire, Zaffirini)

WITNESSES:        For — Robert Jacoby, Dallas County Republican Party Election Integrity
                  Committee; Wesley Bowen, DCRP Election Integrity Committee; Shawn
                  Flanagan, Election Integrity Project of Nueces County; Paul Hodson,
                  Grassroots Gold; Alan Vera, Harris County Republican Party Ballot
                  Security Committee; Sheena Rodriguez, Latinos for America First and
                  Texans Against Illegal Immigration; Anne Robinson, Paralyzed Veterans
                  of America; Donald Garner, Texas Faith and Freedom Coalition; Robert
                  L. Green, Travis County Republican Party Election Integrity Committee;
                  Kathleen Ocker, We the People Liberty in Action; and 23 individuals;
                  (Registered, but did not testify: Kathryn Rightmyer, Charles Simmons,
                  Inda Simmons, Craig Weisman, and Wesley Whisenhunt, Grassroots
                  Gold; Carrie Simmons, Opportunity Solutions Project; Chuck DeVore and
                  Chad Ennis, Texas Public Policy Foundation; Jonathan Covey, Texas
                  Values Action; and 15 individuals)

                  Against — Roy Sanchez, AFSCME HOPE Local 123; David Weinberg,
                  Brennan Center for Justice; Chase Bearden, Coalition of Texans with
                  Disabilities; Stephanie Gomez and Katya Ehresman, Common Cause
                  Texas; Jeff Miller, Disability Rights Texas; Luis Figueroa, Every Texan;
                  Cinde Weatherby, League of Women Voters of Texas; Rene Perez,
                  Libertarian Party of Texas; Cyrus Reed and Craig Nazor, Lone Star
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                 Chapter, Sierra Club; Adrian Shelley, Public Citizen; Bob Kafka, REV
                 UP Texas and ADAPT of Texas; David Billings, Stand Up Republic
                 Texas; Rene Lara, Texas AFL-CIO; James Slattery, Texas Civil Rights
                 Project; Rose Clouston, Texas Democratic Party; Courtney Pugh, The Arc
                 of Texas; and 14 individuals; (Registered, but did not testify: Matt
                 Simpson, ACLU of Texas; Lauren Guild, AFSCME San Antonio Local
                 2021, Harris County Local 1550, HOPE Local 123, Austin/Travis County
                 Local 1624, and El Paso Local 59; Melissa Shannon, Bexar County
                 Commissioners Court; Dionna Hardin, Black Voters Matter; Maggie
                 Stern, Children's Defense Fund Texas; Brie Franco, City of Austin;
                 Christine Wright, City of San Antonio; Charles Reed, Dallas County
                 Commissioners Court; Lisa Flores, Easterseals Central Texas; John
                 Espinosa, Greater Austin Hispanic Chamber of Commerce; Paul Sugg,
                 Harris County Commissioners Court; Sam Derheimer, Hart InterCivic;
                 Jeffrey Clemmons, Huston-Tillotson NAACP, Texas Rising, and Austin
                 College Student Commission; Fatima Menendez, MALDEF; Alison Mohr
                 Boleware, National Association of Social Workers Texas Chapter; Dena
                 Donaldson, Texas American Federation of Teachers; Brandon Bradley,
                 Texas College Democrats; Carisa Lopez, Texas Freedom Network;
                 Beaman Floyd, Texas Impact; Nicholas Basha, Ric Galvan, and Isabel
                 Herrera, Texas Rising; Thomas Kennedy, Texas State Building Trades;
                 Laura Atlas Kravitz, Texas State Teachers Association; Alex Cogan, The
                 Arc of Texas; Julie Wheeler, Travis County Commissioners Court;
                 Stephanie Gharakhanian, Workers Defense Action Fund; and 28
                 individuals)

                 On — Jennifer Carey, Erath County and Tax Assessor Collectors
                 Association of Texas; Michelle Mostert, Grassroots Gold; Russell
                 Schaffner, Tarrant County; Keith Ingram, Texas Secretary of State; Laura
                 Pressley, True Texas Elections LLC; Marcia Strickler, Wilco We The
                 People; Cynthia Brehm; Lynn Foster; Cathy Jaster; James Keller;
                 (Registered, but did not testify: Jonathan White, Office of the Attorney
                 General; Thomas Parkinson)

DIGEST:          CSSB 1 would establish the Election Integrity Protection Act of 2021. The
                 bill would modify statutes on voter registration, the conduct and security
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       of elections, poll watchers and election officers, early voting by mail, the
       assistance of voters, election fraud and voter interference offenses,
       election-related court proceedings, and ineligible voters, among other
       provisions.

       Legislative intent. CSSB 1 would establish the intent of the Legislature
       that the application of the Election Code and the conduct of elections be
       uniform and consistent throughout the state to reduce the likelihood of
       fraud in the conduct of elections, protect the secrecy of the ballot, promote
       voter access, and ensure that all legally cast ballots are counted.

       The bill would require election officials and other public officials to
       strictly construe the provisions of the Election Code to effect this intent.

       Voter registration. CSSB 1 would amend requirements related to voter
       registration applications, moving a voter's registration information to a
       new county of residence, and the provision of notice of unlawful
       registration.

       Supplying information for registration application. Under CSSB 1, certain
       information required to be included as part of a voter registration
       application would have to be supplied by the person desiring to register to
       vote.

       Registration in new county. The bill would remove a requirement that a
       voter continue to reside in the county in which the voter was registered in
       order to correct certain registration information digitally.

       If the notice of change in registration information indicated that a voter no
       longer resided in the county in which the voter was registered, the
       registrar would have to forward the notice and the voter's original voter
       registration application to the registrar of the county in which the voter
       resided. The registrars would be required to coordinate to ensure that the
       voter’s existing registration was canceled immediately after the voter was
       registered in the voter’s county of residence.
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       A registrar who received a voter’s notice and application from another
       registrar would have to treat it as an original application and register the
       voter if the voter resided in the county and was otherwise eligible.

       Notice of unlawful registration. If the registrar determined that a person
       who was not eligible to vote had either registered to vote or had voted in
       an election, the registrar would have to execute and deliver to the attorney
       general, the secretary of state, and the county or district attorney having
       jurisdiction an affidavit stating the relevant facts.

       Conduct and security of elections. CSSB 1 would amend provisions
       related to voting from a motor vehicle, early voting hours, and polling
       place location selection, among others.

       Voting from vehicle. The bill would prohibit a voter from casting a vote
       from inside a motor vehicle unless the voter was physically unable to
       enter the polling place without personal assistance or likelihood of
       injuring the voter's health.

       Early voting hours. In an election in which a county clerk was the early
       voting clerk, early voting by personal appearance at the main early voting
       polling place would have to be conducted on each weekday of the early
       voting period that was not a legal state holiday and for a period of at least
       nine hours, except that voting could not be conducted earlier than 6 a.m.
       or later than 10 p.m.

       In an election to which the above did not apply, early voting by personal
       appearance at the main early voting polling place would have to be
       conducted for at least nine, rather than eight, hours each weekday of the
       early voting period. If the territory covered by the election had fewer than
       1,000 registered voters, the voting would have to be conducted at least
       four, rather than three, hours each day.

       The bill would reduce from 100,000 to 55,000 the population threshold
       for counties in which early voting in a primary or general election for state
       and county officers had to be conducted at the main early voting place for
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       at least 12 hours on each weekday of the last week of the early voting
       period. The bill also would prohibit such voting from being conducted
       earlier than 6 a.m. or later than 10 p.m. The bill also would remove certain
       provisions on early voting hours in elections ordered by a city.

       During early voting, a voter who had not voted before the scheduled time
       for closing a polling place would be entitled to vote after that time if the
       voter was in line at the polling place by closing time. The secretary of
       state would be required to promulgate any materials and provide any
       training to presiding judges necessary to properly process such voters.

       Straight party selection. CSSB 1 would prohibit voting system ballots
       from being arranged in a manner that allowed a political party's candidates
       to be selected in one motion or gesture.

       Polling place. The bill would specify that in a countywide election in
       which the county clerk was the early voting clerk, an early voting polling
       place would have to be located inside, rather than at, each branch office. If
       a suitable room was unavailable inside the office, the polling place could
       be located in another room inside the same building as the branch office.

       Temporary branch polling places. Temporary branch early voting polling
       places could not be located in a movable structure in the general election
       for state and county officers, general primary election, or runoff primary
       election.

       Notwithstanding other provisions related to the location of temporary
       branch polling places, in an election in which countywide polling places
       were used, the commissioners court of a county would have to employ the
       same methodology it used to determine the location of countywide polling
       places to determine the location of temporary branch polling places.

       Unopposed candidates. On receipt of a certification of a candidate’s
       unopposed status, the governing body of a political subdivision would be
       required, rather than allowed, to declare each unopposed candidate elected
       to office. The certifying authority also would be required, rather than
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       allowed, to declare a candidate elected to a state or county office if, were
       the election held, only the votes cast for that candidate could be counted.

       Closing polling place. The secretary of state would be required to adopt
       rules and create a checklist or similar guidelines to assist the presiding
       judge of a polling place in processing forms and conducting procedures
       required by the Election Code at the closing of polling place.

       Election officers and observers. The bill would specify that the purpose
       of Election Code ch. 33 was to preserve the integrity of the ballot box in
       accordance with Tex. Const. Art. 4, sec. 4, by providing for the
       appointment of watchers, and it would establish as the intent of the
       Legislature that watchers accepted for service be allowed to observe and
       report on irregularities in the conduct of any election. A watcher
       appointed under ch. 33 would have to observe without obstructing the
       conduct of an election and call to the attention of an election officer any
       observed or suspected irregularity or violation of law in the conduct of the
       election.

       Watcher acceptance and removal. It would be a class B misdemeanor (up
       to 180 days in jail and/or a maximum fine of $2,000) for an election
       officer to intentionally or knowingly refuse to accept a watcher for service
       when acceptance of the watcher was required by statute.

       Before accepting a watcher, the officer presented with a watcher’s
       certificate of appointment would have to require the watcher to take an
       oath attesting that the watcher would not disrupt the voting process or
       harass voters in the discharge of the watcher's duties.

       CSSB 1 would prohibit a presiding judge from having a watcher duly
       accepted for service removed from a polling place for a violation of the
       Election Code, the Penal Code, or any other provision of law relating to
       the conduct of elections unless the violation was observed by an election
       judge or clerk after the watcher was previously warned that the watcher’s
       conduct violated the law. A presiding judge could call a law enforcement
       officer to request that a poll watcher be removed if the watcher committed
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       a breach of the peace or a violation of law.

       Watcher rights. Under the bill, a watcher entitled to observe an election
       activity could sit or stand near enough to see and hear election officers
       conducting the observed activity, unless otherwise prohibited by law. A
       watcher could not be denied free movement where election activity was
       occurring within the location at which the watcher was serving, except
       that a watcher could not be present at a voting station when a voter was
       preparing a ballot or being assisted by a person of the voter's choice.

       Observing data storage sealing and transfer. A watcher appointed to
       serve at a polling place in an election would be entitled to observe all
       election activities relating to the closing of the polling place, including the
       sealing and transfer of a storage device used by the voting system
       equipment. A watcher duly accepted for service would be entitled to
       follow the transfer of election materials from the polling place to the
       location designated for processing election materials. The authority
       responsible for administering such a location would be required to accept
       watchers in the same manner and number as watchers are accepted for
       service at a polling place.

       Offense of obstructing watcher view. The current offense of unlawfully
       obstructing a watcher, a class A misdemeanor (up to one year in jail
       and/or a maximum fine of $4,000), would be revised so that a person
       would have committed an offense if the person served in an official
       capacity at a location at which the presence of watchers was authorized
       and knowingly prevented a watcher from observing an activity or
       procedure the person knew the watcher was entitled to observe, including
       by taking any action to obstruct the view of a watcher or distance the
       watcher from the activity or procedure in a manner that made observation
       not reasonably effective.

       Relief. The appointing authority for a watcher who believed that the
       watcher was unlawfully prevented or obstructed from performing the
       watcher’s duties could seek injunctive relief, including issuance of
       temporary orders, a writ of mandamus, or any other remedy available
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       under law. The secretary of state also could seek such relief if the
       secretary believed that a state inspector was unlawfully prevented or
       obstructed from the performance of the inspector’s duties.

       Voting system logic and accuracy test. For logic and accuracy tests of
       voting systems conducted for an election in which a county election board
       had been established, the bill would require the general custodian of
       election records to notify each member of the board of the test at least 48
       hours before the test date. If the board chose to witness the test, each
       member would have to sign the statement required under current statute.

       In addition to other current statutory test requirements, a logic and
       accuracy test conducted under the bill also would have to require the
       general custodian of election records to demonstrate, using a
       representative sample of voting system equipment, that the source code of
       the equipment had not been altered.

       Voting by mail. The bill would create requirements for the in-person
       delivery of early voting by mail ballots, revise requirements for
       applications to vote early by mail, expand criteria for acceptance of mail
       ballots, specify requirements for carrier envelopes, and provide a
       procedure for voters to correct defects in mail ballots, among other
       provisions.

       In-person ballot delivery. CSSB 1 would require an in-person delivery of
       a marked mail ballot voted early to be received by an election official at
       the time of delivery. The receiving official would have to record the
       voter’s name, signature, and type of identification provided on a roster
       prescribed by the secretary of state. The receiving official would have to
       attest on the roster that the delivery complied with the requirements for
       the return of marked early voting ballots.

       Application to vote early by mail. Under CSSB 1, an application for an
       early voting ballot to be voted by mail would have to be submitted in
       writing and signed by the applicant using ink on paper.
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       The bill also would amend application requirements under current statute
       so that early voting ballot applications had to include:

           the number of the applicant’s driver’s license or personal
            identification card issued by the Department of Public Safety
            (DPS);
           if the applicant had not been issued a driver’s license or personal
            identification number, the last four digits of the applicant’s Social
            Security number; or
           a statement by the applicant that the applicant had not been issued
            an identification number or a Social Security number.

       An early voting clerk would have to reject an application to vote early by
       mail if the required identification information did not match the
       information on the applicant’s voter registration application.

       A person could use the number of a driver’s license or personal ID card
       that had expired for the purpose of fulfilling these application
       requirements if the license or identification was otherwise valid.

       Criteria for ballot acceptance. The bill also would add a requirement to
       existing requirements for the acceptance of ballots voted by mail. Under
       CSSB 1, a mail ballot could be accepted only if the identifying
       information the voter was required to provide on the voter's application to
       vote early by mail matched the information on the voter's application for
       voter registration.

       To determine whether the signatures on the ballot application or envelope
       were those of the voter, the early voting ballot board would have to
       request from DPS any signature of the voter’s on file with the department
       and compare the voter's signatures on the ballot application and the carrier
       envelope certificate with any signature provided. The board also could
       compare the signatures with any known signature of the voter on file with
       the county clerk or voter registrar, rather than with two or more signatures
       of the voter made within the preceding six years as under current law.
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       Storage of returned ballots. CSSB 1 would specify that if the return of a
       marked early voting ballot was not timely, the early voting clerk would
       have to retain the return in a locked container for the period specified
       under current law.

       Tabulation of ballots voted by mail. Ballots voted early by mail would
       have to be tabulated and stored separately from the ballots voted by
       personal appearance and be separately reported on the returns.

       Carrier envelopes. The carrier envelope of a mail ballot would have to
       include a space hidden from view when the envelope was sealed for the
       voter to enter the required ID number or statement. No record associating
       an individual voter with a ballot could be created. A signature verification
       committee could compare the signatures on a carrier envelope certificate,
       except those signed for a voter by a witness, with any known signature of
       the voter on file with the county clerk or voter registrar, rather than two or
       more signatures of the voter made within the preceding six years as under
       current law.

       Correcting defect in early voting ballot. CSSB 1 would require a signature
       verification committee or early voting ballot board, by the second
       business day after discovering certain defects in ballots voted early by
       mail and before deciding whether to accept or reject a timely delivered
       ballot, to:

           return the carrier envelope to the voter by mail, if the committee or
            board determined that it would be possible to correct the defect and
            return the envelope before the polls closed on election day; or
           notify the voter of the defect by telephone or email and inform the
            voter that the voter could request to have the application to vote by
            mail canceled or come to the early voting clerk’s office in person
            by the sixth day after election day to correct the defect.

       These provisions would apply to an early voting ballot voted by mail for
       which the voter did not sign the carrier envelope certificate, for which it
       could not immediately be determined whether the signature on the carrier
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       envelope certificate was that of the voter, that was missing any required
       statement of residence, or that contained incomplete information with
       respect to a witness.

       If a committee or board notified a voter of a defect by telephone or email
       and informed the voter of the means of correcting the defect, the
       committee or board would have to take such action with respect to each
       ballot in the election to which these provisions applied. A poll watcher
       would be entitled to observe any action taken.

       A ballot could not be finally rejected for failing to comply with certain
       requirements for the acceptance of mail ballots before the seventh day
       after election day.

       Electronic records and notes. Electronic records of applications to vote by
       mail, envelopes, and ballots made by an early voting clerk would have to
       record both sides of the application, envelope, or ballot recorded. All such
       records would have to be provided to the early voting ballot board, the
       signature verification committee, or both.

       Each member of an early voting ballot board and each member of a
       signature verification committee would be entitled to take and keep any
       notes reasonably necessary to perform the member’s duties related to
       processing early voting results.

       Voter assistance. Under CSSB 1, a voter would be eligible to receive
       assistance in reading, in addition to marking, a ballot if the voter could not
       read the ballot because of a physical disability that rendered the voter
       unable to write or see or an inability to read to the language in which the
       ballot was written.

       Submission of form by assistant. The bill would require a person, other
       than an election officer, who assisted a voter in preparing a ballot to
       complete a form stating:

           the name and address of the person assisting the voter;
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           the person's relationship to the voter; and
           whether the person received or accepted any form of compensation
            or other benefit from a candidate, campaign, or political committee.

       The secretary of state would have to prescribe the required assistance
       form. The form would have to be incorporated into the official carrier
       envelope if the voter was voting early by mail and received assistance. If
       the voter was voting at a polling place or curbside, the form would have to
       be submitted to an election officer at the time the voter cast a ballot.

       Oath. CSSB 1 would require a person, other than an election officer,
       selected to provide assistance to a voter to take the required oath under
       penalty of perjury. The bill would amend the required oath by adding
       statements that the assistant would have to swear to or affirm, including:

           the voter being assisted represented themselves to the assistant as
            eligible to receive assistance because of a physical disability that
            rendered the voter unable to write or see or an inability to read the
            language in which the ballot was written;
           the assistant would confine the assistance to reading the ballot to
            the voter, directing the voter to read the ballot, marking the voter’s
            ballot, or directing the voter to mark the ballot;
           the assistant did not pressure or coerce the voter into choosing the
            assistant;
           the assistant would not communicate information about how the
            voter voted to another person; and
           the assistant understood that if assistance was provided to a voter
            who was not eligible for assistance, the voter’s ballot could not be
            counted.

       Carrier envelope information. A person assisting a voter to prepare a
       ballot to be voted by mail would have to enter on the official carrier
       envelope of the voter the relationship of the person providing the
       assistance to the voter and whether the person received or accepted any
       form of compensation or other benefit from a candidate, campaign, or
       political committee in exchange for providing assistance, in addition to
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       other information required by current statute.

       The bill would specify that the current state-jail felony offense (180 days
       to two years in a state jail and an optional fine of up to $10,000) of
       knowingly failing to comply with the carrier envelope marking
       requirements would not apply if a person was related to the voter within
       the second degree by affinity or the third degree by consanguinity or if the
       voter was a person with a disability being assisted by a previously known
       attendant or caregiver.

       Offense of voter assistance compensation. The bill would make it a state-
       jail felony to offer to compensate another person to assist voters or solicit
       or receive compensation for such assistance. The offense would not apply
       if the person assisting a voter was an attendant or caregiver previously
       known to the voter. The bill would remove references to performance-
       based compensation schemes and assistance-dependent compensation
       from the conduct constituting this offense.

       Election fraud. The bill would create new offenses and revise existing
       offenses related to election fraud, vote harvesting, and unlawful
       solicitation and distribution of mail ballot applications and ballots, among
       other provisions.

       False information on affidavit. Under CSSB 1, an election judge would
       commit an offense if the judge knowingly provided a voter with a form
       for an affidavit related to provisional voting if the form contained
       information that the judge entered on the form knowing it was false. The
       offense would be a state-jail felony.

       Election-related work absences during early voting. The bill would apply
       to the early voting period the class C misdemeanor offense (maximum
       fine of $500) of knowingly refusing to permit another person over whom a
       person had authority in the scope of employment to be absent from work
       on election day for the purpose of voting or of knowingly subjecting or
       threatening to subject the other person to a penalty for attending the polls.
       It would be an exception to the application of the offense if the conduct
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       occurred in connection with an election in which early voting was in
       progress for two consecutive hours outside of the voter’s working hours.

       Voter interference. Under CSSB 1, a person would commit an offense if
       the person knowingly or intentionally made any effort to:

           influence the independent exercise of the vote of another by
            altering the ballot of another or by otherwise causing a ballot to not
            reflect the intent of the voter;
           prevent a voter from casting a legal ballot in an election in which
            the voter was eligible to vote; or
           provide false information to a voter with the intent of preventing
            the voter from voting in an election in which the voter was eligible
            to vote.

       An offense would be a class A misdemeanor, except that an offense would
       be a state-jail felony if the person committed the offense while acting in
       the person's official capacity as an election officer.

       Vote harvesting. The bill would make it a third-degree felony (two to 10
       years in prison and an optional fine of up to $10,000) for a person, directly
       or through a third party, to knowingly provide or offer to provide vote
       harvesting services in exchange for compensation or other benefit or to
       knowingly provide or offer to provide compensation to another person in
       exchange for vote harvesting services. It also would an offense for a
       person to knowingly collect or possess a mail ballot or official carrier
       envelope in connection with vote harvesting services.

       These provisions would not apply to an activity not performed in
       exchange for compensation or a benefit, interactions that did not occur in
       the presence of the ballot or during the voting process, interactions that
       were not conducted in-person with a voter, or activity that was not
       designed to deliver votes for or against a specific candidate or measure.

       If a vote harvesting offense constituted an offense under any other law, the
       actor could be prosecuted under these provisions, the other law, or both.
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       Records necessary to investigate a vote harvesting offense or an offense
       under any other section of the Election Code would have to be provided
       by an election officer in an unredacted form to a law enforcement officer
       upon request. Such records would not be subject to public disclosure.

       Unlawful solicitation and distribution of mail ballot application. Except
       as specified in the bill, CSSB 1 would make it an offense for a public
       official to, while acting in an official capacity, knowingly:

           solicit the submission of an application to vote by mail from a
            person who did not request an application;
           distribute an application to vote by mail to a person who did not
            request the application unless the distribution was expressly
            authorized under the Election Code;
           authorize or approve the expenditure of public funds to facilitate
            third-party distribution of an application to vote by mail to a person
            who did not request the application; or
           complete any portion of an application to vote by mail and
            distribute the application to an applicant.

       The offense of unlawful solicitation and distribution of an application to
       vote by mail would be a state-jail felony.

       Unlawful distribution of early voting ballots. It would be a class A
       misdemeanor for an early voting clerk or other election official to
       knowingly mail or otherwise provide an early voting ballot by mail or
       other early voting by mail ballot materials to a person who the clerk or
       official knew did not submit an application for a ballot to be voted by
       mail.

       Election procedure-related perjury. It would be a state-jail felony for a
       person to make a false statement or swear to the truth of a false statement
       previously made while making the voter assistance oath required by
       statute.
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       Unlawful altering of election procedures. CSSB 1 would prohibit a public
       official from creating, altering, modifying, waiving, or suspending any
       election standard, practice, or procedure mandated by law or rule in a
       manner not expressly authorized by the Election Code.

       Enforcement. The bill would require the prioritization of certain
       proceedings related to violations of the Election Code and specify
       requirements and deadlines for courts in handling these cases.

       The Texas Supreme Court or a court of appeals would be required to
       prioritize over any other proceeding pending or filed in the court a
       proceeding for injunctive relief or for a writ of mandamus under Election
       Code ch. 273, which governs criminal investigations and other
       enforcement proceedings related to elections, pending or filed on or after
       the 70th day before a general or special election. If granted, oral argument
       for such a proceeding could be given in person or through electronic
       means.

       A trial court also would be required to prioritize such election-related
       proceedings over other proceedings, except for a criminal case in which
       the death penalty was or could be assessed or when it would otherwise
       interfere with a constitutional right.

       The bill would specify deadlines and similar requirements for expedited
       election proceedings in district courts, county courts, and statutory county
       courts. It would be an offense for a person, including a public official, to
       communicate with a county or district clerk with the intention of
       influencing or attempting to influence the court or judge assigned to a
       proceeding under the bill's provisions. The offense would be a class A
       misdemeanor, except that it would be a state-jail felony if it was shown on
       trial of the offense that the person committed the offense while acting in
       an official capacity as an election official.

       The bill would specify that a court proceeding entitled to priority that was
       filed in a court of appeals would be docketed by the clerk of the court and
       assigned to a panel of three justices determined using an automated
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       assignment system. It would be a class A misdemeanor for a person,
       including a public official, to communicate with a court clerk with the
       intention of influencing or attempting to influence the composition of a
       three-justice panel assigned a specific proceeding under these provisions.

       Ineligible voters. In the trial of a felony offense in which the defendant
       was adjudged guilty, the court would have to make an affirmative finding
       that the person had been found guilty of a felony and enter the finding in
       the judgment of the case and instruct the defendant on how the felony
       conviction would impact the defendant’s right to vote in Texas.

       It would be an offense for a person to knowingly vote or attempt to vote in
       an election in Texas after voting in another state in an election in which a
       federal office appeared on the ballot and the election day for both states
       was the same day. If conduct related to prohibited voting that constituted
       an offense under the bill also constituted an offense under another law, a
       person could be prosecuted under the bill's provisions, the other law, or
       both. The offense would be a second-degree felony (two to 20 years in
       prison and an optional fine of up to $10,000) unless the person was
       convicted of an attempt, in which case the offense would be a state-jail
       felony.

       A person could not be convicted of the offense of illegally voting solely
       upon the fact that the person signed a provisional ballot affidavit unless
       corroborated by other evidence that the person knowingly committed the
       offense. This provision would apply to an offense committed before, on,
       or after the effective date of the bill, except that a final conviction for an
       offense that existed on that date would remain unaffected.

       Repeals. The bill would repeal statutes related to temporary branch
       polling places located in movable structures in certain elections and jail
       confinement for the offense of unlawfully compensating a person for
       assisting voters.

       Severability. If any provision of the bill or its application to any person or
       circumstance was held invalid, the invalidity would not affect other
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              provisions or applications of the bill that could be given effect without the
              invalid provision or application.

              Applicability. Except as otherwise provided, the bill would apply only to
              an offense committed, an election ordered, an application to vote an early
              voting ballot by mail submitted, or an application for voter registration
              submitted on or after the bill’s effective date.

              The bill would take effect on the 91st day after the last day of the
              legislative session.

SUPPORTERS    CSSB 1 would help to provide uniformity in Texas elections and restore
SAY:          the confidence of voters in election integrity. It would empower poll
              watchers to oversee election conduct without fear of being unfairly
              removed, add safeguards for the lawful assistance of a voter, and
              strengthen the consequences for violations of election law.

              Voter registration. The bill would make it easier for voters who moved
              to a new county to maintain their voter registration by requiring voter
              registrars to coordinate to ensure that the voter's registration in the original
              county of residence was canceled and the voter was registered in the new
              county.

              Conduct and security of elections. CSSB 1 would make it easier for
              Texans to vote lawfully by expanding early voting from at least eight
              hours to at least nine hours on weekdays and by making it an offense for
              employers to keep an employee from going to the polls during early
              voting, a prohibition which currently applies only to voting on election
              day. The bill also would entitle individuals in line when the polls closed
              during early voting to vote, which also currently applies only to
              individuals voting on election day.

              The bill would protect the privacy and sanctity of each voter's ballot by
              prohibiting individuals not entitled under current law to vote from inside a
              vehicle from doing so. Allowing votes to be cast from vehicles carrying
              multiple individuals increases the opportunities for voter intimidation or
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       fraud.

       Election officers and observers. CSSB 1 would empower poll watchers
       to perform their roles as observers by prohibiting election judges from
       removing them for arbitrary reasons or improperly refusing to accept
       them. If a poll watcher did disrupt a polling place or violate the law, that
       person could be removed by a law enforcement officer.

       The bill also would provide greater confidence in the integrity of elections
       by allowing poll watchers to observe every step of the election process,
       except for the casting of ballots by voters, including the sealing and
       transfer of storage devices used by voting system equipment and the
       transfer of election materials to a different location for processing.

       Poll watchers already are prohibited under current law from watching an
       individual cast a ballot or conversing with a voter. The bill would not
       allow watchers to engage with or harass voters, but rather would ensure
       that watchers could not be unjustly removed from a polling place while
       performing their duties or have their right to observe all election activities
       infringed.

       Voting by mail. CSSB 1 would help ensure that a voter's eligibility was
       verified by requiring applications to vote early by mail to include an
       approved ID number, adding criteria for the acceptance of mail ballots,
       and expanding the ability of signature verification committees and early
       voting ballot boards to verify voter signatures on mail ballot applications
       and carrier envelopes.

       The bill also would provide more opportunities for voters to have their
       votes counted by allowing defects in mail-in ballots, including missing
       signatures or other information, to be corrected by a voter within a
       specified time frame.

       Voter assistance. CSSB 1 would provide greater protections from
       exploitation for individuals who may require assistance to vote. This
       includes individuals over 65 years old casting a ballot by mail and those
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                 with disabilities, the visually impaired, and those who could not read the
                 language in which a ballot was printed. By revising the required oath to
                 include acknowledgement that assistance was not provided under coercion
                 and requiring new information to be written on carrier envelopes, the bill
                 would help deter attempts to take advantage of the voter needing
                 assistance.

                 The bill would not deter individuals from lawfully assisting eligible
                 individuals in casting a ballot. Rather, by requiring an assistant to attest
                 under penalty of perjury that the assistant did not pressure or coerce a
                 voter into choosing that person as an assistant, the bill would increase
                 safeguards to protect such voters from exploitation by bad actors.

                 Election fraud and voter interference. CSSB 1 would help deter various
                 forms of election fraud by creating new criminal penalties and enhancing
                 existing ones, sending a strong message about Texas’ commitment to
                 election integrity. Election fraud is a serious offense that undermines a
                 core civic duty and should be treated as such under the law. The bill
                 would not punish individuals for making simple clerical errors or other
                 mistakes because an action prohibited under the bill would have to be
                 carried out knowingly or intentionally to qualify as an offense.
                 CSSB 1 also would deter the exploitation of vulnerable voters by making
                 it an offense to knowingly provide or offer to provide vote harvesting
                 services for compensation. Ballot harvesting operations undermine the
                 integrity of elections by introducing a financial incentive for the collection
                 of votes, which opens the door to fraud.

                 Enforcement. By requiring courts to prioritize and expedite certain cases,
                 the bill would provide for the quick disposition of time-sensitive election
                 matters. The bill would not jeopardize other time-sensitive legal
                 proceedings but simply ensure that election complaints within 70 days of
                 an election were handled expeditiously. This would enable legitimate
                 legal complaints about the election process to be addressed before election
                 day and for injunctive relief to be provided.

CRITICS          CSSB 1 would exacerbate an already restrictive elections system by
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SAY:          creating overly harsh penalties, restricting convenient voting options that
              facilitate voter turnout, and creating an opportunity for partisan poll
              watchers to intimidate voters. Texas already has strong voting restrictions
              and relatively low voter turnout rates, and data have shown election fraud
              to be rare in Texas. Instead of further complicating voting and
              criminalizing election activities, the Legislature should make it easier for
              Texans to access the ballot box.

              Voter registration. CSSB 1 could lead to needless prosecutions of
              individuals who accidentally registered to vote in the wrong county or
              made similar inadvertent mistakes by requiring voter registrars to provide
              notice of all unlawful registrations to the secretary of state and the
              attorney general.

              Conduct and security of elections. The bill could reduce voter turnout by
              prohibiting convenient voting options, including drive-through voting and
              24-hour early voting. The ability to vote curbside from a vehicle was
              valuable to many Texans during the COVID-19 pandemic, when voting in
              person created the unnecessary risk of viral transmission. Also, 24-hour
              early voting in Harris County during the 2020 election cycle allowed more
              people to vote and eased long lines resulting from increased voter turnout.

              Election officers and observers. CSSB 1 could enable untrained partisan
              poll watchers to harass or intimidate voters by granting watchers overly
              expansive access to polling places and making it harder for election judges
              to remove unruly watchers. Although an election judge could eject a poll
              watcher under the bill, the bar for such a removal would be unnecessarily
              high. A judge or clerk would have to directly observe a watcher engaging
              in prohibited behavior, issue a warning, and then observe a second
              violation before ordering the watcher to leave the polling place. This
              could have the effect of creating a "free pass" for watchers to intimidate
              voters before being ejected.

              While an election judge could call a law enforcement officer to remove a
              watcher violating the law or disrupting the peace, local police departments
              may not have a sufficient number of officers to respond to complaints
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       from multiple polling places. By the time an officer arrived, the conduct
       constituting a breach of the peace or violation of the law could have
       concluded.

       Voting by mail. The bill would make it harder for individuals to vote
       early by mail by applying a voter ID requirement and creating more
       opportunities for a voter's signature, and therefore ballot, to be wrongly
       rejected as fraudulent. An application to vote early by mail also could be
       incorrectly rejected if the driver's license or Social Security number
       provided on the application did not match a number on file with the state's
       voter registration database. Many voters may have only one of these
       numbers on file with the database, and inadvertently supplying the
       incorrect number could result in an unwarranted rejection under the bill.

       CSSB 1 also could limit the ability of voters with disabilities to sign mail
       ballot applications by requiring ink signatures. Voters with disabilities
       may make use of signature stamps to accommodate a physical disability.
       If the bill prohibited the use of such stamps, it could deter individuals with
       disabilities from successfully requesting a mail ballot.

       Voter assistance. The bill would create more opportunities for valid
       ballots to be discarded by requiring individuals wishing to provide lawful
       assistance to voters with disabilities or elderly voters to fill out a form on
       the carrier envelope. The requirements for carrier envelopes under current
       law already are extensive, and further complicating these envelopes by
       adding a form would increase the likelihood of valid votes being
       discarded due to a simple error or omission by an assistant.

       CSSB 1 also could create a chilling effect on individuals wishing to
       provide assistance to eligible voters by requiring the voter assistance oath
       to be taken under penalty of perjury. Under the bill, it would be a state jail
       felony to commit perjury in connection with the voter assistance oath. The
       oath's vague prohibitions on "pressuring" or "coercing" a voter to accept a
       person as an assistant could deter individuals from providing lawful
       assistance to eligible voters due to the fear of accidentally violating the
       Election Code.
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                Election fraud. Election fraud is rare in Texas and existing law is more
                than sufficient to deter individuals from fraudulently casting a ballot,
                changing votes, or otherwise illicitly influencing an election. By
                implementing overly punitive election offenses, CSSB 1 could discourage
                potential voters and poll workers from participating in the electoral
                process, further depressing Texas’ already low voter turnout. Some
                offenses under the bill would be second- and third-degree felonies, placing
                election crimes on the same level as certain high-value property theft and
                other serious crimes.

                The bill also would limit the information provided to voters by
                criminalizing routine get-out-the-vote activities such as the collection of
                ballots or the distribution of pre-filled voter registration applications.

                Enforcement. CSSB 1 would require the prioritization of certain election
                cases over potentially more pressing judicial matters. The special
                treatment of election fraud cases under the bill, regardless of merit, could
                bog down the court system and jeopardize certain time-sensitive legal
                proceedings, such as cases involving protective orders.

NOTES:          A pre-filed amendment by Murr would add a curing process for mail
                ballots rejected due to missing or incorrect voter identification
                information, revise the provision on an election judge’s authority to eject a
                watcher from a polling place by removing a requirement that the watcher
                be given a warning that the watcher's conduct violated the law before
                removal, enhance from a class B to a class A misdemeanor the offense
                created by the bill of intentionally or knowingly refusing to accept a
                qualified watcher for service, revise the voter assistance oath, and require
                a study from the secretary of state on implementing educational programs
                for voters with disabilities on the use of voting systems, among other
                provisions.
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     By: AA Hughes                                                                                                S.B. A No. A 1



                                                 A BILL        TO BE ENTITLED

 1                                                                 AN ACT

 2   relating          to      election               integrity                and     security,               including          by

 3   preventing           fraud          in     the      conduct            of       elections           in     this      state;

 4   increasing             criminal             penalties;                 creating              criminal          offenses;

 5   providing         civil       penalties.

 6              BE IT ENACTED             BY THE LEGISLATURE                     OF THE STATE            OF TEXAS:

 7                                 ARTICLE          1.    REGISTRATION                OF VOTERS

 8              SECTION      A 1.01. AA Section                13.002 , Election                  Code,        is amended         by

 9   adding      Subsection             (c-1)    to read            as follows:

10              (c-1) AA The            information                required          under        Subsections            (c)(3),

11   (4),     (5),     (6),       and    (8)     must         be    supplied          by   the     person        desiring         to

12   register        to vote.

13              SECTION      A 1.02. AA Section                15.021 , Election                  Code,        is amended         by

14   amending        Subsections              (b)      and     (d)       and    adding       Subsections               (d-1)     and

15   (d-2)      to read      as follows:

16              (b) AA Except           as    provided             by    Subsection              (d),     the    [The]     voter

17   shall       use        the         registration                    certificate              or      a      registration

18   application            form    as the        notice,           indicating             the    correct        information

19   in   the    appropriate              space          on    the       certificate              or    application            form

20   unless      the    voter       does        not    have        possession          of the           certificate            or an

21   application            form    at the time               of giving          the notice.

22              (d) AA A voter           [who       continues            to reside           in the       county        in which

23   the voter         is registered]                 may correct              information             under    this     section

24   by     digital          transmission                of        the      information                 under      a     program




     87S20030 TSS-D                                                  1
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                                                                                                                  S.B. A No. A 1

 1   administered               by     the     secretary             of     state        and       the     Department           of

 2   Information          Resources.

 3             (d-1) AA If the notice                      indicates        that      a voter          no longer         resides

 4   in the     county      in which              the    voter      is registered,                the    registrar           shall

 5   forward        the         notice         and       the      voter ’s           original           application            for

 6   registration           to        the     registrar             of    the     county          in     which     the       voter

 7   resides.             The        registrars             shall        coordinate            to       ensure        that     the

 8   voter ’s       existing           registration               is      canceled          immediately            after       the

 9   voter     is    registered               in     the     county        in    which       the        voter     resides       in

10   accordance        with          Subsection            (d-2).

11             (d-2) AA A            registrar              who      receives           a      voter ’s          notice        and

12   application           from        another           registrar          under        Subsection              (d-1)       shall

13   treat     it as an original                    application            for    registration                under      Section

14   13.002 , and          shall           register         the     voter       if    the    voter        resides         in   the

15   county     and is otherwise                    eligible        under       Section        13.001 .

16             SECTION      A 1.03. AA Section                 15.028 , Election                  Code,       is amended        to

17   read    as follows:

18             Sec. A 15.028.              AA NOTICE        OF UNLAWFUL           VOTING          OR REGISTRATION              [TO

19   PROSECUTOR].               [(a)]         If the        registrar           determines             that     a person       who

20   is not     eligible             to vote        registered            to vote       or [a registered                  voter]

21   voted     in an election,                the registrar               shall      execute           and deliver        to the

22   attorney        general,               the      secretary            of     state,           and     the      county       or

23   district        attorney              having       jurisdiction             in the        territory          covered       by

24   the election          an affidavit                 stating        the relevant            facts.

25             [(b) AA If            the     election          covers           territory           in     more       than     one

26   county,        the     registrar               shall         also      deliver          an        affidavit         to    the

27   attorney       general.]




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                                                                                                                 S.B. A No. A 1

 1             SECTION       A 1.04. AA Section              16.0332       , Election             Code,     is amended          by

 2   amending          Subsection         (a)    and     adding          Subsections              (a-1),       (d),     and    (e)

 3   to read       as follows:

 4             (a) AA After            the      registrar               receives          notification             [a       list]

 5   under       Subsection            (a-1)      of     this       section,              Section       18.068         of     this

 6   code,       or    Section         62.113 ,        Government              Code,       of     persons        excused        or

 7   disqualified             from      jury     service            because          of    citizenship            status        or

 8   notification            of persons           who       indicate           a lack       of    citizenship            status

 9   in   connection            with     a motor        vehicle           or    Department           of    Public        Safety

10   record      as provided            by Subsection               (a-1),      the registrar              shall       deliver

11   to   each        registered         voter     whose          name     appears          on    the     list    a written

12   notice        requiring           the     voter         to    submit         to      the     registrar           proof     of

13   United       States        citizenship            in     the       form    of     a certified              copy     of    the

14   voter ’s birth             certificate,            United           States        passport,          or    certificate

15   of naturalization                 or any      other          form     prescribed             by the       secretary        of

16   state.           The   notice       shall      be       delivered          by      forwardable             mail     to    the

17   mailing          address     on the        voter ’s registration                      application           and     to any

18   new address            of the voter         known        to the registrar.

19             (a-1) AA The            secretary         of state          shall          enter     into       an agreement

20   with    the      Department         of Public           Safety        under       which       information           in the

21   existing           statewide            computerized                  voter          registration                list      is

22   compared          against       information              in the       database             of the     Department           of

23   Public        Safety         on     a     monthly            basis        to      verify       the        accuracy         of

24   citizenship             status          information                 previously              provided         on        voter

25   registration             applications.                  In     comparing             information            under        this

26   subsection,            the    secretary            of    state        shall        consider          only    a voter ’s

27   information            in the      database         of the          Department             of Public       Safety        that




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                                                                                                               S.B. A No. A 1

 1   was    derived     from       documents         presented           by the         voter    to the        department

 2   after     the person          ’s current        voter       registration             became      effective,              and

 3   may     not   consider          information            derived          from       documents        presented             by

 4   the     voter     to     the       department           before          the        person   ’s    current          voter

 5   registration            became     effective.

 6             (d) AA The       secretary           of     state       shall        prescribe          rules        for       the

 7   administration            of this        section.

 8             (e) AA Not      later        than     December          31 of each            year,      the     secretary

 9   of state        shall     provide        a report           to the      legislature           of the         number       of

10   voter     registrations            canceled          under       this    section        during       the calendar

11   year.

12             SECTION       A 1.05. AA Section            18.068 , Election                 Code,       is amended            by

13   amending        Subsection             (a)     and     adding        Subsection             (a-1)       to    read        as

14   follows:

15             (a) AA The       secretary            of     state         shall         quarterly         compare             the

16   information           received         under    Section          16.001        of this      code     and Sections

17   [Section]         62.113         and     62.114 ,       Government              Code,       to    the      statewide

18   computerized            voter      registration             list.       If the        secretary           determines

19   that     a    voter      on     the     registration              list        is     deceased        or      has     been

20   excused       or disqualified                from    jury    service          because       the voter         is not a

21   citizen       or a resident            of the county             in which          the voter        is registered

22   to vote,      the secretary             shall        send    notice       of the determination                     to:

23                      (1) AA the          voter        registrar           of     the     counties           considered

24   appropriate           by the secretary;               and

25                      (2) AA the          attorney        general,          who       shall    quarterly           review

26   the     information           to   investigate              whether          a person       has     committed             an

27   offense       under     Section        13.007        or other        law.




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                                                                                                        S.B. A No. A 1

 1             (a-1) AA The          secretary       of state         is not    required           to send         notice

 2   under     Subsection            (a) for a voter          who is subject           to an exemption               from

 3   jury      service         under      Section         62.106 ,          Government          Code,         if     that

 4   exemption       is the only         reason       the voter        is excused         from      jury     service.

 5             SECTION        A 1.06. AA Section        31.006 , Election              Code,        is amended         to

 6   read    as follows:

 7             Sec. A 31.006.         AA REFERRAL        [OF       COMPLAINT]        TO   ATTORNEY           GENERAL.

 8   (a)     If, after         receiving       or discovering            information            indicating           that

 9   [a     complaint          alleging]         criminal           conduct     in     connection             with     an

10   election       has occurred,             the secretary           of state       determines         that        there

11   is reasonable            cause     to suspect           that    [the     alleged]       criminal         conduct

12   occurred,          the     secretary            shall      promptly        refer        the       information

13   [complaint]         to the        attorney        general.         The     secretary           shall     deliver

14   to the     attorney         general       all    pertinent         documents         and      information         in

15   the secretary        ’s possession.

16             (b) AA The            documents          and         information             submitted               under

17   Subsection         (a) are not considered                 public       information            until:

18                      (1) AA the       secretary           of state       makes    a determination                 that

19   the      information              [complaint]             received         does         not      warrant          an

20   investigation;             or

21                      (2) AA if referred             to the        attorney       general,          the    attorney

22   general     has completed             the investigation                or has made         a determination

23   that     the    information              [complaint]            referred        does       not    warrant         an

24   investigation.

25             SECTION        A 1.07. AA Section             62.113 (b),         Government                 Code,      is

26   amended     to read        as follows:

27             (b) AA On the          third    business        day    of each       month,      the    clerk        shall




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                                                                                                             S.B. A No. A 1

 1   send     a copy        of the    list     of persons            excused       or disqualified                 because

 2   of citizenship            in the previous            month       to:

 3                      (1) AA the voter          registrar           of the county;

 4                      (2) AA the secretary              of state;          and

 5                      (3) AA the          attorney      general           and    the    county         or       district

 6   attorney[,         as      applicable,]            for     an     investigation              of    whether           the

 7   person     committed          an offense          under     Section          13.007 , Election               Code,     or

 8   other     law.

 9             SECTION        A 1.08. AA Sections         62.114 (b)           and    (c),      Government            Code,

10   are amended            to read    as follows:

11             (b) AA On the          third    business         day    of each       month,       the       clerk     shall

12   send     [to     the    voter     registrar         of    the     county]        a copy      of        the    list     of

13   persons        excused        or disqualified             in the        previous          month        because       the

14   persons        do not reside           in the county          to:

15                      (1) AA the voter          registrar           of the county;

16                      (2) AA the secretary              of state;          and

17                      (3) AA the          attorney      general           and    the    county         or       district

18   attorney         for     an   investigation           of      whether         the   person         committed           an

19   offense        under     Section       13.007 , Election            Code,       or other         law.

20             (c) AA A list          compiled        under     this     section         may    not    be used        for    a

21   purpose        other     than    a purpose         described           by Subsection             (b)    or Section

22   15.081     or 18.068 , Election              Code.

23                      ARTICLE        2.     CONDUCT     AND SECURITY             OF ELECTIONS

24             SECTION        A 2.01. AA Section         43.031 , Election                Code,        is amended           by

25   amending         Subsection        (b)     and     adding        Subsections          (b-1)        and       (b-2)     to

26   read    as follows:

27             (b) AA Each         polling      place     shall        be located          inside           a building.




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                                                                                                                    S.B. A No. A 1

 1   Except        as provided              by Subsection              (b-1),          a polling           place    may       not     be

 2   located           in    a tent       or    similar         temporary            moveable         structure            or    in    a

 3   facility          primarily            designed          for motor          vehicles.           No voter        may cast          a

 4   vote     from           inside         a    motor        vehicle            unless        the     voter        meets           the

 5   requirements                 of Section          64.009 .

 6                (b-1) AA A polling                  place      may       be    located        in    a tent        or    similar

 7   temporary              moveable        structure          if:

 8                           (1) AA a building                selected           for    a polling           place        is     later

 9   determined              by    the    county        commissioners                court         to be not        reasonably

10   accessible              due    to fire,          flood,      or other             natural       disaster        rendering

11   the building              unsafe       for public           use;

12                           (2) AA a suitable                substitute             building         is     not    available;

13   and

14                           (3) AA the         tent     or     similar          temporary           moveable        structure

15   is adjacent              to the building                described          by Subdivision              (1).

16                (b-2) AA If             the          county          commissioners                   court         makes             a

17   determination                 described          by Subsection              (b-1)(1):

18                           (1) AA the         determination                   is     valid        only      for     the        next

19   scheduled              election;        and

20                           (2) AA the            court         shall           send          a      record          of         that

21   determination                 to the secretary              of state            as soon       as practicable.

22                SECTION         A 2.02. AA Section            61.002 , Election                   Code,     is amended              to

23   read    as follows:

24                Sec. A 61.002.          AA OPENING           AND     CLOSING          POLLING       PLACE        FOR    VOTING.

25   (a)      Immediately                before        opening         the      polls     for       voting     on    the        first

26   day     of    early           voting       and     on    election           day,      the       presiding           election

27   judge        or    alternate           election           judge         shall      confirm        that        each       voting




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 1   machine     has        any     public        counter         reset     to    zero        and    shall        print         the

 2   tape     that        shows     the    counter         was     set    to    zero     for       each     candidate            or

 3   measure     on the ballot.

 4             (b) AA At the             official         time     for    opening        the       polls     for     voting,

 5   an election           officer         shall     open       the    polling      place       entrance           and    admit

 6   the voters.

 7             (c) AA Immediately                  after         closing         the     polls        for      voting            on

 8   election         day,        the    presiding          election           judge     or    alternate           election

 9   judge     shall       print        the tape         to show       the number        of votes          cast     for each

10   candidate        or ballot           measure         for each       voting        machine.

11             (d) AA Each          election        judge        or alternate           election           judge     present

12   shall     sign       a tape        printed     under       this     section.

13             SECTION       A 2.03. AA Section              64.007 (c),          Election          Code,     is amended

14   to read     as follows:

15             (c) AA An election                 officer        shall    maintain           a register        of spoiled

16   ballots         at     the     polling         place,        including            spoiled       ballots             from     a

17   direct     recording           electronic            voting        unit.     An election              officer        shall

18   enter     on the        register         the    name        of each        voter    who       returns        a spoiled

19   ballot     and        the     spoiled         ballot       ’s number.             The     secretary           of     state

20   shall     create        and promulgate               a form       to be used       for this          purpose.

21             SECTION       A 2.04. AA Subchapter                 A , Chapter           65 , Election             Code,         is

22   amended     by adding              Section      65.017       to read       as follows:

23             Sec. A 65.017.            AA VOTE     TABULATING           EQUIPMENT.               Beginning         January

24   1, 2024,        equipment           to tabulate            votes     may not be used             if any wireless

25   connectivity            capability             of    the    equipment         has       not    been     disabled            or

26   removed.

27             SECTION       A 2.05. AA Subchapter                 A , Chapter           66 , Election             Code,         is




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 1   amended       by adding            Section      66.004         to read          as follows:

 2             Sec. A 66.004.            AA CLOSING          POLLING          PLACE.         The    secretary              of state

 3   shall     adopt         rules       and    create        a checklist              or     similar          guidelines            to

 4   assist       the    presiding             judge     of    a polling              place        in    processing             forms

 5   and    conducting            procedures            required           by    this       code        at    the     closing        of

 6   the polling          place.

 7             SECTION        A 2.06. AA Section              66.052 , Election                    Code,        is amended           to

 8   read    as follows:

 9             Sec. A 66.052.            AA DELIVERY          BY ELECTION              CLERK;           CHAIN       OF CUSTODY.

10   (a)      A    delivery             of     election        records           or     supplies              that       is     to   be

11   performed          by     the      presiding         judge          may    be     performed              by    an     election

12   clerk     designated            by the presiding                judge.

13             (b) AA If the             presiding           judge        of a polling              place          designates           a

14   clerk        to    deliver          election            supplies,           the        presiding               judge       shall

15   attest       to the designation,                   and the clerk                shall     attest          to the clerk ’s

16   acceptance          of       the    responsibility.                       The    secretary              of     state       shall

17   create       and    promulgate              a   form       to       facilitate           compliance                 with    this

18   section.

19             SECTION        A 2.07. AA Section              85.005 , Election                    Code,        is amended           to

20   read    as follows:

21             Sec. A 85.005.            AA REGULAR          DAYS    AND HOURS           FOR VOTING.                 (a)      Except

22   as    provided          by    Subsection           (c),         in    an    election           in        which       a county

23   clerk     [or      city      secretary]            is    the     early          voting        clerk       under        Section

24   83.002       [or    83.005 ], early               voting        by personal             appearance              at the      main

25   early     voting          polling         place      shall          be    conducted           on        each     weekday        of

26   [the    weekdays          of]      the    early      voting          period       that     is not            a legal       state

27   holiday       and    for      a period          of at least              nine    hours,        except          that      voting




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 1   may     not     be        conducted           earlier            than        6     a.m.       or     later        than        9     p.m.

 2   [during        the        hours     that      the      county          clerk ’s or city                   secretary           ’s main

 3   business        office           is regularly             open       for business.]

 4             (b) AA In an election                      to which             Subsection               (a)     does        not     apply,

 5   early      voting           by     personal               appearance               at       the     main        early          voting

 6   polling        place        shall        be    conducted             at      least          nine     [eight]           hours        each

 7   weekday       of the early               voting        period         that         is not a legal               state         holiday

 8   unless        the     territory            covered          by    the        election             has     fewer        than       1,000

 9   registered            voters.            In that          case,       the         voting         shall     be conducted               at

10   least     four        [three]            hours        each        day.            The       authority            ordering            the

11   election,            or    the     county        clerk          if     that        person          is     the     early        voting

12   clerk,     shall          determine           which       hours        the voting                is to be conducted.

13             (c) AA In          a    county         with       a    population                 of     30,000        [100,000]            or

14   more,     the       voting        in a primary              election               or the         general         election           for

15   state     and        county         officers              shall       be      conducted              at     the        main       early

16   voting        polling        place         for    at      least         12       hours       on    each     weekday            of    the

17   last     week        of    the     early       voting           period,           and       the    voting         in    a special

18   election         ordered           by    the      governor              shall          be     conducted           at     the        main

19   early     voting          polling        place       for at least                  12 hours          on each       of the last

20   two    days     of the           early     voting          period.               Voting          under     this        subsection

21   may not be conducted                     earlier          than       6 a.m.        or later          than       9 p.m.         Voting

22   shall     be        conducted            in    accordance                 with         this        subsection            in       those

23   elections            in    a county           with      a population                   under       30,000         [100,000]           on

24   receipt         by    the        early        voting        clerk            of    a     written          request            for     the

25   extended         hours           submitted           by    at     least           15    registered              voters         of    the

26   county.         The       request        must     be submitted                    in time          to enable           compliance

27   with    Section           85.067 .




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                                                                                                                       S.B. A No. A 1

 1             (d) AA A voter           who     has        not    voted        before           the      scheduled          time    for

 2   closing     a polling             place        is entitled              to vote            after       that      time     if the

 3   voter      is     in    line       at      the        polling           place            by     closing         time.          The

 4   secretary         of   state       shall         promulgate               any       materials             and   provide        any

 5   training         to presiding             judges            necessary           to properly                process        voters

 6   under     this      subsection              [In        an    election               ordered          by    a    city,      early

 7   voting      by    personal           appearance                at    the        main          early       voting        polling

 8   place     shall    be conducted                for at least               12 hours:

 9                      [(1) AA on           one       weekday,              if      the           early        voting         period

10   consists        of less       than      six weekdays;                or

11                      [(2) AA on           two       weekdays,               if        the        early       voting         period

12   consists        of six or more             weekdays].

13             SECTION       A 2.08. AA Sections                  85.006 (b)              and       (e),       Election         Code,

14   are amended        to read         as follows:

15             (b) AA In         an     election             in        which         a     county           clerk        [or       city

16   secretary]         is       the     early         voting            clerk       under            Section         83.002        [or

17   83.005 ], only          the       early     voting           clerk      may     order           voting         on a Saturday

18   or Sunday.         The clerk          must       do so by written                    order.

19             (e) AA In a primary                  election           or the        general             election        for    state

20   and     county         officers           in      a     county          with         a        population          of      30,000

21   [100,000]         or    more,        the       early         voting        clerk           shall       order       voting       by

22   personal        appearance           [voting]           at the main             early           voting      polling        place

23   to be conducted             on the         last       Saturday          of the            early      voting       period       for

24   at least        12 hours,          except         that       voting         may      not       be conducted             earlier

25   than     6 a.m.    or later          than        9 p.m.,          [on     the       last        Saturday]         and     on the

26   last     Sunday        of    the     early            voting        period           for       at     least      six      [five]

27   hours,     except        that      voting         may       not     be conducted                 earlier         than     6 a.m.




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 1   or later          than    9 p.m [on the last                Sunday        of the early               voting        period].

 2   The    early       voting        clerk        shall    order       voting        to be conducted                   at those

 3   times       in those           elections        in a county          with       a population                under     30,000

 4   [100,000]          on receipt            of a written          request          for     those        hours        submitted

 5   by at least          15 registered              voters       of the county.                   The request            must       be

 6   submitted          in     time     to    enable       compliance            with        Section            85.007 .        This

 7   subsection           supersedes               any     provision            of     this        subchapter             to     the

 8   extent       of any conflict.

 9               SECTION       A 2.09. AA Section                85.010 (a-1),                Election                 Code,         is

10   amended          to read       as follows:

11               (a-1) AA In          this      section,          "eligible                county         polling          place"

12   means       an    early         voting     polling          place[,        other        than         a polling            place

13   established              under    Section        85.062 (e),]         established                   by a county.

14               SECTION       A 2.10. AA Section            85.061 , Election                    Code,         is amended           by

15   amending          Subsection            (a)    and    adding        Subsections               (a-1)         and    (a-2)        to

16   read    as follows:

17               (a) AA In      a countywide               election        in    which            the     county        clerk        is

18   the     early        voting         clerk        under       Section            83.002 ,            an     early      voting

19   polling          place     shall        be located          inside        [at]        each        branch     office        that

20   is regularly              maintained           for    conducting            general           clerical            functions

21   of    the    county         clerk,        except       as    provided            by    Subsection             (b).         If    a

22   suitable          room     is unavailable              inside        the    branch           office,         the    polling

23   place       may be located              in another          room    inside        the same            building        as the

24   branch       office.            Except     as provided             by Subsection                  (a-1),     the    polling

25   place       may     not     be    located        in    a tent        or    similar            temporary            moveable

26   structure           or     a    parking        garage,       parking            lot,         or    similar         facility

27   designed          primarily         for motor         vehicles.




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                                                                                                                    S.B. A No. A 1

 1             (a-1) AA An early            voting        polling          place        may      be located             in a tent

 2   or similar       temporary           moveable         structure             if:

 3                     (1) AA a       building           selected           for        an    early           voting      polling

 4   place     is    later     determined           by     the    county          commissioners                    court       to    be

 5   not     reasonably            accessible           due     to     fire,       flood,           or        other      natural

 6   disaster       rendering         the building             unsafe           for public          use;

 7                     (2) AA a suitable                 substitute              building           is       not    available;

 8   and

 9                     (3) AA the          tent     or     similar         temporary               moveable           structure

10   is adjacent        to the building                described           by Subdivision                    (1).

11             (a-2) AA If           the          county          commissioners                     court             makes           a

12   determination           described          by Subsection               (a-1)(1):

13                     (1) AA the          determination                is       valid           only         for       the     next

14   scheduled        election;          and

15                     (2) AA the              court          shall         send             a      record              of      that

16   determination           to the secretary                 of state          as soon          as practicable.

17             SECTION       A 2.11. AA Section            85.062 , Election                     Code,        is amended             by

18   amending        Subsection           (b)     and     adding        Subsections                 (b-1),          (b-2),          and

19   (f-1)     to read       as follows:

20             (b) AA A polling             place        established              under          this        section          may    be

21   located,        subject        to   Subsection            (d),        at    any        place       in    the     territory

22   served     by the       early       voting        clerk     and    may       be located             inside          [in]       any

23   building         [stationary              structure]             as        directed            by       the      authority

24   establishing            the    branch        office.            Except       as provided                 by    Subsection

25   (b-1),     the     [The]        polling        place        may       not     be        located          in    a    tent        or

26   similar        temporary         movable          structure           or     a parking              garage,         parking

27   lot,     or similar           facility        designed           primarily              for    motor          vehicles          in




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 1   the general             election        for state              and county           officers,             general        primary

 2   election,              or    runoff     primary            election.                 Ropes        or       other        suitable

 3   objects          may       be used     at the        polling           place        to ensure             compliance            with

 4   Section          62.004 .       Persons         who       are     not       expressly            permitted             by law      to

 5   be    in    a polling          place         shall        be    excluded           from        the     polling          place      to

 6   the extent             practicable.

 7               (b-1) AA A temporary                branch            polling           place        may      be    located         in a

 8   tent       or similar         temporary         moveable              structure            if:

 9                           (1) AA a building             selected              for    a temporary             branch        polling

10   place       is    later       determined             by    the     county          commissioners                 court       to    be

11   not     reasonably             accessible             due        to     fire,        flood,          or        other     natural

12   disaster          rendering           the building              unsafe           for public          use;

13                           (2) AA a suitable             substitute                  building           is    not       available;

14   and

15                           (3) AA the      tent     or       similar            temporary           moveable              structure

16   is adjacent             to the building              described              by Subdivision                 (1).

17               (b-2) AA If           the          county             commissioners                      court             makes        a

18   determination                described        by Subsection                  (b-1)(1):

19                           (1) AA the      determination                       is     valid         only          for     the      next

20   scheduled             election;        and

21                           (2) AA the           court             shall         send          a         record            of       that

22   determination                to the secretary                  of state           as soon       as practicable.

23               (f-1) AA Notwithstanding                       any        other        provision              of    this     section

24   concerning             the    location         of temporary                  branch        polling             places,       in an

25   election              in     which      countywide                    polling         places              are        used,        the

26   commissioners                court     of a county               shall           employ        the     same      methodology

27   it    uses       to    determine        the     location               of    countywide              polling           places      to




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 1   determine       the location              of temporary            branch       polling         places.

 2             SECTION        A 2.12. AA Section             124.002       , Election          Code,      is amended         by

 3   adding       Subsection        (c) to read           as follows:

 4             (c) AA Voting         system           ballots        may     not    be    arranged           in    a manner

 5   that     allows         a political             party ’s candidates                 to    be    selected         in    one

 6   motion       or gesture.

 7             SECTION        A 2.13. AA Section             127.1232        , Election             Code,     is     amended

 8   to read      as follows:

 9             Sec. A 127.1232.           AA SECURITY           OF VOTED          BALLOTS.          (a)      The     general

10   custodian          of   election          records        shall        post    a licensed             peace      officer

11   [guard]       to     ensure      the       security         of       ballot     boxes          containing         voted

12   ballots       throughout         the period             of tabulation           at the central                counting

13   station.

14             (b) AA The         general        custodian           of    election           records        in    a county

15   with     a    population             of     less        than      100,000         may,         and     the      general

16   custodian          of    election          records         in    a    county        with       a     population         of

17   100,000       or more        shall,        implement            a video       surveillance              system        that

18   retains       a record        of all areas           containing           voted      ballots:

19                        (1) AA from          the    time    the      voted       ballots          are     delivered        to

20   the central          counting        station        until        the canvass             of precinct          election

21   returns;       and

22                        (2)      from        the    time     the     voted       ballots          are     delivered        to

23   the    signature           verification            committee           or early          voting        ballot     board

24   until     the canvass          of precinct           election          returns.

25             (c) AA A video         from           a system        implemented          under         Subsection          (b)

26   may be made          available         to the public             by a livestream                in a county           with

27   a population            of   less      than       100,000,        and     shall      be     made       available        to




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 1   the    public      by a livestream                 in a county           with     a population              of 100,000

 2   or more.

 3             (d) AA The       video       recorded           is an election               record        under       Section

 4   1.012     and     shall        be    retained        by    the        general         custodian           of    election

 5   records        until     the     end       of the    calendar           year     in which           an election              is

 6   held     or     until     an        election        contest           filed      in    the      county          has     been

 7   resolved,        whichever           is later.

 8                          ARTICLE       3.     ELECTION        OFFICERS          AND OBSERVERS

 9             SECTION       A 3.01. AA Subchapter                A , Chapter              33 , Election             Code,        is

10   amended        by adding        Section          33.008     to read       as follows:

11             Sec. A 33.008.            AA TRAINING          MANUAL.         (a)      The        secretary          of state

12   shall     publish        and    maintain           a training           manual        for    watchers          and    shall

13   make     the     manual         available           on    the         secretary         of     state ’s         Internet

14   website.

15             (b) AA An        appointing              authority             must      provide           each        watcher

16   appointed         by     the        authority         with        a    copy      of    the      training             manual

17   maintained         under       this       section.

18             SECTION       A 3.02. AA Section               33.051 , Election                  Code,    is amended              by

19   adding     Subsections              (g) and (h) to read                 as follows:

20             (g) AA An      election           officer        commits         an     offense           if    the    officer

21   intentionally            or knowingly              refuses        to accept           a watcher           for    service

22   when     acceptance            of    the        watcher      is       required        by     this        section.            An

23   offense        under     this       subsection        is a Class          A misdemeanor.

24             (h) AA Before          accepting          a watcher,           the officer            presented             with    a

25   watcher        ’s certificate              of    appointment            shall     require           the    watcher           to

26   take     the    following           oath,        administered            by the       officer:           "I swear        (or

27   affirm)        that     I will       not    disrupt        the    voting        process        or harass             voters




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 1   in the discharge             of my duties."

 2               SECTION    A 3.03. AA Section                   33.056 , Election              Code,       is amended           by

 3   amending       Subsection           (a)      and       adding        Subsections            (e)    and      (f)    to read

 4   as follows:

 5               (a) AA Except          as     provided            by     Section         33.057 ,          a      watcher       is

 6   entitled       to observe           any      activity          conducted           at the        location         at which

 7   the    watcher        is    serving.               A    watcher          is    entitled           to    sit       or   stand

 8   [conveniently]              near        enough         to    see     and      hear    the       election          officers

 9   conducting        the observed               activity,             except      as otherwise             prohibited          by

10   this    chapter.

11               (e) AA Except         as provided                by Section          33.057 (b),           a watcher           may

12   not    be    denied        free     movement            where        election         activity           is      occurring

13   within      the location           at which            the watcher            is serving.

14               (f) AA In this         code,       a watcher             who      is entitled          to "observe"             an

15   election       activity           is entitled               to sit or stand              near    enough        to see and

16   hear    the activity.

17               SECTION    A 3.04. AA Subchapter                   C , Chapter            33 , Election               Code,     is

18   amended       by adding       Section          33.0605          to read         as follows:

19               Sec. A 33.0605.        AA OBSERVING               DATA       STORAGE         SEALING       AND       TRANSFER.

20   (a) AA A watcher           appointed           to serve            at a polling           place        in an election

21   who    is available          at the          time      of the        action        may    observe          all    election

22   activities           relating           to   closing           the       polling         place,        including           the

23   sealing       and transfer           of a memory              card,        flash     drive,       hard      drive,        data

24   storage       device,        or     other        medium            now     existing         or     later         developed

25   used    by the voting             system       equipment.

26               (b) AA Notwithstanding                     any     other          provision          of     this       code,     a

27   watcher       duly    accepted           for     service           at a polling           location          is entitled




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 1   to follow     the        transfer         of election              materials              from      the       polling       place

 2   at which     the     watcher          was      accepted            to a regional                   tabulating            center,

 3   the   central       counting             station,           or any          other        location             designated           to

 4   process       election              materials.                    The        authority                  responsible              for

 5   administering             a       regional        tabulating                 center           or     another          location

 6   where     election         materials            are     processed              must       accept           duly      appointed

 7   watchers      for    service             in    the     same       manner           a watcher             is     accepted         for

 8   service      under        Section          33.051           and     must       accept          the        same       number        of

 9   watchers     that        may serve            under    Section              33.007 (a).

10             SECTION     A 3.05. AA Section                33.061 (a),                Election             Code,       is amended

11   to read     as follows:

12             (a) AA A person             commits          an    offense           if       the    person           serves      in     an

13   official     capacity             at a location              at which          the presence                of watchers             is

14   authorized          and       knowingly              prevents           a     watcher              from       observing            an

15   activity      or    procedure             the     person          knows        the       watcher           is    entitled          to

16   observe,      including             by    taking        any       action           to    obstruct             the    view     of    a

17   watcher     or distance             the watcher              from    the activity                   or procedure              to be

18   observed      in     a    manner          that        would        make       observation                 not       reasonably

19   effective.

20             SECTION     A 3.06. AA Subchapter                       C , Chapter             33 , Election               Code,        is

21   amended     by adding             Section       33.063        to read          as follows:

22             Sec. A 33.063.           AA RELIEF.               (a)         A    watcher,              or     the       appointing

23   authority          for        a    watcher,            who        believes              that         the        watcher          was

24   unlawfully         prevented             or      obstructed                 from        the    performance               of      the

25   watcher     ’s duties         may seek:

26                      (1) AA injunctive                     relief               under                Section            273.081       ,

27   including       issuance            of temporary             orders;




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 1                      (2) AA a       writ      of    mandamus          under         Section         161.009            or

 2   273.061    ; and

 3                      (3) AA any other          remedy     available           under    law.

 4             (b) AA The       relief       provided      by     this    section         is     available           to    a

 5   state     inspector            appointed     under      Chapter        34    or     any     other        election

 6   inspector      authorized             by law.

 7             SECTION       A 3.07. AA Section         86.006 , Election               Code,        is amended           by

 8   amending      Subsection              (a)   and    adding      Subsection            (a-2)         to    read        as

 9   follows:

10             (a) AA A       marked        ballot      voted      under         this         chapter         must        be

11   returned       to        the     early      voting      clerk        in      the     official             carrier

12   envelope.            The        carrier      envelope         may    be      delivered             in     another

13   envelope     and must           be transported        and delivered               only    by:

14                      (1) AA mail;

15                      (2) AA common          or contract        carrier;        or

16                      (3) AA subject           to    Subsections             [Subsection]                 (a-1)     and

17   (a-2),     in-person           delivery     by the voter        who voted           the ballot.

18             (a-2) AA An in-person              delivery        of a marked            ballot        voted        under

19   this    chapter         must    be received        by an election           official         at the time             of

20   delivery.          The     receiving        official         shall     record        the        voter ’s name,

21   signature,          and        type    of    identification               provided          under         Section

22   63.0101      on     a    roster       prescribed        by    the    secretary             of    state.          The

23   receiving         official         shall     attest     on    the      roster        that        the     delivery

24   complies     with        this    section.

25             SECTION       A 3.08. AA Chapter          121 ,    Election         Code,         is     amended           by

26   adding     Section        121.004      to read     as follows:

27             Sec. A 121.004.         AA COMMUNICATIONS             WITH        VOTING         SYSTEMS         VENDOR




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 1   PUBLIC     INFORMATION.              Except             as     provided         by    Sections            552.110       and

 2   552.1101     ,    Government         Code,              a     written         letter,        e-mail,            or   other

 3   communication,            including             a       communication                made     confidential               by

 4   other     law,    between      a public         official             and a voting           systems        vendor:

 5                      (1) AA is not confidential;

 6                      (2) AA is public          information                 for    purposes           of Chapter          552 ,

 7   Government        Code;     and

 8                      (3) AA is       not     subject              to      an     exception            to     disclosure

 9   provided     by Chapter           552 , Government                  Code.

10             SECTION      A 3.09. AA Subchapter                   A , Chapter           127 , Election             Code,    is

11   amended     by adding        Section        127.009             to read       as follows:

12             Sec. A 127.009.         AA ELECTRONIC                    DEVICES           IN     CENTRAL             COUNTING

13   STATION.         (a)   A counting          station             manager        and the presiding                 judge    of

14   the     counting       station          shall           develop         a     protocol        under         which       any

15   electronic          device        inside            a       central          counting         station           that     is

16   necessary        to count        votes     is equipped                 with     software           that    tracks       all

17   input     and activity         on the electronic                     device.

18             (b) AA The      counting        station             manager         and    the    presiding           judge    of

19   the     counting       station          shall           ensure         that     the        input     and        activity

20   tracked     by the software              is printed             and delivered              to the secretary              of

21   state     not later       than    the fifth             day after            vote    counting        is complete.

22             (c) AA This      section        applies             only     to a central           counting           station

23   located     in a county          with    a population                  of 250,000          or more.

24             SECTION      A 3.10. AA Section                   127.1301    , Election            Code,        is    amended

25   to read     as follows:

26             Sec. A 127.1301.         AA [TALLYING,                     TABULATING,              AND          REPORTING]

27   CENTRALLY         COUNTED         OPTICAL           SCAN        BALLOTS         [BALLOT            UNDERVOTES           AND




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 1   OVERVOTES].            (a)      In     an    election              using        centrally             counted           optical

 2   scan     ballots,       the    undervotes               and    overvotes              on    those       ballots              shall

 3   be     tallied,        tabulated,             and       reported               by     race        and        by        election

 4   precinct        in    the     form     and       manner            prescribed              by    the        secretary              of

 5   state.

 6             (b) AA After        January         1, 2024,             an authority              operating             a central

 7   counting        station        under         this       chapter            may       not        purchase           or        use     a

 8   centrally         counted           optical        ballot           scan         system          that        uses        a     data

 9   storage      disc      on     which         information,                 once        written,           is        capable          of

10   being     modified.

11             SECTION      A 3.11. AA Section               127.131          , Election          Code,         is amended              by

12   adding     Subsection          (f) to read            as follows:

13             (f) AA The        presiding            judge         of    the        central           counting              station

14   shall     provide       and    attest         to      a written            reconciliation                    of    votes        and

15   voters     at the      close        of tabulation                  for    election           day      and     again          after

16   the     central       counting         station           meets           for    the     last          time        to    process

17   late-arriving            ballots            by     mail        and         provisional                 ballots.                 The

18   secretary         of state      shall         create          and    promulgate              rules         and     a form          to

19   facilitate           compliance         with          this         subsection.                  The     form           shall       be

20   posted     on     a website          maintained               by    the        county      along        with           election

21   returns     and results.

22             SECTION      A 3.12. AA Section               129.023          , Election          Code,         is amended              by

23   adding     Subsections          (b-2)        and (c-1)             to read          as follows:

24             (b-2) AA If         the     test       is     being        conducted              for       an     election              in

25   which     a county          election         board       has        been        established             under           Section

26   51.002 , the general                custodian           of election              records         shall        notify           each

27   member     of the      board        of the       test    at least              48 hours         before        the       date       of




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 1   the test.         If the county          election        board       chooses        to witness           the test,

 2   each    member        shall   sign     the statement           required           by Subsection               (e)(1).

 3               (c-1) AA A test       conducted           under     this       section        must    also        require

 4   the    general        custodian        of election            records        to    demonstrate,               using     a

 5   representative             sample      of voting         system        equipment,           that        the    source

 6   code    of the equipment             has not been         altered.

 7                                       ARTICLE      4.     VOTING       BY MAIL

 8               SECTION     A 4.01. AA Section           84.001 (b),          Election         Code,        is amended

 9   to read       as follows:

10               (b) AA An application              must    be submitted               in writing            and    signed

11   by    the    applicant        using      ink    on     paper.         An     electronic          signature            or

12   photocopied           signature        is not permitted.

13               SECTION     A 4.02. AA Subchapter            A , Chapter              84 , Election           Code,       is

14   amended       by adding       Section      84.0011       to read          as follows:

15               Sec. A 84.0011.       AA SOLICITATION             OF     BALLOT        BY    MAIL    APPLICATIONS

16   PROHIBITED.            The early       voting     clerk       may make        no attempt           to solicit           a

17   person       to   complete        an    application            for     an     early       voting         ballot       by

18   mail,       whether     directly       or through        a third          party.

19               SECTION     A 4.03. AA Section            84.002 , Election                 Code,    as      effective

20   September         1, 2021,      is amended        by amending              Subsection           (a)     and    adding

21   Subsection         (b-1)      to read    as follows:

22               (a) AA An early       voting       ballot     application              must    include:

23                      (1) AA the       applicant         ’s name       and     the    address        at which         the

24   applicant         is registered         to vote;

25                      (1-a) AA the following               information:

26                                 (A) AA the       number          of      the        applicant        ’s      driver       ’s

27   license,          election           identification                  certificate,                or       personal




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 1   identification             card      issued        by the Department                  of Public           Safety;

 2                                   (B) AA if the         applicant           has    not       been     issued         a number

 3   described          by Paragraph            (A),      the   last     four        digits       of the          applicant     ’s

 4   social       security        number;          or

 5                                   (C) AA a       statement            by        the        applicant             that       the

 6   applicant          has not been            issued      a number          described          by Paragraph              (A) or

 7   (B);

 8                       (2) AA for an application                      for a ballot              to be voted             by mail

 9   on the       ground      of absence            from    the      county        of residence,                  the    address

10   outside       the     applicant          ’s county         of residence             to which            the    ballot      is

11   to be mailed;

12                       (3) AA for an application                      for a ballot              to be voted             by mail

13   on   the     ground        of     age    or    disability,              the     address           of    the    hospital,

14   nursing        home        or     other        long-term           care         facility,              or     retirement

15   center,       or    of    a person           related       to     the     applicant              within       the    second

16   degree        by    affinity            or     the     third        degree            by     consanguinity,                as

17   determined          under       Chapter        573 , Government                 Code,       if the          applicant      is

18   living       at     that        address        and     that       address           is      different              from   the

19   address       at which          the applicant           is registered               to vote;

20                       (4) AA for an application                      for a ballot              to be voted             by mail

21   on the ground            of confinement              in jail,       the address              of the jail             or of a

22   person       related         to      the      applicant           within        the        degree        described         by

23   Subdivision           (3);

24                       (5) AA for an application                      for a ballot              to be voted             by mail

25   on     any    ground,           an      indication           of     each        election               for    which       the

26   applicant          is applying           for a ballot;

27                       (6) AA an        indication            of      the     ground           of    eligibility             for




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 1   early      voting;     and

 2                     (7) AA for an application                          for a ballot              to be voted           by mail

 3   on   the    ground         of   involuntary               civil      commitment,               the    address           of    the

 4   facility        operated           by        or     under          contract          with        the       Texas         Civil

 5   Commitment       Office          or of a person                related     to the applicant                   within          the

 6   degree      of consanguinity                 described             by Subdivision              (3).

 7              (b-1) AA A       person           may     use       the   number          of    a    driver       ’s license,

 8   election       identification                     certificate,            or     personal             identification

 9   card    that    has    expired          for       the     purpose       of fulfilling                the     requirement

10   under      Subsection             (a)(1-a)              if     the   license          or       identification                  is

11   otherwise       valid.

12              SECTION     A 4.04. AA Section                      84.011 (a),                Election            Code,            as

13   effective       September           1, 2021,             is amended       to read           as follows:

14              (a) AA The       officially             prescribed           application              form      for      an early

15   voting      ballot     must       include:

16                     (1) AA immediately                      preceding            the        signature           space           the

17   statement:            "I        certify            that        the      information                  given         in        this

18   application          is true,          and I understand                 that    giving          false        information

19   in this      application           is a crime.";

20                     (2) AA a         statement                  informing          the           applicant            of        the

21   offenses       prescribed           by Sections                84.003     and 84.004 ;

22                     (3) AA spaces                    for        entering           an         applicant          ’s        voter

23   registration           number          and    county           election        precinct          of registration,

24   with     a statement             informing              the    applicant         that          failure        to    furnish

25   that    information             does    not invalidate                the application;

26                     (3-a) AA a           space         for       entering        the        information              required

27   under      Section     84.002 (a)(1-a);                      and




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 1                       (4) AA on an application                       for a ballot               to be voted             by mail:

 2                                  (A) AA a      space          for        an     applicant              applying           on       the

 3   ground      of absence          from       the    county       of residence                   to indicate             the    date

 4   on    or   after     which       the       applicant              can       receive           mail        at    the    address

 5   outside      the county;

 6                                  (B) AA a      space          for         indicating              the        fact       that        an

 7   applicant         whose     application                is signed             by a witness             cannot          make       the

 8   applicant        ’s mark        and    a    space        for       indicating                 the     relationship                or

 9   lack    of relationship               of the witness               to the applicant;

10                                  (C) AA a space           for entering                an applicant                ’s telephone

11   number,      with        a statement             informing              the       applicant           that       failure          to

12   furnish      that    information             does       not invalidate                   the application;

13                                  (D) AA a space            or    box          for    an    applicant              applying          on

14   the     ground      of    age    or     disability                to    indicate              that        the    address          to

15   which      the    ballot        is    to    be    mailed           is    the       address           of    a facility             or

16   relative         described       by Section             84.002 (a)(3),                  if applicable;

17                                  (E) AA a space            or    box          for    an    applicant              applying          on

18   the    ground      of    confinement              in    jail       or involuntary                    civil       commitment

19   to indicate         that       the    address          to which             the    ballot       is to be mailed                   is

20   the    address      of a relative                described             by Section             84.002 (a)(4)            or (7),

21   if applicable;

22                                  (F) AA a      space          for        an     applicant              applying           on       the

23   ground      of    age     or    disability             to     indicate             if    the    application                 is    an

24   application         under       Section          86.0015       ;

25                                  (G) AA spaces            for       entering              the    signature,              printed

26   name,      and residence             address       of any person                  assisting           the applicant;

27                                  (H) AA a     statement              informing              the       applicant           of       the




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 1   condition         prescribed           by Section             81.005 ; and

 2                                   (I) AA a        statement            informing              the     applicant           of     the

 3   requirement            prescribed           by Section              86.003 (c).

 4                SECTION     A 4.05. AA Subchapter                  A , Chapter                84 , Election              Code,       is

 5   amended        by adding        Section          84.0111        to read             as follows:

 6                Sec. A 84.0111.          AA DISTRIBUTION                 OF         APPLICATION                  FORM.            (a)

 7   Except        as provided            by Subsection              (c)        or as otherwise                 authorized             by

 8   this     code,     an        officer       or    employee            of       this     state       or   of     a political

 9   subdivision             of    this     state        may       not    distribute              an     application               form

10   for     an     early         voting        ballot        to     a    person           who     did       not     request           an

11   application            under     Section         84.001 .

12                (b) AA An       officer       or    employee            of       this     state       or   of     a political

13   subdivision            of this        state      may not use public                       funds     to facilitate              the

14   distribution             by another             person        of an application                     form      for     an early

15   voting        ballot         to a person          who     did       not       request        an application                under

16   Section        84.001 .

17                (c) AA A        political           party         or      a        candidate            for       office          may

18   distribute          an       application            form        for        an       early      voting         ballot         to    a

19   person       who did not request                  an application                    under    Section          84.001 .

20                SECTION     A 4.06. AA Section               84.032 (c),               Election        Code,          is amended

21   to read       as follows:

22                (c) AA An       applicant           may     submit           a    request         after         the      close       of

23   early     voting        by personal             appearance           by appearing                 in person         and:

24                       (1) AA returning                the       ballot           to    be     voted       by     mail     to     the

25   early     voting        clerk;        or

26                       (2) AA executing              an affidavit                  that      the applicant:

27                                   (A) AA has        not     received              the       ballot        to     be     voted       by




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 1   mail;     [or]

 2                                  (B) AA never          requested          a ballot         to be voted           by mail;

 3   or

 4                                  (C) AA received              notice       of    a    defect            under     Section

 5   87.0271(b)            or 87.0411(b).

 6             SECTION       A 4.07. AA Section             84.035 , Election                 Code,        is amended         to

 7   read    as follows:

 8             Sec. A 84.035.           AA BALLOT         SENT    TO    APPLICANT.              (a)         If     the    early

 9   voting     clerk        cancels       an application              by an applicant                to whom       an early

10   voting     ballot        has been         sent,      the clerk          shall:

11                         (1) AA remove          the     applicant        ’s name       from        the    early        voting

12   roster;     and

13                         (2) AA make      any     other        entries       in the         records        and    take    any

14   other     action        necessary          to prevent          the      ballot      from        being       counted      if

15   returned.

16             (b) AA An         election         judge     may    permit          a person          to    whom     an    early

17   voting     ballot           has    been      sent     who     cancels         the       person       ’s application

18   for    a ballot         to be voted           by mail        in accordance               with        Section        84.032

19   but     fails     to     return        the     ballot        to   be     voted      by     mail        to     the    early

20   voting      clerk,          deputy        early       voting       clerk,          or     presiding            judge     as

21   provided         by    that       section      to     vote       only     a provisional                ballot        under

22   Section     63.011 .

23             SECTION       A 4.08. AA Section             86.001 , Election                 Code,        is amended         by

24   adding     Subsection              (f) to read        as follows:

25             (f) AA If            the           information                required                under           Section

26   84.002 (a)(1-a)               included         on     the     application                does        not     match     the

27   information            on    the    applicant         ’s application               for    voter        registration




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                                                                                                                    S.B. A No. A 1

 1   under     Section        13.002 (c)(8),           the clerk         shall     reject              the application.

 2             SECTION       A 4.09. AA Section          86.002 , Election                       Code,     is amended          by

 3   adding        Subsections         (g),    (h),     and (i) to read                as follows:

 4             (g) AA The carrier             envelope         must      include        a space          that        is hidden

 5   from     view     when     the     envelope        is     sealed       for        the       voter        to     enter    the

 6   following        information:

 7                      (1) AA the        number         of        the      voter ’s              driver       ’s     license,

 8   election         identification             certificate,               or    personal               identification

 9   card    issued      by the Department               of Public          Safety;

10                      (2) AA if the voter              has not been            issued           a number           described

11   by     Subdivision          (1),     the     last        four       digits        of        the     voter ’s        social

12   security        number;      or

13                      (3) AA a       statement         by    the       applicant               that     the        applicant

14   has not been           issued     a number        described          by Subdivision                 (1) or (2).

15             (h) AA A       person      may     use        the     number        of        a    driver       ’s     license,

16   election         identification             certificate,               or    personal               identification

17   card    that     has     expired     for     purposes           of Subsection                (g)    if the         license

18   or identification               is otherwise            valid.

19             (i) AA No record           associating              an individual                 voter     with        a ballot

20   may be created.

21             SECTION       A 4.10. AA Section          86.011 (c),             Election              Code,        is amended

22   to read       as follows:

23             (c) AA If      the     return      is    not    timely,           the    clerk           shall        enter    the

24   time     of    receipt      on     the    carrier        envelope           and    retain           it    in     a locked

25   container         for     the      period         for     preserving              the        precinct            election

26   records.          The     clerk      shall        destroy        the     unopened              envelope            and   its

27   contents        after     the preservation               period.




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                                                                                                                       S.B. A No. A 1

 1             SECTION             A 4.11. AA Section              87.027 (i),          Election          Code,           is amended

 2   to read       as follows:

 3             (i) AA The            signature            verification             committee             shall        compare         the

 4   signature        on each            carrier          envelope         certificate,             except           those      signed

 5   for    a voter         by a witness,                 with       the    signature          on the           voter ’s ballot

 6   application               to    determine            whether          the     signatures             are     those         of    the

 7   voter. AA The             committee            may       also       compare        the      signatures                with       any

 8   known     signature              [two       or more         signatures]            of the       voter           [made      within

 9   the    preceding              six     years       and]    on file          with    the    county           clerk        or voter

10   registrar            to       determine             whether       the       signatures              are     those          of    the

11   voter. AA Except                as provided           by Subsection               (l),    a determination                    under

12   this    subsection               that       the     signatures          are    not      those       of the           voter      must

13   be     made     by        a    majority           vote      of    the       committee          ’s    membership.             AA The

14   committee        shall           place        the    jacket       envelopes,             carrier           envelopes,            and

15   applications                  of voters        whose        signatures            are    not    those           of the       voter

16   in    separate            containers              from      those      of     voters      whose           signatures             are

17   those     of    the           voter. AA The          committee          chair       shall       deliver           the      sorted

18   materials        to the             early     voting        ballot         board     at the         time        specified         by

19   the board ’s presiding                      judge.

20             SECTION             A 4.12. AA Subchapter               B , Chapter            87 , Election                 Code,      is

21   amended        by adding            Section          87.0271        to read        as follows:

22             Sec. A 87.0271.               AA OPPORTUNITY                TO    CORRECT            DEFECT:                SIGNATURE

23   VERIFICATION                  COMMITTEE.              (a)        This       section         applies             to    an     early

24   voting        ballot          voted     by mail:

25                         (1) AA for            which        the      voter        did       not        sign        the     carrier

26   envelope        certificate;

27                         (2) AA for            which        it      cannot        immediately                 be     determined




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                                                                                                                   S.B. A No. A 1

 1   whether     the       signature        on the           carrier         envelope          certificate                is    that

 2   of the voter;

 3                      (3) AA missing           any required                statement           of residence;                 or

 4                      (4) AA containing               incomplete              information              with      respect           to

 5   a witness.

 6             (b) AA Before         deciding            whether          to     accept          or    reject         a    timely

 7   delivered        ballot        under    Section           87.027 , the               signature           verification

 8   committee        may:

 9                      (1) AA return         the       carrier           envelope         to the          voter      by mail,

10   if the signature            verification                committee          determines              that       it would          be

11   possible      to      correct         the     defect           and      return         the       carrier         envelope

12   before     the time       the polls          are required               to close          on election            day;          or

13                      (2) AA notify            the        voter       of     the     defect         by      telephone              or

14   e-mail     and     inform       the    voter           that     the       voter       may    come        to    the        early

15   voting     clerk ’s office            in person          to:

16                               (A) AA correct              the defect;             or

17                               (B) AA request               to     have       the       voter ’s       application                 to

18   vote    by mail       canceled        under       Section          84.032 .

19             (c) AA If the        signature            verification                committee           takes      an action

20   described        by Subsection              (b),       the     committee          must       take       either        action

21   described        by     that     subsection              with      respect           to     each        ballot       in        the

22   election     to which          this    section          applies.

23             (d) AA A poll         watcher           is    entitled           to     observe          an    action           taken

24   under     Subsection        (b).

25             (e) AA The       secretary           of       state        may        prescribe           any       procedures

26   necessary        to implement          this        section.

27             SECTION       A 4.13. AA Section              87.041 , Election                   Code,       is amended              by




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                                                                                                                  S.B. A No. A 1

 1   amending        Subsections              (b)     and        (e)    and     adding       Subsection             (d-1)       to

 2   read    as follows:

 3             (b) AA A ballot           may be accepted                 only      if:

 4                        (1) AA the          carrier            envelope           certificate              is      properly

 5   executed;

 6                        (2) AA neither             the         voter ’s         signature            on     the        ballot

 7   application           nor    the    signature               on the       carrier       envelope          certificate

 8   is     determined           to    have     been           executed       by     a    person       other        than       the

 9   voter,     unless        signed      by a witness;

10                        (3) AA the       voter ’s             ballot        application              states        a     legal

11   ground     for early         voting        by mail;

12                        (4) AA the      voter           is    registered           to    vote,       if    registration

13   is required          by law;

14                        (5) AA the      address              to which       the    ballot        was      mailed       to the

15   voter,     as     indicated           by       the        application,          was     outside          the     voter ’s

16   county     of residence,             if the          ground        for   early       voting       is absence             from

17   the county        of residence;

18                        (6) AA for      a voter              to whom       a statement           of residence               form

19   was    required        to    be    sent     under           Section        86.002 (a),           the    statement          of

20   residence        is    returned           in    the        carrier       envelope           and     indicates            that

21   the     voter        satisfies            the        residence           requirements               prescribed             by

22   Section        63.0011      ; [and]

23                        (7) AA the      address              to which       the    ballot        was      mailed       to the

24   voter     is    an    address       that        is    otherwise            required         by    Sections          84.002

25   and 86.003 ; and

26                        (8) AA the      information                  required       under        Section         86.002 (g)

27   provided        by    the    voter       identifies               the    same       voter     identified            on    the




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                                                                                                            S.B. A No. A 1

 1   voter ’s        application               for         voter          registration              under         Section

 2   13.002 (c)(8).

 3             (d-1) AA If        a    voter        provides          the     information           required           under

 4   Section        86.002 (g)         and    it     identifies             the    same     voter     identified             on

 5   the     voter ’s       application               for       voter        registration            under        Section

 6   13.002 (c)(8),          the       signature           on   the      ballot       application           and       on    the

 7   carrier        envelope      certificate              shall      be rebuttably           presumed          to be the

 8   signatures           of the voter.

 9             (e) AA In making              the    determination             under       Subsection        (b)(2),          to

10   determine        whether         the     signatures           are     those     of the     voter,          the    board

11   may     also    compare          the    signatures            with      any    known     signature           [two       or

12   more     signatures]          of the          voter     [made       within      the    preceding           six    years

13   and]    on file       with       the    county        clerk     or voter        registrar        [to       determine

14   whether        the signatures            are those          of the voter].

15             SECTION      A 4.14. AA Subchapter                  C , Chapter         87 , Election             Code,       is

16   amended        by adding        Section        87.0411        to read         as follows:

17             Sec. A 87.0411.          AA OPPORTUNITY              TO CORRECT            DEFECT:         EARLY       VOTING

18   BALLOT     BOARD.         (a)      This        section        applies         to an early        voting          ballot

19   voted     by mail:

20                        (1) AA for         which     the         voter      did     not     sign        the     carrier

21   envelope        certificate;

22                        (2) AA for         which     it       cannot        immediately            be     determined

23   whether        the    signature          on the        carrier         envelope        certificate           is       that

24   of the voter;

25                        (3) AA missing           any required             statement       of residence;              or

26                        (4) AA containing            incomplete             information           with    respect          to

27   a witness.




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                                                                                                                        S.B. A No. A 1

 1                (b) AA Before         deciding            whether         to        accept         or    reject         a    timely

 2   delivered           ballot        under       Section            87.041 ,          the        early         voting        ballot

 3   board    may:

 4                         (1) AA return         the      carrier           envelope            to the          voter        by mail,

 5   if     the     early       voting         ballot          board            determines            that         it     would       be

 6   possible         to      correct        the     defect           and        return         the       carrier            envelope

 7   before       the time       the polls          are required                 to close          on election               day;    or

 8                         (2) AA notify           the        voter        of     the        defect        by     telephone           or

 9   e-mail        and     inform      the     voter          that        the    voter         may    come        to     the       early

10   voting       clerk ’s office            in person          to:

11                                  (A) AA correct             the defect;              or

12                                  (B) AA request              to     have       the        voter ’s        application              to

13   vote    by mail          canceled       under       Section           84.032 .

14                (c) AA If      the      early          voting           ballot          board           takes         an     action

15   described           by    Subsection            (b),       the        board         must        take        either        action

16   described           by    that      subsection             with       respect            to     each        ballot        in    the

17   election        to which         this     section         applies.

18                (d) AA A poll        watcher           is    entitled            to    observe            an    action           taken

19   under    Subsection            (b).

20                (e) AA The      secretary            of      state        may         prescribe           any         procedures

21   necessary           to implement          this      section.

22                SECTION      A 4.15. AA Section              87.0431          (b),    Election           Code,        is amended

23   to read       as follows:

24                (b) AA The     early       voting           clerk        shall,        not       later         than        the    30th

25   day     after       election         day,      deliver            notice           to    the     attorney               general,

26   including             certified             copies              of         the       carrier                envelope            and

27   corresponding              ballot       application,              of any ballot                 rejected           because:




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                                                                                                            S.B. A No. A 1

 1                      (1) AA the voter           was deceased;

 2                      (2) AA the      voter        already           voted     in     person         in     the       same

 3   election;

 4                      (3) AA the     signatures               on the    carrier        envelope           and    ballot

 5   application         were   not executed             by the same           person;

 6                      (4) AA the     carrier          envelope         certificate           lacked        a witness

 7   signature;       [or]

 8                      (5) AA the      carrier          envelope            certificate         was        improperly

 9   executed       by an assistant;            or

10                      (6) AA the      early        voting           ballot     board     or      the       signature

11   verification          committee          determined              that     another      violation              of    the

12   Election       Code   occurred.

13             SECTION     A 4.16. AA Sections              87.062 (a)          and     (c),     Election            Code,

14   are amended        to read       as follows:

15             (a) AA On     the      direction            of    the     presiding         judge,           the      early

16   voting     ballot       board,      in   accordance               with    Section         85.032 (b),           shall

17   open     the   containers         [container]              for    the     early     voting     ballots             that

18   are    to be counted          by the     board,        remove       the    contents         from       each     [the]

19   container,       and remove        any ballots              enclosed        in ballot        envelopes             from

20   their    envelopes.

21             (c) AA Ballots         voted        by     mail        shall     be     tabulated         and        stored

22   separately       from      the   ballots           voted     by personal           appearance           and     shall

23   be    separately        reported         on     the    returns       A [The       results      of       all     early

24   voting     ballots      counted        by the         board       under    this     subchapter            shall      be

25   included       in the same        return].

26             SECTION     A 4.17. AA Section             87.103 , Election              Code,     is amended             to

27   read    as follows:




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                                                                                                                 S.B. A No. A 1

 1             Sec. A 87.103.         AA COUNTING               BALLOTS         AND    PREPARING           RETURNS.            (a)

 2   The     early       voting      electronic                 system        ballots         counted       at     a    central

 3   counting        station,        the     ballots             cast       at precinct         polling         places,        and

 4   the    ballots        voted      by   mail        shall          be    tabulated         separately           [from       the

 5   ballots       cast      at    precinct           polling              places]      and    shall       be    separately

 6   reported        on the returns.

 7             (b) AA The         early       voting              returns            prepared         at     the        central

 8   counting        station       must      include             any    early        voting     results         obtained        by

 9   the early       voting        ballot        board          under       Subchapter         [Subchapters]             D [and

10   E].

11             SECTION       A 4.18. AA Section                 87.126 , Election               Code,      is amended           by

12   adding       Subsection         (a-1)       to read          as follows:

13             (a-1) AA Electronic                 records              made     under         this        section         shall

14   record       both    sides      of any application,                      envelope,         or ballot          recorded,

15   and    all    such     records         shall          be    provided        to     the     early      voting        ballot

16   board,       the signature            verification                 committee,        or both.

17             SECTION       A 4.19. AA Subchapter                     G , Chapter        87 , Election                Code,    is

18   amended       by adding         Section          87.128          to read    as follows:

19             Sec. A 87.128.         AA NOTES.                Each     member        of an early          voting        ballot

20   board     and       each     member         of        a    signature            verification           committee           is

21   entitled        to take       and     keep       any       notes       reasonably         necessary         to perform

22   the member          ’s duties       under     this         chapter.

23                                   ARTICLE          5.       ASSISTANCE        OF VOTERS

24             SECTION       A 5.01. AA Section                 64.009 , Election               Code,      is amended           by

25   amending        Subsection            (b)     and          adding        Subsections          (e),         (f),     (f-1),

26   (g),    and (h) to read             as follows:

27             (b) AA The          regular             voting              procedures,           except            those        in




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                                                                                                             S.B. A No. A 1

 1   Subchapter              B, may       be modified           by the        election     officer      to the       extent

 2   necessary          to conduct              voting     under    this        section.

 3               (e) AA Except            as provided           by Section          33.057 , a poll           watcher       is

 4   entitled       to observe                 any activity        conducted         under     this    section.

 5               (f) AA A person               who simultaneously               assists      three    or more        voters

 6   voting         under            this         section          by         providing        the      voters            with

 7   transportation                 to the        polling       place      must     complete     and    sign     a form,

 8   provided           by    an     election           officer,        that      contains     the     person       ’s name

 9   and    address           and    whether        the     person        is    providing      assistance            solely

10   under       this    section           or under        both    this       section     and Subchapter            B.

11               (f-1) AA Subsection                (f) does        not apply           if the person         is related

12   to    each     voter           within        the    second        degree      by     affinity      or    the        third

13   degree       by consanguinity,                     as determined            under     Subchapter         B , Chapter

14   573 , Government                Code.

15               (g) AA A form            completed        under       Subsection         (f) shall     be delivered

16   to    the    secretary               of    state     as    soon      as    practicable.           The     secretary

17   shall       retain        a form          delivered        under     this     section     for    the     period       for

18   preserving              the    precinct            election        records      and     shall     make     the       form

19   available          to the attorney                 general     for inspection             upon    request.

20               (h) AA The           secretary            of      state        shall       prescribe          the        form

21   described          by Subsection              (f).

22               SECTION       A 5.02. AA Section               64.031 , Election            Code,     is amended           to

23   read    as follows:

24               Sec. A 64.031.            AA ELIGIBILITY               FOR      ASSISTANCE.            A      voter        is

25   eligible       to receive                 assistance         in marking        or reading        the     ballot,       as

26   provided       by this           subchapter,           if the voter           cannot     prepare        or read       the

27   ballot       because           of:




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                                                                                                                           S.B. A No. A 1

 1                      (1) AA a       physical               disability                 that         renders              the        voter

 2   unable      to write      or see;           or

 3                      (2) AA an       inability                 to        read    the        language              in       which      the

 4   ballot      is written.

 5             SECTION      A 5.03. AA Subchapter                      B , Chapter              64 , Election                   Code,     is

 6   amended      by adding       Section             64.0322           to read          as follows:

 7             Sec. A 64.0322.         AA SUBMISSION                    OF        FORM        BY     ASSISTANT.                   (a) AA A

 8   person,        other      than     an       election               officer,              who    assists              a     voter     in

 9   accordance         with       this          chapter               is     required              to     complete               a     form

10   stating:

11                      (1) AA the          name       and     address             of    the        person       assisting               the

12   voter;

13                      (2) AA the          relationship                      to    the         voter           of        the     person

14   assisting        the voter;        and

15                      (3) AA whether                the    person          assisting              the    voter          received        or

16   accepted         any      form         of        compensation                  or        other         benefit              from      a

17   candidate,        campaign,            or political                committee.

18             (b) AA The secretary                   of state          shall       prescribe              the form             required

19   by   this      section.          The    form           must       be    incorporated                 into       the        official

20   carrier        envelope      if    the        voter          is    voting           an    early        voting             ballot     by

21   mail     and     receives         assistance                  under           Section           86.010 ,             or     must     be

22   submitted        to    an   election               officer              at    the        time        the    voter           casts     a

23   ballot      if   the    voter      is       voting           at    a polling              place        or   under           Section

24   64.009 .

25             SECTION      A 5.04. AA Section                64.034 , Election                      Code,           is amended           to

26   read    as follows:

27             Sec. A 64.034.         AA OATH.                A        person,           other            than        an        election




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                                                                                                                        S.B. A No. A 1

 1   officer,        selected            to     provide           assistance             to    a voter           must      take       the

 2   following        oath,        administered                   by an election              officer           at the      polling

 3   place,      before      providing              assistance:

 4             "I swear           (or affirm)           under           penalty        of perjury              that   the voter          I

 5   am    assisting              represented                to       me      they      are       eligible            to    receive

 6   assistance;            I will        not       suggest,            by word,        sign,       or gesture,             how       the

 7   voter     should        vote;        [I     will        confine          my     assistance            to    answering            the

 8   voter ’s questions,                  to     stating              propositions            on       the      ballot,       and      to

 9   naming      candidates              and,       if listed,             their       political             parties;]        I will

10   prepare         the     voter ’s            ballot            as      the        voter       directs;            I    did        not

11   encourage,            pressure,             or     coerce             the       voter        into         choosing          me    to

12   provide        assistance;            [and]        I am not the voter ’s employer,                               an agent         of

13   the     voter ’s employer,                  or     an    officer            or    agent        of    a labor          union       to

14   which     the    voter            belongs;        I will           not      communicate             information             about

15   how   the      voter        has    voted       to another               person;        and     I understand            that       if

16   assistance             is     provided             to        a     voter         who      is        not     eligible             for

17   assistance,            the voter ’s ballot                    may not be counted."

18             SECTION       A 5.05. AA Sections                      86.010 (e),            (h),        and     (i),      Election

19   Code,     are amended              to read       as follows:

20             (e) AA A person                who     assists           a voter         to    prepare           a ballot         to    be

21   voted     by    mail        shall        enter     on        the      official          carrier           envelope       of      the

22   voter:

23                         (1) AA the           person        ’s        signature,                printed             name,           and

24   residence        address;

25                         (2) AA the           relationship                  of      the     person            providing             the

26   assistance        to the voter;                  and

27                         (3) AA whether             the     person           received           or     accepted          any     form




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                                                                                                             S.B. A No. A 1

 1   of   compensation           or     other     benefit          from     a    candidate,             campaign,            or

 2   political         committee        in    exchange         for    providing              assistance            [on      the

 3   official        carrier     envelope        of the voter].

 4             (h) AA Subsection             (f) does       not apply        to:

 5                      (1) AA a      violation         of    Subsection              (c),        if   the    person         is

 6   related      to    the     voter     within        the    second       degree           by    affinity         or      the

 7   third     degree      by    consanguinity,               as    determined           under         Subchapter            B,

 8   Chapter     573 , Government               Code,    or was       physically             living          in the        same

 9   dwelling        as the voter        at the time          of the event;             or

10                      (2) AA a      violation         of    Subsection              (e),        if   the    person         is

11   related      to    the     voter     within        the    second       degree           by    affinity         or      the

12   third     degree      by    consanguinity,               as    determined           under         Subchapter            B,

13   Chapter     573 , Government             Code.

14             (i) AA An       offense        under         this      section          for         a   violation             of

15   Subsection        (c)     is increased           to the        next    higher       category            of offense

16   if it is shown           on the trial        of an offense             under      this        section      that:

17                      (1) AA the       defendant            was     previously                  convicted           of     an

18   offense     under       this     code;

19                      (2) AA the       offense        involved           a voter       65        years      of    age      or

20   older;     or

21                      (3) AA the defendant                committed       another           offense         under        this

22   section     in the same          election.

23             SECTION     A 5.06. AA Section           86.013 (b),             Election          Code,      is amended

24   to read     as follows:

25             (b) AA Spaces          must    appear        on the     reverse          side       of the       official

26   carrier     envelope        for:

27                      (1) AA indicating             the     identity          and    date       of the      election;




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 1   [and]

 2                      (2) AA entering                the      signature,                   printed               name,      and

 3   residence        address        of a person           other         than    the       voter        who    deposits       the

 4   carrier     envelope           in the    mail       or with          a common           or contract                carrier;

 5   and

 6                      (3) AA indicating              the     relationship                 of that           person       to the

 7   voter.

 8                     ARTICLE       6.     FRAUD      AND OTHER           UNLAWFUL          PRACTICES

 9             SECTION      A 6.01. AA Chapter               63 ,     Election              Code,        is        amended      by

10   adding     Section        63.0111       to read         as follows:

11             Sec. A 63.0111.        AA OFFENSES            RELATED            TO PROVISIONAL                 VOTING.        (a)

12   An     election         judge        commits         an    offense               if    the         judge       knowingly

13   provides        a voter        with    a form        for       an    affidavit           required             by    Section

14   63.001     if    the    form     contains          information               that       the     judge         entered      on

15   the form        knowing      it was false.

16             (b) AA An offense            under      this     section          is a state             jail       felony.

17             SECTION      A 6.02. AA Sections            A 276.004        (a)       and     (b),       Election           Code,

18   are amended        to read       as follows:

19             (a) AA A person            commits       an offense              if,    with       respect          to another

20   person      over        whom     the         person        has        authority               in     the        scope      of

21   employment,         the person          knowingly:

22                      (1) AA refuses            to    permit           the     other       person           to    be     absent

23   from     work    on election           day     or while         early        voting          is in progress              for

24   the purpose        of attending           the polls            to vote;          or

25                      (2) AA subjects            or threatens                 to subject           the       other       person

26   to a penalty           for   attending         the      polls        on election              day    or while          early

27   voting     is in progress             to vote.




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 1             (b) AA It       is    an     exception         to      the    application                 of      this    section

 2   that     the    person        ’s conduct        occurs        in connection                  with      an election             in

 3   which     the polls           are open       on election             day or while              early        voting        is in

 4   progress           for    voting        for     two      consecutive                 hours          outside          of     the

 5   voter ’s working              hours.

 6             SECTION        A 6.03. AA Chapter            276 ,         Election           Code,          is     amended          by

 7   adding        Sections        276.015,        276.016,          and 276.017             to read          as follows:

 8             Sec. A 276.015.            AA VOTE    HARVESTING.                 (a)      In this             section     and       in

 9   Section        276.016:

10                        (1) AA "Benefit"            means        anything         reasonably                 regarded         as a

11   gain     or    advantage,            including         a promise             or     offer         of     employment,            a

12   political           favor,      or     an    official           act    of    discretion,                  whether         to    a

13   person        or another        party       whose     welfare          is of interest                  to the person.

14                        (2) AA "Vote            harvesting                services"                  means        in-person

15   interaction           with     one     or more       voters,          in the        physical             presence         of an

16   official           ballot,       a   ballot         voted       by     mail,        or       an     application             for

17   ballot        by mail,        intended         to deliver            votes        for    a specific            candidate

18   or measure.

19             (b) AA A person             commits        an offense             if the           person,         directly          or

20   through        a third        party,     knowingly          provides           or offers               to provide         vote

21   harvesting          services         in exchange           for compensation                   or other         benefit.

22             (c) AA A person             commits        an offense             if the           person,         directly          or

23   through        a    third       party,        knowingly           provides              or    offers          to    provide

24   compensation             or    other        benefit        to    another           person           in      exchange        for

25   vote    harvesting            services.

26             (d) AA A       person        commits        an      offense          if       the       person       knowingly

27   collects        or possesses            a mail      ballot        or official                carrier         envelope          in




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 1   connection        with    vote     harvesting          services.

 2             (e) AA This      section       does    not apply             to:

 3                      (1) AA an       activity            not        performed              in      exchange             for

 4   compensation          or a benefit;

 5                      (2) AA interactions                that        do      not       directly          involve          an

 6   official       ballot,       ballot       by    mail,        or    an     application            for    ballot         by

 7   mail;

 8                      (3) AA interactions            that       are not conducted                  in-person         with

 9   a voter;     or

10                      (4) AA activity         that       is not       designed            to deliver        votes        for

11   or against        a specific        candidate          or measure.

12             (f) AA In      this      section,           compensation                in    exchange         for      vote

13   harvesting         services         is    inferred           if    a    person          who    performed          vote

14   harvesting        services        for a candidate             or campaign               solicits,        receives,

15   or is offered         compensation             from    the candidate                or campaign,          directly

16   or   through      a third        party,     for       services          other        than      vote    harvesting

17   services       provided.

18             (g) AA An      offense      under      this     section            is     a felony      of     the    third

19   degree.

20             (h) AA If      conduct         that     constitutes                 an       offense         under      this

21   section     also      constitutes          an offense             under      any       other    law,     the    actor

22   may be prosecuted           under        this   section,           the other           law,    or both.

23             (i) AA Records          necessary       to investigate                    an offense         under      this

24   section     or    any     other     section       of    this       code       shall       be    provided         by    an

25   election       officer      in an unredacted              form         to a law        enforcement         officer

26   upon    request.           Records         obtained           under          this      subsection          are        not

27   subject     to public       disclosure.




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 1             Sec. A 276.016.            AA CIVIL       LIABILITY             FOR     VOTE        HARVESTING.            (a)        A

 2   person      who     is     shown       by     a    preponderance                  of    the     evidence            to    have

 3   violated      Section            276.015          is    civilly            liable        to     any        candidate        or

 4   political         party        who    suffers       harm          from     the    vote       harvesting            services

 5   for damages        and penalties               that      may be awarded                 under     Subsection             (c).

 6             (b) AA A person              is    harmed          by    the     vote        harvesting           services        if

 7   the person        can demonstrate                 that:

 8                      (1) AA the person               has standing              to seek          relief;        and

 9                      (2) AA the liable               party          violated        Section        276.015.

10             (b-1) AA To establish                   standing          under        this     section,           a person       is

11   not     required          to     demonstrate              that       the         vote     harvesting               services

12   successfully         delivered              votes       for       a specific            candidate           or measure,

13   but must     demonstrate              that:

14                      (1) AA the          vote        harvesting               services            were       intended         to

15   deliver     votes        for a specific             candidate              or measure;           and

16                      (2) AA the         person       opposed           the    candidate           or measure           in the

17   person    ’s capacity           as a candidate                or political              party.

18             (c) AA A party             who    prevails         in an action               under     this      section        may

19   recover     damages        in an amount             including              any or all of:

20                      (1) AA the amount               of compensation                    paid     to or received             by a

21   party     in exchange           for vote          harvesting             services;

22                      (2) AA the          fair       market           value         of     any     benefit        given        or

23   received     in exchange              for vote          harvesting             services;

24                      (3) AA a penalty               in the amount              of $35,000;             or

25                      (4) AA reasonable                   and    necessary               attorney        ’s    fees,        court

26   costs,     witness        fees,       and discovery                costs.

27             (d) AA A party             who    is a candidate               for      office       who     prevails          in an




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 1   action         under      this      section            and      shows        that        the     number          of     voters

 2   contacted            by   the    vote         harvesting             activity            exceeds         the     number        of

 3   votes     by which         the    party         lost     the     election         shall         recover          damages       in

 4   an amount           including       any or all of:

 5                         (1) AA the        party ’s campaign                   expenditures                 properly        filed

 6   on a campaign             finance        report        in connection              with        the election;             or

 7                         (2) AA any         fees      and       expenses         incurred              by    the     party        in

 8   filing       and securing           a place         on the ballot.

 9                (e) AA A person            who     commits          an   offense            under      Section           276.015

10   and     is     found       civilly         liable,             including          by      vicarious             liability,

11   under        this    chapter        or    other        law      for    any    amount           of    damages          arising

12   from     the      vote    harvesting            services            is jointly            liable         with     any    other

13   defendant           for    the    entire           amount        of   damages            arising          from     the       vote

14   harvesting           services.

15                (f) AA The         cause         of     action           created            by      this          section         is

16   cumulative           of any other             remedy       provided          by common           law or statute.

17                (g) AA Rules        applicable            to a party ’s access                    to election            records

18   under        Chapter       231     or     232       apply        to    a    cause         of    action          under        this

19   section.

20                (h) AA The expedited               actions         process        created           by Rule         169,    Texas

21   Rules        of   Civil      Procedure,             does       not    apply         to    an     action         under        this

22   section.

23                (i) AA Chapter         27 , Civil            Practice          and     Remedies             Code,     does       not

24   apply     to a cause         of action             under       this   section.

25                (j) AA A cause         of    action          under       this     section           may      be    brought        in

26   the    county        where       any     element          of    a violation              under       Section          276.015

27   occurred,            or    where         any       part        of     the     vote         harvesting              services




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 1   occurred.

 2             (k) AA This      section       shall        be liberally           construed        and applied           to

 3   promote     its underlying              purpose        to protect          candidates         and the voting

 4   public     from     unlawful       vote        harvesting           and     provide     an efficient               and

 5   economical        remedy     to secure          that       protection.

 6             Sec. A 276.017.        AA UNLAWFUL           ALTERING          OF ELECTION          PROCEDURES.            A

 7   public     official        may    not     create,           alter,        modify,      waive,        or    suspend

 8   any    election      standard,           practice,           or    procedure          mandated        by    law     or

 9   rule    in a manner        not expressly              authorized          by this     code.

10                                       ARTICLE          7.     ENFORCEMENT

11             SECTION    A 7.01. AA Section              18.065 , Election              Code,      is amended           by

12   amending     Subsection           (a)    and    adding          Subsections         (e),     (f),    and     (g)    to

13   read    as follows:

14             (a) AA The    secretary          of state             shall     monitor     each     registrar           for

15   substantial         compliance          with        Sections        15.083 , 16.032 , 16.0332                    , and

16   18.061     and with     rules      implementing                 the statewide         computerized               voter

17   registration         list.

18             (e) AA A registrar            shall       correct         a violation         within       30 days        of

19   a notice     under      Subsection         (b).           If a registrar            fails     to correct           the

20   violation         within     30    days        of     a    notice        under      Subsection            (b),     the

21   secretary      of state       shall:

22                      (1) AA correct         the       violation           on behalf      of the        registrar;

23   and

24                      (2) AA notify         the        attorney            general     that      the     registrar

25   failed     to correct        a violation            under       this     subsection.

26             (f) AA A county         served        by        a registrar         who     fails     to    correct        a

27   violation      under       Subsection           (e)       is liable        to this     state        for    a civil




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 1   penalty     of $1,000       for   each    violation         corrected           by the     secretary        of

 2   state     under     that    subsection.            The    attorney            general     may     bring     an

 3   action     to recover       a civil     penalty     imposed          under     this     section.

 4             (g) AA A civil      penalty      collected        by the       attorney         general       under

 5   this    section     shall    be deposited          in the       state        treasury     to the     credit

 6   of the general        revenue     fund.

 7             SECTION   A 7.02. AA Subchapter           E , Chapter              31 , Election        Code,     is

 8   amended     by adding       Sections      31.128     and 31.129          to read        as follows:

 9             Sec. A 31.128.     AA RESTRICTION          ON     ELIGIBILITY.                 (a)       In     this

10   section,     "election       official"      means:

11                     (1) AA a county       clerk;

12                     (2) AA a permanent        or temporary              deputy     county     clerk;

13                     (3) AA an elections         administrator;

14                     (4) AA a permanent        or temporary               employee         of an elections

15   administrator;

16                     (5) AA an election        judge;

17                     (6) AA an alternate         election         judge;

18                     (7) AA an early       voting     clerk;

19                     (8) AA a deputy       early     voting       clerk;

20                     (9) AA an election        clerk;

21                     (10) AA the     presiding         judge        of     an     early     voting      ballot

22   board;

23                     (11) AA the     alternate        presiding           judge     of an early         voting

24   ballot     board;

25                     (12) AA a member        of an early          voting        ballot     board;

26                     (13) AA the chair        of a signature             verification          committee;

27                     (14) AA the      vice     chair         of     a      signature          verification




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 1   committee;

 2                     (15) AA a member           of a signature              verification              committee;

 3                     (16) AA the         presiding             judge         of      a        central            counting

 4   station;

 5                     (17) AA the         alternate            presiding             judge         of        a     central

 6   counting     station;

 7                     (18) AA a central              counting     station           manager;

 8                     (19) AA a central              counting     station           clerk;

 9                     (20) AA a tabulation              supervisor;            and

10                     (21) AA an assistant              to a tabulation               supervisor.

11             (b) AA A person          may     not     serve     as     an    election           official           if   the

12   person     has been       finally        convicted         of an offense              under       this       code.

13             Sec. A 31.129.        AA CIVIL     PENALTY.         (a)        In this       section,              "election

14   official"     has the meaning               assigned        by Section           31.128.

15             (b) AA An      election        official      may     be     liable          to    this     state        for    a

16   civil    penalty      if the official:

17                     (1) AA is employed              by or is an officer                   of this          state       or a

18   political     subdivision            of this       state;     and

19                     (2) AA violates           a provision           of this       code.

20             (c) AA A civil          penalty        imposed      under        this       section        may       include

21   termination         of    the     person     ’s    employment             and     loss       of     the       person     ’s

22   employment        benefits.

23             SECTION     A 7.03. AA Section           232.006     (a),       Election           Code,       is amended

24   to read     as follows:

25             (a) AA The      venue     of an election            contest           for    a statewide              office

26   is in Travis        County        or any     county         where        a contestee           resided          at the

27   time     of the    election.          For    purposes         of this           section,          a contestee            ’s



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 1   residence           is determined                under     Section          411.0257          , Government           Code.

 2              SECTION        A 7.04. AA Sections                232.008         (b),       (c),     and       (d),     Election

 3   Code,      are amended           to read           as follows:

 4              (b) AA Except          as provided               by Subsection                (c),     a contestant              must

 5   file     the     petition         not        later        than       the    later        of    the    45th        [30th]     day

 6   after      the      date    the    election               records           are     publicly          available            under

 7   Section        1.012       or    the        official        result          of    the     contested           election         is

 8   determined.

 9              (c) AA A contestant                    must     file       the     petition          not     later        than    the

10   later      of the 15th           [10th]           day after          the date          the election           records        are

11   publicly         available         under               Section       1.012        or     the    official           result      is

12   determined           in a contest                of:

13                        (1) AA a primary                  or runoff       primary           election;           or

14                        (2) AA a general                  or special          election           for which           a runoff     is

15   necessary           according          to the           official           result       or will        be necessary            if

16   the contestant             prevails.

17              (d) AA A contestant                    must    deliver,           electronically                or otherwise,

18   a   copy       of    the     petition              to     the        secretary           of     state        by     the     same

19   deadline         prescribed            for the filing                 of the petition.

20              SECTION        A 7.05. AA Chapter                232 ,      Election            Code,        is        amended      by

21   adding      Subchapter           C to read              as follows:

22                       SUBCHAPTER              C.     CONTEST       INVOLVING             ALLEGED        FRAUD

23              Sec. A 232.061.         AA PETITION               ALLEGING             FRAUD.              This        subchapter

24   applies        to    an    election              contest        in    which       the     contestant              alleges      in

25   the    petition           that    an        opposing        candidate,              an    agent       of     the    opposing

26   candidate,           or    a person              acting     on       behalf       of     the    opposing           candidate

27   with       the      candidate          ’s        knowledge           violated            any     of     the        following




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 1   sections        of this        code:

 2                      (1) AA Section          13.007 ;

 3                      (2) AA Section          64.012 ;

 4                      (3) AA Section          64.036 ;

 5                      (4) AA Section          84.003 ;

 6                      (5) AA Section          84.0041      ;

 7                      (6) AA Section          86.0051      ;

 8                      (7) AA Section          86.006 ;

 9                      (8) AA Section          86.010 ; or

10                      (9) AA Section          276.013      .

11             Sec. A 232.062.         AA DAMAGES.                (a)             If        it     is         shown      by        a

12   preponderance             of    the     evidence        that       a   contestee,                an      agent     of    the

13   contestee,         or     a person       acting      on     behalf          of     the      contestee            with    the

14   contestee        ’s knowledge           committed       one       or more         violations              of a section

15   described         by      Section        232.061,           the     contestee               is      liable        to     the

16   contestant         for damages          in an amount           of $1,000            for each          violation.

17             (b) AA Notwithstanding                  Section          41.004 (a),              Civil        Practice        and

18   Remedies        Code,     a court        shall     award       damages            under      Subsection            (a)       to

19   the     contestant         irrespective            of   whether             the    contestant              is     awarded

20   actual     damages.

21             Sec. A 232.063.         AA ATTORNEY       ’S FEES.                In    an     election          contest           to

22   which      this     subchapter            applies,          the        court        may       award        reasonable

23   attorney        ’s fees    to the prevailing                party.

24             SECTION       A 7.06. AA Section          273.061        , Election               Code,     is amended             to

25   read    as follows:

26             Sec. A 273.061.         AA JURISDICTION.                  (a) AA The           supreme           court        or    a

27   court      of     appeals         may     issue     a       writ       of        mandamus           to     compel        the




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 1   performance            of     any     duty        imposed           by     law     in    connection              with        the

 2   holding        of an election              or a political                 party     convention,             regardless

 3   of     whether        the     person         responsible             for         performing          the        duty     is    a

 4   public      officer.

 5               (b) AA The        court        of     criminal           appeals            may     issue       a     writ        of

 6   mandamus         to    compel        the     performance             of     any     duty       imposed          by     law    in

 7   connection             with         the      provision,               sequestration,                  transfer,               or

 8   impoundment             of    evidence            in     or     records           relating           to     a    criminal

 9   investigation            conducted              under    this       code       or conducted            in connection

10   with    the conduct           of an election               or political             party       convention.                 If a

11   writ     of mandamus           is issued           under       this       subsection,            it shall            include

12   an     order      requiring            the       provision,               sequestration,               transfer,              or

13   impoundment            of the evidence             or record.

14               SECTION      A 7.07. AA Subchapter                 D , Chapter          22 , Government               Code,       is

15   amended        by adding        Section          22.304        to read         as follows:

16               Sec. A 22.304.       AA PRIORITY             OF CERTAIN            ELECTION         PROCEEDINGS.                 (a)

17   The     supreme        court,        the     court        of    criminal            appeals,          or    a court           of

18   appeals        shall     prioritize             over     any other          proceeding           pending          or filed

19   in    the    court       a proceeding              for     injunctive              relief       or    for       a writ        of

20   mandamus         under       Chapter        273 , Election               Code,      pending          or filed          in the

21   court       on    or     after        the        120th        day        before      a    general           or       special

22   election.

23               (b) AA If granted,              oral       argument          for     a proceeding             described           by

24   Subsection            (a) may be given             in person             or through           electronic          means.

25               SECTION      A 7.08. AA Section              23.101 , Government                    Code,       is       amended

26   by    amending         Subsection           (a)    and        adding       Subsection            (b-1)      to       read     as

27   follows:




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 1             (a) AA Except      as provided          by Subsection             (b-1),        the    [The]          trial

 2   courts     of    this     state     shall      regularly          and    frequently             set       hearings

 3   and   trials      of     pending     matters,         giving       preference         to        hearings          and

 4   trials     of the following:

 5                      (1) AA temporary           injunctions;

 6                      (2) AA criminal        actions,         with    the following            actions             given

 7   preference        over    other     criminal      actions:

 8                               (A) AA criminal        actions         against        defendants               who    are

 9   detained        in jail    pending       trial;

10                               (B) AA criminal        actions         involving          a    charge           that      a

11   person     committed        an     act   of    family      violence,        as    defined            by    Section

12   71.004 , Family          Code;

13                               (C) AA an offense           under:

14                                        (i) AA Section        21.02        or 21.11 , Penal              Code;

15                                        (ii) AA Chapter           22 , Penal        Code,      if       the    victim

16   of the alleged           offense     is younger         than     17 years     of age;

17                                        (iii) AA Section             25.02 ,     Penal        Code,           if     the

18   victim     of the alleged           offense      is younger        than     17 years        of age;

19                                        (iv) AA Section           25.06 , Penal       Code;

20                                        (v) AA Section        43.25 , Penal          Code;         or

21                                        (vi) AA Section             20A.02 (a)(7),            20A.02 (a)(8),

22   or 20A.03 , Penal          Code;

23                               (D) AA an offense           described         by Article            62.001 (6)(C)

24   or (D),    Code     of Criminal          Procedure;        and

25                               (E) AA criminal           actions       against          persons              who     are

26   detained        as provided        by Section         51.12 , Family          Code,       after           transfer

27   for prosecution           in criminal         court     under      Section       54.02 , Family               Code;




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 1                         (3) AA election           contests              and     suits         under        the     Election

 2   Code;

 3                         (4) AA orders          for     the        protection             of       the      family      under

 4   Subtitle        B, Title        4, Family          Code;

 5                         (5) AA appeals          of     final         rulings           and        decisions          of     the

 6   division         of     workers       ’     compensation               of      the        Texas       Department            of

 7   Insurance           regarding         workers       ’ compensation                claims          and     claims     under

 8   the Federal           Employers        ’ Liability          Act and the Jones                   Act;

 9                         (6) AA appeals         of final           orders        of the        commissioner            of the

10   General        Land    Office        under    Section           51.3021       , Natural           Resources         Code;

11                         (7) AA actions          in    which        the     claimant           has       been     diagnosed

12   with      malignant            mesothelioma,                other           malignant             asbestos-related

13   cancer,        malignant        silica-related                  cancer,        or acute         silicosis;          and

14                         (8) AA appeals         brought        under           Section        42.01        or 42.015 , Tax

15   Code,     of orders           of appraisal            review          boards         of    appraisal           districts

16   established           for counties           with     a population                of less         than    175,000.

17             (b-1) AA Except             for    a criminal           case        in which          the      death     penalty

18   has     been    or     may    be     assessed         or    when        it    would        otherwise           interfere

19   with     a constitutional                 right,      the       trial        courts        of     this     state     shall

20   prioritize           over     any other       proceeding              pending         or filed          in the court         a

21   proceeding           for     injunctive        relief           under        Chapter        273 , Election           Code,

22   pending        or     filed     in    the     court        on    or     after        the    120th        day     before      a

23   general        or special          election.

24                   ARTICLE        8.     INELIGIBLE           VOTERS        AND RELATED              REFORMS

25             SECTION       A 8.01. AA Chapter             42 ,      Code        of    Criminal             Procedure,          is

26   amended        by adding        Article       42.0194           to read        as follows:

27             Art. A 42.0194.            AA FINDING       REGARDING               FELONY        CONVICTION.             In the




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                                                                                                                     S.B. A No. A 1

 1   trial     of    a felony           offense,            if    the    defendant          is    18     years        of    age     or

 2   older     and is adjudged                guilty        of the offense,                the court       shall:

 3                      (1) AA make            an     affirmative              finding        that       the     person            has

 4   been    found     guilty           of a felony              and    enter    the       affirmative               finding        in

 5   the judgment           of the case;              and

 6                      (2) AA instruct                the        defendant         regarding            how     the        felony

 7   conviction        will        impact       the defendant              ’s right        to vote        in this          state.

 8             SECTION       A 8.02. AA Article                  42.01 , Code       of Criminal            Procedure,               as

 9   effective        September             1, 2021,         is amended         by adding          Section           16 to read

10   as follows:

11             Sec. A 16. AA In               addition            to     the     information               described                by

12   Section        1, the        judgment          should        reflect       the    affirmative               finding           and

13   instruction            entered         pursuant         to Article          42.0194.

14     ARTICLE         9.     REPEALER;             SEVERABILITY;              TRANSITION;             EFFECTIVE            DATE

15             SECTION       A 9.01. AA The following                     provisions             of the Election                Code

16   are repealed:

17                      (1) AA Section               85.062 (e);          and

18                      (2) AA Section               127.201       (f).

19             SECTION       A 9.02. AA If             any         provision           of        this          Act         or      its

20   application            to     any      person          or    circumstance              is     held        invalid,            the

21   invalidity        does        not affect          other           provisions          or applications                 of this

22   Act     that     can        be    given         effect        without         the      invalid            provision            or

23   application,            and to this             end the provisions                of this          Act are declared

24   to be severable.

25             SECTION       A 9.03. AA (a)            Except          as otherwise          provided           by this         Act,

26   the     changes         in       law     made     by        this     Act      apply         only     to     an        offense

27   committed        on     or       after     the    effective            date      of    this        Act.         An    offense




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                                                                                                                 S.B. A No. A 1

 1   committed        before        the     effective           date      of this       Act       is governed               by the

 2   law    in effect        when     the      offense          was     committed,          and    the    former            law    is

 3   continued        in effect          for that         purpose.           For purposes            of this          section,

 4   an    offense     was     committed            before         the    effective           date       of     this    Act        if

 5   any element        of the offense               occurred           before       that    date.

 6            (b) AA The       changes          in     law       made     by    this        Act    apply        only        to     an

 7   election        ordered        on    or    after        the      effective         date        of    this        Act.         An

 8   election        ordered        before       the      effective          date      of this          Act     is governed

 9   by the     law    in effect          when       the     election          was    ordered,           and     the    former

10   law is continued           in effect            for that           purpose.

11            (c) AA The       changes          in     law       made     by    this        Act    apply        only        to     an

12   election        contest        for     which      the       associated           election           occurred           after

13   the effective           date    of this         Act.

14            (d) AA The       changes          in     law       made     by    this        Act    apply        only        to     an

15   application        to vote           an early         voting         ballot       by mail          submitted            on or

16   after    the     effective           date       of    this       Act.       An    application               to    vote        an

17   early    voting     ballot           by mail         submitted          before         the    effective           date        of

18   this    Act     is governed           by the         law    in effect           when     the       application               was

19   submitted,         and     the       former          law      is    continued            in     effect           for     that

20   purpose.

21            (e) AA The       changes          in     law       made     by    this        Act    apply        only        to     an

22   application         for        voter        registration                submitted             on     or     after            the

23   effective        date    of this        Act.

24            SECTION        A 9.04. AA This           Act      takes      effect       on     the       91st     day       after

25   the last      day of the legislative                       session.




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                                                       PUBLIC COMMENTS


SB 1
HOUSE COMMITTEE ON CONSTITUTIONAL RIGHTS & REMEDIES, SELECT

Hearing Date: August 23, 2021 8:00 AM

Evy Guthrie
self-self employed financial
WACO, TX

Voting is a right not a privilege, one measure of a democracy's success is by the number of people voting for their leaders. This
bill opposes that concept.

Cheryl Johnson, Galveston County Tax Assessor Collector
Galveston County Tax Office and Self
Galveston, TX

Passage of this legislation is essential to ensure election integrity and that all individuals associated with elections perform duties
properly and within defined guidelines. Protection of the vote, is essential in preserving our Constitutional rights and liberties.

Mary Homb
Self.    Retired
Leander, TX

I completely support this bond to protect voter integrity for fair and honest elections of all kinds.

melanie collins
Self homemaker
dallas, TX

I am for SB 1 in order to preserve election integrity in our great state making it easy to vote yet hard to cheat. Thank you. Melanie
Collins, Dallas

Robery Gambill
Myself
Longview, TX

Please pass SB 1 as written by Hughes without alteration, change or amendment. It does nothing to restrict fair and honest
voting, but adds protections to the voting process to insure greater integrity of legitimate voters. There is no reason to vote
against this bill by any reasonable, objective, intelligent person. Only those who would promote potential cheating and voting
fraud would fail to support this bill.

Mark lockhart, Mr.
Myself
Little elm, TX
Printed on: August 30, 2021 11:32 AM
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Little elm, TX

Please support all election integrity bills. We can not allow voter fraud to corrupt our state or federal elections any longer. This
violates our liberty and freedoms. We must fight to keep our democracy free from corruption. We have seen evidendence of
voter fraud in many elections. Please increase transparency into our election process.
Thank you.

John Thomas
Individual
Jefferson, TX

Need voter integrity to avoid fraud.

Linda Stone
self/artist
Kerrville, TX

Texas is under attack and so is our democracy. Make it easy to vote but hard to cheat in Texas. Please support SB1 election
integrity Senator Bryan Hughes and passed in the Texas Senate, SB 1 contains the following common-sense reforms:

Adds voter identification to vote by mail, making it consistent with in-person voting

Strengthens prohibitions against paid vote harvesting

Protects poll watcher access to see and hear the process, improving transparency

Prohibits public officials from distributing unrequested vote-by-mail applications

Conducts regular maintenance to verify the accuracy of voter registration lists

Rob Barrett, Mr
Self
Amarillo, TX

PAss them all! Quit fooling around !

Michelle Cytacki, Mrs.
Citizens of Texas
Pinehurst, TX

If we don’t have integrity in our elections, we have nothing as American voters.

Mark lockhart
Self. Nurse
Little elm, TX

Please support all election integrity bills. We can not allow voter fraud to corrupt our state or federal elections any longer. This
violates our liberty and freedoms. We must fight to keep our democracy free from corruption. We have seen evidendence of
voter fraud in many elections. Please increase transparency into our election process.
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voter fraud in many      5:21-cv-00844-XR
                    elections.                    Document
                               Please increase transparency    117-4
                                                            into        Filedprocess.
                                                                 our election 11/15/21 Page 121 of 554
Thank you.

Ryan Maddings
Texas Values
Lovelady, TX

I am for SB1. Election integrity is more important now more than ever! Our country is in the gutter because the Democrats cheat
and they have been cheating for years! Pass the bill now!

Mary Bernard
Self
Baytown, TX

I am a Texas voter and demand that my vote counts and is not canceled by an illegal vote. Please pass this bill and insure the
integrity of voting in Texas. I must show a picture identification to buy alcohol or cigarettes, board a plane or enter a public
school. It is much more important that we are required to show the same to vote. We should also need to prove we have a legal
right to vote in Texas and the United States.

Y Carlson
Self
Houston, TX

Pass this bill! We must have fair and honest elections!

Christy Stanford
Individual
Katy, TX

We experienced election fraud as well as several others in our community. We chose to vote in person and upon arriving we were
told somebody had already voted; so someone used our names by mail and voted!
 This is happening in Harris county as well. We need integrity and security in elections and will be worse now that our borders
are open!

Eugene Short
Self
Frisco, TX

Please pass this bill to help insure the integrity of our elections. This has been going on far too long. Please fix this now.

Mikki Thiele, mrs.
self retired
North Richland Hills, TX

I believe that we must have fair election which are secure, allowing only a registered citizen presenting proof of eligibility to
vote the privilege of exercising that right.


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Linda Martinelli
self, self employed business owner
Boerne, TX

Election integrity is at the heart of free and fair elections. This bill will help to insure that all legal votes are counted, and that
only legally verified voters can vote. This bill hurts no ones rights, of any color, sex, religion etc. It discriminates against no one.
Please vote FOR SB1 for fair elections in Texas. To do anything else is a vote for fraud in Texas.

Dorothy Franz, Mrs.
Self
Carrollton, TX

I believe that a person must show valid identification and should be a United States citizen in order to vote.

Donn Taylor
Self/Novelist
The Woodlands, TX

I strongly support passing this bill as is. If it has a problem, that problem is not being strong enough. For heaven's sake, don't let it
be watered down to please any group.

Judy Shelton
Self, retired
Waxahachie, TX

Please keep identification in place

Sharon Taylor
Texas Citizen
Rio Hondo, TX

The 2020 election fraud was outrageous. We watched as this nation encountered the worst crime against its citizens in one
hundred years. We are requesting you sincerely support this SB 1 to prevent future fraud, ie. mail-in balloting, censoring of poll
watchers, unrequested absentee ballots, etc. It is a severely disturbing issue to find your vote has been switched from your
Choice of candidate to one you utterly DO NOT wish to vote for. Since this has been proven to have happened more frequently
even than this past election, we wish to request full investigation and disclosure of the FACTS in connection with other
candidates who were shoved aside to accommodate the cheaters. Thank you for considering this message and voting in support of
this bill. We appreciate the work you do.

Michael Reeb
Self
Austin, TX

I support SB 1 which makes it more difficult for people to cheat in our election process. We must have election integrity.

Mikki Thiele, mrs.
self-retired
Printed on: August 30, 2021 11:32 AM
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self-retired
                   Case 5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 123 of 554
North Richland Hills, TX

I believe in the securing of our elections against all types of potential fraud. I believe that every registered citizen has the right to
vote and with that privilege comes the responsibility to present proof of eligibility in order to secure that right for all citizens.

Julie Skotak
self - administrative assistant
Irving, TX

I am absolutely for strengthening our laws in relation to elections security and integrity, and also preventing election fraud. I
prefer paper ballots. There must be written, not just digital, records for audit purposes.

Amanda Pickering
Self
Dallas, TX

We support these reforms for free & fair elections!

Delores Kirkpatrick
self
Tyler, TX

Please support and help to pass the bill so that we have qualified Texas citizens voting. Clean up our voting rolls and take off
unqualified Texas residents.

William Buhl, Precinct Chair, Precinct 311, Bell county
Self. Retired
Temple, TX

Clearly this bill must pass to protect the integrity of elections in Texas. Any Representative who voted against it should be
removed from office in the next election, if not sooner.

Marti Peddicord
Myself
Cypress, TX

Pass it or else say "goodbye" to your job.
If you don't have an ID, Biden must have let you in to the United States, illegally.

Margaret Bulgin, Mrs
None
Cypress, TX

Many Texans will vote contrary to my opinions. The votes of those who disagree with me are as important as my vote.I want each
and every lawful vote in the state of Texas to count as much as my vote. No more, no less.

It is my understanding that handicapped and elderly voters in the state of Texas are eligible to vote, upon request, by absentee
ballot. What
Printed      could be
        on: August 30,more
                       2021convenient
                             11:32 AM or safe for these individuals that voting from the privacy of their own homes? Requests
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ballot. What couldCase    5:21-cv-00844-XR
                    be more convenient or safe forDocument     117-4
                                                  these individuals that Filed
                                                                         voting 11/15/21    Page
                                                                                from the privacy of 124
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                                                                                                              homes? Requests
for absentee ballots should be made timely enough that the voters information can be appropriately verified.

Common sense tells me that if our desire is to protect the sanctity of each lawful vote, and we have made appropriate
accommodations for those for whom voting is unusually difficult, we can only allow as many options for voting as we can
appropriately secure. I therefore testify in favor of SB1.

Miguel de Socarraz, PhD
Self
Temple, TX

Support strengthening of elections integrity bill 100%

William Chase, Dr.
retired teachers
Pearland, TX

I strongly support no cheating elections.

NICOLE LEVLON
SELF
LLANO, TX

Election Integrity is crucial for our beautiful state and future generations. In the 2020 elections, I was shocked to see the party
affiliations had been removed from the ballots. Instantly I felt something was wrong because in all the years I have voted, I've
never seen this issue. Considering our technology is supposed to be improving everyday, this was odd to me. As a life long Texas
citizen, I understand the importance of our elections. Texans have to feel secure when they go to the polls because that's how we
voice our opinion. We don't burn down buildings, tear down monuments, or force others to see things our way. We vote! My son
is turning 18 years old this year. I want him to trust in our voting system. I want him to know his vote will be counted and his
voice will be heard. If election integrity is not important now, it never will be. As a state that usually leads the way, let's continue
to show the rest of our country what integrity and security looks like. I am a proud Texan and want to continue to have faith in
our voting system. Please pursue increasing criminal penalties for those whom do not respect the opinions of all Texans. Theft is
still theft at the end of the day.
Sincerely, Nicole Rabb Levlon

joyce wagner, ms
representing self, ret ired state employee
Houston, TX

I wholeheartedly support SB1 and agree that it preserves integrity and security of the electoral process. It's appropriate and
necessary and in no way obstructs those who have the right to vote from voting.

Martha Young
Self
Mansfield, TX

Please please please pass this legislation to protect our vote. Our nation is crumbling before our very eyes because the November
3, 2020 election was not protected, and we now have an illegitimate administration which is handing the United States over to
China on a silver platter.
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Becky Chase
retired teachers
Pearland, TX

I strongly support election integrity

Richard Carey
Self
Dallas, TX

We have so many ways to identify qualified voters, and we would choose to turn a blind eye in this one instance, while it is the
most important. We register to vote ahead of time to vote to make it possible to validate you are a citizen with a record that is
qualified to vote. This is the time and place we choose who represents us best.

We should treat voting like the privilege it is, it is a sacred right of being self governed.

Ladies and Gentlemen, simplify the vote go to paper. Adopt this course of action unless our leadership fail to hold the confidence
of the people. It is our duty to hold our vote to the highest standard possible. Anyone who would argue this on any level is
depending on slide of hand to hold their chair at the table, or worse be exposed for activities outside the spirit of the law.

You can manage the vote a lot better, do it.

Janet George, Ms.
Self
Bryan,, TX

I approve and support ALL of the actions to prevent voter fraud and voter cheating in SB 1. I wish my representatives to vote for
this bill in order to further Voter Integrity in my state of TEXAS.

Virgil Vaclavik
Self /Retired
KATY, TX

The last election in 2020 was a farce. The amount of mail in ballots was ridiculous and untraceable. Voter ID is absolutely
necessary to insure the integrity of the elections.

Dana Sun
Self/Retired
Texarkana, TX

SB 1 by Hughes is just common sense to ensure that only those persons who are legally allowed to vote, do so. It does not
 "suppress" the right to vote, except for those persons not legally allowed to vote. If someone is smart enough to know how to
register to vote, then they are smart enough to obtain a legal, picture ID. Picture ID's are required for just about everything in this
country so not an excuse for legally registering to vote.

Peter Niaves, Dr
Self
Killeen,on:
Printed  TXAugust 30, 2021 11:32 AM

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Killeen, TX

We need election integrity and stability with procedures that are unable to be corrupted in our election processes

Derrel Beesinger
Citizen
Archer City, TX

Pass this Bill !!!

DiAne Gates, Mrs.
Self, Author and Illustrator
Crandall, TX

I urge you to pass Senate Bil #1 by Bryan Hughes. This common-sense bill will hopefully prevent the kind of fraud and
lawlessness Americans experienced this past presidential election.

DAVID BIEDERMANN
SELF
Austin, TX

I SUPPORT THIS BILL

LIEN GILHOOLEY
SELF
HOUSTON, TX

I urge you to support Senate Bill 1. These are common sense reforms, such as adding voter ID to vote by mail. Let's be honest:
an adult cannot do anything in this country without proper ID. If one has to have proper ID in order to purchase cigarettes or
alcohol, one should proper ID in order to vote. This bill makes harder to cheat, which is why so many disingenuous opponents are
out there smearing and lying about its intent.

Elizabeth Stoddard, Ms.
self, Office manager
Austin, TX

I am a native Texan and am against this bill, which would restrict voting rights, limit voting opportunities and make it more
challenging for any Texan to vote.

Alaina Robinson
Self
Cedar Park, TX

I am for all election integrity measures that can be placed into law, especially requiring voters to show valid legal identification
and harsh penalties for anyone breaking laws concerning ballot tampering.

Lynice Francis
Printed on: August 30, 2021 11:32 AM
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self
Prosper, TX

I strongly support this bill. we can never let 2020 happen again.

Royce Baethge
self
Fredericksburg, TX

To sustain the integrity of any governmental election we must be able to identify each and every voter as a legal citizen. If the
individual can not be verified the vote should not be counted. This is especially true of the mail in ballots which can be easily
compromised.

Deborah Lucas, Mrs.
N/A
College Station, TX

This issue is so important to Texas for election integrity. We have seen a lot of voter fraud in Texas and other places and we must
protect Texas from becoming a blue state.

Susan Russell
Northwest Women's Republican Association
Austin, TX

It is so important to verify one's identity wherever and however one votes. Otherwise there could be wide spread fraud. This is a
no brainer.

Scott Britton
Self (small business owner)
Fairview, TX

Whether you believe there was election fraud in the last November election or not, more than 50% of our state believes there was
election fraud so this is a serious problem that MUST be addressed. And if you add to that fact that the democrats and SOME
republicans refuse to allow forensic audits, THAT JUST ADDS TO THE FEELING THAT THERE IS SOME TYPE OF
FRAUDULENT ACTION HERE. The federal law requires election information to be retained for 22 months and THAT IS
FOR A REASON. And that reason is so that it can be AUDITED!

Phil Ernest
All Texan selfs
Ft Worth, TX

Texas is the leader in the nation for true justice and true compassion. This bill make sure that everybody who is honest and who
loves our constitutional republic will be able to participate freely, and everyone who is dishonest and hates our constitutional
republic and wants to cheat other people out of their vote will not be able to do so…it is just for those who love justice it is
merciful to those who need mercy. When marxists and leftists hate it, it is a sure sign you are doing something truly
compassionate and good

Melvin DeGeeter
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self
Richmond, TX

My wife and I strongly support this bill and we ask that you do the same. Thanks in advance for considering this request.
Melvin and Priscilla DeGeeter

Joanne Imwalle
Self/housewife
The Woodlands, TX

In order to ensure confidence in our most foundational system of government, I encourage you to vote for SB1. The integrity of
our voting system is paramount. Voter id should be required for all votes submitted to ensure only citizens are voting once.
American citizens should not be disenfranchised and have their votes cancelled by illegal votes.
Also, voting roles need to be cleaned up.
Thank you for supporting SB1

Terri Hall
We the People - Liberty in Action
Kerrville, TX

We overwhelmingly support these common-sense reforms in SB 1:
-Adds voter identification to vote by mail, making it consistent with in-person voting
-Strengthens prohibitions against paid vote harvesting
-Protects poll watcher access to see and hear the process, improving transparency
-Prohibits public officials from distributing unrequested vote-by-mail applications
-Conducts regular maintenance to verify the accuracy of voter registration lists

These are a MUST to secure Texas elections. Both parties should be totally on board with all of the above unless you wish to
cheat. As a minority myself, the race-baiting is ridiculous. No one is being disenfranchised from this bill. It actually adds
additional hours to voting. Stop the antics and pass this bill!

Laurel Stoddard
self - small business owner
Austin, TX

I am a sixth-generation Texan, and I am privileged to have been a registered voter for nearly 50 years. I doubt that I have missed
an election. I have little concern about voter fraud; it's just not that prevalent. I have great concern about laws being passed that
will place time constraints and location constraints on the availability of voting so that it makes voting more difficult for those
who have the fewest advantages and are less privileged.

Jay Malone
Self
Houston, TX

I am writing to oppose this bill. This is a solution in search for a problem. The 2020 election cycle was one of the most successful
in years. Hundreds of thousands of Texans voted for the first time, and millions were able to safely and securely cast their ballot.
We should be building on the success of 2020, not working to make it harder and more uncomfortable to vote.

SB1 is bad for Texas, and I encourage every member of the committee to vote it down.

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Laura Sladky
Self
Plano, TX

OPPOSE SB 1. This has nothing to do with voter security, but rather, limiting the ability to vote.

Laura Guerrero, Dr.
self - professor
Houston, TX

We need to increase access to voting not restrict it. There is no evidence of voting fraud. What I see is evidence of voter
suppression.

Bill Barkhurst, Teachet
Na
Plano, TX

No on this SB 1.

Amanda Cassidy
Self
New Braunfels, TX

OPPOSE!

Michael Mumaw
Republican
Sugar Land, TX

There must be requirements to have ID to vote with valid picture.

Aaron Pino
DFW Pro Musicians Assoc.
Arlington, TX

We OPPOSE this bill.

Lawrence Prosser
ATU Local 1091
Austin, TX

Relating to election integrity and security

Joe Farmer
self- retired state worker
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Austin, TX

This bill is a solution looking for a problem. More properly it is a problem looking to perpetrate itself on the voters of Texas to
benefit no one but the Republican incumbents because they know that they cannot win a free and fair electoral process. This bill
is a monstrous fraud which pretends to protect elections but only makes it harder for voters to exercise their rights. It should be
opposed by anyone who truly believes in democracy.

George Balle
self
Dallas, TX

This bill is an attempt to limit voting rights for communities of color, and other left leaning voters. Shame on the governor and
republican sponsors. Lets defeat this bill.

John & Krista Raymond
Self
Lakeside, TX

I am going to ask you to further fortify the integrity of our election process in Texas. In the last year, there have been many doubts
regarding our election system, its transparency, and the processes, in which it has been made unclear to the public, whether each
vote counted is legal and correct, being of one legitimate voter. As with any event in our lives, like getting on a plane, requesting
a passport, driving a vehicle, purchasing a hotel room, or even opening a bank account, we citizens are required to provide
positive evidence that we are who we say we are. For our Right to Vote in a Free and Fair election, which the importance cannot
be argued, is not the integrity of our election process that much more sacred to ensure its outcome is correct and without
corruption? Surely, ensuring that each person who votes is who they say they are is a small price for integrity.
Ensuring that no vote was made corruptly, either by counterfeit or by digital enterprise should be made a priority in a transparent
and fair election.
IDs must be verified for every voter. NO EXCEPTIONS.
I believe that to ensure voter rolls are current, there should be a yearly voter renewal. Mail-in ballots should only be used for
those citizens who are serving our country out of Texas or who have a legitimate cause, but for no other reason that encourages
fraud.
As a voter, I currently do not have faith that our election system is not corrupted and that my vote actually counts. In order to
promote faith in our system and to have transparency, an audit should be performed within 180 days of any election. No voting
machine should have any access to the internet. No recounting of votes should be made within a computer that is connected to the
internet. Paper ballots, in my opinion, should be the only option for voting.
Forensic audits should be done for any candidate or elected official making such a request. If an election is won by less than 1
percent, then an automatic audit shall be conducted.
Ballots that are printed should be only approved by the Secretary of State before each election. No software in our voting system
should be made outside of the United States of America, with an absolute chain of custody of its origin. Each ballot should have a
watermark, pre printed serial number, or even a QR code, so that the voter can go back and trace their vote in any given election.
There should not be a way to copy ballots.
Polling locations should operate only when there is representation from both parties. An election judge by both parties MUST BE
PRESENT. There should be more accountability to The People by election administrators and the Commissioners Court.
Voting hours should not extend past 7 p.m. each voting day since another shift of workers will be needed and may cause
inconsistency, where one judge will not be responsible for the whole day.
Lastly, crimes for election fraud must be increased to a felony. Electioneering must be a punishable violation.
Thank You

James Hanley, Mr.
Self Independent Consultant
Missouri City, TX

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No democracy can survive without free, honest, and secure elections. Election integrity and security is critical to preserving our
hard won individual liberty, freedom and democracy in Texas and the United States. I strongly urge you to pass this Bill without
further delay

Mona Kent
Self, Postal Carrier
New Braunfels, TX

I believe a lot of cheating takes place in every election! I believe and demand higher security during our elections to weed out all
that would compromise our elections. We need to fix this NOW not later! Please vote to fix this now. We are watching you! No
more delay!

Lisha Brock
self, administrator
Arlington, TX

I oppose this bill as it will unnecessarily disenfranchise and punish voters. We should be making it easier for Americans to vote -
not harder. Democracy is for the people, by the people. Every vote counts.

Emma Rhodes
Self; stay at home parent
San Antonio, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Jim Tate
Self
Granbury, TX

Please don’t destroy our democracy Sir, my dad fought at D Day and would never believe the current Republican Party. Please!

Irene Escalante
self
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Bedford, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
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Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Tara Cummings, Dr.
Self, psychologist
CYPRESS, TX

OPPOSE. We all know this bill is aimed at voter suppression. Let's don't pretend otherwise. Let the people vote.

Lee Ann Wheelbarger
self
Houston, TX

Thank you for the work you are doing for The People in the great State of Texas. I am going to ask that you further fortify the
integrity of our election process here in Texas. There are doubts regarding our election system, its transparency, and the processes,
whether each vote counted is legal and correct, being of one legitimate voter. As with any event in our lives, like getting on a
plane, requesting a passport, driving a vehicle, purchasing a hotel room, or even opening a bank account, we citizens are required
to provide positive evidence that we are who we say we are. For our Right to Vote in a Free and Fair election, which the
importance cannot be argued, is not the integrity of our election process that much more sacred to ensure its outcome is correct
and without corruption? Surely, ensuring that each person who votes is who they say they are is a small price for integrity.
Ensuring that no vote was made corruptly, either by counterfeit or by digital enterprise should be made a priority in a transparent
and fair election.
IDs must be verified for every voter. NO EXCEPTIONS.

To fortify further our system, I believe that to ensure voter rolls are current, there should be a yearly voter renewal. Mail-in
ballots should only be used for those citizens who are serving our country out of Texas or who have a legitimate cause, but for no
other reason that encourages fraud.

As a voter, I currently do not have faith that our election system is not corrupted and that my vote actually counts. In order to
promote faith in our system and to have transparency, an audit should be performed within 180 days of any election. No voting
machine should have any access to the internet. No recounting of votes should be made within a computer that is connected to the
internet. Paper ballots, in my opinion, should be the only option for voting.
Forensic audits should be done for any candidate or elected official making such a request. If an election is won by less than 1
percent, then an automatic audit shall be conducted.

Ballots that are printed should be only approved by the Secretary of State before each election. Nothing used (any type of
software)
Printed on:inAugust
              our voting system
                     30, 2021   should
                              11:32 AMbe made outside of the United States of America, with an absolute chain of custody of its
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                   Casesystem
software) in our voting   5:21-cv-00844-XR         Document
                                should be made outside          117-4States
                                                        of the United    Filed  11/15/21withPage
                                                                             of America,           133 ofchain
                                                                                             an absolute   554of custody of its
origin. Each ballot should have a watermark, pre printed serial number, or even a QR code, so that the voter can go back and trace
their vote in any given election. There should not be a way to copy ballots.

Polling locations should operate only when there is representation from both parties. An election judge by both parties MUST BE
PRESENT. There should be more accountability to The People by election administrators and the Commissioners Court.
Voting hours should not extend past 7 p.m. each voting day since another shift of workers will be needed and may cause
inconsistency where one judge will not be responsible for the whole day.

Lastly, crimes for election fraud should be a felony.

Pryor Lawson
Self - out of work
Austin, TX

I oppose this bill. I would like it replaced with a bill that prevents gerrymandering by either party.

Juliana Quiroz
Self, Educator
Sachse, TX

I am happy to see Texas making these common sense election reforms and hope to see them passed. Citizens are asked to prove
who they are in a myriad of mundane circumstances; to buy Sharpie markers at Walmart, to get on an airplane or purchase a cell
phone. It isn't too much to ask that we ensure those who are voting are indeed members of our community with a vested interest
in seeing our society flourish, that participation in elections is transparent and bipartisan, and that those who try to subvert the
process are penalized. Well done for being proactive on this issue

Marie Krebs
Self
Austin, TX

Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
Acknowledge the magnitude of existing Election Code safeguards and transparency.

Alejandro Sills
Self, data analyst
Austin, TX

All one has to do is read the record of North Carolina legislators who studied Black voting patterns several years ago and then
passed laws targeting precisely the types of voting methods Blacks tended to use. For none of the Texas legislators to have similar
motives for the bill in this state is deeply implausible. I call on all legislators to OPPOSE Senate Bill One.

Timothy Ross, MR
Self
Cypress, TX

I am opposed to this bill because it allows partisan poll watchers to intimidate voters in violation of state law, with no recourse for
the poll judge to address the situation. Poll watchers shou;d watch, not intimidate. I can see this will allow individuals with AR-
15's to go into polling places and the judge cannot ask them to leave.
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Michael Webster
self - musician
Houston, TX

This bill claims to be about election integrity and security, whereas in actuality what it accomplishes is making it more difficult to
vote, especially if you are poor or in a minority. There has been absolutely no evidence of election fraud in Texas other than a
very small number of individuals. Widespread fraud simply does not exist. This is a blatant and irresponsible bill that should be
defeated.

Cheryl Draper
self   retired
Hallettsville, TX

I’m writing to urge you to support Senate Bill 1 that is being heard in the Select Committee on Constitutional Rights and
Remedies on Monday August 23.

In order to have fair, secure, and transparent elections, Texas should:
   1. Add voter identification to vote by mail, making it consistent with in-person voting
   2. Strengthen prohibitions against paid vote harvesting
   3. Protect poll watcher access to see and hear the process, improving transparency
   4. Prohibit public officials from distributing unrequested vote-by-mail applications
   5. Conduct regular maintenance to verify the accuracy of voter registration lists

These common sense reforms found in Senate Bill 1 are supported by a majority of Texans. Senate Bill 1 will make it easier to
vote and harder to cheat in Texas. I urge you to support Senate Bill 1.

Thank you,
Cheryl Draper

Erik Korstad
Self - Senior Manager, Technical Services
Cottonwood Shores, TX

I fully support SB 1 changes to ensure Texas election integrity and transparency.

Charles Breedlove
Self - Retired
Leander, TX

Nothing is more fundamental in the United States and Texas than our Right to Vote. But, voting must be a free and conscious act
by a registered citizen and done in a way that instills confidence in the process. Therefore, I support the election integrity and
security provisions of this piece of legislation and encourage its passage....

John Draper
retired self
Hallettsville, TX

I’m writing to urge you to support Senate Bill 1 that is being heard in the Select Committee on Constitutional Rights and
Remedies on Monday August 23.
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In order to have fair, secure, and transparent elections, Texas should:
   1. Add voter identification to vote by mail, making it consistent with in-person voting
   2. Strengthen prohibitions against paid vote harvesting
   3. Protect poll watcher access to see and hear the process, improving transparency
   4. Prohibit public officials from distributing unrequested vote-by-mail applications
   5. Conduct regular maintenance to verify the accuracy of voter registration lists

These common sense reforms found in Senate Bill 1 are supported by a majority of Texans. Senate Bill 1 will make it easier to
vote and harder to cheat in Texas. I urge you to support Senate Bill 1.

Thank you,
John Draper

Daniela Silva
Self
Austin, TX

As a native Texan, I value liberty above all else. This bill goes against the liberty of Texans across the country. The COVID
epidemic highlights the need for safer methods of voting more than ever. We need the safer options of expanded early voting,
extended hours at polling places, and more options to return vote by mail ballots. These are simply measures to reduce the
existing barriers for people wanting to express their constitutional right to vote.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.


Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.


Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.


Finally, and perhaps the most important measure, adding electronic voter registration to the omnibus bill would greatly increase
the accuracy and integrity of the voter registration rolls, as well as reduce costs. This is not a novel concept and, in fact, is used
around the country as well as around the world. If I am able to pay my taxes online, I should be able to register to vote online as
well.

Emily Bohannan
Self - freelance theatre artist
Houston, TX

I am a voter living in Houston who greatly benefitted from extended voting hours in this last election. I work odd hours, and
having the extra time ensured that I was able to get to the polls. These extended options for voting allowed so many citizens in
Houston to exercise their right to vote. These rights should be protected, not limited. Please vote against SB1, all American voices
deserve to be heard and this bill places an undue burden on poor communities who work odd hours and do not have ready access
to transportation or childcare.


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Dolores Odell
Self
Willis, TX

We need a full forensic audit in all counties in Texas. We have to protect our voting rights now! If our votes can be simply
changed, we need stronger penalties for those that disrespect our current laws. We must make laws that are enforced, not just
changed. I can only hope these changes and penalties are severe enough to discourage this choice in the future.

Barbara Wesolek
self
Houston, TX

I am disabled and 82 years old. I believe voting dates, times and places and vote by mail should be increased. It should be easier
to vote. People who work long hours need all night polls open.

Susan Hirtz
self
Houston, TX

Voter fraud is almost non-existent. We need voting that spaces people out safely: Drive-by and 24-hour should be available if the
community desires. These Variants are not going away! They are just getting worse.

Paul Merrill, Mr.
self , beauty salon owner, in business 38 years
Houston, TX

You are passing a bill to make it more difficult for people of color to vote, based on a LIE. That the pathological liar, Donald J,
Trump has promoted. The REpublican party has no positive inclusive vision for the future of this country, You have been boiled
down to your base which is a bunch of racists. Ex. Dan Patrick saying that black people are at fault for our latest surge. You are
willing to send children to school maskless when there are not any hospital beds available. Concerning the voting issue we are
watching. You are losing your grip on power.

Lynda Whaley
Republicans
Allen, TX

I believe it is detrimental to Americans to make sure our elections are free from fraud. Trump won hands down. I never believed
the corruption in elections would happen in our country. Stop the CRT and the hate. We no longer have integrity in our
government or the media. Praying for our country.

Jay Dauro
self - retired
Belton, TX

In regards to SB1, I would like you to consider making voting easier for all Texans.

I moved to Texas 4 years ago (my wife grew up in Texas, so for her it was coming home.) I appreciate early voting since it was
not available in the state I came from. I do believe this should be expanded, especially in providing more hours for voters to
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not available in theCase
                     state I5:21-cv-00844-XR
                             came from. I do believeDocument      117-4
                                                     this should be       Filed
                                                                    expanded,    11/15/21
                                                                              especially      Page 137
                                                                                         in providing moreofhours
                                                                                                             554for voters to
access these polls.

I also realize that many Texans are worried at the present time about too much contact with other people. We need to make voting
by mail easier, with more options for return. In support of this we need good means of curing ballots returned by mail or through
other options. This should be uniform across the state, and include notification so that the voter is aware of the need to cure, and
how to go about curing their ballot when there is a problem.

Voting is one of the major rights and responsibilities of citizenship. We need to make it easier for our citizens to cast their ballots
easily and safely, so that all citizens get their voice in our government.

Jana Pellusch
Self/retired
Deer Park, TX

I am familiar with the ways that this bill aims to dampen the enthusiasm of people to vote. I have heard the tape of the white
legislator encouraging white folks to sign up, when this bill passes, to go into polling places in neighborhoods of color. I want to
make voting easier, not harder, for all of us!

Pam Oglesby
Self
Georgetown, TX

I’m asking you to stay true to your oath to protect our constitution and the sacred right to vote that so many have fought and died
for. This movement against democracy based on the big lie will destroy our country and the grand experiment our founding
fathers began. You have the opportunity to put country before party and democracy before autocracy. Don’t be on the wrong side
of history. Vote against SB1 and any legislation making it harder to vote in Texas.

Kelly Holland
Self
Mertzon, TX

Any efforts to limit, suppress, or make voting more difficult must not be passed. There was and is no justification to change
voting laws in Texas except to pander to unfounded/unsubstantiated fears fomented by misinformation and biases.

cynthia sanders
self
PEARLAND, TX

It is just another attempt to take away voting rights from people of color. to disenfranchise them as usual.

Carol Hayman, Prof.
self, retired
Austin, TX

I am officially and formally opposed to SB 1. This is a voter suppression bill based on the incorrect premise that Texas elections
are riddled with fraud. This is untrue. All citizens deserve easy access to voting.

Peggy Pena
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self
SAN ANTONIO, TX

I am OPPOSING this bill as it would suppress older, disabled, and those not able to physically travel to vote which is
DISCRIMINATION! Providing part of voter's social security number will lead to FRAUD on the vulnerable! To allow a poll
watcher to be granted "free movement" is absurd and INTIMIDATES!! This all is absurd and you are trying to take us back 56
years! AGAIN I AM OPPOSE TO THIS BILL allowing SUPPRESSIoN!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!

Sharon Lesikar
Self, Retired
Georgetown, TX

I am opposed to HB 1 as a deterrent to free and fair elections. We need to make voting easier, not harder. Many studies have
shown that alleged voter fraud is vastly overblown. Hiding behind that false issue is the way we are denying voting rights to
many minorities and people of color. I am a proud member of the League of Women Voters, which has come out strongly in
opposition to this bill. Please stop this travesty against voting from happening. SB 1 is a threat to all Texans who wish to
exercise their right to vote.

Joe Ferris
Self and family
Granbury, TX

Need full forensic audit. No more electronic voting machines

Jean Ann Hollier
Self. Retired
Port Neches, TX

There are two words which do not belong in this bill. Security and integrity. This bill is not about election security and integrity. It
is about power and money and should not become law

Shanny Lott
self
Austin, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

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Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Thomas D Hritz
self/retired
Rockwall, TX

This bill is absolutely necessary. Without the great Democrat steal to turn Texas blue will happen. The Democrats left because
they are fearful that their cheating in 2020 will come to light before the midterm elections. Stopping this bill and others like it
with the specious argument of "voter suppression" is their only chance to never lose an election again.Theyt wil be free to stuff
the ballot box with manufactured votes like they did in 2020. Vote this bill into law~!!~!

Alexus Sham
Self Attorney
Conroe, TX

I strongly encourage the committee to take into consideration the fundamental right of all Texans to vote. Please make it easier for
people to have access to the ballot by adopting measures such as automatic registration when going to the DMV at the appropriate
age. For a democracy to survive we need more participation.

gene Lantz
Texas Alliance for Retired Americans
Dallas, TX

Retirees are the target of the anti-voter provisions of this bill, especially as they relate to vote-by-mail. We especially dislike the
provisions that criminalize voters and poll workers while giving virtual police powers to whatever hooligan wants to call himself
a "poll watcher." Lots of seniors are poll workers. Lots of us are too old and frail to fight off hooligans at the polls.

Julie Campbell
Self
Austin, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. Why not include a
cure process for all “remote” ballots?

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.
Texans want better election laws, not restrictions!

Sandy Rice
Self, Consultant
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Austin, TX

Voting is the hallmark of American democracy. This bill makes voting harder, especially for elderly (that's me!), disabled, and
poor people. Instead of making it harder, you should be looking for ways to expand voting hours, support drive-through voting,
and make it easy to register online. We need you to protect our right to vote, and to make it easier, not harder. That's the American
way!

Robert Zahn
IATSE/Local 896
Galveston, TX

This is a crazy overreach to reduce the possibility of voting for many people. Done in the name of preventing fraud, although
very little fraud has ever been found.

Carla Kennedy
self
Fort Davis, TX

I want to urge the legislature to make voting in Texas easier for all of its citizens, rather than harder. Especially in these times of
Covid 19, making people stand in long lines, not socially distanced and possibly ill without being able to get to food and water is
just plain wrong and inhumane. My husband and I are seniors, and my husband has stage 4 prostate cancer. This disease makes
him very weak and unable to stand for any significant time. Voting by mail has been a proven, safe, fraud-free method for many
years, and many of your constituents rely on this. Please do not make it more difficult. In fact, registering to vote online will
enhance voter participation, which every competent politician should welcome. (Those who resist that may be in danger of losing
their seat by manipulating our system unfairly.) We will be paying attention to how our representatives and senators vote on this
issue. Seniors vote!!

Andrew Goerdel
Self / Retired
Georgetown, TX

Hi,
I don't want to have this bill passed as there has been no significant fraud found in any major election & the steps taken in this bill
infringe upon voter's capability to vote. As an example, states that only have mail-in voting have no important issues with voter
fraud.
Thanks,
Andrew Goerdel

Pat Ledbetter, Dr.
self
Gainesville, TX

Texas is already ranked as the state that makes voting the most difficult for its citizens; as a result, our beloved state also often
comes in dead last or near last in terms of both voter registration voter participation. In light of this unfortunate record, shouldn't
we be making it easier instead of more difficult to vote? If you are genuinely concerned about protecting Texans right to vote,
please consider doing away with the requirement to register 30 days before an election. This clearly denies the right to vote to
everyone who changes addresses during that lengthy window. Electronic registration, already in place in some states, would
safely bring more Texans into the voting pool. I am also deeply concerned about the expanded power granted to partisan poll
watchers under this bill. Without proper training, they will be free to intimidate and discourage voters. Given the emotional
charged state of our politics today, such tactics seem almost inevitable and nothing in the current bill even discourages such
behavior. In large urban counties, it is essential that the number of polling places and the hours for early voting be extended to
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behavior. In largeCase     5:21-cv-00844-XR
                   urban counties,                   Document
                                   it is essential that the number117-4    Filed
                                                                   of polling     11/15/21
                                                                              places          Page
                                                                                     and the hours for141
                                                                                                      earlyofvoting
                                                                                                               554 be extended to
avoid the long lines that are known to discourage voting. Protecting the right to vote is surely one of the most sacred duties of
government in a democracy; please take that duty seriously. Put aside partisan loyalties and commit to the principles of the
Declaration of Independence: "To secure these rights governments are instituted among men."

Sally Breaux
Self -
Austin, TX

The right to vote is the basis of our democracy. In these times, it is even more important to find safe ways for everyone’s voice to
be heard. We need mail in balloting, drive through voting and extended early voting. If there is a concern about mail in ballots,
then extend the timeline so they can be cured and counted. I work as a volunteer at the polls, and that is not a place for untrained
partisan hacks to intimidate or inflame folks waiting in line. There is no large scale fraud in Texas’ electoral process, our own
experts have said so. Do not pass this bill!

Ronald Shenberger
well formed outcomes
Denton, TX

Elections are just fine. Their is no need to create additional barriers to voter participation. If anything, the legislature should
undertake efforts to insure that all Texans are fully registered to vote at the time of license renewal and publicly credentialed
persons can go out into the community to register people who are unable to do so on their own. Furthermore, voting by mail
should be a universal practice across the state. Some people are so remotely located to get to designated voting places. Voting by
mail addresses the issue of efficient staffing of voting when ballots can be aggregated at an election center for processing.

DALTON RAMBO, Citizen
SELF
Sherman, TX

Elimination of Voting Restrictions
Give schools, businesses and other appropriate entities the authority to create and enforce masks requirements.
Fair Redistricting

Barbara Murray
self - retired
Seabrook, TX

Please focus on solutions for all voters and help restore trust in Texas elections. There are already a huge amount of existing
Election Code safeguards and transparency. I offer the following opportunities to improve SB 1:
1. COVID requires that we have safer options for expanded early voting, extended hours at polling places and more options to
return vote by mail ballots.
2. I believe poll watchers should receive required additional training and should acknowledge the integrity of the polling space by
executing in an oath similar to election workers.
3. Include a complete cure process for applications for mail ballots and for the returned mail ballots instead of just the ability to
cure incomplete applications or ballots to the electronic ballot tracking system.
4. Voters with disabilities need additional refinement of SB1 - specifically the House can add provisions that allow blind voters a
way to securely and privately vote.
5. Please consider adding electronic voter registration to the omnibus bill. This would greatly increase the accuracy and integrity
of the voter registration rolls as well as reduce costs.


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KENNETH SUMBERLIN
IBEW 716
SPRING, TX

I am very concerned about taking away anyone's ability to vote safely, or conveniently.
It is much more important to make voting easier than blocking even a single vote by a citizen

SHARRON LARRISON
SELF - EDUCATION/RETIRED MILITARY
SAN ANTONIO, TX

I believe that this bill greatly undermines individuals' right to vote and I believe that it was not written in good faith. I further
believe that it was written based upon false allegations of voter fraud.

Brian Taylor
self
Austin, TX

This bill is adding layers to voting. There has not been any proven problem in voting and I believe the real reason for this bill is
to suppress votes. I am against this bill.

Lisa Stone
self: educator
Houston, TX

I join all Texans who want open, democratic elections in our state. I ask the committee to focus on solutions that work for all
voters, to help restore greater trust in our elections.
I have been a faithful voter all my life; I have also worked as a poll watcher and volunteer deputy voter registrar. I have seen
Texans of all faiths, color, socio-economic status and political beliefs work together to vote, without problems. We know there are
excellent existing Election Code safeguards.
We also all know COVID requires us to continue safer methods of voting, which worked well in our last election: expanded early
voting, extended hours at polling places, more options to return “vote by mail” ballots. These work and Texans want them for the
upcoming and every election.
In particular, adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of voter
registration rolls—and would also reduce costs.
Another particularly urgent point: Poll watchers need to have required specific extra training and should take an oath (similar to
election workers) acknowledging the integrity of the polling place.
Please seriously consider and respect these issues so that Texas elections will be respected by and respectful of all Texans.

Joshua Seff, Mr
Self
McKinney, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

KATHLEEN LOVE
Retired
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Retired
Dallas, TX

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want and are entitled to.

James Liffick
Self
Bulverde, TX

I fully support and am in favor of SB1 for the protection of our sacred voting rights!

Susan Newbold
self, unemployed
McKinney, TX

I believe that this bill will strengthen election integrity in the great state of Texas. This bill increases early voting, creating MORE
opportunity to vote, not less. I find completely offensive the notion that requiring state-issued identification is somehow causing
any demographic an undue burden. That notion implies that any particular group of citizens is somehow incapable of attaining
such ID. Not passing this bill means that each and every vote cast by a citizen of this state will count less than it should. The law-
abiding citizens of Texas want this bill to become law. Please vote to pass this important piece of legislation. Thank you.

La Juan 'Wanda' Morgan
Self/Retired
Nacogdoches, TX

I strongly support this bill and expect my House and Senate representative to do likewise. Thank you. La Juan Morgan

Karen Cullar, Self
Self
Coldspring, TX

My work with Houston and other underserved areas established a greater accommodation required for them to vote. For example,
the drive through voting enacted for COVID compliance during this pandemic is awesome. For those who characterize this action
as vote stacking, this could be solved by a nonpartisan pickup system.
It is essential that Poll workers be fully trained and responsible
Open elections are essential.

Guadalupe Sosa
self
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Austin, TX

I am opposed to SB 1. The measure will adversely affect people who have a disability and have to depend on the generosity of
others to get to the polls to vote. What rules we currently have work very well for me. I rely on the opportunity to vote early or
to vote by mail. I am an 80 year old woman who cherishes the right to vote and consistently vote in every election. Please don't
take this right and privilege from me.

Jennifer Hernandez
IUPAT District Council 88
Houston, TX

SB1 is nothing more than voter suppression that disproportionately effect people of color and working class people of Texas. I
strongly oppose SB1 as a Texan.

Rebecca Skupin Marcontell, Ms.
self, Freelance Theatrical Stage Manager
Houston, TX

This is an utterly unconscionable bill, designed to keep our BIPOC and disenfranchised voters from being able to vote. Vote
NO!!

Cathy Murphree
self
Richardson, TX

I'm writing in opposition to SB 1 for three main reasons:
1) Although I will be able to vote, by mail or otherwise, it WILL be more cumbersome. I will no longer receive an annual
application from my county, and I will no longer be able to use a drop box. That is a problem with the US mail is unreliable and
slow. This is also true for my 76 year old husband and my 93 year old mother, a lifelong Republican voter by the way.
2) Voters of color and voters with disability presented much salient testimony as to how this bill will affect them. As I watched
the hearings, it was clear that the Republican lawmakers listened to the testimony but did not act on anything that was presented.
This refrain of "but you have an extra day of early voting" is tone deaf and is not the problem.
3) The untrained partisan watchers are a real concern as well.
I could talk more about the direction that voting SHOULD be going--that is more accessible and convenient while also secure,
but the legislature wants to go in the opposite direction. The legislature appears to be catering to a small group of Republicans,
NOT reflective of the majority of Texans, and that is wrong.

Lori Altebaumer
self
Dublin, TX

It is unfathomable to me that our government officials and elected representatives cannot reconcile the extreme double standard
being pushed on citizens at this time. At a time when some cities and states are racing toward "vaccine passports" to prove
individuals are willing to volunteer for medical experimentation, they simply can't find the sensibility in establishing voter
integrity. I'm required to provide identification to purchase certain over the counter medications, to visit my child at school, or to
accomplish dozens of other things. How do we justify saying any of that is reasonable, but for voting (the one activity that
secures our rights to do any of the other things requiring identification) it is just too heavy a burden. If making your vote count in
an election is important to you then finding a way to register as a voter and cast a valid ballot through secure voting measures is
something you make sure you do. To quote Thomas Paine, "What we obtain too cheaply, we esteem too lightly." I am confident
there are ways that can be found to overcome the challenges that exist in creating a secure but fair election process, but only when
personal agenda's are set aside and common sense is applied. If the Texas State Legislature fails to establish voter integrity for
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personal agenda's areCase   5:21-cv-00844-XR
                        set aside and common senseDocument
                                                      is applied. If117-4    Filed
                                                                     the Texas State11/15/21     Page
                                                                                     Legislature fails to 145  of 554
                                                                                                          establish voter integrity for
this state, I'll assume our body of elected officials were unable to put aside their personal agenda's or no common sense could be
found in Austin.

Erica Robinson
Violinist
Houston, TX

I oppose the passage of this bill.

Diana Burns
Clean Elections Texas
Dallas, TX

Poll Watchers must be trained to do their job. If they are to oversee procedures in the polling place, they must know the rules.
They must be required to receive the same training other poll workers are required to take. It they are allowed to challenge
actions of the Election Judges at the polls, they should be required to take the same training as the Election Judge. How can they
do an effective job if they are not fully informed on the laws, rules and regulations that govern polling place activity?. Fully
trained Poll Watchers will be most effective in carrying out their duties and purpose. In addition, all Poll Watchers should be
required to take an oath that fits their responsibilities. We want our elections to be fair and just and free from disruption and
intimidation. Fully trained responsible Poll Watchers can help insure our elections will remain excellent reflections of the will of
the voters.

Dede Fox, Mrs.
League of Women Voters
The Woodlands, TX

Please acknowledge the magnitude of existing Election Code safeguards and transparency. I am a VDR and take my
responsibilities seriously. Please focus on solutions for all voters and help restore the level of trust in Texas elections.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Kathy Braatz
Self
Colleyville, TX
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Colleyville, TX
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Please focus on solutions for all voters and help restore the level of trust in Texas elections and acknowledge the magnitude of
existing Election Code safeguards and transparency. These bills will make it more difficult to access the ballot box, criminalize
election officials for simple things like sending out vote by mail applications, embolden partisan poll watchers, and create
additional barriers to voting for individuals with disabilities.

Don Gentz, Mr.
Self, retired
Port Aransas, TX

SB 1 discriminates against the elderly and minorities. (I am elderly) It obstructs voting by mail (a safe and successful method for
the elderly, the impaired, and rural voters). It is biased and exclusionary. As a Texan, I am embarrassed by the presence of this
blatant voter suppression bill in our legislature.

Arlene Judd
Self
Aransas Pass, TX

I am in favor of the common sense reforms provided by SB 1 and vote to see it passed!

Christina Edwards
Self, marketing
AUSTIN, TX

I opposed SB 1 by Hughes because it limits voters rights.

Patricia Cline
Heritage Action for America
Dallas, TX

I strongly support this bill.

Doe Florsheim
self
Houston, TX

I believe the Texas legislature should focus the additional time it has been given to complete its business on importnat issues
facing Texas right now.
Texas school children deserve an equal education, educational outcome should not be determined by the school district or the
school campus. All schools should have equal access to well paid teachers, current and factual textbooks, easily accessible
internet and the technology to access that internet.
The lucky additional time should be spent on equalizing the access to health care by all Texas citizens. Residents of many rural
counties, residents of some urban neighborhoods and even residents of some of Texas' most prosperous areas have no
opportunity to seek doctors and hospitals that can sustain their lives in the worst of times and prevent many illnesses in the best of
times.

Jean Treider, Ms.
Self
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Houston, TX

I am unequivocally opposed to SB 1. There was no certifiable evidence of voter fraud in the 2020 election. Representatives
should be working to find ways to encourage all eligible citizens to vote, remove roadblocks to voting, and ensure robust voter
registration and turnout for elections.

Jim Davis
None
Austin, TX

SB 1 is a shameful attack on our democratic voting system, which sets us apart from banana republics.

Amber Briggle
self - small business owner
Denton, TX

I OPPOSE SB1 for the following reasons:

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, drive-thru voting, and more options to return vote by mail ballots. These
are what Texans want.

I believe poll watchers should receive required additional training and should acknowledge the integrity of the polling space by
executing an oath similar to election workers.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Vote NO on SB1 and get back to the business of covid relief and addressing the integrity of the Texas Electrical Grid.

Aydee Rodriguez
Self
Pflugerville, TX

Everyone deserves the right to vote, no one has the right to take that right. Unless we are trying to go back to caveman days. This
bill is against Christianity no one but god has that right!

Brandi Conover
N/A
Lakehills, TX

It is vital to enact election integrity with SB 1. This must be passed so that Texans can have confidence that our votes count and
aren’t chances out by all the fake votes of the illegitimate current White House legislation.

Charlotte Greene
Self / Retired
Bulverde,
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Bulverde, TX

I’m in favor of election integrity with voter ID. I want our elections to be tightly governed. I want it to be transparent as well. I
don’t want the possibilities of fraud. One vote for every legal US American citizen in their own county of Texas. There should be
a penalty for anyone breaking the voter laws.

Janice Lindstrom
Self - Lecturer
Dallas, TX

I strongly oppose SB1 specifically due to the amendments allowing videos at polling places and watchers. I do not want to be
videoed when I vote, or any other time. This bill also changes what a "watcher" may do during voting procedures in ways that
make the "watcher" seem more like an intimidation tactic. Frankly, this entire bill seems to be trying to restrict access to voting
rather than prevent fraud. There is also no evidence of widespread election fraud in the State of Texas.

Bernie Hutson
Company
Jacksonville, TX

Election integrity is very important for me and my family

Jane Van Praag
n/a
Bartlett, TX

Existing election code safeguards assure transparency and preclude fraud. May the committee please focus on solutions for all
voters and help restore the level of trust in Texas elections. We must make it easier for all citizens--no matter our skin color,
ethnicity, age, gender, or disability--to vote, not harder!

Barbara & Weinstein
League of Women Voters
Dallas, TX

I would ask that you focus on solutions for all voters to restore trust in Texas elections. We already have many existing Election
Code safeguards that protect the transparency of the vote.

I believe that you would improve SB1 by adding electronic voter registration to the omnibus bill. This would reduce costs as well
as increase the accuracy and integrity in our Voter Registration rolls.

David Haynes
self
Houston, TX

This bill is aimed at disenfranchisement and is motivated by meritless accusations of election fraud. Also, it is clear that the
Democratic representatives that broke quorum represent a genuine constituency of Texans in opposition to SB1 and passing it
would ignore their voices. I urge this committee to vote "nay" on this naked breach of our voting rights.

Vicki Topletz
Personal freedom
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Personal freedom
Dallas, TX

Please get this bill passed and quit wasting time and drawing out what needs to have been done along time ago. Get to work it’s
what I pay you for

Chun Kwok Wong, MD
retired
Conroe, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want. As a senior citizen who also have a sister who has cancer and could not drive, this matter is particularly important to me.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Please include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Please focus on solutions for all voters and help restore the level of trust in Texas elections.
Please recognize and acknowledge the magnitude of existing Election Code safeguards and transparency.

patty terry
self, retired teacher, currently Reading Interventionist for LCISD
Richmond, TX

Please pass this Senate bill strengthening our voting process. Further, the current election machines should be destroyed and a
paper ballots used instead.

Cynthia Lesky
self, retired
Austin, TX

I respectfully ask the committee to focus on solutions that will make voting easier, safer, and more secure for all voters.
Impediments to voting, like insufficient voting places and limited voting hours such that voters may stand in line for hours to vote
should be eliminated. The existing Election Code is safe and transparent, but voting in certain areas, especially in urban areas, is
inconvenient and that inconvenience in itself serves to disenfranchise many.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
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action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Thank you.

xiaomei Wang
self - Accountant
Fort Worth, TX

SB1 and HB26:•             Current laws in Texas do not secure integrity filled elections. Senate Bill1 must be fortified further.
•        Yearly voter renewal should be required to keep voter rolls current.
•        Mail-in ballots should only exist for those traveling or residing out of the county for an approved reason and other
reasons must not encourage fraud.
•        Yearly audits should be done to insure the highest transparency. Risk audits should be eliminated since they only look at a
select 1% of the ballots.
•        Paper ballots should be brought back and all electronic data collectors and poll books should be eliminated.
•        Forensic audits should be done for any candidate or elected official making the request. Should an election be won by
less than one percent, than an audit should be ordered.
•        No electronic machines be used in voting. Learn from Taiwan, this country has a high density of voter population, but it
did election manually and effectively and prevented frauds very well.
•        I.D.’s must be verified for every voter. No exceptions.
•        All ballot printing companies should be approved by the Secretary of State ahead of each election.
•        Any assisting equipment for vote operation should not be manufactured by a foreign vendor /invested by a foreign
source, and made in a foreign country.
•        Each ballot should have a watermark, preprinted serial number, and perhaps a QR code that the voter can then have to
trace their ballot. These measures prevent the copying of ballots.
•        Local polling locations cannot operate without representation from both parties. An election judge from both parties must
be present.
•        Election administrators and the Commissioners Court should be more accountable to the people regarding elections.
•        Voting hours should not be extended after 7 p.m. each day since more than one shift of workers will be needed and the
current seamless group of election workers for each polling location will be duplicated as that could open more opportunity for an
inconsistent election where one judge is not responsible for the whole day.
•        Crimes for election fraud must be increased from misdemeanors to felonies.
•        Electioneering must be a punishable violation.

Cynthia Graham
self, retired
Georgetown, TX

I am retired and live with my husband in Sun City. We have lived in Texas for a total of 37 years and have always been
impressed with the way Texas elections are handled. Our experience with early voting and vote by mail along with well staffed
and managed Election Day voting locations have been very positive. Existing Election Code safeguards and transparency help
make me feel very confident in the integrity of the election. As you consider this bill, please focus on improvements that will
help all voters exercise their civic duty to vote and will help all Texans feel confident in the integrity of Texas elections. We have
had excellent experience with vote by mail, first for my recently deceased father, a proud World War II veteran, who was able to
cast his ballot despite being homebound with severe COPD and congestive heart failure and, last year for ourselves during the
COVID epidemic. The continuing COVID epidemic highlights the need for safer methods of voting more than ever. We need
safer options of expanded early voting, extended hours at polling places, drive through voting, and more options to return vote by
mail ballots. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
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                                 voter registration to the omnibus117-4   Filed
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                                                                                               the accuracy   554
                                                                                                                integrity of the voter
registration rolls while reducing cost.

Mary Patrick, Ms.
Self -Retired
austin, TX

Texas is very fortunate that voter fraud is not a widespread or frequent occurrence and as affirmed by records form Tx Attorney
General's office.. Since 2004 through 2020 over 94 million people in Texas have voted. Out of those 94 million people 154
people over that span of time were found to have committed either: mail ballot fraud, assistance fraud or illegal voting .

Given that voter fraud is infrequent and committed by very few people, I am puzzled that the Republican party in Texas is so
determined to pass SB1 which will negatively impact a large percentage of registered Texas voters by making it more difficult for
them to vote.

I especially hope that your committee emphasize, given the severity of the COVID19 pandemic, the need for safer methods of
voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and more options to
return vote by mail ballots. We Texas voters are especially in need of the safest and most convenient methods of voting.

I am very concerned about and hope the committee will address the essential need for poll watchers to receive required
additional training and be cognizant of the integrity of the polling space by executing an oath similar to election workers.

I would hope as well that you consider creating a complete cure process for applications for mail ballots and for the returned mail
ballots. SB 1 added the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the
87th regular session. However, House action can add a way to alert voters of the need for a cure and give clear instructions for
making sure their vote counts; as well as make the process uniform in all counties not optional.

Making it easier to register to vote in Texas is also something that Texans want. Please consider adding electronic voter
registration to the omnibus bill. In my opinion, this would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.


I certainly hope that the committee, when you meet on Monday, August 23, will focus on solutions for all voters and help restore
the level of trust in Texas elections. I am very confident that the existing Election Code safeguards and transparency.

Thank you for your consideration of my letter.

Mary Patrick, Austin, Texas
Registered voter and voted every election since November 1968

Geremy Ferguson
N/A
IRVING, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.


  To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.


   Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
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House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.


   Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.


  Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Marilyn Taylor
Self
Katy, TX

Please vote no to this bill and work on a better bill. Voting yes would indicate that you are willing to take away rights to vote.

Carolyn Riddle, Ms.
Self
Austin, TX

Because of the COVID-19 pandemic and especially the rise in cases due to the Delta variant, jeopardizing our hospital capacity
state wide, voting access must be safe. Making voting safer can best be accomplished by expanding voting hours and increasing
polling places, not reducing them. Even more effective is permitting mail in voting, which not only increases access for voters
with disabilities, but also for citizens with atypical working hours, families, and transportation challenges. Mail in voting is the
norm for many other states who have had no difficulty maintaining the security of their elections by using mail in ballots. These
ballots must be protected by a transparent and efficient method for alerting voters for problems with registrations or returned
ballots so that they may be assured that their votes will count. I had a mail in ballot rejected two years ago because I was not
informed in a timely manner and given instructions for how to fix a simple error. This is wrong! Thank you for your
consideration.

Michael Dunn, Rev. Dr.
Self
Houston, TX

I oppose SB 1. The Bill restricts access to legitimate methods of voting, and seeks to do so by claiming falsely that there has been
rampant voter fraud. It is a power grab by GOP to advantage themselves in future elections. SB 1 also makes it harder for
populations on the margins to vote. We must make voting more accessible even while continuing to hold secure elections as we
have.

Dorothy Wood
Self, retired
Austin, TX

I am strongly opposed to SB 1. It is clearly a voter suppression bill intended to prevent certain types of Texans from voting.
Supporters claim SB 1 is necessary based on fraudulent claims that our elections have been filled with fraud. There is zero valid
evidence to support those claims.

As a lifelong Texan, let me remind you: Texans are Americans, and Americans have a right to vote. Making false claims about
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As a lifelong Texan,      5:21-cv-00844-XR
                     let me  remind you: Texans areDocument
                                                      Americans,117-4    Filed 11/15/21
                                                                 and Americans   have a right Page
                                                                                              to vote.153  of 554
                                                                                                       Making   false claims about
non-existent fraud in order to break an election system that worked exceptionally well last time around is simply wrong. SB1
blatantly promotes cheating to retain political power by making it harder for selected types of voters to vote. Do the right thing:
shut down SB 1.

Alvern C Donell, Mr.
Retired
El Paso, TX

I worked elections - as clerk, assistant judge and judge for over ten years in San Antonio and El Paso. I saw many cases of
questionable activities - especially by Democrat judges and clerks. From my experience, I am sure that the new Texas elections
code you are in the process of passing is very much needed. I hope that the new voting statute DEMANDS that ALL polling
locations have an equal number of Democrat and Republican judges AND clerks, and that the ballot-by-mail system is used
CAREFULLY according to statute. (I was very pleased that the State of Texas refused to permit the usage of Dominion voting
equipment!)

George Neumeier
self
Dallas, TX

I strongly support all the issues contained in this bill. It needs to become law.

Linda McLeod, Mrs.
AAUW, LWV
Alvin, TX

Please respect those citizens of Texas who may not agree with many of your stands on many issues. You are elected to represent
all of us. Please respect the truth.
 My Great Grandfather was a Prosecutor around Wills Point. who was murdered by one of his prosecutions family members.
His father also held the position. I believe he stood for truth, honor and integrity, I expect the same from every elected official,
those who don't show that respect for the citizens of Texas should be voted out.
 Stop the lies and fabrications, our elections have been safe. We don't need biased persons attempting to bully voters.

Alexus Sham
Self Attorney
Conroe, TX

Please make amendments to this bill that will allow all Texans to vote. We need to make it easier for US citizens to have access to
the ballot. A healthy democracy is one in which there is a strong participation among the electorate. Please help people with
disabilities have an unfettered chance to vote and do not place restrictions on early voting or mail In ballots. The system can be
improved on by giving more people access to vote.

Edna Molina, Mrs.
Self/ family
San Antonio, TX

SB 1 is an awful bill looking for a problem that does not exist in Texas. The Governor and the GOP are determined to make
voting more difficult for poor people, people of color, the elderly such as myself and handicapped persons. I have voted for GOP
candidates in the past but never again if they insist on making it harder to vote in Texas.
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John Squier
Self
Longview, TX

There is no proof that the election had problems with authenticity. The state should not make it harder to vote. As a band director
I could have used access to vote by mail, late voting hours, and ballot drop off because a lot of times. I was working 16 hour
days and often could not vote during regular voting times. ALSO, I do not like the idea of observers staring down election
officials and interfering in the voting process if “they” think something is wrong, unless the observer is completely neutral.

Jane Jarosz
Self Retired
Crawford, TX

Please pass this now!!

Mary G Jackson
Self. Retired teacherp
Boerne, TX

In Texas, as in other Southern states, the big lie that election fraud cost Trump the presidency created a concerted effort to
suppress votes in areas that lean democratic.

Diane Owens
self
Austin, TX

My adult son is legally blind and has a mobility impairment that prevents him from standing a long time. Last year he voted by
mail based on his disability because of concerns over COVID-19. The existing process for voting by mail is very difficult for
people with visual impairments because the ballot has small print and the instructions are in even smaller print. He needed help
reading the instructions, filling in the small circles with his choice and reading how to actually seal and sign the envelope. He
much prefers using the in-person electronic voting process because he can mostly read and mark his ballot on his own. The only
problem he has is standing when lines are long. The provisions in this bill that give partisan poll watchers the ability to closely
observe and film voters has made him fearful of voting in person because he will be afraid to ask for assistance from poll workers
if he needs it. Don't make voting harder for disabled and elderly voters!

Sabrina Kelley, Ms
Self/Homemaker
Temple, TX

I feel that although this is definitely a good start for our Voter integrity, I feel that we should really get rid of these voting
machines that seem to be the issue of over 80 million voters who feel the Election was fraudulent, do to them being connected to
the internet, & Interference. I would like to push for paper ballots for all. 1 ballot per legal voter, & count them up by hand. It
may take a little longer to do it, but at least there won’t be any fear of Cheating as bad as there was in 2020. Texas & The Rest of
the Country need something to Count on. Let it be our elections being safe, secure, & fair. Thank you for listening. Ms Sabrina
Kelley-Temple, TX

Edward Dylla
self
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self
San Antonio, TX

Not needed. Wait till you get old and have a hard time getting around. Also the "poll watcher" matter is going to cause a lot of
trouble. I can envision "poll watcher" battles in the future when both parties have poll watchers that are aggressive at the same
polling place.

Mark Nutter
self special education teacher
Tomball, TX

I am opposed to SB1 this bill is a blatant attempt at voter suppression in the State of Texas. Texas voters are watching!

Carol Jenkinson
Self. Nurse
Montgomery, TX

Please help make our elections more secure & less open to cheating & fraud.

Adam Castillo
Retired educators and NW Democrats
San Antonio, TX

Please do not pass this bill, minorities and the poor are already underrepresented. A true Democratic society needs everyone to
have a voice ,to have an opportunity. Born in the west side of S.A. , we currently have a smaller chance to succeed. We can’t be
like Mexico where so many have so little because of the powerful.

Amy Fields, Mrs.
Self - retired Social Worker/homemaker
Dallas, TX

As a Poll Watcher in Dallas County I observed the debacle that was mail in voting. I witnessed the elderly have to wait for hours
to vote in person because they had been mailed a ballot without requesting one. This caused major delays in their ability to vote
causing many to give up and leave. I also witnessed Election Judges treat the unused mail in ballots carelessly, piled on the floor
and unspoiled. Even after repeated instructions to spoil the unused mail in ballots, judges refused to do so. This should never
happen again! Election workers and judges need harsher penalties for disregarding election rules. We owe it to our citizens to
have secure elections and WE The People demand it. The 2020 Election needs a full forensic audit because of the blatant
mishandling of that election. Thank you, Amy Fields

Carol Peters, Ms
Self
Fort Worth, TX

I am a volunteer deputy registrar who sees firsthand the hurdles voters must navigate to reach the polls. Texas is already the most
restrictive state to vote in in the nation. The committee should focus on making access to the ballot easier and service to the state
at the polls more attractive. Transparency in the counting and certification of elections is paramount. Texas conducted a free and
fair election with record turnout in 2020. That should be the goal of any bill voted out of committee. Instead, SB1 seeks to make
mistakes by election officials felonies and creates barriers for those who vote through the mail, for the disabled and for the young.
And it makes hours and access inconvenient. Please rethink the language of this bill and especially the name. Election integrity is
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And it makes hours  Case   5:21-cv-00844-XR
                      and access                    Document
                                  inconvenient. Please rethink the117-4
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                                                                            of this11/15/21     Page 156
                                                                                    bill and especially      of 554
                                                                                                        the name. Election integrity is
antithetical to the author’s intent.

Andy Watts, Mr
Self
Houston, TX

This bill is a sham and is nothing more than voter suppression.

Joyce Moore
- Self - retired
Lubbock, TX

I am opposed to SB 1. The most recent election held could in no way be deemed to be fraudulent. This bill is NOT necessary to
insure election integrity nor security. It will just make it more difficult for people like me (old, less mobile) to vote.

Joseph Locetta
Self
The Woodlands, TX

The Election 2020 experience has revealed overwhelming evidence of election fraud in many states including Texas. I fully
support SB1 with confidence that it will make it easier for Texas citizens to vote while making it more difficult for anyone to
cheat. SB1 is a huge step towards restoring confidence in the election process in Texas.
Sincerely, Joe Locetta

Marylynn Chance
Self
Dallas, TX

We know that there was no substantial evidence of any fraud in our last election. I request that the committee focus on solutions
for all voters and restore the level of trust in Teas elections. Our current Election code has many safeguards and much
transparency already in place. There is no need for any substantial reform at this time.

Nancy Wilson, Dr.
Self
San Marcos, TX

Our focus should be on enabling every registered voter’s vote to be counted. Gerrymandering already cheats people out of fair
representation, which should be seen as shameful by every legislator and stopped. And now to make further assaults on our
democracy means we are going in the wrong direction. Think about how to make voting easier. Taking your cues from the
narcissistic Trump who cares only about his ego is not going to go down well in history

Darlene Wuensche, Dr.
self, retired teacher
Austin, TX

I am a Longhorn, was born in Texas and have lived here most of my life. In college I majored in mathematics and government.
What I learned and know is that in a democracy you need MORE eligible people to vote than we do now, NOT LESS. We
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What I learned andCase
                    know 5:21-cv-00844-XR          Document
                          is that in a democracy you  need MORE 117-4     Filed
                                                                   eligible     11/15/21
                                                                            people            Page
                                                                                   to vote than we do157
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                                                                                                             554LESS. We
should NOT be making it harder to vote. Why can we not give water to people waiting in line to vote??? We want to reduce
fraud as much as reasonably possible, but in the last election when we had a paper ballot to back up every machine vote, that was
the most secure election we have ever had. PLEASE don't make it harder for people to vote. That's what a democracy is all
about.

Janis Arterbury
Election Integrity, Bandera TX
Bandera, TX

I fully support the election integrity bill.

Linda Vaughan
Self retired
Galveston, TX

Stop this! It’s a smokescreen to steal our voting rights. There is no voter fraud!

Carrie Schweitzer
Self
Dallas, TX

All Texan voters want to know that the voting location they visit to cast their vote is a safe environment, welcoming, professional,
and free of intimidating or harassing behaviors.. To ensure these standards at all polling locations, I believe poll watchers should
receive required additional training and, similar to election worker, take an oath to maintain the integrity of the polling space.
Additionally, there should be accountability measures for poll watchers who fail to comply with their pledge, such as being
required to leave the polling location.

Karen Swenson, Dr
Self, physician
Austin, TX

Could we please make it easier for eligible voters to vote. Provide access, and flexibility for voting.
I had a very difficult time getting adequate ID for my elderly Aunt and Mother when they moved to Texas. Both born and raised
in the United States. They were requirements that had not been in force and to come up with all of the documentation was
overwhelming. The loss of their conservative votes was Texas’s loss.

Carla VanZandt
Self teacher
Mart, TX

I have always been a republican until the last election. I do not support this bill and am disappointed that my party has chosen to
go this direction.

Kathleen Jurgens
self; Adult Education advisor and instructor
Austin, TX

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This is 2021. Please allow Texans to embrace the 21st Century and the foundations of the U.S. Constitution and the Bill of
Rights with freedom to register to vote and exercise that vote. Then live by the vote. The arrogant exercise of pretending there is
voter fraud is wasting legislative time and energy. Defeat SB 1. There are many of us working to defeat lawmakers who cannot
think beyond what cult leaders tell them to believe. Are you fearful of losing your seat? Are you afraid to face the real issues of
healthcare; education; inadequate power grids; disparate climate fluctuations; and what dangers are caused by lax gun laws? Why
are you and your interests more important than a state full of individuals and our needs? We are a diverse state in a diverse
country in a diverse world. Shun white supremacy and built-in racist practices. As a state, we have allowed our fellow man and
woman to languish while you protect your self-interests. That is what conservatism actually means--conserving your control--and
ignoring "We the People." I am white; a native Texan; a Christian, and I vote in every election. I fully support my Democratic
state representative and my Democratic state senator. I abhor what Republicans do to distort districts and policies to retain power.
They are cowards when we need heroes. Defeat SB 1. Defeat Republicans who do not represent the people who live in their
districts.

Raul Reyes
Myself
Galveston, TX

I oppose this proposed legislation. It is dangerous to all people who value our ability to vote. This is nothing more than an
attempt to suppress voter participation by people of color like me. Vote no.

Sophie Asakura
Self
Houston, TX

This amendment is not based in factual accounts of fraud and will only serve to unconstitutionally suppress Texans’ right to vote.

Jeanne Taylor
self
Temple, TX

We must have rules and regulations to ensure our elections are fair. Citizens must know that the most important part of governing
this country, the vote, is honest, safe from fraud, and fair, only allowing citizens to vote. There is no reason that these measures
should not be approved , enacted and enforced if all truly want fair elections. Please vote for Election Integrity. Our very freedom
depends on it. Thank you!

Daniel Remick
self
AUSTIN, TX

We need to make sure that everyone has the opportunity to easily and safely vote. There is a greater danger of disenfranchising
voters than voter fraud.

Steffanie Roulet
Self - office & open air administrator.
Pflugerville, TX

We need safe ways to vote during the Covid pandemic. Voter fraud is an exaggerated issue. More mail in balloting options need
to be available. Putting road blocks in the way of voters is unconscionable.
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We need safe ways to vote during the Covid pandemic. Voter fraud is an exaggerated issue. More mail in balloting options need
to be available. Putting road blocks in the way of voters is unconscionable.
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Sara Dunsmore
Self
Houston, TX

Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
Acknowledge the magnitude of existing Election Code safeguards and transparency.

Bob Comeaux, Mr.
Self   Retired
TX - San Antonio 78232-4948, TX

This legislation is totally unwarranted and based on a lie about widespread voter fraud. SB 1 does not fix any broken system but
instead makes it fundamentally more difficult for poorer, voters and people of color. As an Anglo male senior citizen, I strongly
oppose this discriminatory legislation. Texas should be encouraging full participation in our democracy.

Karen Roelke, Ms.
El Paso Federation of Teachers SB
El Paso7, TX

Ensure the integrity of our elections.

Judi Hewett
self
Round Rock, TX

I have been involved in local elections for a number of years, from registering voters, clerking during voting and precinct judge
for my party. There is a tension that exists with each of these jobs...am I doing what is right and honoring each and every voter's
right to vote. I was not alone in my concern for the rights of citizens. To make drastic changes and questioning the work ethic of
myself and those around me is an insult to our service. It is politically motivated. It is another expression of hate, fear and
prejudice. It make me ashamed to be in a state and in a country that would so dishonor our constitutional right.

Sharon bra
Self
Dallas, TX

All citizens have a right to vote without the increased rules and/or stipulations on proving your identity, or not being able to vote
by mail.

Karen Martin
Self - copywriter/copyeditor/proofreader
Fort Worth, TX

Texas sorely needs this bill to be passed to help prevent the fraud that's occurred in the past. We need leaders truly elected by the
people of Texas, not by criminals who've used the current vulnerabilities in our voting system to cheat in elections. Please vote
yes on Senate Bill 1.


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Brenda McCoy
Self Retired US Army
AMARILLO, TX

Election integrity is your responsibility and integral to your position as my representative. I don’t need you if you can’t do your
job.

Matthew Chew, Architect (Retired)
Self
Houston, TX

Please keep the voting rules as it was during the pandemic. It is very convenient for old folks like us because of mail voting. I
think adding more restrictions (such as including ID / SS numbers) is very insecure.

Nicholas Randall
Concerned Texans as a Software Engineer
Houtson, TX

I have not been able to find a summary of this SB-1 anywhere online, and it is not in my interest to read the entire text as I am not
a politician. Nor is it my interest to take what politicians say about the bill , from either side, on faith. However, I will express my
opinion in clear language here. I have not been convinced that there is any voter fraud anywhere in the United States - as far as
 "paying people to vote" and the like goes. This is not to mention the real and tangible certainty of interference in the democratic
process by Russian and other foreign powers fanning hatred online and inciting violence in riots in the U.S. . I think that everyday
Americans make the best choice while voting based on the best information they have. I am in staunch support of any measure
that would increase access to the polls.
At the moment, I am planning to emigrate within the next five years from the United States to a democracy better suited to take
care of its citizens. Distasteful gestures to suppress minority voters appalls me and I want no part in this kind of system, although
I am a white male myself. There are many like myself, but not everyone has time in their schedules to lodge their opinions as I
have. Consider this a representation of moderates in urban areas of Texas.

Jerrie Champlin
self
Spring Branch, TX

As a Texas voter, occasional poll worker and Volunteer Deputy Registrar, I ask the Committee to consider that a government of
the people, by the people and for the people should encourage all eligible citizens to vote in safe and accessible elections. SB1
focuses on preventing election fraud that is not happening. We experienced record turnout in 2020 during a pandemic and local
elections officials responded by offering expanded options, hours and methods for safely casting a ballot. Gov. Abbott, AG
Paxton and many others have acknowledged that no significant voter fraud occurred because of these expanded options, yet SB1
prohibits our local officials from offering these safer options. Texans do not want state legislators to take over our local elections-
let our local officials determine what works for our counties under already existing laws and during the kind of public health
crisis we are currently experiencing.
The provisions re: poll watchers are a special concern- we do not need more partisan poll watchers given more authority. As an
independent, I have served as a poll worker for election judges from both the major political parties. The judges and other
workers have uniformly served voters in a nonpartisan manner and honored their oaths. Allowing less trained poll watchers who
do not take the same oath into the polling locations does nothing to to improve election integrity. All it does is increase the
likelihood of voter intimidation.
Re: mail in ballot applications- why permit political parties to send unsolicited applications and prohibit county election officials
from doing the same? I trust the actions and motivations of county officials to be more in the public interest than those of political
parties.
The Covid public health crisis has increased the need to make registering and casting ballots more accessible and has shown it
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                   Case crisis
The Covid public health    5:21-cv-00844-XR         Document
                                 has increased the need          117-4 Filed
                                                        to make registering      11/15/21
                                                                            and casting ballotsPage  161 of 554
                                                                                                more accessible  and has shown it
can be done without decreasing election integrity. Election officials from both parties and across the state agree that adding
electronic voter registration to the current process would increase the accuracy and integrity of voter registration rolls while
reducing costs and I urge you to add it to this omnibus bill.
I urge the committee to act to make our Texas elections safe and more accessible for all to make the promise of democracy real
for us all.

Kenneth Williams
Texas Alliance for Retired Americans
Rowlett, TX

This bill is an attack on the right to vote for citizens of Texas. It includes a process that forces the county registrar to purge voters
from the voting rolls because their names may be the same as persons on another list of persons who are excused from jury duty
because they're non-citizens. This bill will tend to purge legitimate voters from the rolls simply because they have the same name
as someone who is actually an immigrant non-citizen. This provision will result in thousands of legitimate voters being denied
their right to vote. Many of these voters will not find out they have been purged until Election Day. This law also empowers
poll watchers to intimidate voters. It does this by giving the poll watcher to get close enough to see and hear what is being done
in the electoral process. It does not define any limits to how close the poll watcher can get to protect the privacy of the voter and
to prevent intimidation. Some poll watchers will get too close to some voters, which will result in arguments, and even fights.
The law will then punish the voter instead of the poll watcher. This is just legalized voter intimidation. The entire framing of this
law is wrong because there was no significant voter fraud in the 2020 election. This law is fixing a non-existent problem, but is
creating real problems for voters. It makes voting by mail more difficult. What is the justification for making it a crime to give
someone an application to vote by mail? It outlaws drive through voting and twenty-four hour voting, even though there are no
documented fraud problems connected to these forms of voting, but these forms of voting were favored by many African-
Americans in the last election. This law is voter suppression. It violates the intent of the 15th Amendment to the U.S.
Constitution. It is wrong. It should not pass.

Cynthia Korth Waring
self
Llano, TX

Dear Members,

The following is pertinent and requested:

I request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
I acknowledge the magnitude of existing Election Code safeguards and transparency.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
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Adding electronic Case     5:21-cv-00844-XR
                    voter registration              Document
                                       to the omnibus            117-4 increase
                                                      bill would greatly Filed 11/15/21
                                                                                the accuracy Page   162 ofof554
                                                                                             and integrity   the voter registration
rolls, as well as reduce costs.

The last thing for you to know...I VOTE. SO DOES MY HUSBAND. We will closely monitor the actions by our representatives
and actively campaign and fundraise accordingly.

Best,
Cynthia Waring

Annette Radvansky
Self
Spring, TX

Please vote for this bill. It is a common sense approach to ensure election integrity. Thank you for your service to Texas and
Texans.

El. Williams, Ms
Self, retired
Spring, TX

I urge you to refuse to go forward with SB1, it limits
Availability of voting for all our citizens in Texas.
We need to make fair voting for all our citizens in Texas, and not restrict voting.

Debbie Perry
Self
Saginaw, TX

Opposed!!!

Kay CRAMER
Self
Port Neches, TX

I believe that the changes to our voting rights will make our elections correct and void of fraud. There are so much confusion and
disagreement over the Election of 2020 that should be eliminated and corrected for future elections. It is my belief that with the
corrections proposed for future elections the confusion and disagreement will be minimal, if not totally eradicated.

Sharon Tryon
Myself
2011 Black Champ Rd.Waxahachie, TX

I think this is the most important topic and critical for the Texas following the 2020 election. You have to know that you can trust
your vote. After the last election when we were all watching it at 10 o’clock we saw one person winning for president and then
Bam in the middle of the night hundreds of thousands of votes came through the show he wasn’t we all knew something was
wrong we felt it in our gut. All companies do audits on their products at least once a year. We should audit every election. Seems
to me like all these electronics are making things worse and we need to go more to old-school pen and paper. Then let individuals
from both parties count them old school. With cameras on them the whole time. Cameras on everything. Less chance of fraud and
it’s common sense. Then if someone does commit fraud they should go to jail.
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Bethany Bishop
Self / Eductator
San Antonio, TX

I kindly request for revision of this bill so that elderly, disabled, and other populations of voters with limited options to access
voting/polling will not be negatively impacted. On behalf of my parents who struggle to physically access voting sites due to age
and health issues, on behalf of single parents with multiple jobs and childcare challenges, on behalf of others with disabilities and
challenges please remember your constituents chose you to create ACCESS not OBSTACLES. Thank you :)

Sara Lyons, Ms.
Self
Houston, TX

This voting bill is un democratic and blatantly violates voting rights laws and the intentions of the voting rights act. Stop trying to
silence Texans.

Marcus Johnson
Cy-Fair AFT
Houston, TX

This is nothing but another ploy by the GOP to suppress the votes of those who do not support them or their agenda. The 2020
election was the most secure of the nation and the state…it has been proven time and time again; wrapping up this bill with other
minor agendas will not make it look more noble or make it pass more quickly. This bill must not pass, as there are no grounds for
it to do so. It needs to be on its own, and even then it still must not pass.

Meta Rousseau
Self
The Woodlands, TX

Total election reform must result in a tamper-free trustworthy system, or NO election, not even at the most basic level - including
our school boards - will be reliable. Without law and order we have no country!

Jeremy Dees
Self
HOUSTON, TX

Please do not pass this legislation.

Marva D LeBeau, Mrs.
self
Houston, TX

I believe the language of this bill is outrageous. It will create problems are all who are handicapped, seniors, and persons who
have difficulties because of illness or limitations. In addition, the part about poll watchers will create confusion and disruption to
the voting process in the polling place. I listened to the testimonies during the regular session and the majority of the speakers
were against it. Why are you insisting on pushing it through? We live in a country that is supposed to be based on WE THE
PEOPLE. You suppose to work for the people. How can you sleep at night? What you do the least will come back to you? This
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PEOPLE. You suppose Caseto5:21-cv-00844-XR        Document
                            work for the people. How            117-4
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                                                                                                          come
bill is voter suppression. There are more pressing issues that need to addressed .

Robert Mossotti
Self, attorney
Sunset, TX

Dear Representatives,

Thank you very much for serving the people in Texas.

Although I am using a template comment for this submission, I agree with its reasoning, and so I write to you today to ask you to
strengthen our election system for the following reasons.

This past year showed us that our system is at least questionable. While Senate Bill 1 and HB 26 are good efforts to reducing the
risks, please allow me to make a few suggestions to these bills.

First and foremost, HB 26 only suggests an audit for 2020 and we need a bill that will allow us to do forensic audits and yearly
audits to maintain transparency and evaluate possible types of fraud such as mail in ballot fraud, vote harvesting, ghost votes, and
more. Please consider widening the scope of this bill to allow for a more thorough evaluation of our system often.

Transparency before the people of Texas builds trust in our communities and we all must feel confident in our voting systems.
We have a problem in our larger counties where most of the polls are run by Democrats only. Please add an amendment to Senate
Bill 1 to require all polling locations to have a representative from each party before a poll can be opened, punishable by fine or
penalty.

We have to pay taxes each year so why not require individuals to update their voter registration each year to encourage clean
voter rolls?

Wise County Conservatives, a local conservative group, advocates for a paper-ballot only voting system, and I agree with this. All
software is subject to “hacks” and most counties in Texas do not have sufficient funds to even employ the appropriate personnel
to detect sophisticated trickery by bad actors. Time has shown that as software gets more complex, it also becomes more subject
to attack, and our elections must be protected at all costs. This means a physical audit trail that can be investigated by citizens,
and not just by cyber-security specialists.

Election workers already work very long hours to man the polls and extending voting hours to 9 p.m. would encourage shift
workers which would weaken the integrity of the polling day by having multiple workers come in throughout the day. One
election judge to open and close the polls is preferred and in the best interest of Texas election integrity. Please keep the hours as
they are.

All ballot printing companies should be approved by the Secretary of State and ballots need to be obtained before an election with
extras to spare to avoid what happened in the next county to my own that allowed for 20,000 new ballots after the polls closed in
our November 2020 election.

Thank you for showing up to serve the Texas people and for considering these ideas to strengthen our Texas voting system.
We’re relying on you to advance our platform, and we’re now watching closely to see who does and who does not to inform our
voting going forward.

Natasha Merklein
Self - Clinical Social Worker
Austin, TX

SB1 discourages voting and employs fear mongering tactics to reduce the diversity of voters in Texas. Reducing the ways by
which voters can cast a vote has one outcome, decreasing participation in democracy for those who can't afford to wait in long
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which voters can cast    5:21-cv-00844-XR
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                                                                                      for those who165
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                                                                                                           afford
lines or now, who don't want to be watched by partisan "observers. " It is disappointing, as always, to see elected officials
making it harder for people to vote.

Lisa Tate
Self/housewife
Houston, TX

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Ann Stevenson, MS
Self retired
Grand Prairie, TX

I am writing in opposition to SB 1. In the 2020 election I served as an election worker for the first time. To prepare for that
work, I had to complete an online course which took several hours and take an exam. The requirements for voting in Texas are
complex and have numerous provisions in place to avoid fraud, as well as give voters the benefit of the doubt when casting their
ballot -- including the right to use a provisional ballot which only counts if the person can provide supporting evidence within a
specified time. However, the myriad of rules did require consultation with the election judge on several occasions -- just to be
sure we were following correct procedure. All election workers signed an oath to follow those rules. There were also procedures
to secure ballots, separating provisional ballots from the submitted ballots, numerous forms to be completed, locks to be applied
and all records secured for delivery to the central voting office. Although votes were cast electronically -- the paper back up is
extensive. When the polls closed, it took another 2-3 hours to secure all the records and machines and the election judge
personally delivered those documents to the central voting office.
Serving as an election clerk was work I took seriously. I signed up for the first time because I knew many of the election clerks
were elderly and would likely be hesitant to serve during a pandemic. This did happen -- we had no one over 70 serving as an
election clerk at the polling site where I worked.
I strongly oppose allowing untrained partisan poll watchers coming into an election site to "oversee" what the election workers
are doing. Poll watchers are already allowed - but with more restricted access. I fear these untrained poll watchers will cause
disruption and arguments because they won't know what the law requires -- and they are likely to be highly partisan which gives
me concern that they will intimidate voters as well as election workers. Poll watchers must be objective and well-trained.
Despite the claims of "voter fraud", the results in Texas of the 2020 election were in line with nearly every other election -- there
were just more people voting. That is a good thing! The legislature should be focused on making it easier to register to vote as
well as to caste ballots. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity
of the voter registration rolls, as well as reduce costs. The legislature should consider changes that would address any "real
problems" -- not implement some vigilante process for that responsibility. The Texas COVID epidemic highlights the need for
safer methods of voting more than ever. We need the safer options of early voting, extended hours at polling places, and more
options to return vote by mail ballots. These are what Texans wants. Don't let the Texas voters down!

Delwin Goss, Mr
retired
Austin, TX


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I am very strongly opposed to this fake elction integrity bill. As a native Texan with 8 generations of roots in this great State I am
deeply offended that some carpet baggers want to suddenly say we don't have election integrity. That our elections are somehow
suddenly corrupted.

Barbarami Noblin
--None--
AUSTIN, TX

As you consider action on SB 1, I ask that you consider what is helpful in safeguarding the rights of all Texas voters.
We need more hours of early voting; not fewer. Drive through voting and voting by mail are helpful for older voters, such as
myself, and for those with disabilities. But with the Covid pandemic, all voters would benefit from these remedies and want
these.

I believe having poll watchers in the polling stations violates the sanctity of the voting place and is a partisan intrusion on my
right to vote freely. I oppose this provision of SB 1.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. No one's vote should be denied
because of a simple error.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.
Thank you.
Barbara Noblin

Robert Sheaks, Mr.
Electro Plate Circuitry
Irving, TX

Since the repeal of the Voting Rights Act of 1965 by the Supreme Court, the usual suspects have been trying to take the country
back to the bad old days of Jim Crow. Knock it off.

Jackalyn Rainosek, PHD
self
Houston, TX

•       Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
•       Acknowledge the magnitude of existing Election Code safeguards and transparency.

James Suminski
AFTRA/SAG
HOUSTON, TX

There is NO VOTER FRAUD IN TEXAS except for a couple of republicans in North Texas who tried to vote for Trump twice!
We don't need draconian voter suppression bill SB1 and those who propose it. We DO need all of our voters rights protected and
this bill doesn't do that! As a Texas Senior I can't stand in long lines in the heat and that's what you want to force Seniors to do!
Don't Mess With My Texas Voting Rights.

carolyn parket
self
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granbury, TX

our elections must be held to a high standard of integrity preventing fraud.

Donna Almanza
self
San Antonio, TX

I believe you should have to prove who you are. It has been done for many years without a problem.

Wendy Lerner
SELF
Austin, TX

If you pass this bill. it will make it harder to vote by mail, when Texas already has some of the strictest VBM eligibility criteria in
the country. It requires a mail voter to provide their driver’s license number or last four digits of their social security number on
their application and ballot and makes it more difficult to get an application.
Embolden partisan poll watchers by making it harder for poll watchers to be removed for egregious offenses, requiring election
judges to accept a poll watcher (even if they were removed the day before) or be charged with a misdemeanor, and giving poll
watchers the power to bring frivolous lawsuits if they don’t get their way.How are the elderly in nursing homes supposed to vote?

Leroy Almanza
self
San Antonio, TX

I vote for identification in voting

Cleo Wadley
Self
Longview, TX

There is no data to support the need for this bill. Republicans know that the demographics are against them and they will
eventually lose every election unless they discourage certain people from voting which tend to be people of color.

Theresa Keefe
self
Houston, TX

Voting should be in-person with a voter ID to insure more accurate voter identification and quicker election results. Only in
specific circumstances should mail-in voting be allowed. Houston particularly has a transient population. I used to block walk and
phone bank for candidates; the number of addresses and phone #s that no longer applied for a voter was noteworthy. Mail-in-
ballots therefore should be by request only, if criteria is met. IN CONCLUSION, in-person voting for all abled-bodied people.
Mail in voting should be for specific circumstances only, such as disability or overseas military service. Mail-in-ballots should be
by request only. Texas has plenty of early voting days. Make sure early voting locations have top notch equipment and well-
trained staff. As a voter, I do not want to have to wait days or even weeks for results.

Gina Fant-Simon
Self
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Dripping Springs, TX

As a metaphor… if the neighborhood I’ve lived in for 25 years has no crime, does it make sense if my HOA uses our dues to hire
24/7 armed guards?

If voter fraud is not a problem in Texas (as proven countless times by state data) then why is my state legislature passing laws to
protect elections that don’t need protecting?

What is the real answer to that why?

Why would an HOA hire armed guards for a safe neighborhood? Wouldn’t anyone logically question this unnecessarily expensive
and authoritative decision?

If there was the unmistakable failure of our state power grid that cost many Texans their lives and livelihoods, why aren’t we
passing laws to modernize our infrastructure? Doesn’t our electricity need protection much more than our elections?

Why does Texas insist on its own power grid? Are we stronger than other states? Absolutely not. If we have so much pride in our
standalone power grid, then why aren’t we creating a system that we can be truly proud of?

Instead of making this state safer and stronger and encouraging our fellow Texans to do their civic duty, our state legislature is
doing the opposite?

I strongly oppose SB1 and ask our legislature to please address issues that benefit your constituents instead of yourselves.

Sophia Vassilakidis
self - customer service
Houston, TX

Being able to vote is one of our most fundamental rights as US citizens, and the state of Texas does a pretty poor job of ensuring
that right already. We shouldn't back slide. My normal job is night shift for an airline, and it's hard enough to get to the store, the
doctor, the bank, etc. Many working folks have even more difficult schedules. The not-furlough I took last year allowed me the
time off to be an election clerk for early voting in a Houston polling location in the medical center. Of course medical personnel
have some of the least accommodating schedules and appreciated the later and occasional overnight hours, but many of facility
maintenance, drivers, etc, were able to finally get to vote without jumping through hoops as well. There is no reason to prohibit
overnight voting when the polling machines are up and the poll workers are there and willing. Everything is already set up.

It is also pointless (unless you want to make it harder for working people and the disabled to vote) to impede drive through
voting, which uses the same machines and process we use to serve disabled voters curbside. Especially now that systems are
computerized, once you have the terminals and personnel trained, it makes no difference whether you have one person with one
machine or 100 people with 100 machines. At the airport, we now have self-service check in kiosks, and passengers can even
check in remotely, but that hasn't led to higher rates of "passenger fraud" or terrorists getting through TSA. Many of the disabled
voters that came to curbside vote had multiple family members in the vehicle with them. We already get the signatures of those
acting as voting assistants for the disabled, but having to register or waiver every grand-kid or in-law in the car will have a
chilling or deterrent affect for many of our voters.

It's sad how 20th century our voter registration still is in this state. Multiple times, I had to disappoint doctors, nurses, or med
students who were recent transplants to Texas who didn't realize that we didn't have same day voting registration like in their
home states.

Prohibiting drive thru and 24 hour voting is stealing an exhausted overnight worker's ability to exercise their rights; tightening ID
requirements so that med center janitors and cafeteria workers that take the bus and don't have a DL / social sec card may have to
dig for utility bills or such and try again another day is bad enough, but making it so the elderly of them have extra hurdles to
mail-in vote when they don't have picture ID is crap; and the fact that one of my republican co-clerks kept forgetting to take off
her morning Election Monitor ID tag before her PM shift and freaked out several voters and other poll-watchers should tell you
how intimidating giving poll-watchers even more power and less scrutiny will be. We had to keep people from taking 'I voted'
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                   Case poll-watchers
how intimidating giving    5:21-cv-00844-XR
                                         even more Document      117-4
                                                     power and less        Filed
                                                                    scrutiny      11/15/21
                                                                             will be. We had toPage  169 offrom
                                                                                                keep people  554taking 'I voted'
selfies by the booths for other voters' privacy, but poll-watchers can film?

NO to SB 1

Mary Olmstead
Self- Retired Texas public teacher
Austin, TX

I am a registered Texas voter who is against SB 1. Please don't pass this bill. Our 2020 presidential election was very secure and
there is no need to tamper with the voting laws. Thank you,
Mary Olmstead

Sheri Reiter, Mrs
Self
El Paso, TX

In my 58 years living in Texas, I have never been as appalled by this bill. This is voter suppression no matter how you write it.
You all should be ashamed for even bringing forward a bill like this. It looks to me, that because you did not like the outcome of
the presidential election, that you must squash all current election processes. I am not a person of color and it is obvious to me.

Mary Olmstead
Self-Retired Texas public schoolteacher
Austin, TX

I am against SB 1. Our election integrity is fine the way it is and doesn't need tampering with. Please support the right of all
Texans to vote.

Angela Morris
AFL/CIO Texas
Houston, TX

Despite the allegations of voter fraud, this has not been proven by any courts. This bill is yet another attempt by the state of
Texas to silence the non-republican vote. If the party is strong, then these bills are not needed. The truth of the matter is that the
republican party is dying in Texas and the United States - so is an this attempt to shrink the votes , so republicans can prevail in
the next election?

I applaud those who have taken actions against the bill in the state of f Texas and these “United States”!

Richard Pickle
Self
Cypress Mill, TX

Nothing is more important to our country than truth in the conduct of elections. We ask that you vote for SB 1 and increase the
integrity of the elections in Texas. Thank you.

Diane Mohler
Self
Houston, TX
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Houston, TX

It annoys me heavily when my senior citizens did not receive their mail in ballots but someone else did complete and mail them
in. My friends in nursing homes have their ballots sent in because some Democrat picked them up in a mailroom and completed
them and mailed them in. I personally received 6 mail in ballots and DID NOT ASK FOR ANY OF THEM. I am a Registrar in
Harris County and I understand only Democrats are going to work the polls as Judges. THIS IS NOT INTEGRITY. SB1 MUST
BE PASSED!

Carol Burton, Mrs.
Self (Retired Teacher/Librarian)
Nacogdoches, TX

As a constituent, I strongly oppose SB 1. I believe every adult citizen has the right to vote and have their voice heard in a
democracy.

Kathryn Pokladnik
Self retired
Irving, TX

I am against this bill

Laura Hanes
Self
Conroe, TX

I strongly oppose SB1. According to top election officials from both parties the 2020 election was the most secure in history.
Secretaries of State from all over the country ran amazing elections during a pandemic and handled unprecedented numbers of
mail in ballots and record overall turnout. They should be praised and rewarded instead they have been made to disprove over and
over again claims of widespread fraud.
The unfounded implications of fraud in SB1 are deeply disrespectful to the hard work of election officials at all levels of Texas
government and will only make voting even harder for people for whom it is already hard.

I oppose SB1

Martha Altier, Ms.
Myself
Houston,, TX

Vote for SB 1 we must make sure it is easy to vote and impossible to cheat! No one can be allowed to vote without proper
identification. They have to have identification for many other activities in Texas, it should be especially necessary when voting.

Pat Timm, Ms
Self retired teacher
Austin, TX

I oppose SB1. Vote no on this bill.

Jeanne Schulze
Self
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Self
Flower Mound, TX

As a Texas resident for over 30 years, I am saddened and dismayed at the lengths the Governor and certain members of the
legislature are willing to go to disenfranchise the electorate. It brings shame to Texas and it’s citizenry.

There was no fraud. There purpose of this legislation is solely to make it harder for certain people to vote. The real frauds are the
politicians that have to resort to voter suppression because they can’t win any other way.

I urge all members of the legislature to vote no on this bill. Please restore my faith in our democracy and prove those elected to
represent their constituents have even an inkling of morality and integrity.

Thank you for your consideration.

Patrick Burton
Self employed graphic designer
Nacogdoches, TX

I strongly oppose this bill and lie that Texas elections are somehow fraudulent. The bill itself is a blatant attempt at election
fraud.

Andrew Wagner-Wilkins
self physical therapist
Highland Village, TX

I have been very disturbed over the last few years as former President Trump repeated lies over and over again about improper
voting and the election being stolen. Millions of people believe these lies, but there is not objective evidence of substancial
election fraud. His attorney general Barr and head of election security verified that the election was free and fair. This has
significantly undermined public confidence in our democracy. This is dangerous. Instead of being strong leaders and calling out
these lies, elected GOP officials in Texas are trying to pass unnecessary voting restrictions in our state which already is at the top
of this list for voting restrictions. The underlying purpose is to make it easier for the GOP to win elections - this is wrong to do!
Please do not pass SB1 it is bad for democracy! I strongly urge you to pass laws that make it easier to vote, especially for
underrepresented Texas residents.

Joan Pask
self/retired
Richardso, TX

The possibility of fraud is very low in the case of most election in this state and should NOT be overemphasized when combating
such unlikely fraud ten to greatly suppresshe vote itself.

Maureen Riebel, Mrs
Riebel family of Boerne TX
Boerne, TX

I have lived and worked in the USA all of my life.
We need to have election integrity- for without it- we have nothing. Our vote needs to count- so our voices can be heard. My
relatives came to this country as immigrants- worked hard-to improve their lives for themselves and their children. We need to
save America- by having integrity in our voting.

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Pamela Turlak
self employed realtor
Austin, TX

The ability to vote is a constitutional right. Your job is to listen to the people of Texas. We want to make this responsibility easier
for all Texans. If I can bank online or in a drive up window, then I should be able to vote that way, too. My bank account is safe
that way and so is my vote. Voting by mail or online allows the voter to research the candidates and issues and consult their
notes. Members of the Legislature are supposed to have honesty and integrity. Act like it. Put the people first.

Glyn Bailey, Dr
Self
Seabrook, TX

Leave voting as is. No change

Mary Wood
Self
Georgetown, TX

I do not support any of these horrible bills. As a senior, I strongly feel that you are making voting much more difficult for other
seniors and actually suppressing many other Texas’s their right and desire to vote. You know full well that there hasn’t been any
cheating.
I an also extremely angry and upset that you would want to allow someone else invalidate how I vote if they don’t agree with my
voting decision.
In case you’ve forgotten, this is America, not Russia or some other third world or authoritarian government.

Marion Friedman
None
Houston, TX

I oppose SB 1 in its current form. It will make it harder for an older voter like me to vote safely. Instead, I urge to you to redirect
SB 1 to protect safe voting options that will provide voting access to all Texans registered to vote. This is key to maintaining
faith in our elections and democracy. The current election code already provides reasonable safeguards and transparency. Safe
voting options that make it easy for elderly, working and disabled Texans to vote should be protected, not limited.

I am in my 60s, and at the time of the 2020 election was just recovering from surgery related to cancer. Considering my age and
health , I was afraid to enter my usual polling place because of the risk of contracting Covid. Thankfully, as a resident of Harris
County, I was able to access drive-thru early voting. It meant so much to me to be able to cast my vote safely. The poll worker at
the drive-thru voting location was extremely conscientious and verified my identify and voter registration, just the same as at any
standard polling place. Yet my vote was almost thrown out, along with all the votes of those who sought safe drive-thru voting in
Harris County. Fortunately, the effort to toss our votes failed.

I've never missed an election and was terribly upset that my vote might not count. SB 1 should be revised to explicitly protect a
variety of safe voting methods and make sure future voters never face that type of distress. With the Delta strain of Covid now
raging in Texas, the need for safe methods to vote is just as urgent as it was last year. Vulnerable Texas voters like me should not
need to risk our health to cast our ballots. Early voting, drive-thru voting, polling places with extended hours and more options
for mail-in voting are all reasonable ways for registered Texas voters to cast their ballots.

I've been registered to vote in Texas and have cast my ballot here from the day I was first old enough to vote. Please make sure I
can vote safely and have my vote count through all my remaining years.

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Thank you.

Marion Friedman

Steven W. Riebel
None
Boerne, TX

One of the key under pinnings of a democracy is knowing that your vote counted and was not taken away by fraud or election
malfeasance. If you can not count on a fair election where all legal votes count and are not overridden by fraudulent votes, then
we will go the way of third world countries. And the legal voters will lose interest. Do not let this happen.

Kim Hansen
Self
Austin, TX

Election fraud is rare and nothing but a desperate move by the GOP to prevent the results that democracy would bring…the end
of their party.

Sean Mendoza
Self. Law Enforcement
SAGINAW, TX

I strongly oppose this or any other bill that restricts voting. There is little to no fraudulent voting in this state. Many audits and
investigations have proven that, yet this state government still insists and intends to limit its citizens access to the polls.

David Turrentine
Self
Tool, TX

Texas already has the strictest election laws in the nation and ALL cases of fraud that have been discovered involve the
Republican Party

Linda Byrd
self, retired
Garland, TX

Current election laws are inadequate to assure free, fair and transparent elections. Election integrity measures in SB1 need to be
strengthened with the following measures. Yearly voter renewal and refreshment of voter rolls should be required. Mail in ballots
should be restricted to military personnel stationed away, or illness/disability/extended traveling of individuals according to
stringent rules. In person voting is to be the preferred and normative method of voting. Independent, 3rd party forensic election
audits should be performed routinely and at the request of any office candidate or elected officer. Any position won by less than
1% margin must automatically trigger a forensic audit. A forensic audit is not a recount of ballots, rather it includes examination
of eligibility of each vote cast, the accuracy of ballot tabulation, and audits compliance with election laws. Risk auditing that
samples a small % of ballots should be eliminated. Voter ID of every voter must be verified without exception. Paper ballots are
preferred to electronic ballots. All voting systems and ballots must be manufactured by United States companies. Ballot printing
companies must be approved by the Secretary of State prior to each election. Each ballot must contain a unique identifier such as
a serial number or QR code, as well as some type of manufacturer-applied watermark to avoid counterfeit ballots or copies.
Polling locations must be staffed with representatives and judges from both political parties, or must cease operation until they
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Polling locations must  be5:21-cv-00844-XR          Document
                           staffed with representatives and judges117-4   Filed
                                                                    from both    11/15/21
                                                                              political parties,Page  174
                                                                                                 or must    of operation
                                                                                                         cease 554       until they
are properly staffed. Election Day will end no later than 7pm to allow for a single shift of polling place leadership and assurance
of consistency of leadership. Vote tabulation will be observed at all times by representatives of both parties, and will be recorded
and live-streamed to the public for maximum transparency. No ballot tabulation should be allowed without the direct observation
of representatives of both political parties. Crimes of election fraud should be penalized as felony offenses. Electioneering should
be a punishable offense. Thank you for considering these amendments to fortify election integrity, reduce opportunities for fraud,
and to intensify the penalties for all violations.

sandra kuehl
--select an item--self - retired
HOUSTON, TX

This bill is wrong in so many ways - let's focus on poll watchers - as a 30+ year poll worker, allowing poll watchers (without
proper training and you know damn well your so called training is BS) full access to get in the face of workers and voters is
wrong and to make poll workers liable if those watchers cry "foul" is going to drive many poll workers who have been working
diligently for years like myself to no longer serve the public...there is basically NO fraud in the Texas system except in cases
where the ruling party removes legitimate voters from the polls - And the fact that this bill attacks great initiatives done in urban
counties (i.e. drive up voting in a pandemic, 1-2 days with round the clock voting for those who work multiple jobs) is
pathetic...This bill creates problems and doesn't solve them... All SB 1 does is discriminate against the majority in a majority
minority state. SHAME ON YOU and all of the GOP FASCISTS

John Schedcik, Mr.
Wise County Conservatives
Decatur, TX

WE NEED ELECTION INTEGRITY!

Kathleen Hackett
self, retired
Austin, TX

I feel that our current election safeguards are good and prevent fraud. I feel that many of the provisions in this bill are 'solutions
looking for a problem'. While I believe in being proactive, I do think we should encourage people to vote so that all of the people
who reside in our state are equally represented. Some of the items in this bill make it harder for people to do their civic duty
without making our elections results any cleaner. There were many investigations in the 2020 election and the amount of fraud
was tiny.
Thank you for your consideration.

Margaret Megee
Self
Kerrville, TX

please pass SB1

Carol Krenzke
self -- retired
Manvel, TX

1/ The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what most
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expanded early voting, 5:21-cv-00844-XR        Document
                              hours at polling places,      117-4
                                                       and more      Filed
                                                                options      11/15/21
                                                                        to return vote by Page  175 of
                                                                                          mail ballots.  554are what most
                                                                                                        These
Texans want.

2/ When I was an election worker, I had to have training and sign an oath. Poll watchers should receive required additional
training and sign an oath as well.

3/ This measure should include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1
added the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular
session. However, House action should add a way to let voters know there is a need for a cure as well as clear instructions for
curing their incomplete ballot or application. The process should be uniform - and reasonable - in all counties. Curing a ballot
should not be optional in any county - it should be required.

Elba Wilson
myself
Round Rock, TX

I am strongly opposed to SB 1. It is clearly a voter suppression bill intended to prevent certain types of Texans from voting.
Supporters claim SB 1 is necessary based on fraudulent claims that our elections have been filled with fraud. There is zero valid
evidence to support those claims.

As a lifelong Texan, let me remind you: Texans are Americans, and Americans have a right to vote. Making false claims about
non-existent fraud in order to break an election system that worked exceptionally well last time around is simply wrong. SB1
blatantly promotes cheating to retain political power by making it harder for selected types of voters to vote. Do the right thing:
shut down SB 1.

Melinda Green
none
Houston, TX

The increasing Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need safer options of
expanded early voting, extended hours at polling places, more options to return vote by mail ballots, more polling places and
electronic voter registration. I would hope that our representatives would be concerned with allowing more registered Texans the
opportunity to vote. I do not believe that voter fraud is a significant issue in Texas. Texas is a great state and we all should have
unencumbered access for registered voters. Thank you.

Patsy Boatright
Self
Maryneal, TX

I support this bill. It DOES NOT make it harder for ELIGIBLE VOTERS to vote. And I want this bill made into law in its
CURRENT form. DO NOT compromise with the democrats or republicans that want to weaken this bill. We have seen where
compromise gets us and that is no where.

Mimi Lawrence
self, physicist
Austin, TX

As you all know, there is NO SIGNIFICANT VOTER FRAUD in Texas. SB1 is a voter SUPPRESSION bill, particularly in its
vote-by-mail provisions. It targets elderly, recently-registered and non-white voters by prohibiting county clerks from proactively
sending voters an application to vote-by-mail, requiring voters to provide written documentation from the Social Security Admin,
US Department of Veterans Affairs, or a licensed physician that they have a disability preventing them from voting in-person, and
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                     Veterans  Affairs, or a licensed Document
                                                      physician that117-4   Filed
                                                                     they have     11/15/21
                                                                               a disability      Pagethem
                                                                                            preventing 176from
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                                                                                                               voting in-person, and
enables county clerks to more easily throw out a mail-in ballot by only comparing the ballot signature with one other signature
from the voter (rather than two in current statute). I'm sure my signature has changed over time! SB1 also prohibits polls from
opening outside the hours of 7 am to 7 pm, limiting poll access unnecessarily. Don't you all believe in democracy? Then act like
it, and kill this bad Senate bill!

Jose Lopez
Retired Teacher
Laredo, TX

i select this bill because it ahires to the Constitution

Stephanie Coates
self - program director
Houston, TX

This bill will in effect suppress voting by people of color and limit access for those with disabilities. There is no evidence that
voter fraud occurs on a widespread scale. The Texas Secretary of State has said that he is not aware of evidence of fraud tied to
initiatives like late-night, 24-hour voting, or drive-through voting. This bill should not pass. God forbid the COVID-19 pandemic
still be ongoing in 2022, but if it is, or something like it happens in the future, we will want all of the options available to us. I'm a
law-abiding citizen. I should have the freedom to choose how and when I vote.

Deborah Kelley
Self, Austin Public Library administrative assistant
Cedar Park, TX

I oppose SB1 because it takes voting rights away from people. This is unnecessary legislation. STOP wasting time trying to steal
the vote and take up important business like protecting people, particularly the young who have no vaccine yet available and
improvements in the education system.

Jeffrey Johnson
Self Senior Product Manager
ALLEN, TX

Though I doubt anyone actually listens to constituents, since you rely on gerrymandering and the "base" voting, if you truly cared
what those that actually live in the state and the specific district you're in, you'd listen to us and actually work on laws and
changes that could help us. Lowering property taxes, fixing our roads, stop the proliferation of toll roads, and ensuring our power
grid is stable. Instead, you bring up bills like this that don't truly help but rather impede the ability of your constituents to
participate in the democratic process. What reason made this so important now? What widespread fraud was there, and how do
any of these bills actually help your perceived faults with the process in Texas? Sadly it's just the GOP making excuses and
wasting time when you could be tangibly helping us. It's disappointing, and though I likely voted for you last election, no more.

Laura Cottam Sajbel, Prof.
Self
Austin, TX

As proposed, this bill is doing more harm than good. Please encourage the committee to focus on solutions for all voters and help
restore the level of trust in Texas elections. We see that suppressing mail-in ballots and drop boxes impacts voters with
disabilities and makes it more difficult for their voices to be heard. In addition, we are concerned that many of the stipulations
target particular communities, especially economically disadvantaged communities and communities of color.
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target particular communities,                   Document
                               especially economically        117-4 communities
                                                       disadvantaged  Filed 11/15/21   Page 177
                                                                                and communities of of 554
                                                                                                   color.

As is, we have plenty of existing safeguards in the Election Code to secure elections and offer transparency. SB 1, so far, has
proven to be a bill disenfranchising certain citizens and we hope those types of stipulations will be removed from consideration.

Frank Wissler, Mr.
self, maintenance tech
Spring Branch, TX

If you cannot show any instances of fraud then this bill can only mean you are attempting to suppress the votes of citizens who
don't vote for Republicans. Texas has lots of pressing issues (the inability of our power grid to withstand heat or cold is a big one)
and this bill surely does not qualify as one. It is a purely partisan attempt by Republicans to tilt the vote in their favor. This isn't
just an anti-democracy move, it's highly un-American. If you can't appeal to enough voters through policy and performance then
you deserve to be tossed out of office. Stop trying to emulate Trump. Those who refuse to protect and defend the Constitution
because they can't win a fair election are traitors. Texas is already pretty red, what exactly are you afraid of?

Lincoln Achilli
Self
Dallas, TX

It is absolutely crucial in my opinion, given the mistrust of and lack of faith in the election processes after the November 3, 2020
general election that a full forensic audit / investigation of the ballots, ballot images, adjudication logs, system logs, access logs,
voting machinery, all related software, manuals, tabulation equipment, administrative processes and procedures and where
available, sworn witness statements relating to that election be conducted with a final report to be delivered to the legislature
upon completion. The findings of this audit will be prescriptive for any shortcomings or gaps in any corrections already written
into the legislation and be effective prior to the 2022 primary elections. Provisions should be included so that for all elections
determined by less than 1% be audited in future elections, as well as provisions that candidates and their campaigns have standing
in post-election contests where traditional evidentiary standards are met. It is my opinion that these additional provisions will
help assure that the processes that record the voice of the people in the form of their votes remain as open, clear, and transparent
as possible.

Angela Walters
Self clerk
Beaumont, TX

I am against changes to voting rights that create barriers making it difficult for senior citizens, minorities, poor and those with
disabilities full access to vote

Denise Gardner, Ms
Self. Retired Teacher
Spring, TX

I totally support SB1 and believe it's passage will help sustain my voting integrity rights as well as the rights of all other Texans.
This piece of legislation needs to be part of the great state of Texas. Please act accordingly and pass SB1 for the well-being and
integrity of this state and nation! Thank you.

catherine bremer
AFL CIO
Blanco, TX

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I oppose SB 1 ANY any other bills which make voting difficult for people. There is no significant reason for these changes in
voting. The idea of fraud in our elections is a lie!

Catherine bremer
league of women voters
Blanco, TX

I oppose SB 1 and any other bills designed to make voting harder.


    I Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
.



 IThere is already a magnitude of existing Election Code safeguards and transparency.

Lori Stockstiel
Retired
Fair Oaks Ranch, TX

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

alan friedman, Prof.
Self. Professor
AUSTIN, TX

You should be in the business of protecting and expanding voting rights, not denying and subverting them.

Jeremey DePaolo, Captain
self
Friendswood, TX

Please do NOTt vote for this bill. It will prevent many people from voting. It is blatant voter suppression. It is amoral.

Jumping on the voter suppression band wagon will bring about a blue TX even faster. People are beginning to understand that
the Republican Party has nothing to offer that American people want. Just rrational fear of brown people , gerrymandering, and
voter suppression. This bill takes the shade off GOP racism and shows the world how ignorant and backwards Texans can really
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voter suppression.Case   5:21-cv-00844-XR
                   This bill                      Document
                             takes the shade off GOP          117-4
                                                     racism and         Filed
                                                                shows the      11/15/21
                                                                            world           Page
                                                                                   how ignorant and179  of 554Texans can really
                                                                                                    backwards
be. Especially the "Comfortable" class who can afford to serve in the legislature.

Kind Regards,

Jeremey DePaolo

Dana Krasinski
self/teacher
Southlake, TX

Senate Bill 1 is a really good start to strengthening our elections here in Texas! As a concerned voting Tarrant County citizen, I
ask the Elections Committee to pass this bill out of the committee. I do believe this bill needs to be fortified. Yearly voter
renewal should be required to keep voter rolls current. Mail-in ballots should exist only for those traveling or residing out of the
country for an approved reason (other reasons should not encourage fraud!) Yearly audits should be done to ensure the highest
transparency and to enhance voter confidence.
Paper ballots should be brought back and all electronic data collectors and pool books should be eliminated. Election machines
run on election software and guess who are the only people that truly know what the election software is doing? The computer
programmers that wrote the software. There is no transparency in election software. The only people who know the inner
workings of the election software are the people who wrote it.
Forensic audits should be done for any candidate or elected official making the request. If an election is won by less than 1%,
then an audit should be ordered! If election machines are used, none should be connected via a wireless connection to the internet
for any reason. Identification must be presented for every voter with NO exceptions. Every single voter in our great state of
Texas can obtain a Voter ID. And if there is a hardship in obtaining one, a voter can request a home visit by the state of Texas to
obtain a Voter ID.
All ballot-printing companies should be approved by the Secretary of State ahead of each election. All voting systems (EMS
software and tabulators) MUST be manufactured in the United States of America. No exceptions. Each ballot should have a
unique identifier like a watermark, pre-printed serial number, or a QR code that the voter can then have to trace their ballot. This
would prevent ballot copying and also provide transparency for a voter to ensure their vote got counted.
Local polling places must operate with representation from both parties. And an election judge from both parties must be present.
Election administrators and the Commissioners Court should be more accountable to the people regarding elections.
Voting hours should not extend after 7 pm each day since more than one shift of workers would be needed and the current
seamless group of election workers for each polling place will be duplicated, opening more opportunity for an inconsistent
election where one judge is not responsible for the whole day.
Crimes for election fraud must be increased from misdemeanors to felonies. And electioneering must be a punishable violation.
Thank you for considering my comments. Election integrity is so very important to the freedom-loving people in the great state
of Texas. Please do pass this bill out of the committee.

ALLAN TALLANT
SELF ANG PRECINCT 1011
Denton, TX

WE CANNOT LET THIS ONE PASS AS IT WILL DESTROY OUR RIGHTS TO A FREE ELECTION!

Michael McPhail, Mr.
Self mortgage banking
Irving, TX

Please stop this train wreck.

Jennifer Hardy
Self
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Self
Addison, TX

I strongly oppose this bill. It is about suppressing votes and republicans stealing elections. This will hurt Texas businesses by
making the state which is already the hardest to vote in, even worse. Talent will not come to this state. Businesses will suffer. We
need to make it easier for democracy to work in our state. This bill is a shameful travesty. I am ashamed to be a Texan.

Randy Reeves
Self
Tyler, TX

I fully support the bill. I can't believe it was not already law. Common sense tells you it should be law.

Robert Henes, Mr
My Self
Katy, TX

First and Foremost, I support the the following common-sense reforms:
1.      Adds voter identification to vote by mail, making it consistent with in-person voting
2.      Strengthens prohibitions against paid vote harvesting
3.      Protects poll watcher access to see and hear the process, improving transparency
4.      Prohibits public officials from distributing unrequested vote-by-mail applications
5.      Conducts regular maintenance to verify the accuracy of voter registration lists

Additionally, earlier this year, my wife and I received voting information from Isabela Longoria, Harris County Elections
Administrator, which contained the anacronym V.O.T.E., which stood for Voting & Registration - Outreach and Civic Education -
Technology & Security - EQUITY & Access. The word EQUITY comes from Critical Race Theory (Equity - Diversity -
Inclusiveness), and EQUITY DOES NOT MEAN EQUALITY. These three words, and others, as defined in Critical Race Theory
DO NOT MEAN what most people think about when they hear them. Critical Race Theory is a racist, Marxist, anti-American
construct and none of it belongs anywhere near or on literature connected to voting.
This same literature had statements and wording which seemed to push voting by mail, instead of voting in person ("VOTING
BY MAIL IS A SECURE WAY TO VOTE, AND IT IS ALSO THE SAFEST AND MOST CONVENIENT WAY TO VOTE").
There was other language on this literature, which, while not specifically improper, when taken together, in my opinion, made it
clear that Harris County would prefer voting by mail, rather than in person voting.
Please do not misunderstand me, all of our Citizens need to know all of the methods available to them for casting their vote, when
and where to vote, when and how to vote by mail and any other information needed to cast their vote. But this information needs
to be presented in a clear factual manner with no bias toward mail-in voting. In person voting is the best method for most (not
all) people to cast their vote.
There should never be ANY Critical Race Theory wording or Anti-American wording on voting literature put out by any level of
State or Local Government or Government Agency.
I did fax copies of this literature my Texas State Representative, Mike Schofield, and my Texas State Senator, Joan Huffman, on
April 13, 2021, as well as calling their offices.
Election Integrity is one of the most important issues of our time.
Thank you.
Robert M. Henes

Julie Strother
Self
Cypress, TX

The committee focus on solutions for all voters and help restore the level of trust in Texas elections.
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I acknowledge the magnitude of existing Election Code safeguards and transparency.
The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want. This is what I want as a Texan.

I have become disabled just over a year ago. I have been having medical issues for the past couple of years. I live in Harris
County, Texas. The County requested approval for drive thru voting from the Secretary of State and received it. My husband and
I voted at a drive thru voting location. State issued ID's were checked. Strict rules were followed. The poll volunteers watched
carefully for irregularities. When I found out that a partisan hooligan was suing to have drive thru votes disqualified, I was very
upset. I wanted my vote to count. I had gone out of my way to vote. Due to my disability,it was the best way for me to vote. To
remove that option will disenfranchise me, and others like me who have mobility issues. Banning it would be wrong and a
disservice to voters.

Also to be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of
the polling space by executing an oath similar to election workers.

Due to budget constraints from covid, adding electronic voter registration to the omnibus bill would greatly increase the accuracy
and integrity of the voter registration rolls, as well as reduce costs.

In short, voters must be protected from anything that will hinder their access to the polls, such as less mail in voting, banning
drive thru voting, reducing ballots drop boxes, shortening pre election day voting, making voters submit a photocopy of their ID
for mail in voting, etc.

Thank you for your consideration in this urgent matter.

Sarah Hays
Self -- retored
Lubbock, TX

Passing this bill, which will further exacerbate the restrictions on voters and voting in Texas, is a disservice to your Constituents -
- regardless of party. This bill will make Texas elections a laughingstock. This bill is not and never has been based on any factual,
provable problem; it is a reaction to the 2020 national election results and the lack of intestinal fortitude of the Texas Republican
party to tell the sore loser, Donald John Trump, "you lost. go home." Instead the GOP majority is pandering to the worst possible
elements of "policy" in the name of stopping "voter fraud." Point of fact: the 2020 election in Texas was the cleanest and most
secure in the state's post-Civil War history.

Instead of standing up for Texans who voted -- many of whom voted for the very GOP legislators now intent on stripping the
franchise from working-class, elderly, student, black, Hispanic, female, disabled, and others they perceive as likely to vote for
Democrats -- the Texas legislature is refusing to uphold the oaths the members took to the Texas constitution and the
expectations, needs and rights of the voters of Texas.

Wendy McRoberts
Self
Danbury, TX

MORE ELIGIBLE voters were able to vote in Texas using the additional options used in 2020 and regularly available to voters in
other states. Voting was easier for ELIGIBLE VOTERS, so they VOTED. Ken Paxton spent 22,000 man hours searching for
voter fraud. He found 26 cases of incorrect addresses on ELIGIBLE VOTERS. No votes from INELIGIBLE people were found.
The new bill is intended to strip options that produced MORE ELIGIBLE VOTERS and no FRAUD from INELIGIBLE
VOTERS. VOTER ID REQUIREMENTS DO NOT CHANGE IN THIS BILL

Why doesn’t Texas want more ELIGIBLE VOTERS to participate? Isn’t that the goal? Every eligible citizen votes?

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The Rev Dr Edward Kern, Rev. Dr.
Self/ Lutheran Minister
San Antonio, TX

I request the committee focus on solutions for all voters and help restore the level of trust in Texas elections. I acknowledge the
magnitude of existing Election Code safeguards and transparency. The Texas COVID epidemic highlights the need for safer
methods of voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and
more options to return vote by mail ballots. These are what Texans want and need. To be effective, I believe poll watchers should
receive required additional training and should acknowledge the integrity of the polling space by executing an oath similar to
election workers. Please include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1
added the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular
session. However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure
their vote counts; as well as make the process uniform in all counties not optional. Similarly, voters with disabilities need
additional refinement of SB 1. Specifically, the House can add provisions that allow blind voters a way to securely and privately
vote. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs. Thank you for your consideration of these comments.

Brandi Dawson
Self
Richardson, TX

The existing Election Code already has a magnitude of safeguards and transparency for voting, therefore; my desire is for this
committee to focus on additional solutions that allow ALL Texans to feel the system can be trusted. I also believe that if we are
going to allow poll watchers they do need to receive required training and must acknowledge the integrity of the polling space by
executing an oath similar to election workers. Furthermore, as a result of the COVID epidemic we now see the need for safer
methods for voting. This should include expanded early voting, extended hours at polling places, a well executed plan that
includes more methods for mail in ballots. Lastly, this committee should refine solutions in SB1 for those Texans who have
disabilities including but not limited to sight impairment so they have methods to securely and privately vote.

Florence Tissot
self
Corpus Christi, TX

Any election voting regulations should focus on solutions for all voters and their need. It should also take into consideration the
magnitude of existing Election Code safeguards and transparency. There is very little need to add to the existing body of
regulations and anything added should strive to make it easier not harder for people to vote.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever to protect both the voters and the
polls workers. We need to preserve or expand early voting, extend hours at polling places, and provide easier and better options to
return vote by mail ballots. Public opinions polls have clearly shown that’s what Texans want.

In addition, I believe poll watchers should be required to receive appropriate training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Voters should be alerted if their vote is about to be discarded and should be given an opportunity to rectify mistakes and ensure
that their vote is counted. That process should be made uniform and enforced in all Texas counties.

Finally, people should be allowed to register electronically. this would not only
increase the accuracy and integrity of the voter registration rolls, but also reduce costs.

Thuy Nguyen
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self nail technician
Dallas, TX

Our great state of Texas needs election transparency and integrity.
There is no " voter suppression "
This election bill requires a Texas state- issued Public ID to vote and that is the very least that can and should be done

Jonie McBee, Commander
self
Roanoke, TX

I request that the committee focus on solutions for all voters and help restore the level of trust in Texas elections. I understand the
magnitude of existing Election Code safeguards and transparency. The Texas COVID epidemic highlights the need for safer
methods of voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and
more options to return vote by mail ballots. These are what Texans want. I believe that poll watchers, to be effective, should
receive required additional training and should acknowledge the integrity of the polling space by executing an oath similar to
election workers. Also, adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity
of the voter registration rolls, as well as reduce costs. Thank you for your consideration.

George Cornelius, Mr
Self
Galveston, TX

Vote no on SB 1. It is a useless bill and an attack on voting rights

Charles Clemons, Mr
Self/disabled
Spring, TX

Yes to this bill. I'm a 100% disabled Army Veteran. My family has served this country for 6 generations, the Demoncrats ate in a
full court press trying to destroy this country.
    Impeach Bitem.

Brenda Wilkins
brenwilkins@gmail.com
Amarillo, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.


  To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.


   Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.
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well as make the process                          Document
                         uniform in all counties not optional. 117-4 Filed 11/15/21 Page 184 of 554


   Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.


  Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Chris Sawicki
self
Round Rock, TX

We need election integrity, and a process we can all trust. It is not racist or voter suppression to expect free, fair, secure,
transparent elections. Pass SB1.

Diane Webb, Ms.
Self
Grand Prairie, TX

Election integrity is a must therefore all voters must submit their ID

Debra Damman
Self
Austin, TX

Voter Integrity: Dear House members, I want strong voter laws to protect our voices in our country. We are under assault in many
ways these days and we cannot lose the right to vote in this country. I want only legal US citizens to be able to vote. I want voter
ID. This is not a hardship, it is something easily accessible and used by all people in their everyday life. I do not support mail in
voting unless it's use is very limited and controlled with proper ID and validation. I do not support the use of any computer
connected to the internet. I do support paper ballots and having a strong audit trail. You were elected to serve. Your oath included
protecting our US constitution and the Texas constitution. You are now being asked to perform those duties without partisan and
political biases. The only thing to focus on is what is fair, right, and constitutional to protect the Texan voters.

Barbara Baruch
self
San Antonio Tx, TX

I am 77. I could easily die of covid. This Texas COVID epidemic, enhanced by the prohibition of mask mandates in schools
which endanger our children, highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. Please act responsibly
to allow us to protect voters.

To be effective, I believe poll watchers should receive required additional training (similar to poll workers' education) and should
acknowledge the integrity of the polling space by taking an oath similar to that required of all election workers.

Debra Rydberg
Self
Carrollton, TX
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Carrollton, TX

•       Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
•       Acknowledge the magnitude of existing Election Code safeguards and transparency.

Tom Holman
Self
AUSTIN, TX

We must also have a process in place that permits our Voting Laws to be monitored, validated, verified and audited. The process
must be capable of being replicated. The process must be independently monitored, validated, verified and audited. Audit trails
are essential. They are used to ensure the integrity of records. All audit trails must be: Available, Archived, Traceable,
Contemporaneous - Each entry must be time stamped using a controlled clock system which cannot be changed. It must be Safe
& Secure.

Air gapped systems are not connected to the network. Our election system/processes are not air gapped.

Texas must stop paid ballot harvesting. Texas must stop Voter Assistance Fraud. Texas must insure accountability in the Polls.
Texas must prevent Voter intimidation. SB1 is a step in insuring Texas their votes count.

Kellie Spellman Davis
Self
Friendswood, TX

Please do not pass this bill. It is unnecessary and over reaches on limiting people’s right to vote.

Please let our government be strong by giving as many people as possible the ability to cast their vote so that all are represented
in our government.

Kathy Green
AARP
AUSTIN, TX

AARP is a nonpartisan, nonprofit organization, with a membership that fights for issues that matter most to families, such as
voting rights, healthcare, income security, retirement planning, and protection from financial abuse. AARP strives to address the
needs and interests of people 50-plus, and through legal and legislative advocacy, to preserve the means to enforce their rights.
AARP has 38 million members nationwide and approximately 2.3 million in Texas.

The right to vote is among the most basic of all civic and Constitutional rights. AARP favors laws and policies that encourage and
do not hinder electoral participation.
AARP is concerned that SB 1, (87-2) could impose a heavy burden and result in disproportionate and unnecessary risks of
disenfranchising older voters in Texas. Specific concerns include restrictions on voting by mail (VBM) and on providing
assistance to a voter. As one of the long-standing categories of eligible people to vote by mail, many Texans aged 65 and older
have come to favor and rely on this option as it is a more convenient and safe method to cast a ballot. Additionally, there are
many older Texans who need assistance if they choose to vote in person. The following are the specific portions of the bill that
deal with these provisions.

•       Article 4 states that an application for VBM must be submitted in writing and signed by the applicant using ink on paper,
and that an electronic signature or photocopied signature is not permitted. This requirement does not consider voters with a
neurological condition, such as Parkinson’s or MS, or other physical conditions that prevent one from being able to sign a
document by hand. This would exclude many voters.
•       Article 4 also states that an application for VBM must include the applicant’s drivers’ license or last four digits of their
Social Security number.
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                                     AM is required again on the carrier envelope. This provision gives the Early Voting Ballot
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Social Security number.    5:21-cv-00844-XR         Document
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Board further reasons to possibly reject a VBM ballot and could delay a person being able to vote. As this information is already
provided upon registering to vote, this provision is redundant and cumbersome.
•       Article 5 states that a person who simultaneously assists three or more voters by providing transportation to the polling
place must complete and sign a form. Long-term care facilities and group homes for the disabled may take several residents over
multiple days to the polls. Requiring a form each time is cumbersome.
•       Article 5 also states that a person who assists a voter in completing their ballot must fill out an additional form. Current
election law already requires an assistant to swear an oath that they are not influencing the voter. This additional form is
redundant and cumbersome.
AARP appreciates the opportunity to work with the Legislature to preserve and promote the right to vote.

Contact Kathy Green, Manager, Outreach and Advocacy, AARP Texas (512) 657-7407

aileen boone, dr
myself
san antonio, TX

I’m writing to urge you to support Senate Bill 1 that is being heard in the Select Committee on Constitutional Rights and
Remedies on Monday August 23.

In order to have fair, secure, and transparent elections, Texas should:
   1. Add voter identification to vote by mail, making it consistent with in-person voting
   2. Strengthen prohibitions against paid vote harvesting
   3. Protect poll watcher access to see and hear the process, improving transparency
   4. Prohibit public officials from distributing unrequested vote-by-mail applications
   5. Conduct regular maintenance to verify the accuracy of voter registration lists

These common sense reforms found in Senate Bill 1 are supported by a majority of Texans. Senate Bill 1 will make it easier to
vote and harder to cheat in Texas. I urge you to support Senate Bill 1.

Thank you for your hard work on this and many other issues.

Aileen Boone

Matthew McAuley
Self
Wylie, TX

Don't mess with Texas voters! I've never been more disappointed in our Texas leadership than I am now. Never in my life did I
think our governor could be so cruel to the people he's sworn in to protect. He's constantly fighting with the people of Texas when
it comes to voting rights and our health and safety. I've never seen so much hypocrisy in my life as I have with governor Abbott.
Voting is a right for ALL. Don't tell me when, where, and how I can vote. As long as I am legally voting on a legal voting card or
both, stay out of my way, get off my back and let me vote for who I want.

Linda Anderson
Self
Austin, TX

This is a voter suppression bill to keep Republicans in office. It’s going to backfire on you. I don’t know how you can sleep at
night. Shame on you.

Susanne Sinnhuber
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None, I am a voter
Kingwood, TX

We the people need to know that our elections are honest, now that we experienced the chaos of the 2020 election. We know there
was fraud in our great state of Texas.

Tracy Stokely, Capt, Retired
Self and TEXAS
Angleton, TX

The vote integrity bill must be passed to secure honest voting in TEXAS. We cannot let self-entitled democrats steal our Texas
elections. A Picture Identification is required for almost every other transaction we participate in. It only makes rational sense that
a Picture Identification must be required for voting.
Those who have tried to stop this must be censured for their actions up to and including removal from office and forfeiture of all
Pay, Benefits and Allowances.

Charlotte Connelly
Self, retired
Cedar Hill, TX

This legislation will discourage people of all beliefs from voting. It will also discourage people from serving as poll workers.
There is no evidence of widespread voter fraud, and so need for the restrictions called for in this bill. This bill should not be
passed.

Nina Brodsky
self
Austin, TX

I oppose SB 1. Fair elections are the bedrock of our democracy. Without them our freedoms, our liberty and our country are
doomed. Fair elections means equal access to the polls for all citizens and trust in the election results. Our current election code
has sufficient safeguards and transparency. There is no evidence of voter fraud. But there is evidence of unequal access to the
polls and this must be addressed in order to restore trust in our system.

In the 2020 election, my husband who is 67 years old and at high risk for COVID was allowed to vote by mail. However, me
being only 64, I was not. I was afraid to vote. Not only for my safety but for the safety of my husband. If I got COVID he would
get COVID. I believe I should have been allowed to vote by mail too. There were/are thousands of voters in my situation. The
saving grace was the extended early voting, which because I am lucky enough to have flexible working hours, I was able to get to
the polls during a slow period and did not feel too exposed in my polling location. This is just one very small example of how
important it is to increase early voting, extend voting hours and make more vote my mail opportunities available.

Another way to increase the trust in our system is to help citizens cure their mail in ballots. If a mail in ballot needs curing,
please alert voters and give clear instructions on how to cure the ballot as well as make the process uniform throughout the state.

Poll watchers are an important part of helping our citizens to trust in the election results. Poll watchers should receive required
additional training and should acknowledge the integrity of the polling space by executing an oath similar to election workers.

And of course, on-line voter registration would increase the accuracy and integrity of our voter rolls, as well as reduce costs.

All of these suggestions will increase the overall trust in our elections and create greater access to the polls for all our citizens. A
win-win for our country and our democracy.

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Mary Vernelle Shaw
Self
Houston, TX

Texans are concerned with our power staying on, not this tomfoolery. We deserve the right to vote safely and easily. This thing is
showboating when there are more important things to do.

Please vote this down, start dealing with the power grid, and work for Texas.

Ethel Patten, MD
Self
Seabrook, TX

Voting is a fundamental right in a democracy and it is what makes America great. Instead of making it harder for people to vote
we should make it easier for people to vote. When a person turns 18 they should automatically be registered to vote. We already
have adequate safeguards to protect the integrity of the voting process. If it ain’t broke don’t fix it.

Rebecca Eastburn
self
Austin, TX

Election fraud did not cause disgraced former president Trump to lose the election. HIs action and character caused him to lose.
Overall there is very little election fraud in our country and attempts to legislate making voting difficult is not necessary nor is it
ethically in line with democracy. If anyone should suffer civil penalties it is those to attempt to make voting more difficult.

Pamela Bixby
self
Austin, TX

Dear Committee Members,
As a long-time Texas voter and an election judge for many years, I am keenly aware of the hurdles to voting that many people
face in this state as well as the many layers of existing security measures that make cheating the system extremely rare. To ensure
both voter access and a secure ballot box--BOTH of which should be priorities--I urge the committee to focus on the real, rather
than imagined or manufactured, issues.

The high turnout in the last election laid bare the fact that expanded voting options necessitated by the Covid pandemic addressed
many common obstacles that Texas citizens encounter when trying to exercise their voting rights. The disabled, those who don't
drive, the sick or medically compromised, the elderly, those whose jobs and family commitments allow little time for standing in
line--all of these Texas citizens are entitled to voting access, just as any able-bodied, privileged person. Extended early voting
locations and hours and more options for returning Vote by Mail ballots are just a few of the conveniences that can help such
Texans. What's more, Texas already has very strict voting rules, and its county-by-county differences are easy to misunderstand.
So allowing voters to cure incomplete ballots will ensure that those who make honest mistakes due to misunderstanding
confusing guidance will have their votes counted.

As an election judge, I am extremely concerned about the liberties that untrained poll watchers will be given at polling places via
SB1. Allowing anyone to show up and harrass poll workers undermines the authority of the trained personnel in the polling place
and may lead to intimidation of voters. Those of us who take on this role do it out of a sense of duty to community and country;
and counties often have difficulty recruiting enough workers to cover all the polling places. Adding the hazard of potential
violence is sure to dissuade patriotic Texans from signing up for these roles. In all the years I have served as a poll worker and an
election judge, I have not once witnessed any irregularity. I have attended training sessions for each election, I have trained new
poll workers on site, and I have become very adept at running a polling location very securely. I do not take kindly to the idea that
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                  Case
poll workers on site, and I5:21-cv-00844-XR
                            have become very adeptDocument
                                                   at running a117-4     Filed 11/15/21
                                                                polling location            Page
                                                                                 very securely. I do189   of 554
                                                                                                     not take kindly to the idea that
yahoos harboring conspiracy theories about election fraud are going to come marauding into my polling location making
demands and upsetting voters. This is unAmerican and anti-democratic on its face.

Finally, in addition to serving as an election judge, I am a VDR in Travis County, and I am very familiar with the mistakes that
can be made due to hand-written registration cards that then must be input into the system, mailed registrations that never make it,
and so forth. Adding electronic voter registration to SB1 would greatly increase both accuracy and integrity. I urge you to solve
the REAL issues surrounding voting in Texas, which are many.

Sincerely,
Pamela Bixby

Missie Carra
Self
Fort Worth, TX

Thank you for working to strengthen our Texas elections. I believe this bill is a great start, but also, that it needs to be
strengthened. Would you please add audits, accountability for election administrators, and security of polling locations in an
amendment?

Thank you for advocating for voter integrity to support a secure election process in Texas!

Grant Trevithick
Self
Carrollton, TX

I strongly support the passing of SB1 to ensure greater election integrity. Without a strong sense of confidence in our elections,
the entire legitimacy of the Government is put into question. We need strong integrity measures to ensure the election process is
honest, fair, and legitimate. Please vote FOR SB1.

Mary Kaarto
Self, retired editor and author of a series of books to help people who are laid off
Missouri City, TX

As a native Texan, mother and grandmother, I'm appalled that anyone would be against having photo/voter IDs at the polls.
Everyone needs photo IDs for TDLs, healthcare, buying alcohol, insurance, a home, getting a loan for anything, cashing
unemployment/SS/IRS checks. It's absurd and insulting to ALL ethnic groups represented in the wonderful state of Texas, to
suggest they're incapable of figuring out how to get a free photo ID, especially when the Republicans have made it clear they're
willing to make sure everyone is able to get them, free of charge. Common sense, people!

Angela Wilson
self/teacher
Cedar Park, TX

Due to the COVID epidemic it is more important than ever to have safer methods for voting. We need to expand early voting,
have extended hours at polling places, and more options for returning vote-by-mail ballots.

One of my adult children has physical disabilities that make it impossible for them to be outside on a warm day for very long
without passing out. When there is no line, they can vote in person, but when lines that extend outside the polling place are
common, they can't vote in person and need to be able to vote by mail. Extended hours for voting and drive-through voting make
it possible for them to vote in person and ensure that their vote is counted.
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it possible for themCase  5:21-cv-00844-XR
                     to vote                       Document
                             in person and ensure that their vote 117-4    Filed 11/15/21 Page 190 of 554
                                                                  is counted.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

There must be a complete cure process for mailed in ballots with enough time to actually complete the process. SB 1 has added
the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session.
However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote
counts; as well as make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Roberta Amley
Self
Houston, TX

The proposals in this bill help safeguard honest elections. Election integrity is essential for our state.

Montie Shelton, Mrs.
n/a
Huntsville, TX

It is vital that you pass election integrity. Without it, none of the rest really matters because the Dems will steal elections and
once in power, undo any good that you have done. Look at what Biden has done in only 7 short months.

Frank Tenhoopen, Mr.
Self - Retired
Lucas, TX

Please vote FOR Senate Bill S1 as it will help to ensure that only LEGAL votes by duly designated and verified citizens of this
great country and state will be counted as opposed to counting ALL votes, which may include votes from ILLEGAL ALIENS,
FELONS, OUT-OF-STATERS, FOKS WHO DON'T EXIST, or THOSE CITIZEN WHO HAVE LEFT THIS EARTH! The
requirements for providing documented evidence of who you are and where you live should be elemental, as it is a requirement
for cashing checks (including welfare), doing ANY business with a bank, buying products such as liquor, getting on a
transportation mode (like airplanes), and almost all other activities, including most professional sport venue attendance. It is not
a racial issue or a financial issue, as claimed, but an issue to ensure HONESTY and WORTH of a vote. Thanks for your
consideration. François Tenhoopen

MARK PAVLOVICH, Mr.
Self
Round Rock, TX

I have been a Presiding Election Judge in two different Texas Counties (Denton & Williamson) for better than 20 years. This
proposed bill only closes the 'loop holes' in the present election code for the State of Texas. What happened during the last
General Election with counties making their own rules has to be stopped. I encourage every elected representative in Texas to
support the bill. Clearing the registered voter lists monthly is a great start. When a voter has died, his/her registration should
immediately removed from the roles. A few county election administrators have decided they have the 'power' to change the rules.
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immediately removed Casefrom5:21-cv-00844-XR
                               the roles. A few countyDocument       117-4 Filed
                                                         election administrators    11/15/21
                                                                                 have decided theyPage
                                                                                                   have191    of 554to change the rules.
                                                                                                         the 'power'
The absentee ballot provision was put into place to allow voters the opportunity to cast their ballot. The conditions for absentee
ballots is very clear. The voter has to prove his/her identity first before the ballot is issued. This bill does nothing to prevent
voters the right to vote, it just prevents people to illegally vote.

Terry Read, P.E.
Self - Industrial Engineer
San Antonio, TX

I had to show my driver’s license yesterday to donate blood. No one ever talks about blood donor disenfranchisement. People
that do not want voter id support voter rights for dead people, illegal aliens, people that vote early and vote often, and people that
vote using someone else’s name.

Bari Brookman, Mrs.
Self
Fort Worth, TX

This is a terrible bill. We should be making voting easier for all eligible voters, not harder. There is zero evidence of widespread
voter fraud.

Debbie Posey
Self
Houston, TX

I ask you to consider that there are many voters in the State who are concerned with the protection of elections who find the
provisions of this bill will hurt rather than help protect our democracy. PLEASE leave this bill for the next session and allow
time to pass and the true desires of good Texans to be clear on this issue.

Regards,

Debbie Posey

John Giddens
John Giddens
Hurst, TX

Dear Representatives,

Thank you very much for serving the people in Texas. I write to you today to ask you to
strengthen our election system. This past year showed us that our system is easily manipulated
and at risk of future fraud. While Senate Bill 1 and HB 26 are good efforts to reducing the risks,
please allow me to make a few suggestions to these bills.

First and foremost, HB 26 only suggests an audit for 2020 and we need a bill that will allow us
to do forensic audits and yearly audits to maintain transparency and evaluate possible types of
fraud such as mail in ballot fraud, vote harvesting, ghost votes, and more. Please consider
widening the scope of this bill to allow for a more thorough evaluation of our system often.
Transparency before the people of Texas builds trust in our communities and we all must feel
confident in our voting systems.

We have a problem in our larger counties where most of the polls are run by Democrats only.
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We have a problem Case
                    in our5:21-cv-00844-XR        Document
                           larger counties where most          117-4
                                                      of the polls are runFiled 11/15/21only.
                                                                           by Democrats     Page 192 of 554
Please add an amendment to Senate Bill 1 to require all polling locations to have a
representative from each party before a poll can be opened, punishable by fine or penalty.
We have to pay taxes each year so why not require individuals to update their voter registration
each year to encourage clean voter rolls?

Wise County Conservatives advocates for a paper-ballot only voting system. All software is
subject to “hacks” and most counties in Texas do not have sufficient funds to even employ the
appropriate personnel to detect sophisticated trickery by bad actors. Time has shown that as
software gets more complex, it also becomes more subject to attack, and our elections must be
protected at all costs. This means a physical audit trail that can be investigated by citizens, and
not just by cyber-security specialists.

Election workers already work very long hours to man the polls and extending voting hours to 9
p.m. would encourage shift workers which would weaken the integrity of the polling day by
having multiple workers come in throughout the day. One election judge to open and close the
polls is preferred and in the best interest of Texas election integrity. Please keep the hours as
they are.

All ballot printing companies should be approved by the Secretary of State and ballots need to be
obtained before an election with extras to spare to avoid what happened in my county that
allowed for 20,000 new ballots after the polls closed in our November 2020 election.

Thank you for showing up to serve the Texas people and for considering these ideas to
strengthen our Texas voting system.

John Giddens, johngiddens1@juno.com, 214-769-8776, Tarrant County

Jensie Madden
Self- Retired Educator
Fischer, TX

Please oppose any measures that increase the barriers to voting, especially for voters with special needs due to physical
impairment or work schedules. I request the committee to focus on solutions for ALL voters.
  Having worked as an Alternate Election Judge for my precinct, I am concerned about giving additional authority to poll
watchers, who can sometimes create an uncomfortable atmosphere in the polling place. If they are given additional authority in
SB 1, then poll watchers should receive required additional training and should acknowledge the integrity of the polling space by
executing an oath similar to election workers.
  Thank you for your work to make voting safe and accessible to all eligible voters.

Jensen John, Mr.
self
McKinney, TX

I support election integrity efforts so that I know my vote counts as one vote and is not diluted by nefarious actions that give
room for increased fraud such as ballot harvesting, improper mail-in voting, and outdated voter rolls that allow people to cast
votes on behalf of deceased citizens or people who have moved out of state. In other words, let us remove opportunities for voter
fraud so that we all can be assured of the people's mandate. I am a naturalized US citizen who comes from a third world country
and, must warn you that without election integrity, the USA will become another third world country where fraudulent actors take
power and such people always have wrong morals, and wrong ideals that will destroy this great nation. Please protect our ballots
by voting for common sense remedies in SB 1. Thank you.

May Nguyen
self, family
Printed      physician
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self, family physician
Houston, TX

Election integrity and voting fraud are not major problems. Countless investigations, including by the state AG, have found an
extremely low rate of voting fraud. SB 1 is a racist voter suppression bill whose main purpose is to scare people from voting and
help one party maintain hold on state leadership. Even though it will apply equally to all Texas voters, regardless of color or
creed, it’s effect will disproportionately impact people of color. Requiring IDs and last fours is an assault on voters of color. This
is Jim Crow 2.0. Our democracy is stronger when more people participate in elections.

Lynn Gustafson
Self/retired educator
Burleson, TX

I am concerned that our legislature wants to correct something that isn't broken. There is no proof that the November 2020
election was fraudulent. I feel you owe it to the citizens of Texas to access the ballot in multiple ways in order to meet their right
to place their vote and make their voice heard. Please do not place limits on accessibility of future ballots. Make this a bipartisan
bill.

Debbie Lindstrom
self
McKinney, TX

Thank you for your service to our great state!

As a resident of Texas, I'm asking you to fortify SB1.

There were and still are many questions about the 2020 general election, and the citizens of Texas want free and fair elections for
all legitimate voters.

Here are some things I would like to see included in SB1 to ensure real integrity for our elections:

Voter Rolls

--Yearly voter renewal so that voter rolls are current.

Ballots

-- Mail-in ballots only for those traveling or out of the country or for other approved reasons. The reason has to minimize fraud.
It should not be available to all.
--Go back to paper ballots. No more electronic data collectors or poll books or machines of any type
--All ballot printing companies should be approved by SoS ahead of each election.
-- Each ballot should have a watermark. preprinted serial number and maybe a QR code. Voters should be able to trace their
ballot.



Voting

-- IDs need to be verified for EVERYONE. No exceptions.
-- Local polling places cannot operate without representation from both parties. Judge and Alt Judges from both parties must be
present.
-- Voting should not be extended after 7 PM each day.

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Audits

-- Election administrators and Commissioner's Court should be more accountable to the people in regards to elections.
-- Yearly audits performed within 180 of the election. No risk-limiting audits only look at 1% of the ballots, and that is not
enough.
-- Full Forensic audits should be allowed for any candidate or elected official making the request. It should be required for
elections won by less than 1%

Penalties

--Crimes for fraud must be increased from misdemeanors to felonies. Electioneering must also be punishable.

Thank you for serving the GREAT state of TEXAS! God bless you, and God bless Texas!

Bobbi Graves
self
Austin, TX

OPPOSE SB 1. This is voter suppression, not election integrity and security. OPPOSE SB 1.

Kathy Duplissey
Self
Pearland, TX

We must allow all people to vote and make it CONVENIENT.

Nelda Bruggeman, Ms
self - RN
Austin, TX

Please, in this committee, focus on solutions for all voters and help restore the level of trust in Texas elections. We already have
many safeguards in place outlined in the Election Code with checks and double checks that ensure the accuracy and transparency
of votes.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

•       To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity
of the polling space by executing an oath similar to election workers.

•        Voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

•        Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Sally Raty
Self
Houston, TX
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Houston, TX

SB 1 will severely limit access for Texans to vote. It unfairly targets preferred voting methods of minorities and the working poor.
Election integrity is important, but this bill isn’t really about integrity at all. It’s about a political fight, and positioning one party
to have an advantage isn’t he next election. This bill is not consistent with the goal of fair voting and the democratic process.

Nancy demel
AFT Retiree Plus
Spring Branch, TX

I oppose this bill because it will help the Republican Party rig elections.
We don't need new voting rules. Work on something we need like roads, money for our public schools, etc.

Mitzi Smith
Self
Trophy Club, TX

Ensure my vote COUNTS! Voter ID for ALL mail in ballots! No MAIL IN BALLOTS only Absentee ballots. Restrict and
Prohibit all ballot harvesting with extreme fines! Ensure Transparency at the polls, immediate arrest for all who deny observation!
Hefty fines and removal for public officials who mail out unsolicited applications and ballots! Maintain OUR registrations lists!
Protect TEXAS from corrupt Liberals who want to make my vote not count!

Sarah Berel-Harrop
Self/seminarian
Farmers Branch, TX

Again, we are faced with a bill full of unfunded mandates that disproportionately impact urban counties, that punishes counties
who come up with innovations that increase voter engagement, that hurts disabled people, and that makes my job as an election
judge riskier and harder. This is not to mention the provisions that would give more power to untrained partisan poll watchers.
These vague provisions will likely be used by the partisan AG to further target minority voters. Enough! Stop using the big lie to
justify this attack on voters and cities. NO to this bill.

Cindy Nitzsche
Self
Deer Park, TX

This is a good bill. This bill should be passed for the interest of public good and for the integrity of elections. There is nothing in
this bill that disenfranchises any eligible voter. Nothing. The disgusting democrats that fled the state should be forced to pay for
100% of the costs associated with this second special session for their blatant abuse of taxpayer money and time. Not one of
them has a single valid talking point against this bill. They’re full of nothing but drama and BS. It’s sad that such scum exists.

Pass this bill please. Thank you.

Carrie Stewart
Self
Colleyville, TX

Please focus on the voting rights and solutions of all Texans to restore faith in elections and use current voting safeguard and
transparency laws.
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Please focus on the voting rights and solutions of all Texans to restore faith in elections and use current voting safeguard and
transparency laws.
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Priscilla Tate, Dr.
Self/retired
Do, TX

The committee needs to find solutions for ALL voters, not make it more difficult to vote. I have never felt any lack of trust in our
elections, but I understand that some do. So you must find ways to restore trust and confidence. Take action to acknowledge the
magnitude of existing election code safeguards and transparency.

Kari Banta
Self grant program manager
Austin, TX

Texas has a secure voting system that is under no threat of fraud. The greater injustice is the fact that this bill would suppress
votes from marginalized populations. These deliberate barriers to voting harm communities, families, and children. Instead of SB
1, this body should be spending its time investing in online voter registration, high school voter registration, and comprehensive
civic education to meet today’s young Texans with the education & resources that they need to make decisions in their
communities and build a state that works for us all. I urge you to oppose SB 1

Todd Lindstrom
Self
MCKINNEY, TX

Dear TX Legislature

Thank you for getting back to work. I appreciate the opportunity to ask you to please fortify SB1 and make it stronger to protect
our elections.

My Most important Request - Cameras
* every voting station needs to have cameras at the registration desk to take a snap-shot of every voter that votes and then the
photos should be randomly evaluated for duplicate voters. This is a preventive measure and the election judges would be charged
with hand delivering the pictures to the county election office for secure upload to State servers for fraud analysis.

Voting and Rolls
* a photo ID must be mandatory to vote – period – no exceptions
* I encourage you to throw out voter roles on a schedule. Every year may be too – I would leave that to your discretion

Ballots
* Mail in ballots should only be for travel or other approved reasons like being home-bound.
* Ballots should be paper and properly watermarked with serial number and QR code.
* Our precincts should be sized less than today – we should have smaller precincts so that counting is easier.
* There should be created a way for a citizen to check to see if their vote was counted

Audits
* Audits are the right of the people and any administrator or court that does not allow audits should be stripped of their office.
* Full Forensic audits should be allowed for any candidate or elected official making the request or should be mandatory when
the margin of victory is very low.

Penalties
* Please make election fraud a felony with a real jail penalty

Norma Arratia Armendariz
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Self
Dallas, TX

I am writing to oppose this bill. I believe this bill is discriminatory towards Texans who might require assistance at the polls, such
as people with disabilities , new Americans with language barriers and the elderly. As a poll worker in the 2020 election, I helped
many voters cast their ballot who needed such assistance. If any poll watcher were to misinterpret my assistance, I could be held
legally liable and potentially end up in jail and fined. I helped voters cast ballots for both major parties, so a poll watcher from
either party could very well misinterpret any type of assistance, but especially, when I spoke Spanish to voters who needed
Spanish-language assistance. If the poll watcher does not understand the conversation, he or she may believe I am coercing a
voter to cast their ballot a certain way.
In addition, the House must add a way to alert voters of the need for a cure and give clear instructions for making sure their vote
counts; as well as make the process uniform in all counties not optional. Not informing voters that they need to cure their ballot
would be an infringement on their voting rights.

Jan-Min Lu
Self
Plano, TX

Oppose. It is suppression of voter rights. It would increase inconvenience and waiting time to voters.

Shellie Faught
self, writer
Austin, TX

I oppose this blatant attempt to prevent people from voting. Drive-thru voting, multiple days and hours of early voting are
essential for people like myself who work during the standard workday. Moreover, any attempt by the legislature or local judges
to invalidate ballots is undemocratic. So-called voter "fraud" is nothing more than a boogeyman. Courts and government
investigations show that voter fraud is practically non-existent. This bill is a black mark on our democracy and on the Texas
Republican Party.

Peter Hendee
Self, retired actuary
Frisco, TX

The number of eligible citizens who choose not to vote greatly exceeds the rare vote cast illegally. Texas (you) should make it an
easy and safe process for all eligible citizens to register to vote and to cast their ballot.

Marsha Moore
self, retired
SAN MARCOS, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

  To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

   Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
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                  Case 5:21-cv-00844-XR
cure incomplete applications                       Document
                             or ballots to the electronic         117-4 system
                                                          ballot tracking Filed approved
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                                                                                                 87th198  of 554
                                                                                                      regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.

   Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.

  Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Maritta Loo, Dr.
Self/Retired Col, USAF
Arlington, TX

Maintaining integrity to a foundational premise of our government is basic common sense! This bill doesn't refrain any legitimate
voter from voting but it does ensure that those who vote are legally eligible and reasonably responsible citizens. Additionally,
SB1 extends and improves the structure to maintain and update the registration list records: common-sense maintenance. I
support election integrity and this bill provides non-hindrance avenues to meet that goal while also addresses the importance of
fraud prevention with appropriate plenties for those that undermine the integrity of our election process.

Georgia Keysor, Ms.
Self - Retired
Austin, TX

You want me to believe that Senate Bill 1 is necessary to restore “election integrity.” Or perhaps to guarantee the purity of our
elections. If I am to believe your tales of “massive election fraud” in the 2020 election, then am I not also to believe that your
own election was fraught with that same massive voter fraud and you have no legitimacy or authority to the position you are
holding?

Sandra Elkins, Mrs.
Self
Plano, TX

In the past I have been an election judge, alternate judge, and clerk for several years in Collin County and have served on the
Early Voting Ballot Board. It is my understanding that the Election judge has the same powers as a District judge during voting.
1. Having an ID to vote sounds so easy. But my experience was different trying to get one for 90+ year old mom. Born in Canada
in 1924 and US citizen in1957, TX required an original birth certificate and citizenship papers, which do not exist! I spent
months, and got copies of them, but they were rejected! 2. Giving power to partisan poll watchers is crazy, as this will most
likely lead to voter intimidation and suppression. I remember the Trump supporters driving thru the different locations in their
trucks (I was at Davis Library in Plano) with Trump and rebel flags, their music blaring and yelling at the opposite side. And
remember when they tried to run a democrats bus off the highway? 3. Being an election judge, you have to attend training,
learning umpteen processes and laws. I probably made a few mistakes in the past - would i now suffer criminal or civil penalties?
These are mostly volunteer positions, paid a nominal amount. It is a long day. 4. After the election, there are so many processes,
ad nauseum, that it would be extremely difficult for fraud to happen (I've worked this too as a member of the EVBB). 5. What
would the penalties be, and who would have standing to sue? Anybody? Talk about frivolous lawsuits! Fraud is a .000somthing
percent, a non-problem - just as much as in anything else - finance, religion, corporations, politics!
The people that are working the elections now are honest, citizen-minded, mostly older Americans. If this passes, I would never
want to work another election. This bill will not only stop from people from working the polls, but also stop people from voting,
especially minorities, but also the elderly like in my case with my mom. And not being able to hand out water to voters in long
lines?? Stupid!
I've always though it was a good idea for 11th & 12th graders to get a day off to work an election as a clerk, to see how the
process really works. I also think state senators and congressmen should work an election, to see what REALLY happens!! There
is no hotbed of fraud going on. But with some zealous Trump supporters being poll watchers and still believing that Trump won,
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                    Case
is no hotbed of fraud      5:21-cv-00844-XR
                       going                        Document
                             on. But with some zealous           117-4 Filed
                                                          Trump supporters  being11/15/21    Page
                                                                                  poll watchers      199believing
                                                                                                and still of 554 that Trump won,
this bill is extremely scary! And penalizing hard working election workers is a travesty! Have you no shame? This bill will not
 "prevent" practically non-existent fraud, but will add to and create problems for voters.
I am zealously opposed to this bill, and any other voter suppression bills!

Larry Gremminger
Self
Richmond, TX

Please do whatever you can to add to the security of our voting process. Our country must not allow any fraud in our elections

Eve Myers
Self--consultant
Tomball, TX

SB1 as written empowers untrained poll watchers by granting them greater access to voters. As a voter, I do not want someone
watching me vote or intimidating me or other voters at the polls. SB1 also impedes the ability of election judges--who ARE
trained--to prevent possible harassment of voters by over-zealous partisan poll watchers. SB 1 increases penalties on trained,
volunteer election judges upon whom we rely to conduct elections, and it makes them responsible for their own legal defense. By
contrast, partisan poll watchers have no similar penalties under this law. SB1 would put the Attorney General's office in charge of
investigating complaints against election judges, and our current Attorney General has been under indictment for the last 6 years
and has been accused by his own staff of abuse of office. A corrupt Attorney General investigating complaints against election
judges could abuse this law for partisan purposes. The law will have an empowering effect on untrained, potentially partisan poll
watchers and a chilling effect on the election judges we depend on to hold elections. Furthermore all these proposed restrictions
in the name of "election integrity" are unnecessary since our election in Texas has been safe and secure including in 2020, as
attested to by our former Secretary of State, Ruth Hughes.

Sylvia Campbell
self
The Woodlands, TX

I would urge your committee to resist the voter suppression elements of this bill. Specifically:
- new ID numbers added to the Ballot by Mail process
- more requirements and penalties for assisting voters
- not requiring training for poll watchers
- giving poll watchers freedoms that would intimidate voters
- prohibit local officials from modifying the voting process to accommodate voters during an emergency (such as a pandemic).

Please add:
- expand early voting dates and hours, and provide more options for safely returning Ballots by mail
- require poll watchers to be trained and take an oath to preserve the integrity of the polling space
- make the curing process for a Ballot by Mail easy and transparent
- allow provisions to allow blind voters to securely and privately vote
-add electronic voter registration to increase the accuracy and integrity of the rolls and to reduce costs.

Respectfully,
Sylvia Campbell

Pat Oakes, Ms
self--retired teacher
Austin, TX
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Austin, TX
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All of the citizens of the state of Texas have the right/obligation to vote. There must be safeguards and transparency to protect the
access of all voters to the electoral process. We need expanded early voting, access to mail-in ballots, and expanded hours for
election days. Election day should be a holiday so that everyone can find the time to vote without being penalized for their job.
Polling places must be accessible--easy to get to and easy to get into. It is crucial to our democracy that work is being done to be
sure voters are encouraged to vote rather than discouraging them.

Judy Harris, CAPT, NC, USNR (ret)
Self, retired
Richmond, TX

Please focus on solutions for all voters and help restore the level of trust in Texas elections. Maintaining existing Election Code
safeguards and transparency is essential. The Texas COVID epidemic highlights the need for safer methods of voting more than
ever. We need the safer options of expanded early voting, extended hours at polling places, and more options to return vote by
mail ballots. These are what Texans want. Also, voters with disabilities need additional refinement of SB 1. Specifically, the
House can add provisions that allow blind voters a way to securely and privately vote. And adding electronic voter registration to
the omnibus bill would greatly increase the accuracy and integrity of the voter registration rolls, as well as reduce costs.

Amy Praskac
self
Austin, TX

OPPOSE SB1
Please focus on solutions for all voters in order to restore trust in Texas elections.
Do so by making it easier for qualified voters to register and to vote safely. The COVID epidemic makes it imperative to offer
more and safer methods to vote. This includes early voting, extended hours at polling places—including drive-through options,
and, especially, to vote by mail. Voting by mail is crucial for older voters and those with limited mobility. Adding electronic voter
registration to the omnibus bill would increase the accuracy and integrity of the voter registration rolls and reduce the costs of
paper records.

A.J. Harrison, CMSgt (Ret)
USAF
San Antonio, TX

As a disabled veteran who served 30 years of active duty, I believe it is imperative that we have election integrity or we have no
Republic! I strongly urge you to pass this bill as quickly as possible. There is nothing in this bill that hinders one from voting,
and actually enables more secure voting! Thank you!

Elaine Talarski
LEAGUE OF Women Voters of Texas
San Antonio, TX

! Oppose

Donna Eyles
Self
Corpus Christi, TX

1. USING DL# OR SSN LST 4 FOR MAIL IN VOTER ID: After speaking with signature verification committee and ballot
board members,
Printed         a ballot
        on: August       board
                   30, 2021    judge,
                            11:32  AMand workers in the county clerk's office, we all agree that using a DL # or SSN last 4 on the
                                                          Page 82 of 429
board members, a Case       5:21-cv-00844-XR
                    ballot board   judge, and workersDocument
                                                       in the county117-4     Filed we
                                                                     clerk's office, 11/15/21     Page
                                                                                       all agree that     201
                                                                                                      using     of 554
                                                                                                             a DL  # or SSN last 4 on the
carrier envelope will not work well for mail in ballot voter ID. We would rather simplify the process and utilize the same ID a
person would have used had he voted in person. Certainly less confusion. A copy of this ID with its LEGALLY VETTED
signature is greatly needed by these entities to ensure the carrier envelope is signed by the actual voter. This would give us a 3rd
signature for verification purposes and will help the disabled and aging communities. Let's stop voter fraud. VOTER EQUITY -
Choose your voting method, choose your qualified ID, vote.
      If you feel this is a poll tax, then having to put a stamp on the carrier envelope is a poll tax. If getting a copy of an ID is a
problem, require any State or County agency to provide a complimentary photocopy when a person asks for a copy of his ID for
voting purposes.
      Please modify these portions of the bill.

2.      RETURNING CARRIER ENVELOPES FOR SIGNATURE DEFECTS TO BE CORRECTED: Carrier envelopes
should not be returned for signature defects to be corrected. This is where voter fraud can occur and we don’t want to send back
evidence of voter fraud so it can be destroyed. If item 1. is enacted, the signature verification committees and ballot boards will
now have 3 signatures for comparison, will most likely have a newer signature, and sending back carrier envelopes will not be
necessary. This is also where fraud occurs. (This does not rule out returning carrier envelopes for missing signatures, incomplete
witness information or missing statements of residence.)
     Please remove this new section from the bill.

3.       DISTRIBUTION OF UNSOLICITED APPLICATION FOR MAIL IN BALLOTS: Although I would rather not have
any unsolicited applications for mail in ballots distributed, at least make it unlawful to distribute them if any portion is already
filled out. Sending out completed (pre-filled) application requests for a voter to simply sign and return makes voter fraud easier
and can potentially sign up the voter for the incorrect political party, affecting primary voting.
      Please modify this portion of the bill.

4.        EXEMPTING ATTENDANTS AND CAREGIVERS FROM IDENTIFYING ON THE CARRIER ENVELOPE:
Currently, attendants and caregivers are required to identify themselves on the carrier envelopes. They should not be exempt from
this in the future as these rules are in place to prevent voter fraud.
      Please remove this new exemption from the bill.

Thank you for your consideration.

Susan Markus
self - retired
Austin, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.


  To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.


  Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.


   Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.


   Adding
Printed on:electronic
            August 30,voter
                        2021registration
                              11:32 AMto the omnibus bill would greatly increase the accuracy and integrity of the voter
                                                            Page 83 of 429
  Adding electronic Case
                       voter5:21-cv-00844-XR        Document
                             registration to the omnibus         117-4
                                                         bill would greatly Filed 11/15/21
                                                                            increase           Page
                                                                                     the accuracy and 202  of 554
                                                                                                      integrity of the voter
registration rolls, as well as reduce costs.

Peter Cooke
Self
SAN ANTONIO, TX

I want to express my my opposition to SB 1. It's clearly a way to reduce access to voting for specific communities, and any
legislation that threatens our democracy needs to be stopped. Please oppose this bill. Thank you.

Patricia Chen
Self
Plano, TX

This bill will not protect elections in any way, it is a blatant attempt to suppress voters from voting freely. Passing this bill would
be unconscionable.

Maria Esparza
self, counselor
Spring Branch, TX

I completely disagree with this bill. There was no voter fraud in Texas in the last election. Making voting harder by restricting
hours/opportunities is something that disenfranchises those that work late night shifts or other odd hours. Texas should be about
embracing ALL voters and INCREASING voting capacity, not RESTRICTING it. I vote NO on this bill!

Virginia Smith
self - retired
Austin, TX

I am writing to express my concerns about the Texas Voting Rights Bills being considered by the Texas Legislature. There are
already many rules and restrictions for voting in Texas and there is no evidence of any widespread voter fraud in recent elections.
It appears that this bill will add many unnecessary barriers and restrictions to voting, especially for the elderly and disabled.

I volunteer with an organization that serves many older, disabled, and low-income citizens. One of the new restrictions that I find
exceptionally troubling is the proposed restriction on county clerks which will prevent them from sending out applications for
mail-in ballots to eligible citizens. Currently, requesting a mail-in ballot requires internet access and a printer to obtain the
application. Both internet access and printers are pretty much non-existent in the population we serve. By allowing the county
clerks to continue to mail out the applications to eligible voters, you provide an opportunity to vote for many of these individuals.
Once those applications are processed and the ballots submitted, there also needs to be a correction process in case of misreading
of instructions or overlooking details in the instructions.

Another portion I find concerning is the proposal for monthly citizenship reviews of registered voters. This would be a costly &
unnecessary process and one which would surely land Texas back in the Federal court system for targeting naturalized citizens. I
would recommend automatic voter registration for all eligible citizens applying for driver’s license. There are very strict
requirements for establishing citizenship with the DMV and this would make registering to vote less of a burden.

Most Texas citizens would like to see voting made more accessible, not more restrictive. This would include having drive-thru
voting and more drop off locations for mail-in ballots. No one should be required to drive long distances to exercise their right to
vote. I would request that you focus on solutions to expand voting accessibility for all voters and help restore the level of trust in
Texas elections.

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Nancy Stevens
self, county poll worker
Kyle, TX

Texas ranks among the lowest in the nation in voter turnout. Legislators on both sides of the aisle should be focused on ways to
increase voter participation and trust in the election process. The existing Elections Code provides safeguards and transparency.
Adding electronic voter registration to the omnibus bill would build on what we have by increasing the accuracy and integrity of
the voter registration rolls, as well as reducing costs.

As a poll worker, I am also very concerned that provisions of this bill will make it more difficult to protect the non-partisan
operation of polling places. Polling places are always staffed by workers who identify with both parties and who have a common
goal of maintaining the integrity of the polling place. We treat each voter with equal respect, impartially apply the election laws,
and respect the privacy of the individual vote. The polling place is by design and of necessity non-partisan and free of
intimidation of any kind. Partisan poll watchers must be required to acknowledge and assist in maintaining the integrity of the
polling place. To be effective, I believe poll watchers should receive required additional training and should execute an oath
similar to that taken by election workers.

Melinda Teitelbaum
Self
FORT WORTH, TX

To ensure voter integrity, please pass the bill that projects each and every LEGAL vote. We are counting on you to do the right
thing!!

Mary Catherine Monroe, Mrs.
Self/Retired teacher
Arlington, TX

It is imperative that we make it possible for voting to be easily accessible to ALL who are eligible. The entire process from
registration to ballot counting should be simple. I applaud the rules that allow extended early voting and encourage that they be
expanded and strengthened and NOT restricted. We had no significant problems in the 2020 election. The paranoia that has
produced the current legislation is punitive and unproductive. The election process MUST be non partisan and fair.

Cynn Hall
Myself
Fort Worth, TX

HB 1 is an attempt to subvert the will of Texas residents, and eligible Texas voters. Each eligible voter should be allowed the
opportunity to vote and the Texas legislature should not create additional barriers to those votes.

My career is unique and the hours and schedule are random challenging. Some days my work only affords me 8 hours between
shifts, where I might not complete my second shift until early the next morning. I, and my colleagues, may be tired and unable to
safely travel to voting place and wait additional time to vote following our essential unique work.

By adding additional limitations to when and how people vote, the Texas legislature is showing it's hand. We see that the true
purpose behind HB 1 and similar bills, is not to strengthen voting, but to run Texas h off the track.

I strongly oppose HB 1 and any effort to make voting less accessable. I oppose any effort to change or throw out any eligible
voter's ballot without cause. Deputizing untrained individuals in TX to spy on,y or question an eligible person's vote also
unacceptable.

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Your efforts to suppress voting rights in Texas is quite similar to the Jim Crow era that dark time is in our past and should not be
resurrected. Vote NO on SB1, protect

Kimberly Frederick
Self/MSK Change Manager
Houston, TX

As a 9th Generation Texan and Navy vet daughter, I am appalled that any American legislator would try to limit access to voting
or make the voting process harder rather than easier for any American citizen. This isn’t about election integrity and we have seen
the videos of the Texas GOP saying as much. Democracy is at stake. And the future is looking very bleak. Are you all that
shortsighted and that corrupt, that you can’t see how this will affect your families, and even you? Ever see Les Mis? This isn’t
Russia. The American people are not going to roll over. Find your decency, tone the rhetoric down, compromise across the aisle,
GOVERN like grownups, and make Texas better. This desperate power grab will backfire in your faces. It will motivate countless
people like never before to remove anyone prompting lies, death, conspiracies and anti democratic nonsense. My grandmothers
didn’t die for the right to vote to let this happen. My grandfathers didn’t die for the right to vote or to protect democracy, for this
to happen. You have dabbled in faux patriotism far too long and live isolated in your bubbles, but that doesn’t mean real Patriots
don’t still exist. We do. We’re here. We’re ready to fight for democracy. We shouldn’t have to say that to elected American
officials. Have you NO SHAME??? Kill this bill and better yet, write a bill that improves access to registration, the ballot box and
making it an intimidation free zone, with election workers feeling safe. Your domestic terrorism will NOT make us cower. If
anything, it only empowers us. But I’m asking you respectfully to stop dividing us and help pull us back from where this is going.
You have been elected to lead. Be leaders. Have courage. Do the right thing. It’s ok to turn back. Satan is encouraging you to go
forward. Say no.

Pat Gideon
Self
Lewisville, TX

This is sheer nonsense. With no proof of any sort of election fraud or irregularities, you are making very restrictive voting laws
that are targeted at blacks and minorities. You should be ashamed of yourselves a d actually work towards representing your
constituents.

Ana White
Self
Lockhart, TX

I OPPOSE SB1.

DARRELL DEMPSEY
Retired / Self
Linden, TX

I’m doing my best to give you a photo ID. And my picture at the same time. A selfie holding my Texas Drivers license @ the
same time. This electronic page doesn’t accept photo ID’s or pictures. My Texas driver license # is 11840225 & Veterans I D is
#1327275891 both are up to date
   I SUPPORT VOTER I D through in person or cell phone, Even U.S.Mail with photo of self holding a picture I D at the same
time picture.

Dustin Shroff
self
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Austin, TX

Do better. Where have your morals gone?

Charleen Allen
Retired
Spring, TX

I request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
Acknowledge the magnitude of existing Election Code safeguards and transparency.

Veronica Bowler
Self
League City, TX

Please expand voting access for all Texans and not to impose ways to restrict voting.

Donald Baker
Self. Retired
killeen, TX

I strongly support this bill and I will vote based on that support. Contrary to Democrat lies, voter fraud is rampant in Texas and
has been for a long time. Anyone old enough to remember "Landslide Lyndon?" That is when Lyndon Johnson began his
political career by voter fraud, winning a senate seat by 87 votes. Duval county, infamous for its habitual rampant voter fraud
submitted more votes than it had registered voters. Every election we see example after example of voter fraud. It is time for it
to end. Pass SB1. Its opponents are proponents of voter fraud

Bill Thoreson, Mr.
Self
Dallas, TX

Please don’t let my vote get canceled. Every illegal vote cancels a legitimate vote. When we hold things precious we protect
them. Passwords, locks, ID presentation. What is more sacred than our right to vote? Although we all like things to be convenient,
it is more important that they are done right. Any convenience that cannot be monitored audited and proven to be right must be a
abandoned. Your job will be done when confidence has been restored in our election process. That means all voter rolls in the
state are true, proper ID has been verified for every ballot accepted, sufficient trained staff is available, properly maintained and
adequate amounts of equipment is available, chain of custody procedures are monitored and logged, audit trails are available and
validated, and reconciliation reports are created and published on the web. The state should develop the reconciliation report and
make it mandatory in every county. We must have the same procedures and controls that any accounting system or banking
system adheres to. Voting is our most valuable right and must be treated as such.
Thank you,

Brenda Pardue
Self
Laredo, TX

I would like all Texans to feel good about the integrity of elections in Texas. My sister has disabilities and does not drive. She
had to mail in her ballot. Was it received? Did she make any mistakes she needed to correct? She’ll never know. Those of us at
great risk for illness due to being in a crowd of voters or who are unable to stand for long periods in a line need to be able to vote
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great risk for illness      5:21-cv-00844-XR
                       due to                       Document
                              being in a crowd of voters         117-4
                                                         or who are unable Filed  11/15/21
                                                                           to stand            Pagein206
                                                                                    for long periods       ofneed
                                                                                                      a line  554to be able to vote
by mail and be informed if any corrections are needed. All votes need to be counted.

Anyone who is a poll watcher should be unbiased and take an oath that they understand that all votes should be counted, even if
the votes are not in their best interest. They should take an oath similar to the one election workers take.

Thank you for your time and consideration.

Mark Hall
Self, Librarian
Converse, TX

This is a solution to a problem that does not exist, that serves no purpose but to undermine our democracy and faith in our
institutions. It should not have been proposed, much less passed.

Harriet Reynolds
Self—musician
Austin, TX

There is nothing the least bit acceptable about a bill to limit voting rights in this or any other states! The bill only suppressed the
vote and is, in my opinion, wholly un American snd un Constitutional. It should NOT pass!

Audra Hughes
Self/Local 484
Austin, TX

I am writing to urge the House Committee to OPPOSE SB 1, the Texas voter suppression bill that in ways obvious and subtle
could hinder access to the polls for many Texans based on a false premise that Texas elections are riddled with fraud. The
integrity behind democracy is at stake, and Texas is on the verge of failing us, all of U.S. Vote NO on SB1

Lori Zagorski
Self
Houston, TX

Please pass this bill! I support SB1 whole heartedly. Texas and the entire US needs voter integrity!

Lori Zagorski

Marie Martin, Dr
Self, industrial hygienist
Richardson, TX

Please focus on building solutions that allow all legal voters to cast their vote while assuring the integrity of the vote. Existing
safeguards for election integrity are already robust and well capable of preventing fraud.
Please avoid restricting the times when people can vote or the assistance older and disabled people need to have their voices
heard. Making sure that even those who cannot get to a polling place in person during limited hours can vote and that those who
need assistance due to disabilities can receive that help from people they trust helps to ensure trust in the fairness and accuracy of
the election.


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Manuel Quinto-Pozos
Self
Austin, TX

I am opposed to this bill. There is scant or no evidence of election fraud in Texas, and the former Texas Secretary of State, a
Republican, who oversaw the 2020 election and who was hand-picked by Gov. Abbott, testified to the Legislature that the most
recent election was clean. This bill is nothing more than an effort to suppress voting by immigrants, minorities, the elderly, the
disabled, the poor, and other Texans who are more likely to vote Democratic. No one should be adjudged a criminal for voting,
trying to vote, or assisting a voter. Enacting this into law will invite a flood of litigation, as well as oversight and enforcement by
the US Department of Justice. This is wrong for Texas. Please vote against this bill. Thank you.

cynthia klentzman
self
Burnet, TX

elections presently aren't won by the count, but by the calculation.
voting machines should not be touched after the election and be held unmolested for the required months (22?) with no bogus
updates or battery replacements without the before and after information stored. then, be re-certified.

i prefer returning to paper ballots. harris county had fraud at that time with ballot stuffing going on while box was being
transported to county drop off site. they took a few trips around loop 610 before turning their pct box. those officials got off with
a slap on the hand. we need stiffer penalties. stiffer penalties will not prevent the retired folks from working their polls. only the
corrupt ones.

make it easier to vote and harder to cheat!!!!

Bradley Blei
self
Austin, TX

I am formally opposed to the passage of SB 1

Jeaneane McNulty
self - yoga teacher
Austin, TX

Having served as an Election Judge in multiple elections, I am very concerned about provisions of SB1 that give partisan poll
watchers greater access to the polling place and elections operations, without providing additional required training or safeguards.
The efficiency, integrity and safety of our polling places require that only essential, trained personnel and voters be allowed
inside. While poll watchers have their place in ensuring election integrity, current laws already do a good job of restricting them
from locations and activities that are likely to cause conflicts, distract the elections team from their core responsibilities, and
intimidate voters at the polling place. Our current laws limit where in the polling place poll watchers are allowed to observe
activity, and how they are able to engage with the elections staff. This is extremely helpful to the election judge, whose primary
responsibility is to manage polling place staff and process special situations and paperwork for voters (provisional ballots,
affidavits, etc). I am opposed to relaxing rules for poll watchers because any distraction in the polling place makes my job as an
election judge that much harder. Distractions and conflicts in the polling place increase the potential for errors, and create a more
chaotic atmosphere in the polling place which erodes the confidence of all voters in our elections. If the rules for poll watchers
are to be relaxed, then we MUST REQUIRE and provide training for them AND require they they swear an oath of conduct. This
will better ensure that poll watchers know what is and is not allowed. It will make them less of a distraction for elections staff and
voters, and will ensure that they can be held accountable if they overstep their duties or engage in misconduct. Thank you for
your careful consideration and for the opportunity to give comment electronically.
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your careful consideration and for the opportunityDocument   117-4
                                                  to give comment     Filed 11/15/21 Page 208 of 554
                                                                  electronically.

Peggy Harwood
Self
Fort Worth, TX

As a Texas voter I cannot see where this bill solves any issues with existing elections. Rather it creates problems and, most
concerning, appears to give a political party with majority in the legislature more opportunities to interfere with and even
overturn the will of the people. If you truly believe in democracy just stop this mockery.

Mary Carlisle Allen- Pearson, Ms.
Self/Retired
Austin, TX

SB 1 IN REGARD TO ELECTION INTEGRITY: 1. Dead people should not be allowed to vote. 2. People who have moved
out of the State should not be allowed to vote in Texas 3. Unauthorized people should not vote on behalf of others. 4. Mail in
ballots should be verified as to the identification of the voter. 5.The security of all electronic data should be verified. If our
elections are to be conducted accurately and fairly, we must find a way to verify the identify of every voter! NO EXCEPTIONS!
Every time I go to the Drs.' office, I have to show my picture ID and proof of insurance. Every time I fill out my income tax form
or get a drivers license, I have to show proof of ID! IF YOU DON'T LIKE PROVISIONS IN THIS BILL, THEN PROPOSE
YOUR OWN BE PREPARED TO DEBATE. But, no action, or running away from or denying the problem, does not solve the
problem. You were elected to solve problems by representing your constituents...not by running away from them!! I want
EVERY QUALIFIED VOTE TO COUNT! FRANKLY, SO SHOULD YOU! So, please work hard to legislate for fair elections!
I have served as a clerk in many previous elections...(AND, I have served as a volunteer deputy registrar for several years). In
my personal experience, I observed that most precinct Judges are fair minded...BUT, SOME ARE NOT! I have witnessed actions
from Judges that were discriminating and that prevented poll watchers and poll workers from doing the job they were trained to
do! Volunteers play a significant role in keeping the "playing field" fair and balanced. Please give them the
AUTHORITY/POWER they need to do their job without fear of discrimination! Of particular concern, are the Judges that have
served for many years and who abuse their power by "stacking the deck""...not selecting a balanced election committee to run the
elections. Most importantly, we must find a way to identify/qualify every voter so that we know our elections are electronically
secure, fair and accurate!!

Rudy Almaguer
Self retired
Denton, TX

We need election reform and transparency.

Karen Bernstein
Self
Houston, TX

This bill pretends to address election integrity and security but it’s primary purpose is to make it harder for eligible people to vote.

Section 2.01, amendments to polling place definition, adds nothing to election security or integrity and instead eliminates a
successful mode of engaging certain voters. This is done to suppress the vote. The same comment applies to section 2.08,
amendments to 85.061, section 2.10, amendments to 85.062

Section 2.06, amendments to section 85.005, restricts the hours to conduct early voting for no purpose other than to suppress the
vote. Restricting the hours of voting does not address election integrity or security.

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Section 3.08, adding section 127.009 about electronic counting devices - why is this only applicable to counties with 259K
population? It should apply everywhere in TX, if election integrity and security is the goal.

Section 4.01, amendments to 84.001, continues to prohibit on-line applications for mail in ballots. This is ridiculous. Many
government agencies and businesses conduct on-line transactions securely. Why can’t the state election board do that? Because
TX prefers to make voting hard.

Section 5.01, adding subsection (f) to 64.009, is purely voter suppression. Why can’t a person drive more than 3 non-family
members to the poll? Is there something inherently insecure about carpooling or buses? If people are eligible to vote, what does it
matter how they get to the poll?

Mary Lynn Ortmann
self
Willis, TX

Our right to vote in this country is our most precious right. I am sick to death of the cavalier way people act about this right. You
must be a citizen in good standing, you must provide identification to vote and those that think it is voter suppression to demand
these items apparently are not aware of the requirements to buy alcohol, tobacco, or certain household chemicals in any store in
our state without providing identification. Please stop using this lame excuse of not having identification as voter suppression. It
is mandatory. You cannot cash a check at a bank, you must provide identification to apply for welfare or medicaid or medicare
benefits. It must be provided for many things in our society. Do not hand me the nonsense that only minorities cannot provide
identification. Talk about racism, to make such stupid claims as if the minorities citizens in this country cannot take care of their
own selves.

Kelley Burnett
Self
Ingleside, TX

A copy of one of the Secretary of States’ IDs listed for in person voting ID should also be used for mail in voting ID, not a DL
number or SSN last 4. An ID with a legally vetted signature should be used equally for both in person and mail in voting.

2.   2. Do not allow carrier envelopes to be returned so signature defects can be corrected. This is where voter fraud can occur
and we don’t want to return evidence of voter fraud so it can be destroyed.

3.   3. Make it unlawful to distribute unsolicited applications for mail in ballots that have any portion already filled in. This
makes voter fraud easier and also may place the voter in the wrong political party, affecting primary voting.

4.     4. Attendants and caregivers should not be exempt from signing the carrier envelope. Remove this new exemption from the
bill. They are required to identify themselves now and they should continue to be required.

Charles Wedemeyer, PE
Self Licensed Professional Engineer
Fort Worth, TX

There are four glaring problems with Texas’ current election laws.
1.      The law penalizes voters who visit the polls in person and follow the law.
   a. Mail-In voting should be at least as demanding and closely supervised
   b. Ballot harvesting must be accurately described in law and prosecuted as a felony.
2.      The laws are not enforced by elected officials and the penalties for transgressions are very light
3.      Independent, thorough and regular audits are never done.
4.      Electronic vote counting equipment facilitates cheating. It is incompatible with the manner in which elections are
conducted.
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The result of all this is that honest voters are disenfranchised. Current elections in no way accurately measure the “consent of the
governed”.
Republicans must fix this! Otherwise, we don’t need Republicans.

Scott Wilson
My Fellow Texans
Fort Worth, TX

Texas House, thank you for this opportunity to make my voice heard in this digital format. As a Conservative person by nature, I
find this particular bill unsettling. The very basis of this argument that our elections here in Texas were in some major way
swayed, or at the very least, open to wide spread fraud, has never been substantiated. This paranoid political position shows clear
disrespect to all our hardworking Election Official's here in Texas After one of the most scrutinized, heavily vetted elections in
Texas history. This is a clear attempt at making voting much more difficult in our large and rapidly growing metropolitan areas,
with extreme prejudice against the poor, the elderly and infirm, and the hard working Texans that can’t easily take time to vote.
This is 2021, an age where electing officials to govern here in Texas, should be easier through technology, the US mail and
increased voting sites.
The most disturbing part of this bill is the fear! Creating Fear to control the police by threatening to levy heavy legal assaults to
Texans, in a time where fraud in the elective process is so well managed by our Election Officials. The future I see is something
similar to a police state, creating an added burden on Texas voters. This is a clear political move and really is in opposition to
Texas values where we look after each other.
The Partisan nature of our State and Country, with the lack of sound cooperation In leadership, is leading us further down a dark
and perilous path where Reason is being Neutralized by bickering and fear!
I love Texas!!

Sandra Simon
self
Austin, TX

I request the committee to focus on solutions for all voters, that will restore the level of trust in Texas elections. Our existing
Election Code already contains safeguards and transparency. The COVID epidemic highlights the need for safer methods of
voting more than ever. We need expanded early voting, extended hours at polling sites, and more options to return votes by mail
ballots. We need a complete cure process for applications for mail ballots and for the returned mail ballots, including a way to
alert voters of the need for cure and give clear instructions for making sure that their vote counts, and establishing a statewide
uniform process. These measures will benefit older voters, voters with disabilities, and others as well. These measures are what
Texans want. Like many others, I oppose the current bill. These are opportunities for improvement in the bill. Thank you for the
opportunity to comment.

Pamela Wren
self
Richardson, TX

I am opposed to this legislation which will restrict voting access. Also, as an election worker I do not want the unlimited abilities
of poll watchers and the added restrictions on judges.
We do not have voter fraud. There is no reason to implement these unnecessary restrictions.
Cordially, pw

Jaree Vaughan
Self
Bastrop, TX

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Where’s the fraud. Unnecessary waste of time and money. How can anyone justify this bill. Absolutely no problem with how we
vote now

Anna Preissig
Self
Frisco, TX

We strongly elections integrity bill and would like the bill to pass. We want our elections to be hard to cheat and easy to vote

Erica Lawrence
Self
Spring, TX

I’m Erica; a native Texan, a mother, a member of several nonprofit organizations, and a concerned citizen for my community. I
write to you today in opposition of some of the provisions of SB 1 and furthermore in opposition of SB 1 itself. The members of
Texas Lege have wasted enough time, energy, and resources on this. It has already been proven that our elections are already safe
and secure. We have more of a chance of getting hit by lightning than finding a case of voter fraud.

To ensure my opposition is recognized and recorded, these are the provisions I oppose.
*New ID numbers added to Vote by Mail applications and the ballot return carrier envelopes. Forget which number you used?
Ballot cancelled.
*More requirements and higher penalties for people assisting voters. My father-in-law had a stroke this month; no doubt he will
need help casting his vote this upcoming election.
*Poll Watcher training not required. This is ridiculous and a sure fire way to INCREASE voter fraud.
*Prohibits a public official from creating, modifying, waiving, or suspending any election standard, practice, or procedure
mandated by law or rule, including during an emergency such as a pandemic.

Stop with the antics. Let’s move on to voting on issues that will protect all Texans. Thank you.

Linda Litzinger, Public Policy Specialist
Texas Parent to Parent
Austin, TX

Texas Parent to Parent is a parent-led non-profit organization serving 9,000 families across Texas who have children and adults
living with various disabilities. We respectfully submit the following comments:

Temporary buildings (Section 2):
Many school voting sites select their portable buildings for voting, specifically for the purpose of separating adult voters from
students attending school. This practice is for safety concerns, yet SB1 Section 2 nixes the portables, and will require that voters
submit to the school's routine for signing in and being escorted to the voting area, which stresses the school. Allow school
portables to be used for voting.

Mail in Ballots (Sections 4.13 and 4.15):
Our population can experience difficulty writing legibly, meaning that signatures differ depending on one's health, body position,
etc. Mailing a second signature would not guarantee an improved outcome. Specifying that one must travel to the Registrar is
akin to nullifying someone’s vote. The solution is to allow a person to say verbally when called or emailed, that it was their
signature.

Voting assistance (Sections 5.02, 5.03, and 5.04):
Limiting assistance to those who cannot see or write is too prescriptive, because there are so many intervals between “can and
can’t” that still require assistance. Gaining assistance jeopardizes the helper to possibly commit a felony. So to avoid subjecting
someone to a felony, the voter will try to get by without assistance.
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someone to a felony,      5:21-cv-00844-XR
                      the voter                     Document
                                will try to get by without        117-4 Filed 11/15/21 Page 212 of 554
                                                           assistance.
Many people still have legitimate needs for assistance which aren’t included in this definition. A few examples, of many:
-        Tracking issues: The voter needs someone to hold a note card under the line they are reading, even though they can read.
-        Hearing: The person brings someone to sign with them, as they are unfamiliar with the process and need to communicate,
even while they are in front of the voting machine.
-        Prompting needs: The person needs to be prompted through any process that requires staying focused.
-        Use of only one arm, which is typically busy driving the wheelchair in the tight voting areas, so that someone must
physically handle voting materials. When voting curbside, someone must hold the portable voting box on their lap, so they can
use their good hand to vote. When voting by mail, someone must stuff the ballot into their envelope and seal it for them.

To summarize, allow for incremental disability needs, plus additional disabilities, so that people who assist will be allowed to
give the voter the assistance he/she routinely expects to receive.

Texas Parent to Parent thanks you for this opportunity to provide input.

Janet Imhoff
Self
McKinney, TX

As a past election judge, I am particularly concerned about new rules and leeway for partisan poll watchers. They should not be
able to disrupt the atmosphere in the poll or to intimidate any voter. They should understand that the election judge is in charge
and not be able to challenge their authority. The election judge should not be in criminal jeopardy for controlling a poll watcher.
A poll watcher ought to have training on their role and also have to take an oath, just like the clerks.
Thank you.

Bruce Carpenter
Self
New Braunfels, TX

I would like to submit the following suggestions to strengthen voting protections and access for all legal Texas voters.

1. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return votes by mail ballots. These are what Texans
want.

2. To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

3. Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.

4. Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.

5. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs

Without these changes that the House can add to SB1, the bill does not accomplish what Texans are requesting nor does it protect
the safety of our ballots or voter access. I request strongly you consider these changes.

Thank you,
Bruce Carpenter
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1228 Decanter Dr.
New Braunfels, TX 78132-2679

email: Bruce.Carpenter@HBVinc.com

Valerie Florez
Self, Librarian
Houston, TX

I request this committee focus on solutions that include, instead of exclude, marginalized voting populations and help restore the
level of trust in Texas elections by removing partisan politics from this bill.
I believe the existing Election Code has the appropriate level of safeguards and transparency in place.

I request that the committee focus its attention on:
--Adding electronic voter registration to the omnibus bill, which would greatly increase the accuracy and integrity of the voter
registration rolls and REDUCE COSTS.
--Adopting safer methods of voting, including expanded early voting, extended hours at polling places, and more options to
return vote by mail ballots. MAKING IT EASIEER TO VOTE FOR OUR FIRST RESPONDERS, FRONTLINE
HEALTHCARE WORKERS, and oil/gas industry employees, those who work non-standard hours/days, shows that you
recognize and appreciate their service to our state.

The majority of Texans want additional voting hours and voting options. To do the opposite would be to turn your backs on us in
favor of your political base. That would be a true travesty of democracy for the State of Texas.

Janet Imhoff
Self
McKinney, TX

Texas is going in the wrong direction by attempting to outlaw new ways to cast a ballot, such as using mail ballot drop boxes in
various locations around a given county. This method is being used in several other states with complete security. I believe if we
make it harder to turn in mail ballots, we will be disenfranchising many voters who want to participate.
The same can be said for allowing voters to vote in their car. Harris County’s experiment with drive-through voting was
enlightened! Many voters who work late shifts found this very useful in the last election. My brother, a cancer patient, could not
have voted if he had to walk into a poll. Texas needs to come into the 21st century and offer these new methods or we will
always be at the bottom in voter participation.

Keye McCulloch
None. This is personal
Benbrook, TX

I was born and raised in TX. Aware that TX has some of the most stringent voting controls in the nation, I would ask you to NOT
pass this bill making it even harder for Texans to vote. Especially since there were few to no fraudulent votes in the previous
election. The world is changing. Texas is also changing. Please open space and actually support for the freedom to vote by all
voters. We are not a taliban run government. All people have voting rights. Don’t be afraid. Now is the time for courage and
ethical decisions on behalf of all citizens in our state.

Tom Hendrix
Self/Retired
Galveston, TX

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I fully support the passing of SB1. I believe the preservation of our republic can be best served by ensuring the integrity of of our
election process. Thank you.

Gayle Kanies
Self - Retired
Austin, TX

Thank-you for the opportunity to provide my input to the House Select Committee on Constitutional Rights and Remedies.
When I hear the term constitutional rights, voting is the first thing which comes to my mind. I am passionate that we have to
protect the voting rights for every voter. Our effectiveness should be measured on what percent of the eligible voters voted. I
request the committee to focus on solutions for all voters and help restore faith in Texas elections. There is already a high level of
existing Election Code safeguards and transparency evident in the very low incidences of voter fraud. The fear of fraud should
not be used to disenfranchise voters. I recommend these items should be top priority in SB1.
1)       I have a compromised immune system so this first one is top priority for me. The COVID epidemic in Texas exposed the
need for safer methods of voting more than ever. We need the safer options of expanded early voting, extended hours at polling
places, and more options to return vote by mail ballots. These are what Texans want.
2)       To be effective, poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers. They need to be held to the same standards as election workers or
we risk jeopardizing the integrity of elections by the actions of poll workers.
3)       Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability
to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.
4)       Voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.
5)       Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

I appreciate your time and attention to this important freedom.
Gayle Kanies

Donald Sickafoose, Mr.
Self
Spring, TX

Election integrity is essential for a free and fair country. To abdicate this responsibility in the name of voter suppression is
ludicrous. We require valid IDs for almost every adult activity. These common sense reforms before us will in no way make it
harder to vote than it is to legally drive a car or take a flight to any city in America!

In order to have fair, secure, and transparent elections, Texas should:

   1. Add voter identification to vote by mail, making it consistent with in-person voting
   2. Strengthen prohibitions against paid vote harvesting
   3. Protect poll watcher access to see and hear the process, improving transparency
   4. Prohibit public officials from distributing unrequested vote-by-mail applications
   5. Conduct regular maintenance to verify the accuracy of voter registration lists

These very sensible reforms found in Senate Bill 1 are supported by me and a majority of Texans. Senate Bill 1 will make it
easier for me to vote and harder for anyone to cheat in Texas. I urge you to support Senate Bill 1.

Regards, Donald Sickafoose


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Hannelore Jolley
Self
Robinson, TX

The USA Constitution has guaranteed every American—regardless of race, sex, or religious affiliation—the right to vote. By
passing SB1, you are stomping on our right to vote. You are stopping mobile challenged people to cast their vote. You
deliberately segregating the races and handicapped individuals from exercising our right to freely express our choice during
elections. This is just one more nail in the coffin of our democracy. Vote against SB1.

Dennis Jolley
Self
Robinson, TX

This is an affront to our democracy. By implementing this, you are stepping on our Constitutional right to freely vote for the
candidates of our choice. This is the Taliban way—not the way of our great democracy. Vote against SB1.

James Bunch
Self-Retired
Austin, TX

Thank-you for the opportunity to provide my input to the House Select Committee on Constitutional Rights and Remedies.

When I hear the term constitutional rights, voting is the first thing which comes to my mind. I am passionate that we have to
protect the voting rights for every voter. Our effectiveness should be measured on what percent of the eligible voters voted. I
request the committee to focus on solutions for all voters and help restore faith in Texas elections. There is already a high level of
existing Election Code safeguards and transparency evident in the very low incidences of voter fraud. The fear of fraud should
not be used to disenfranchise voters. I recommend these items should be top priority in SB1.

1)      I am retired so this first one is a top priority for me. The COVID epidemic in Texas exposed the need for safer methods of
voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and more options to
return vote by mail ballots. These are what all of us Texans want.
2)      To be effective, poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers. They need to be held to the same standards as election workers or
we risk jeopardizing the integrity of elections by the actions of poll workers.
3)      Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.
4)      Voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.
5)      Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

I appreciate your time and attention to this important freedom we need as citizens.

James Bunch

Jane Whatley, Mrs.
self   retired
Lakeway, TX

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I strongly urge you to pass SB 1. This bill will protect the honesty of our elections and give people the assurance the elections are
valid. Citizens need trust in the election process and I believe the future of Texas, as we know it, depends on this bill passing.
Please do what is honest and best for our state and country.

Ann C Adams
A taxpayer, a business owner and citizen of Texas
Dallas, TX

As a Citizen of the United States, a business owner and resident of Texas I am proud of our statewide and nationwide record of
safe elections. We have absolutely stellar Election Code Safeguards. We are the safest and most transparent voting nation in the
world; and we were during the election in November of 2020.

I oppose SB 1- the omnibus elections bill, which will restrict access to many Texas voters.
I am asking instead for the CCRR (Committee on Constitutional Rights & Remedies) to focus on solutions for all voters and help
restore the level of trust in Texas elections.

There are 3 other points I feel strongly about under SB 1.
The first concerns Poll Watchers: I think this is a great idea. Anything to increase transparency is a plus. HOWEVER, I believe
these poll watchers should receive required additional training and should acknowledge the integrity of the polling space by
executing an oath similar to election workers.

The second is to Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added
the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session.
However, House action can and should add a way to alert voters of the need for a cure and give clear instructions for making sure
their vote counts; as well as make the process uniform in all counties not optional.

The third concerns voters with disabilities. Specifically, that the House add provisions to allow blind voters a way to vote in a
secure and private manner.

Sarah Elliott
self, consultant
Austin, TX

The events surrounding the 2020 presidential election - the misinformation and lies that continue to be perpetuated by so many -
are beyond disturbing. I am deeply concerned for our democracy. I believe that we should be making it easier for people to vote,
not harder. We need to hear everyone's voices.

As a Texan for the past 40 years, I am deeply concerned for our state and the integrity of our elections process given the proposed
changes that are being put forth by SB 1. I want to live in a state that honors and invites all voices to speak - a state that
undertsands that when we listen to more diverse perspectives, we will be better. Our voice is our vote. We must make it easier for
all to participate in our democracy.

We need to make voting more accessible and safe, particularly considering the dangers of the COVID pandemic here in Texas.
We need to provide our people with safer options, including expanded early voting, extended hours at polling places, and more
options to return vote by mail ballots. These are what Texans want. We must add electronic voter registration to the omnibus bill
to increase the accuracy and integrity of the voter registration rolls, as well as reduce costs.

We should not dminish the voices of our voters with disabilities. SB 1 needs additional refinement. Specifically, the House can
add provisions that allow blind voters a way to securely and privately vote.

History continues to show, again and again, that our election process is extremely secure.The actual instances of fraud in the past
are negligible, and the risk is extremely low. The Election Code has expansive safeguards in place and the process is transparent. I
believe the greater risk is people abusing the power that these proposed measures would give them. For example, to be effective, I
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believe the greaterCase
                   risk is 5:21-cv-00844-XR      Document
                           people abusing the power             117-4 measures
                                                    that these proposed  Filed 11/15/21    Page
                                                                                  would give them.217   of 554 to be effective, I
                                                                                                   For example,
believe poll watchers should receive required additional training and should acknowledge the integrity of the polling space by
executing an oath similar to election workers.

We should include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the
ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session.
However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote
counts; as well as make the process uniform in all counties not optional.

Please, let's focus on solutions for ALL voters, so we can begin to restore trust in Texas elections. Let's show people that we can
be a state that Texans are proud to be a part of - a state that believes in democracy and ensures that every voice is heard, a state
that honors the dignity and voice of every human being who is eligible to vote. Thank you.

Arlan Foster, Mr
Self retired State of TX TDCJ
Dayton, TX

I cannot think of a good reason not to be required to have ID to vote. I think we might need to go one step further and require a
voter’s license. To obtain such one would have to pass a test to demonstrate they had enough sense to cast a ballot. Thanks for all
you do for Texas.

Delonna Newsom
Self
New Caney, TX

We need to tighten our voting laws along with doing away with electronic voting. We need a system that cannot be hacked or
votes changed.

Richard Slife, Mr
Self
San antonio, TX

Pass the legislation already!

Marc Andrus
Self Motion picture Technician
Driftwood, TX

This is a bad bill.
It does not protect anything. This legislation only limits Texans ability to legitimately and lawfully cast their vote.
This is a partisan attempt to curtail the actual will of the people of Texas, and should be rejected by all loyal God loving citizens
of the Great State of Texas.

Mary Ellen Summerlin, Mrs.
self, retired teacher, social worker, and non-profit manager
Kerrville, TX

I have been a poll worker for over a decade in Kerr County. The security of voting in Texas is already excellent in my opinion.
We can improve access to the polls by extending the voting hours, days of early votiing, and more options to return vote by mail
ballots. These are changes Texans really want; not more complications in the process which is very safe as is.
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ballots. These areCase  5:21-cv-00844-XR
                  changes Texans really want; notDocument  117-4 in
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                                                                                                        is.

I am concerned about the enhanced participation for poll watchers. In fact, I believe poll watchers should receive required
additional training and should acknowledge the integrity of the polling space by executing an oath similar to election workers.

Another good improvement would be a complete cure process for applications for mail ballots and for the returned mail ballots.
SB 1 added the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th
regular session. However, House action can add a way to alert voters of the need for a cure and give clear instructions for making
sure their vote counts; as well as make the process uniform in all counties not optional.

Voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind voters a
way to securely and privately vote.

While you are at it, adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of
the voter registration rolls, as well as reduce costs.

Mike Adams
North Texas Precision Rifle Company
Decatur, TX

Please consider adding repetitive audits to our elections each time we have one. Without audits we have no validation nor
assurance anymore in the process.

Lisa Leonard
Self, psychotherapist
Austin, TX

Every person should have easy access to voting in every election. It’s deplorable to make voting harder for anyone!

John Boehm Jr., Mr.
self, lawyer
Austin, TX

I am a voting Texan, newly moved to the listed address from our home in Kingwood, Harris County. Texans and the world know
that there is no reasonable basis for fearmongering about imaginary levels of voter fraud. Taken as a whole, SB1 is not based on
fact or legitimate considerations. Considering the comments and actions of the Republican members of the legislature and the
governor, the sole motivation of SB1 seems to be the Republican lack of faith in their own policies and an abiding faith that if all
eligible voters voted, Republican policies favoring the few and keeping the current Republican politicians in power would be
rejected. So, if you are indeed afraid, hide behind this bill and while you are cowering in your corners know that someday soon
there will be a reckoning at the ballot box, notwithstanding the travesty of SB1.

Esther Sampayo, Dr
Self/Doctor
Katy, TX

Election integrity and voting fraud are NOT major problems. Countless investigations, including by the state AG, have found an
extremely low rate of voting fraud. SB 1 is a racist voter suppression bill whose main purpose is to scare people from voting and
help one party maintain hold on state leadership. Even though it will apply equally to all Texas voters, regardless of color or
creed, it’s effect will disproportionately impact people of color. Requiring IDs and last fours is an assault on voters of color. This
is Jim Crow 2.0. Our democracy is stronger when more people participate in elections.

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Kevin Patrick
Self- rtired
Euless, TX

Section 1.03 requires statewide computerized voter registration data to be compared monthly with Department of Public Safety
database to verify citizenship status. Mass voter purging has led to hundreds of thousands of voters being purged incorrectly in
Texas and in other states, such as Ohio. Safeguards are needed to prevent valid voters from being purged and to give prior notice
to voters so they can act to keep from being purged where appropriate.

Sections 2.01 and 2.10 prohibit drive-through voting; they also prohibit using a moveable structure, parking lot, or parking garage
as a polling place. Sections 2.06 and 2.07 prohibit early voting before 6 a.m. and after 9 p.m. None of this improves election
integrity, and these prohibitions should be removed.

Section 3.02 says that a poll watcher cannot be denied free movement within a polling place and can sit or stand near enough to
see and hear election activities. This is too vague; it could be interpreted as allowing poll watchers to stand close enough to
voters to see how they vote. As a former election judge and poll watcher, my opinion is that the current language degrades
election integrity.

Section 4.05 prohibits public officials from giving an application to vote by mail to someone who didn't request it; it also
prohibits spending money to help a third party to distribute unrequested applications to vote by mail. A blank application form
(which is publicly available) is harmless, and these prohibitions should be removed.

Section 6.03 prohibits providing vote harvesting services for compensation or other benefit. The definition of vote harvesting
services is vague; it could be construed to apply to standard activities of political campaigning. This definition should be
clarified.

Karen Schroeder
self
Corpus Christi, TX

•        The same ID used for in-person voting should also be used for mail in voting. DL and SSN cannot be verified so are
useless. Signatures must match.
•        Carrier envelopes must never be returned to the voters due to signature defects. Carrier envelopes must be retained.
•        Make it unlawful to distribute unsolicited applications for mail in ballots that have any portion already filled in.
•        Caregivers should be allowed to assist voters in signing the carrier envelopes as long as they can properly identify
themselves.
Lets fight to make voting easy but fair. Thank you.

Allison Garson
Self, teacher
Houston, TX

I oppose SB 1. All citizens have the right to vote! The majority of documented frauds in recent elections have been perpetrated
by Republicans voting in a district or state where they were not residents. We need to expand voting rights, not contract them. If
you love America, why do you fear its people?

Michael Aulick
Self, city planner
Driftwood, TX

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Please don’t adopt this bill. It will make voting harder. I’m against voter fraud, but there isn’t any significant voter fraud in Texas.
Please don’t make it harder for legitimate voters to vote. Texas should be a better democracy than that. Thank you, Michael
Aulick

Andrew Schultz
The Schultz Family
Dallas, TX

The integrity of our elections is the foundation of our representative government, and our freedom. If that trust is broken, it will
tear the very fabric of our Republic. The 2020 elections have severely damaged that trust. It is of paramount importance that you,
our elected representatives here in the great State of Texas, pass laws that will assure us residents that our elections are secure,
and carried out with the highest level of integrity. Please pass these measures in this bill.

Nancy Nusser, Dr
Self
Austin, TX

I am completely against this. It denies voting rights to citizens who deserve representation.

John Huntington
Self - Electrician, IBEW Local 520
Austin, TX

It is hard to say what is most disappointing about this bill. It is, in the first place, disingenuous. A lie. It proposes to expend
substantial resources, and to reduce substantial constituent services, in the name of preventing a type of election fraud which is so
vanishingly rare it might as well for any practical purpose not exist. That, in itself, is a con, a grift; it's fraud by bait-and-switch.
What, then, are these ill-gotten resources really to be used for? Bureaucratic waste. Harassing citizens who are attempting to
exercise their legal rights and civic duties. Demanding more paperwork and more recordkeeping for things which we already
closely track. Clogging up the courts with frivolous charges of fraud against people caught up in the kind of bureaucratic
miscommunication which we all already experience at times. In short, throwing up legal roadblocks to make voting more
difficult. This will demonstrably, if we look at other states' similar measures, do little if anything to curb an already virtually
nonexistent voter fraud problem. It will also do virtually nothing to address actual, plausible threats to election integrity; the bill
contains almost no language related to any of the ways in which election interference actually has been documented in the last
election cycles. Rather than improving the integrity of elections, this bill proposes to waste a significant amount of taxpayer
money on measures which will do nothing but make it more difficult for citizens to vote. While there are undoubtedly certain
demographics and presumed political affiliations which will, by design, be more negatively impacted by these measures, we will,
all of us, bear the burden of increased red tape. If, today, you believe that this bill will make it harder for "the wrong sort of
people" to vote, and that it is therefore a worthwhile tradeoff to accept waste and red tape in exchange for an electoral advantage,
I urge you to think further ahead. No party or political interest remains the same. Give away more and more and more of your
power to participate in the system, and you may remain comfortable as long as everything is already the way you like it; but there
will always come a day, sooner than you think, when you'll disagree with those in power. When that day comes, you may still be
able to make your voice heard - or, if you've given away too much of your power, too many of your rights, you may not. This bill
is a trap. This bill is a lie. It is a fraud, a threat, and a danger to anyone who wants to retain the ability to participate in their own
governance.

Nancy Attaway
self-retired
Galveston, TX


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Thank you for making this SB 1 even stronger. I am so glad you added the followning; 1 Adds voter identification to vote by
mail, making it consistent with in-person voting
2. Strengthens prohibitions against paid vote harvesting
3. Protects poll watcher access to see and hear the process, improving transparency
4.Prohibits public officials from distributing unrequested vote-by-mail applications
5. Conducts regular maintenance to verify the accuracy of voter registration lists

The only thing that would make it better is to give up the voting machines for all paper ballots. That would be the best way to
quarantee election integrity along with the changes that are being put in place. Thank you, Nancy Attaway

Karen Kelley
self, retired
Austin, TX

As I think about working the upcoming election and listening to neighbors struggling to manage life through the pandemic, I
wonder how their lives could be made a little easier, a little less stressful. Managing a job, children, their education, all this within
the scope of staying healthy enough not to orphan their children is enough. They shouldn't have to also worry about how they're
going to vote. In the midst of this our government shouldn't find themselves as the most antagonist part of their lives. Please be
part of the solutions that help Texans do their civic duty without undue burdens.

Jacqueline Pugh, MD
self
San Antonio, TX

As someone who took care of my elderly mother (who was blind from glaucoma and confined to a wheelchair), curbside voting
and extended early voting were a godsend. She was always adamant about wanting to vote in every election as her duty. Not
having all of these options would have made it very difficult for her. Although she did have a state non-driver's ID, this ID
required significant time investment by someone other than herself to obtain since she could neither drive nor be alone at the
Driver's License office. Her sense of duty as a voter was instilled in me. I believe that making it easy to vote strengthens our
democracy. The lack of evidence for actual fraud makes many of the restrictions in this bill punitive rather than helpful. Our job
in a democracy should be to insure that everyone gets to vote who is eligible. Therefore I would support changes such as
automatic voter registration, mail-in ballots, extended voting hours, extra drop-off sites, and extended days of voting. I am
appalled that instead our state is trying to restrict voter's rights by making it harder to vote. I frankly would support something
like what Australia has which is to fine eligible voters if they do not vote BUT only if it was easy to cast their vote.

Jill Scott
National of Women of Achievement, Inc.
Double Bayou, TX

I oppose SB1 by Hughes because The Covid epidemic highlights the need for safer methods of voting more than ever. We need
the safer options of expanded early voting extended early voting, extended hours of polling places, and more options to return
votes by mail ballots. These are what Texans want. Adding electronic voter registration to the omnibus bill would greatly
increase the accuracy and integrity of the voter registration rolls as well as reduce cost. Similarly, voters with disabilities need
additional refinement of SB1. Specifically, the House can add provisions that allow blind voters a way to securely and privately
vote.

Barbara Jones
self/employed
Ballinter, TX

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This bill is not about preventing fraud it is about republicans cheating by increasing voter suppression tactics too bad
republicans do not treat voting rights like they do gun rights and make it easier for people to vote. Please do not let this bill pass.
Thank you.

Gladys Fryar, Mrs.
Self retired
Big Spring, TX

Passage of this bill is critical in safe guarding the voting process in TX I ask each member of this committee to prayerfully
consider protecting this most sacred right.
Thank you

Damon Chargois
self
Houston, TX

Do not go down in history on the side of evil voter suppression. We are all watching.

Bradley Hodges
self
austin, TX

-FOR- SB 1 by Hughes.

Nancy Clifton
Self HR generalist
Austin, TX

Texas has one of the lowest voter participation rates in the US. The state should work on ways to increase voting in the state. My
husband is disabled and has voted Republican his whole life until the state made it harder for him to vote by mail. Voting is a
right not a privilege. . In representing and being paid by Texans you should make it easy to vote and remove barriers to voting. I
do not support any of the Republican voter suppression bills and will never vote for Republicans again given you taking away
Texans’ access to voting.

Michael Belsick
Fredericksburg Tea Party
Fredericksburg, TX

I completely endorse election integrity to make it nearly impossible for someone to voter fraudulently. Voter ID should be
required. No ballot harvesting. No one is being disenfranchised or intimidated by SB 1, but Democrats may be upset about voter
fraud being far more difficult under SB 1.

Katheryn Moore, Tarrant County Precinct Chair 4065 and Election Worker
myself
Fort Worth, TX

In Tarrant County we have evidence of ballot harvesting, polling violations, and electronic data fraud. In working with others to
seek solutions
Printed        for these
        on: August       issues
                    30, 2021    that AM
                              11:32  compromise the votes of all citizens, I have come to the conclusion that the following items

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seek solutions for Case    5:21-cv-00844-XR
                   these issues  that compromise theDocument
                                                      votes of all 117-4
                                                                   citizens, Filed
                                                                             I have 11/15/21    Page 223that
                                                                                    come to the conclusion of the
                                                                                                              554following items
need to be added to fortify SB1 to protect our voting system. Crimes for election fraud must be specifically mentioned and
increased to misdemeanors. ID’s must be required. No exception. Voters should renew their eligibility when they renew their car
registration to keep the rolls clean. Ballots need a watermark, preprinted serial code, and QR code for voter transparency and
security. No electronic machines should have wifi capability or internet access. Returning to paper ballots would stop the
electronic fraud completely. Yearly audits should be conducted to insure integrity and transparency in our system and higher
accountability for our election administrators and commissioners should be made mandatory. Mail-in-ballots should be only used
for very few circumstances including those traveling, in the military, and for the elderly. Voter renewal should be required
annually. Forensic audits should be more attainable and more easily ordered by a candidate, commissioner, or head of a major
party. Printed ballots should be through oversight of secretary of state and pre-ordered. All voting machines must be American
made. There should be a fine to the election administrator for every polling location found with live wifi. SB1 should require that
no polling location can operate without a judge from both major parties present or election judges are subject to felony for those
judges. Voting hours should not be extended to 9 p.m. to keep one judge accountable for the entire day’s work. Election
administrators should have to be more accountable to a third party agency and public agency to insure that all electronic data
transmission matches the ballot activity. We must get rid of the 22 month hold on ballots until they can physically be audited. All
of the language regarding the Secretary of State in SB 1 should be specified since that office changes out so frequently. We need
consistency and legislated rules through this bill. Thank you!

Jennifer Singletary
Self
Austin, TX

Oppose SB 1
Thank you.

Delorie Joyner Prevost, Vice President
Self
McKinney, TX

This bill is absolutely unwarranted and dubious in intent. I will not support any TX representative that votes in favor of it. Try
wining elections with policy and merit as opposed to fear tactics, voter suppression and gerrymandering.

Michelle Wright Rhame
Self - Foster Mom
Carmine, TX

Please, stop the injustice and prevent future fraud.

Mary Paz
San Antonio Voter Advocates
San Antonio, TX

This bill appears to be a solution to a problem that does not exist. Surely we should focus on facilitating access to polls, not
limiting it. My husband and I are senior citizens. Additional restrictions on voting will make it even more difficult to vote when
we need access to be easier. Please help seniors like ourselves be responsible citizens.

Mary Satterfield
Self. Retired.
Austin, TX

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Support SB1. Texas needs to conduct a full forensic audit and pass legislation that prevents voting fraud.

Marilyn Guida, Ms.
self
El Paso, TX

Dear House Select Committee on Constitutional Rights & Remedies Members,

Voting safely is of utmost importance to me now that I am 74 and have two auto-immune diseases. This pandemic makes me very
vulnerable to COVID and especially to the Delta Variant because the vaccines may not give me the same level of immunity as it
does for healthy people.

Mail in ballots and expanded hours of voting provides more options for large numbers of voters beyond those with medical
conditions and disabilities such as people who hold more than one job, who care for children and other family members, who
travel a lot due to their jobs, and for many other reasons.

The House can and should add provisions that allow blind voters a way to securely and privately vote.

Expanded early voting, extended hours at polling places, and more options to return vote-by-mail ballots all would be helpful.

Please focus on voting options for all voters. We all want to trust the results of our elections. There must be ways to accomplish
this without reducing the number of options for voting. We have significant safeguards in our voting system and we currently
have transparencies built into our voting system. Changes to what we have now should be based on data and evidence that it is
needed.

To be effective, I believe poll watchers should receive required additional training and testing before they can serve in that role.
Everyone in the polling place who is not a voter should take an oath to assure the public of their commitment to integrity and
fairness in a similar way to that of election workers. This includes people who watch voters, people who move or transport
ballots, people who observe election workers, and the like.

There are twenty states with ballot curing provisions but Texas is not among them. I am very much in favor of Texas having a
ballot curing process for both applications for mail ballots and for returned mail ballots. SB 1 added the ability to cure incomplete
applications or ballots to the electronic ballot tracking system approved in the 87th regular session, but more is needed.
Incomplete ballots are not the only issue that could be addressed by curing. I’ve voted in other states and none of them asks the
voter to sign over the seal. That in itself can result in an irregular signature. House action can expand the types of cures, add a
way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as make the process
uniform in all counties, not optional.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and and integrity of the voter
registration rolls, as well as reduce costs.

Thank you for your diligent efforts to ensure that Texas citizens can trust the equity, integrity, fairness, accuracy and safety of our
voting system.

Cecilia M Oldmixon, Ms
Self and Respiratory Therapist
Victoria, TX

I think we need to refine this bill to consider electronic voter registration and more training for poll watchers. Also, mail ballot
should be received by the end of early voting so that they can be tabulated with the election ballots not received after the election
and results are at in. Voter rights need to be such that we have more faith in the systems and processes not less.


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Heather Graves, Dr.
Self nurse
Amarillo, TX

We know we have somewhere around 500 case active and/or decided from the 2020 election. It is time to stand up for election
integrity. I don’t care if it’s a democrat, republican or independent who benefited, it is subverting our Republic and state and we
as a state will not stand for it. In my and many of my fellow Texans that I personally know feel if you don't stand up for a
forensic audit on at least several key counties then you benefitted and we will all fight tooth and nail to get anyone standing in the
way out of office. Do what we all know a huge amount of your constituents expect of their chosen representatives and make this
happen. If the forensic audit says no voter fraud then great but if it shows any we work to fix those loopholes so it doesn’t
happen ever again.

Teresa Campbell
Self. Retired CPA
Fort worth, TX

This Bill is essential and barely scratches the surface in the effort to restore integrity to our elections. My husband and I strongly
endorse this bill.

Cyral Miller
Self. Educational consultant
Austin, TX

I have been an election worker several times. What I have witnessed are earnest Americans eager to vote! Especially during a
pandemic, it is urgent that we find ways to facilitate citizens trying to vote, rather than obstructing the electoral process. There is
ample research establishing that drive thru voting and extended voting hours supported access, with no evidence of fraud.
Persons with disabilities are fearful that provisions in this bill will make it harder- not easier - for them to vote. I urge you to
resist the political gamesmanship that is surrounding this session snd vote AGAINST SB1.

Bridget Hyde
League of Women Viters
Austin, TX

We need to preserve our democracy. Voting rights are in danger.

Bill Holt
self
Austin, TX

Please stop trying to keep Texas from voting. The current voting process is safe and transparent and clearly represents the will of
the people (even when they stupidly vote in Republicans like you). There are things you can improve for all voters and instead of
undermining the voting process, you should be looking to restore the level of trust in our elections.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.
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Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Lisa Evans
Self small business owner
Richards, TX

I oppose SB1 and do not agree that further restrictions are needed since voter fraud was not an issue in Texas in the first place. I
also do not agree with the fact that such things as bottled water can not be handed out during voting. The people have had enough
and are on the verge of civil unrest if the elected officials continue down this path of concern only for power instead of taking
care of those who elected you to protect them and represent their choices. The pandemic is worse than ever and the state needs to
close down and allow this virus to get back under control while getting paid by stimulus and unemployment like the other
countries do in this situation. We the people have had enough!

Patrick Kollars, Mr.
Self
New Braunfels, TX

The Texas Secretary of State said that the last election was the most secure with the most voters.
There is absolutely no reason to change anything with voting. Please allow every citizen their right to vote!
Thank you.

Nancy Lee
self
Lewisville, TX

Hi, my name is Nancy and I'm from Lewisville, TX.

I’m writing to urge you to support Senate Bill 1 that is being heard in the Select Committee on Constitutional Rights and
Remedies on Monday August 23.

In order to have fair, secure, and transparent elections, Texas should:
   1. Add voter identification to vote by mail, making it consistent with in-person voting
   2. Strengthen prohibitions against paid vote harvesting
   3. Protect poll watcher access to see and hear the process, improving transparency
   4. Prohibit public officials from distributing unrequested vote-by-mail applications
   5. Conduct regular maintenance to verify the accuracy of voter registration lists

These common sense reforms found in Senate Bill 1 are supported by a majority of Texans. Senate Bill 1 will make it easier to
vote and harder to cheat in Texas. I urge you to support Senate Bill 1.

Darrell Lowrance, Mr.
Self/Software Engineer
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Self/Software Engineer
Round Rock, TX

We must restore election intrigrity. We must also audit the 2020 election results.

Support SB1

Jennifer Lane, Prof.
Self
Denton, TX

The Texas Legislature should be helping Texans overcome obstacles to voting, not erecting these obstacles. Already Texas is the
hardest state in the country in which to vote for many, many of its citizens. It is unreasonable to concentrate so much effort on the
notion of "fraud" when there is so little. It is sad that the GOP feels so threatened by the increased turnout that so many have
worked so hard to achieve. The increased turnout has often, if not always, favored Republicans. Increasing criminal penalties for
what are almost always very rare errors is a crime against the citizenry of Texas. SB1 is an embarrassment and must not pass.
Please vote NO.

Wanda Whitney, Mrs
self/Heritage Action
Georgetown, TX

VOTER ID: I know that the only way we will hold onto our democratic republic is to assure that we have rules/laws in place to
keep illegal votes from happening. Common sense initiatives such as assuring that each person who presents themself for voting
has a form of voter ID which is recognized by the state and/or federal government, voting rolls are systematically checked to
assure that only personnel who are living in that area are allowed to vote there, some form of identification is needed when a
person registers to vote by mail to assure that they are citizens of the state in which they are to vote. We cannot afford to have a
repeat of what happened in the 2020 presidential election.

Patricia Zettner
Self
Austin, TX

A 3rd generation Texan, I'll soon be 81 years old. Age and multiple sclerosis have turned my once-lovely signature nearly
indecipherable; it never looks the same twice. So I was beyond dismayed in the run up to the 2020 election when the Fifth
Circuit Court overturned a lower court ruling requiring the state to inform a voter that his/her absentee ballot had been rejected on
the grounds of alleged mismatched signature in time for that citizen to "cure" the ballot or vote otherwise. “Texas’s strong interest
in safeguarding the integrity of its elections from voter fraud far outweighs any burden the state’s voting procedures place on the
right to vote,” wrote Judge Jerry E. Smith. In his opinion Judge Smith admitted that he had been unable to find any evidence of
signature fraud--zero, zip, zilch-- but he was protecting us from the "possibility" of such fraud. By that reasoning, the legislature
should no doubt be investing in a scheme of asteroid defense. Surely, it's possible that a rogue asteroid may slam directly into our
state capitol! Isn't it?

Texans do NOT need bills allegedly "protecting" us from "possibilities" of fraud no more proven than a phantasmagorical
asteroid attack. Indeed, the safeguards of our current Election Code have served us very well. Instead, the committee needs to
support the fundamental, constitutionally protected right of every single citizen of equal access voting. It is, after all, that vote
that gives us some small share--virtually the only share, really, that most of us taxpayers have--in choosing the government we
pay for. My children (8th Gen. Texans through their dad) and I will be grateful to all who fulfill that responsibility and will
oppose to our last breath all partisan, undemocratic, unTexan attempts at voter suppression.

Julie Marinucci
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self - Tax Accountant
Houston, TX

Lt Gov Dan Patrick said the quiet part out loud on Laura Ingraham's show, Thursday, August 19th when he said that "...over 90%
of (African Americans) vote for Democrats in their major cities and major counties." "Theirs" is the key word. That is what SB 1
is all about, protecting the decreasing number of white rural voters who have a stranglehold on the state legislature and are
holding the state back. Voters with disabilities need additional refinement of SB 1 to make it convenient and safe for them to
vote. The House can add provisions that allow blind voters to vote in a secure private manner. Drive thru voting is a perfect
example of how the blind and those with disabilities can have greater access to voting. I also request that this committee focus on
solutions that expand the rights of ALL voters. SB 1 needs to be reworked so voters are confident that they continue to trust in
Texas elections. The 2020 election was the safest election Texas and the US due to the existing Election Code safeguards and
transparency.

Lastly, adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls and would reduce costs.

Ann Bragdon
Self - Educator
HOUSTON, TX

This bill suppresses democracy and undermines governance by and for the people. It must not pass.

Rachel Gutow-Ellis
Self-Educational Consultant and Parent Coach
Houston, TX

As a Volunteer Deputy Voter Registrar, Election worker, and past Alternate Election Judge, I can attest that the steps you are
proposing are claiming to solve a problem you seem to be making up. Improve our system by allowing more access to voting,
not more restrictions. Streamline the process so if a ballot needs to be cured, that can be done more readily. There are already so
many impediments to casting a vote, that I'm not sure how your steps have anything to do with preventing fraud and everything to
do with preventing people from being able to vote. My experience has shown that nobody is willingly casting fraudulent votes.
As an active participant in our elections, I am appalled at what is being done to perpetuate a made-up problem by our elected
leaders.

Michael Myles
Self
Round Rock, TX

I support SB1. Without transparent election integrity and citizen’s confidence in our elections, we won’t have a strong Republic

Doug Blakely
Self
San Antonio, TX

Please undergo forensic audit for last Nov elections first

Ronnie Smitherman
Self
Fort wqorth, TX
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Fort wqorth, TX

Need to make it easier to Vote not Harder!

Vernon Ball
Self
Justin, TX

I support this bill

Denise Stufflebeam
Self; travel agent
LLEN, TX

I support election integrity.

Judy Panessiti
Self
Lavon, TX

We need stricter voting laws that ensure the safety & security of our voices. Without this, we can no longer grant permission to
officials to govern us nor make/change laws affecting us and our families.

Patrick Scroggin
Self / Language Trainer
San Antonio, TX

Good morning,
My name is Patrick Scroggin, I am currently living in Germany, which me an overseas voter. My home of record is above and I
will provide my foreign address below.

I'd like to say that I believe the current laws and regulations in the law now are adequate protection against vote manipulation. We
have strong ID laws and their enforcement in the last election deterred any significant fraud in our elections. What I would really
like to see is that the committee look for secure ways to ensure that all citizens have access to the polls. To me that would include
expansion of voting by mail. Other states are able to conduct almost all their elections by mail without compromised elections,
Texas can do that too. We have seen in the Corona pandemic that a lot of people want to vote but don't want to expose themselves
to the virus. Voting by mail is safe.

I would support secure drop off boxes which could be located in public libraries or post offices to allow voters to directly deposit
their ballots. Logically, big counties would need more than small counties.

As I am an overseas voter, sometimes the time it takes to get a ballot from San Antonio to Germany and back can be quite close
to election day. It would be an excellent idea to allow all ballots which are postmarked before election day to be allowed to be
counted if it arrives within a week to 10 days after election day. Also, it would be very helpful if absentee ballots and applications
could be corrected in a safe manner by email or secure server.

I personally feel the 2020 election was proper and honest, so I don't really agree with restricting voters' access to the polls. As my
dad used to say: "If it ain't broke, don't fix it!."

Thanks for your consideration.
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Best regards,
Patrick Scroggin

overseas address:
Schadowstr. 6
45147 Essen
Germany
011-49-177-7289000

Maureen McVey
Self
Cleburne, TX

Please pass this crucial bill. We need to ensure that we have safe and inclusive voting for all legally registered voters.

Brenda Witt
self, retired social worker
New Braunfels, TX

First let me say that since Texas already has the most restrictive voting law in the country, and there was no fraud in the election,
there is no reason to have this bill which would make it even harder to exercise our right to vote. As a 75 year old, it is clear to
me that there needs to be easy access to vote by mail, more polling places not less, strict rules for poll watchers so that no voter
can be intimidated and more access to the vote by disabled voters. It is not pro-democracy to restrict the right to vote in order for
one party to maintain power.

Jeff Moxon
Self
Spring, TX

Texas needs to implement a full forensic audit of the 2020 election. Anyone that interfered with election results should be
punished to full extent of the law. There is no gray area here.

Jane Reinhart Gonzalez
Self. RN. Nursing instructor
Galveston, TX

I AGREE WITH ALL OF THE SB 1 COMMON SENSE REFOMS AND PROVIDE MY SUPPORT

Charles Bernardin
Dallas County Resident for nearly 40 years
Richardson, TX

re: SB1 & HB1 . We need a Full Forensic Audit of the 13 Counties designated which include: Dallas, Collin, Tarrant, Harris, ....
Our Texas votes in 2020 were not counted. They were deleted and replaced with a Computer Program. Seth Keshel's Tarrant
County plot that shows that the County 'Dog Catcher' was more popular than President Trump is proof-positive that Tarrant
County was rigged. https://t.me/RealSKeshel/974

Curt Tempel
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Self
San Antonio, TX

I am strongly in favor of passing the bill SB1. Our nation is at risk and any legislative process we can do to further protect our
vote from fraud and cheating is greatly appreciated.

Rita Messimer
self - Senior Business Analyst, RN
Dallas, TX

My 97 year old mother should not have to go to a voting location. My older sister is in a nursing home and cannot go to a voting
location due to medical condition. I should be able to help both of them and take the form to a collation site. All of this should be
without making it so hard their ballots will be rejected. Voting by mail should be easy. There should not be blocks in place to
prevent the handicapped and elderly from voting. My parents fought in WWII and now you want to restrict her voting ability.
Shame on you. My sister who cannot be moved without a specialty van and multiple people to assist should be able to vote and I
should have the ability to assist her with the process and not have the ballot rejected due to too many rules.

Hilary Tyson
Self, Attorney
Houston, TX

I am against the passage of SB1 and encourage all legislators to vote against this bill. It seeks to resolve a non existent problem.
Voter fraud has not occurred in Texas at any rate that justifies the political and legislative focus and effort placed in this bill. The
state of Texas has more pressing real issues related to educational opportunities, funding education, COVID safety and relief, and
fixing the utility infrastructure that failed us, which the legislature must focus on. Real people died and have been harmed by
failures in our education policy, COVID policies and utility infrastructure- these should be our legislators’ focus. This bill’s
primary purpose is to have a chilling affect on voting rights in an effort to disenfranchise certain constituents- likely ones harmed
most by our states failing education, healthcare and utility infrastructure and rely most on these public systems their taxes pay for
(lacking wealth or other means of access to alternatives available to others with these privileges). The legislature should focus on
making voting more accessible to constituents by providing more expansive opportunities for voting, drive thru voting, after
hours voting, extended early voting, weekend voting- this has been the trend in other westernized democracies and is critical for
maintaining a representative democracy. The sponsors and supporters of this bill seek by its terms and added regulations to chill
the voice of constituents (particularly in populated urban areas and that work shift work) in a paternalistic manner - thinking they
know better what is right for the constituent. Alternatively SB1 is an effort to disenfranchise the constituents they have failed by
legislators’ poor policies and legislation in an effort for those legislators to retain their seat in power. in either case, this mindset
wreaks of autocracy of oligarchy- and is a slap in the face of the values this nation were founded upon. Any legislator voting for
this bill should do knowing that their vote will solidify in the minds of many of their constituents (including this one) their
unpatriotic failure to adhere to the commitments of their office and ideals of this representative democracy we all hold dear.

Victoria Salin
self /professor
College Station, TX

I oppose this bill mainly because there is no need for Texas to have additional restrictions on us, the voters. The 2020 election
was fairly decided, according to the Secretary of State. Fraud is not a widespread problem therefore it is not necessary to pass a
law that proposes to prevent fraud. Further, the additional restrictions are confusing to voters. Some of the proposed restrictions
in this bill affect the curb-side voting and those new restrictions will negatively affect voters who have disabilities. I ask that our
state representatives work together to enhance democracy in Texas, supporting voting by all eligible Texans.

Sarah Kennedy
Self
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Self
Georgetown, TX

A nation without free and fair elections is lost. Remember your oath to our constitution and secure our elections.

Mary Tigh, Mrs
Self- Stay at Home Mom/Wife
North Richland Hills, TX

PLEASE support this bill. We desperately need election integrity in every state and Texas should lead the way. Anyone who says
this is discriminatory is leading the people away from the truth and knows better. Do your jobs; safeguard the future of this
country for my children.

Sheila Clemmons
Self
Fort Worth, TX

We the Texans demand a full forensic audit of the 2020 election for all Texas counties, starting with the 13 largest counties.

Tarrant county has Venezuelan Heider Garcia (from Smartmatic) as their election appraiser ??

We the Texans have our constitutional rights to remove all politicians that do not do what their constituents request.

The order of authority is as follows:
(1) God
(2) man
(3) community
(4) government

Karen Stokes
Self
Houston, TX

We do not have an issue with election integrity or security, and any suggestions otherwise is false. No need at all for a bill which
states that fraud is making our votes insecure. Secondly, any action that removes access to voting, whether by lessening early
voting hours, making mail in voting more difficult,, or preventing drive through voting, is an active measure of voter suppression.
Period. We must move towards more equity - and this bill - at its heart - is attempting to take voting rights away from legal
citizens. It cannot stand. It is a bill that fears the people voting. Is that who we are? Is that who you are? And by the way - if
there is a problem with drive through voting - solve that. Make it legal and possible for citizens to vote in the way that is easiest
for them. But restricting voting access is a political maneuver that has no place in our democracy. The vote is sacred - and how
you protect the vote is by making sure every citizen has the easiest access possible. Those elected officials who serve the people
and who are advocating for this inequitable bill, get your act together. Do your job - protect access to voting. This bill is
terrible.

Patty Reid
Self
La Grange, TX

In Fayette County, mostly older folks are working elections. There is little fraud. Threats of arrest & harassment scares the
honest, caring workers, both Democrat & Republican. This will cause them to think twice before volunteering. You were elected
Printed on: August 30, 2021 11:32 AM
                                                          Page 114 of 429
                   Caseboth
honest, caring workers,    5:21-cv-00844-XR        Document
                              Democrat & Republican.            117-4
                                                        This will        Filed
                                                                  cause them to 11/15/21     Pagevolunteering.
                                                                                think twice before  233 of 554 You were elected
to represent all Texans, including the old & minorities. Trust in your motives is in question as you try to push through legislation
that will make it harder to vote. That is not the American way.

Karen Samford
self
FRISCO, TX

I OPPOSE this Bill (SB 1) and all the taxpayer dollars and time wasted on this unnecessary bill.
This bill will do nothing but polarize the democratic process and PREVENT voters from voting.
Nothing, not even a bounty offered by the Lt. Governor himself, could be found to suggest that voting in the previous election
was fraudulent.
WHY CONTINUE TO WASTE OUR TAX DOLLARS AND YOUR TIME ON SOMETHING THAT SERVES TO ONLY
ABATES DEMOCRACY?
Thank you,
Karen Samford
Frisco TX

Mae Whaley
self - retired
San Angelo, TX

This correspondence requests the Committee on Constitutional Rights & Remedies to focus on solutions for ALL voters in order
to help restore the level of trust in Texas elections, and to realize the magnitude of Election Code safeguards and transparency that
are already in place. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the
safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. Also,
one drop-off ballot box per county is unworkable. These are what Texans want. Poll watchers should receive required additional
training and should take an oath similar to election workers to acknowledge the integrity of the polling space. A complete cure
process for applications for mail ballots and for returned mail ballots should be included by adding a way to alert voters of the
need for a cure and give clear, uniform instructions for same. SB1 should add provisions that allow blind voters a way to
securely and privately vote. Finally, adding electronic voter registration to the omnibus bill would greatly increase the accuracy
and integrity of the voter registration rolls, as well as reduce costs. Thank you for your time.

Raul V Carrera
Self
Austin, TX

I oppose SB1! The whole point of our Democracy is to allow a say so to all citizens, whether they agree with us or not!

Joanne Richards, Ms
self
Austin, TX

Could our election system benefit from improvements to election security? Certainly. But the safeguards and transparency
measures in our Election Code place now are robust. As a former election judge, I react strongly against the provisions in SB1
that increase access to polling locations by partisan poll watchers. It is difficult enough now (and even before COVID) to hire
enough elections judges and clerks to run a polling place. Additionally, Texas is notorious for low voter turnout. Increasing the
potential for harassment by poll watchers will make it nearly impossible to attract workers and discourage voting regardless of
political persuasion. Please remove all increased access to poll watchers in SB1.


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Joanne Meyer, Mrs
Self (retired school nurse)
Missouri City, TX

Please support! If we cannot have honest elections, why have them at all? Our fundamental RIGHT!

ANDREA RATHBONE
Self
FLINT, TX

This is a solution looking for a problem. The Texas Legislature has so far failed to prove that there is any significant voter fraud
in the state of Texas. This legislation is both unfair and unnecessary.

Anthony Ramirez
Self, Teacher
Houston, TX

There is no evidence of mass voter fraud in our last election and this bill is voter suppression plain and simple. OPPOSE SB1.

Sandra Clemans
Self- retired
Cleburne, TX

I am in favor of SB 1 and urge all members of the state legislature to pass this bill. We cannot have free and fair elections if we do
not have confidence that our election process is fraud free. Please do the right thing and help all Texans know that election
integrity is as important to you as it is to the citizens of Texas by passing this bill. We also need a full forensic audit of the 2020
election.

Susan Kwast, Ms
Self, Retired
Sanger, TX

Protect election integrity.

Frani O'Toole
Self
Austin, TX

My mom is a person with disabilities and it is her constitutional right to be able to vote. The House can add provisions that allow
blind voters a way to securely and privately vote. We need the safer options of expanded early voting, extended hours at polling
places, and more options to return vote by mail ballots. These are what Texans want.

Poll watchers should receive required additional training and acknowledge the polling space's integrity by executing an oath
similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. Alert voters of the
need for a cure and give clear instructions for making sure their vote counts and make the process uniform in all counties not
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need for a cure andCase   5:21-cv-00844-XR
                    give clear                     Document
                               instructions for making sure their117-4    Filed
                                                                  vote counts and11/15/21   Page uniform
                                                                                  make the process 235 of in
                                                                                                          554all counties not
optional.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls and reduce costs

Chris Masey
self and family
Austin, TX

This bill is unnecessary and harmful to people with disabilities. There is no reason to impact the accommodations needed for
many people with disabilities to have full access to voting. This bill should expand voting for people with disabilities and create a
safe and inclusive environment.

Patricia Morgan
Self
Kyle, TX

Poll watchers must receive training and required an oath to integrity. Assure elderly voters like myself they don’t have to jump
hoops in order to vote by mail. Disabled voters must be assured assistance if needed without suspicion. Blind voters must be
allowed ways to securely and privately vote. Voters must be provided safe options to vote: expanded early voting, extended hours
for voters who have no opportunity to leave work to vote, more options for returning vote by mail ballots, more drop boxes, more
open precincts, voting opportunities for college students. Texans need to be considered beyond the door of politics. Fair voting
opportunities and processes for ALL REGISTERED TEXANS. I’m a registered voter, 80 years old and I want an easy way to
request a mail in ballot without added steps.

Patricia Henry, Ms
Self
North Zulch, TX

A photo ID with a legally vetted signature should be used for both in person and mail in voting.
Do not allow ballots carrier envelopes to be returned to correct a signature.
Prohibit the unsolicited distribution of applications for mail in ballots.
Prohibit the distribution of applications for mail in ballots with any portion filled in.
Remove the exemption for attendants and caregivers from signing the carrier envelope. They should be required to identify
themselves.

Charles Simmons
Charles D. Simmons PC
Houston, TX

Regarding Election Integrity ·      Current laws in Texas do not secure integrity filled elections. SenateBill1 must be fortified
further.·     Yearly voter renewal should be required to keep voter rolls current.·      Mail-in ballots should only exist for those
traveling or residing out ofthe county for an approved reason and other reasons must not encourage fraud.·        Yearly audits
should be done to insure the highest transparency. Riskaudits should be eliminated since they only look at a select 1% of the
ballots.·     Paper ballots should be brought back and all electronic data collectorsand poll books should be
eliminated.·      Forensic audits should be done for any candidate or elected officialmaking the request. Should an election be
won by less than one percent, than anaudit should be ordered.·       Should any electronic machines be used in voting, none may
be connected towireless internet as they are today. No scanners, printers, or tabulators maybe connected for any reason.
·     I.D.’s must be verified for every voter. No exceptions.·     All ballot printing companies should be approved by the
Secretary of Stateahead of each election. ·     No voting systems (EMS software and tabulators) may be used that
Printed on: August 30, 2021 11:32 AM
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Secretary of Stateahead     each election. ·      NoDocument      117-4
                                                      voting systems (EMSFiled   11/15/21
                                                                           software           Pagemay
                                                                                     and tabulators) 236beofused
                                                                                                             554that
aremanufactured outside of the U.S. ·        Each ballot should have a watermark, preprinted serial number, and perhapsa QR code
that the voter can then have to trace their ballot. These measuresprevent the copying of ballots. ·    Local polling locations
cannot operate without representation from bothparties. An election judge from both parties must be present. ·       Election
administrators and the Commissioners Court should be moreaccountable to the people regarding elections.·          Voting hours
should not be extended after 7 p.m. each day since more thanone shift of workers will be needed and the current seamless group
of electionworkers for each polling location will be duplicated as that could open moreopportunity for an inconsistent election
where one judge is not responsible forthe whole day. ·        Crimes for election fraud must be increased from misdemeanors to
felonies.·      Electioneering must be a punishable violation.
Please enter these as my testimony.

Inda Simmons
Self and Grassroots Gold
Houston, TX

Stop voter suppresson through fraudulent votes!!!! Current laws in Texas do not secure integrity filled elections.
SenateBill1 must be fortified further.·       Yearly voter renewal should be required to keep voter rolls current.·      Mail-in
ballots should only exist for those traveling or residing out ofthe county for an approved reason and other reasons must not
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where one judge is not responsible forthe whole day. ·        Crimes for election fraud must be increased from misdemeanors to
felonies.·      Electioneering must be a punishable violation.
Please enter these as my testimony.

Laura Weaver
self, retired
The Woodlands, TX

I strongly oppose many parts SB 1. In particular, the new requirements and higher penalties for people assisting voters (we have
elderly mothers, they need help!), the absence of training and oversight for poll watchers which can (and has) let to voter
intimidation. For the strongest, safest voter turnout, our leaders need to find safe ways to expand early voting and vote by mail.
Poll watchers should be trained and required to take an oath. Blind voters should be afforded provisions so that they can vote
safely and privately. And last, electronic voter registration would be a safe way to increase the accuracy and integrity of the voter
rolls, while cutting cost.

Clair Kimpel
Grassroots Gold
Houston, TX

There is no voter trust in elections. Voter suppression through fraudulent votes must be stopped.

There should be changes to the Senate Bill. Current laws in Texas do not secure integrity filled elections. SenateBill1 must be
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There should be changes                              Document
                           to the Senate Bill. Current            117-4
                                                        laws in Texas      Filed
                                                                      do not      11/15/21
                                                                             secure             Page
                                                                                    integrity filled    237 ofSenateBill1
                                                                                                     elections.  554         must be
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where one judge is not responsible forthe whole day. ·        Crimes for election fraud must be increased from misdemeanors to
felonies.·      Electioneering must be a punishable violation.
Please enter these as my testimony.

Robert Kimpel
Grassroots Gold
Houston, TX

There is no confidence in elections. Everyone knows voting by mail is nothing but for fraud. True voter suppression is by
fraudulent votes. There is no problem for anyone getting to the polls, properly showing ID and doing it on voting day.

Regarding Election Integrity , current laws in Texas do not secure integrity filled elections. SenateBill1 must be fortified
further.·      Yearly voter renewal should be required to keep voter rolls current.·      Mail-in ballots should only exist for those
traveling or residing out ofthe county for an approved reason and other reasons must not encourage fraud.·         Yearly audits
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where one judge is not responsible forthe whole day. ·       Crimes for election fraud must be increased from misdemeanors to
felonies.·      Electioneering must be a punishable violation.
Please enter these as my testimony.

Emily Shearer
self-teacher
The Woodlands, TX

Provisions to oppose:
New ID numbers added to Vote by Mail applications and the ballot return carrier envelopes. Forget which number you used?
Ballot cancelled.
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Ballot cancelled. Case 5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 238 of 554
More requirements and higher penalties for people assisting voters.
Poll Watcher training not required.
Greater freedoms for poll watchers, potentially intimidating voters.
Prohibits a public official from creating, modifying, waiving, or suspending any election standard, practice, or procedure
mandated by law or rule, including during an emergency such as a pandemic.

Provisions to add:
Safer options for expanded early voting, extended hours at polling places, and more options to return Vote by Mail ballots.
Poll watchers should receive required training and should acknowledge the integrity of the polling space by executing an oath
similar to election workers.
Add a way to alert voters of the need for a correction on their Vote by Mail and give clear instructions for making sure their vote
counts (called curing).
Add provisions that allow blind voters a way to securely and privately vote.
Add electronic voter registration to increase the accuracy and integrity of the voter registration rolls, as well as reduce costs.

Joyce Sears
Self / Retired
Dickinson, TX

Header Garcia (former employee of Smartmatic and Dominion) is the elections administrator in Tarrant County AND the county
went for Biden. This is all you need to know to realize we need SB1.

We also need a Forensic Audit of this county.

Rebekah Warwick, Central Regional Coordinator
Heritage Action for America
Grand Prairie, TX

Thank you, Chairman Ashby, and members of the Committee, for the opportunity to submit written testimony in favor of Senate
Bill 1.
Senate Bill 1 importantly includes the common-sense proposal that each voter be required to provide photo identification, making
voter ID consistent whether a voter casts their ballot in person or by mail-in ballot. Other states such as Georgia, Florida, North
Carolina, and Ohio already require same or similar identification requirements to ballots and/or ballot applications. The Texas
Association of Business found in an April 2021 poll that an overwhelming 85% of Texans support voter ID. The Dallas Morning
News also published a poll in April 2021 that showed a majority of Texans supported the election reform efforts during the
regular legislative session.
Senate Bill 1 additionally increases the security of mail-in ballots by prohibiting election officials from distributing unsolicited
vote-by-mail applications. Residents may move, addresses may change, and not every new resident at an address may throw out
the ballot application that is being automatically mailed to a former resident. Automatically mailing ballot applications or ballots
to registered voters creates additional invitation to confusion, fraud, and abuse.
The bill protects the integrity and security of mail-in ballots by prohibiting paid ballot harvesting. Texas law already makes
provision for mail-in ballots to be personally delivered to election officials by the voter or someone assisting them (see Texas
Election Code §86.006, Texas Government Code § 573). By prohibiting paid operatives from harvesting ballots, the bill secures
and provides crucial safeguards to both the integrity of a voter’s ballot and the integrity of the electoral process.
The bill promotes transparency in elections by strengthening the rights of poll watchers to see and hear the process and report any
irregularities, while not interfering with the conduction of the election. Unfortunately, there are verified cases of poll watchers
being illegally removed or obstructed from observing the process during past elections. Poll watchers play an important role in
instilling confidence that our elections are free and fair.
The bill promotes fairness and accuracy of our elections by improving the maintenance of our voter rolls. Every fraudulent vote
negates a legally cast vote, robbing a citizen of their voice and further eroding trust in the system. Accurate voter lists protect
against fraud. Monthly communication between the Secretary of State and the Department of Public Safety to verify citizenship
status is a common-sense reform that promotes accuracy and integrity.
As the Denton County Sheriff stated in October 2020 after a mayoral candidate was caught engaging in mail-ballot fraud, “Voter
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                                                         Page 120 of 429
As the Denton CountyCase    5:21-cv-00844-XR
                         Sheriff                     Document
                                 stated in October 2020          117-4candidate
                                                        after a mayoral  Filed 11/15/21        Page 239
                                                                                  was caught engaging       of 554 fraud, “Voter
                                                                                                         in mail-ballot
fraud is a serious and widespread issue and cannot be tolerated.” Senate Bill 1 is a crucial step to increasing voter confidence and
ensuring that it is easy to vote and hard to cheat in Texas.

Sarah Dolan
Self
Spring, TX

With an estimated 200,000 votes stolen in the last election from Texans, and the 500+ cases either being investigated or
prosecuted, we need better voter integrity of Texan votes.
Conservative votes deserve equal protection under the law!
I support SB1 and I pray that my legislators do also.

Laura Bergin
Self
Arlington, TX

I implore the committee to focus on solutions for all voters and help restore the level of trust in Texas elections.
I am totally aware of the the magnitude of existing Election Code safeguards and transparency.
To a more inclusive and democratic goal of voting rules reflecting the will of all Texans I share the following thoughts:
We need the safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail
ballots.
To be effective, poll watchers should receive required additional training and should acknowledge the integrity of the polling
space by executing an oath similar to election workers. They have a duty to all Texans.
Include a complete cure process for applications for mail ballots and for the returned mail ballots. Never should there be the
ability to cure incomplete applications or ballots to the electronic ballot tracking system such as approved in the 87th regular
session. However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure
their vote counts; as well as make the process uniform in all counties not optional.
Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.
Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.
All Texans who are eligible should be able to easily register and vote knowing their vote counts. It is our duty as responsible
Texans. I sincerely believe it is the sacred duty of every person elected to office to represent EVERY constituent.

Janice Hendrix
Self
Galveston, TX

Strongly support this bill! So very concerned how our country is changing. We have to fight for what we believe in.
Thank you!!

Diana Spain
Retired
Austin, TX

I am a member of the League of Women Voters and am passionate about voting rights, voting access, and voter engagement. We
need to increase access and turnout for TX voters, not make it harder to register and vote. There is no widespread problem with
voter fraud, but rather a lack of voter participation. This bill could actually help rather than hinder TX voter engagement with
these improvements. Improve SB1! 1. ADD a Poll Watcher's oath and required training. 2. ADD more safe voting options:
expanded early voting, extended hours at more polling places and more safe options for returning mail-in ballots. 3. ADD a
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expanded early voting,     5:21-cv-00844-XR        Document
                                   hours at more polling         117-4
                                                         places and       Filed
                                                                    more safe   11/15/21
                                                                              options         Pagemail-in
                                                                                      for returning 240 ofballots.
                                                                                                             554 3. ADD a
complete cure process for applications for mail-in ballots and for returned mail-in ballots. 4. ADD protection for voters with
disabilities. Offer blind voters a way to securely and privately vote. 5. ADD electronic voter registration.

Eric Hartman, Mr.
Self
Austin, TX

Thank you for the opportunity to comment in opposition to SB 1 as passed by the Senate in the second called session of the 87th
Texas Legislature. This bill, like its previous versions in the regular and first called sessions, is a solution in search of a problem.
It has no legitimate basis in data or facts or credible claims of voter fraud in the 2020 elections. The secretary of state’s office,
charged with responsibility for overseeing our elections, has officially declared the 2020 Texas elections smooth and secure.

Backers of SB 1 say nonetheless that there is a crisis of public confidence in our elections, a crisis to which they must respond
with sweeping mandates of changes in voter rights and election procedures despite the lack of evidence of any consequential
election fraud. Rep. Briscoe Cain, author of HB 6, one of the precursors of this bill in the regular session, admitted as much in an
April 1 hearing on his bill. He said, “People are concerned with whether they trust our system; legitimate concern or not, it’s real,
and I believe we have a duty to give them confidence in our system.”

This sort of thinking and the legislation it has spawned are themselves a real danger to democratic elections. Lawmakers have a
duty not to appease irrational and studiously ignorant concerns about nonexistent systemic threats to election security, conjured
up by demagogues, but to tell those who express these concerns that they are unsupported by evidence.

Based on my experience as an over-65 voter, election judge, and polling monitor in the 2020 elections, if this bill becomes law I
foresee great harm to fair access to the ballot box and to a vote that will be counted in future elections.

It sets new procedural traps including superfluous voter-ID requirements for unwary older voters and those with disabilities who
seek to vote by mail as I did in 2020.

It needlessly limits local authority to expand voting hours or to allow safe and secure drive-through voting or drop boxes, for no
good reason, despite successful experiments with these options in my home county and elsewhere in Texas in 2020 in response to
the hazards posed by the pandemic.

It will deter volunteer election judges like me (and like my highly capable and conscientious Republican counterpart who worked
in tandem with me in the 2020 primaries) from serving in future elections, lest we be accused of criminal misconduct for honest
mistakes or for trying to maintain order in the polling place in the face of provocations from poll watchers newly emboldened to
disrupt election administration by the language of SB 1.

Ironically, when you look at all these and other impediments to fair elections under SB 1 that would be enacted in the name of
“election integrity,” it becomes clear that the real, systemic threat to election integrity would be this bill itself. I urge you to
oppose SB 1 and all bills like it.

Sally Helppie
self
Carrollton, TX

This comment is regarding the Voting bill(s). It is vitally important to include at least a couple of days where 24-hour voting is
allowed. Not everyone works a regular schedule and most employers don't give time off to vote. Being able to drop off ballots in
locked boxes or via a drive-through process is helpful to the disabled who want to make sure their ballots reach the election
destination but who are unable to stand in voting lines. Finally, the idea of poll watchers who are partisan and/or not trained
and/or don't have to take an oath worries me a great deal. If the major political parties want more poll watchers, then our
Legislature MUST make sure they are trained in what they are permitted and not permitted to do; they should take an oath about
following the law and not trying to influence or intimidate any voters (by words, actions, facial expressions, etc.), and they should
face penalties if they violate that oath.
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                    Case
face penalties if they      5:21-cv-00844-XR
                       violate that oath.        Document 117-4 Filed 11/15/21 Page 241 of 554
   Poll watchers must wear name tags and those name tags should include the name/title of any campaigns in which the poll
watcher holds a position. For example, if a candidate is fielding poll watchers, that information should be made available to the
public at that polling site.

Judith Williams, Mrs.
Self, retired
Bedford, TX

Freedom to Vote:

Freedom to vote is a core value in my religion. It is wrong to place obstacles in front of voters, just as in Leviticus 19 it says it is
wrong to place obstacles in front of the blind.
The proposed anti-voter measures place a burden on many, and especially the disabled. Even the temporarily disabled. We are all
just one stumble away from being disabled, just one car accident away from disability.

Disability can be temporary and impossible to predict. After shoulder surgery, I had a bad reaction to the anesthesia and was
nauseous. I could not have voted during that time. Too busy puking! And yet, I was not permanently “disabled” - I was
temporarily unable to go to the polls, stand in line, stand at a voter booth, etc. There’s no way I could have known this in time to
meet the current requirements to apply for Vote By Mail.

This bill should also add a provision that allows blind voters a way to securely and privately vote.

The Covid epidemic shows us how important it is to expand early voting hours, and provide more options for Vote by Mail. We
shouldn’t need a pandemic to make it safer for people to vote!

The committee should focus on solutions for ALL voters and help restore trust in Texas elections. The Texas election code is
enormous, and already contains many safeguards.

The bill should include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the
ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session.
However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote
counts; as well as make the process uniform in all counties not optional.

Pollwatchers should be required to have more training, and take an oath similar to election workers. Harassment from untrained,
partisan pollwatchers is another obstacle to voting safely.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

TEXAS VOTERS WANT MORE CONVENIENCE AND SAFETY, NOT MORE OBSTACLES TO VOTING!

Jonathan Grant
Self/Retired
San Marcos, TX

I am opposed to the passage of this bill.

Elizabeth Trott
self, film and television costumer
austin, TX


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This bill will allow for bullying and threatening at the polls as well as partisan oversight and nullifying of votes. It will be
incredibly detrimental to democracy as a whole and will undoubtedly be a blight on governing body the state of Texas for years to
come.

Gayland Taylor, Precinct Chair
PC 2712
Mansfield, TX

Please do not let this bill pass through your hands. Presently you may not see the corruption this bill will have on our society.
But if you do not stand up against this bill now. Your soul will never be able to find eternal peace are be welcomed into our
Father's Kingdom. In heaven there are no political sides no parties. It is all on you.

Gloria Swift
Gloria Swift/self/retired
BULLARD, TX

I am for Senate Bill 1. As a previous poll watcher and election judge in the State of Texas, I want to ensure an election process
that will allow Texas voters to be comfortable in knowing all elections will be fair and that their vote will be properly counted.

Sarah Yeoman-Lomangino
Self
SANGER, TX

As Americans, voting is one of our most basic rights. Please focus on solutions for all voters and help restore the level of trust in
Texas elections. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer
options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are
what Texans want.

Linda Hall
Self
New Braunfels, TX

#1. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

#2. Poll watchers should receive required additional training and acknowledge the polling space's integrity by executing an oath
similar to election workers.

#3. Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. Alert voters
of the need for a cure and give clear instructions for making sure their vote counts and make the process uniform in all counties
not optional.

#4. Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.

#5. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls and reduce costs.

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Laurie Coffin
N/A
Austin, TX

I am opposed to SB 1. This bill is an attempt to create solutions for a problem that does not exist. It is an appalling effort to lend
credibility to the lies of fraud from the election. The people of Texas deserve better. The Legislature should be focused on
solutions that encourage and make it easier to vote, not creating new obstacles.

Suzanne and Terry Smith, Mr and Mrs
Dallas Eagle Forum.
Heath, TX

My husband Terry and myself want all of these passed. We are extremely active in politics now and we know who you all are that
serve in our districts.
Get these done especially, sb1 !!!!!!’ We need voter id in Texas and I know you all. Know why.
We are closely watching you now a days and there are plenty just like us! Do your jobs and get it done.

June Moore
Self
Buna, TX

We ask that this bill be passed with the strongest language possible to insure the legitamcy of our elections

William Christ
self
San Antonio, TX

I believe this is the most important piece of legislation facing Texas this year. Our democracy depends on open, accessible and
free elections. As a 71-year old, I believe the current bill as written is undemocratic.
I don't understand the restrictions on mail-in ballots (Mr. Trump used one). I don't understand the unleashing of partisan poll
watchers (Who wants to be harassed at the polls?). I don't understand narrowing the times when people can vote (How is voting
at 10pm problematic?) . Please reconsider these issues.
 Also, why not add electronic voter registration (this expands who can vote)? Why not include a complete cure process for
applications (as we get older we can more easily make mistakes)? Why not encourage people to vote? I believe history will look
back at the current bill as one of the acts that hurt democracy. Please reconsider.

Lesli Fitzpatrick
Self, Attorney
Austin, TX

This bill is fair and impartial. It ensures that everyone will get one legal vote and that vote will count. It does not limit the rights
of Texas voters it actually expands them by extending the hours of early voting among other additions. Please vote "yes" to keep
our elections in check and to punish those who abuse this sacred privilege.

Carol Duke, Mrs.
Self / Retired
Garland, TX

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I support SB 1 and urge this bill pass and be made law

Mark Skrabacz, Rev.
First Unitarian Universalist Church of San Antonio
San Antonio, TX

Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections, and to acknowledge
that there has been no proven Voter Fraud in Texas

Acknowledge the magnitude of existing Election Code safeguards and transparency that has contributed to the absence of Voter
Fraud.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Dana McCarver
Self
Tyler, TX

It is more important than ever to ensure that our election process is protected from abuse by those who would seek to dilute and
erase the votes of legitimately entitled voters. Our votes must be protected from people who would use nefarious means and cheat
to secure the election of a particular candidate “be any means necessary.” One citizen is entitled to one vote. We must have
confidence that our votes are not altered or deleted and that illegitimate votes are not counted.

Only citizens have the right to vote. Please note that I repeatedly use the word citizen! It is not a hardship to require every citizen
to provide identification that those same citizens use routinely to live in a modern society. It is racist to imply that some citizens
are unable or incapable of having the information or intelligence to obtain identification. The implication that this bill would
remove the right to vote for citizens is preposterous and a flimsy excuse used by those who would seek to cheat.

Please listen to the concerns of the citizens of this state and support the passage of SB 1.

Thank you,

Dana McCarver
Tyler, Texas

Sheryl Hazelwood
Self - Retired
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Self - Retired
Tyler, TX

I strongly support SB1. The defense of fair and honest elections is the cornerstone of our democracy! It is critically important to
clean up the voter rolls and maintain them monthly as called for in SB1. Protection of the voting machines and counted ballots,
ensuring the accuracy of the identity of the person voting, and prohibiting vote harvesting is a must. Giving election fraud cases
priority in the courts will also ensure a timely resolution to these attempts to highjack an election. Thanks to those legislators
working to keep our elections honest.

Leigh Currie-Nerrren
Self
Lindale, TX, TX

I support this Bill. It expands Voting Hours for Everyone. This Bill makes it easier to Vote and harder to Cheat!

Lenette Peterson, Honorable
Self
Pflugerville, TX

This bill is necessary to make sure we have honest elections and only US citizens, with proper identification are allowed to vote.
This bill will bring necessary integrity to elections and after the disaster known as the election of November 2020, we need this
bill to pass yesterday.

Nancy Laussade
self retired RN, past small business owner
Georgetown, TX

Please consider these vital issues that focus on solutions for all voters to feel confidence in the integrity of our elections:
*All poll watchers should be thoroughly trained and abide by the same oath of conduct that election workers must follow
*Due to COVID pandemic, voting opportunities must be expanded and safety must be paramount
*a statewide uniform cure process for any issues with ballots as well a notification of need for a cure and clear instructions on
how to accomplish this in a timely manner
*electronic voter registration should be implemented to reduce costs and increase accuracy

Every voter has a right to assess the candidates based on their stance on issues that are important to the voter. Manipulating voting
through restrictions on time and location, gerrymandering, etc. will not result in a government representative of the people. It is
my responsibility to pay attention to those running, the platforms they are presenting, and make my selection based on that
information. Those elected are supposed to follow through on those "promises". Now it appears that a platform is not even
deemed necessary! Those elected are interested in one thing-staying in office at all costs. We have failed to elect those that feel
otherwise. By further restricting voting, our voices will be much more difficult to hear. All voters of all parties will be affected.
The gamble is that only those that oppose your political bent will be affected. The result of these restrictions going forward will
not deter voting but create a massive, righteous effort to be sure every single Texan votes.

Debbie McGuyer
Self/ retired
Georgetown, TX

Please include a requirement for non partisan training for the poll watchers. A polling station should be neutral.
Also include a process that allows time for curing of ballots.

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Deborah McDonald
Self, retired teacher
Arlington, TX

I am a resident of Texas and Tarrant County for the past 26 years. I am very concerned about the proposed changes to Texans
voting rights as stated in SB1. There was no documentation of voter fraud during the 2020 elections. If SB1 passes and is signed
into law, Texas will be the rank as the 48th state in the United States in terms of voting rights for its citizens. I urge you to vote
against SB1.

Susan Majors, Ms.
Self
Richardson, TX

As final decisions are made that will impact democracy and voting practices in Texas for years to come, I am asking our elected
leaders to consider solutions for all voters that will help restore the level of trust in elections in our state. I am also requesting that
the magnitude of existing Election Code safeguards and transparency be recognized.
I believe that it is important to have safer methods of voting, such as expanded early voting, extended hours at polling places, and
more options to return vote by mail ballots. The pandemic has proved that such measures are essential. They are what the people
of Texas want.
I believe that it is important to have adequate provision for the needs of voters with disabilities, such as giving blind persons a
way to cast ballots securely and privately.
I believe that it is important to have responsible, well-trained polling workers who have taken an oath similar to that of election
workers.
I believe that it is important to have provisions that allow voters to “cure” ballots in order to make sure that their votes count.
I believe that it is important to have electronic voter registration. This would provide greater accuracy and reduce costs.
As a senior citizen, I want to be sure that there is always a way for my voice to be heard; and I want to be sure that the voices of
people of all ages and opinions are also heard. Democracy requires nothing less.

Christine Bessent
Self
San Saba, TX

Please support SB1 for election integrity

Fred Reitman
Self - Toxicologist (retired)
Houston, TX

My name is Fred Reitman, a resident of Houston. I am submitting this testimony in support of SB1. I have served at the polls
many times since 2010, including about 8-10 times as poll watcher during early and election-day voting.

This testimony is focused on proposed changes SB1 would make to the poll watcher rules of TEC Section 33. I focus here
because quite a few of those I saw testifying against its regular session predecessor SB7 cited the poll watcher process as one of
their major reasons.

These four key points add useful context and respond to their concerns.


Poll watcher is not new to Texas
SB1 does not create a new ‘poll watcher’ process. Poll watcher was added to the TEC in 1986.

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Poll watcher is not unique to Texas
As of October 2020, poll watcher was included in election laws of 43 states.


Poll watchers must be enabled to see and hear the process
SB1 Section 33.056(a) is revised to impress upon the election judges that they are legally obligated to permit watchers to do their
job, including permitting them to sit or stand “near enough to see and hear’ (replacing ‘conveniently near’) election officers
conducting the activity they are entitled to observe”.


Voters won’t notice any changes
SB1 proposes no changes to poll watcher activities that would be noticeable to voters at the poll. These current poll watcher rules
are unchanged:

•        Poll watchers are only allowed to observe, take notes, and inform election officials if they observe something they think
is an error.
•        Poll watchers may not argue with election officials or be disruptive in any manner.
•        Poll watchers may not speak to or communicate with voters in any manner.
•        Poll watchers may not view the choices being made by the voters
•        Poll watchers with one exception (immediately below) may not be at the voting stations while voting is taking place. This
applies both when the voter is in the booth alone, or with an assistant of his or her choosing.
•        A poll watcher may be present at the voting station only when a voter at his or her request is being assisted by an election
official (emphasis added) and only to determine if selections are being made in accordance with the voter’s wishes. In my
experience this help was rarely sought; no more than once or twice all day.

SB1 also makes these (and other) common sense reforms:
•      Voting by mail would require voter identification, just as does voting in person.
•      Strengthens prohibitions against paid vote harvesting
•      Prohibits public officials from sending unsolicited vote by mail applications.
•      Requires voter rolls be regularly maintained for accuracy.

Collectively, these and other provisions of SB1 help to achieve a common bottom line goal: – In Texas it should be easy to vote,
but hard to cheat.

Ruth Mintline, Ms.
Self Child care
Richardson, TX

I oppose SB1believe all voters should have the right to vote by mail if they are registered voters, get help if they need it, and mail
their ballot or drop it off in convenient places. I have no car, I need to mail my ballot and be assured it will be received and if
incorrect have a chance to correct in a way assessable to me.
I do believe if someone is in line to vote they ought to be able tp get assistance from designated poll attendants without fear of
arrest. I think poll watchers would be intimidating and open doors for harassment. I think the committee should focus on
solutions for all voters and help restore trust in elections and acknowledge the magnitude of existing election code safeguards and
transparency

Colleen Brunell
League of Women Voters
Austin, TX

I am a Texas resident for over 8 years, a VDR, and a proud American who firmly believes in the right to vote for all citizens over
the age of 18. When I register voters in Travis County, I don’t ask about party affiliation or really care, because to me the right to
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the age of 18. When Case    5:21-cv-00844-XR
                       I register                    Document
                                  voters in Travis County,         117-4
                                                           I don’t ask aboutFiled 11/15/21or Page
                                                                            party affiliation          248because
                                                                                               really care, of 554 to me the right to
vote is above party and all differences. While I agree in safe and secure, these measures seem to restrict and alienate more people
to vote than encourage people to exercise their fundamental right as an American. Texas already have more safeguards than any
state I’ve lived in. These extra measures are counterproductive and designed to intimate and discourage voting, particularly
disabled and ill voters.
Last election, I had several people I helped registered to vote that were struggling to vote during COVID19. They work full-time
and either was immune compromised and/or over the age of 65 years old. They waited in long lines to drop off their ballot after
their work day and during the weekends. COVID19 highlighted the need for more access to voting and safer options to voting.
The poll watchers seem like an unnecessary addition when you see all the hardworking staff working at polling places. Every
time I’ve voted in Texas, there have been a person greeting, a person to check out my ID, another person to verify and guide me
to a voting booth, and another person giving me an “I Voted” sticker at the end. Why add a poll watcher? Also, why are these poll
watchers not receiving the same education and take the same oaths as poll workers and VDR people?
I love living in Texas and I would love to see more laws that help create easier access for people to vote rather than these anti-
democracy/anti-American laws that restrict, exclude, and provide more unnecessary huddles for people to vote.

Kathleen Bryson
Self - caregiver to my 83 year old veteran partner post-stage 4 cancer
Kerrville, TX

There currently exist legislative obstacles to our voting as disabled elders at this time as we discovered trying to vote by mail last
November. I’m a MODERATE cradle Texas Republican and I have only observed actual election fraud perpetrated by right wing
fanatics throughput the United States pursuing the “big lie” of a previous president for whom I regret voting in 2016. Make it
harder for us elder disabled voters to continue our voting practices of over a half-century is unconstitutional. You should be
making it EASIER for us to vote.

Sylvia Coulson
Self
Waxahachie, TX

I support this bill. The majority of Texans support the aspects of this bill. 80% support voter ID. This should be passed without
amendments.

Sharon Barnhouse
Self- Retired Nurse
Corinth, TX

We have on problems or criminal activity in our voting in Texas . Adding an intimidating atmosphere will only make less
participation. Is that what we want? We need a unified populace. All acting as a citizen of this country freely selecting those who
want to serve this country.

Erica Strauss
Temple Emanu-El
Dallas, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.
To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.
Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
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incomplete applications      ballots to the electronicDocument      117-4
                                                       ballot tracking systemFiled 11/15/21
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                                                                                                   regular of 554However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.
Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.
Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Cynthia King-Ryne
Self
Plano, TX

OPPOSE This bill is NOT needed as the percentage of voting fraud in Texas is minuscule. I’m a born Texan and have voted since
I was of voting age and not one report of massive fraud in this state. It’s extremely difficult to vote here so why the need for SB1?
Election integrity is a disguise for voter suppression plain and simple.

Janet Mattern
self / retired
Fort Worth, TX

I am against this bill as it is currently written. It is a VOTER SUPPRESSION bill.
I have worked elections and with my experience I know that this bill is not good for Texan voters.

I humbly request that the committee focus on solutions that will benefit all Texas voters and will help restore the level of trust that
we expect in Texas elections. I also want to insist that Texas Election Code safeguard election process transparency, and voter
privacy. Election workers work very long hours, and we do the work because of our love of country, we do not work elections for
the pay. As an election worker, I've had to work 20 hour days. There should be more effort made to attract more folks to work at
the polls, to reduce the hours each person must work. This will improve the integrity of the election and reduce errors.

If you want to improve this bill you would:
. ADD A Poll watchers oath and required training.
. ADD More safe voting options: expand early voting, extend polling place hours, and add more options to return mail-in ballots.
My mother received a mail-in ballot that had a printing error. The county sent the ballot with a mistake, after she voted that ballot,
they sent her a new correct ballot, it almost arrived too late for her to cast her vote. Mistakes will happen, we have to allow time
for the county to correct mistakes.
. ADD A complete cure process for applications for mail ballots and for returned mail ballots. Ballots should be able to be tracked
so that the Election office can verify that the correct ballot envelope was sent and returned from the Elections Office.
. ADD Electronic voter registration to the omnibus bill. It would be even better to have automatic voter registration. As this
would greatly increase the accuracy and integrity of the voter registration polls. Most companies now automatically sign up
employees to receive retirement 401k, they must opt out with a form if they don't want this benefit. More employees are getting
retiree benefits because of the automatic sign-up. This is the process that should be done for Voter Registration. Texans that
qualify should automatically registered to vote, unless they want to opt-out. This is how all Texans can participate.
.ADD That if a voter is registered as a voter in Texas, that the voter can vote a limited ballot (only state wide races), at any
polling location in Texas.
. ADD That mail ballots when requested are required to include Braille, so that voters who are blind can choose their ballot
selections without requiring assistance.
. ADD That no political body (County or TX Legislature) can overturn the results of an election in the state of Texas. Only voters
can choose their elected government leaders.
. ADD College and university student picture identification cards can be used as a form of identification for Voting in Texas.

Eva Guzman
Self
San Antonio, TX
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San Antonio, TX

Voting Rights belong to Every USA Citizen.

Vicki Totten
self, retired Professor of Counseling
Rockport, TX

Senate Bill 1 does nothing to restore confidence in our voting process and to make sure everyone's voices are heard. Other states
have electronic voter registration and mail in voting and have much better voter turnout and secure elections. Texas should be
moving forward, not backward, in making sure that people with disabilities and who have difficulty traveling, can have
alternative ways of registering to vote and of voting by mail. This became much clearer during this current pandemic, yet this bill
does nothing to support expansion of voting rights and ease of voting. Please do not make it harder to vote.

Andrew Edmonson
Self
Houston, TX

I would strongly urge the committee to focus on solutions for all voters and help restore the level of trust in Texas elections.
Recent legislation has been much too focused on voter suppression tactics that will depress turnout amongst minority, working
class and low income communities.

Prior to the 2020 election, Texas has had an abysmal record of voter turnout. Texas already has some of the most restrictive
regulations governing voting in the country. I would beseech you to continue working to find ways to allow more Texans to vote.
We should continue to expand the opportunities for mail in voting that proved so effective during the pandemic in the 2020
election. Please expand drive through voting stations, and 24-hour voting periods in the run up to elections, both of which were
enormously effective at providing more opportunities for citizens to vote in the Harris County elections in November 2020.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Carolyn Sue Bryant, Mrs
Self
Canyon, TX

I support Senate Bill 1

Charleen Burghardt, Rev
Self
San Antonio, TX

I am in favor of this bill being passed.

Karen Wright
Self- license master social worker
Cedar Hill, TX

Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
Acknowledge the magnitude of existing Election Code safeguards and transparency.
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Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
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Acknowledge the magnitude                         Document
                            of existing Election Code          117-4
                                                        safeguards       Filed 11/15/21 Page 251 of 554
                                                                   and transparency.

Annette Iott
Self childcare provider
Richardson, TX

Please focus on solutions that benefit all voters. Solutions that restore trust in the existing election safeguards and transparency.
Do not make it more difficult for voters to vote. Do not criminalize common mistakes or help given one voter to another.

Kathy Fontenot, Citizen
self
Humble, TX

I support the audit. For the sake of our republic we need to be able to trust our elections. If not we are just another banana
republic. Please support election integrity and a full forensic audit.

Amy Malin
self
Houston, TX

I respectfully encourage this committee to focus this bill on finding ways to make voting more accessible for all voters, especially
during a pandemic. Rather than limiting when and how voters can make their voice heard, what is wrong with broadening access?
Some states mail a ballot to all residents - have those states been contacted to see how much fraud occurs as a result? If the
number is minimal or equal to the amount of fraud that occured in the last election in Texas, why not expand vote by mail rather
than limit it? I am also concerned about the integrity of poll watchers. How can we make sure that poll watchers are aware of the
laws regarding voter intimidation? Is it possible to have them go through training the way VDVRs and election officials are
required to do? Lastly, can Texas please have electronic voter registration? This could reduce costs, increase integrity of the voter
rolls, and increase the number of registered voters in the state. I expect a bill on election integrity and security to be highly vetted
and researched and supported by factual evidence in order to protect all voters. Why not wait until the next legislative session to
ensure that ample time has been provided to create a fair and necessary bill?

Caren Edelstein
National Council of Jewish Women
Dallas, TX

As a woman of faith, an educator, parent and grandparent, I am extremely concerned about SB1. I believe that any bill on voting
should be transparent and not include measures that prevent people from voting. Given the rise of Covid 19 cases, including those
who have been vaccinated , it is time again to prioritize voters health and safety and include measures that keep them safe,
including early voting, extended hours at polling places and more, not less options for voting by mail.

I find the powers of poll watchers to intimidate voters frightening.Poll watchers should be given additional training and should
take an oath similar to election workers. Every vote is a precious right and responsibility and should not be threatened .

It is difficult enough for voters with disabilities to vote. One such example is a friend who must use a wheelchair. The polling
place in her town was in a trailer with steps, impossible to navigate in a wheelchair. Blind voters also need a way to securely and
privately vote.

My hope, as with others, is that Texas can be proud of the empathy we show all of our citizens who should not be denied their
right to vote.


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Ruby Schell
self/retired
Houston, TX

I support SB 1 to protect our election integrity. Please vote to support SB 1.

Cathy Heath
Self. Retired educator
Austin, TX

Democracy depends a government which represents the will of the people. People’s will is evidenced by voting. Therefore, as
elected leaders sworn to uphold our democracy, it is incumbent upon you to make the ability to vote accessible for all…. And that
means everyone! Do not make casting one’s vote difficult, costly or impossible!
Please do what you promised to do!
Respectfully, Cathy Heath

Karen Muncy
Self / Retired
Dallas, TX

Just 5 additions would vastly improve this bill: 1) Required training + an oath for poll watchers, 2) Enhanced voting safety: more
days for early voting, more hours for polls to be open, more ways to return mail ballots, 3) A complete cure process for mail
ballot applications and returned mail ballots, 4) Better protection for disabled voters, including a way for the blind to vote
securely and privately, and 5) electronic/online voter registration.

Nancy Mahaney
Self - Museum Curator
Canyon Lake, TX

The proposed bill does not address the rights of individuals with physical limitations who need to be able to vote by mail or for
voters whose employers to not give them release time to vote during extended hours. The proposed voting restrictions would
disproportionally impact lower income and disable voters. Restricting the ability of people in these categories to fully participate
in our Democracy would have long term detrimental impacts. We need to protect the rights and abilities of ALL Texans to voice
their opinions through a fair and open election process. We need legislation that will encourage voter participation, not
implement roadblocks.

Leslie Wolf
Self retired
Houston, TX

The criminal penalties that have been levied and written about in the news seem particularly harsh and not proportional to the
offense. Where I live in Houston changes happened under Democratic elected officials that starkly contrasted with my experience
under Republican control. It is now easy to cast a ballot. I do not have to stand in line for hours. When Republicans were in
charge voting sites were understaffed and it was confusing as to where we were to cast our ballots. If voting is a sacred pillar of
our Democracy why deliberately make it difficult. There should be universal registration upon graduation from High School.
Multiple forms of identification should be accepted even on the day of the election. A water bill or rent receipt should be
sufficient. I moved here from a non-slave state 5 years ago. I’m a yankee. Texas values such as they are under Dan Patrick and
Greg Abbot are throw backs to a darker time in our history. I’m embarrassed to admit that I live in Texas.

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Susan Anderson
self
Benbrook, TX

Free and fair elections are essential to democracy. I believe that Texas already has adequate safeguards and transparency for
elections, but that we can make it easier to register to vote and to actually vote without sacrificing election integrity. If localities
would like to extend voting hours, for example, they should be able to do so. Having been involved in GOTV efforts, I have
certainly come across people who failed to register to vote in time for an election, who could not get to the polls due to their
working hours or were unable to vote due to an illness or disability. Texas needs to modernize its election system to make it easy
for every eligible citizen to conveniently exercise their right to vote. It is the only way to know the true will of the people.
Imposing civil and criminal penalties is a solution to a problem that doesn't exist. The true impact of these policies is to make
people feel fearful about participating in the voting process. If the only way a politician can win is to suppress the votes of his or
her opponent, then perhaps there is something wrong with the candidate. The goal of voting legislation should be to increase the
percentage of registered voters and to increase election turnout. As of 2020, more than 20% of the voting-age population was not
registered to vote and almost half of the voting-age population did not vote (https://www.sos.state.tx.us/elections/historical/70-
92.shtml). That is insufficient. Texas can do better.

SONYA LETSON
self - retired Municipal Court Judge
Amarillo, TX

The recent surge in Coronavirus cases has shown that we continue to need ways to vote safely. Early voting hours should be
expanded, not shortened, and counties should be able to add hours and methods that make sense for their residents. Vote by mail
should be made easier not harder, so our seniors and disabled voters do not have to stand in line or risk having their vote not
count. Everyone wants their vote to count, so voters should be notified if there is a problem with an application for a mail ballot
or the ballot itself and given a real chance to cure that problem. The Election Code already provides numerous safeguards against
election fraud, but no method to ensure that a simple mistake in a mail ballot or application can be cured by a citizen that wants
his or her vote to count. Also, mail ballots should be able to be returned to an election clerk at more that one location within a
county, if the county wants to provide for that, so that voters do not have to drive long distances to hand in a ballot. I have
worked in elections and believe there is a role for observers to play, but they should not be given higher priority than the election
judges or workers, and should be bound by oath similar to what election officials swear to. Finally, if we had online voter
registration as is allowed in 40 other states, we would have fewer errors in our rolls and save money in costs for a clerk to hand-
enter each voter's information. Please use this opportunity to restore trust in our elections and make it clear that we want every
eligible citizen to be able to safely and easily vote. Thank you.

Suzanne Daniels
Self, owner of Brentwood Social House
Austin, TX

I am writing to express my strong opposition to Texas Senate Bill 1 (“S.B. 1”). We are a democracy and it is imperative that ALL
voters, particularly Black voters and other voters of color, have full, meaningful, and unburdened access to the fundamental right
to vote.

S.B. 1 proposes to undermine that right for Texas citizens. The bill would impose severe, needless, and discriminatory restrictions
on voting by mail, curbside voting, and the receipt and provision of voting assistance. It would target the elimination of the
common-sense methods of voting, such as “drive-thru” voting and 24-hour early voting, that proved invaluable for Black and
Latino voters in Texas’s largest cities in 2020. And it would empower partisan poll watchers to disrupt election administration—
while criminalizing other election officials for simply doing their jobs by encouraging and facilitating access to the franchise for
eligible, registered Texans.

In essence, this bill’s purpose is to suppress votes. Voter suppression is 1) raising administrative barriers to make voting so
cumbersome that voters get discouraged and don’t participate, and 2) intimidating voters and others who participate in elections
with threats
Printed      to their30,
        on: August    physical safetyAM
                         2021 11:32    or with criminal prosecution. Often these tactics are aimed at voters of color and disabled

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with threats to their      5:21-cv-00844-XR
                      physical                      Document
                               safety or with criminal           117-4
                                                       prosecution.        Filedtactics
                                                                    Often these   11/15/21     Page
                                                                                        are aimed     254 of
                                                                                                  at voters of color
                                                                                                                554 and disabled
voters. S.B. 1 features both kinds of voter suppression.

The enactment of S.B. 1 will erect discriminatory barriers and burdens to political participation and encumber the fundamental
right to vote for Black, brown, disabled, elderly, and low-income voters.

Cumulatively and individually, these restrictions may also violate federal law, including the First, Fourteenth, and Fifteenth
Amendments to the U.S. Constitution, the Voting Rights Act of 1965, the Americans with Disabilities Act of 1990, and the
Rehabilitation Act of 1973.

I respectfully ask you to oppose S.B. 1.

Cheryl Stark, Ms
Self-retired
Fort Worth, TX

Pass this bill and any others that secure Texas being able to have fair and safe elections.

Linda Ayers
Self/retired school librarian
Ben Wheeler, TX

I oppose SB1 as it is written. Many Election Code safeguards already exist. One thing that would improve the integrity of voter
rolls as well as encourage more Texans to vote is to allow online voter registration. In the past I worked as a VDR to help Texans
register to vote, and I know that the process could be streamlined and simplified.

Cynthia Lovin
self / self employed spiritual director
Pflugerville, TX

The COVID pandemic showed us the need for ways to vote that are safe. We need to retain the safer options of expanded early
voting and extended hours at polling places. Even as the COVID situation improves by 2022, future pandemics are likely, along
with other seasonal contagious illnesses such as influenza.

Voters and poll workers alike need to be safe from interference and harassment. Please improve SB1 by requiring that poll
watchers receive additional training. Require poll watchers to acknowledge the integrity of the polling space by taking an oath
similar to the one election workers take.

A complete cure process for mail ballot applications and for returned mail ballots should include a method to alert voters of the
need for a cure. When voters are alerted, they should receive clear instructions for making sure their vote counts. This process
should be uniform across all Texas counties. It should not be optional.

Adding electronic registration would greatly increase the accuracy and integrity of voter registration rolls. It would also reduce
costs.

Please focus on solutions for all voters. This is necessary to help restore the public's trust in Texas elections.

Thank you.

John Watson
Self, retired
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Johnson City, TX

Proponents of SB 1 have claimed astonishment at concerns raised by diverse groups who oppose the Bill, including senior
citizens, the disabled, African–Americans, and Latinos. It is difficult to know whether such astonishment is born of bad faith,
ignorance of Texas history, or both. Regardless, the core question is whether or not there is any rational basis for concerns that SB
1 would disproportionally impact such groups.

A review of Texas history may shed some light on this question.

Here are a few facts about our history that are relevant:
• Since its founding in 1836 Texas has had 6 Constitutions; 3 expressly condoned slavery and barred African-American men from
voting.
• Even after ratification of the 15th Amendment to the US Constitution, various barriers and intimidation tactics hampered
registering and voting by African–Americans. Those included the poll tax and literacy tests.
• In 1923 the Texas Legislature enabled political parties to institute the so–called all-white primary. From 1923 until 1944 when
struck down by the US Supreme Court, no African–American was allowed to vote in the only election that counted, the
Democratic Primary.
• In 2018 the Secretary of State of Texas initiated an ill–fated attempt to purge voter rolls of thousands of people with Hispanic
surnames based on flawed data. A US District Court in San Antonio slapped that down.

Thus, even after ratification of the 15th Amendment in 1870 Texas and the other states of the former Confederacy continued to
use various tactics to prevent black men from registering and voting.

In 1965 LBJ, working with MLK, the Civil Rights movement, and Congress overcame obstacles to gain passage of the Voting
Rights Act. The purpose was to finally deliver on the promise of the 15th Amendment and make voting available to all qualified
Americans. The Texas House delegation cast 8 votes in favor of VRA, 12 opposed, and 3 Not Voting. Republican Sen. John
Tower voted No, Democratic Sen. Ralph Yarborough voted Yea.

Voter suppression has gained renewed momentum from a 2013 Supreme Court decision gutting the pre–clearance provision of the
VRA. SB 1 is an expression of that effort.

Voting rights campaigners have been murdered, beaten, fire–hosed, assaulted, fired from jobs, and paid for their belief in our
Constitution with blood and sweat. Now we find Texas Republicans, the political heirs of those Texans who voted against the
VRA of 1965, eager to capitalize on the Shelby decision and push voting restrictions to the limit.

Occasionally a slip reveals their true intentions. Originally SB 1 would have severely hampered the time-honored practice of
Black churchgoers going after Sunday services to vote during early voting. The resulting outcry forced a modification.
Restrictions on drive–through and all–night voting remain.

SB 1 should be rejected by all who support our democratic form of government. A vote to approve will leave a stain on all who
support it.

Karen Miller
self Retired Clinical Social Worker
Austin, TX

This bill is trying to suppress the vote! Stop this bill!

Claudia Glass
Self, retired nurse
San Antonio, TX

Please vote against this bill. Voter fraud has not been proven to be more than a very, rare occurrence. To restrict voters' freedoms
even more is chilling to our democracy. Especially the political poll watchers inside voting buildings can be nothing more than
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even more is chilling     5:21-cv-00844-XR
                      to our                     Document
                              democracy. Especially the political117-4   Filed inside
                                                                  poll watchers 11/15/21
                                                                                      voting Page   256can
                                                                                             buildings   ofbe554
                                                                                                              nothing more than
intimidating. Please stop it.

Other improvements if you keep the bill:
    •    Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability
to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.

•       Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that
allow blind voters a way to securely and privately vote.

•        Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Thank you.

Marina Hench
Self - Program Specialist
Austin, TX

Thank you for considering this public testimony. Texas lawmakers should focus on solutions for all voters to make our democracy
more accessible and the election process easier to navigate, not harder. Lawmakers have not demonstrated with evidence that
current laws are inadequate enough to ensure fair and accurate elections thereby justifying the types of measures included in SB
1. In fact, Current Election Code safeguards are substantial, robust and extensive to ensure transparency in elections today. The
Texas House should focus on improving SB 1 by adding additional flexibilities and innovations to increase democratic
participation among all people.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. During the last election,
an employee of mine in the Dallas area drove to a polling site with her elderly parents, all of whom had COVID at the time, and a
volunteer brought the ballot to their car. This would be the last election for her father, who died from COVID shortly thereafter. A
retired Marine and lifelong public servant, he was committed to casting his ballot in a way that protected the safety of others.
Texas lawmakers should make voting, easier and safer - not harder.

Similarly, voters with disabilities need additional refinements to SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

These are what Texans want.

Susan Wegner
self
Houston, TX

As a Volunteer Deputy Voter Registrar I am extremely passionate that we have a transparent system for voting in Texas that
makes it easy for all eligible citizens to register to vote and, once registered, to exercise their right to vote. Adding electronic
voter registration to SB1 would increase the accuracy and integrity of the voter registration rolls and make it much easier for
more people to register. It would also reduce costs. Making it easy for registered voters to vote means having the polls open
during a long enough period of time during the day and night and days of the week, including weekends, to serve the needs of
people working at non-standard hours of the day and week. It also means making it possible for people with disabilities or
immunocompromised people with concerns about coming into contact with persons who may be infected with communicable
diseases (such as COVID) at the polls to have access to a mail-in ballot. Blind persons should also be provided with a secure way
to vote. We need expanded early voting options, extended hours at polling places, and more options for safely returning vote by
mail ballots. Please have the needs of ALL voters in mind as you craft SB1.
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mail ballots. Please have5:21-cv-00844-XR
                         the needs of ALL votersDocument     117-4
                                                 in mind as you        Filed 11/15/21 Page 257 of 554
                                                                craft SB1.

Dixie Christian
self
HURST, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Sharon Edwards, Mrs
Self
Austin, TX

Please vote yes on this bill which will protect voting from fraud and secure the election conduct.

John Black
Self
Dallas, TX

The current election code has a sufficient amount of safeguards to protect from fraud. There is no need to generate hysteria and
drama. If any changes were to occur, it should be to make voting easier FOR EVERY TEXAN. SB1 does NOT do that.

Focus on making voting easier FOR EVERYONE IN TEXAS.

Beverly Roberts
Retired
Houston, TX

Each of you knows very well that this bill does NOT suppress anyone's vote! That is red herring, designed to stir up discontent
and pretend that those in opposition are helping the so-called dispossessed minorities. I am sick of the lies and deceit as they try
to feather their own nests. An ID is necessary for scores of activities. People in third-world countries have ID cards, no matter
how poor they are or where they live. Quit pretending voters are too stupid or isolated to get an ID. Pass the bill so that every
voter is confident of the legality of our electoral system.

Mike Schoonmaker
self
Montgomery, TX

SHUT DOWN HB 1! Unconstitutional!

Carolyn Lux
Self
Fredericksburg, TX

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Please maintain the integrity of this Bill by leaving it AS IS. It is a clean bill and should not be messed with. Thanks!

Carol Shattuck
Self
Houston, TX

I do not support SB1. Rather than push legislation that will reduce voting options for Democrats AND Republicans, Republicans
should be about the business of developing legislation that will attract more people to their policies and positions. Legislation
such as SB1 that restricts/eliminates voting options like drive through voting (which was made available during the COVID
outbreak) and 24 hour voting for people who work long hours, double shifts, and multiple jobs, is putting public safety at risk and
adding barriers for those who want to vote, but have limited time to do this during regular poll hours.

Janice Ills, Ms
myself
Austin, TX

The voting bill is a shame on the state of Texas. It hampers the people's right to vote. The voting rights bill should be thrown out
of this legislative session.....there is some really bad money behind this bill

Mary Schwindt
none
CEDAR PARK, TX

Dear Committee members,
Voting Rights has long been an important issue for me. When I moved to Texas from Arizona in 2015, I was astounded at the
voting restrictions in Texas. I had not set foot in a polling place in years because in Arizona, once signed up for vote-by-mail,
you received a ballot for every election. And, unlike in Texas, you did not have to reapply each year, nor did you have to be a
“senior citizen.” Any legal voter of any age could use vote-by-mail. Arizona was the first State to implement that system and it’s
been running smoothly for 30 years. And also, with each election, the State of Arizona mails out a comprehensive voter
information pamphlet with information on the candidates and any initiatives on the ballot.
But enough about Arizona and the ease with which its citizens can vote. I live in Texas now and would like you to do the
following during this session:
1.       Add electronic voter registration. 40 States have already done so. Doing this would reduce the costs of registration and
greatly increase the accuracy and integrity of voter registration rolls.
2.       Texans need and want expanded early voting, extended voting hours, and more vote-by-mail ballot drop-off locations.
All of this is especially important with the Covid pandemic raging on as it is, with no end in sight.
3.       Poll watchers need to receive training and acknowledge the integrity of the polling space by executing an oath just like
election workers do.
It’s time to make voting for Texans easier, not more difficult.
Thank you.

Anne Jones
Self
Driftwood, TX

I request the committee focus on solutions for all voters and help restore the level of trust in Texas elections. I also acknowledge
the magnitude of existing Election Code safeguards and transparency.

Jeremiah Hunter
Self / Entrepreneur
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Self / Entrepreneur
Longview, TX

I urge the committee to forward this bill to the full House. We need to institute these vital changes to our elections process that
will increase the security, integrity, and overall voter confidence in the selection of our public servants. These changes are LONG
PAST due!

Alma Kuttruff
Self/retired
Austin, TX

I respectfully request:

- that the Committee focus its efforts to enhancing the means for ALL voters (rural, urban, elderly, handicapped, low-income,
high-income, single parents, shift workers, Republican, Democrat, Independent ) to exercise their patriotic right and duty to vote.

- that the Committee work to protect the safety and health of the patriotic, hard-working volunteers and poll workers at all the
precincts.

- that the Committee work to protect the privacy, health, and safety of all citizens as they cast their ballot.

- that the Committee recognize and laud all the safeguards for voting that the State of Texas and its counties already have in place.

Thank you.

Linda Bailey
Self
Austin, TX

Against SB1

Carl Jones
(Self) TDP Rural Caucus State Field Coordinator
Spicewood, TX

Over the last 4 years I have visited with many Dem county chairs around the state in my duties as a volunteer state coordinator in
TDP’s rural caucus. A common fear that so many County Chairs & Dem volunteers have is being subject to intimidation antics &
harassment threats from many trump activists & extremists in the counties. The partisan poll watcher provision in SB 1 in its
current form allows these poll watchers to carry out various intimidation antics towards unsuspecting voters and escape
consequences. To be effective, I believe poll watchers should receive required additional training and should acknowledge the
integrity of the polling space by executing an oath similar to election workers. I also work as a clerk at the polls in my county
during the elections. If I see a poll watcher displaying intimidation antics against any voter I will report it to my elections judge. It
is my duty. Can you please address this potential problem by ensuring that poll watchers are NON partisan, trained and not
allowed to intimidate or harass any voter?

Irene Adolph
HOA Reform Coalition
Houston, TX


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The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
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want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Cynthia Mahler
Self
Seabrook, TX

This bill is not needed to become law. In fact we would rather have you focus on solutions for all voters and help restore the level
of trust in Texas elections. Our elections have a magnitude of existing Election Code safeguards and transparency.


#1. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

#2. Poll watchers should receive required additional training and acknowledge the polling space's integrity by executing an oath
similar to election workers.

#3. Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. Alert voters
of the need for a cure and give clear instructions for making sure their vote counts and make the process uniform in all counties
not optional.

#4. Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.

#5. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls and reduce costs.

Jan Lance
Self Retired
Austin, TX

I oppose SB1. SB 1 will make it harder for people to vote and that will make fewer people vote. I believe that in a strong
Democracy the goal should be to increase participation. This law adds unnecessary impediments to voting. I adamantly reject the
notion that we should be willing and even eager to just work harder to vote. Voting should not be an endurance test. Nobody
should have to stand in line for 5 hours to prove their worthiness to vote. Nor should they be forced to subject themselves to
harassment at the polling place by overzealous and untrained partisan poll watchers, or jump through unnecessary hoops to vote
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harassment at the polling  place by overzealous andDocument      117-4 poll
                                                      untrained partisan   Filed  11/15/21
                                                                             watchers, or jumpPage    261
                                                                                                through    of 554 hoops to vote
                                                                                                         unnecessary
by mail, or risk criminal penalties for being an election worker trying to maintain order at a polling place. This bill will punish
Texans because of perceived "potential" for voter fraud. The Texas Secretary of State declared the 2020 election to be safe and
secure. There is no evidence of widespread fraud. We should not be punished for unsubstantiated fears. The summary of this bill
is incorrect. SB1 does nothing to prevent fraud. It just makes it harder to vote.

Faith Stringer
Self, Human Resources representative
Bryan, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want. We deserve free and fair elections that are accessible by all, including Texas voters residing overseas, like myself. It's hard
enough to vote already - I have to renew my absentee ballot application every year, then go through an incredibly cumbersome
process to obtain and return my ballot, without ever feeling certain that my vote has been counted. Our legislature must do
everything it can to increase access to voting rather than restrict it.

Margaret Harris
Myself
The Woodlands, TX

I strongly urge you NOT TO VOTE FOR SB1. This bill is widely viewed as voter suppression and I agree. It opens the door to
bullying by poll watchers, who may lack training in what conduct is allowed. It adds punishments for people who are
legitimately trying to help the elderly and disabled vote with confusing new rules. This is wrong. It is already difficult enough to
vote in Texas and there is no evidence of any meaningful voter fraud during years of past elections. Citizens in the general
electorate are paying more attention to how you vote. Please don't disappoint us.

New ID numbers added to Vote by Mail applications and the ballot return carrier envelopes. Forget which number you used?
Ballot cancelled.
More requirements and higher penalties for people assisting voters.
Poll Watcher training not required.
Greater freedoms for poll watchers, potentially intimidating voters.
Prohibits a public official from creating, modifying, waiving, or suspending any election standard, practice, or procedure
mandated by law or rule, including during an emergency such as a pandemic.

Christina Stone
Christina Stone
Bellaire, TX

I am concerned about the SB1 limiting methods of voting. It is a good thing to have Saturday voting, early voting, and 7 am to 7
pm voting. I am also concerned about the State trying to limit what local governments think is best for their communities in
terms of voting procedures. Making sure that everyone has the opportunity to vote should. be the top priority.

EVELYN Fox
Self retired
Plano, TX

This is not a bill to insure integrity and security to elections in this state, it is about keeping certain people from voting and
reversing voter outcomes if it doesn’t fit the desired outcome of those currently in power. Be careful what you wish.

I fear you are voting out our Republic and voting in Autocracy.
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I fear you are voting     5:21-cv-00844-XR
                      out our                     Document
                              Republic and voting in Autocracy.117-4 Filed 11/15/21 Page 262 of 554

Bob Bridge, PhD
self, Executive Director
Dripping Springs, TX

With covid roaring back, we need safe voting options, including expanded early voting, extended hours at polling places, and
more options to return vote by mail ballots.

To protect elections from bad-actor poll watchers, watchers should receive required additional training and should acknowledge
the integrity of the polling space by executing an oath similar to that of election workers.

There must be state-wide procedure for alerting voters of the need for a cure on a vote, giving clear instructions for making sure
their vote counts.

Blind voters need a way to securely and privately vote.

Allowing electronic voter registration will greatly increase the accuracy and integrity of the voter registration rolls, as well as
reduce costs.

Carl Jones
(Self) TDP Rural Caucus volunteer state field coordinator
Spicewood, TX

SB1 increases obstacles and burdens to voters that want to vote by mail. Why? There is zero systemic voter fraud and SoS data
shows virtually zero voter fraud of consequence in their voter/elections data base. SB1 is a reactionary partisan attempt to fix a
problem that does not exist all conjured up as a response to The Big Lie. So— can you please Include a complete cure process for
applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure incomplete applications or ballots to
the electronic ballot tracking system approved in the 87th regular session. However, House action can add a way to alert voters of
the need for a cure and give clear instructions for making sure their vote counts; as well as make the process uniform in all
counties not optional.

Alice Van Zant, Ms.
Self
Austin, TX

Since it has never been proven that our elections in Texas have ever been compromised, notwithstanding allegations by then
Harris Couty Clerk Bentencourt, Dan Patrick nor Greg Abbott, I assume that the purpose of SB 1 is to restrict voter access to the
polls. You can assert as many times and as loudly as you like that you are preserving the integrity of the Texas voting system, but
there is nothing to protect because it works very well. I do not understand members of the Texas Legislature, who are elected to
make laws to benefit all citizens of the State of Texas, who then try to enact a bill which would effectively make voting much
more difficult for some of our citizens. This proposed legislature is a travesty of the democratic system so beloved by you , or so
you claim.

Lynn Bridge, Ms
self/retired
Dripping Springs, TX

In reading over the bill's parts, I put myself and my friends and family members into it, and I see how difficult this law would
make it for each of us to vote. My husband and I have my extremely elderly mom in the house, and we are all avid and
community-minded voters. We find it challenging to follow vote-by-mail instructions without making any little slip-up, and I
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community-minded   Case    5:21-cv-00844-XR
                     voters. We find it challengingDocument       117-4 Filed
                                                    to follow vote-by-mail         11/15/21
                                                                             instructions      Page
                                                                                          without      263any
                                                                                                  making    of little
                                                                                                               554 slip-up, and I
would feel extremely indignant if we had little recourse to cure a ballot or ballot-enclosure mistake. We need to make it easy to
cure a ballot mistake. It appears that quite enough security is already built-in to our Texas mail-in ballots.

When we look at the fact our daughter and son and their spouses living in Washington automatically have ballots sent to them for
mail-in, as does every voter in Washington, I realize how backward we are in our home state of Texas. The people in mail-in-only
states (that even have convenient drop-boxes!) don't have to worry about catching Covid at the polls, they don't have to worry
about forgetting deadlines, and they can spend the time to carefully look over their ballots and vote without the stress of strangers'
eyes on them, or a long line waiting behind them. A relaxed and focused home voting environment is exactly what I would want
for my state, too. I want it for myself. I want it for my mother. I want it for my family. I want it for my friends. I want it for every
voter in Texas. I completely reject the philosophy behind SB 1 that our state needs to make voting more difficult. We need close
to 100% voting participation, and there is nothing in SB 1 that will help us get there. Our voting process is already secure; it just
needs to be more accessible.

John M Howard, Jr., Mr.
Myself as a Methodist
Houston, TX

Please focus on solutions for all voters so as to help restore the level of trust in Texas elections.
Also I hope the committee will acknowledge the magnitude of existing Election Code safeguards and transparency.

Joey Bennett
Secure Democracy
Austin, TX

Secure Democracy opposes SB 1 as written. We applaud the bill author for including provisions that would provide mail ballot
voters notice of minor errors on their ballot an opportunity to cure the issue. As engrossed, SB 1 would allow, but not require,
local election officials to notify voters of issues on their mail in ballots including missing or mismatched numbers - newly
required by Section 86.002(g); missing or mismatched voter's signature; missing or incomplete statement of residence; or missing
or incomplete witness information. The bill also allows election officials to mail the carrier envelope back to the voter to allow
them to correct and return the ballot before the close of polls on election day, or notify the voter of the error by phone or email
and inform the voter that they may come to the early voting clerk's office in person by the time the polls close on election day to
cure the defect or cancel their vote by mail application to allow them to vote in person. The bill also requires election officials to
provide notice of cure for all ballots if they choose to do so for any ballot; require cure to be completed by election day; allow
voters to correct an issue with ID numbers on their ballot application or ballot remotely with the online tracking tool enacted by
HB 1382 from this past regular session; and allow voters to use an ID number that identifies them, rather than needing to provide
the exact number they provided on the registration application.

We urge the House to take this opportunity to strengthen election integrity by making the following improvements to HB 1:
notice of ballot errors and cure should be mandatory. HB 3 currently has this requirement. Give voters 6 days after election day
to complete cure. HB 3 currently includes this provision. Require DPS to transmit ID numbers in its possession to the Secretary
of State to update voter registration records. SB 1 requires DPS to transmit voter signatures, so we believe adding the numbers
would not be burdensome. Give voters notice of number ID errors on ballot applications so they can use the remote system to
cure. Allow voters to cure other issues, such as missing statements or residence, remotely, via the online tracking tool.

The committee should oppose SB 1 unless the ID provisions and the cure language are amended to address the issues discussed
above, particularly since several of these improvements are in HB 3.

Scott Boykin
Self
Lampasas, TX


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Get this passed, and stand with the citizens of this great state to also proceed with FULL FORENSIC AUDITS of the 2020
election in Texas.

Penny Bradshaw, N/A
Retired
Spring, TX

To all members of the House Select Committee on Constitutional Rights & Remedies,

As a resident of the State of Texas, I am writing to request that all House Select Committee members vote AGAINST SB-1 in its
current form. As currently drafted, this omnibus elections bill will restrict voter access for many Texans. I ask that members of the
committee focus instead on SOLUTIONS for ALL voters; solutions that would help restore the level of trust in Texas elections.

Solutions to be considered:

•      The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. THESE ARE THE
KINDS OF SOLUTIONS THAT TEXANS WANT!

•       Poll watchers should receive required additional training and should acknowledge the integrity of the polling space by
executing an oath similar to election workers.

•        Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability
to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties - not optional.

•       Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that
allow blind voters a way to securely and privately vote.

•    ADDING ELECTRONIC VOTER REGISTRATION TO THE OMNIBUS BILL WOULD GREATLY INCREASE THE
ACCURACY AND INTEGRITY OF THE VOTER REGISTRATION ROLLS, AS WELL AS REDUCE COSTS.

Rather than passing this voter suppressing legislation, consider the magnitude of existing Election Code safeguards and
transparency. There has been no proven mass voter fraud in the conduct of elections in this state. This bill is nothing more than a
blatant attempt to keep people from voting by scaring them with the threat of increased criminal penalties, creating criminal
offenses and providing civil penalties. Please stop this charade.


Thank you,

Penny Bradshaw

Kathryn Oler
Self/Retired
Corpus Christi, TX

Representative Ashby and Representative Senfronia,
My name is Kathryn Schmidt Oler. I am a lifelong Texan who currently lives in Corpus Christi. I understand the significance and
magnitude of the existing Election Code safeguards and transparency and the work that lies before you.
I believe that your work during these public hearings is to hear our stories, that it is to guide the committee focus to solutions for
all voters and restore the level of trust in Texas elections.
As a retired educator who has taught several subjects at all levels of education, I know that there are opportunities for
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                    Case
As a retired educator   who5:21-cv-00844-XR          Document
                             has taught several subjects            117-4
                                                         at all levels       Filed 11/15/21
                                                                       of education,              Pageare265
                                                                                     I know that there        of 554 for
                                                                                                          opportunities
improvement at every level. SB 1 is no exception.
Upon my retirement to Corpus Christi, I searched for a way to give back to my new community. I decided that becoming a
Volunteer Deputized Registrar was appropriate for me. In 1971, I was part of the first class of 18-year-olds who were
enfranchised. Our student council at my high school in the Rio Grande Valley contacted the County and asked if we could use a
voting machine for our elections so that we would know how to use it when we voted. The County agreed and brought one of the
voting machines to our campus. If you’re of a certain age, you remember those giant behemoths and all the mechanical switches
that had to be flipped to vote. That experience left an indelible impression on me about voting.
Skip ahead a few years, or so, when I received a phone call from a local agency in Corpus Christi that provides services for
individuals with disabilities. It was about a young man, a boy really, who needed assistance to recover his identification
documents that were lost in a house fire, a house he was helping to remodel, stripping cabinets and floors with flammable
chemicals. The explosion sent him and his boss to San Antonio, airlifted to Brooks Medical Center in critical condition. When he
was released, he had no family, no job, no money, no food, no documents he desperately needed to get his life back. I drove him
to the Social Security office and stood in line outside to wait for his turn to enter the building. He sat in my car, the engine
running, the air-conditioner blasting away, and the windshield screen up so that the heat and the direct sunlight would not cause
him agonizing pain because of the incredible number of skin grafts it took to make him whole again.
If electronic voter registration had been available to him, imagine how it would have lessened the number of trips he would have
had to make in the heat and in offices waiting to get his life back together again.
I urge you to add electronic voter registration to the omnibus bill. It would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs, and for others like this young man, give back their lives safely and securely.

Mary Ann Carson
Self
Conroe, TX

Thanks for voting yes on this

Sydney Greenblatt
RAC-TX
Houston, TX

WE NEED SAFE AND EASY METHODS TO VOTE; I OPPOSE SB1
The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Cheryl Gaude, Mrs.
Self - homemaker
Tomball, TX
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Tomball, TX

I support this bill; please vote yes

Carolyn Carolyn
Self, Retired Child Care Director
Austin, TX

Dear House Select Committee on Constitutional Rights and Remedies,

Please focus on solutions for all voters in SB 1.

Existing Election Code safeguards and transparency are fine. They don’t need to be increased.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Thank you.

Sincerely,

Carolyn Croom

Kendra Mahoney
Self
Houston, TX

Please do not hinder people to vote legally. Elderly, those with disabilities, those with no access to transportation, those with jobs
that hinder voting, Those with no job and others who may not be able to get to the polls at the scheduled hours.
thank you.
Kind Regards,
Kendra Mahoney

Sandi Hebley, RN, LMSW
Self- Hospice Nurse Educator
Dallas, TX

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You are proposing to "fix" a problem which doesn't exist by making it harder for Texas citizens to vote. We need more options to
return mail ballots, since the USPS is being undermined. Poll watchers should not be able to intimidate voters or election
workers; they should be trained and deputized the same as election workers. Voters should be notified of any ballot that needs a
cure in order to be counted or any application that is incomplete and be allowed a process to effect that cure. Adding electronic
voter registration would greatly enhance the accuracy and integrity of the voter rolls, as well as reducing costs.I implore you to
help rather than hinder the process for Texans to cast their votes.

Flo LaCava
Self, writer and retired banker
Dallas, TX

Dear Committee, Do not mess with Texas voters. Any measure that restricts a single voter's easy access to their sacred right to
cast a ballot safely, is is unconscionable. The same goes for any threats, fears, or penalties that will degrade the public's trust in
our election systems further. I wish Republicans weren't being fear mongers, so devious and untrustworthy about this. It shows
deeply flawed character for Republican Congresspeople to go around saying there is fraud-fraud-fraud, unable to present any
proof. Their failure to protect and preserve this cornerstone of our democracy makes them unfit to represent me. I'm sick of The
Big Lie.

On SB1:
If you are like me and cherish your personal right to have say in our government, please focus on solutions for ALL voters, so we
can sell it that way.
Please work to restore a healthy trust in Texas elections.
Show Texans that you acknowledge the magnitude of existing Election Code safeguards, and transparency, and swear not to mess
with existing guardrails that are working.
Add electronic voter registration to the omnibus bill to greatly increase the accuracy and integrity of the voter registration rolls, as
well as reduce costs.
Also Re: Safety
I'm sorry, but Texas handling of the COVID Delta variant demands the need for safer methods of voting, now more than ever. We
need the safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots.
Every Texan I know wants this.
Re: Poll Watchers
To be effective, I believe poll watchers should be required to take additional specialty training and should acknowledge the
integrity of the polling space by executing an oath similar to election workers.
Re: Cure Process
Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform, and required of all counties.
Re: Blind Voters
Voters with disabilities need additional refinement of SB 1. Specifically, add provisions that give blind voters a way to securely
and privately vote.

Please set aside partisan nits, and honor your commitment to serve all citizens of Texas, on matters that impact all us.
Thank you.

Brenda Koff
Self. Retired
Grapevine, TX

I support SB 1. We need solid, indisputable election results.

I support a full forensic audit of the entire state of Texas 2020 general election results. Nothing less.

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Karen Thimad
Self
San Antonio, TX

Please Support SB1

Dawn Cochran
self
Bergheim, TX

This bill is obviously biased toward a political party's need to control the election process in Texas and not aimed at election
security. It should not be passed at all.

ashley bull
self
Dallas, TX

I am requesting the committee to focus on solutions for all voters and help restore the level of trust in Texas elections.
Furthermore, the Texas Covid epidemic highlights the need for safer methods of voting more than ever. We need the safer options
of expanding early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what
Texans want and need. There will be more pandemics. Many Texans are working two and three jobs plus just to make ends meet
and we need to provided convenient options for all Texans to cast their vote!

Mark Coulson
Self- Adjunct Professor of History
Waxahachie, TX

I support this bill. The majority of Texans support the aspects of this bill. 80% of Texanssupport voter ID. This should be
passed without amendments.

Susan Millea
self, health analyst
Austin, TX

To whom it may concern, I recognize that this bill is intensely politically divisive and I find that deeply regrettable. Now in my
60s, I have spent nearly equal portions of my adult life as a Democrat and a Republican. That likely makes me a political
moderate. The right to vote is the cornerstone of our democracy and protecting voting security is an essential task. That said,
attempts to dramatically shape voter access in Texas through this legislation go far beyond what any reasoned assessment of
recent election data would suggest is needed. This results in the conclusion that these efforts are far more politically motivated
than they are tied to valid voter security issues. Recognizing that this legislation will be passed, I ask that you consider the
following to reduce the potentially negative impacts of this legislation on voters:

During the last national election I was terrified standing in line outside for hours waiting to vote early because I have an
underlying health condition, but I did not qualify to vote by mail. Please include safer options of expanded early voting, including
extended hours at polling places, and more options to return vote by mail ballots. I saw people with canes and in wheel chairs as I
stood to vote, it was pathetic to know that we lacked better options. SB1 needs to include accommodations for persons with
disabilities to safely and securely vote. SB 1 added the ability to cure incomplete applications or ballots to the electronic ballot
tracking system approved in the 87th regular session, however I don't believe there is a mechanism in place to alert voters that
there is a need for a cure. I believe House action can address this and provide for a uniform process across all counties, and
provideon:
Printed  clear  instructions
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                                      AM to voters.
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provide clear instructions of the process to voters.Document 117-4 Filed 11/15/21 Page 269 of 554

Adding electronic voter registration to the Omnibus bill would acknowledge the efforts the state of Texas is making to ensure
internet access for all across the state. It would also greatly increase the accuracy and integrity of voter rolls, and with a 21st
century monitoring system make upkeep of current voter roles more manageable.

Finally, I am concerned about the expansion of the role of poll watchers without clear guidelines for their behavior. I am
particularly concerned about the physical security of voters and the potential for voter intimidation and the potential for violence
in such a heated political climate as we are experiencing. I have experienced some aggressive campaigning which felt
intimidating by partisan advocates at polls even though they maintained their required distance. I urge you to include
requirements for poll watcher training, the inclusion of specifications to respect the integrity of the polling space, and an oath
similar to that taken by poll workers.

Joanne Doherty
Self
Houston, TX

I appeal to the committee to consider the needs of all voters. In today's world, many people work odd hours or two jobs. So
many are caretaking children or elders. Expanded voting hours give these people an opportunity to participate in democracy.
There is no reason that expanded voting hours will create fraud. Do everything necessary to make expanded voting hours secure.
Years of work by Texans have made elections safe and secure, and the committee should recognize this fact.
If the committee wants poll watchers, they should be trained and non partisan. Allowing partisan poll watchers with no training,
and no supervision, is a set up for intimidation. Please improve Texas voting by ease of registration, expanded hours, no criminal
penalties for volunteers, and encouragement of mail in voting.

Mary Ann Mitscherling
Self
Houston, TX

I am now 78 years old and have voted by mail as soon as I became eligible. Too frequently I was surprised by items I had to vote
on that I had not researched. My designated voting area has changed over time even though I have lived in the same house. The
available research sources made no mention of the new items. This all changed when I became eligible to vote by mail. I was
able to research every candidate and option available to me with more than enough time to decide the best use of my vote. It was
like day after night. I became less frustrated and more interested in participating in my right to select candidates and to express
my opinions. It is incomprehensible to me that our representatives would deny anyone the right to use a mail-in vote, especially
during the pandemic. It is convenient, secure and cost effective. With all we have to deal with now, making voting more difficult
is unamerican! I am ashamed of our representatives who foster this farce.

Janine Chapa
Self
Georgetown, TX

Integrity, unfortunately, is something that shouldn’t have to be governed. We should be able to trust one another without fear of
retribution or retaliation. Integrity is about fair and honest dealings and it is about TRUST. A virtue, unfortunately, that no longer
exists. I support SB 1 because of its intent to protect my vote along with every other legal voting citizen. Everyone, regardless of
age, sex, race, ethnicity, or political affiliation, should be interested in INTEGRITY in our elections! Integrity of elections is not
about SUPPRESSING the vote as some on the other side of this debate would argue it’s about PROTECTING our vote! It’s about
making sure OUR Vote can’t be manipulated, flipped, erased, or deleted. To allow these practices would be SUPPRESSION!
Suppression of the people’s right to vote for WHOM they choose! There are people who say that integrity is a suppressor of the
elderly or disabled’s right to vote I wonder if those people have taken into account that those are the votes being manipulated. Our
elderly and our disables are victims of voter fraud. Just ask Rachel Rodriguez, who was arrested by AG Paxton's office for illegal
voting, unlawfully assisting people to vote by mail, and ballot harvesting. She preyed on the elderly for their vote. We know
fraud exists as self admitted, by Senator West at SB1 Senate hearings when he said, “ we know there is fraud we just have to
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fraud exists as selfCase   5:21-cv-00844-XR
                     admitted,  by Senator West at SB1Document      117-4 when
                                                          Senate hearings    Filed
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                                                                                    said, “ we know    270
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accept that a certain level of fraud exists.” So how much fraud do we have to accept: enough to change a school board race,
enough to change a State Rep race, a Governors race or perhaps even a Presidential race. Well i disagree! Zero amount of fraud
should be tolerated no matter the race; and all of you should be horrified at the thought that a sitting Senator would say such a
thing because now it makes me wonder is this a prevailing thought amongst our leaders here in the Capital. Some fraud is
acceptable as long as you don’t get caught. I’m from the Rio Grande Valley and I have seen first hand people who want to come
to this county for the ideals of life, liberty and the pursuit of happiness because we aren’t CORRUPT like the country they come
from. It saddens me to think that we would forgo our right to Liberty, fair and honest elections one person one vote because we
want to give people 24/7 access or a drive thru capability. People have died defending our right to vote and to cheapen the one
most sacred rights we have by marginalizing it down to a wham,bam, thank you Mam is downright criminal! All of you should
want Election Integrity, all of you should want to know that every legal vote counts and all of you should want the ability to audit
the vote because the next race where someone has to “accept” fraud just might be your own! I support SB1 and let’s audit the
votes!

Beth Schneider
Self
HOUSTON, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Bev Gavenda, Ms
Self-retired
Austin, TX

SB1 only causes voting to be more difficult not any safer. You should look at how well the voting part of the 2020 election went
and capitalize on each of the methods used to help voters vote and become heroes to all Texans!

Annie Crowder, RN
Fredericksburg Tea Party
Fredericksburg, TX

I am unable to meet in person today but thank you for considering my written comments about voter integrity. My name is Lu
Crowder. I moved to TX full time in December 2020 after residing primarily in TN for over 40 years. I first came to TX with my
husband when he was stationed at Bergstrom AFB as the Vietnam conflict was winding down and loved Austin and Texas right
away. I’ve always felt a greater sense of personal freedom and state sovereignty here and that is what drives my support of SB1.
Election integrity ensures the right of every citizen to participate in guiding the direction of our government. In the absence of
election integrity our very liberty is threatened. The push toward federalizing elections, or even allowing the federal government
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election integrity our   very5:21-cv-00844-XR         Document
                              liberty is threatened. The push toward117-4     Filedelections,
                                                                       federalizing   11/15/21      Page
                                                                                                or even    271 ofthe554
                                                                                                        allowing     federal government
to restrict states rights for determining reasonable voter laws, must be resisted.
The Texas Bill of Rights declares that: “All political power is inherent in the people, and all free governments are founded on
their authority, and instituted for their benefit.” Tex. Const. art. I, § 2.
That is why it is incumbent upon the Texas Legislature this session to ensure that elections are free, fair, and secure.
I participated in the Nov 3 2020 vote count in TN and, though I did not witness any voter fraud, I saw clear opportunities in the
curing of unclear ballots. Integrity of the vote requires clearly described counting processes, a balanced representation of all
political parties, and solid supervision on the floor. Mail in ballots pose the greatest risk as many do not include down ballot
selections or even clear selections at the top line. Though I did not see any in TN, I’m greatly concerned about ballots that appear
to be mass produced or altered in any way. And, of course, curing of unclear ballots must meet strict standards and sound peer
review.
I believe that TX voter integrity is strengthened by SB1 and provides voting options that will not lead to legitimate voter anger or
fear but will allow for free and fair elections accessible to all. I feel there is likelihood that our 2020 legal votes were diluted by
illegal votes and the consequences are currently playing out on the news before us. Our duty to voters is to get this right and we
cannot give the Federal Government the leverage to do otherwise!
We can get this right by ensuring that
i) all eligible voters are given ample opportunity to vote,
ii) voter rolls are accurate and current before the election and not after,
iii) polling locations are placed in a nondiscriminatory manner;
iv) the procedures and processes of elections are general and uniform throughout the state so that all voters feel they had a fair
opportunity to have their voice heard.
I support the power delegated to the states through the Tenth Amendment and our voter integrity legislation. SB1 will prevent bad
data, lack of voter ID and unreasonable expansion of receipt deadlines for mail-in ballots that led to recent problems in PA, VA,
AZ & GA. Thank you.

Kathy Blackburn, Mrs.
Self. Retired
Austin, TX

My parents raised me to value the right to vote. I make every effort to keep informed on current issues and make it a point to vote
in local and national elections. I have always preferred early voting. The number of early voting days and the hours polls are open
should both be increased. Poll watchers should receive required training regarding the integrity of the voting space and should be
required to take an oath, just as poll workers do. As a voter who is blind, I especially value the independence and privacy the
accessible electronic voting machine has given me. I fear that provisions of SB 1 will rob me of that privacy, independence, and
dignity. My age qualifies me for vote-by-mail, but as practiced in Texas, there is no accessible means for a blind voter to vote
privately and independently by mail-in ballot. Other states, such as Virginia, have found ways to make voting by mail accessible.
Please, committee members, focus on making voting safer, more available, and more accessible to all.

Gerald Dietz, Mr.
Self
Taylor, TX

Election Integrity is at the heart of our Country. I believe that the last election was stolen. I believe it was stolen at the county
level. I even heard Biden say this and I heard it more than one time. We need this to bolster the system. We also need to audit
each and every county in the state.

Christine Koepke
Self
San Antonio, TX

Supprt this bill!
Please amend to include full forensic audit of the 2020 general election (including down-ballot races).
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Supprt this bill!
Please amend to include full forensic audit of the 2020 general election (including down-ballot races).
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Kaye Holland
self / Retired public school teacher
Wichita Falls, TX

I have worked as an elections worker in past elections. Those workers put in 14 hour days or even longer. I am quite concerned
about the impact of these election restrictions on election workers. They perform an invaluable service. They do their best to
help the voter. They are tasked with duties that require strict attention to following the rules. I am personally worried about the
impact of these poll watchers may have. We do not allow cell phones in the voting area, nor do we allow the media. Yet, these
poll watchers can be allowed to intervene in that area.
Many of our voters need some assistance. It can be as simple as reading the ballot, or helping them to a machine inline with the
heighth of a wheelchair. Some voters need more assistance. These new restrictions will have an impact on voters with
disabilities.
You are reading my comments now. You have my information now. It can all be checked quickly to verify that I am who I say I
am. This commentary has been submitted electronically. Yet, Texas does not allow electronic voter registration. Many people
pay all their monthly bills electronically and have few problems. We can renew our drivers license online. Why not give voters
in Texas this same convenience?
As you well know, the pandemic in Texas is not letting up. Voters need be considered in making elections procedures matching
with CDC procedures. We are losing too many Texans already without exposing them unnecessarily to more contact with this
rampant virus. That is why voting by mail is important to many people and needs to be convenient to all voters. Consider our
older voters who do not have access to printers to make copies of identifying information. Please keep our more vulnerable
voters in mind as you get ready to pass more restrictive voter access in Texas.
We need our legislators to be working for Texans and not against them.
Please give this matter prayerful consideration.

Thank you,

Kaye Holland

Mary Anne Mayer Redmond
Self -- Wealth Management
Addison, TX

I ask you to serve the spirit of democracy and make voting accessible, clear, and safe for our citizens. This includes all those who
are eligible voters. Expanded voting hours so those who are unable to come to the voting location during their work hours, can
vote. Fair, clear, instructions on how to vote. Safeguards at the voting location so you keep it free of attempts to skew the
outcome. That means poll watchers have the correct training and take an oath that protects the voting public from those who have
political partisanship as their motive. Secure electronic voting. Purposely restricting access to voting is against the laws of the
Divine upon which our country is founded.

Francis Tyminski, CW3 USA (Ret)
self, retired
Rockwall, TX

Anyone claiming this law will stop them from voting should prove it happened.

My vote needs to be secured against those cast fraudulently. My right to vote deserves respect. I vote regularly as a duty of
citizenship. I remain informed and research issues and candidates individually prior to voting.

I served The Nation for 20 years in the US Army and saw countries where the right to vote was new. I witnessed first hand, folks
risking their lives to cast legitimate votes.

It is not too much to ask our voters to be identifiable, validated and motivated enough to cast a ballot in person when physically
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It is not too much Case   5:21-cv-00844-XR
                   to ask our                       Document
                              voters to be identifiable, validated 117-4   Filed enough
                                                                   and motivated  11/15/21
                                                                                        to castPage   273
                                                                                                a ballot    of 554when physically
                                                                                                         in person
able. Two weeks is adequate to provide alternate times to vote.

If one has the will to vote they will find a way.

Talk of voter suppression has not been supported by facts. Instead of perpetuating politically motivated talking points, demand
debate and proof. Merely saying “Jim Crow 2.0” is ingenuous and unsupported.

Ballot harvesting must be illegal. Voter roles should be clean.

States set voting procedures, not the federal government.

Elected representatives should not run from debate, or exercising their vote.

In Service,
Francis J Tyminski
CW3 USA (Ret)

Sarah Levenick
Self, Business Coordinator
Bryan, TX

It is more important than ever to maintain and increase the integrity of elections. That is why we should focus on making it easier
for our citizens to vote in free and fair elections, not harder. Time and time again, the statistics have shown that voter fraud is not
a major problem but voting access is! For the health of our democracy, please vote against SB 1.

Leslie Anthony
self
San Antonio, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Eva Esparza
self
AUSTIN, TX


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Please vote against SB 1. It's a flawed bill that will make life harder for Texans. Most Texans have a job, run a business on the
side while caring for kids and parents. SB1 hurts the elderly, parents, people suffering from cancer or other illnesses, disabled
people, caretakers and people who live far from where they work... just to name a few groups that will be harmed. What in this
bill improves the election process, saves money or increases voter satisfaction and participation? If the objective is improving
election integrity, what metrics will be used to measure the effectiveness of this bill? What is the current baseline? It's
disappointing that our lawmakers are not making the lives of Texans less stressful by providing drive through voting /drop off,
universal Voting by Mail and automatic voter registration.

Neil Cohen
S/E
Austin, TX

Do not disenfranchise Texas voters under the pretext of making elections more secure. Instead, strengthen democracy by making
it less burdensome to vote. The repeated claims of a stolen election are "the Big LIe." Several Trump administration officials,
including the Att'y General and a top-ranking security official, have declared the 2020 election the most secure ever. Having filed
a 47-page grievance with the Texas Bar against Ken Paxton for his lawsuit to overturn the election, I know that his factual claims
of "voting irregularities" (not even Paxton would go so far as to claim outright fraud) were false and had been thoroughly
discredited at the time of his filing. Instead, Paxton principally relied upon the argument that votes cast according to the rules
implemented by courts and election boards should not be counted because of an absurd legal theory. Paxton faces discipline from
the Texas Bar for his false claims about the election. Don't let the many other false claims about insecurity result in
disenfranchising Texas voters.

Ida Miller, Ms
Self
San Marcos, TX

Every citizen eligible to vote should have equal opportunity without intimidation or inconvenience. Make election day a holiday
for All workers, or make voting accessible to ALL voters. Talk with voters to discover their circumstances, all kinds of voters.

Marguerite Scott, Mrs
self, Licensed Clinical Social Worker-Supervisor
Houston, TX

Our county election departments in Texas know how to conduct safe and secure elections that make voting available to the
registered voters of their county.
Stop from passing this bill that creates fear instead of acting from facts.
Trust the county election departments to know what their registered voters need to have voting accessible given the range of
factors in each county.
You know that what is needed in Bailey County is different from Harris County.
Thank you for avoiding fear based decisions and going with trusting the competent staff in county elections departments.

Linda Hanratty
MYSELF
FORT WORTH, TX

Please focus on solutions for all voters and help restore the level of trust in Texas elections. The Texas Election Code already has
safeguards and transparency as evidenced by the successful election in 2020.


The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded
Printed on:early voting,
            August       extended
                    30, 2021  11:32hours
                                    AM at polling places, and more options to return vote by mail ballots. As a 70 plus Texan with
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expanded early voting,      5:21-cv-00844-XR         Document
                                    hours at polling places,      117-4
                                                             and more       Filed
                                                                      options       11/15/21
                                                                               to return vote by Page  275 of
                                                                                                 mail ballots. As554
                                                                                                                  a 70 plus Texan with
type-2 diabetes, it is particularly important to me to be able to vote safely.

To be effective, poll watchers should be required to attend additional training and should acknowledge the integrity of the polling
space by executing an oath similar to election workers. Uninformed poll watchers pose a danger to the election process.

A cure process for applications for mail ballots and for the returned mail ballots is needed. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, voters
must be alerted to the need for a cure and given clear instructions for making sure their vote counts. Such a process should be
uniform in all counties, not optional.

Blind voters must be given a way to securely and privately vote.

Adding electronic voter registration would greatly increase the accuracy and integrity of the voter registration rolls, as well as
reduce costs. Our election process must move into the 21st century.

Mike Badzioch, Mr.
Self, retired
Houston, TX

I request the committee focus on solutions for all voters and help restore the level of trust in Texas elections as well as
acknowledge the magnitude of existing Election Code safeguards and transparency.

Edwin Scott Elphingstone
Self. Retired
Dallas, TX

I oppose this bill. I have heard no evidence that there are integrity elections in Texas, although I do wonder about small rural
areas that always seem to vote the same. We should be moving toward automatic voter registration and actions that increase
turnout and not those that impede it. I oppose the expansive rights given to poll watchers. I am entitled to a private vote and
don’t need them around to interfere. Election judges should be given the right to control their behavior including evicting them if
they are disturbing the peaceable voting process. Texas history in trying to limit access to polls of anyone who might not vote in
the interests of the party in power is not one to emulate. The US and Texas is great because of the energy and creativity of all its
citizens. The more of them who vote, the better we all are.

Connie Hamilton
Self
Grand Prairie, TX

There is nothing in this bill that would make it harder to vote. If you want to vote in Texas you have many opportunities. IDs
should always be required! Those who are against this bill want to find ways to cheat and steal elections! We see through your
schemes!

Marvin Wofford
Self - retired
Austin, TX

As a white Male on my early 70s, I would like to express my sincere disappointment in the attempt to make voting more difficult
for a variety of Texans. Please scrap these voter suppression bills. If anything, work in a true bipartisan manner to craft a bill that
makes voting easier for everyone. Thanks very much.
Marvin Wofford
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Barbara Cager
Self
Fort Worth, TX

•        Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
•        Acknowledge the magnitude of existing Election Code safeguards and transparency.
•        Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability
to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.
I am a senior citizen, if there is something incorrect on my registration form please allow me the opportunity to correct it prior to
election day. Help my vote to count!!

Ronen Wenderfer
Self-Student
Houston, TX

My name is Ronen Wenderfer, and I am here to register my opposition to Senate Bill 1. While I appreciate that SB 1 increases the
minimum number of voting hours for early voting, it also creates restrictions that limit the maximum number of voting hours and
at which times voting is allowed to occur. The restrictions against 24 hour voting in this bill place an unnecessary burden on
Texas voters wishing to exercise their civic right to vote.

I am a high school student at the Kinder High School for Performing and Visual Arts in Houston. I have not yet been eligible to
vote in the past, but if this hearing was taking place next Friday, I would be submitting this testimony as a proud registered voter.
As a member of my school's Theatre Department, I, along with many other students at my school, am often involved in various
afterschool rehearsals, a vital part of my education at a performing arts school. These rehearsals regularly last late into the
evening and I usually do not get home until after 9 pm. This alone would make it difficult to get to my polling place.
Furthermore, the time period over which early voting occurs coincides with fall performances, when many more students have
after-school commitments, and rehearsal lasts until 9 pm. While not all Texas students are involved in theatre to the extent I am,
many are involved in afterschool activities or sports with similar time commitments.

Short voting hours are often criticized because they force people to decide between their job and voting, a choice that many
cannot afford to make. Similarly, I do not have the ability to decide not to attend school. Even if I were able to convince the
school to excuse the absence, I would still have the burden of catching up on what I missed. Schoolwork and other commitments
fill up most of my days, leaving a very small window during which I am available to vote, and the state government restricting
the time when I can vote creates barriers to voting and makes participating in our democracy unreasonably difficult. However,
thanks to 24 hour voting, I have the opportunity to get a full high school education and be able to exercise my civic duty of
voting, without choosing between the two. It is for this reason that I oppose banning 24 hour voting and ask you to remove
language restricting voting hours from Senate Bill 1. Thank you for working to ensure that every Texan's voice is heard.

Terri Davidson
Self
Merkel, TX

Texans are fed up at this point. I along with many are demanding a forensic audit. I live in Taylor county where the numbers do
not match! You can not have over 100% and claim our election was great. This is not about any party, we demand honesty,
integrity, and our right to know the truth once and for all. Also, you can not take secured measures unless you know beyond a
shadow of a doubt what transpired November 2020! And without a forensic audit we will not have the entire truth! You should
not have to be made aware or reminded that everyone of you work for We The People, not the other way around. I believe we
have been attacked by cyber warfare and it is your job to find out the truth for all Texans! We are not going away until this is
accomplished! Thank you.
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accomplished! Thank   5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 277 of 554
                    you.

Karen Stuart
self
Fort Worth, TX

Dear House Select Committee on Constitutional Rights & Remedies:

I want to ask you to help restore trust in the election system by making it a safe environment, free from any personal, or political
attacks or allowing partisan bullying while placing our votes.

I understand that the voting rights for all are sacred, and endowed for everyone of us. Please ensure that enough voting rights
polls and equipment is available to everyone, everywhere. Please don’t pass legislation that interferes in the treatment of non-
white voters. Please keep voting rights easily available to everyone.

We are in the midst of a dreadful pandemic, and it is very important to keep open additional voting requirements, such as
extended hours, drive-thru voting drop offs, and additionally trained representatives who are able to explain any questions voters
might have. In addition to this, it is imperative to make mail in voting easy, and to ensure that disabled people are not adversely
affected. I have Parkinson’s and may soon be unable to complete paperwork without help, so please don’t make it difficult for
someone to provide me and others, care and assistance as long as they do it for your purposes. Please add requirements for voters
to be notified in writing when or if there is a problem with their ballot so that they have time to correct. Please ensure that blind
voters have the ability to complete this task.

Please be sure to include electronic voting registration so that all voters have a chance to be included, and to more accurately tally
voter registration information.

In addition, my most important request is that you please make all voting on paper ballots, that can be originally scanned for
accuracy, and do not use voting machines which can be manipulated. Please require that no person’s vote is connected to the
internet, and is privately held within our state.

Thank you for your consideration,

Karen Stuart

Bruce Arnestad
Retired
Plano, TX

It is essential to have a truly democratic nation! We need to have accurate voting results to be assured that all genuine United
States citizens are allowed to vote. Each individual should be only vote once. To not vote "Yes" on this bill would mean you
support dishonesty and want our democratic nation to become a socialist country. Please vote "yes" on this bill!

Lynne Quinn
self
El Paso, TX

I support voter ID for elections. In Texas it is easy to get an ID so it is not a hindrance to voting. There are several kinds of Texas
ID's other than driver license that are available to use for voting. I support the prohibition of vote harvesting. Fair elections are
important for our democracy.

Rebecca White, Mrs
Self
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Self
Arlington, TX

Voting is our most sacred right! As a Tarrant County resident I feel there is tons of fraud! Everyone should support election
integrity and security - those that don’t have something to hide. There needs to be an audit in the top 13 counties MINIMUM, we
need paper ballots, and to prosecute fraud to the highest extent. I support this bill at a minimum, and any politician who does
NOT support it will not be a politician much longer when it comes time for their re-election. Texas is fed up and we want to lead
the way in election integrity!!!

Frances Elaine Laisure
Self - Retired Computer Software Supervisor
Weatherford, TX

There is no fraud in the elections. Republicans must stop lying about fraud and the Jan 6, 2021.

Hal Jennings
self
Austin, TX

As a frequent election judge and clerk, I am very concerned about the provisions in this bill that allow poll watchers to disrupt the
polling place with little or no accountability and other provisions that make it too easy to impugn and fine poll workers. It is
already too difficult to find people to work as poll workers and threatening them with legal repercussions for making minor
mistakes is going to make it even harder to staff the polls with qualified workers.

Gwen Renée Schalk
Self
Georgetown, TX

I have a he following comments:

#1. Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.

#2. Acknowledge the magnitude of existing Election Code safeguards and transparency.

#3. Don't forget to include any personal stories you may have! And be sure to make your comments as an individual, not as a
representative of the League.

In addition, adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls and reduce costs.

Geri Neemidge
Self / Librarian
Round Rock, TX

We all know Texas elections are safe and virtually fraud free. What Texas should focus on now is improving our voter turnout.

40 states allow voter registration online. Online registration would improve our voter rolls as it would be easier for voters to
update their addresses when they moved. Also eliminating the need for the Secretary of State's office to enter all the new
registrations will save us money and improve accuracy.

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Expanded early voting hours are also needed especially for our valuable first responders and medical professionals who work
around the clock.

Poll watchers need to take that job seriously. They should be required to swear an oath like election workers do as well as
complete training beforehand.

Carolyn McClugage
Self
Leander, TX

We The People have a right to expect fair, honest and transparent elections. And...We need stiffer penalties for those who commit
any kind of fraud against our election system.
This is not a Republican or Democrat-Socialist thing. I ask...why would anyone NOT want trust and integrity in our election
process??? Speaks volumes!

I am in favor of SB 1

marjorie meyers
Self, attorney
Houston, TX

We need safer and more extensive voting, not restrictions. Poll watchers should be trained and acknowledge the integrity of the
polling place by executing an oath similar to election workers. We need a complete cure process for applications for mail ballots
and returned ballots. The bill needs to protect the rights of the disabled. Voters should be able to register electronically.

Priscilla Schmitz
Self, retired federal employee
Dallas, TX

Any changes to the voting procedures must make voting more accessible to ALL the people in Texas while maintaining integrity
and transparency. We have adequate systems in place now to prevent abuse, and no proven history of voter fraud.

The COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of expanded
early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans want.

To be effective, poll watchers should receive required additional training and should execute an oath similar to election workers.

There should be a cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
mandate the uniform process in all counties.

We have a number of elderly and disabled voters. They need additional refinement of SB 1. Specifically, the House can add
provisions that allow visually impaired voters a way to securely and privately vote, and all polling places should have areas that
are handicap accessible.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

We have a number of elderly, disabled, night-shift workers, and citizens with transportation difficulties. Opportunities to vote
must meet the needs of all. Expanded hours, convenient polling places, convenient ballot drops and expanded early voting
timeframes should be the norm.
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timeframes shouldCase
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                        norm.            Document 117-4 Filed 11/15/21 Page 280 of 554

ANA LUISA SALAS-PORRAS
SELF/RETIRED
AUSTIN, TX

The Texas COVID epidemic highlights the need for safer and more convenient methods of voting more than ever. We need the
safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These
are what Texans want. Drive-thru voting allowed parents with young children to vote without having to find childcare. 24-hour
voting allowed shift workers to more easily vote. Please make voting easier and more inclusive. Election fraud is almost non-
existent because there is no money in it unlike other fraudulent activities. Any change in election law should be based on non-
partisan, facts and should not be political. Texas voters deserve fair, just laws that serve the every, single voter.

As a former election judge, , I believe poll watchers should receive required additional training and should acknowledge the
integrity of the polling space by executing an oath similar to election workers. The presence of untrained poll watchers is
intimidating to election workers as well as voters.

Please do the right thing for Texas voters.

Gordon Peterson, Mr.
Infopoint Corporation (but retired)
Farmers Branch, TX

I think it is critical that elections be conducted fairly. I don't want to see ridiculous limitations and difficulties thrown in the way
of people trying to exercise their right to vote, and to have that vote COUNTED FAIRLY. By the same token, I want to see an
END to partisan gerrymandering. Our representatives in our government ought to fairly represent the feelings of the voters. I
also think that a signed voter registration card ought to be a perfectly adequate voter ID; a properly matched signature is a
BETTER personal identifier than a photo is (twins could look the same, but their signature will still tell them apart... and cutting
or coloring or styling hair, or shaving a beard, will make the photo look VERY different, but the signature will still identify the
voter.

Stacyew Anderson
self
Houston, TX

I respectfully request that the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
There are so many existing Election Code safeguards and transparency is critical!

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what all
Texans want, both conservatives and liberals.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers. I have been a volunteer at the polls and seem poll workers who
clearly have a political position harangue those they ASSUME believe differently whether it was accurate or not.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote. Also, my aunt had to vote curbside in the last election because she was dying of
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voters a way to securely 5:21-cv-00844-XR
                            privately vote. Also,Document
                                                 my aunt had117-4     Filed 11/15/21
                                                            to vote curbside              Page 281
                                                                             in the last election     of 554
                                                                                                  because she was dying of
cancer. She was of sound mind but not body. Please do not take this right away from those who are physically unable to walk
into a polling place.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs. Everything is done on line now. There is no excuse that this not be available.

I respectfully request you consider this input. I am an active volunteer in my community and take my right and obligation as a
citizen to get informed and vote seriously. I believe further voting restrictions will hurt both conservative and liberal candidates as
most people just want to vote for the candidate of their choice with as little hassle as possible, regardless of their party affiliation.
Stacye Anderson

Bill King
self, retired-judge
Austin, TX

Let's not make the cure worse than the disease. AG Paxton has spent over 20,000 staff hours searching for voter fraud. He was
able to find fewer than 100 improper ballots out of tens of millions cast. There is not a significant problem with our existing
voting system in Texas. That should end the discussion, but it won't.
I would like to highlight the issue with election workers and partisan poll-watchers. I have been an election judge. In Travis
County, there is one Republican and one Democratic election judge at each polling site. This is an already existing procedure to
prevent fraud. Election judges and clerks are volunteers or minimally paid. They work 14 hour shifts, typically. They are not
perfect, but as Paxton has already shown, there is no evidence of significant fraud. Partisan poll-watchers will add nothing
positive to an election but could intimidate potential voters and discourage people from working as election judges or clerks. If
there not enough judges and clerks, then there will have to be a reduction in polling sites (it's just arithmetic). Reducing polling
sites has been proven to reduce voting. I wonder if this might be the real reason for releasing hordes of under-trained partisan
poll-watchers.
Even if that is not the intent, what SB1 does is potentially disenfranchise tens of thousands of legitimate voters to prevents tens of
improper votes. There is no legitimate need to drastically put obstacles in the path of people wanting to vote. I urge all members
of this committer to do what they know is fair, based on reality, and reject SB1.

Kay Koster
Self
New Braunfels, TX

Please amend SB1 with SB26 for a full Forensic Audit. Please eliminate the following:
1. Voting machines of any type and company for paper ballots only.
2. drive thru voting.
3. Absentee voting except as outlined by state law.
4. Drop boxes and mail-in ballots except when requested

Also please push for one day voting and make it a holiday. Also easier access at physical locations for seniors to vote. Thank
you for your time.

Carol Eaton
Self/Software Developer
Denton, TX

I am so new to this it's not even funny. My very first attempt to publicly and formally address an area of great concern to me and
to most voters. It's hard to imagine that someone who goes to the trouble to drive to their polling station, stand in line, fill out
and submit their ballot would not care deeply that their ballot is handled in the most forthright, transparent and lawful way
imaginable, to make sure their vote counts exactly as intended. This has to be one of the most important issues of the day! I
urge all of you, including my senator, Jane Nelson, to do everything possible to secure election integrity. Thank you!!
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                   Case 5:21-cv-00844-XR
urge all of you, including                       Document
                           my senator, Jane Nelson,            117-4possible
                                                    to do everything   Filedto11/15/21     Page
                                                                               secure election     282 ofThank
                                                                                               integrity. 554 you!!

Claire Marten, Dr
Self. Pharmacist
Humble, TX

Dear State of Texas House representatives:
I urge you to seriously think about your efforts to suppress voting rights by voting for SB1. You will not be remembered fondly in
history. This bill is being advocated for by Republicans under the guise of “election integrity.” Yet election fraud continues to be
something that receives a lot of press but rarely ever happens. As a pharmacist working in the Texas Medical Center, the ability to
vote at a location close to work and at extended hours was exactly how voting should be. Efforts to restrict hours that every
county across the state has to follow is nonsensical. Consider doing something your grandchildren will be proud of and can say
their grandparents actually stopped efforts to promote discriminatory voting bills, rather than continuing to promote a false
narrative.

Jan McDowell
self - retired
Carrollton, TX

I would like to urge you to vote in opposition to SB1 on election regulations.

The overall goal in any election should be to determine what is the will of the majority of voters in Texas. In order to do that, all
eligible voters must be able to cast a ballot, and ease of access is paramount. At the same time, the people of our state must have
confidence that their votes count, and that the results are fairly reported and certified.

If someone who is ineligible does in fact vote, that skews the result. Thankfully, the data show that this happens in a minuscule
number of cases. On the other hand, if someone who is eligible is prevented from voting, that also skews the outcome. Tragically,
that is happening at an ever-accelerating rate. With the current rules in place in Texas, voters face many hurdles to voting. SB1
would only magnify those deterrents to voting.

As a white Texan, I have never encountered intimidation at the polls. But I am horrified to learn that for non-white Texans,
intimidation is all too frequent. The proposed relaxation of rules limiting the access of poll watchers is unacceptable. A poll
watcher currently is denied any right to speak to anyone other than the election judge. And they may certainly not approach a
voter. The new proposed rules would give them much more freedom to insert themselves into the voting experience. To the extent
that they could make any voter uncomfortable, those rules must not be adopted.

Let’s focus our efforts on the true purpose of elections...learning the will of the majority of Texas voters. All Texas voters.

William Maina
Self--Retired
Dallas, TX

•      I am concerned that poll watchers will interfere with the smooth functioning of elections. Poll watchers should receive
mandatory training and should acknowledge the integrity of the polling space by executing an oath similar to election workers

Marston Meador
Self, retired
Carrollton, TX

Safer methods of voting are needed more than ever, in light of the Texas COVID epidemic. These include safer options of
expanded voting, extended hours at polling places, and more options to return vote by mail ballots.
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Safer methods of voting are needed more than ever, in light of the Texas COVID epidemic. These include safer options of
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expanded voting, extended  hours at polling places,Document    117-4to return
                                                    and more options    Filed vote
                                                                              11/15/21     Page 283 of 554
                                                                                   by mail ballots.

William Maina
Self--Retired
Dallas, TX

•.To help keep Texans safe at the polls in the era of COVID, we need to expanded early voting, extended hours at polling places,
and provide more options to vote by mail.

Roy Avery
self --- Retired
Spicewood, TX

I support SB 1 and want it to move forward as is.

Cameron Samuels
Self / Student
Katy, TX

REGISTERING AGAINST SB 1?

My name is Cameron Samuels, and I am a student from Seven Lakes High School? in Katy. During the 2020 election, my great
uncle and great grandmother both participated in drive-thru voting in Harris county. One was recovering from a stroke and could
not drive to the polls, and the other had just turned in their car as they were approaching older ages. One was a Republican, and
one was a Democrat, and they both went to vote together when my great aunt drove them. If Senate Bill 1 were to be enacted, it
would be more difficult - or simply impossible - for my family to be able to vote as they did in the 2020 election. Alternative
methods could have included mail-in voting, but this was falsely seen as insecure, not reliable, and illegitimate. In addition to this
nervousness, Senate Bill 1 would further contribute to the already difficult process of voting by mail. It is clear that this
legislation is in direct response to how many urban Democratic counties had acted in the 2020 election, making Senate Bill 1
extremely partisan in its roots. There are so many more reasons as to why this bill would suppress my personal and my
community's freedom to vote, including the impact it has on academic students, minority communities, and extended shift
workers. We must say no to voter suppression, and we must cherish and promote the freedom to vote in Texas and in America.

Thank you so much,
Cameron Samuels
Fort Bend County

Richard Morgan
self
Austin, TX

SB1 is an affront to democracy in Texas. Despite sponsors and supporters claims, this bill will make it harder to vote in Texas and
allow intimidation of voters by so-called poll watchers. In modern times there has been no significant voter fraud is Texas. This
bill's only purpose is to make it more difficult for Texans to vote.
If the Texas Legislature is serious about improving elections in Texas, you would make election day a state holiday and expand
after hours voting in early voting.
This bill does not deserve your support, it is nothing more than a direct attack on democracy in Texas and should be voted down
and replaced by measures that will increase the ability of typical Texans to vote.
Richard Morgan


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Nancy Bolduc, Dr.
self
Houston, TX

It is critical to our democracy that we have elections that are fair, safe, and secure.
We have existing election code safeguards and transparency and as a result had an extremely safe and secure election in 2020
despite the pandemic. Though much effort has been put into identifying/proving fraud, there has been very very little found. That
is something to celebrate, our election process worked.
In spite of this, there has been a great deal of talk of need for enhanced election security and fraud protection.

If there are changes to our election code and procedures for the sake of election security it is vitally important to protect the basic
rights and representation of all qualified voters. Any changes that make it more difficult for people to vote and thereby
disenfranchise voters under the guise of preventing fraud will damage our democracy. There is every reason to make it easier for
qualified voters to exercise their votes. The greater the participation we have in our democracy, the stronger we will be.

The changes to adjust to the pandemic conditions in the 2020 election with expanded early voting, extended polling place hours,
access to drive through voting and greater vote by mail availability were positive changes that allowed more Texans to safely
participate in the democratic process. The majority of Texas voters favor a process that makes it easier, not harder to vote. And
you represent the majority of Texans.

Electronic voter registration would make sense in ease, safety and efficiency.

There should be a complete cure process (uniform for all counties) for incomplete applications for mail ballots and returned
ballots, with voters being informed of problems and given instructions on how to proceed so that their votes are counted.

Any poll watchers should have required training and execute an oath similar to election workers. They must not be allowed in any
way to intimidate voters or election workers from doing their jobs.

Nancy Bolduc

Patricia Morgan
self- Licensed Professional Counselor
Austin, TX

I am strongly against SB1. I want you to know that I was a VDR in the 2016 and 2020 elections here in Travis County. I am
proud of the work we did to get out the vote. I was also so impressed at how organized the early drop off voting was. Organized
to help us avoid COVID contamination, it worked like a well oiled machine. A person on each side of our car taking our ballot
and information. Pointing clearly to the box where it would be placed within the minute. So many volunteers there! We need
more of that, not less of that! I am a senior citizen. I was thankful to not have to stand in a long line. I was thankful to avoid the
virus.

It angers me that this sort of thing will be harmed by this Republican sponsored bill. There is no proof that there is significant
voter fraud in Texas or the nation. There are only the pathetic lies of Donald Trump who fantasizes himself a great president and
his enablers. It is obvious to me that your party, Senator Hughes, does not have a real platform for Texas beyond keeping power
and getting re-elected. If you had viable ideas we would be debating them, not the restricting of voting rights. Please, we need
creative minds addressing the problems with our energy grid, our infrastructure, and the problems Texas has due to climate
change. If you and your Republican colleagues don't have solutions GET OUT OF THE WAY! Stop wasting our time with non-
existent issues like this one, along with the meddling in the health decisions of transgendered teens, preventing mask mandates,
and crying about teaching the true history of the civil war.

SB1 will discriminate against minorities, disabled people and working people who won't have easy access to the polls in the day.
The idea of giving power to poll watchers is really frightening too. I can see it- untrained people who believe your party line- I
can only imagine how they are going to act. It insults me that these partisans would be given more credibility than the solid
citizens who have been staffing my neighborhood polling place for so many years.
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citizens who have Case   5:21-cv-00844-XR
                  been staffing my neighborhoodDocument
                                               polling place117-4    Filed
                                                             for so many   11/15/21 Page 285 of 554
                                                                         years.

The Republicans have the power. You can pass this bill. You can win. But you will never be able to say you protected our
democracy. You are doing what you can to destroy it.

Greg Sells, Mr.
self-federal employee
Austin, TX

As the COVID-19 pandemic continues, Texans continue to demand safer methods of voting, proven in the 2020 General Election.
These include expanded early voting, expanded voting hours, and more options to return vote-by-mail ballots.

To be effective, poll watchers should be required to receive additional training and to execute an oath similar to that given to
election workers.

I believe applications for mail ballots and returned mail ballots should be subject to a complete cure process. SB 1 added the
ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session.
However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote
counts. This process should be uniform in all counties.

Voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind voters a
way to securely and privately vote.

Adding electronic voter registration, as is used in many other states, to the omnibus bill would greatly increase the accuracy and
integrity of the voter registration rolls, as well as reduce costs to taxpayers.

Richard Miller, Texas voter
Self. Retired
Sandia, TX

I suggest the following changes be applied to SB1.

Voter ID should be required for in person voting and for mail in voting, rather than than a drivers license number or a social
security number

The return of carrier envelopes should not be allowed. Holding a carrier envelop that has an unreadable signature can be weed to
identify possible fraud.

Make it a criminal act to distribute unsolicited applications for mail in ballots that have been partially filled in.

Require attendants and caregivers to sign carrier envelopes that they assisted a voter to fill out.

Thank you for your valuable time and consideration of these changes.

Rosemary Edwards
retired
Austin, TX

Submitting witness in support FOR SB 1

Rhonda Lopez
Self
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Self
Baytown, TX

Please focus on solutions for ALL voters, specifically
1. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.
2. Poll watchers should receive required additional training and acknowledge the polling space's integrity by executing an oath
similar to election workers.
3. Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. Alert voters
of the need for a cure and give clear instructions for making sure their vote counts and make the process uniform in all counties
not optional.
4. Voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind voters a
way to securely and privately vote.
5. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls and reduce costs.

Kathleen Boyd
Self - Clinical Social Worker
Austin, TX

When I voted last Fall, I felt like I was delivering a live donor organ to the ballot drop off location - the only one of its kind in
Travis County. I was 66 years old and Covid's reality made standing in line dangerous. Receiving the paper ballot was wonderful
and I completed it but heard how risky it might be if my signature was not the same as how I signed it when I first
registered...was it Kthleen, Kathy, with or without my middle name or initial...was it written with a certain manner I do not use
every time? I called the registrar to check and was told they were not allowed to reveal that. I then learned mailing in the ballot
was risky as the Austin Post Office sorters had been pulled apart or taken away. It may not reach the destination in time. (Who is
rigging the election?? Reality check!). I double and triple checked how I inserted the envelopes and prayed the voter registration
card in my wallet matched what those reviewing the ballot worked from. I drove the 13 miles to deliver the ballot and was guided
in by safety-vested staff, double checking my ID before I released the precioius cargo - my ballot. I was literally shaking and
almost cried. I did not feel like I was in my home country, but somewhere third world. Now there is the possibility that if the
results are not to someone's liking they can be turned over by just a couple of individuals of a certain party? Seriously!? (Can I
ask again - where is the real fraud here and in fact, rigging the election process? Reality Check!!) The emperor is NOT wearing
clothes and I'm tired of thinking wiser minds will prevail. The 'game' is rigged, and not sure Putin could be prouder. 1.) Show us
where the fraud is....it is non-existant. A false narrative and totally fear-lie based without merit. 2.) Put the Post Office back
together 3.) Protect those that serve the election board, the elected officials as well as volunteers - making the criminal
penalties/criminal offenses and penalties severe and swift for those threatening these individuals or impeding the process of their
doing their work as the professionals and dedicated servants of democracy they are. Bullies and poor losers cannot be in charge of
our democracy - they will corrupt it for the sake of power and I will not tolerate this in any way. I will be getting out of my
comfortable little cocoon and lemy voice be heard and my presence known. There is no fraud other than this narrative being
created by those striving to hold onto power and suppress votes by any means possible. It is an old ploy all of us can see through.
Shame on those pretending otherwise and hats off to those calling it what it is. A power grab.

Julia Bolling
self
Houston, TX

Please keep the needs of all Texas voters in mind when considering this bill. During the 2020 election season, when many voters
were concerned about their health and personal safety, the innovations that allowed us to vote by mail, by car, day or night, made
a huge difference in voter access and participation. Current election laws provide extensive security for voter registration and
participation, as evidenced by the remarkably low incidence of proven voter fraud, which is almost non-existent in Texas. The
continuing Texas COVID epidemic highlights the need for providing these safer and secure methods of voting more than ever.
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continuing Texas COVID    epidemic highlights theDocument    117-4these
                                                 need for providing    Filed  11/15/21
                                                                           safer and secure Page 287
                                                                                            methods    of 554more than ever.
                                                                                                    of voting
We need the safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail
ballots, moving toward universal vote by mail which has been shown to be effective and secure in several other states. These are
options that Texans want.

I also believe poll watchers should receive required additional training and should acknowledge the integrity of the polling space
by executing an oath similar to that for election workers.

SB 1 adds the ability to cure incomplete applications or ballots to the electronic ballot tracking system. However, House action
can also add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional. Voters need and deserve this information.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Lastly, adding electronic voter registration to the omnibus bill would greatly increase the convenience, participation, accuracy,
and integrity of the voter registration rolls, as well as reduce costs. It will move Texas into the modern age for voter registration.

Thank you for considering my remarks.

Sharon Kremer
Indivisible TxLege
Denton, TX

Free and fair elections are the bedrock of a democracy.

Please include the following in SB 1
electronic voter registration
drive-through voting optional for all counties
24-hour voting optional for all counties

Keep polling site order within the power of election judges.

Voting must be safe and accessible mode all Texans.

Traci Dunlap
Self, Teacher
Austin, TX

My name is Traci Dunlap. I'm a teacher in Austin ISD, a leader with Education Austin, and the Vice President of the Austin
Central Labor Council. I am writing to register my opposition to SB 1.

This is a bill in search of a problem. Voter fraud in the state of Texas is almost nonexistent. The provisions in SB 1 will make it
harder to vote, when we should be encouraging people to vote, since we historically have very low voter turnout in our state.
This bill will disproportionately affect voters of color and the disabled, and may discourage voting through intimidation at polling
locations, since it will grant new authority to poll watchers.

As a teacher, I believe the right to vote is sacred and the foundation of our democracy. Let's pass legislation that empowers voters
and makes it easier to exercise the right to vote, not harder. Please vote No on SB 1.

Elisa Gonzalez, Ms.
Self - Retired Educator
Corpus Christi, TX
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Corpus Christi, TX

I am writing this to request that some major items in this bill be adjusted, amended, rewritten to honor the rights of Texan voters
when they go to the polls or when they require assistance to allow them to vote confidently due to disability or language access.
In the past, I have assisted friends and others with their voting needs. I have helped people who have poor eyesight or difficulty
walking or assistance with language translation or comprehension.
Given some of the impediments listed in this bill, I no longer feel confident helping others because there are so many restrictions
targeting disabled, elderly, and non-English speaking voters.
It has always been difficult for people with visual problems to read the tiny print on the official mail ballot envelopes. Now it will
be even more so. This bill requires all sorts of additional information to be printed on the envelope, and for the voter to provide
additional personal information, making an already unreadable envelope even more of a mess.
What makes these restrictions incomprehensible is that it has already been proven that fraud is not a problem due to the already
innumerable existing safeguards and transparency. The added restrictions appear to be specifically targeting the most vulnerable
in our society – the disabled and the elderly.
We need the safer options of expanded early voting and more options to return vote by mail ballots. We need more options to
vote, not more restrictions on voting.

Melinda Maxwell
Individual
Dallas, TX

Voicing Support for SB1

Patsy Boatright
Self
Maryneal, TX

My husband Larry and I support Hb1

Mary Lou Walther
Self
LOCKHART, TX

Below are 4 points for the committee to consider as you work on SB1:

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.
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rolls, as well as reduce  5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 289 of 554

Brian Keegan
Breakfast Club
Cedar Creek, TX

We the people want it passed!

Catherine Porter
None
San Antonio, TX

Request the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
Voter fraud committed by using someone else’s identity is extremely rare. Voter ID laws are a solution looking for a problem.
Expand the list of acceptable IDs to include student IDs.

Acknowledge the magnitude of existing Election Code safeguards and transparency. Leave local election boards in charge of
elections without interference from the state.

Tyson Dierschke
Self
Rosenberg, TX

I support the passage of SB 1.

Kyttie Sanford
Self
Houston, TX

Legislators,

I would like to submit a few thoughts for consideration during your debate process for SB 1.
These thoughts evolved thru my volunteer work as a deputy voter registrar as well as working the polls on Election Day in Harris
County.

1. Voters with disabilities need clear, defined provisions for allowing voter with no barriers. You need to make it easier for them
to register and vote. They are entitled to vote without barriers.

2. Texas voters made it clear that they want safer methods for voting. The covid pandemic made that clear. Municipalities should
be able to provide safe and healthy places/processes to cast their ballot without sacrificing the integrity of the election.

3. Voting by mail should not be such a difficult thing. Again, clearly defined processes should be available for our senior citizens
and those who find it difficult to make it to the polls.

4. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

5. Having worked the polls for the 2020 Presidential election, I did not see anything that would make me question the integrity of
the process. We need to be making it EASIER for ALL citizens to participate in this piece of our democracy.

6. Poll watchers need to have training before they are allowed to be part of the process.
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6. Poll watchers need     5:21-cv-00844-XR
                      to have training before they Document     117-4
                                                   are allowed to be part Filed
                                                                          of the 11/15/21
                                                                                 process. Page 290 of 554

Thank you,
Kyttie Sanford

Donna Bening, Mrs.
self,   retired nurse and poll worker
Plano, TX

In my last thirty years in Texas, I have served as a volunteer and as a paid election poll worker -- offering voter registration,
offering forums with League of Women Voters to learn about candidates, and serving in those long days at the polls during early
voting and on election day. The state and federal laws should be consistent and facilitate the citizens access to the ballot without
threats and barriers with clarity in law. The administration of elections in my County (Collin) has improved over the years with
better training for workers and acceptance of smart technology to aid vote tabulation. However, when I changed from in-person
voting to mail-in ballot during the COVID--19 pandemic, I see that my handwriting with age & arthritis has been inconsistent,
and I am concerned that my vote may not count. I am requesting that voters with unknown disabilities have "forgiveness" when
mail-in ballots are reviewed during counting procedures..
The possible opportunities for improvements in SB 1 in Committee (or on the Floor) -- include

•        The Texas COVID epidemic highlights the need for safer methods of voting more than ever. Please protect curbside
voting in the regulations. --whether with expended hours because each transaction takes more time than each in-person vote.
We need the safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail
ballots. I was concerned about my mail-in ballot getting caught in a slow-down at the post office.
•        To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity
of the polling space by executing an oath similar to election workers & protecting the privacy of the voter's choice..
•        Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability
to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.
•        Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that
allow blind voters a way to securely and privately vote.
•        Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.
Thank you for listening as you "purify, but not punish" voting in Texas.

Norman Monroe
self/retired teacher
Austin, TX

SB1 should include:

1. A poll watcher's oath and required training.

2. More safe voting options: expanded early voting, extended hours at polling places, and more options to return vote-by-mail
ballots.

3. A complete process for curing applications for mail ballots and returned mail ballots.

4. Protection for voters with disabilities. Offer blind voters a way to securely and privately vote.

5. Electronic voter registration.

Thank you for your consideration.

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Linda Rachut, Mrs
Self
Moody, TX

Support voter ID, no operatives collecting ballets, poll watchers that can see & hear the process, no mailing of unrequested
ballets, keep voter registration accurately updated.

Lisa Railey
Self, marketing director, food processing
Montgomery, TX

Our family has been devastated to think that our vote may have been cancelled out by overvoting or fraud. I am voicing my
wholehearted support of this bill to secure our elections, prevent fraud, increase criminal penalties, create criminal offenses, and
provide civil penalties. I support any senator who votes for this bill and will never again support anyone who does not.

Alene Levy
self, attorney (retired)
Houston, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Reg Cleveland
self retired
Kerrville, TX

REAGRDING SB1

I request the committee focus on solutions for all voters and help improve the ability's for voters to vote and improve the quality
and correctness of the vote. In this respect request the committee focus on solutions for all voters and help restore the level of
trust in Texas elections.

1. The Texas COVID epidemic helped generate new and additional solutions to enable voters to vote. These should continue.

2. Poll watchers should acknowledge the integrity of the polling space by executing an oath similar to election workers. I also the
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                  Caseacknowledge
2. Poll watchers should 5:21-cv-00844-XR
                                      the integrityDocument      117-4
                                                    of the polling        Filed
                                                                   space by      11/15/21
                                                                            executing an oathPage
                                                                                               similar292  of 554workers. I also the
                                                                                                       to election
watchers should remain at least "10" feet from a voter or at least so as voter concern there is no "spying".


3. Adding electronic voter registration would greatly increase the accuracy and integrity of the voter registration rolls, as well as
reduce costs.

MaLeah Oakes
Self
Sachse, TX

Election integrity is the most pressing issue facing Americans today. If they steal our elections, we have no voice/liberty.

Scott Railey
Self, business owner, food processing
Montgomery, TX

Please vote for SB1. Texas needs to lead the way in election integrity. People are upset and don’t trust our elections. We need to
know that we can trust our elections and our elected officials. This is a must pass bill and the number one issue for Texans.

Deborah Lee
Self, retired social worker
Boerne, TX

The Covid pandemic has highlighted the need to expand and improve access to the polls for all citizens. Expansion of early
voting, extended hours, more polling places not fewer and more options to vote by mail are all necessary. Poll watchers must be
trained! Please include a complete cure process and make it known to voters. We need more folks to vote not fewer; electronic
voter registration should be enacted. My friends who are seniors like me and or disabled are concerned about perceived efforts by
the legislature to remove options for legal voting.

David Gaines, Dr.
Southwestern University
Georgetown, TX

I urge our elected officials to do all they can to insure that all Texans can exercise their voting rights. As I read it, SB 1 does just
the opposite. Please do the right thing and vote no on SB 1.

victoria higgins
Self, retired
Fairview, TX

I am a proud voting Texan. I have worked every election possible in my personal precincts since 1978 - when I turned 18. I am
now 59.

After working the polls during the last presidential election, and watching the subsequent fallout of the inability to have
confidence in our system, I implore you to consider the following and include appropriate language in SB 1:

- ALL VOTERS NEED TO BE INFORMED IF THEIR VOTE WILL COUNT! Include a complete cure process for applications
for mail ballots and for the returned mail ballots. SB 1 added the ability to cure incomplete applications or ballots to the electronic
ballot tracking system approved in the 87th regular session. However, House action can add a way to alert voters of the need for a
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ballot tracking system    5:21-cv-00844-XR
                       approved   in the 87th regularDocument    117-4 House
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                                                                                11/15/21
                                                                                      can addPage
                                                                                              a way 293    of voters
                                                                                                     to alert 554 of the need for a
cure and give clear instructions for making sure their vote counts; as well as make the process uniform in all counties not
optional.

- ALLOW MODIFICATIONS FOR VISUALLY IMPAIRED VOTERS. Similarly, voters with disabilities need additional
refinement of SB 1. Specifically, the House can add provisions that allow blind voters a way to securely and privately vote.

- INSURE THE REGISTRATION TOLLS ARE UP TO DATE Adding electronic voter registration to the omnibus bill would
greatly increase the accuracy and integrity of the voter registration rolls, as well as reduce costs.

Thank you for your consideration.

Victoria Karner Higgins
Fairview, Collin County, TX

Naomi Winick
self
Dallas, TX

Several comments with respect to how to modify SB 1 so as to make it more about fair elections and encouraging, not
discouraging, all citizens to vote:

1) It should be as much of a crime for a poll watcher to disrupt or intimidate as it is, under this law, for a poll worker to try to
exercise control of their location. Bad behavior by a poll watcher should not have to be personally observed by an official. If it
does, you are authorizing bad behavior as long as it is done surreptitiously. Poll watchers should be subject to the same level of
training required of poll workers and should be required to acknowledge the integrity of the polling space by executing an oath
similar to poll workers.

2) The Texas COVID epidemic highlights the need for safe methods of voting. All voters in Texas want expanded early voting,
extended hours at polling places, and more options to return vote by mail ballots. Sadly, COVID will be here for years.

3) Do not deprive people of their right to vote. Include a complete cure process for applications for mail ballots and for the
returned mail ballots. SB 1 added the ability to cure incomplete applications or ballots to the electronic ballot tracking system
approved in the 87th regular session. Add a way to alert voters of the need for a cure and give clear instructions for making sure
their vote counts. Make the process uniform and mandatory in all counties.

4) Add provisions that allow blind voters a way to vote securely and privately.

5) Add electronic voter registration to the omnibus bill-this will greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Lucy Nguyen
Self
Austin, TX

As a Texas voter residing in Austin TX 78741, I’m calling to oppose Senate Bill 1 and urge you vote against it. Voting access is
already harder in Texas than anywhere else in the nation. Our legislature should be working with local towns and cities to make
access to voting easier, not harder. Without open access to voting, our country and state are doomed to having elected officials
who are not held accountable and do not work to represent their constituents.

Kimberly Bridges Young
Self
Corpus Christi, TX
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Corpus Christi, TX

A copy of one of the Secretary of States’ IDs listed for in-person voting ID should also be used for mail-in voting ID, not a
Drivers License number or the last 4 digits of the person's Social Security Number. An ID with a legally vetted signature should
be used equally for both in-person and mail-in voting. How can anyone object to that? Also, why would you send the defective
carrier envelopes back to the person who made them defective? You are destroying evidence of voter fraud when you do that, so
how can you prosecute? That's just nuts! Make it unlawful to distribute unsolicited applications for pre-filled mail-in ballots. If
my neighbors got my mail, which happens all the time, then he could simply sign my name on the form and send it back, thus
negating my vote! This makes voter fraud easier and also may place me, the voter, in the wrong political party, keeping me from
voting my party when I go to vote. And why oh why would you exempt attendants and caregivers from signing the carrier
envelope. Many of the fraud cases featured attendants and caregivers as the fraudsters, since it's easy for them to do so when the
actual voter is not completely lucid. Remove this new exemption from the bill. They are required to identify themselves now and
they should continue to be required.

Jean Tally
Self
Dallas, TX

I support SB1

Rebekah Skelton
Self
Houston, TX

As a Texas voter, I’m asking every representative to oppose Senate Bill 1 and ask that you vote against it. Voting access is already
harder in Texas than anywhere else in the nation. Our legislature should be working with local towns and cities to make access to
voting easier, not harder. Particularly in light of the COVID-19 pandemic, more than ever, Texans need safer methods of voting,
for instance, expanded early voting, extended hours at polling places, and more options to return vote by-mail ballots.
Additionally, drive-through voting and 24-hour voting should be optional for all counties. Please make voting process rules for
counties permissive rather than restrictive and keep polling site order within the power of election judges. These are things that
Texans want and need to ensure safe, fair, and lasting representation. Thank you for your consideration.

Rebecca Teng, Dr.
Self, Physician
Austin, TX

If passed, this bill would make it harder to vote and disenfranchise working Texans and communities of color. Texas is already the
most voter-suppressed state in the country. Please do not pass this bill.

Rachel Carneglia
Indivisible TX Lege
Austin, TX

My name is Rachel and my zip code is 78745. As a Texas voter, I’m writing to oppose Senate Bill 1 and ask that you vote against
it.

Voting access is already harder in Texas than anywhere else in the nation. Our legislature should be working with local towns and
cities to make access to voting easier, not harder. Without open access to voting, our country and state are doomed to having
elected officials who are not held accountable and do not work to represent their constituents.

This bill would:
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This bill would: Case 5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 295 of 554
- strip voter rights
- financially burden local governments
- discourage poll workers
- elevate partisan poll watcher power above election official authority
- ban drive-through and outdoor voting. which are proven to be especially helpful to older voters and voters with disabilities
- restrict voters from dropping off completed absentee ballots
- shrink early voting periods
- create new costs for disabled voters
- increase burdens on voters with disabilities to access assistance at the polls
- embrace suppression of votes by people of color, the elderly, the young and, especially, the disabled
- criminalize the act of assisting voters

If SB 1 passes, it will have a damaging impact on our elections for decades. Please vote NO on SB 1!

Robert Green
Travis County Republican Party Election Integrity Committee andn Self
Austin, TX

I have been a precinct chair and an election judge for over 10 years now; and I’m here today, as previously this year, representing
my committee members whose efforts are backed by my county party. I am also here representing myself as a constituent of
House District 49 and Senate District 14.

I support C.S.S.B. 1 and the provisions therein that make it easier for an identified and eligible individual to vote legally in an
election, but harder for any individual, group and/or election official to cheat and not get caught. And finally, I want to keep my
elected officials, Rep. Gina Hinojosa and Sen. Sarah Eckhardt, accountable to me and to the people of this state. I’m calling them
out here because they and others have NOT been doing the job that they were elected to do…that is, to debate Bills that are
placed before them, offer amendments that will improve the effectiveness of the legislation, and then make an up or down vote on
passage.

The questions that I would have for anyone who opposes C.S.S.B. 1 are these:

1)      Why would you object to a person who registers to vote; applies for a mail-in/absentee ballot; votes by mail or votes in
person from being required to provide a government issued photo ID to do so?

2)      Why would you object to the coordination between state agencies to facilitate the frequent scrubbing of voter rolls to
remove the deceased, those who have moved out of the county, non-citizens and felons who have not completed all tasks
necessary to have their voting rights restored?

3)      Why would you object to punishing individuals or election officials who knowingly violate provisions of our Texas
Election Code with the intent to manipulate the outcome of an election?

4)      Why would you object to a transparent election process that includes effective observation (by watchers) of the chain of
custody for flash drives and paper ballots at all stages…from every polling place to the central counting location, to the secure
storage of paper ballots to the actual counting of votes in a counting machine that has been tested for accuracy, security sealed
before use after testing, is not programable, and cannot be, in any way, connected to the internet.

5)      Why would you object to having uniform voting rules like these for all 254 counties in Texas?


Despite the repeated public regurgitation of “talking points” by the Democrats who have repeatedly obstructed passage of this
legislation to the point of deserting their duty station at the Capitol, fleeing the state to prevent a quorum and a vote by the full
House, NO proposed provision in CSSB 1 is “racist,” discriminatory to any minority group, to anyone with a disability, or an any
way constitutes “voter suppression.”

Thank you
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                        2021         now please pass this bill out to the full House with a recommendation that it do pass.
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Thank you for your      5:21-cv-00844-XR
                   kind attention;              Document
                                   now please pass this bill out117-4     Filed
                                                                 to the full    11/15/21
                                                                             House           Page 296 ofthat
                                                                                   with a recommendation  554it do pass.

Mary Warren
Self
Montgomery, TX

It is essential this bill be passed. Texans needs absolute assurance that all elections are without fraud. The eyes of Texas are on
Austin and the passage of this bill.

Melody Ginn
Republicans
Red Oak, TX

I support this bill

Ling Zhu, Mr
Self
Austin, TX

SB1 is an extreme voter suppression bill that is being touted as an “election integrity” measure. I am against this bill. The bill
prohibits a county clerk from proactively sending voters an application to vote-by-mail, requires voters to provide written
documentation from the Social Security Admin, US Department of Veterans Affairs, or a licensed physician that they have a
disability preventing them from voting in-person, enables county clerks to more easily throw out a mail-in ballot by only
comparing the ballot signature with one other signature from the voter (rather than two in current statute), and prohibits polls
from opening outside the hours of 7 am to 7 pm.

Last time, I testified against HB3 in person, after waiting more than 17 hours, along with hundreds of people. Majority of Texans
are against voter restrictions. There is no evidence that wide spread voter frauds happened.

Marilyn Hartman
Self
Austin, TX

I am greatly opposed to SB 1. Given that all evidence points to little or no fraud in our elections, this bill egregiously oversteps,
putting a barrier and an extra burden on many eligible voters, particularly those with disabilities. Many are unable to physically
get to the voting venues, must rely on help from someone to help mark and/or mail their ballots, and any attempt to put further
requirements on them such as verifying their disability is wrong. Fellow citizens, BECAUSE of their disabilities, already have
barriers in their daily lives that the rest of us can only imagine. To make their ability to vote more difficult is despicable; they
should have equal and easy access to our democratic processes, voting being a basic right. I speak from experience as I have an
adult son with a severe disability whose physical functioning is minimal.

There are many others whose work or life situations make it difficult to get to the polls during the limited hours specified in SB 1;
open hours should be expanded, not limited.

The nature of this bill overall seems to restrict options that work for ALL people, and ALL people should have equal access to a
basic right in this country -- VOTING; rather, SB 1 seems to cater to those who have a great deal more flexibility and lack the
barriers of the disabled or other marginalized citizens. Apparently this is the intent of members of the Republican party who have
pushed the provisions of this bill to the extreme -- shame on them!

Raymond Carneglia, Dr
Self
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Self
Austin, TX

My name is Raymond and my zip code is 78745. As a Texas voter, I’m writing to oppose Senate Bill 1 and ask that you vote
against it.

Voting access is already harder in Texas than anywhere else in the nation. Our legislature should be working with local towns and
cities to make access to voting easier, not harder. Without open access to voting, our country and state are doomed to having
elected officials who are not held accountable and do not work to represent their constituents.

This bill would:
- strip voter rights
- financially burden local governments
- discourage poll workers
- elevate partisan poll watcher power above election official authority
- ban drive-through and outdoor voting. which are proven to be especially helpful to older voters and voters with disabilities
- restrict voters from dropping off completed absentee ballots
- shrink early voting periods
- create new costs for disabled voters
- increase burdens on voters with disabilities to access assistance at the polls
- embrace suppression of votes by people of color, the elderly, the young and, especially, the disabled
- criminalize the act of assisting voters

If SB 1 passes, it will have a damaging impact on our elections for decades. Please vote NO on SB 1!

Beth Biesel, Election Integrity Chair
Texas Eagle Forum
Dallas, TX

Eliminate wireless capability full stop! However you choose to write the language, here's what we need: 1) Transparent, auditable
elections with access to all equipment and records 2) landmarked paper ballots and hand counted tabulation 3) legitimate voter
rolls and voter registration procedures w/ only legal citizens voting with photo ID 3) No gap between early voting and day of
voting, limiting voting to no more than 4 days total 4) no waivers by SOS, Governor, or County officials 5) printed vote result
tapes at the end of each voting day.

Virginia Sparks
Self
Corpus Christi, TX

Election integrity concerns:
ID requirements should include a legal signature that is an approved SOS ID for both mail in ballots and in person voting, the
same to decrease fraudulent votes.
Mail in ballots with faulty signatures should never be returned to the voter to be corrected. This could be destroying evidence if
returned to a fraudulent voter. Please make it illegal to distribute unsolicited ballots that are partially filled in. This can increase
incidents of voter fraud and illegal persuasion of voters to vote a certain way.
Caregivers should continue ue to be required to sign the envelope for the voter. They should not be exempt.

Stacy Baker
Self, patriot housewife
Lubbock, TX


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I support SB1, we must have voter integrity and this is a start. I, along with many other Texans believe there was a great amount
of fraud in the last election, Nov. 2020. We are done being told, "There's nothing to see here. It was the safest, most secure
election in history, focus on 2022." I do not believe enough is being done to have transparent, accurate elections. Show Texans
that you care whether we secure our election process. SB1 is action toward trying to regain our trust. Next, has to be voicing
support for HB26!
Leading up to the Nov. 2020 election, Laws in many states were changed illegally without legislative approval COVID was used
to abuse absentee voting, vote harvesting and improper adjudicating took place. But perhaps most agregious, machines have been
shown to be easily manipulated.
The courts failed us saying we had no standing, well we do and we beg you to give us honest, transparent, elections where every
LEGAL vote is accurately counted
Respectfully,
Stacy Baker
Lubbock, TX

susan chizeck
self
Dallas, TX

i am speaking for my mother, who was handicapped and couldn't drive. She had a very hard time getting a state ID. Getting to
the polling place was very difficult, as she needed help. Being deaf, she had a hard time at the polls, so always liked to do
absentee voting. I know you are trying to make it harder for her to do that. Even though she is gone, others are there. I myself
couldn't walk for years and it was wonderful if they brought the voting equipment to the car. I know you are trying to make it all
much harder. You want people to be able to intimidate voters, scare them. That will make it harder for autistic people to vote.
There was no fraud in the last election. The pandemic isn't over. It should be easy to vote. Other states have same day
registration, mail in voting, all that, with no fraud. Are we so corrupt that we can't handle it? Or are you so corrupt we can't trust
you ? Stop this campaign to disenfranchise so many people.

Henry Dietz
Self / Retired
Austin, TX

Good morning. SB 1 seeks to limit access to voting. The COVID-19 pandemic has shown that we need more and safer voting
options, not less. Expand early voting and extend polling place hours -- these are what Texans want.

Under SB1, poll watchers may intimidate and disrupt voting; they should be required to have training and should acknowledge
the integrity of the polling space by executing an oath similar to election workers.

To be more effective, SB1 should complete the cure process for applications for mail ballots and for returned mail ballots: it
needs to specify ways to alert voters of the need for a cure and give clear instructions for making sure their vote counts, and give
a generous time requirement to complete the cure. This process should be uniform in all counties, not optional.

Thank you.

Sara Laas
Self — Retired bank officer
Austin, TX

Please expand voting opportunities to ALL Texas citizens. Use 2021 technology to make it EASIER to vote. Mail-in and drop-
box voting is necessary in these pandemic times to protect the health of Texans. It costs money, and lots of it, to be hospitalized
just because you caught a crippling virus trying to be a good citizen and vote. I am retired and can vote by mail. Younger citizens
deserve the same safe opportunity.
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deserve the same safe opportunity.
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Clifton Beane
Self, President
Dallas, TX

I support SB1 and HB26.

Please be prayerful in your votes.

Carolyn Hughes, Mrs.
self - retired Legal Administrative Analyst
Houston, TX

I worked as a clerk at the Drive-Thru Voting for 14 hrs each day for three weeks in Harris County. Prior to 2020, everyone had to
go to their designated Precinct and experience long lines. The equipment used was brilliant in 2020 allowing you to vote any
Precinct in Harris County and individual getting the Ballot for their particular Precinct. Base on your ID and address the machine
verified if individual was registered to vote. Fraud was prevented by: 1st the individual had to present their drivers license or ID
which was run thru the machine that identified if that person was eligible to vote, their address confirmed, then an Election Ballot
on the machine was given to the drive thru voter that was based on their Precinct according to their address. We had so many
checks and balances no fraud could happen. For example: Before I could give a Voter their driver's license back she asked me a
question and I got help from the Precinct Judge, the Voter voted, and I failed to give the license back before the voter left. The
next voter came to Vote and I inserted the previous voters license in the machine by mistake and the voter machine rejected the
ID of person that had already voted, therefore no ballot could be obtained and No Fraud was possible with the machines in Harris
County. To my relief the ID that was left was picked up by the voter before the poll closed that day. Harris County Clerk, Chris
Hollins and his Office did an excellent job administered the July 2020 primary runoffs and the November 2020 general election,
in addition to continuing to deliver critical services to Harris County residents. FYI if there was more than one voter in an
automobile, we clerks through our training instructed each that everyone had to be quite while the other person is voting which
meant no talking, phones silenced and no radio playing. Since many seniors who worked the polls could not because of high risk
during the Pandemic, I at 72 years old was proud to been able to help for the first time as a clerk and experienced a well run
Voting organization doing a Great Job.

Beverley Claydon
Irving Republican Women
Dallas, TX

If our country cannot hold fair and honest elections, all is lost.

Michael Grygier
Self
Pearland, TX

I support SB1 for fair elections where any cheating is easily discoverable and severe penalties should be in place for fraudulently
affecting the election vote count.

Elizabeth Goldenbaum
My own personal opinion
Dallas, TX

Our elections must be secure and open to all eligible voters, as easily as possible. I’m a 74 year old voter, concerned citizen, and
patriotic American. I have voted all my life, including for 7 years when our military family was in Europe for 7 years. We had to
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                                                            Page 181 of 429
patriotic American.Case   5:21-cv-00844-XR
                     I have                         Document
                            voted all my life, including         117-4
                                                         for 7 years when Filed  11/15/21
                                                                           our military family Page
                                                                                                was in 300  of for
                                                                                                       Europe  5547 years. We had to
apply for ballots by mail, never doubting our votes would be counted. I’m so grateful so many people are registering to vote here
in our country and in the election bill under discussion we must make sure as many people can vote as possible through early
voting, extended hours at the polls, and mail-in ballots for those who are unable to get to the polls for assorted reasons. Please
don’t hinder these freedoms by possibly restricting access to our right to vote. It is so precious. I’m also supporting as much
electronic ballot counting as possible. Our last Presidential election showed to me the integrity of the system, regardless of which
party controlled the various states. Thank you for this opportunity to share my opinions.

stuart yarus
self - computer consultant
Bedford, TX

Many Texas legislators want to aid Texas businesses by limiting regulation of their operations. The same should hold true for
Texas people. We don’t need these additional regulations for voting – like “poll watchers” and other nanny-state government - in
our private and fundamental rights.

SB1 hurts the disabled – even the temporarily disabled We’re all just one accident away from being disabled. SB1 places a burden
on the disabled. At a minimum, this bill should add a provision that allows blind voters a way to securely and privately vote.

The Covid epidemic shows us how important it is to expand early voting hours, and provide more options for Vote by Mail. We
shouldn’t need a pandemic to make it safer for people to vote!

Pollwatchers should be required to have more training, and take an oath similar to election workers. Harassment from untrained,
partisan pollwatchers is another obstacle to voting safely.

The committee should focus on solutions for ALL voters and help restore trust in Texas elections.

I appreciate the ease of registering in Texas, and the ease of getting and using absentee ballots.

Thank you for considering the above.

Stuart Yarus

Elizabeth Wally
self
Dallas, TX

I have to start with the fact that we all know that our elections were fair and secure last election and that in Dallas County and the
state of Texas we already have very good rules and regulations that assured that those elections would be that way. You,
lawmakers, were re-elected in 2020 or elected for the first time and I think we would have heard from you sooner if you did not
agree.

You still have the majority and have shown little interest in making any changes that would help all voters in Texas to have an
easier time voting. That clearly is not your goal. But since Texas is already considered the hardest state to be able to vote in, you
might be open to some changes that would help your own voters as well as the rest of us. Maybe move Texas up up one or two
steps from the bottom. A totally neutral idea is online voter registration which solves your stated concern about people not
qualified being able to vote (not of course a real problem as we have had checked over and over). Most of modern life is
conducted online - our young people have almost never used a stamp or the post office or gotten a real letter, except from
grandma (who more and more is also using email or texts). This is an easy fix and will save the state money. I'm tired of
explaining to young or recently moved to Texas folk that Texas "online" registration means you go online to download a form you
have to copy and mail. This is hard for people without their own printers, too. And this whole process is less secure and precise.

Because of false claims from Republicans about everything from the odd notion that our president didn't win (which certainly
puts you also in the category or questionable "winners") to claims of rampant security problems with mail-in ballots (which I
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                                                          Page 182 of 429
puts you also in theCase  5:21-cv-00844-XR
                     category                       Document
                              or questionable "winners")          117-4
                                                           to claims       Filedsecurity
                                                                     of rampant  11/15/21     Page
                                                                                         problems     301
                                                                                                   with     of 554
                                                                                                         mail-in ballots (which I
personally had to teach Democrats to use). Over the years the Republicans were the primary users and to great advantage. You
have confused your own voters now by making mail-in ballots suspect when they just don't live up to that rap. Making all voters,
including your own, might seem somehow a good partisan strategy, but I think you just have it wrong.Before it turns on you why
don't we just work together to set up elections to be transparent, secure, and easy for groups of voters to use - from the home-
bound to those without easy transportation to the 2- or 3-job voter to your elderly grandma or 18-year -old niece.

About the poll-watchers - they simply have to be well-trained along with the clerks. Otherwise, you are asking for slow-downs
and tension in the polling places which might backfire on you.

More to say than there is space. I'm afraid we will still need to deal with the pandemic and keep people safe. The safest is clearly
voting from home what ever you age. Send mail-in ballots applications too all who are eligible and assure adequate return
options physically and time-wise. Also provide a clear way to "cure" your ballot. Out of room, not ideas.

Linda Camin, Mrs.
None
Dallas, TX

There is no evidence of significant election fraud in United States. Please support only provisions that enable full and easy
participation by all voters. I have been an election judge and clerk and experienced the efforts of the county officials and
volunteers to provide safe, legal, elections.

Kirk Launius
self - broker of security, telecom, energy, and insurance services
Dallas, TX

Please amend the election integrity bill to include the following:
- Transparent, forensically-audited elections with access to ALL data, records, central tabulator audit logs, software, source code,
and equipment.
- Prohibition on state, county, or city funding and/or use of computer software, source code and/or equipment claimed to be a
 "trade secret" of a non-governmental, unaccountable, private company.
- No computers in the polling places and in the central counting stations.
- Vote counting and tabulation which is solely based upon hand counting of paper ballots.
- Legitimate voter rolls and voter registration procedures completely and continually purged of all fake, unqualified, and deceased
 "persons".
- A maximum of three (3) days of early voting with no "gap" (days) between early voting and election day.
- No waivers of law by the Texas Secretary of State, courts, or governor -- only the Texas Legislature makes election law.
- Fire Keith Ingram, Director of the Texas Secretary of State's Election Division who has actively sabotaged the expert witnesses'
accounts of electronic manipulation of vote records/results.

Antwon Penny
Afiya Center
Dallas, TX

. I’m currently an organizer for the Afiya Center

•voting rights are an important part of our survival and evolution as a People, in America . Our votes represent demands, of better
futures and bigger opportunities, if utilized correctly. Besides us just not taking part, in a important activity that brings money &
resources to our city. We are being undermined by the people who we allow to represent us ! There are countless bills in our
state , Blocking our path to voting and Texas has a long history of marginalizing voters of color! And this continues today in
2021.

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•we have to realize our local vote is as important as voting for the president . This is the 56th year anniversary of the voters right
act. Signed over 50 years ago to stop racial discrimination in voting.

•Yet Black Americans still encounter systemic barriers to equally exercising their right to vote.

Gene Robinson
Americans
Dallas, TX

Pass this into law or don't bother coming back home to your constituents.

Misty Woodruff
Self/Self
Greenville, TX

This bill is common sense.

Alexander Beane
Self / Student
Dallas, TX

Affirmative to being in favor of SB 1

Thank you

Pamela Armstrong
Self
Dallas, TX

This must be passed.

Judy Bryant, Ms
Texas Alliance for Retired Americans
Dallas, TX

As a 32 year retired teacher and the Field Organizer for Texas Alliance for Retired Americans, I'm very concerned about a number
of aspects of SB1 which would adversely affect our 145,000 members in Texas. Many of us prefer to Vote by Mail, especially
during the pandemic. The ban on local elections departments sending VBM applications to all 65 and older, plus the ID
requirements make it more difficult for seniors to apply. Many lower income retirees have no access to a printer to download and
print an application, plus may have a problem with postage to mail an application if they get one. Signature matching
requirements makes seniors who have physical issues which may make their writing different, afraid that their ballots may not
be counted. Given the current mail service problems, seniors should have more secure places to drop off completed ballots, rather
than a ban on such. Some Dallas county folks would have to drive a 50 mile round trip to do this. Seniors with health or disability
issues who wish to vote in person face many restrictions on those who can help them. A number of our members took advantage
of the drive through voting in Harris County and followed all the same election integrity provisions required of voting at a polling
place, so banning this method also curtails senior voting rights. The actions which SB1 would allow poll watchers to do might
also intimidate seniors, especially our members of color and this is wrong. Many of our TARA members across the state have
served as election workers after retirement and have said that with many of the provisions in SB1 possibly penalizing election
judges and
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                    30,various issues,AM
                        2021 11:32     they would no longer do this.Many counties already have election worker shortages and this

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judges and clerks for     5:21-cv-00844-XR
                      various                     Document
                              issues, they would no            117-4 Filed
                                                    longer do this.Many       11/15/21
                                                                        counties           Page
                                                                                 already have     303worker
                                                                                              election of 554shortages and this
would increase that problem.

Michael Curry
self Attorney-Mediator
Ausitn, TX

8/22/21

Hon. Trent Ashby, Chair and
Members of the Constitutional Rights
& Remedies Committee

Re: SB1 and HB3 Relating to the Impairment of Voting Rights

Dear Chair Ashby and Members,

I cannot attend the August 23, 2021 hearing due to work obligations and submit these brief written comments instead.

I am confident that witnesses will detail how the proposed legislation will make voting more technically and practically difficult
and uncertain for citizens. More specifically, you will hear how the legislation discourages voting by mail, how voting hours that
accommodate night shift workers are prohibited, and how drive-through voting will be outlawed, to name just a few of the
restrictions. These restrictions will especially impact lower-income voters, including people of color, making it harder for voters
to exercise the franchise. As damaging as all of these effects are, I do not believe they are the most damaging consequences.

The legislation has at its core two implicit but very purposeful messages: 1) there were irregularities in the last election
necessitating substantial new restrictions and requirements, and 2) we cannot trust our voters, election workers, or clerks. Both
messages feed false narratives, paranoia, and division. Both falsely and unfairly undermine faith in our democratic processes and
will continue to damage our democracy.

Among the most disturbing aspects of the legislation is the elevation of partisan poll “watchers,” empowered to shadow election
workers like KBG agents following a visiting delegation, to a protected status far out of proportion to any legitimate role they
could have. The result, if not the purpose, of these provisions will be to intimidate election workers and provide grist for lawsuits
and partisan-driven accusations that, again, will unnecessarily and improperly undermine faith in our institutions and democratic
processes.

Looked at in its totality, there is no rational justification for this legislation. It is an affront to our democratic ideals. It is unworthy
of your support.

Sincerely,

Michael Curry
Austin Texas

Ling Zhu
Self
Austin, TX

I am against SB1. Just like HB3 last round, SB1 is an extreme voter suppression bill that is being touted as an “election integrity”
measure. Specifically, the bill prohibits a county clerk from proactively sending voters an application to vote-by-mail, requires
voters to provide written documentation from the Social Security Admin, US Department of Veterans Affairs, or a licensed
physician that they have a disability preventing them from voting in-person, enables county clerks to more easily throw out a
mail-in ballot by only comparing the ballot signature with one other signature from the voter (rather than two in current statute),
and prohibits polls from opening outside the hours of 7 am to 7 pm.
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and prohibits pollsCase   5:21-cv-00844-XR
                    from opening outside the hoursDocument
                                                   of 7 am to 7117-4
                                                                pm.  Filed 11/15/21 Page 304 of 554

Joetta Harris
Self - Self Employed
Garland, TX

I FULLY SUPPORT THE SENATE'S ELECTION INTEGRITY BILL!!! FURTHERMORE, I HAVE 1ST HAND
KNOWLEDGE OF VOTER FRAUD! My brother has NOT lived at my address since appox 1992. in 1999 he left Texas and is a
registered Republican voter in another state. YET for decades I have continued to get Voter Registration cards in HIS name at my
address. I just checked: https://www.dallascountyvotes.org/voter-lookup/#VoterEligibilityDetail - that reads: "Effective Date of
Registration      08/26/2000" (A YEAR AFTER HE LEFT TEXAS and APPROX 7 years after he moved from my home and
district). WHAT WAS EVEN WORST WAS THE ELECTION FRAUD FOUND ON: https://www.dallascountyvotes.org/voter-
lookup/#ElectedOfficials - THAT SHOWS HIM VOTING FEDERAL FOR BIDEN, HARRIS AND LOCAL DALLAS
COUNTY Colin Allred...ELECTION FRAUD MUST BE STOPPED - GET RID OF THE MACHINES!!

Jennifer Mathews
Self
Porter, TX

We need to make it easy to vote, but hard to cheat. This can be accomplished not only by passing SB1, which I support, but also
by enforcing the law. Please pass this bill, enforce our current laws, and conduct a FULL FORENSIC AUDIT so that Texas
residents can feel confident about the integrity of their elections.

Joetta Harris
Self - Self Employed
Garland, TX

I FULLY SUPPORT THE SENATE'S ELECTION INTEGRITY BILL!!! FURTHERMORE, I HAVE 1ST HAND
KNOWLEDGE OF VOTER FRAUD! BOTH MINE AND MY HUSBANDS VOTES WERE STOLEN IN THE 2020
ELECTION!!!...VERIFIED ON: https://www.dallascountyvotes.org/voter-lookup/#ElectedOfficials ....THE CORRUPT
DOMINION VOTING MACHINES STOLE OUR VOTES AND FLIPPED IT FOR (FEDERAL) BIDEN/HARRIS AND
LOCAL DALLAS COUNTY COLIN ALLRED!!! ...WE ARE BEYOND PISSED!!!...THESE CORRUPT MACHINES MUST
GO ASAP!!! WE MUST GET BACK TO THE BASICS OF PAPER BALLOTS, VOTER ID (2 OR MORE WITH PHOTO ID,
PROOF OF US CITIZENSHIP, AGE, AND PROOF OF RESIDENCY WITHIN YOUR VOTING DISTRICT
(UTILITY/PHONE/RENT/MORTGAGE PAYMENT IN THEIR NAME), MAIL IN BALLOTS TO BE NOTARIZED BY
LOCAL NOTARY), ALL HAND COUNTED WITH COMPLETE NAME, ADDRESS AND SS# OF THOSE COUNTING THE
BALLOTS AND RECORDED AUDITORALLY...AND TAKE AN OATH TO UPHOLD THEIR RESULTS TO BE TRUE,
OTHERWISE IMPRISSONABLE UNDER FEDERAL LAW.

Kathryn Karpf
RAC-TX
Irving, TX

There’s no way I remember what identification I provided when I registered to vote 40 years ago. And the fact that my
handwriting has evolved over the years just adds another excuse for my ballot to be excluded. Please include a complete cure
process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure incomplete applications
or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House action can add a way to
alert voters of the need for a cure and give CLEAR instructions for making sure their vote counts; as well, make the process
uniform in all counties—not optional.

I have several factors putting me at high risk for COVID and was put at great risk just in order to exercise my right as a U.S.
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I have several factors     5:21-cv-00844-XR
                       putting                      Document
                               me at high risk for COVID         117-4
                                                            and was put at Filed  11/15/21
                                                                           great risk           Page
                                                                                      just in order     305 ofmy
                                                                                                    to exercise 554
                                                                                                                  right as a U.S.
citizen to vote. This was due to the fact that the USPS was not functioning at its normal capacity and could not guarantee that my
mail in ballot would arrive in time to be counted. And as I strongly wanted my vote to count, I was forced under the
circumstances to deliver my vote via the Dropbox option. And because the Texas process for Dropbox requires contact with
another human being, my life was unnecessarily put at risk. I implore you to simplify the Dropbox process so that a voter only
need to drop his/her ballot in the slot without encountering another human being. There are so many checks and balances already
on mail in ballots, that human intervention at that point is unnecessary. We need more and safer options to return vote by mail
ballots.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers. Furthermore, the same criminal penalties that are applied to
election workers ought to be applied to the poll watchers; otherwise the system is completely unbalanced.

Also, adding electronic voter registration to the bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce administrative costs.

I sincerely hope you take seriously my experience and these suggestions.

Phil Casali
Self
Point, TX

Non citizens must not be allowed to vote
Yearly clean up of voter roles
Yearly voter registration- citizens must register to vote every year or election cycle
Go back to paper ballots
No election software
No internet connections
Full forensic audits must take place wherein the legislature has full authority- not the governor- not the secretary of state

Jennifer Blount
self
Fort Worth, TX

SB 1 is an important bill and must pass the house, senate and be signed into law. There must also be a transparent, full, forensic
audit of the 2020 General Election. Capt. Seth Keshel and others have provided enough data to confirm what more than 1/2 of
Americans suspect; that the Presidential election (and some down ballot races) had substantial fraudulent activity. You must
understand, Texans cannot move forward and really TRUST that our votes are counted correctly and that they won't be canceled
by illegal votes, if you turn a blind eye to what happened in 2020. I am personally paying close attention and will only vote for
and/or donate to politicians who FULLY support a forensic audit of the 2020 General Election (held Nov. 3, 2020). I am not alone
in this commitment. Criminal behavior in the past election must be investigate and those proven to have participated in such a
crime prosecuted to the full extent of the law. This is the ONLY way forward. Paper ballots are also the ONLY way to making it
nearly impossible to cheat. DO THE RIGHT THING!! Thank you.

Julie Sawyer
Self
Huntsville, TX

Please pass this bill!

Victoria Hanson
Self / Retired
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Self / Retired
Corpus Christi, TX

Vote Yes with the following amendments, to ensure Election Integrity:
-Mail-in ballots must have attached to them a copy of identification as is necessary for in-person voting, such as a driver’s
license.
-Absolutely NO unsolicited applications for mail-in ballots.
-Those assisting with voting, such as attendants and caregivers, must identify themselves, to protect voter integrity and to protect
the voter.
-Carrier envelopes should not be returned for corrections.

Andrea Carroll
self, musician
Austin, TX

The committee should focus on solutions for ALL voters and help restore the level of trust in Texas elections. A way of doing this
is to acknowledge the magnitude of existing Election Code safeguards and transparency.

The COVID pandemic has highlighted something that voters with disabilities have known for quite some time: we need the safer
options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are
what Texans want. This is what I and my husband with disabilities want.

Voters with disabilities need additional refinement of SB 1. The proposed limits on mail-in and curbside voting and new standards
for signature verification would make it harder, and in some cases impossible, for people with disabilities to safely and
conveniently cast their ballots. Specifically, the House can add provisions that allow blind and visually impaired voters a way to
securely and privately vote. We also must not criminalize legitimate voter assistance for those with language barriers and
disabilities.

In addition to the challenges voters will face due to this bill, we must not allow voters and poll workers to be intimidated,
harassed and disrupted by partisan poll watchers. To be effective, poll watchers should receive required additional training and
should acknowledge the integrity of the polling space by executing an oath similar to election workers.

Jais Munoz, Sir
Self
Midlothian, TX

We absolutely MUST not only have a forensic audit STAT (I have little faith in the system and people died for that right) but
harsher penalties and criminal offenses for that violating nonsense.

Sue Robrrts
Self
Garland, TX

I fully support SB1to ensure election integrity.
It is basic to our democracy that our elections be for American citizens only & be counted accurately for one vote per American
citizen.
Adds voter identification to vote by mail, making it consistent with in-person voting
Strengthens prohibitions against paid vote harvesting
Protects poll watcher access to see and hear the process, improving transparency
Prohibits public officials from distributing unrequested vote-by-mail applications
Conducts regular maintenance to verify the accuracy of voter registration lists
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Patricia Kenrick
Self
Austin, TX

The pandemic has highlighted the need for safer methods of voting, safer expanded early voting, extended hours at polling places
and more options to return vote by mail. Please don’t make harder for Texas voters. Y’all need to represent Texas voters.

Cheryl Measures
Self, Retired
Weatherford, TX

The great need for election integrity, security, and forensic audits are a multi-state and national concern. Please do all you can to
improve the election processes in our great state of Texas so that we are leaders by example. Both technology and fundamental
auditing can avoid and prevent fraud. Forensics will expose risks, errors, and abuse when managed properly. Let's show the
world how to run clean elections, and punish abusers publicly. Zero tolerance for corruption! Thank you for your hard work and
dedication!

Baldomero Garza, Esq.
Self/Attorney
Manvel, TX

Texans need solutions so everyone eligible to vote can. Our election code has already enough protections and safeguards. We
need the safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots.
This is what I want and Texans expect. Add a cure process for applications for mail ballots and for the returned mail ballots.
Remember people make mistakes. Give the Texan voting a opportunity to make sure their vote counted. Texas has changed, it is
time to add electronic voter registration to the omnibus bill. This would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs. We must have all Texans participate in our process.

Shirley Rothbauer, Mrs.
self
Hallettsville, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

Niloufar Hafizi
Self/Interpreter
Katy, TX

I oppose SB 1. It is an unnecessary and damaging bill that does not focus on election security. The proposed ban on voting from
inside a vehicle inequitably impacts Texans with disabilities and women with children, for whom the ability to vote without
needing to bring children into the polling place lowers barriers to voting. Critically, there is no evidence that voting from inside a
vehicle comprises election security in any way. The same applies to the ban on twenty-four hour voting. SB 1 eliminates an
innovation Harris County provided to expand ballot access for shift workers for no reason, other than evidently to target a county
with a high proportion of non-white voters. Section 3.03 of SB 1 also gives poll watchers leeway to intimidate voters. SB 1 as
written should not be passed until it focuses on actual election security measures, such as provisions regarding paper ballot
records. The rest of it is contrary to the needs of a state where about one-third of eligible citizens do not register and vote.
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Natalie Jones
self
Dallas, TX

Election bills must be amended to include the following: Transparent, audit-able elections with access to all records &
equipment, no computers in the polling place and in central count, Vote tabulation that is based solely on a hand count of paper
ballots, legitimate voter rolls and voter registration procedures, three days of early voting with no gap between Early Voting and
Election Day, no waivers by the Secretary of State, Courts, or Governor without legislation voted on by Texas legislature, fire
Keith Ingram, Director of Texas Elections Division who has actively sabotaged the expert witness' accounts of electronic
manipulation of vote records/results

Kathleen Gunter, Resident
Self
Houston, TX

Hours should be extended for the working class including all weekends leading up any election. New technology for the
handicapped voters is critical because they need easy access electronically. During this COVID-19 pandemic drive through was
the best and easiest solution to getting our votes in without spreading the virus.

Amanda Morin
Self. Homemaker
McKinney, TX

Vote yes on a full forensic audit

Deborah Hiser, Attorney
None
Austin, TX

Please do not restrict the right to vote and set Texas back to the pre civil rights act days. This is not about integrity of our voting
system. It is about keeping poor and minority voters, and the elderly from participating in our elections!

Stephanie Hoffman, Ms.
Self
Austin, TX

SB 1 will make it more difficult to access the ballot box, criminalize election officials for simple things like sending out vote by
mail applications, embolden partisan poll watchers, and create additional barriers to voting for individuals with disabilities like
me.
I work hard to stay mentally healthy and I cherish my right to vote. It scares me to death that this bill could make it impossible
for me to cast my vote in the future. I have a disability that is not obvious right now but
By further restricting and limiting access to curbside voting and limiting it is too restrictive. Do not make this an obstacle course.
Make it easy to be there.
Making drive through voting available to everyone is helpful to me and while I’m able to go into a polling site
I deserve to feel safe. The amount of power that this bill gives poll watchers would limit that- period. Look at the drama of this
last election! I want the election judge to have all power to keep the polling place safe in all precincts. I may have to have with a
loved one take me.
Both of my grandfather’s and family served courageously in the Army to protect our democracy. They did their part to protect
my ability to vote and I am coming all the way here today to ask you to do yours.
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my ability to vote Case   5:21-cv-00844-XR
                   and I am                      Document
                            coming all the way here            117-4
                                                    today to ask        Filed
                                                                 you to do    11/15/21 Page 309 of 554
                                                                           yours.

Teal Scott
Self
Allen, TX

We must be able to be confident in our elections here in Texas. I want the election process to be tightened so that we cannot have
fraud ever again. I want strict penalties for those that commit voter fraud, including any government official. These penalties need
to be harsh, so as to prevent it in the first place. I do not want mail in ballots, and I want voter ID to be added to our elections.

Tana Ward
Self
McKinney, TX

Vote YES to a full forensic audit

Cathy Marchino
Self
McKinney, TX

Vote yes on full forensic audit

Yvonne Roberts, Commander (Ret), USN
Self, retired Naval Officer and civil engineer
Carthage, TX

I support S.B. No. 1 by Hughes, et al. The provisions contained in this bill work to ensure that elections are secure and penalize
fraudulent acts by any who seek to compromise elections. I urge passage of this bill immediately.

Rita Curtin
Self
Mckinney, TX

Please vote on a full forensic voting audit

Teal Scott
Self
Allen, TX

I also want to add that I vote to have a full forensic audit completed in Texas.

Karen Gravley, Ms
Self
Plano, TX

Vote yes
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Vote yes
                    Case 5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 310 of 554
Kaaren Teuber, Lt Col (ret)
self - retired
Van Alstyne, TX

No electronic devices; paper ballots & paper poll books. Voter ID required for in-person and mail-in voting. Vote harvesting
eliminated. Poll watchers given complete access to voting process. No unrequested vote-by-mail applications. Vote only in
precinct. "1 person, 1 vote"

Tara Schulte
Self- home organizer
Mckinney, TX

As a Texas Citizen and after the 2020 elections, I feel disenfranchised and do not trust the results of any election going forward.
I’m requesting you vote YES ON A FULL FORENSIC AUDIT OF THE 2020 elections all the up and down the ballot! It is of
upmost importance to me as a life long voter WE GET THIS DONE and now!

Jeff Marchino
Self - Insurance Broker
McKinney, TX

Vote YES for SB 1

Phil Casali
Self
Point, TX

I sent comments earlier today but forgot this-
No mail in ballots except for military personel who are deployed and must be under the strictest scrutiny to avoid fraud-
I support SB1 but believe it needs to be strengthened

Alexandra Schilling
Fort Bend county Republican Party Precinct 1008
Wallis, TX

In Favor of bill - too many constituents have lost faith in the integrity of our elections. The overall morale towards government
and its system of doing things has decreased significantly. I know specifically of five people within my county who checked their
vote and found it had been counted twice. I know of at least two election workers who were physically assaulted while working
the poles. We cannot insure the future of our elections until we insure the public that we’ve done all we can to maintain the
integrity of the ballot!

Cliff O'Neal
Myself
Wichita Falls, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.
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want.               Case 5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 311 of 554

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Cynthia Collins
Hughes
McKinney, TX

Vote yes

Robin Stewart
Self
Wichita Falls, TX

I implore you to vote yes on a full forensic audit. Thank you!

Duvina Rosso
Citizen
McKinney, TX

I vote for a full forensic audit on the election integrity.

Kristi Sherman
Self
Mckinney, TX

I want a full forensic audit
I’m voting YES

Srini Raghavan
Self
Allen, TX

Yes

Molly Jakkamsetti
Self
Dallas, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.
To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.
Additionally, include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the
ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session.
However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote
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However, House action      5:21-cv-00844-XR         Document
                              add a way to alert voters           117-4
                                                        of the need         Filed
                                                                    for a cure and11/15/21      Page 312forofmaking
                                                                                   give clear instructions    554 sure their vote
counts; as well as make the process uniform in all counties not optional.
Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.
Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.
Our vote is our voice. Don’t take it away.
Focus on solutions for all voters and help restore the level of trust in Texas elections.

Robert Kelleher, Mr
Self.   Retired.
Mckinney, TX

Election reform must be accomplished before the next electiom

Katherine Edwards
Self
McKinney, TX

I oppose SB1. Why would we want to make a person's constitutional right to vote more difficult? The current covid age has
made extending absentee voting essential. As we move past covid, we can learn from this tumultuous time. Just like with
everyone, in my middle age, middle upper class demographic, time is short. Figuring out how and when to vote in a busy
schedule can be challenging. Restricting how and when I am able to vote is not the right choice.

Desiree Jett
Self travel agent
Mckinney, TX

Want a full forensic audit of 2020 election

jonathan bull
self
Dallas, TX

SB-1 creates unnecessary barriers to full participation in our government and election process. Instead focus on solutions for all
voters and help restore the level of trust in Texas elections.
We already have substantial Election Code safeguards and transparency, we need more, not less, voting access.

Marisa Williams
Self- SAHM
McKinney, TX

Please conduct a full forensic audit of the November 2020 election. Thank you.

Juliet Kuehn
Self
McKinney, TX

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I would like you to vote yes on a full forensic audit. We need to move forward!

Kathryn Cockroft
Self/retired USPS
Sheridan, TX

As a former Postmaster, I can vouch for the abuses and frauds that occur during registration for elections. I personally witnessed
person submitting forms under multiple names and addresses via USPS mail. (10 years ago) In this day of technology, their
SHOULD be systems in place to verify signatures, addresses, aliases, ect for each election.

Patrick Curtin
Self
McKinney, TX

Election Integrity is the cornerstone of our democracy. There should be no one on the left or right who oppose this bill.

Klaus Kuehn
Self , construction
McKinney, TX

In favor of secure election and forensic audit

Suzan Betts
Self
Frisco, TX

WE, THE HONEST CITIZENS OF TEXAS, WANT A FULL FORENSIC AUDIT OF THE 2020 ELECTION!

William Kuehne, Mr
Self
Mckinney, TX

Please do your best to ensure only one vote per every proven legal voter!

Bring back Voter integrity before Civil War is left as only answer.

Ballots are meant to replace bullets.

But the ballots must be protected and only used once by each legal Voter

Kristopher Sherman
Self
Mckinney, TX

I am for additional penalties for future election malfeasance and would also like to express my concern for the November 3rd,
2020 election. I support a full and complete audit to better understand the gaps in the Texas election system and to rectify any
and all nefarious activities.
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and all nefarious activities.

Lynda Lindstrom, None
Self retired
Allen, TX

Please support the voter rights bill (SB1) that will be worked on today and make it as comprehensive as possible. We must have
honest and free elections.

Lisa Full
Self Teacher
McKinney, TX

Please vote YES for election integrity and security. We want to know our vote is counted as we submitted. It’s an American right
for this Freedom.

Thank you, Lisa Full

Jeff Wynn
Self
Lewisville, TX

Election integrity MUST include ELECTION FRAUD, not just voter fraud. Full forensic audits are more important than anything
we can do as a state to insure the stability of our Texas Republic. I support SB 1 and furthermore ask that SB 1 be amended to
include HB 26 by Toth.

Angela Davis
Self
Forney, TX

I fully support Sb1 and request this bill be amended with hb26 for full forensic audits, no mail in ballots unless requested, no drop
boxes, no machines paper ballots, no tallying or any equipment with internet capability.

Ann Sowieja
Self
Plano, TX

All of the above

Elizabeth Corley
We the people
Grapevine, TX

Enough proof has been brought in the various presentations indicate there is question about the integrity of our United States
election process. I request a full audit of the 2020 elections and all components of the election system in the State of Texas This
is imperative to the future of our nation. Without election integrity, we do not have a nation. Thank you.


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Jacqueline Hailey, Minister
TMO
Houston, TX

I am against this bill because it puts roadblocks in the voting process and gives unworthy official too much power! No to SB1

Melinda Preston
Self
Frisco, TX

Please pass bill SB1. As a state, we need to know that every vote counts. After this last election and hearing about all of the
fraudulent voting and practices that went on, many Texans feel like there is no reason to vote since their vote won’t be counted
anyway. Let’s show our fellow
Texans that we do care about accuracy and that every single vote counts. Please vote for SB1.

Eva Silvas
Self, Retired Teacher
Houston, TX

I hereby request that Election Integrity SB1 be passed to ensure that Fraud is eradicated from our Elections. Our Constitutional
Right to have FAIR AND JUST ELECTIONS as We, The People, must be honored.

Kathryn Librizzi
Self - skin care
Murphy, TX

I want a full forensic audit done.

Tom Roise
Self
Mckinney, TX

Vote yes !!

Guadalupe Cuellar, Legislative Attorney
City of El Paso
El Paso, TX

The City of El Paso opposes this bill.

Kelly Clark
Self
League city, TX

Please vote for a full forensic audit. The future of Texas depends on your vote!

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Leesa Brieger
self/retired
Fischer, TX

To all Whom it Concerns:

  As a Texan, I am writing to protest SB 1 and the attempts to revoke voter rights and to take partisan control of election
administration (and outcome). It is unacceptable that either political party act to curtail voting and/or control elections.
Democracy may be an inconvenient truth for the GOP, but Texas is a democracy and the legislature must respect that.

Regards,
Leesa Brieger, Fischer, TX, Comal County

Linda Litzinger, Public Policy Specialist
Texas Parent to Parent
Austin, TX

Texas Parent to Parent neglected to say our position on the bill in our previous comment. We are AGAINST SB1 for the reasons
already submitted:


Temporary buildings (Section 2):
Many school voting sites select their portable buildings for voting, specifically for the purpose of separating adult voters from
students attending school. This practice is for safety concerns, yet SB1 Section 2 nixes the portables, and will require that voters
submit to the school's routine for signing in and being escorted to the voting area, which stresses the school. Allow school
portables to be used for voting.

Mail in Ballots (Sections 4.13 and 4.15):
Our population can experience difficulty writing legibly, meaning that signatures differ depending on one's health, body position,
etc. Mailing a second signature would not guarantee an improved outcome. Specifying that one must travel to the Registrar is
akin to nullifying someone’s vote. The solution is to allow a person to say verbally when called or emailed, that it was their
signature.

Voting assistance (Sections 5.02, 5.03, and 5.04):
Limiting assistance to those who cannot see or write is too prescriptive, because there are so many intervals between “can and
can’t” that still require assistance. Gaining assistance jeopardizes the helper to possibly commit a felony. So to avoid subjecting
someone to a felony, the voter will try to get by without assistance.
Many people still have legitimate needs for assistance which aren’t included in this definition. A few examples, of many:
-        Tracking issues: The voter needs someone to hold a note card under the line they are reading, even though they can read.
-        Hearing: The person brings someone to sign with them, as they are unfamiliar with the process and need to communicate,
even while they are in front of the voting machine.
-        Prompting needs: The person needs to be prompted through any process that requires staying focused.
-        Use of only one arm, which is typically busy driving the wheelchair in the tight voting areas, so that someone must
physically handle voting materials. When voting curbside, someone must hold the portable voting box on their lap, so they can
use their good hand to vote. When voting by mail, someone must stuff the ballot into their envelope and seal it for them.
To summarize, allow for incremental disability needs, plus additional disabilities, so that people who assist will be allowed to
give the voter the assistance he/she routinely expects to receive.

Texas Parent to Parent thanks you for this opportunity to provide input.

Anne Griffin
self
Red Oak, TX
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Red Oak, TX

I wholeheartedly support the passage of this bill to protect the election process in Texas. We need this to help protect it from
fraud and to keep our elections valid and honest.

Hany Khalil
Texas Gulf Coast Area Labor Federation
Houston, TX

Good morning to members of the House Select Committee on Constitutional Rights.

My name is Hany Khalil. I’m the Executive Director of the Texas Gulf Coast Area Labor Federation. I’m a former social studies
teacher, Vice-President of the Houston Federation of Teachers, and a Harris County resident.

Our federation of 90 unions and 60,000 union members advocates for a fair shot at better lives for all working families –
regardless of the color of our skin, the country of our birth, or our faith.
Today we ask you to vote down SB 1.

Working families want to have their voices heard by elected officials. Exercising our right to vote at the ballot box is one of the
most important ways workers can make our voices heard, but to take full advantage of that right, we need election procedures to
be safe, convenient, and accessible to all of us.

The first job of our legislators is to ensure unfettered access to the ballot box. Any electoral reform should serve the goals of
protecting the right to vote and making voting more convenient, safe, and accessible to all Texas voters.

Instead, SB1 weakens protections for the right to vote and makes it harder for Texans to vote.

Last fall in Harris County election officials followed the will of the people and expanded access to the ballot box so voters could
vote safely during the pandemic. Those reforms included 24 hour access, drive-thru voting, expanded early voting, and expanded
drop off sites for absentee ballots. Thousands of workers took advantage of expanded access, convenience, and safety to vote in
those elections, resulting in historic voter turnout. They included bus drivers and pipefitters, nurses and grocery store workers,
delivery drivers and teachers. They voted for candidates for both parties.

The state of Texas should be making it easier for other counties to follow Harris County’s lead, not trying to interfere in how
Harris County runs elections.

Working families don't want voter suppression - we want action to fix the grid, to help working families to get back on their feet
and get our kids safely back in school, and to keep our communities safe during the public health crisis that is still with us.

It shouldn’t be more difficult to vote in Texas than it is to buy a gun.

My parents immigrated from Egypt to the U.S. because they viewed America as a beacon of democracy and opportunity
compared to the country of their birth. The turn towards trying to suppress the vote embodied in SB 1 has them worried that
Texas and America are turning back the clock to before the Voting Rights Act was passed. It has them worried that you are
turning your backs on them.

I urge you to turn away from this path. Vote down SB1. Thank you.

Amanda Gutman
Self
Austin, TX

Please focus your efforts on making voting accessible to ALL Texas voters, regardless of zip code, work/family obligations, or
physical ability. It is abhorrent that, in the middle of a pandemic that threatens the lives of so many of our loved ones, our
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physical ability. It Case   5:21-cv-00844-XR
                     is abhorrent that, in the middle Document
                                                      of a pandemic117-4    Filed the
                                                                    that threatens 11/15/21
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                                                                                                      of our  554 ones, our
legislature would seek to strip away safe access to this fundamental right in our democracy. It is a farce that our elections are
already anything but transparent and safe, and it is shameful that any of our elected officials would perpetuate this false narrative.
We need safer options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots.
These are what Texans want.

Jeff Reese, President
HPJC
HOUSTON, TX

I am commenting on the current voting legislation. No one that I know, either republican or democrat, is for restricting the ability
to vote. Ensuring the integrity of the process is one thing, forbidding the passing out of water is on a whole new level.
Criminalizing innocent mistakes is dangerous for both parties. Please consider that when voting, Thanks, Jeff Reese, Houston
Peace and Justice Center, Houston Property Rights Association, Greater Houston Coalition for Justice.

Lisa Knop
Self/Project Manager
Plano, TX

I implore you to vote for this and any other bill that will restore confidence in the results of our elections including this and a full
forensic audit of the Nov. 3, 2020 election results.

Eugene Lux, Mr
Self
Fredericksburg, TX

This bill is good

Mary Corbin
Self
Houston, TX

I support this bill. I have a disability and the bill will not make it harder for me to vote.

Julie Regh
self
Parker, TX

vote yes on a full forensic audit.

Heather Kennedy
Self
Dripping Springs, TX

The pretense for this bill is based on unsubstantiated allegations about the security of the 2020 elections. There was no
widespread fraud. Officials across the state have found no widespread fraud. But we did have a good voter turnout, because
different areas made it easier to vote SECURELY. I am especially concerned about the voting rights of people with disabilities.
This bill places an undue burden on someone who wishes to vote by mail because they have a disability. Drive-through voting
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This bill places anCase
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                           burden on someone whoDocument          117-4
                                                     wishes to vote  by mailFiled 11/15/21
                                                                             because they havePage      319 of
                                                                                                 a disability.   554
                                                                                                               Drive-through   voting
worked and was secure. 24-hour voting worked and was secure. Drop boxes are secure. We have the technology to do these
things securely. When fraud is detected, it's because the measures already in place are working as intended, which is good. I don't
know if this draft of the bill includes allowing election judges to carry handguns, but that's a terrible idea. Finally, there are
people that are way too excited to be poll watchers. The bill gives them way too much freedom of movement around people who
are in the middle of voting. We have a secret ballot, and there is NO place for intimidation at the polls. Please don't allow this bill
to pass.

DAVID HAMEL
self
TEMPLE, TX

Please support the election integrity bill (SB 1 by Hughes).

Mary Corbin
Self
Houston, TX

No compromise with the democrats.

Mary Fried, Mrs
Self / registered voter /retired
Houston, TX

I am appalled at the changes proposed to make voting in Texas harder. We are already one of the states that makes it hard to
register to vote, it’s disheartening to also become one of the hardest to execute that right. Houston in particular found ways to
ASSIST voters and these enhancements such as longer voting hours are to now to be restricted? Appalling.
Changes to “pollwatching” are also frightening. At the very least poll watchers should have to undergo stringent training as
volunteer voter registrars are currently.
Gun carrying at polls? Hard NO!
Remember you are tasked with caring and supporting all of your constituents even those who did not vote for you. You took an
oath. Do your job. Represent ALL Texans and make Texas shine a light instead of being the butt of jokes about how backward
and mean we are.

Mary Corbin
Self
Houston, TX

No compromise with the democrats.

John Skinner
self, computer programmer
Austin, TX

I am a new Texan, who previously lived in and voted in two other states. Texas has been by far the most difficult of these states to
vote in.

As soon as I moved I requested a voter registration form from an office I couldn't visit physically because of covid. Yet it took
three months, total, to receive, process, and receive mailed confirmation of this form. My household had to call a Travis county
electionon:
Printed  office to prompt
            August         them
                     30, 2021    to actually
                              11:32  AM process our forms. They barely made it in time for my first election.
                                                           Page 201 of 429
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election office to prompt them to actually process Document    117-4
                                                   our forms. They barelyFiled
                                                                          made11/15/21
                                                                               it in time forPage  320
                                                                                              my first    of 554
                                                                                                       election.

As a new resident who still had a drivers license from Nebraska, my previous home state, proving my identity at the polling place
was quite confusing to the poll worker. He wasn't clear on the rules for voter ID. I find it bizarre that licenses from other US
states are considered suspect.

Clearly existing Election Code safeguards are substantial. It is laughable that anyone would consider adding more obstacles to
voting in Texas, like taking power away from voter assistance groups. The committee should focus on solutions that will restore
my level of trust in Texas elections.

Christa Fletcher
Self
Dallas, TX

Regarding:
Sec. 15.028. NOTICE OF UNLAWFUL VOTING OR REGISTRATION
No evidence provided of a widespread issue to need creation of such a law. Arbitrary law and false rhetoric enforcement.
Regarding:
Sec. 85.005. REGULAR DAYS AND HOURS FOR VOTING.
This time frame doesn’t include the entire population and is unnecessary and biased against low class workers. I’ve never lived in
a state that is so closed off to voting times and availability. It is government overreach.
Regarding:
ARTICLE 3. ELECTION OFFICERS AND OBSERVERS, is enabling harassments to constituents. Polling places are not a place
for political rallying and should be a safe place for people to vote. Since there is no proven widespread voter fraud this call for
changes for partisan watchers is unnecessary and supports false rhetoric. This tactic has been used in the past as a deterrent to and
infringement of voting rights.

Laura Templeton
Self
Abilene, TX

As a 64 year old retired educator, I have used early voting many times. It made my life much easier to avoid lines during a busy
day. I’d like to see expansion of early voting to help other working people. Expanded early voting, extended hours at the polls,
more options of mail-in ballots and electronic voter registration just make sense if we’re trying to get 100% of the population to
vote. Isn’t that our goal—to give everyone a voice?

I believe our Election Code contains appropriate safeguards—recent research and data show very little voter fraud and election
officials from the last election have testified to the truth of that. Instead of making it harder to vote, I expect you to focus on
solutions that will AID voters.

And please reign in the poll watchers—they must be adequately trained and required to submit to election officials by oath.

Susan Gibson
Self/Retired Paramedic
Bay City, TX

In Favor!

We must secure our elections and provide confidence that every legal vote is counted! We KNOW there was significant fraud in
the November 03, 2020 election and this must be corrected before holding any further elections!
The citizens of Texas MUST have confidence in our elections and that will only happen if our current elected officials stand up
and fight for election integrity!
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Emilee Jordan
self
Round Mountain, TX

To Whom It May Concern:

Thank you for taking the time to consider my comments regarding the SB 1 Bill. There are several issues I'd like to comment on:

I suggest this SB 1 Bill be amended with HB 26 to include full forensic audits.

I suggest Texas voters have auditable paper ballots to be counted by hand with a live video feed for all to be able to watch (of
course masking out any voter identifying information) or counted with voting and tally equipment with NO internet connectivity
or capability.

I suggest NO drive-through voting.

I would like to see absentee voting only as outlined by state law.

I suggest there only be ONE day to vote, I suggest making voting day a holiday so everyone can have the day off to go cast their
ballot, see their ballot counted and see the results posted by day's end. I believe enough volunteers in each precinct in each county
in this state is able to make counting and posting of results happen, many hands make lighter work.

I would like to suggest no drop boxes.

I suggest no mail in ballots mailed out to voters unless specifically requested by them.

I suggest no annual mail in ballots.

For the elderly and disabled, I suggest a fast pass or a separate special reserved voting station at the polling place for those voters
to be able to cast their ballots easier and with less wait-time.

I would also like to suggest an independent audit on our elections.

Thank you for taking the time to consider my comments. I greatly appreciate the opportunity to voice my concern.

Most Sincerely,
Emilee Jordan
Round Mountain, TX

Rhonda Hurley
Self - Retired
Bellaire, TX

Please support SB 1 Election Integrity. I am a resident of Harris County and we have not had an honest election in decades. We
deserve better. I am a legal Hispanic citizen and have voted in all elections since I was of age to do so. We must have honest and
fair elections. We cannot do so without proper Voter ID, NO drive-thru voting and NO vote harvesting. There MUST be strict
penalties for those who participate in voter fraud.

Karen Hillier
Self
Bryan, TX
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This bill addresses fabricated issue: voter fraud. It discourages voting. The requirements for voting proposed within bill are based
on deliberately attempting to keep voter numbers lower. Please do not support this bill which smacks of racism.

Kymberlaine Banks
self
Garland, TX

I am deeply concerned that this bill makes it more difficult for everyone except the most privileged to vote in our elections and
that is not democratic. I would like to see expansion of ability for people to register and affirm their registration electronically. I
would also love to see online voting added to the ways people could vote, although we do suffer a terrible digital divide here in
Texas equity could come from ideas like adding a vote cellular phone app. We need ideas to expand voting. This right is precious
and important. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the
voter registration rolls, as well as reduce costs. I want both accurate voter registration rolls and for more people to vote and I
know that's possible.

Kathleen Damron
Self
Celina, TX

Please vote yes on a full forensic audit.

Annette Holdeman
Self, Retired
Round Top, TX

My name is Annette Holdeman, zip code 78954. I am a Fayette County, Texas voter and I am asking, begging, you to oppose
SB1, do not vote for it. As currently proposed, it would create unnecessary obstacles for voters making it more difficult to vote
rather than making it easier. It gives the Secretary of State too much say over unfounded claims of election fraud, whichever
political party is in power. I was able to easily apply to vote by mail in the November 2020 election and was able to drop off my
ballot at an official NRG Stadium drop off location in Harris County (as at the time we were then registered to vote there as we
lived in Harris County). The process was safe, secure and provided confidence in our voting system.

Do not make it more difficult to vote, especially since claims of massive, significant voter fraud are unfounded.

Vote against SB 1 as the bill is written now.

Thank You,
Annette Holdeman

Shannon Ayres
Self
Frisco, TX

If we want to restore confidence in our elections and save our Republic, it is imperative that you vote YES on SB1 and conduct a
full forensic audit on the Presidential election in 2020, including all down ballot races.
Shannon Ayres

Mary Schoppa, Mrs
Self/retired
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Lubbock, TX

It is increasingly clear to me that many of our elections are fraudulent. Lack of voter ID and people being bussed in to the polls
and more or less being told how to vote are just two of the culprits. We cannot travel, make large purchases, or be admitted to a
hospital without proper ID. Why should we be able to vote without one? There were plenty of videos and testimony from poll
workers to call into question the 2020 presidential election. I feel that a full audit should take place and ballots which are not even
authentic ballots should be thrown out! If we are not sure that elections are done properly and by the rule of law, it will be
increasingly harder to encourage people to get out and vote. Every American deserves to have his voice heard, but it must be done
the right way!

Laura Phelps, RN
Self
Frisco, TX

Want this on the floor. We WANT election integrity!

Vicky Little
Self
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Nancy Knight
self
Kerrville, TX

I have seen the corruption and dishonest in Texas elections and am appalled. The voters of Texas deserve better. We know what
we want and we want to make up our own minds. We don't want politicians cheating us out of our God-given rights. Please,
please, please vote YES for SB 1. I fully support it. Thank you and God bless Texas

Valerie Donndelinger
Self
Woodway, TX

PROVE TO THE CITIZENS OF THE GREAT STATE OF TEXAS THAT OUR VOICE – OUR VOTE – COUNTS. VOTE
YES!

I am a native of suburban Chicago, a city rich with organized criminal activity and a corrupt political machine.

I was a resident of metro Detroit (Dearborn) for over two decades, until moving to Texas the summer before the 2016 election.

Despite mailing a request to the Dearborn city clerk two months before the *2016* election, the two adults in our household were
still listed as registered to vote in Michigan the morning after the *2020* election.
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That I question election integrity in my two former states of residence should be clear. I had hoped that Texas would be different,
but the investigative journalism of Project Veritas, which led to the arrest of Raquel Rodriguez in January 2021, crushed my
hopes that Texas was any different.

HEAR THIS: party affiliation is irrelevant—election fraud hurts all Texans and cannot be tolerated if we hope to remain a free
people. Unless a full forensic audit is conducted, I will continue to doubt the integrity of our elections.

PROVE TO THE CITIZENS OF THE GREAT STATE OF TEXAS THAT OUR VOICE – OUR VOTE – COUNTS. VOTE
YES!

Tom Holman, Citizen
Self
Austin, TX

We must also have a process in place that permits our Voting Laws to be monitored, validated, verified and audited. The process
must be capable of being replicated. The process must be independently monitored, validated, verified and audited.

Audit trails are essential. They are used to ensure the integrity of records. All audit trails must be: Available, Archived, Traceable,
Contemporaneous - Each entry must be time stamped using a controlled clock system which cannot be changed. It must be Safe
& Secure.

You have you heard the term air gapped? Our system is not air gapped. It must be 100% air gapped.

I hear our data never leaves the US for tabulation. Shouldn’t the answer be it never leaves our air gapped system!

Texas must stop paid ballot harvesting. Texas must stop Voter Assistance Fraud. Texas must insure accountability in the Polls.
Texas must prevent Voter intimidation.

Texas must prevent the out of control federal government from dictating how Texas votes for Texan representatives..

SB1 is a step in insuring Texas their votes count. All Texan’s have the right to vote. Every Texan has the right to vote in the same
way as every other Texan. Special privileges for some is wrong. Easier to vote harder to cheat. It’s the Texas way.

Robyn Honig
Self/ Volunteer DVR, Former election judge
Austin, TX

I oppose SB 1. It's already incredibly difficult to vote in Texas. With transportation issues, long lines, limited voter ID options,
and a burdensome vote-by-mail application unavailable to most voters, our state legislature should make it easier to vote, not
harder.

But not only would the bill make it harder to vote, it would make it scarier. Violent insurrectionists would be allowed to patrol the
polling station, stand close to the voters, and disrupt the polling place. A minor error by an election worker would lead to
prosecution. I could go on.

Who does something willingly when it's difficult and scary? Especially if they've never done it before? We'll have fewer voters
and fewer election workers and longer lines, which will drive off even more voters. That's the bill's true intent.

Short of universal ballot-by-mail (like Utah and Nevada have), a good elections bill would include:
- Automatic voter registration, or at least electronic voter registration. Imagine the time, money, effort, and paper we'd save!
- Every voter eligible for vote-by-mail, with annual applications auto-renewing for voters over 65 and with permanent disabilities.
- Training for all poll watchers, including an oath to refrain from disrupting the voting process and to respect voters' privacy.
- A complete cure process for mail ballots and applications.
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- A complete cure Case
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                            for mail ballots and applications.
- A way for blind voters to vote securely and privately.
- A drive-thru voting option for all counties. Drive-thru voting kept many voters safe during the pandemic. It's also great for
people who are sick, injured, or have small children.
- A 24-hour voting option for all counties.
- Permissive, not restrictive, voting process rules to let the counties innovate.
- Control of the polling place in the hands of election judges.

Texas should work to keep its voters happy, not scare them out of voting.

Bill Aleshire
Self
Austin, TX

I realize this testimony is not likely stop any Republican from supporting SB 1, but I implore you to look beyond partisan tactics
and strip out of the Bill anything that makes it more difficult for any registered voter to vote. Support adding anything to the Bill
that makes it even easier and more convenient for Texans to vote. The most obvious: Allow drive-thru voting.

William Pumfrey, Citizen
Self
Austin, TX

As someone who has spent thousands of hours over the years encouraging people to exercise their glorious right to vote in our
blessed United States, I am concerned about SB 1.

We need to make voting convenient, not burdensome. If there is not any proof that a particular approach to voting rights has
generated fraud to a degree that is non-trivial, then there is no reason to ban that form of voting. Such a ban should never be
advertised as “voting integrity.”

With this in mind, I urge you to reject attempts to:

•       Elevate partisan poll watcher power above election official authority
•       Ban drive-through and outdoor voting
•       Restrict voters from dropping off completed absentee ballots
•       shrink early voting periods
•       Increase burdens on voters with disabilities to access assistance at the polls
•       Embrace suppression of votes by people of color, the elderly, the young and, especially, the disabled
•       Criminalize the act of assisting voters

Instead, I urge you to take the following positive steps:

•       Allow online voter registration
•       Make drive-through voting optional for all counties
•       Make 24-hour voting optional for all counties
•       Make voting process rules for counties permissive rather than restrictive
•       Keep polling site order within the power of election judges

Thank you for your attention.

Larry Crittenden
Self
Weatherford, TX
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I would find it odd that there would be a need for a bill such as SB1 if we were not living in such rampant and brazenly corrupt
times. Being that they are, election integrity is more important than ever. This topic is not only of great importance to myself but
seems to resonate with all in my community, without exception. I have been open to and have welcomed an opposing view to the
subject, but there does not seem to be one. The argument that the poor cannot obtain identification has proven moronic at best as
an ID is required for a multitude of items and access already.
I think it would be safe to say that the majority of constituents in my area are FOR election integrity.
Please represent us appropriately.

Taylor James
Self, recruiter
Austin, TX

I urge the committee to oppose SB 1. SB 1 would create unnecessary barriers to voting that would disproportionately affect poor
voters and voters of color. Instead of restricting voting access, we should focus on solutions for all voters to help increase the
integrity of and trust in Texas elections, such as: implementing electronic voter registration, which would both save money and
increase the accuracy and integrity of voter registration rolls; provide additional training for poll watchers; implement a cure
process for mail ballots; and add options for blind voters to securely and privately vote.
Now, more than ever, we need to make voting safe and secure - not by limiting access, but by implementing common-sense
programs that work for everyone.

Kristi Grubbs, Mrs.
Self
McKinney, TX

Please vote yes for a full forensic audit of the 2020 Election. In light of ongoing audits in other state, I believe it is of utmost
importance to ensure election integrity. I am saddened to know people who have stated to me they will never vote again due to
the outcome of the last election because they no longer trust the process. This last election proves that now is the time to secure
the rights of every Texan, making sure that our voices count and that outside technological influences do t take away our rights.
We the people need our public servants to uphold the laws of our state. Thank you for your consideration to protect our votes.

Kimberly Seale
Individual
Katy TX 77450, TX

Everyone should support SB1. We want our votes to be counted!!!!

David Porter
Self
Lake Kiowa, TX

The people of Texas deserve better from their legislators. Standing on the courage of your convictions does not mean getting on
an airplane and leaving the state in order to try to manipulate the legislative system.
The most precious citizen privilege is the right to vote. The hallmark of all 50 states is the ability for the people to have an honest
accurate vote that represents the will of the people. It is the bedrock on which the United States of America stands.
This bill is literally a “housekeeping bill“. It is way past the time for elected officials in the state of Texas and the United States of
America to stop playing political games when efforts are being made to protect the voting process.
Everyone who has a vote in this country was able to learn and observe many exploited flaws in our electoral processes in the most
recent elections.
In these difficult times the country doesn’t need politicians, we need patriots. DO YOUR JOB or please, resign and let some other
citizen do better. Thank you.
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citizen do better. Thank 5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 327 of 554

Shelly Frasier
Myself-concern as an American
Springtown, TX

We MUST protect our elections. If we do not have election integrity, we have nothing!

Laurie Duke
SELF. Stay at home parent
Fort Worth, TX

Texas has some of the strictest voting laws in the country. There has been no evidence of voter fraud that would ultimately change
outcomes of our elections. I strongly oppose SB1 as it increases opportunities for intimidation through movement allowed by
poll watchers, denies successful drive through voting procedures that increased voter turnout in the past elections and does
nothing to INCREASE voter turner out, but seeks to diminish it. SB1 should be OPPOSED and voted AGAINST.

Richard Davey
Self sales
Honey grove, TX

I support SB1 with what we have experienced over the past year we need this more then ever. Please vote for this bill.

Emily McCutchan
Self
Dallas, TX

I oppose this bill. It is unnecessary and removes local control, a concept we hold dear in Texas.

Randall Seale
Individual
Katy, TX

Everyone needs to support SB1. We want our votes counted correctly. Tired of Republicans and Democrats doing all of this
theater while our votes are being manipulated. You know it, we know you know. Clean this mess up!

Susan Fountain
SREC SD 16
Dallas, TX

Election Bills must be amended to include transparent, auditable elections with access to all records and equipment. No
computers in the polling place or Central Count. No download of Early Voting flash drives until 7pm on Election Day, in order to
prevent download, analysis and tampering of results in the 3 day time lag between EV and Election Day. We need shorter Early
Voting periods of one week. We need our voter rolls cleaned and purged of unqualified, illegitimate or inactive voters. Waivers to
circumvent Texas Election Laws must be stopped immediately and the source of previous waivers to accomplish this should be
fired immediately (Keith Ingram). Changes to Texas Election Laws can only be done through the Legislative Process. Thank
you for your consideration . Susan Fountain SREC SD16 214-566-2425

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Margaret Brooks
Self
Carrollton, TX

I do not give my representative the authority to vote against the expansion of voting rights for all Texans. Limiting dates, times
and allowed methods of voting provided to all Americans today is not good for our democracy. We should hear from all of our
citizens not just a few.

Jennifer Radhakrishnan
Self
Flower Mound, TX

Please vote yes.

Barbara Larkin
myself
Dallas, TX

Please do not pass SB1 in its current form. We need improved voter access not much worse voter access. Do you think Texans are
lazy? is that why we vote at 65% and Coloradans vote at 85%. Stop adding impediments. Give the people online voter
registration for all new voters! The counties check all the data after the voters enter it so there is not an increase in voter issues
with online registration. Add address verification software so voters can't make an address mistake. Make this easier not harder.
Do not let poll workers intimidate voters at the polls. That will take down our democracy completely. And SB1 is filled with
obstacles to voting by mail that will make it too difficult for the disabled community to vote. Start over on the entire vote by mail
section and envision yourself as disabled.

Gail Capps, President no
Dallas Eagle Forum
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

David Thompson
self retired
Hurst, TX

I fully support SB1 with the removal of Amendment #6.

barry hancock
Self
Dallas, TX
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Dallas, TX

Election bills must be amended to include the following:
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No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Marla Lopez
Mi Familia Vota
Houston, TX

I’m testifying against SB 1 & HB 3 to demand that you quit playing with our lives, our rights, and do the work to earn our trust
and votes. I want to emphasize that because of this legislature, we are dragging on the real problems that are costing us our lives,
jobs, health, families and future. These bills will make it harder for us to have a say in government decisions, and harder have our
needs included in solutions to problems Texans continue to face.

Instead of punishing and criminalizing the convenience of 24 hour voting, drive thru, extended votings - policies that helped all
kinds of voters, especially disabled and diverse voters, exercise their right to vote safely during a deadly and ongoing pandemic -
get to work on the REAL problems people are having, not just “Your” voters, but all the constituents youre supposed LISTEN to
and serve. These policies would harm our most affected people/voters who are being dragged and stomped on by the issues your
leadership refuses to address.

Drop the games and quit pitting people against each other - SB 1 & HB 3 aim to not only make the right to vote in Texas even
more complicated and inconvenient, but to turn up the volume on this culture of intimidation, deceit, and disinformation to
benefit certain legislators and their re-election. You are costing us our lives, health, jobs, and families.

I demand that the committee, the state legislature and the Governor - to quit playing partisan politics with our lives, and do the
work to earn our trust and votes. I demand you stop SB 1 & HB 3 and defeat your selfish ways, in order to focus on our kids, the
hospitals, the PEOPLE HERE IN THIS STATE who have not been given a say or the support they need to survive and recover.

I hope you listen and stop these bills to spend your time on funding our healthcare system, schools, teachers, and fixing our
power grid.

Thank you.

Lorri Haden
Self/Retired
Austin, TX

I am a lifelong resident of Texas and a long-time volunteer deputy registrar, and I am strongly opposed to this unconscionable
bill. The bill is absolutely unnecessary and blatantly undemocratic. I am appalled and disheartened by this legislature's and
governor's attempts to stifle the voices of Texas residents, but I will speak out against voter suppression attempts as long as I have
breath left in me. Please vote NO on SB 1.

Michelle Skoczek
self, citizen
McKinney, TX

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Please vote YES on a FULL FORENSIC Audit.
Election integrity is THE most important issue, upon which all our other rights rise and fall. People will quit voting altogether if
they know that it can be manipulated by the media and those who have access to the machines or any hacker. There's no real
transparency and with this environment created by the last election, you'll have to go beyond the normal to ensure that the process
is not tampered with and that everyone and anyone can have access to view that process.

Barbara Harless
self, and True Texas Elections, LLC
Murphy, TX

SB1:
1) DO NOT reduce the penalties for obstruction of poll watcher to Class B misdemeanor or less. Pg 12 of HB 3 MUST BE
CHANGED in committee!
2) We strongly urge you NOT to implement procedures that will cause it to be harder to detect fraud.
3) DO NOT place any provisions that could be perceived as permitting wireless capability or internet connectivity through to
2024, or at any other time.

TEXAS Constitution requires that “the Legislature shall provide for the numbering of tickets and make such other regulations as
may be necessary to DETECT AND PUNISH FRAUD and preserve the purity of the ballot box; and the Legislature shall provide
by law for the registration of all voters.”
Article 6, Section 4.

Sue Smith
League of Women Voters of Denton
Denton, TX

No one supports fraudulent voting. So safe guards - yes. But I cannot support extreme measures being proposed.

Kris Kittle, Dr
self
Fort Worth, TX

I support this bill with the remove of Amendment 6. In the 2020 Ballot Propositions, 98% of Republican voters agreed that
election officials should purge illegal voters from the voter rolls and verify that each new registered voter is a US Citizen. SB1
creates criminal offenses, an important step that is currently missing in the efforts to fight election fraud. SB1 corrects many
deficiencies in the maintenance of voter rolls, which is one of the many ways that voter fraud is accomplished. I believe that
passage of SB1 will be an important step towards achieving the secure elections process that Texans deserve.

Heather Solsbery
My Family
Rockdale, TX

Without securing elections, fully investigating any hint or allegation of fraud, and prosecuting to the fullest extent of the law, the
people have no faith in the government of this state or nation and shall withdraw consent to be governed. This bill must pass and
do not mistake lack of presence in the hearing or chamber gallery with lack of interest. We are busy trying to feed our families -
but we are watching how you people vote. You are elected to serve. Either serve or resign and let someone else serve!!!

Melissa Palomo-Ramon
self, Finance Manager
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San Antonio, TX

I would like to submit my comments against SB1. This is nothing but an excuse to suppress voters of color and those who live in
urban areas. It is a threat to democracy and an affront to all people in the great state of Texas. We are still in the midst of a deadly
pandemic and any and all accommodations must be made to make voting easier, not harder. Using the guise of voter integrity is
disingenuous at best and slimy politics at its worst.

Sonia Vigen
People Against Coerced Shots
Lucas, TX

We the People want a full forensic audit of the last federal election in November 2020. We want access to ballots, machines,
software. We want to see how the information was transmitted, where it was transmitted. Everything. We want to get rid of
machines and go back to paper ballots. We want secure elections. Thank you for listening to us. We are the masters and
legislators are our servants. Please do the will of the people because we are awake and engaged and we will remove and replace
anyone who is not a patriot.

Bonnie Mahoney
Self
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.

Ellen Leyrer
Self, retired
Plano, TX

I support SB1, with the removal of Amendment #6.

Larry Lehrmann
Lehrmann
Colleyville, TX

I strongly support SB1, with the removal of Amendment 6

Julie Kellogg
Self
Corpus Christi, TX

Please consider the following



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1. A copy of one of the Secretary of States’ IDs listed for in person voting ID should also be used for mail in voting ID, not a
DL number or SSN last 4. An ID with a legally vetted signature should be used equally for both in person and mail in voting.

2. Do not allow carrier envelopes to be returned so signature defects can be corrected. This is where voter fraud can occur and
we don’t want to return evidence of voter fraud so it can be destroyed.

3. Make it unlawful to distribute unsolicited applications for mail in ballots that have any portion already filled in. This makes
voter fraud easier and also may place the voter in the wrong political party, affecting primary voting.

4.     Attendants and caregivers should not be exempt from signing the carrier envelope. Remove this new exemption from the
bill. They are required to identify themselves now and they should continue to be required.

Elisabeth Belile
Self. Writer. Editor.
Austin, TX

Esteemed representatives:

I'm writing to oppose the restrictions put forth in this bill that would undoubtedly discriminate against marginalized communities
and discourage the most sacred of all democratic civic participation, voting. The facts are clear. Our current protections have kept
voter fraud to a minimum. It is almost non-existent. There is no evidence to justify, for example, closing down 24 hour or drive
through voting. The Texas workforce operates on a 24 hour a day cycle. Giving those parents and workers the option of voting
after a double shift or a night shift to beat the traffic or vote before or after work has proven popular and successful. For people
with disabilities it has meant everything to be able to drop off ballots or do drive through voting, or voting by mail. For the
elderly it has been everything. My mother is confined to a wheelchair and could never sit in a long line in the hot sun without
water to cast her vote. She, like so many others, needs assistance. This bill is cruel in that regard. We are currently experiencing
the worst of the pandemic in terms of community spread, and hospitals at capacity. I have autoimmune disorder, which may make
me more vulnerable to severe covid. I was able to vote by mail at peak surge, and in person during early voting when there were
no crowds. Early voting is another essential for the elderly, disabled, or frontline workers. Those hours should be dramatically
increased. Please consider how unpopular and unfair this bill will be to a large number of your constituents. Thank you.

Yvonne Weldon
Self - Self employed
Austin, TX

Being half Japanese born and raised in Texas, I support voter integrity and support passing SB 1. My mother who is full Japanese
and 76 at the time had her vote in the 2016 presidential election voided due to a technical issue. I went the next day and spoke to
the election judge at her precinct who told her in part the reason was a lack of workers to help her with the confusing process. As
her daughter, I assisted her with the process to get a mail in ballot which she now can easily submit herself. In being proactive in
the process, I can see where it would be so easy to manipulate votes. I believe it is critical we make it easier to vote, but harder to
cheat. Thank you for your hard work this session and allowing my voice to be heard.

Hilary Whitfield
Self
Austin, TX

I respectfully request the committee vote no on SB1. This bill would make it harder for Texans to vote. Existing Election Code
safeguards are already robust and transparent. Voter fraud in Texas just is not happening. This bill is a solution looking for a
problem. Please vote no.

Teresa Comeaux
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Self
Houston, TX

In order to be sure our elections as not littered with fraudulent activity. We must seek to protect our voting right and the interrupt
every election. Every American MUST provide a legal form of identification. In addition, mail-in ballots must be removed as an
option for every American who resides in the continental U.S. having mail in ballots is an open invitation for fraud. No county
should send reminders to residents to inform them to request a paper mail in ballot be sent, this in itself criminalizes the county
and shows it seeks fraudulent behaviors. No legal mail in ballot should be counted or allowed to be included in any tally when
received beyond the date of any election held. All American citizens must have signature verification with every ballot and
election in which they are voting verified. No voting station should be allowed to operate 24 hours a day and no election should
be allowed to be paused or stopped. Lastly, we must secure our individual voting process, any electronic machine capable of
connecting to the internet wired or wireless is unacceptable. Paper ballots is the only true proper way to vote.

All elections must be fair and equal is just that simple. As we already know fraud is rampant in our state, especially in our major
cities. This behavior cannot be allowed to continue, SB1 must be passed to protect the voting rights of legal Americans in our
great state of Texas.
Thank you,
Teresa Comeaux

Vladimir De Franceschi
Self
Grapevine, TX

Governor Abbott has made Election Integrity a priority for the 87th Session of the Texas Legislature.
Election Integrity is a priority of the Republican Convention Delegates.
I believe that a Republican controlled Legislature should respect Republican Platform and Priorities.
In the 2020 Ballot Propositions, 98% of Republican voters agreed that election officials should purge illegal voters from the voter
rolls and verify that each new registered voter is a US Citizen.
SB1 creates criminal offenses, an important step that is currently missing in the efforts to fight election fraud.
SB1 corrects many deficiencies in the maintenance of voter rolls, which is one of the many ways that voter fraud is accomplished.
SB1 provides a path to prosecution by the Attorney General when election fraud is detected.
I believe that passage of SB1 will be an important step towards achieving the secure elections process that Texans deserve,
amendment 6 notwithstanding.

Chuck DeVore, Vice President
Texas Public Policy Foundation
Austin, TX

SB 1 is a much-needed election integrity reform addressing the growing problem of mail-in ballot trafficking. As Dallas
Democratic State Rep. Rafael Anchía noted in 2007 debate on voter ID, "Vote by mail, that we know, is the greatest source of
voter fraud in this state. In fact… a great majority of the prosecutions by the attorney general occur with respect to vote by mail."
Rep. Anchía was right then. Our research at the Texas Public Policy Foundation indicates a growing issue with mail-in ballot
fraud, with weaknesses in the Election Code that allowed for cheating in low turnout primary elections to be applied more
generally. We detailed this issue in a report published in September 2020 here:
https://files.texaspolicy.com/uploads/2020/09/30102322/DeVore-Mail-in-Balloting.pdf?
utm_source=hs_email&utm_medium=email&_hsenc=p2ANqtz-
97U6vSL9e87t_Xt350_RrFWEPSenQ1js0ksRIBJcOEOoR1XzFIQl2gVZueLqMTZa8vj_WS&_gl=
1*k66c3v*_ga*ODU5ODk5NjU4LjE2MjUxNzE1Mzg.
*_ga_PY28GXYGQP*MTYyOTcyOTIyNS4xOC4wLjE2Mjk3MjkyMjUuNjA. With a follow up study published in March 2021
here: https://files.texaspolicy.com/uploads/2021/03/10144454/2021-03-DeVore-EPP-List-Maintenance-Voter-ID.pdf.

The bottom line is that the Election Code needs to be strengthened to preserve the integrity and honesty of elections in Texas.

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Elizabeth Diebold
self/retired
Argyle, TX

The COVID epidemic makes it clear that we need safer methods to vote, not restrictions. We need expansion of early voting,
extended hours at polling places and more options to return vote by mail ballots.

All poll watchers should receive required additional training and should acknowledge the integrity of the polling space by
executing and oath similar to election workers.

Include a complete cure process for applications for mail ballots and for returned mail ballots by adding a a way to alert voters of
the need for a cure and give clear instructions for making sure that their vote counts as well as making the process uniform in all
counties not optional.

Voters with disabilities need additional refinement of SB 1 - specifically, the House can add provisions that allow blind voters a
way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Cynthia Grubb
2000 on my email list
Dallas, TX

I want these things as a tax paying citizen: Transparent election integrity with access to all records. NO computers in the polling
places. Vote tabulation that is based solely on a hand count of ballots. Legitimate voter rolls. 3 days of early voting with NO gap
between early voting and Election Day to prohibit dishonesty.
NO waivers by Sec of State, Courts, or Governor w/o legislation voted on by the Tx legislature.
FIRE Keith Ingram!! Director of the Texas Elections Divisions who has actively sabotaged the expert witness accounts of
electronic manipulation of vote records / results.

Rith Perkins, Mrs.
Self retired
Brenham, TX

This bill is critical to make sure every Texas citizen who votes is confident our vote is secure. That every vote is able to be
confirmed as legitimate. Voter ID must be one key fact as are the rest of the items in this bill. We cannot allow the Federal
Government to control Texas rights to make decisions for our citizens.

Eva DeLuna
Self / Analyst
Austin, TX

These comments are submitted in opposition to SB 1 / HB 3, which are "voter suppression disguised as election reform," as Every
Texan puts it. (https://everytexan.org/2021/07/12/voter-suppression-disguised-as-election-reform-comes-at-a-price/)

And as the League of Women Voters of Texas has testified,

"It takes an army of trained, dedicated election officials and volunteers to ensure that all eligible voters can exercise their right to
vote. Our democracy is stronger when every eligible voter has the opportunity to safely cast a vote and have it count.
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vote. Our democracy      5:21-cv-00844-XR
                    is stronger                 Document
                                when every eligible           117-4
                                                    voter has the      Filed to
                                                                  opportunity 11/15/21
                                                                                safely castPage
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                                                                                                  and have it count.

During the last election cycle, Texans all over the state benefited from more voting opportunities, such as expansion of early
voting, extended hours at the polling places, and more options to return vote-by-mail ballots. These are the kinds of measures that
Texans want. Instead, HB 3 adds to the morass of our election laws by using broad and confusing language, creating barriers to
voting, and adding criminal offenses.

What we really need are reforms that:

--Provide for online voter registration

--Allow and expand voting options, including extended early voting, temporary polling places, and vote-by-mail for all;

--Work with the US Postal Service to provide realistic time frames for vote-by-mail ballot handling and return procedures;

--Provide resources and guidelines for more sustained recruitment of poll workers;

--Require poll watcher training to combat intimidation and threats of violence against voters and election officials; and

--Provide sufficient funding for cyber security in election administration."

My thanks and appreciations to all state legislators voting against SB 1/HB 3 and all local, state, and federal officials fighting for
the kind of reforms LWV recommends.

Mark Pollack
Self, Project Manager Health and Human Services Nonprofit
Richardson, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want. Voting fraud is fantastically rare and the efforts at this bill are an deliberate attempt to suppress voter participation in favor
of the current political party. This is a dangerous trend towards authoritarianism rather then expanding and protecting the right of
voters.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs. Include a complete cure process for applications for mail ballots and for the returned mail ballots.
SB 1 added the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th
regular session. However, House action can add a way to alert voters of the need for a cure and give clear instructions for making
sure their vote counts; as well as make the process uniform in all counties not optional.

susan and grant Reading
Reading Construction
Dallas, TX

Integrity, transparency, and equity should be characteristics of a process so important to the people as are elections. When half
of a country feels like its elections are fraught with corruption and opportunity for fraud, we are trusting our officials to make
this behavior impossible. The greater the use of technology, the more the opportunity to corrupt.. Sometimes the simpler the
process, the less chance for fraud. Please, lets get the voter roles cleaned up to start with. Then, let's remove any possibility of
cyber interference. If that means going back to paper ballots and filling in the ovals with photo ID's and voter registration cards,
so be it. Thank you.

Danette Goodyear, Business owner
Self
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Mckinney, TX

Please vote YES on a full forensic audit.
Thank you

Jason Billingsley
self
Allen, TX

The beautiful idea at the core of our amazing country is that the governed be fairly represented in government. The cries of "no
taxation without representation" are a sacred, freedom affirming statement that will ring through the centuries and guide all future
generation toward a more perfect and just society. In order to continue championing this idea, which is central to the American
way of life, all Americans must have equal access to vote. Voting is our most essential right. Barriers to voting are an offense to
our fallen heroes of the military, and to the living heroes still serving today. None of them sacrificed for a vision of America
where only a select few could exercise their right to vote. They all took an oath to uphold the Constitution of the United States of
America and that constitution guarantees the right to vote.

SB1 seeks to make sure our elections are secure but there has been no substantial evidence that they are not. This bill seeks to
solve a problem that does not exist and in doing so tramples on the rights of U.S. and Texas citizens who have a right to be heard.
I urge you to consider what your vision of America is. I urge you to imagine being a person who would be affected by this bill; a
person who's vote is not cast because of undue hardships put in place by this bill. Is that the America you want to live in?

Barbara Hollis, Mrs
Self
Dallas, TX

I want transparent audit able elections with access to all records and equipment. No computers in the polling place and in central
count. Vote tabulation that is based solely on hand count a paper ballot. Legitimate voter rolls and voter registration procedures.
Three days of early voting with no gap between early voting and election day. No waivers by secretary of state courts or governor
without legislation voted on by the Texas legislature. Fire Keith Ingram Director of Texas elections division who has actively
sabotage the expert witness accounts of electronic manipulation

Elizabeth Bille
NALEO Educational Fund
Houston, TX

Good morning Chairman Trent and committee members, my name is Elizabeth Bille.

I am the Texas State Director for NALEO Educational Fund in Houston, Texas. Our work expands across the state, with a
regional focus in Dallas, El Paso, Harris, Bexar, Travis counties, along with the the Rio Grande Valley.

On behalf of the National Association of Latino Elected and Appointed Officials (NALEO Educational Fund), we strongly
oppose SB1.

NALEO Educational Fund is a non-partisan organization, and our mission is to facilitate full Latino participation in the American
political process.

SB 1 would erect unfair and unnecessary barriers for Latinos and other under-represented groups to have their voices heard in
Texas’ democracy.

It would prevent Latinos from obtaining the assistance they may need to cast ballots.

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It would subject eligible voters to the risk of unnecessary prosecutions, which would also be a waste of the state’s resources.

It would increase the danger of the harassment and intimidation of election officials and voters at the polling place.

It would make voting less accessible for Latinos and all Texans.

For these reasons, we urge to reject this unfair and discriminatory legislation.

Respectfully,
Elizabeth Bille

Kay Tyner
No Organization -- Representing Myself
Houston, TX

In strong support of SB1. I have worked elections in Harris County since 2008, as poll watcher, clerk, judge and most recently as
a member of the Signature Verification Committee and Early Voting Ballot Board. Much of the testimony against this bill is
misleading and ill informed, at best. Please objectively read the bill and listen to the testimony. The reason more irregularities
aren't found is that no one is looking. It is there, as previous testimony in the Senate has shown. Perhaps it is not "massive", but
any cheating it too much cheating. When local elections are determined by less than 50 votes and one convicted forger submits
over 100 Ballot by Mail applications in one envelope, it doesn't pass the smell test.

Many "innovations" were tried in Harris County in 2020 under the guise of coping with COVID concerns that had never been
authorized by the Code. The fact that they were not specifically forbidden was taken as permission, including drive thru voting
and 24-hour voting. Both of those created problems including the 1800+ discrepancy between votes cast and voters recorded that
Sen. Bettencourt has spoken about often. The Code currently provides for curbside voting and that will not be removed by this
Bill. It works great when poll workers are properly trained on the procedure.

This bill adds a cure process that makes it possible to correct minor errors so that ballots can be verified. It expands Early Voting.
It forces employers to allow employees time off to vote if they cannot otherwise get to the polls. Many good amendments were
added in the Senate this session making this an even better bill than it originally was.

I urge you to move this bill out of Committee and on to the House floor for vote.

Mari Cornelius
self
Austin, TX

Please, only hand counted paper ballots
Auditable and transparent elections with access to everything
No computers in polling place
3 days of early voting with no gaps between early voting and election day
No waivers
Only legitimate voter rolls and registration procedures allowed
Photo id required to vote

And please fire Keith Ingram and find a suitable and unbiased replacement

Chad Ennis
Texas Public Policy Foundation
Austin, TX
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A lot of the malarky about SB1 concerns poll watchers. Texas’ election integrity bills do not create new all-powerful, minority-
crushing poll watchers.

While the Dallas Morning News reported that “The House bill approved last week would empower partisan poll watchers,” but
no proposed bill changes the responsibilities of poll watchers. Their powers, confined to observing election workers and
reporting, remain the same.

Poll watchers have an important role in our election process. Poll watchers are the public’s eyes and ears at the polling place.
They are there not to watch the voters, but to watch the process and report any chicanery to the proper authorities. That’s it. Some
states, such as Hawaii, go so far as to require poll watchers to be present when counting ballots. Poll watchers strengthen
elections by watching the process and ensuring the election process is fair.

Poll watchers are not unique to Texas. Almost every state has provisions for poll watchers. Most people have voted in a location
where a poll watcher was present and probably did not even know they were there.

SB1 codifies the commonsense notion that poll watchers must not be denied entry to the polling place or the central counting
facility where the ballots are brought to be counted. Nor can they be shuffled to a place where they cannot observe the process. In
other words, a crooked election worker cannot order the poll watcher to step outside while the worker cheats. These provisions
are in direct response to complaints that election workers were attempting to do just hat (examples from Gillespie, Dallas, and
Travis counties).

Texas poll watchers are appointed by campaigns and political parties—they’re partisan. This is not unique, even if critics claim
otherwise. Partisan poll watchers are the norm. New York, for example, only allows partisan poll watchers. No non-partisans
allowed. Biases are disclosed and both parties are present. This is a feature, not a bug. Partisan poll watchers watch each other
along with the process. This prevents partisan misbehavior such as voter intimidation or electioneering. You can bet a poll
watcher will report if the opposite watcher is violating the rules.

That deterrence works. There is no evidence of widespread (or any) intimidation by official poll watchers in Texas. The only
evidence of bad behavior concerning poll watchers is them being forced out of the polling place or into places where they cannot
observe the process. And this is what the elections bills address.

SB1 is vital to safeguarding elections. The left’s claims of racism are merely a smokescreen to kill it.

Chris McCarthy
Self
Houston, TX

This bill will eliminate polling places in my neighborhood making it harder for me and my neighbors to vote. Harris County
made voting easier and more accessible, the way it should be. Please do not continue with this bill.

Catherine Marston, Dr.
self
Schertz, TX

I am against this bill, as are the other two members of my household. The absentia voting during the 2020 election allowed
myself and my sister, who are both in our 50s and have disabilities, to vote without fear of COVID. My 82-year-old dad, who is a
veteran and never misses an election, did not vote during the Summer 2020 runoff because he was afraid to go to the polls. To be
frank, we are also glad to have gotten our absentee ballots because of the right-wing belligerence in our rural county of
Guadalupe where white supremacists supporting the former president were behaving in threatening ways: and where our our
Schertz PD and Guadalupe Co. Sheriff's vehicles were waiving Trump Train flags. This is when we really need the Elections
office to do the great job it always does -- not have these thugs browbeating us at the polls claiming they are "pollwatchers."


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Margarwt Whitt
Minority Engagement Group (President) and precinct chair
Murphy, TX

SB1:
1) DO NOT reduce the penalties for obstruction of poll watcher to Class B misdemeanor or less.
2) We strongly urge you NOT to implement procedures that will cause it to be harder to detect fraud.
3) DO NOT place any provisions that could be perceived as permitting wireless capability or internet connectivity through to
2024, or at any other time.

TEXAS Constitution requires that “the Legislature shall provide for the numbering of tickets and make such other regulations as
may be necessary to detect and punish fraud and preserve the purity of the ballot box; and the Legislature shall provide by law for
the registration of all voters.”
Article 6, section 4

Aliceson Rosser
Self
Flower Mound, TX

I support SB 1. REMOVAL OF AMENDMENT 6.
I believe in protecting our constitutional rights and maintaining election integrity. And this should be a priority of the
Republican Convention Delegates. I became a US citizen in 2019, to vote in the US Presidential election in 2020. I went through
the legal channels to live in this country and to make my voice count as a citizen. Anyone who does not uphold these sacred
privileges and commits election/voting fraud should receive prosecution of the law to the fullest extent allowed to maintain
security of election integrity.
Americans deserve better, Texans deserve better than to allow the travesty of the election fraud to go undetected and/or
unpunished.
Passage of SB1 will be an important step towards achieving the secure elections process that Texans deserve, amendment 6
notwithstanding.

Melea Cassell
Self
El Paso, TX

This bill is not about election integrity. It is about voter suppression. The GOP knows that Texas is turning blue, and is even bluer
after Abbott’s inaction on Covid lead to the deaths of many conservative Texans. This bill is a direct reaction to those facts. It
does not make elections safer or give our elections more integrity. Our elections are already safe and vastly free of fraud. Stop
lying to Texans and stop trying to disenfranchise citizens!

Elbereth Howard
self
Austin, TX

Dear Representatives,

I went to cast an early vote down at the Dripping Springs Ranch Park location (1042 Event Center Drive, Dripping Springs TX).
The building is a huge metal structure, and the voting area was a wide open room with individual booths. There were temporary
tables set up in the room; a line for signing in, plus a few other tables if I recall (not sure on the number or layout anymore).
However, I AM sure there was a man sitting at one of these tables, a little way off, with a laptop.

The machines we used were 100% filled out by machine. I tapped on the display to cast a vote, and a paper was printed out
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                  Casewere
The machines we used     5:21-cv-00844-XR        Document
                            100% filled out by machine.        117-4
                                                          I tapped on theFiled 11/15/21
                                                                          display            Page
                                                                                  to cast a vote, and340  of 554
                                                                                                      a paper was printed out
afterward, which I took and put into a box. Here are a few issues with this:

1) The voting machines have the ability to connect to the internet. This has been shown multiple times by different people.
2) You want to tell me that dude with the laptop was just twiddling his thumbs, or do you think maybe he was online? People do
everything online these days.
3) If the machines were online, and he was online, then it’s likely he was on the same network, using the same physical router.
That means he could hack the machine if so inclined.
Who was he? Why was here there with a laptop?
4) I was told to keep my phone put away.
5) People can also use phones to hack these machines.
6) The machine I used to cast my vote is a bonafide black box. In other words, how it interprets the buttons I press, I have no
idea. If it reports that accurately to the county, I have no idea.
7) The print-out can be the result of a completely different process in that machine. It doesn’t have to be connected at all to what
the machine actually reports to the county. How is that secure?

When did we, as Texans, become so sloppy and lazy about protecting our votes? These votes confer incredible amounts of
money and power. It’s silly to think people won’t game the system; there are murderers and rapists in this world. Cheating votes
is a much lesser crime- people will do it. We have to get our heads out of the sand and start actually protecting the vote in this
state.

Thank you for reading,
Elbereth Howard

Larry Richardson, Mr
self
Dallas, TX

I am in support of SB 1. I believe we need more election security, particularly in large counties like my county (Dallas). We also
need to increase criminal penalties for election fraud.

Richard Schumacher
Self. Occupation: rentier
Richardson, TX

I fully endorse each and all of the following points:
- The committee must focus on solutions for all voters and help restore the level of trust in Texas elections.
- I acknowledge the magnitude of existing Election Code safeguards and transparency, and so should the Committee.

The Texas epidemic highlights the need for safer methods of voting more than ever. We need the safer options of expanded early
voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
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Adding electronic Case     5:21-cv-00844-XR
                    voter registration              Document
                                       to the omnibus            117-4 increase
                                                      bill would greatly Filed 11/15/21
                                                                                the accuracy Page   341 ofof554
                                                                                             and integrity   the voter registration
rolls, as well as reduce costs.

Katharyn Reiser
personal card
Austin, TX

Please pay attention to the following issues in considering SB 1: The Texas COVID epidemic highlights the need for safer
methods of voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and
more options to return vote by mail ballots. These are what Texans want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Jane Strohm
self, product manager
Houst, TX

The democratic is hugely important to protect and make accessible to all eligible voters. For far too long, many people have been
conditioned to not participate due to lack of understanding, access or inconsistent implementation and feeling like their vote won't
or doesn't count. I request the committee focus on solutions for all voters and help restore the level of trust in Texas elections. I
would like to see all voters eligible for mail in ballots because it allows people time to understand the lengthy ballot and provides
a paper back up. I don't feel confident in the Harris county voting machines because I can't see any proof of how my selections
were submitted.

We need to continue to allow for early voting so that people can participate in a calm and safe manner, at a time of day when they
are available from their work and personal responsibilities. We need to make it so easy to understand what is need to register to
vote and ensure that if Texas Secretary of State is properly validating the voter registrations. The man who was arrested for voting
illegally despite having been recently registered should not have been criminalized for the failure of the state to not verify he had
a few days left on his "papers" for parole.

It appears there is a magnitude of existing Election Code safeguards and transparency and we need to emphasize the lack of
evidence of fraudulent voting while making every eligible voter feel proud and confident about participating in every election.

Carol Widmann
Self; retired registered nurse
North Richland Hills, TX

Stop voter fraud

Libby Willis
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Libby Willis
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Self     Occupation: Professional Registered Parliamentarian
Fort Worth, TX

I am OPPOSED to Senate Bill 1. Please vote against it. I am most opposed to provisions in SB 1 which empower partisan poll
watchers and establish criminal penalties for any election workers who may inadvertently make minor mistakes during early and
Election Day in person voting. This bill makes partisan poll watchers into poll meddlers for both election workers AND voters. I
worry that disruptive partisan poll watchers may discourage voters from having to run more of a gauntlet just to vote. It's not
right. Let the trained election workers do their work unimpeded and most especially the Election Judge in a given polling place
be unimpeded in his or her ability to have a disruptive partisan poll watcher removed from the polling place. And do not give
partisan poll watchers the ability to observe closely ANY voters in the polling place while they are voting. This is anti-
democratic and anti-American and anti-Texan. OPPOSE Senate Bill 1.

Barbara Nugent
self
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraha

Damian Derby, Mr
HARRIS COUNTY GOP
Houston, TX

Harris County GOP requests that the State of Texas enforce a full Open Forensic Audit of the 2020 Election

The 2020 election ESPECIALLY in Harris County has been found in multiple instances of voter Fraud in the magnitude of
thousands. Harris County Residents do not feel their vote was properly counted and many laws broken in the 2020 Election. The
integrity of the Harris County 2020 election has been broken and the electoral process compromised.

WE THE PEOPLE OF HARRIS COUNTY TEXAS DEMAND A FULL OPEN FORENSIC AUDIT.

Mary Cullinane
Please Select
Austin, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want. I urge committee members to focus on solutions for all voters including provisions that allow blind voters a way to
securely and privately vote. As elected leaders you must do your part to discredit the oceans of mis/disinformation out there and
help to restore trust in Texas elections. The existing Election Code ensures sufficient safeguards and transparency. I also urge
you to add electronic voter registration to the omnibus bill. This would reduce costs and greatly increase the accuracy and
integrity of the voter registration rolls.

Petra Jones
Self
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Self
Salado, TX

I appreciate the effort to make our election more secure, but we need a full forensic audit with canvassing in the counties outlined
by CPT Sethel.

Autumn Wilson
Self
Corinth, TX

I am in full support of protecting our elections! I'd love to see smaller precincts and paper ballots. No more machines. Audit
2020!!!

Deborah Wallis
Self
Richardson, TX

We deserve to have fair and honest elections in Texas.

Michael Wallis
Self
Richardson, TX

Texas must act to ensure we have fair and honest elections.

Charles Wedemeyer, PE
Self - Licensed Engineer
Fort Worth, TX

There are four glaring problems with Texas’ current election laws.
1.       The law penalizes voters who visit the polls in person and follow the law.
   a. Mail-In voting should be at least as demanding and closely supervised
   b. Ballot harvesting must be accurately described in law and prosecuted as a felony.
2.       The laws are not enforced by elected officials and the penalties for transgressions are very light
3.       Independent, thorough and regular audits are never done.
4.       Electronic vote counting equipment facilitates cheating. It is incompatible with the manner in which elections are
conducted. It is not practical to hire enough independent IT people to monitor the equipment. Equipment vendors cannot be
trusted.
The result of all this is that honest voters are disenfranchised. Current elections in no way accurately measure the “consent of the
governed”
You must fix this!

Tara Awezec
Self
Lucas, TX

I am writing in support of SB1 filed by Senator Bryan Hughes. This bill contains the following common sense reforms which I
support:
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   1. Adds voter identification to vote by mail, making it consistent with in-person voting

   2. Strengthens prohibitions against paid vote harvesting

   3. Protects poll watcher access to see and hear the process, improving transparency

   4. Prohibits public officials from distributing unrequested vote-by-mail applications

   5. Conducts regular maintenance to verify the accuracy of voter registration lists

I urge all lawmakers to fully support this bill

Respectfully,
Tara Awezec
U.S. Citizen of the State of Texas

HELEN ELLISON
SELF
FORT WORTH, TX

FIrst, I do not believe the 2020 election was stolen. I know many people who work diligently at the polls and they do not think
the election was stolen. Second, my hope is that the legislature will focus on ideas that will make voting easier while maintaining
the current safety provisions. We should not have to work so hard to vote. It's a duty and a right. Your job is to facilitate
democracy not suppress it!

Belén Iñiguez
Mi Familia Vota
Houston, TX

I’m testifying against SB 1 & HB 3 because these bills will make it even harder to exercise the right to vote. It’s easier for people
to buy guns or grow their credit card debt than it is for concerned voters, especially those health issues, language needs, and
disabilities, to participate in our democracy. It’s a lie to call it democracy when your elected officials introduce bills like these
with the objective to throw every kind of obstacle, cost, and complication in order to shave off chunks of the electorate.

Let Texans Vote, and let them do so with options that are convenient and safe. SB 1 & HB 3 will continue to drive the divide
between people for partisan power, ignoring our needs and your duty to legislate, listen, and represent us fairly. Your loyalties
should lie with the common good of people, not your seat in power.

SB 1 / HB3 will limit our voting options - THAT ARE ALREADY SEVERELY LIMITED IN THE 21st CENTURY. They will
allow bullies to harass voters at the polls, and use up funds in legal bickering - funds that should go toward our communities to
strengthen, recover, and prepare. The bills would also make it very difficult for people with disabilities and health issues to
exercise their right - when it’s already hard enough to have healthcare, ADA access, and much more.

These bills do nothing for us Texans and our community issues; but they do everything to make sure the people who are most
affected by the state and Governor’s failure to lead don't get to have a say in whether they get to keep their jobs. Please do NOT
pass this bill out of committee, or any others like SB 1 / HB 3. Thank you for reading and considering my testimony.

Cheryl Tangen
self, retired attorney
The Woodlands, TX
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I vehemently OPPOSE the passage of this bill. The premise upon which it is based - that there is widespread voter fraud in Texas
- is unsupported and untrue. However, it appears that this charade will continue until and unless SOME voter legislation is
passed. Here are my suggestions: 1. If you MUST allow enhanced participation by partisan poll watchers, at least require them
to obtain training as imposed on election officials; 2. add some intent requirement with respect to the higher jail time penalties
for violations by election officials and those that seek to assist others to vote; these penalties have a chilling effect on anyone that
would otherwise want to serve as an election official or try to assist another to vote; 3. allow local election officials flexibility in
to increase voter participation, such as allowing the mailing of applications to vote by mail to at least those 65 years and above
and known disabled persons; 4. start with Murr's bill, HB 3, as a starting point. It at least makes a good faith effort to meet in the
middle. Thank you.

Elizabeth Maxfield
self - retired wireless communications industry executive
Austin, TX

Dear House Committee Members:

I believe I have voted in every federal election since I turned 18 in 1972 (the voting age was lowered to 18 in 1971), and I am
seriously concerned about SB 1.

Voting should be convenient, not burdensome. In the absence of proof that voting procedures have generated fraud to a degree
that is non-trivial, there is no reason to ban these forms of voting. To protect our democracy, we must make voting convenient and
accessible – and not restrict this fundamental right under the cover of “voting integrity.”

With this in mind, I urge you to consider these points:

•        Please REJECT efforts to elevate partisan poll watcher power above election official authority. I have served as a poll
worker, and I know that to be effective, poll workers require training. Poll WATCHERS should also be required to receive
training, and be required to acknowledge the integrity of the polling space by executing an oath similar to election workers.
•        Please DO NOT increase burdens on voters with disabilities to access assistance at the polls. Many voters require special
assistance to be able to exercise their right to vote.
•        Please DO NOT embrace suppression of votes by people of color, the elderly, the young and, especially, the disabled.
•        Please DO NOT criminalize the act of assisting voters.

I also urge you to remember that we are well into the 21st century, and that there are positive steps we can take to recognize the
changing work and life patterns of today’s citizens that will encourage voter participation, which in turn keeps Americans
connected to our democracy:

•       Allow online voter registration
•       Make drive-through voting optional for all counties
•       Make 24-hour voting optional for all counties
•       Make voting process rules for counties permissive rather than restrictive
•       Keep polling site order within the power of election judges

Thank you for your consideration of these comments.

Sandy Dochen
Religious Action Center Texas
Austin, TX

SB 1 in current form is unfair, narrow and blocks full voting participation, which is a hallmark of our democracy. I agree with the
League of Women Voters in pointing out these fixes that are needed to improve the bill:


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The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.


Texas is all about openness and inclusion. We should work to make it easier to vote, with adequate safeguards, rather than
throwing up roadblocks.

Merry Klatt
Self
SOUTHLAKE, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations
or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day. All legitimate preauthorized mail in ballots
must be counted befor Election Day, prior to the three days of early voting! No waivers by Secretary of State, Courts, or
Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Bev Gavenda, Ms
Self-Retired
Austin, TX

Vote No on SB1. The committee has not heard the people of Texas who voted in increasing numbers because their vote was
valued. The Texas government should value every Texan’s vote because Texans make Texas great! Vote against SB1 which
needlessly bans safe and correct voting methods that help more Texans be able to vote!

herb krasner
retired - none
spicewood, TX

Can someone please explain why the in-person voting hours should restricted everywhere to just 6am-9pm? And please don’t tell
me it’s just common sense. What might seem to be common sense in Tyler may not be common sense in Houston.
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Can someone please explain why the in-person voting hours should restricted everywhere to just 6am-9pm? And please don’t tell
me it’s just common sense. What might seem to be common sense in Tyler may not be common sense in Houston.
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LuAnne Hobbs
self
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
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Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Jeannette Hormuth
Self
Fredericksburg, TX

I support HB 3 (SB 1) , however with one important change: Page 12 should change the penalty for obstruction of a poll watcher
back to a Class A misdeameanor, AT THE VERY LEAST. It would be even better if it were a felony.

As an official watcher during the past 4 elections at Central Counting Station, obstruction of watchers has been a continual issue,
so much so, that I can not honestly say that the integrity of the people's vote was safe and true. Our election officials continue to
violate these mandatory election laws knowingly (we have cited the law, called the SOS, the SOS has contacted our officials
letting them know they are violating the law, we also have a lawsuit pending as a result) ...and yet these officials not only
continue in this illegal behaviour, but have even doubled down, by in fact illigally rejecting 3 duly appointed watchers at the 2020
Presidential Election from service. Without a strong penalty, there is no reason for these officials to follow the law. These puts
the integrity and transparency of our elections in extreme peril. Therefore, a Class B misdemeanor for obstruction of a watcher is
meaningless and insufficient and should be returned to a Class A or better yet, a felony.

The rest of the bill is a good, solid bill. The House needs to protect this Bill from any further alterations or changes that degrade
the contents and get it passed!

Thank you,

Jeannette Hormuth

Blanquita Chionglo
Self - Retired
DALLAS, TX

If people can furnish IDs for food stamps and government aids, voters must be required to show proof that they have skin in the
game - citizenship, law abiding.

Susan Barry
Self - retired
Fort Worth, TX

I believe that I speak for most Texans when I say that we want assurance that only legally registered voters are allowed to vote in
our elections. Voter IDs should be required before a person can vote, and voters should be US citizens.

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Ruth York
Tea Party Patriots of Eastland County; Texas Family Defense Committee; Self (Direct Sales)
Cisco, TX

We support SB 1 by Hughes. However, we wish to caution this Committee and the Legislature at large on two points:

1) Do not remove or weaken existing statutes designed to detect and prevent fraud, and do not reduce penalties that are meant to
discourage and punish fraud once detected. Integrity, transparency and trustworthiness are essential at every step of our election
processes.

2) Do not permit any connectivity in the central counting station equipment AT ALL.

Jeff Brantley
Myself
Austin, TX

I am Writing in support of SB 1. But I oppose amendment 6 in SB 1 as it undermines the bill. I believe Texas should have the
highest integrity election and the voter rolls should be purged of non-residents, of non-US citizens, and of course of those
deceased. This is completely logical and the presence of illegitimate people on the rolls invites fraud especially with regard to
mail in ballots if they are used.

Please pass this bill without the amendment 6. My name is Jeff Brantley and I live in Austin Texas.

Bev Gavenda, Ms
self, retired RN
Austin, TX

Please vote no on SB1. If SB1 passes, voting will almost certainly be more difficult for groups that have been historically
marginalized. The right to vote is the fundamental linchpin of our democracy. Do not follow and repeat the history in Texas of
using false allegations of threats to election integrity as a proxy for voter suppression. Stand up and look for the shining star for
Texas and vote against any bill that limits Texans from reaching for that shining star through voting. Changes such as removing
polling locations, adding new identity documentation, or modifying the process for mail-in ballots will only block the light of the
shining star, I urge you to keep the brightness and vote no to SB1.

Anne Stone
Self
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Marla Closen
True Texas Project
Comanche, TX
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Comanche, TX

My name is Marla Closen and I am a member of True Texas Project. I am writing to urge all of you to support SB1, with the
removal of amendment 6. Governor Abbot has prioritized this legislation and it is a priority for many, many Republican
Conservatives as well. Election integrity is the cornerstone of our nation’s survival as a Constitutional Republic. Nothing on your
agenda should be more important than getting this bill passed. Do the right thing and support this legislation for Texans.

Lou Ann Dunn
Self
Leander, TX

Election Bills must be amended to include:
-Transparent, auditable elections with access to all records and equipment
-No computers in the Polling Place and in Central Count
-Vote tabulation that is based solely on a hand count of paper ballots
-Legitimate voter rolls and voter registration procedures
-Three days of Early Voting with no gap between Early Voting and Election Day
-No Waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas legislature
-Fire Keith Ingram, Director of the Texas Elections Division who has actively sabotaged the expert witness' accounts of electronic
manipulation of vote records/results

Melissa Let m
Self Analyst
Coppell, TX

I oppose the restrictions on access to voting presented in SB1. I oppose this bill’s limitations on accommodations that can be
provided to the voter regarding the limitation of operation hours, assistance to persons with disabilities.

These restrictions are problematic in providing citizens access to the vote and if an election official has the capacity they should
not be prevented from providing more availability to the voter in a non-partisan or otherwise biased capacity.

Jessica Fausak
Self
Austin, TX

My name is Jessica Fausak and my zip code is 78723. Thank you for this opportunity to have my voice heard. As a Texas voter,
and an individual with multiple severe brain injuries, I’m writing to oppose Senate Bill 1 and ask that you vote against it. Voting
access is already harder in Texas than anywhere else in the United States of America, especially for those of us with disability.

I was 27 when I survived a hemorrhagic stroke caused by a brain aneurysm rupture and given a death sentence. While I am
resilient (and joyous to be alive) and have voted in every election possible since I left the ICU in 2015, others in my community
struggle more. They, however, are still Texans and deserve the opportunity to vote, to have their voices heard.

Our legislature ought to be making access to voting easier, not harder. Without open access to voting, our Texas will be sentenced
to elected officials who are not held accountable and will not work to represent us. For the love of Texas, please vote no on SB 1!

With immense gratitude,
Jessica Fausak

Susan Scruggs
citizen
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The woodlands, TX

Please pass election integrity to make our state strong against mail in ballots, no voter id, printing ballots, ballot boxes. I
witnessed what happened in Harris County just south of me to my horror. This has to be addressed with strong laws against it or
we will never have a fair election in Texas. Thank you- praying for all of you, Susan Scruggs

Andrew Bennett
Myself
Roanoke, TX

Thank you for this crucial bill. It is clear to the majority of Texans, that our elections have been compromised, and corrupted, on
both sides. Many of us no longer feel like our vote counts, and no longer trust those who we have elected to represent us in
Austin. Anyone who doesn't support this bill, must support corruption in the election process, and shouldn't be in office. Honor
your Oath, and do whats right! Integrity, Honor, Duty! We are praying that you make the right decision. Liberty in Texas
depends on it!

Cynthia Ramain
Self
Austin, TX

We need ELECTION INTEGRITY in Texas. Every single government official in the State of Texas should support this bill. If we
do not have election integrity, what is the point of elections? Forensic audits should be demanded by every one of our you
representing WE THE PEOPLE. Transparency and truth is necessary for the continued trust of your constituents. I will pray that
each and every one of you do the right thing. The future of our state, and country for that matter, depends on it. Thank you!

Marilyn Levin
Temple Emanuel
Dallas, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.
To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.
Include a complete cure process for applications for mail ballots and for the returned mail ballots. The Texas COVID epidemic
highlights the need for safer methods of voting more than ever. We need the safer options of expanded early voting, extended
hours at polling places, and more options to return vote by mail ballots. These are what Texans want.
SB 1 added the ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th
regular session. However, House action can add a way to alert voters of the need for a cure and give clear instructions for making
sure their vote counts; as well as make the process uniform in all counties not optional.
Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.
Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

John Dunlap
self
Spicewood, TX

I support this bill, which, despite diabolical misrepresentation by the media and political operatives, will aid in ensuring the
integrity of our elections -- at least here in Texas. Thank you for bringing this legislation.
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I support this bill, which, despite diabolical misrepresentation by the media and political operatives, will aid in ensuring the
                     Case --
integrity of our elections 5:21-cv-00844-XR
                             at least here in Texas. Document
                                                     Thank you for117-4
                                                                   bringingFiled  11/15/21 Page 351 of 554
                                                                            this legislation.

Maria Ibarra
Self
Austin, TX

I oppose SB 1. Our recent elections show that Texas already has safeguards in place. Elections are a point of pride in our Texas
communities; don't turn them into an excuse for intimidating voters and throwing more people in jail. Our democracy can only
survive if all citizens feel empowered to vote and participate!

Sheri Allen, Cantor
Self/Cantor
Ft. Worth, TX

Dear Chair Klick, Vice Chair Cortez, and members of the Elections Committee,

 My name is Cantor Sheri Allen, and I live in Ft. Worth. I am writing to you today urging you to oppose SB 1, because, among
other things, it would greatly limit options for voters. Banning drive through voting, 24 hour early voting, early voting sites, and
limiting permissible early voting hours will make it much more challenging for marginalized, underserved and minority
populations to have access to the polls.

As Jewish Clergy, I am commanded: “You shall not insult the deaf or place a stumbling block before the blind.” (Lev. 19:14).
Stumbling blocks come in many forms, from less-than accessible buildings, to health care or voting opportunities that are harder
to access for underserved communities. SB 1 is full of stumbling blocks.

In our democracy, the path of the people means voting – which should be cleared of obstacles. Our tradition, teachings and
values focus on the need for inclusive, accessible, reliable elections – especially for the most vulnerable. Removing these
stumbling blocks is paramount to assuring that everyone will have a voice in this democratic process. Isn’t that what our
country’s foundation is built on?

Please remove these dangerous stumbling blocks from SB1. And I thank you for your time and attention.

L’Shalom (with peace)

Cantor Sheri Allen

Kelley Freeman
Self, registered nurse
Kerrville, TX

In favor

Cheryl Roth
Self
Denton, TX

I support election integrity. It is critical to our nation to have only those qualified to vote.

Amber Goldapple, Mrs
Self
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Missouri City, TX

What good is a right to vote if this law puts in place bureaucratic hoops to jump through for LEGAL votes that have zero impact
on election integrity.

The many discretionary ways to throw out LEGAL votes opens the process up to further abuse. Requiring those who NEED to
vote by mail an option to only remedy in PERSON a wonky signature or missing note on an envelope defeats the propose of mail
in votes.

The time of day voting occurs has never been a root cause of voter fraud.

Voting from your car has always been available to those with accessibility needs, so stop the lie that this is an integrity issue for
anyone else!

Making voting even more difficult for those who work multiple jobs, have childcare requirements, work graveyards, and who
have long commutes from their district does not make our elections any more secure, rather it strips legal voters from the true
FREEDOM and RIGHT to vote. This bill is ANTI-AMERICAN.

Joe Lovelace
Self
Flint, TX

Thank you. I have read the bill but see no provision for a "Poll Watcher Badge".

I think some states provide for that.

Wouldn't it be nice for a voter to know if a Poll Watcher is present.

"Upon arrival at the polling place, a poll watcher shall display his appointment to the Officer of Elections.

The poll watcher shall sign the poll watcher register.

The poll watcher shall wear a badge displaying their “name” and the words “POLL WATCHER”.

The County Election Commission should provide the badges (labels) for candidates or campaign committees to use so the
precinct officials know they have been duly appointed."

Anna Elman
self -- web developer
Austin, TX

I oppose SB1. I have worked as an election worker, volunteered as a VDR, and helped with absentee voting outreach. I know first
hand how hard it is to register and vote in Texas. And I also know first hand how hard it is to hire and retain election workers.
This bill will make all of these tasks even harder. My biggest concern though is the effect on election workers. Having more and
unvetted poll watchers who can challenge and intimidate election workers is unacceptable. Second to that, registering to vote in
Texas is complex and time consuming task when it should not be. Texas has the ability to verify voter's identity without having to
deal with cumbersome paper forms. Online voter registration saves money, time, effort and it works! SB1 is a terrible bill that
does not serve the interests of Texans.

Robert Willis
Self
Frisco, TX
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Frisco, TX

Please vote for these bills. Thank you

Lisa Turner
self
Grand Prairie, TX

Vote NO on this bill that is intended solely to suppress the voting rights of Texans of color. Enabling partisan poll watchers,
regardless of party, to roam freely inside polling locations and invade what is the sacred and secret ballot of voters is intimidating
and morally reprehensible. Further, the state of Texas should not be working this hard to erect barriers to the ballot box and doing
so would be evidence of the State's intent to discriminate against voters of color. Please vote no!

Betty Oliver
Self
Cameron, TX

I was an election worker in 2020, working during early voting. NOBODY voted without showing ID - or even attempted to- at
my precinct. This bill is an outrageous attempt to prevent people from voting so that Republicans can retain power.

Zachary Conger
Self
San Antonio, TX

We The People have lost ALL trust in our elected officials and government institutions. We demand a forensic audit of the 2020
election in Texas, and the implementation of controls and procedures that prevent fraud in all future elections, including but not
limited to: Photo ID requirements, Paper ballot use requirements, Forensic audits of ALL elections going forward, and
Elimination of drop boxes and electronic machines. Criminal penalties for election fraud should be equivalent to Treason,
punishable by death.

Deborah Sanchez
Self, Paralegal
Corpus Christi, TX

I am ashamed of the politicians trying to suppress voting rights of their constituents, specifically people of color. Do not rule to
suppress voting rights!

Nicole Dominguez
Self
Dallas, TX

As a new Texas resident I request the committee focus on solutions for all voters and help restore the level of trust.

Suzanne Pham
Self, Company President
Dallas, TX


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Election bills must be amended to include the following:
1. Auditable elections with access to all records and equipment.
2. No computers in polling locations or central count.
3. Vote tabulation that is solely based on a hand count of paper ballots.
4. Legitimate voter rolls and voter registration.
5. Three days of early voting with no gap in between early voting and election day.
6. No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
7. Fire Keith Ingraham.
8. The November 3, 2020 election in Dallas County, Tarrant County, Collin County, and Harris County must be audited
immediately by an independent forensic audit team in the same manner as the Maricopa County audit being conducted at the
request of the Arizona State Senate.
9. Any software updates by election equipment companies, such as ES&S and Hart, must be strictly forbidden until after all
county election equipment has been forensically photographed in order to preserve a record of the November 3, 2020 election
results.
10. The State of Texas and each Texas county and precinct must be required to publicly report if their election software vendors
have, since November 3, 2020, already performed software updates or are requesting to perform software updates. This
information should be posted in a prominent place on the Texas Secretary of State's website and each county elections department
website. (Please research Mesa County, Colorado forensically photographing their election equipment before the Colorado SOS
allowed Dominion Voting Systems to perform a software update in Mesa County after which all data from the 11/3/2020 election
was wiped from the system.)

Carol Martin
self, retired
Austin, TX

I have volunteered with organization offers voters rides to polls. I know the transportation challenges some voters face, especially
voters with disabilities. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the
safer options of expanded early voting, extended hours at polling places, accessible polling sites and more options to return vote
by mail ballots.

Jaci Elliott, Ms.
TLWVLC
Schulenburg, TX

The push this past legislative session and the two special sessions called by the governor have proposed, in part, misguided
efforts to restrict voting options found to be safe and secure during the 2020 election. For state Republicans to claim that these
measures are designed to ensure election integrity, when they are unabashedly based on false claims of prevalent voter fraud, is
problematic; however, saying they are necessary and will encourage voter turnout when they are just the opposite is a fraudulent
claim and a false rationale.

Angie Fanning
self
Burleson, TX

SB1 is a bill looking for a problem to solve. There are very few verifiable voter fraud issues in Texas in any election, and
especially in the 2020 election. Texas already makes it more difficult to vote than most, if not all, other states, yet this bill seeks
to make it even harder. It's very obvious this is nothing more than a political ploy to keep people of color and disinfranchised
people from voting. As a native Texan, I used to be proud of my state, but not anymore. It is shameful to watch politicians
making decisions based solely on their own re-election and not on what the people of this state want. I implore each senator to
look at what this bill truly represents and have the conviction to vote their conscience instead of towing a party line.


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Diana For
Self
Austin, TX

I would like the representatives that are voting to stop the implementation of mail in ballots and curbside voting to realize they
are harming themselves and the citizens that voted for them. Our election in Texas was secure. I am immunosuppressed and could
use these options to keep myself out of danger during the pandemic and beyond. I have great medical care and can get a letter
from my doctor, yet many Texans in my situation cannot and this presses undo pressure upon them and will keep them from
voting safely or at all. I realize that those that have penned this bill realize this issue but are willing to push the bill through
regardless. The fact that you are scared of the masses being able to vote and possibly losing your grip on power sickens me. We
are a democracy and your efforts fly in the face of the rights given to us as Americans. You do not need to stack the deck against
your opponent to win. You could simply listen to the will of the people.

Krista Keosheyan
Administrator
Austin, TX

I am passionately against SB1 & any bills restricting voting. Including bills that will restrict 24 hr voting, voting by mail, &
special services for disabled voters. I want the Texas legislature to make voting easier for eligible Texans!
I especially oppose any election related legislation based on what is know as the "Big Lie", spread by former president Donald
Trump, that there was widespread voter fraud in the 2020 elections. I am proud that Texas helped so many eligible citizens to vote
in our state and did it safely in 2020.
Please do not legislate based on lies! Please DO NOT pass SB1!!

Steven Bauer, Legacy Navy Veteran
Self
Krum, TX

The desecration to Voting Rights by the party that left me by turning their back to honor, ethical & honest action is an
embarrassment to our state and nation! It’s Voter suppression based on a complete LIE. It fed the white nationalistic F*E*A*R
which is absolutely a white supremacy wet dream. False Evidence Appearing Real is what the GOP is acting upon. This action of
yours is light years from the GOP I grew up in and thought I was a part of when I joined the Navy. Shame on you & your pathetic
gaslighting! You’ve sold your souls to that which you chose as YOUR “Golden idol spewing insanity.”

Jac Elliott, Me.
TLWV
Schulenburg, TX

Vote NO on SB 1!

Joannes Haakman, Architect
Self/Architect
Austin, TX

In favor of SB 1-Election Integrity and Security

It is my humble opinion that this is a common sense proposal to make elections fair for all, and to prevent fraud or misdeeds
during voting for all, for all parties. Please vote in favor of this as it is written.

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Chelsea Hampton
self
The Colony, TX

According to 1) Republican Convention Delegates, 2) Governor Abbott, and 3) Texas Republicans, Election Integrity is a major
priority for the 87th Session of the Texas Legislature. I believe that a Republican controlled Legislature should respect
Republican the Platform and Priorities.

In the 2020 Ballot Propositions, 98% of Republican voters agreed that election officials should purge illegal voters from the voter
rolls and verify that each new registered voter is a US Citizen. * SB1 creates criminal offenses, an important step that is currently
missing in the efforts to fight election fraud. * SB1 corrects many deficiencies in the maintenance of voter rolls, which is one of
the many ways that voter fraud is accomplished. *SB1 also provides a path to prosecution by the Attorney General when election
fraud is detected.

I believe that passage of SB1 will be an important step towards achieving the secure elections process that Texans deserve,
amendment 6 notwithstanding.

Thank you for your time and consideration,
Chelsea Hampton
House 106
Senate 12

Kebra Albrecht
Self
Austin, TX

I actually read the bill this morning. There is nothing in this bill that could be construed as voter suppression. I support this bill
and ask that is be approved by the committee.

Lindsay White
Self, product support specialist for insurance
College Station, TX

SB1 is voter suppression, plain and simple. This bill should be shelved now. There was no evidence of widespread voter fraud,
which was admitted to under cross examination. I've had issues in the past with my SSN and driver's license not matching due to
an error of the hospital not correcting my birth certificate, but the SSN office printing with the correction. I could only use my
birth cert for my license, so they do not match. This confusion could cost me my right to vote unless I spend time and a lot of
money I don't have to correct something that was no fault of my own. At a time we need to expand voting access, Texas takes
more away. This is a sad legacy for this once proud state.

Ian Daugherty
Liberty in Action
Kerrville, TX

We need election integrity NOW!

Mary Radosz
Self
Murphy, TX
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- DO NOT reduce the penalties for obstruction of a poll watcher to a Class B misdemeanor or less

- I strongly urge you NOT to implement procedures that in any way will cause it to be harder to detect fraud

- DO NOT place any provisions that could be perceived as permitting wireless capability or internet connectivity through to 2024,
or at any other time

Keven Fegans
Self/Letter Carrier
Lancaster, TX

Oppose SB 1

Elizabeth Grimmett
Self
Dallas, TX

I'm in full favor of making sure our elections are safe & secure! I encourage the use of paper ballots. I have always voted on
election day to secure my vote with a paper ballot only to find it was all electronically done. Not happy. Then attended Russ
Ramsland's report on election fraud in Dallas County, looked up my name & it showed me as not voting. 57k that they knew of
were tampered with & now we find out through Mike Lindell's work that every state in the country had some fraud! It's
incomprehensible that in Texas, though we rejected Dominion machines, Dallas county was allowed to use ES&S which is
basically Dominion. People need to feel secure that when they exercise their right to vote, it is protected at all costs. Project
Veritas also unveiled the fraud of the ballot harvesters & I have little doubt she was the only one. I believe those that employed
her should also be prosecuted for their part.
Thank you for looking into this & hopefully making it a priority!

Resha Thomas
self- director
Houston, TX

I want to register as a community member against the passage of this bill.

Michele Sobeck
Clean Elections Texas
CANYON LAKE, TX

Requesting the committee focus on solutions for all voters and help restore the level of trust in Texas elections.
  Acknowledging the magnitude of existing Election Code safeguards and transparency.

Elizabeth Wolff
Self, Community Organizer
Dallas, TX

I am AGAINST this bill. I want voting to be accessible to the most people possible. I want there to be less fear of the very very
race case where people try to vote that are not eligible. I am against empowering poll watchers to challenge ballots as this will
lead to intimidation of voters. Please concentrate on the big problems in our state like COVID and do not put any addition, and
unneeded, restrictions on voting.
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Thank you

Mary Binning
my family
Dallas, TX

I support SB1. It is common sense to free and fair and inclusive elections.

Marlene Rubin
Texas Retired Teachers and RAC (Religious Action Committee)
Houston, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Dianne McFerren
SELF - RETIRED PUBLIC SCHOOL TEACHER
Duncanville, TX

IMPROVE SB1 PLEASE ADOPT THE IMPROVEMENTS TO SB1 proposed by the League of Women Voters.

The only requirement for voting should be proof of citizenship. Nothing else is relevant to voting.

Xan Janiga
self
Austin, TX

I acknowledge the magnitude of existing Election Code safeguards and transparency and request the committee focus on
solutions for all voters and help restore the level of trust in Texas elections. The Texas COVID epidemic highlights the need for
safer methods of voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and
more options to return vote by mail ballots. These are what Texans want.

Darby Strong
Self, Director of Production, Alamo Drafthouse Cinema
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Austin, TX

Rampant, modern fraud in elections is substantiated. This is a ploy from those currently in power to make a desperate grab to
remain in power by illegally minimizing access to a free election by those who would normally vote against them - the
disenfranchised and people of color.

Our relentless challenge with COVID in Texas highlights the need for safer methods of voting more than ever. We need the safer
options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are
what Texans want when asked - ACROSS PARTY LINES. States that allow mail-in ballots have seen a major increase in voting
and have not experienced any increased fraud due to mail-in ballots - quite the contrary. But let's start with keeping access to all
people who wish to vote by creating positive environments and easy access to polling spaces. My parents are poll watchers in the
state of New York, and receive extensive training to do so. I believe poll watchers should receive required additional training and
should acknowledge the integrity of the polling space by executing an oath similar to election workers.

Back to mail-in ballots - let's work towards a complete cure via mail ballots and for the returned mail ballots. SB 1 added the
ability to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session.
However, House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote
counts; as well as make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Thank you.

Joe Wells
Dr. and Mrs.
DALLAS, TX

SB1 Do whatever is necessary to ensure fair tamper proof election process. Talk of voter suppression is just smoke screen put
forth by those who want to rig elections. Lack of credibility of election results is tearing country apart.

Fire Keith Ingram

ABEL RUIZ
MY SELF
DALLAS, TX

For decades I have seen routine ballot harvesting of nursing home "voters" in urban Democratic communities. Many of the voters
were deceased and never reported to County, but continued to "vote" thanks to corrupt Nursing Home administrators $$. In 2020
I personally spoke to GOP poll watcher here in Dallas Co that was harassed and prevented to observe questionable "illegal"
practices . In fact was arrested by Dallas County sheriff deputy. They were quickly released when calls were made. SB1 and even
stronger measures need to be in place before next elections. Voter ID and purging of voter roles must be mandated

Richard Rickel
Self and Grassrooots Gold
Round Rock, TX

We the People support HB 1

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We the People of the State of Texas want to remind those Public officials, according to the US Constitution and the Texas
Constitution, that those PUBLIC OFFICIALS who KNOWINGLY are COMPLICIT in committing TREASON on the American
People and the People of Texas through ELECTION FRAUD (which includes Election Integrity) and CRIMES AGAINST
HUMANITY will be treated as ENEMY COMBATANTS by Military Tribunals and will be Tried for TREASON.

Foreign interference is now being proven in Audits around the country, so HB 1 needs to pass the Texas House to enable true and
fair elections, and those officials who KNOWINGLY are COMPLICIT in this election fraud will face Military Tribunals for their
TREASON against we the PEOPLE.

May God have Mercy on your SOULS!

Breanna Bratton
Self
Austin, TX

SB 1 is an attack on our voting rights and is meant to disenfranchise people of color, young people and people with disabilities
who tend to vote for Democrats. Republicans in Texas are scared and will do ANYTHING to win, including introducing a bill
that is a direct assault on our constitutional right to vote. Texas Republicans will gerrymander, take away voting machines, make
it harder to vote by mail and so on because they know they can not win without cheating. I absolutely despise this bill and I
encourage all of my representatives to NOT PASS THIS BILL.

George Shaw
IATSE #127 Dallas
Dallas, TX

This bill restricts voting access in TEXAS for Americans. We don’t have a crisis in voter election fraud @ all. 15,426,651 voted
in November 2020 presidential election in texas. How many voter complaints? 24! 24 divided by 15,426,651 is .0000
0156 of 1%. SB1 is about voter suppression, not integrity, period. Shame on TEXAS!
Georgewshaw

Lloyd Dalton
Self/Programmer
Meadowlakes, TX

Pass this bill!!!

Darren Bates
Self
Austin, TX

My name is Darren Bates, and I live in Austin, Texas, 78704. I am opposed to SB1 because disabled Texans, like myself, should
be able to exercise our fundamental right to vote with reasonable accommodations if needed under the Americans with
Disabilities Act, —and we should not have to overcome discriminatory barriers like those created in SB1 as outlined herein:

Sec. 4.11 penalizes disabled voters because a signature verification committee could use ANY known signature as a comparison
for a mail-in ballot, even though someone’s signature can change due to their disability. For example, people with cerebral palsy,
visual impairments, and/or other disabilities frequently do not sign their name consistently because it is physically impossible to
do so;

Sec. 4.01 limits the use of signature accommodations by requiring a signature to be “ink on paper,” which does not allow Texans
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Sec. 4.01 limits theCase
                      use of5:21-cv-00844-XR       Document
                              signature accommodations            117-4
                                                        by requiring       Filed to
                                                                     a signature   11/15/21
                                                                                     be “ink on Page
                                                                                                 paper,”361  of does
                                                                                                         which   554not allow Texans
with disabilities to utilize a reasonable accommodation as per the Americans with Disabilities Act. This requirement that a
signature be “ink on paper” doesn’t reflect the reality of voters with disabilities and their actual support and accommodation
needs. For example, some disabled voters may not have the ability to hold a pen or the dexterity to traditionally sign “ink on
paper” and may require the use of a signature stamp;

Sec 5.03 & 5.04 adds excessive requirements for those who may assist voters with disabilities, requiring them to complete
paperwork and make oaths that will discourage them from assisting disabled voters resulting in the disenfranchisement of Texas
voters with disabilities;

Sec. 5.05 requires an assister of someone voting by mail to fill out a new form with additional information about themselves and
details about their assistance which could result in state jail felony charges should the assister make a mistake on the form (unless
the assistant is related to the voter). Requiring an assister of someone voting by mail to fill out this new form will deter them from
wanting to assist disabled voters, fearing they may make a mistake and face state prosecution resulting in the disenfranchisement
of Texas voters with disabilities;

Under SB1, poll watchers can stand close enough to the voter to “observe election activity.” This type of scrutiny not only could
intimidate voters with disabilities, but poll watchers, unfamiliar with the rights of disabled voters under the Americans with
Disabilities Act, could misconstrue and distort *legal* accommodations as prohibited actions, including cues and prompts some
voters with disabilities may need to exercise their fundamental right to vote at the poll.

Thank you.

DALLAS BINGLEY
DALLAS BINGLEY
KERRVILLE, TX

Please get this Election Integrity bill without ANY ON LINE access to any of the electronic machines used to register votes and
to count paper ballets.

Deborah Avellano, Ms.
Self
Corinth, TX

I, Deborah Avellano, Denton County (HD-64, SD-12) RPT Precinct Chair#1023, write in support of SB1, with the removal of
Amendment #6 allowing voters applying by Mail to add or correct information after application is submitted, and with the
amendment of Section 2 on polling locations.
Overall, SB 1 corrects many deficiencies in the maintenance of voter rolls, which is one of the many ways in which voter fraud is
accomplished. SB1 also will provide a path to prosecution by the Attorney General when election fraud is detected. SB1 creates
criminal offenses, an important step that is currently missing in the efforts to fight election fraud.
SB1, section 2.09 and 2.10, need to amended to close the loophole and clarify if tents or other moving temporary facilities will be
allowed. The clauses contradict each other, saying an early voting place may NOT be located in a tent or similar temporary
Moving facility, and then it follows with Section 2.09 (a-1) to say a voting place may be located in a tent of similar temporary
moving facility, ‘if the County Commissioners Court makes a determination...’ That opens the voter polling place selections to
possible unsecured locations.
Thank you for addressing these changes to SB1. With those changes, I support the passage of SB1 to the Calendar to be voted by
the House. Respectfully, Deborah Avellano

Debra Alfaro
self
Austin, TX


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It was evident in the last election results that voter fraud was not widespread. In fact, most Republican counties officials admitted
that voter fraud did not occur during the 2020 election in their counties. Overwhelming evidence shows that our Republican led
Legislature is determined to ensure that future elections are monitored to ensure that voter suppression happens in all future
elections. I DO NOT support HB1.

Jacque Petterson
Self
San Antonio, TX

My husband and I both are Republicans and believe this bill is outrageous and should not go forward. The voting options are fine
the way they are.

Michael Chapa
Self
Georgetown, TX

Integrity, unfortunately, is something that shouldn’t be governed or legislated.
We should be able to trust one another without fear of retribution or retaliation. Integrity is about fair & honest dealings; it is
about TRUST. A virtue, unfortunately, that no longer exists. The TRUST between the government & its people has been
breached! I support SB1 because of ITS INTENT. It is intended to protect not only my vote but that of every other LEGAL
voting citizen. Everyone, regardless of age, sex, race, ethnicity, or political affiliation, should be interested & DEMAND
INTEGRITY in our elections!
Integrity in elections isn’t about SUPPRESSING the vote. As some on the other side of this debate would have you think. It’s
about PROTECTING our vote!
It’s about making sure OUR Vote can’t be manipulated, flipped, erased, or deleted. Allowing these practices would be
SUPPRESSION!
Suppression of the people’s right to vote for WHOM they choose! There are people who would say that integrity suppresses the
elderly or disabled’s right to vote. I wonder if those people have even considered the fact that those peoples votes are the ones
being manipulated. Our elderly & our disabled are the victims of voter fraud. Ask Rachel Rodriguez, who was arrested by AG
Paxton's office for illegalvoting,unlawfully assisting people to vote by mail, & ballot harvesting. She preyed on the elderly for
their vote. We know fraud exists as admitted, by Senator West at SB1 Senate hearings when he said, “ we know there is fraud
we’re just gonna have to accept a certain level of fraud exists.” So how much fraud do we have to accept: enough to change a
school board race, to change a Proposition, to change a State Rep race, a Governors race or even a Presidential race. Well i
disagree! NO amount of fraud should be tolerated no matter the race; & all of you should be horrified at the thought that a sitting
Senator would say such a thing because now I wonder, Is this a prevailing thought amongst our leaders at the Capital. “That
Some level of fraud is acceptable?” So who determines what level of election fraud is ok? Is this why so many people are
disenfranchised with our elected officials and our 2020Elections? Being from the RGVand I’ve seen 1st hand people who come
into this country for the ideals of life, liberty& pursuit of happiness because we aren’t a CORRUPT country like the one they
come from. It saddens me to think we would forgo our right to Liberty, fair &honest elections 1person 1vote because we want
24/7 or drive thru election capability. People have died defending our right to vote & to cheapen the one most sacred right we
have by marginalizing it down to a wham,bam, thank you Mam is downright criminal! All of you should want Election Integrity,
should want to know that every legal citizens vote counted &all of you should want to restore the faith in our gov’t & election
process by demanding Audits because the next race w/fraud might be your own!

Lu Ann Groves, Dr
self veterinarian
Garwood, TX

The election was stolen. Let's stop it from happening again. Please vote to protect the election by requiring photo ID from every
voter. Stop mail in voting unless military or overseas.


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Sondra Haltom
self
Houston, TX

this bill is a travesty and should never have seen the light of day. instead of wasting time subverting democracy, fix the grid and
stop the spread of COVID.

Amanda Peterson
self, marketer
Austin, TX

For a state that is great because of its freedom and liberty as well as lack of pointless bureaucracy, this creates very un-Texan-like
limits and restrictions without a provable benefit for the costs and limits put in place. This sets Texas back compared to what
other states have done to make citizens' voices heard and streamline voting, and attracts the wrong kind of attention to the
reputation of Texas nationally.

Beth Maynard
Self
Rising Star, TX

I support SB 1 by Hughes. I implore you, however, do NOT remove or weaken existing statutes designed to detect and prevent
fraud, and do NOT reduce penalties meant to discourage and punish fraud once detected. We must keep elections transparent and
trustworthy at every step. Also, there should be NO connectivity at the central counting station. If our elections are not honest
and secure, we have lost our freedom.

Lashelle Scott
Precinct 559
Houston, TX

The Attorney General found small number of voter fraud cases. This means the current system works. This bill is design to cut
voting options for larger cities such as Houston and Dallas and especially older, disabled, students and black and brown
communities would strip their rights away. This bill is a power move by one of the party to remain in power instead of earning
votes.

Adam Bath
Self, CNC programmer
Austin, TX

I am opposed to this voter suppression bill.

James tai, MD
Self-physician
Austin, TX

I am opposed to SB 1, which is a solution looking for a virtually nonexistent problem. It disenfranchises those with the weakest
voices, such as the disabled who need greater, not less access to ballot by mail and drive through voting


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Tomás Fuentes-Afflick, Student
University of Texas
Austin, TX

This bill is a ludicrous republican plot to limit voting and try to suppress minorities because they know that they can’t win fair
and square.

Sarah Medjaouri
Self
Houston, TX

I am against this bill. Just another republican plan for voter suppression

Mary stamm
self- stay at home mother
Dallas, TX

Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Kathleen Hartley
self
Austin, TX

All Texans deserve a chance to have their voices heard in Texas elections. We need the safer options of expanded early voting,
extended hours at polling places, and more options to return vote by mail ballots. Legislators should be acting to make elections
accessible for Texas citizens. Any laws that put up barriers to voting (especially in the absence of any real evidence of voter
fraud) are anti-democratic and amount to voter suppression.

Lori Nguyen
Self
Houston, TX

I oppose this bill because it suppresses the vote of more people and we had no election integrity problems in Texas. The
Republicans are just pushing the “Big Lie” for political purposes and hurting Texans along the way.

Cory Coker
self
KELLER, TX

This is quite simply a voter suppression bill. If you want to win more of the vote get better policies instead of trying to limit who
can vote. There was virtually no fraud and it was proven in dozens of court trials.

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This is quite simply a voter suppression bill. If you want to win more of the vote get better policies instead of trying to limit who
can vote. There was virtually no fraud and it was proven in dozens of court trials.
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Suzanne Hayes
Self
Commerce, TX

No voter suppression!!

Erin Dutka
self
Houston, TX

This legislation is more harmful than beneficial. We need to have leaders that make voting easier for the citizens of Texas, not
harder. There was no widespread voter fraud in recent elections and to continue to push this false narrative is despicable. SB1
needs to be defeated.

Deidre Podlesnik
Myself
Richardson, TX

I am adamantly opposed to this bill and the GOP should be deeply ashamed of their racist policies trying to prevent voters from
participating. For as long as I live, I will NEVER vote Republican again.

Ishan Navendra
Self/Student
Colleyville, TX

This bill is a disgrace. Texas is already one of, if not the most, strict states in the country with regards to voter registration. To
make it harder to vote is an absolute attack on people who cannot afford time out of their schedules to get re-registered under
these new rules of law.

Hailey Burns
Self - Disabled
Garland, TX

I oppose this bill on election fraud as it would severely limit Texan's ability to vote. Voting is a civil right and obligation, not a
privilege. It is already common to wait in line for hours to vote in parts of our state and you as lawmakers should be making it
easier for us, not more difficult or impossible.

Nancy Lomax
Self; homemaker
Houston, TX

Texas already has some of the most restrictive election laws of all the 50 states. There is almost no election fraud in Texas. But
we do have very low voter turn out and should seek to increase the ability of Texans to register and to vote. Electronic voter
registration is a must in the 21st century. The pandemic has demonstrated that we need to allow counties more flexibility in
providing safe and convenient voting for ALL. There are vast differences in the needs of sparsely populated rural areas and our
densely populated urban counties. Many election regulations must be left flexible for local option. I strongly support increasing
the availability of voting by mail based on my own experiences. One election about 15 years ago my son-in-law had an
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the availability of Case   5:21-cv-00844-XR
                    voting by mail based on my ownDocument
                                                      experiences.117-4     Filed about
                                                                    One election   11/15/21     Page
                                                                                         15 years      366
                                                                                                  ago my   of 554 had an
                                                                                                         son-in-law
emergency appendectomy in the middle of the night before the Tuesday election. My daughter needed emergency child care for
her 3 and 6 year old girls in order to be with their dad. I am the emergency child care provider on call. It would have been
extremely helpful to have drive through voting on that day. Mail-in ballots and drive through voting greatly enhance the ability
of many people to be able to cast their ballots. The needs of parents with small children must be considered in making voting
quick and easy. My mother had age related macular degeneration and was legally blind the last few years of her life. I assisted
her with mailing in her ballot, but many elderly folks have no one to help them. There are many disabilities that make standing in
long lines impossible. It is patronizingly stupid to require that early voting is only for those people who will be out of town. My
mother died the afternoon before the 2008 presidential election. I was not yet 65 and could not vote by mail. Knowing her
condition was so precarious, I voted early. We do not need to increase criminal penalties; we do not need to create criminal
offenses. Registration and voting opportunities need to be expanded, not further restricted. Treat Texans like the responsible
grown ups they are. Vote NO on SB 1.

Darren Olson
Self, General Contractor
Dallas, TX

I oppose this attempt at voter suppression.

Francisco Alamos
Self
College station, TX

I wholeheartedly disagree with this bill and it should be obvious that the state that is among the most difficult to vote in should
not be looking to make it even harder to vote. Something that is guaranteed in the constitution yet is ignored so yall can play
fantasyland. Grow up and get over yourselves if you ever want to be reflected. This is a huge mistake and will be a stain on our
history

Thomas Williams
Self
Lubbock, TX

Stop this abhorrent and flagrant abuse of power

Martha Dolese
Self
Luling, TX

I would like to register my opposition to SB1.

Martha Stark Dolese
Luling, Caldwell County
HD17
SD21

Andrew Moore
My family
Cypress, TX


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With absolutely no evidence of widespread issues or problems with the election process over the last major election cycle, the
state republicans have introduced this bill under the guise of fixing a problem that does not exist. The only problem being
addressed in this bill is that republicans are losing their control over the state and are attempting to alter the electorate's ability to
voice their opinions at the ballot box. This bill should not be passed.

Diana Weihs, Dr.
Self-retired phyaicians
Austin, TX

We need to make it more convenient for people to vote,, not less so. It is important that all citizens be able to access the most
important right of democracy-the right to vote. Mail in bloating needs to be expanded, not limited.

Hatsie Haran
Self, Title Agent
Waxahachie, TX

I strongly oppose the passage of this bill. It is an affront on democracy and the foundational right of every eligible citizen to vote.
It makes it harder for one to vote and unfairly targets people and communities of color.

Jennifer Topolnicki
Self- disabled
Lubbock, TX

Election Fraud in Texas is NOT the problem some legislators would like you to believe. This bill is unnecessary, racist in both
written form and execution, and will be overturned by the DOJ as being not Constitutional.

John Weber
me
DENTON, TX

Vote NO to voter suppression! Why does Texas have to be the one state where you can buy a gun with no background check
whatsoever, but we make it hard as hell for legal voters to vote, especially minorities?!

Linda Newman, Ms.
Self, retired
Dallas, TX

This bill should die. I have been a Dallas County election judge in federal, state and local elections. Our current statutes provide
vigorous protections of election integrity. The new bill just adds inconvenience, obstacles to citizen voting rights, and more
hassle and confrontations for election workers.

Keaton Irons
Self - Human Resources Analyst
Amarillo, TX

I absolutely oppose this bill. This is nothing but an attempt to further disenfranchise voters. You should be ashamed of yourselves.
Quit trying to take our democracy away from us, the people, you are supposed to “represent”. Disgraceful.
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I absolutely oppose this bill. This is nothing but an attempt to further disenfranchise voters. You should be ashamed of yourselves.
Quit trying to take our democracy away from us, the people, you are supposed to “represent”. Disgraceful.
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Raymond Baca
Self
Amarillo, TX

I do no support. This bill is rooted from complete lies, and only suppresses the right for EVERY Texan to vote.

Cathy Johnson
Self
Houston, TX

This bill has items that will cause undo hardship on disabledTexans, such as myself, by limiting drop boxes, altering voting times,
allowing poll watchers to record/intimate voters at the poll.

Vona Hudson, Election Administrator
Myself
San Angelo, TX

I am concerned about the cost impact for counties with the requirement to have surveillance on voted ballots and a guard during
the required period as well as the extended hours for smaller counties and for early voting.

Tamma Sorgi
None
Adkins, TX

Please do not restrict the voting access for people. There is no voter fraud that necessitates the actions being taken to roll back
voting rights.

Julian Ruiz
Self
Grand Prairie, TX

Keep our elections accessible to every voter. Do not make it more difficult to vote, especially during our unique, uncertain times.
Our elections must be protected, secure, and for everyone.

Lilia Brown
Self
Helotes, TX

Stop the voter suppression bill from passing.

Clari Feuerbacher
self
San Antonio, TX

Please note my opposition to SB 1 which is a blanant voter suppression legislation that would effectively disenfranchise tens of
thousands of Texans.
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Please note my opposition to SB 1 which is a blanant voter suppression legislation that would effectively disenfranchise tens of
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thousands of Texans.

Travis Glenn
Self / design
Austin, TX

I am writing to declare my opposition to SB1.

This bad-faith "election integrity" bill will only result in reduced voter participation by arbitrarily limiting poll access and adding
unnecessary barriers to voter participation.

The vanishingly few instances of voter fraud across all of Texas - not just in the 2020 election, but over the course of all our
elections - do not warrant the exceptional overreach and draconian measures included in this bill.

With one of the lowest voter registration percentages in the nation, you'd think a legislature that valued the democratic process
and the legitimacy it confers on our government would be concerned with increasing voter participation, rather than artificially
suppressing it in the interest of narrow party goals.

Again, I urge all members of the Texas Legislature to vote against SB1 and its detrimental effects on our state's democracy.

Kerry Edwards
Self
Austin, TX

Our elections are secure. This is a wholesale effort to make it more difficult for poor and working class Texans to vote. Our
country was founded on the concept of free and fair elections. I’m ashamed of our state government. Vote AGAINST SB 1.

Deborah Riggsby, Rev
Self. Retired UMC Pastor
Carrollton, TX

The last election was fair and secure. Extra hoops to jump through, purging rolls, limiting mail in ballots with the pandemic,
reducing no of polling places, reducing voting hours all reduces participation for the well-being of all Texans. VOTE NO for this
voter suppression bill!!!

Marcia Galvan
Self
San Antonio, TX

I do not support this bill. This affects a number of people that are already disadvantaged and disenfranchised. It is insulting to
Texans for limiting times for polling places, locations of ballot boxes, modes of voting for even our most vulnerable citizens.

Larry Jacobs Jr.
self/flight attendant
Houston, TX

This bill is a solution looking for a problem. The recent elections in Texas and elsewhere was the most secure in our history.
This false narrative being pushed by Abbot and Texas Republicans to support Trump's "BigLie" is despicable. Not one single
solitary piece of evidence has been submitted to suggest massive fraud that would've affected/changed the outcome of the recent
elections. We should be encouraging and making it easier for Texans to participate in our democracy. We have the lower rate of
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                   Case
elections. We should       5:21-cv-00844-XR
                        be encouraging   and makingDocument         117-4 toFiled
                                                      it easier for Texans          11/15/21
                                                                              participate         Page 370We
                                                                                          in our democracy.    of 554
                                                                                                                   have the lower rate of
voter participation in the country. This bill also purposely affects majority democratic and minority areas making it harder for
those citizens to vote. The bill is racist, based on the lie of a loser, and has no place in our state. This bill should be rejected.

Nona Farris
Self - school admin support
Austin, TX

SB1 - opposed. It’s vital to a functioning democracy that citizens be allowed to vote and that unreasonable roadblocks not be
placed in their way.

Dick Green
Self./ Retired
Granbury, TX

Strongly oppose this bill as the right to vote should not be impeded. The only fraud was that purported by the former president
and his accomplaces. Passage of this bill legitimizes his lies and makes you accomplaces to his fraud and deceipt..

Robin Lederer
Consultant/Self
Dallas, TX

Texas ranks at the bottom of all states for the most restrictive electoral climate. Since 1996, researchers have looked at state
election laws and the factors for "ease of voting". In 2020, Texas fell to last place. (Election Law Journal:
https://www.liebertpub.com/doi/10.1089/elj.2020.0666)
This bill should:
1. Provide Texans with Electronic voter registration
2. Require Poll Watchers to have training like other poll workers and sign an Oath, like other poll workers.
3. Create an end-to-end cure process for applications by mail ballot and returned mail ballots.
4. Ensure safe voting options with early voting and extended voting hours.
5. Protect voters with disabilities!

Carla McKinney
Self/Retired
Fort Worth, TX

Opposed

Cinnamon Martin, Dr.
Self/physical therapist
Houston, TX

Election fraud is rare. Please do not make voting more difficult for essential shift workers and people with disabilities. These are
my patients and they care about voting.

Nancy Kasten, Rabbi
Self, Faith Commons
Dallas, TX
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The only reason I can submit this testimony is because I have benefitted from the best of American democracy. My grandparents
immigrated to the United States in the early 1920s. My father, an only child, was born in 1927. My mother was born in 1934. I
have always voted myself, and have been trained and worked as a volunteer deputy registrar, a poll watcher, an election worker
and an election judge, and have volunteered to give those lacking transportation a ride to the polls. I am proud to count myself
among those people of faith who feel it is a sacred obligation to vote and to do everything I can to make voting accessible to all
eligible citizens of this great country. I know from personal experience and scientific research that SB1 will make voting more
difficult for many people, most especially people with disabilities, the elderly, people who lack access to transportation, working
people who do not have control over their schedules, and people of color. The Committee on Constitutional Rights and Remedies
should be working to protect the right to vote, rather than attacking it, and remedy the barriers to voting rather than creating new
ones. Please show that you are committed to truth and justice by killing this bill and committing yourselves to strengthening
American democracy rather than dismantling it.

Lori Pohutsky
Self/ retired
Katy, TX

This is unnecessary as our elections have been handled with integrity. It’s purpose is only to limit voting expansion and hold
power. I oppose.

Vincent Beard
self - teacher
Houston, TX

All of the restrictions put forth in this bill have nothing to do with election security and everything to do with making it more
difficult to vote. If the Republican majority truly thinks they are right, let everyone vote and trust the process. The problem is
that they understand that the process will not lead to their desired outcome. This is not about fair rules, this is about desired
outcomes, outcomes that are the result of voter suppression.

April Coleman
swlf
Haltom City, TX

I oppose this bill

Marni Carter
Self
Coppell, TX

I am very much against this bill. This is nothing more than voter suppression and making it more difficult and less safe for people
to cast their votes.

Sheila Clemmons
Self
Fort Worth, TX

We the Texans demand a full forensic audit for all counties starting with the 13 largest counties.

Remove amendment 6 from SB1...it's just another way to cheat the voters and take away their voice.
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Politicians are servants to their constituents. If politicians are against a full forensic audit then We the Texans will have the
politicians removed from their positions.

Gilbert Rognstad
Self
McKinney, TX

SB 1 attempts to solve problems that we do not have. It also opens up poll workers to harassment and potentially worse treatment
by rogue ‘poll watchers’. These measures to prevent ‘voter fraud’ go too far and would make it harder for many working folks to
vote. They also would make it harder for our elections to proceed with efficient, clean processes. Introducing too many hands into
the ‘monitoring’ side of things because someone *assumes* that there was fraud in the last election is just an invitation for chaos.
Please do not pass this bill. Texans do not need this at all. We already have the best election process of any state I’ve ever lived in.
If it ain’t broke, don’t fix it. (These are genuinely my comments. I am not cutting and pasting this from anywhere.) Thanks for
taking time to read my comments.

Benjamin Varghese
This
Cypress, TX

The whole nation is watching as TX seeks to disenfranchise voters in the name of non-existent voter fraud. This desperate power
grab will be your legacy.

Tammie Hartgroves
Self/ Texas Democratic Women and SD22
McGregor, TX

Mr, Chairman and Committee Members,

Thank you for allowing me to address some concerns regarding SB1. I have served on the signature verification and early ballot
board as both a member and now a judge in McLennan County for over another week 10 years. This bill as it stands would
suppress the votes of our elderly and disabled Texans as well as people of color. The 10 counties which I represent on the SDEC
are rural and the majority of the citizens are over 65 years of age. Getting to the polls is difficult if not a daunting task for them.
Putting additional mandatory requirements for identification on the carrier envelope would make more ballots be unacceptable
and not counted.

We also have counties where we cannot staff our poll workers due to the fear of some over zealous poll watcher having them
arrested or pulling a gun on them. Texas already ranks as one of the top five in the lowest voter turnout in our country. We need to
make it easier for Texans to participate in elections and not put additional obstacles in the path of voters thus making the duty of
voting a hinderance.

Thank you for your time.

Ma rcia Rebrovich
self - retired
Robinson, TX

There was very little evidence of fraud in our last election…..why fix what is not broken? Increased penalties only intimidates
voters.


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Andrea Greer
self / fundraising consultant
Houston, TX

I oppose SB 1 and any attempt to cut back on hours or locations where duly registered voters can cast their ballots during the
early voting period and on election day. Drive-through voting and 24-hour voting help more people exercise their right to vote. It
is easy to maintain the integrity of the ballot no matter the time of day or location of the poll tablet.

Sameer Ketkar
self
Missouri City, TX

This bill seeks to prevent American citizens from voting. It is a Jim Crow-style voter suppression bill. Texans deserve to pick
their politicians, not the other way around. This is a bad deal for Texans and for America. The bill was written in bad faith, and is
blatantly undemocratic.

Raymond Morrow
Self
San Antonio, TX

I do not believe any bill designed to prevent anyone legally eligible in the US to vote from voting should be considered and/or
passed. Reducing access to items such as ballot boxes, limiting voting hours to times certain voters cannot hope to vote within
due to the need to work, and removing power from those trusted to oversee our election in a non-partisan way is NOT a way to
promote election integrity or security. Instead, this is an attempt to prevent the turnout of our voters and to hear what our citizens
are saying.

Aliysa Patel
Self - non-profit professional
Dallas, TX, TX

OPPOSED TO SB1!! Let the people vote. There is no significant evidence of voter fraud, no need to create more barriers to
systemically disenfranchised people who want to exercise their constitutional rights to vote in a free and fair election! Stop
legislating your way to voter suppression!!!

Katherine Moore
Self
Denton, TX

This bill is obviously voter suppression. Republicans know that won’t keep winning unless they cheat. That’s what this bill is—
Republicans cheating. And they know it. And we know it too. This bill must be stopped. We need to make it easier for people to
legally vote. This bill makes it harder for people to legally vote by banning drive thru voting and placing restrictions on how to
obtain a mail in ballot as well as the reduced voting hours on early voting. None of this prevents voter fraud. All it does is make
legal voting more difficult. This is voter suppression.

Jaime Guerra
Self
Houston, TX

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We do not need any of this. It’s 2021 , voting should be as easy as picking up groceries at the curbside. Easier and faster. Stop
making up things and let people vote which ever way they want. No data backs up that voting is not secure in our state. Stop this
nonsense already .

Kirk Pate
Selfmk
Flatonia, TX

This voter is opposed to SB1. My standard for a voting/elections bills is to make voter registration easier, make application to
vote by mail easier, expand and ease access to polling stations, make voting by mail easier. SB1 does none of these things. SB1
would ration voting via codified suppression measures that make it harder to register to vote, apply to vote by mail, makes voting
by maill more difficult, and limits or restricts both open hours and locations. In addition, SB1 also lays the groundwork for
 "watchers" or politicians to file claims challenging any election result. Vote against SB1.

HOPE HUGHES
SELF - MEDICAL BILLING MANAGER
PARIS, TX

THIS BILL IS VOTER SUPPRESSION ON A CRIMINAL SCALE AND RACIST AT THE VERY LEAST. TEXAS IS AN
EMBARASSMENT AND YOU ARE, IN EFFECT, KILLING DEMOCRACY.

Jacy Warwick
Select...Self, civil engineer
Austin, TX

Strongly opposed to this solution without a problem. We really need you elected officials to focus on the needs of the citizens and
not the nonsensical whims of those in power. Stop embarrassing Texans and let all have equal access to vote.

Nora Cubillos, Dr.
Self, physician
San Antonio, TX

I am vehemently opposed to the Texas voter suppression bill.

Grady Young
Self
San Antonio, TX

I am opposed to this bill and the blatant lies GOP is making In regards to past election. I believe we need to make voting more
equitable and more available to Texans by expanding availability/hours/access vs the opposite.

If we want to pass voter ID Laws let’s make an ID Drive to get individuals identification. Overall let’s make access to voting
easier in Texas

Skyler Korgel
Self, Manufacturing Engineer
Weatherford, TX
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I urge the committee to not report SB 1 favorably out of committee.
The provisions in this bill would severely limit the ability for my local election officials to someday make accommodations for
me as a night shift worker to access the polls at a reasonable time for my schedule during an election by banning 24-hour voting
opportunities implemented by county election officials.
Likewise, the severe limiting of accessibility to and heightened scrutiny criteria for mail ballots is unwarranted for a state with
negligible, nearly nonexistent ballot fraud. Not even to mention the ridiculous level of liberty poll “watchers” would be given to
harass voters should this bill pass.
Again, please DO NOT pass this bill out of committee, Calenders, or out of the House.

Kristin Torres
Self
Houston, TX

The will of the people isn’t actually being heard and fabrications of truths and prejudices are all that is being supported by the
representatives in favor of this bill. If all men are created equal then all men should be allowed to vote. Period.

By citing untruths and using fear as a tactic to encourage suppression of anyone’s voting rights, you are not upholding the actual
values of this country. You should be helping all citizens whether they support your political party or not to exercise their vote,
not make it harder if you deem their needs or methods unsatisfactory to your ways. Not all citizens fit inside the same box.

Scott Sment
Myself
Frisco, TX

This is a waste of your time and our dollars. You are not fixing a problem. You are creating barriers to voting.
Please vote against this bill.

Amatullah Contractor, Deputy Director
Emgage Action
Katy, TX

This bill suppresses voters and criminalizes innocent mistakes in the name of “election integrity.” I, like most Texans, am
opposed to this bill as it deters my access to free and fair elections. I urge all Senators to vote “no” on this bill.

Rudy Lopez
self
Dallas, TX

As a native Texan, I am opposed to this bill and any future bill that implements new rules which makes it harder forTexans to
vote, suppresses voters,, or in any way allows for redistricting to provide an unfair advantage for one party to maintain control of
our state government. Democracy demands it. We need laws that encourage more voter participation, not less.

Daniel Rowe
self
Austin, TX

I am against this bill. It's clearly voter suppression.


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DeAne Cole
Self
Flower Mound, TX

Strongly oppose

Karen Landes
Self - retired
Sachse, TX

Voting should be expanded not reduced. We need more ability for mail in voting, expanded hours, more voting locations & drop
off points, NO poll watcher intimidation & more realistic accepted voter Id. Voter fraud is not a problem in TX but suppressing
votes is. Do not pass SB 1.

jeff cohen
self,retired
Pflugerville, TX

i am opposed to the house passing SB1. its nothing more than a transparent attempt to make voting harder among minorities. The
legislature should be expanding voting not making it harder. This bill is nothing more than an attempt to keep certain people who
dont vote the way the epublicans want from voting.

Jason Portier
Self
Lewisville, TX

I oppose this legislation. It should be seamless and easier to vote, not harder. There is absolutely no reason to pass this.

Galilea Gaytan
Self
Austin, TX

I oppose this bill

Peter Washburn
Self Scientist
Seabrook, TX

I oppose this bill

Joseph Rollins
Self Architect
Wimberley, TX

The lege should be making it easier to vote. There was no fraud in the last election. Measures to "prevent fraud" are misplaced.
Voting by mail, by car, all-night access, should be allowed and encouraged in locations where local officials deem them
necessary.
Printed on: Polling
            August locations
                    30, 2021 should
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necessary. PollingCase   5:21-cv-00844-XR
                  locations                      Document
                            should be increased, not decreased.117-4 Filed 11/15/21 Page 377 of 554

Monica Reveles
Self
Austin, TX

Senate Bill 1 is a regressive step back in the direction of Jim Crow. Vote "No" on SB 1.

S May
Self
Houston, TX

The racist voter suppression in SB1 is an affront to democracy. It has nothing to do with "voter fraud," and everything to do with
perpetuating the lies of a failed presidential candidate. The restrictions are deliberately skewed to disproportionally affect and
disenfranchise Black voters.

Kirk Pate
Self
Flatonia, TX

Perceptions of voter fraud must not be the standard for supporting voter suppression measures. Perceptions are virtually always
delusions, not reality. Vote agaist SB1.

Andrea Pelzel
Self/Teacher
Dallas, TX

Please do not support SB 1! I believe we have integrity in our elections. I have seen no proof of fraud that would necessitate these
bills becoming laws. Our poll workers are basically volunteers to help as many people vote as possible. Stop making "outside of
the box" voting opportunities criminal. If you worked all might, you might need a 5am chance to vote! Voting should be
available to everyone with the same level of ease as a person in a neighborhood like Plano. This bill will disproportionally affect
ballots of people of color. They deserve to be heard even if you don't like it!
Please do not support SB1!

JoAnn Brent
Self retired
Plano, TX

Please continue to allow drive thru voting. If done with a voter ID it would help many elderly, like myself, who cannot stand for
long periods of time.

Martin Hobratschk
Self - project manager
Austin, TX

This is an unnecessary bill that only serves to perpetuate Trump’s big lie. Nothing you are proposing makes elections any more
secure than they were in 2020 or before. Your time would be better served making it easier for every eligible voter to register, and
easier for everyone to vote.
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easier for everyoneCase   5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 378 of 554
                    to vote.

Jason Huff
Self
Denton, TX

This is a blatant and cynical attempt by Republicans to disenfranchise those who need the franchise most. A vote for this bill is a
vote against democracy.

Chauncy Nichols
Self Technical
Houston, TX

Laws that restrict flexibility in allowing Texans to vote are no more than partisan plots to reduce the amount of Texans who can
vote. Stopping creative endeavors like Harris county's innovative drive-thru voting which allows busy parents to vote while not
having to entertain their children for more than an hour in a busy line belies the motives of Texas Republicans and they goal that
only those that THEY deem worthy are given access to the ballot box. If the legislature truly wanted to protect voting rights in
this state, they would expand access, making it easy for modern, busy Texans to make their voices heard. From the working
mother of 3 kids under 5, to the bartender who works until 3 or 4 am and must sleep at some point in the day. We are a diverse
state and catering to norms that do not allow us to grow with the world and govern ourselves accordingly will never be the right
thing to do. Down with this law and Texas Republican naked power grabs.

Kelly Wilkerson
Self/medical librarian
Richmond, TX

Voting should be made easier not harder. Making it hard is not democratic, and is very prejudice.

Lynn Porfirio
Self
Friendswood, TX

As a Harris county resident, I oppose the restrictions being placed on expanded access to the polls. Improvements in access made
during the pandemic should be expanded across the state rather than increasing limits in densely populated areas.

I also oppose partisan poll watchers. This reeks of voter intimidation and given our political climate will decrease safety of voters
looking to exercise their constitutional right.

Thank you for voting NO.

Zoltan Csanyi
self
Mission, TX

I am against the passage of this bill. I don't want people hovering over me when I vote or watching me when I vote. A secret
ballot is sacred. I want available curbside voting for those with disabilities. I am against someone coming up with trumped up
charges of voter fraud without due process.

Robert Yewens
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Self/Veteran
Houston, TX

I am against SB 1.
As a Texan, as a veteran of the Armed Forces and as a voter, I believe it is my duty to implore you, my fellow Texans, those that
have been elected to represent the millions of us who call this great state our home, to vote “No,” on SB 1.
The bill claims to shore up election integrity and prevent fraud across the state. At best this claim is a gross misinterpretation of
the supposed fraud that happened during the 2020 presidential election, at its very worst however, this bill is an outright lie and a
malicious endeavor to infringe upon the right of voters by those that are afraid of losing power. I served for this country and as a
veteran, while we do not get to pick and choose the parts that we fight for, we all stood up to defend democracy at home and
abroad and I would as you all to do the same, here and now. I beg you all, as a fellow Texan, as a fellow voter, do not vote for this
bill.

Roger Williams
Self
Houston, TX

Fraud has been almost non existent in all past elections. Election bills should only be trying to help people to vote and not
prescribe disenfranchising mechanisms to limit voting. Elected leaders should be working for all people, and not just who they
agree with.

Robert Merrill
self, investment banking
Dallas, TX

This bill is bunk. Stop trying to make it harder to vote.

Ana Mac Naught
self
Houston, TX

In a true democracy, we should make it easier for everyone to vote, not the other way around. This bill does the complete
opposite. it makes it harder for people that already have multiple challenges to get to participate in voting. Vote NO on SB1.

Kelly Canavan
Self
Austin, TX

I object to this bill because of the ban on drive-thru voting, the reduction of hours that voting is available, the ban on mail-in
voting, and the stricter ID requirements. There is no evidence that wide-spread fraud invalidated any elections in this state or
nationwide. All this bill does it make it more difficult for eligible voters to vote. It is shameful.

Janice Morrow
Self
Pearland, TX

Election integrity CANNOT be defined by one party!

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Pamela Cherry
Self - homemaker
Forney, TX

I adamantly oppose this bill. It is unconstitutional and I hope it is overturned if passed. Stupidity at its finest.

Jennifer Colvin
self
Kerrville, TX

I hope you will pass this bill and keep our election process above reproach, clean, with clear guidelines for voters.

Kathryn White
Self/not employed
The colony, TX

Limiting legal registered voters by any means and denying locations and ways to vote that ate now available to the voters is
nothing more then voting suppression. It will ensure only one political side gets votes. Everyone who is registered has a RIGHT
to do so free of obstacles set forth by those who feel they would lose without them in place. I VOTE NO for voter suppression
due to race,location, financial or party status! I VOTE NO TO THIS BILL. There is only fraud in voting when a political side
loses and says there was fraud!

A G Randol III, Dr
Self
Houston, TX

I strongly support the proposed enhancements in SB1 to improve vote integrity in Texas.

The golden rule that must be followed: Trust but Verify.

It's not an issue of whether there is wide-spread fraud...any fraud is UNACCEPTABLE.

Having my vote cancelled by fraud is unacceptable. PERIOD.

Harris County needs to be constrained in its attempt to enable illegals to vote. The situation is becoming even worst with the
Biden Catastrophe at our border with Mexico.
There have been at least 1 million illegal crossings so far. The number of unaccounted for "got aways" could be another 500,000.
The total for 2021 is expected to be 2 million.
The total in 2022 could exceed the 2021 illegal crossings.

The Biden Administration will not tell us where these illegals have been deposited. Houston is one of the ideal locations for
illegals.

We do not know how many illegals voted in Harris County because of the 24 hour drive by voting and mail in ballots. We need a
full forensic audit of Harris County voting to get the data.

The standards that must be met:

1. In-person voting should be the rule, not the exception.

2. No public official should ever distribute unrequested vote-by-mail applications. Violators should be severely punished.
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                   Case
2. No public official     5:21-cv-00844-XR
                      should                       Document
                             ever distribute unrequested        117-4applications.
                                                         vote-by-mail  Filed 11/15/21
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3. The requirements for voting by mail must be consistent with in-person voting, including proof of identity at the time of voting
including a picture and a validated signature.

4. Vote harvesting should not be allowed and individuals should be fined for violations.

5. Voter rolls should be routinely purged of illegal voters with publicly available lists of the voters that were purged. This purging
should begin ASAP with a pre-2020 roll to a post-2020 roll comparison.

6. Poll watchers must have true access to observe the voting process and violations must be reported in real time with immediate
response by authorities to correct the situation, including arrests.

DAVID CHEATHAM
self -retired attorney
Fort Worth, TX

Review after review, recount after recount, have shown that widespread fraud is not a real issue, but rather, one manufactured for
political gain. As a disabled person, the options that will allow me to easily vote should be expanded, not curtailed.

P Sherman
Myself
COPPELL, TX

I strongly oppose. I'm begging you to please protect the voting rights of all my fellow Texans. We deserve much better
representation! OPPOSE!
OPPOSE OPPOSE OPPOSE!!!

John Jones
Self
Red Oak, TX

I love my country and state but our state government is trying to pass voter suppression laws to purposely keep this state red. We
have already had a few state reps admit on a hidden camera that their objective isn't about voting integrity but more about making
sure they stay in office. If they're really concerned about voter fraud they would remove themselves from office. This bill is a joke
to every Texan and American. I refuse to sit back and let greedy people steal the votes from the great people of Texas. Stop the
steal and vote no on this bill or better yet just throw it out.

Tracy Traeger
Oracle
Round Rock, TX

I do not support SB 1 - this bill undermines the ability of Texans to vote, using unnecessary limitations. Please do not pass this
bill.

Beverly Clapp
Self
Lubbock, TX


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We who are disabled wheather it is medical or physically must be able to have our voices heard in elections. Being able to vote by
mail or by car protects us from either getting sick or falling. Please protect the right to vote! Please don't make it so that only
healthy people can exercise their right to a free and fair election.

Emily Ammons
Self
Fresno, TX

I oppose SB1 wholeheartedly because the entire premise of this bill is based on the big lie perpetrated by republicans after Donald
Trump's 2020 election loss. I additionally oppose the bill's ability to allow for voter intimidation by partisan poll watchers and
control it takes from local officials to conduct elections in the manner that works best for their district.

But more than anything, this bill is based solely on a lie.

John Pruit
self
Nacogdoches, TX

This is an unnecessary voter suppression bill aimed at solving a non-existent problem (voter fraud). This will disproportionately
and negatively affect all voters, especially racial and ethnicity minority voters. To say that this is a racist bill is an understatement.
SB 1 should not be passed under any circumstances.

Sarah Thomas
Self
Liberty Hill, TX

We should be making voting easier and more accessible, the amount of true fraud is miniscule and this will only hurt Texan's
rights to vote.

Kimbra Brown
Self/Senior GM
Dallas, TX

I am against infringing on anyone’s right to vote. We need to be opening voting to all for mail in ballots and also extending the
early voting days and times to allow those that don’t work standard 8-5 work hours. I have not seen any evidence that voter fraud
is a wide spread issue. This is just a fear tactic to put out to an uneducated Republican base.

Olga Rivera Lasher
Speaking for myself
Austin, TX

I am offended that Legislators and misinformed activists continue to use me (a minority) to make false statements, lie about what
is contained in this bill. Minority voters WILL NOT be suppressed nor disenfranchised by SB1. Contrary to those who oppose
the bill, minorities CAN think for themselves. They can get an ID and get to the poles. However, it would be disingenuous of me
to say that this bill will not disenfranchise some, because it will. It will disenfranchise those who cheat by voting more than once
and those counties that claim this does not happen. It is absolutely mind boggling how anyone could not get behind SB1
knowing it is meant to prevent their vote from being cancelled out by cheaters.


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Roger Rucker
Self - Construction estimator
Austin, TX

I want to voice my opposition to this bill. There is no evidence of widespread voter fraud in Texas. This is a bill that will only
make it harder for people to vote. You should be working on our power grid instead of partisan legislation to secure your elected
position. Quit lying to Texans and fix things that are really broken.

Nancy Jensen, Mrs
Self, newly retired peofessional
Plano, TX

As a constituent, I am very upset about all of the election related bills which to me are absolute nonsense and are designed solely
to benefit the Republican parties goals, not your constituents. I am now a FORMER republican exactly because of GOP bills
designed to restrict the rights of Texans. I am not waving a Trump flag or going to rallies, I am part of a large silent majority of
disgusted Texans who will go to the polls and give time and money to see that new political leaders take over who respect the
intellect and common sense of their constituents.

Bronson Parker
self
Dripping springs, TX

This is a sham bill.

Cyndi Long
Self, self-employed business owner
Dallas, TX

This is a terrible bill. We should be making it easier to vote, not harder.

Lara Afifi, Ms
Self
Houston, TX

I do not support making it harder to vote in Harris county

Lauren Bryant
Self
Houston, TX

Reducing Texans ability to vote safely and timely is voter suppression. It’s been made very clear to Texans that the goal of this
bill is to limit votes and voters not improve integrity and security.

Vivian Miller
myself
Texas, TX
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Vote no.There was no fraud that interfered with the election.

Paul Sears
self
Lewisville, TX

we have save and secure voting already in texas. this is a waste of time and money.

Sean Hall
Self
Grapevine, TX

At no point during the processes and debate has it been shown that there is any effective fraud that this bill will prevent. If
anything, the measures stipulated in this bill will serve only to restrict Texan's access to voting, limit voting rights, and allow for
partisan driven intimidation at polling places. Tactics like this have absolutely no place in a free and democratic society, and fly
against the essential rights of citizens. The right of Texans is to be heard in the governance of this state, and this bill will only
limit that, under the pretense of solving a non-existent problem.

Megan Gordon
Self, Author
Addison, TX

We can barely get most people to vote in a good year; making it harder simply suppresses the vote, it does not protect it. There
has been no evidence of widespread voter fraud, one or two cases that don’t even add up to a handful of votes and cannot sway
an election. This is clearly motivated by a desire to keep the WRONG people from voting, meaning the non-white, non-
Republican folks. This is a desperate, disgusting, and disingenuous attempt to hold onto power in a country whose complexion is
changing. As a Texas voter and taxpayer, I am disgusted and appalled by this.

Sunny Allison
Self - account specialist
Arlington, TX

Against this bill. It is racist and classist. Our elections are safe.

Ralph Manak
self, retired
Austin, TX

I am writing to express my deep opposition to SB 1, which as written is clearly a lever of voter suppression masquerading as
having something to do with election integrity. The goal of such a bill is clearly not in the direction of increasing democracy and
representation for the will of the people, but rather to ensure a maintenance of power. If this bill passes, it will be a dark day for
democracy in Texas.

Adrienne Kendall
Self
Dripping Springs, TX

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I oppose this bill. Please stop suppressing votes and Texas voters. It’s not right. People should have better access to the ballot.
That includes working moms like me. Thank you.

Sean Kavanagh
Self / Account Manager
Fort Worth, TX

I oppose of this bill as it only hurts those that are marginalized by an already gerrymandered system.

Charles Heppner
Self
Austin, TX

Please add automatic voter and day of voting registration. Additionally, provide funding for more polling places so that no person
of any community in the State of Texas ever has to wait more than 1 hour to vote. This can be done. Also, make voting by mail
an option for all.

Bill Knapp
Self, IT executive
Houston, TX

I object to this bill as it is a solution in search of a problem. In 2020, AG Paxton’s voter fraud unit logged more than 22,000 man
hours and found no evidence of widespread election fraud at any level. AG Paxton also brought a frivolous lawsuit against four
other states that not only did SCOTUS refuse to hear but also has him under review by Texas bar association.

This bill is designed to make it harder for residents of Texas’ largest cities to vote, especially those of color, by limiting their
voting options. For example, the bill seeks to eliminate voting from one’s car, limit vote drop boxes to one per county, and reduce
voting hours. When the population of Harris County is greater than the combined population of 214 counties in Texas, per 2021
population numbers, how is this approach equitable to all Texas citizens?

For these reasons, and many more, I urge the House members to vote NO on this bill.

Evelyn Van Winkle
Self
Corpus Christi, TX

I'm 74, US born, USArmy veteran. Don't make it difficult or impossible for me to vote from home

Sara Schultz
Self
Copperas Cove, TX

I am against any provisions that would make voting difficult for any Texan.

Jennifer Witt
Self, physical therapist
Grand Prairie, TX
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All of you that are supporting this bill know that voter fraud in TX does not exist on any level that necessitates the legislation. It
is purely to make it harder to vote, further marginalizing voters who already have challenges to voting. Stop this nonsense and
work on things that matter to the well being of Texans, like fixing the energy grid and helping people cope with the effects of
Covid and other major health issues.

Javier Campos
Mirabella HOA
San Antonio, TX

I am Against this voter suppression bill

Laura McGrew, Mrs.
self - Communications Manager, religious non-profit
San Antonio, TX

My name is Laura McGrew (zipcode - 78216). As a Texas voter, I oppose Senate Bill 1 and ask that all Texas elected
representatives vote against it. Voting access is already harder in Texas than anywhere else in the nation. Our legislature should be
working with local towns and cities to make access to voting easier, not harder. Without open access to voting, our country and
state are doomed to having elected officials who are not held accountable and do not work to represent their constituents. Please
vote NO on SB 1!

Amber Mills
MOVE Texas
Austin, TX

MOVE Texas Civic Fund is one of the largest youth voter registration organizations in the country. Every day our organizers
overcome regulatory barriers enacted previously like fragmentary voter registration deputization laws, wet signature
requirements, and voter ID requirements to get young Texans registered to vote. We have been able to bring in hundreds of
thousands of voters into our democracy in spite of the obstacles present in the election code and this bill would make it even
harder by adding even more obstacles.

SB 1 directly threatens civic engagement and voter turnout in Texas. The provisions to ban drive through and late night voting, to
increase risks associated with assisting voters, and to empower partisan poll workers while limiting election officials ability to do
their jobs, will only discourage participation. When young people, low income, and communities of color already struggle
navigating a confusing and intimidating process and you add even more barriers, what do you think will happen? We will go
back on the record turnout we had in 2020 and remain ranked nearly last. It is opposite of who we are as MOVE and what we
should strive for as Texans.

Texas is already the hardest state to vote in. We do not need to make it harder. I urge this committee to help build a civic culture
and to listen to the stories of volunteers and advocates on the ground day in and day out who see and hear about the difficulties
voters face. I urge this committee to listen to the dozens of county elections officials who we partner with, rather than target their
local innovations. And to listen to the hundreds of Texans who have traveled from across the state to show their opposition, who
overwhelmingly and simply want to be able to vote without having to miss work or class, wait in long lines, or be scared of
criminal charges for assisting their neighbor or friend.

Our democracy is dependent on healthy participation. Legislators on both sides should be expanding the right to vote, not
restricting it or increasing the burdens on eligible voters.

MOVE will continue breaking down barriers for complicated processes for young people and other marginalized voters who want
and deserve to be engaged. Just because the systems were not built with us in mind and you are trying to further impose
restrictions to keep us out, does not mean that we will be discouraged or stop showing up. Democracy only works when it
includeson:
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             of us. Protect and11:32
                     30, 2021   expand
                                     AMour right to vote. Vote no on SB 1.
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includes all of us. Case
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                           and expand our right to Document
                                                   vote. Vote no117-4
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Abigail Duarte
Self
Houston, TX

I strongly oppose to this bill. It goes against our rights as voters. OPPOSED

Patricia Tollison, Dr.
Self Psychologist/Writer/Affiliate Faculty UT Med.
Austin, TX

Texas has a recent history of free and fair elections .There is no substantial reason for making voting more difficult. I am one
hundred percent against this legislative solution to a non problem.

Lindsey Lacombe
Houston Heights High School teacher
HOUSTON, TX

I am opposed to this bill because it limits voting opportunities for all Texans.

Kate Johnson
Self
Haslet, TX

I am writing in opposition to SB 1.

I'm an election judge, Voter Deputy Registrar, and Precinct Chair and I have concerns about some of the context in this bill.

First of all, as an election judge in Tarrant County, I believe we already have a secure election process and I'm not aware of any
significant voter fraud within our county, let alone the state.

The election equipment is quite secure because none of the machines, except for the epollbook, is connected to the internet. Poll
workers go through training on the equipment, and within the 15-16 hour day on election days, we have a lot of processes and
paperwork to follow/fill out to ensure a secure election. Most voters and poll watchers are NOT trained in these processes. I'm
concerned with the expanding "rights" of poll watchers wrecking havoc on the voter process because of bad assumptions that
something nefarious is going on when they don't know the process.

For example, many voters ask why there is a red mark on their ballot, and think this is something nefarious. It is not, it is a rule
that the Presiding Judge has to sign every ballot with a red ink pen. If we are going to have poll watchers intimidating voters,
will they be trained in the process so they know what is a legitimate concern and what is not?

I'm also concerned because while we are adding more voting restrictions, what are we doing to increase voter education. During
the November 2020 election, I had many voters come in convinced they were registered, but they were not. Several women were
adamant that they submitted a voter registration form through SNAP or WIC but they were not in the ePollBook as a registered
voter. I had a woman in tears when I told her that. There were enough examples of this that I wondered if there was a
communication or interface issue between these programs and the county elections office where they are not actually getting
registered.

I believe that not only should we be making voting easier and more accessible, within the parameters of our secure election
equipment and processes to ensure a secure election, but we should also increase voter education. We should also have online
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equipment and processes                             Document
                           to ensure a secure election,          117-4
                                                        but we should also Filed 11/15/21
                                                                           increase           Page We
                                                                                    voter education. 388should
                                                                                                         of 554also have online
voter registration, or even automatic voter registration where you can opt out.

Thank you again for fighting this fight. I think this bill, if we are going to pass another voting bill even though we already have
some of the strictest voting requirements in the country, we need to have more dialogue on it and make it purposeful and
meaningful to the voters in Texas, and not just a solution in search of a problem.

Thank you.
Kate Johnson
Fort Worth, TX

Cindy Anderson
Self. Retired RN
Dallas, TX

Texas makes it difficult for many people to vote. We should make it easier- that is the entire point of a democracy. If you have to
cheat to win you are not serving the people. You are serving yourselves.
Persecuting the people who volunteer to help with the voting process is just wrong. Please work with the Democrats to come up
with a bill that is fair to everyone.

Wanda Medling
Self
Dallas, TX

This bill is nothing more than a knee-jerk reaction by Republicans to their defeat in the 2020 presidential election. They claim its
for election integrity while we had the most secure election in history. If the election was full of fraud, as they claim, then why
would Abbott have been re-elected? No one would have chosen him if the election was stolen by democrats.

The right to vote is fundamental to a functioning democracy. The right to not be intimidated (by partisan poll- watchers) is
fundamental to free and fair elections. Extending voting hours, mail-in voting and curbside voting drastically improved the ability
for handicapped and low wage earners (who aren't given time off to vote) to cast their ballot. Limiting those options, as this bill
does, is a blatant attempt by the Republican party to stifle the voices and disenfranchise the voters who are least likely to
support/vote for them.

For the sake of functioning democracy, vote no on SB1.

Peter Ryder, Dr.
Self
Austin, TX

This null should be defeated. It is attempting to implement voter suppression policy under the demonstrably false predicate that
there was fraud in the last election.

Shelia Martinez
Self
Sachse, TX

I oppose this bill and the obvious attempts to suppress votes.

Jenny Stern
Self
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Self
Austin, TX

I strongly oppose this bill, whose purpose is to decrease Democratic and minority voter turnout, and thus continue Republican
control of Texas by the only way they can achieve it- by suppressing voters they don't want voting. It is anti-democratic and
shameful.

Adam Greenfield
Self
Ft Worth, TX

Still unclear on why we have a solution looking for a problem as COVID ravages the state and our energy grid has been
exploited. This legislation is not designed to secure the vote, it’s a plan to restrict the vote

dave bacon
self
Cedar Park, TX

STOP TRYING TO SUPPRESS THE VOTE!

Jason Millikan
self
Benbrook, TX

Please amend SB1 (https://capitol.texas.gov/tlodocs/871/billtext/pdf/SB00001I.pdf) to include HB26
(https://legiscan.com/TX/text/HB26/id/2427547/Texas-2021-HB26-Introduced.html). The foundation of our republic is our
ability to vote and to audit every aspect of the voting process to ensure there was no fraud, and the people have been obeyed by
government. SB1 is a great start to preventing future fraud in elections, but the elections of November 3rd, 2020 must be
forensically audited. If any fraud is found, or the chain of custody found to be broken at any point, the election must be
considered corrupt and be remedied immediately. A fraudulent election does NOT have the consent of the governed. Again,
please amend SB1 to include HB26 so that we may expedite a full audit of our election. Let me be clear - this is not a partisan
issue. This is vital to our republic. We cannot let the people lose the ability to verify that their leaders were chosen fairly, no
matter who those leaders may currently be.

Kathy Harold
Self
HOUSTON, TX

This bill is a travesty. This bill is aimed at reducing voting turnout. As a Republican, I am angry at the direction that this state is
going in. This bill, the heartbeat bill, open carry, are all openly hostile bills, with people of color paying the highest cost. I am a
58 year old woman that voted straight ticket republican for decades. I will never vote for another hypocritical Texas republican
again.

Avery Lesher
Self, teacher
Aubrey, TX

Contrary to popular Republican outcry, voter fraud is actually not a significant issue in the state of Texas. The ability to vote by
mail, access to polling stations at all times of the day/night, and easy voter registration are the actual concerns. This bill aims to
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                   Case
mail, access to polling    5:21-cv-00844-XR
                        stations                     Document
                                 at all times of the day/night, and117-4    Filed
                                                                    easy voter     11/15/21
                                                                               registration      Page
                                                                                            are the     390
                                                                                                    actual    of 554This bill aims to
                                                                                                           concerns.
make it harder to vote and will have significant impact on minorities and low SES communities. The ability to vote belongs to
every citizen, and taking hat away mutes the voices of thousands. What's being called a fight for "election integrity" is actually
nothing but a grab at silencing the majority and keeping power.

Sampey Hoffman
Self
Sugar Land, TX

All of the issues being brought forward are the most ridiculous issues to bring forward. We have other extremely important issues
to fix. For one our power grid needs to be updated, our education system is horrendously behind and way too restrictive for
teachers. All of these issues being brought by the Republican Party are only geared towards fear mongering. The Republicans in
office are not doing their jobs as elected officials. The claim fraud when none is found. they claim social media censorship, but
also spread lies themselves. This whole thing going on in the Texas Congress is just pathetic and pointless. Fix the real issues or
we will vote for people that will.

Laura M Lee
Self / Consultant
Austin, TX

I am against this bill. Voting should be easier, not harder. Election day should be a holiday and there should be mail-in voting.

Donna Herod
self
Lewisville, TX

OPPOSE

Sheri Hughes
Self
Grandview, TX

We have very little “voter fraud” in Texas and many of that small number are honest mistakes. We do not need to punish innocent
people more than what we already in place. Texas has very strong voting laws! Spend your time on matters that will help Texans!

Susan Korbel, Dr.
Bexar County Precinct 3067
San Antonio, TX

Elections so far have been certified, and by sitting in your seats, all of you considering changes have approved of the process that
elected you. We do NOT need changes set forth in SB 1 which will impede the election process, intimidate voters, and make the
jobs of the hardworking elections staff so much harder. As a former elections judge and present Precinct Chair, I am personally
aware of attempts by individuals to intimidate voters at a polling site, and SECTION 3.03 33.056 allows poll watchers to violate
voters' personal space.

Donna Schmidt
Self, teacher
Farmers Branch, TX
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OPPOSE

Stephanie Kirby
Self - Regional Manager for Forensics Company
Sunnyvale, TX

This is completely unnecessary and puts undue burden on the constituents of Texas. We already have secure elections in the state,
and this attempt looks to be designed only to pander to the the former president's supporters and those who believe that somehow
the election was "stolen". Its all based on lies. Why not spend this time and money on fixing our grid so the next time we have
extreme weather we don't look like a bunch of morons down here. Or perhaps we could get a grip on the raging pandemic! For
all the big talk you guys like to do about how great we are, we sure have a lot of REAL problems to address, not these make
believe, non existent issues, like election fraud.

Suzanne Davis Hall
Representing all people who want to preserve democracy
Montgomery, TX

Please…..do not support this bill Shame on you if you do.

Vincent Chihak
self
Bryan, TX

Our family is deeply disappointed in this transparent attempt by Texas Republicans to suppress voting by promoting the ill-
conceived punitive punishments in this bill for a voter fraud problem that doesn't exist.

https://www.houstonchronicle.com/politics/texas/article/Fact-checking-Texas-lawmaker-s-claim-of-400-16095858.php

Ciara Collins, Mrs.
Self, Designer/Photographer
Austin, TX

Please do not take away voting for the disenfranchised communities in Texas. Please allow those that can vote the opportunities
to do so without hassle and distance. Please uphold our democracy. Please uphold humanity by giving them the opportunity to
vote for the candidates (on all sides) they can see representing them. Please listen to the public comments. Please listen to the
disabled, the poor and indigent, and the minority communities. Please.

Ashley Palmer
Self
Flower Mound, TX

It’s not election integrity. This is voter suppression

Bobby Oliver
Self
Flower Mound, TX

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Please refuse to support the unwarranted voter suppression and anti-democratic legislation to further restrict the franchise and
voter participation in Texas!

Debbie Boatright
Myself
Austin, TX

I’m against this bill. It makes voting harder. That is not how it should be.

Kim Gale
Self
Magnolia, TX

I oppose.

Carl Polk
Myself, a Texan
Dallas, TX

I am against SB 1 which I find as one of the worst voter suppression laws in our country. Texas already holds the award for being
the most difficult of the 50 states to vote. Why are you not more focused on working to resolve our power grid issues or
protecting Texans from COVID 19 rather than allowing the Governor to make it even harder for people to stay safe in our state.
Please do not pass SB 1. And please instead focus on things that really impact Texans.

Thomas Moran
Self
Kaufman, TX

Each of you need to read the constitution and know that in our Democracy, every citizen deserves the right to vote regardless of
their race, creed or national origin. Damn you Texas GOP for even bringing this bill up for vote in the first place. Get over for the
fact your obese orange Baffin lost the election snd stop trying to limit the rights of others to fulfill your agenda. You all should be
ashamed of yourselves.

Torrie VanOs
myself
Stonewall, TX

I support improved safeguards to election integrity in Texas. Clearly we have a problem with voter fraud here in Texas: there are
more than 500 election fraud cases pending in Texas, and Rachel Rodriguez admitted to convincing voters to change their ballots,
including elderly citizens.

herb krasner
retired - none
spicewood, TX

With regard to voting hours, the committee argued that 15 hours of in person voting per day is sufficient. And they assert that is
actually an expansion of voter access, since many jurisdictions are said to only use 7am-7pm hours now. Even if I buy that
argument,
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             still do 30,
                      not 2021
                          understand why you would want to restrict hours to exactly after 6am or before 9pm for all jurisdictions
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argument, I still doCase   5:21-cv-00844-XR
                     not understand why you wouldDocument        117-4
                                                     want to restrict hoursFiled  11/15/21
                                                                            to exactly after 6amPage  3939pm
                                                                                                 or before of 554
                                                                                                               for all jurisdictions
by law. Is it not possible that some jurisdictions under some local conditions might want to implement voting hours before 6am
or after 9pm? Why would you want to take that decision away from local election officials? Please explain why this aspect of the
bill is necessary.

Cheryl Lapaso
Self retired
Kyle, TX

This is a non-issue except for political gain. Stop it and do the work we elected you to do.

Colleen Casey
Self. Distribution Manager, Half Price Books
Hurst, TX

It's an outrage to prevent and limit a citizen's right to vote.

Laura Derrick
self
AUSTIN, TX

I oppose SB 1 in its entirety. It is voter suppression at its worst.

Walter Simmons
Self/Retired
Houston, TX

Oppose this bill

Alan Gilchrist
Self, currently unemployed
Georgetown, TX

This is not who we are! This bill is a danger to our system of government, and will adversely affect the every aspect of Texan's
lives.

Melody Morales-Banks
Self dispatcher
Lubbock, TX

Our elections are as safe as they can be. Anymore is nothing more than voter suppression. This bill is clearly designed to keep
people of color from voting freely and easily. Voting is a fundamental right for each American.

Rachel Roberts
self
Fort Worth, TX
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Like so many Texas residents, I am opposed to SB1 and urge the legislature to vote against.

Heather Hansen
Self, Consultant
Austin, TX

Our elections are safe and this bill is a sham to restrict voting. There is no evidence of fraudulent election activity in this state.
This is a blatant effort to restrict voting.

Alicia Birdwell
Self - Editor
Allen, TX

Please don't make it harder to vote. If there was no voter fraud in Texas, there is no reason to tighten Texas' already-stringent
voting rules. If you have proper ID, you should not have to jump through hoops to vote. Remember, you are punishing
Republican voters too for something that hasn't happened.

Lynn Attridge
Self
Lake Worth, TX

I write to speak in strong opposition to SB1 as it is, in my opinion, a voter suppression bill that limits access to voting for the
elderly, disabled, people of color, and students, particularly in the major metropolitan areas, such as Houston, Austin, Dallas/Fort
Worth, San Antonio, El Paso, Amarillo, etc.

Texas voters should have accessibility to vote in any form, including drop boxes and mail in ballots and any other means to
encourage voter participation without unnecessary encumbrance.

Voters should also be afforded to vote without the intimidation of partisan poll watchers.

 Election officials, poll workers and voters should also not be forced to undergo the same intimidation of partisan poll watchers or
threats of imprisonment for simple rectifiable mistakes and/or confusion of instructions or changes in handwriting ability.

 This bill is being offered as an “election integrity” bill when it clearly is NOT! It is simply a means for a partisan power grab in a
state where NO election fraud was found in the 2020 election and was certified by the Secretary of State as an election that was
free of any fraud.

The Tx Republican controlled legislature is simply trying to invent a solution for an imaginary “problem” that is based upon a
blatant NATIONAL LIE perpetrated by the Republican party to foment distrust and confusion in our American electoral process.

I also believe that an investigation should be called for to find who who provided the boilerplate for the language of this bill, as it
has become clear that Senator Hughes had assistance from an organization that has been providing the boilerplate language for
multi-state attempts at suppressing the voting process across Republican controlled states.

For all if these reasons and more, I am in strong opposition to SB-1!

Lisa Hawker
self - engineer
Bellaire, TX

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Texas should be honoring the intent of our constitution by making sure every Texas resident and citizen has equal and easy access
to vote. SB 1 does not do this. Texas is already the hardest state to vote in, why is there any effort being put into making it harder
and more dangerous for poll workers? I have lived many places, and Texas is disgraceful in how hard it is to vote. What problem
is being fixed? There is no wide spread voter fraud. Existing systems have been working to protect the integrity of elections.
Please don't disenfranchise those who work during voter hours, don't have transportation, can't wait in long lines or move close to
election day. Why can't Texas figure out how other states are able to make voting easy and secure for everyone? Why do we have
to be such a backward state? I want to be a proud Texas. This bill is preventing that.

Steven Rempert
Self - Stay at home dad
San Antonio, TX

I refuse to support this obvious attempt at suppression under the guise of election security. Provide actual proof of voting fraud
that impacted elections or just admit it's the same as your gerrymandering to keep republicans in control.

Becky Kelly
Myself
Livingston, TX

Do not pass this bill. Voter fraud is virtually non-existent and you are simply attempting to suppress our vote.

Laura Shea
Self
Grapevine, TX

I oppose this bill based on the fact voter fraud does not exist per my State Representative. This bill will make it harder to vote,
which is not Democratic. The voting machines require integrity, not the right to vote itself.

Irma Salas
Self/Former Executive & Consultant 4 Health, Ed., Social & Arts
El Paso, TX

You have the righteous power! Use it! Provide comprehensive safeguards for all voters and ensure full transparency to restore
faith in our Texas elections.

Kevin Higgins
My fellow citizens
Kingwood, TX

Please add automatic voter and day of voting registration. Additionally, provide funding for more polling places so that no person
of any community in the State of Texas ever has to wait more than 1 hour to vote. This can be done. Also, make voting by mail
an option for all.

Sarah Medford
Self
Jarrell, TX

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We need Full Forensic Audits of our Texas elections!

Steven Schmidt
Self/business manager
Granbury, TX

Very much opposed to these efforts to suppress voting in our State.

Tushneem Dharmagadda
Self - CEO
Round Rock, TX

I oppose the provisions in this law which make it harder for people to vote. Instead why don't you make the election day a state
holiday so everyone can participate.

Abigail Moody
Self, graduate student
Bryan, TX

I strongly oppose SB 1 and would hate to see it passed. Texas is a state that claims to champion local authority over federal
authority, so I believe it is hypocritical of the state legislature to try determine what is appropriate for local municipalities who
know their situations best. By outlawing successful polling strategies implemented during 2020, such as 24 hour voting and drive
through voting, this bill would make it harder for Texas’ working class citizens and single parents to make it to the polls. I also
believe that applications for mail-in voting should be freely distributed without request as this would make more voters aware of
upcoming elections and help them to not miss important application deadlines, but this bill would not allow for that either. While
these provisions are meant to eliminate voter fraud and increase election security, there is no evidence that the processes of 24
hour voting, drive through voting, or distributing mail-in voting applications have done anything to increase voter fraud. A lack of
election security has not been shown to be a real issue, and all this bill would actually do is limit voters’ access to the polls.

Lauren Grace
Self
Round Rock, TX

We need to make voting MORE accessible to Texans, not less.

David Rupert
self
Austin, TX

There wasn’t any election fraud. This is purely an act of suppression motivated by race, disability, economic status, and
oppression of liberal leaning cities. Let Texas be a free democracy and allow people the right to vote. Encourage systems that
allow more Texans to vote. I oppose this bill and its attempts at suppressing people’s will and constricting Texans’ ability to vote.

Kathryn Pape, RN
Self, Registered Nurse
Houston, TX

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I am opposed to this bill. I think that it puts unnecessary limits on voting and elections. It will discourage and disenfranchise
many Texans from being able to vote.

Bradley Hamlin
Self
San Antonio, TX

I am not interested in these restrictive voter laws that are being presented as a means to protect Texas citizens. It is just more of
the same in a long history of voter suppression here in this state so people who have been in power, can stay in power. The voice
of the people matter and not just those in rural counties.

Mary Linda Portner
Self
Houston, TX

This bill is an unnecessary response to a problem that does not exist. It is a blatant attempt to suppress minority voting and access
and to legitimize overturning elections unfavorable to the party in power. This bill must fail. Vote NO to SB 1.

Brett Pittman
Self
Dallas, TX

This bill is designed to keep Texas held hostage to the GoP.

They as a whole are terrified of the truth.

That truth is that Texas is standing up to the hate, the fear mongering, and the down right evil shit that the GoP has supported.

I am not saying that Politicians who oppose the GoP in Texas are perfect, or without fault.

But keeping carpetbaggers like Fled Cruz in power by crushing any opposing voice in the state is not the Texas I believe in.

We as a state should be leading this country by a sterling example. We should make voting a mandatory state holiday. Everyone
who lives in the state should be automatically registered to vote as soon as they are eligible. We should re-instate the voting rights
of non-violent felons.

We have the chance to stand up, and be something that every Texas can be proud of. We have the economic prowess, the
population, and resources to be the best damn state in the union, and we are being crippled by Republicans.

So please, as an exhausted, democratic and hopeful Texan is asking you, vote against this bill. All it does is weaken Texas.


The Texas I believe in is not scared of the truth, knows it's faults and is trying to get better, and stands up to help the vulnerable.
We're better than what Republicans are trying to make us.

Thank you for your time, and I cannot wait for a time when I can be proud of my state again.

Joy Conolly
SELF
Austin, TX
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This is NOT for the people, this is for the
DEMO-RATS, must be STOPPED!

Patricia Kalthoff, Ms
Self, self employed
Austin, TX

I STRONGLY oppose this bill. Voting is a right for EVERYONE, and should be expanded rather than restricted. As long as free
and fair elections are used as a political football, our democracy is at risk.

Felisberto Dutra
Myself
Austin, TX

I am completely against SB 1, the voter suppression bill! It is an anti-democratic effort to stop people from voting.

Jevere Howell
Self Physician
Bellaire, TX

I believe that we should be making efforts to increase access to voting as the ability to vote for elected officials is a cornerstone of
Democracy and this country was specifically founded on that idea. Efforts to limit the ability to vote especially ones that
insidiously make it more difficult to vote for certain populations based on demography or social status are damaging to the people
of this nation.

Luci Johnson
Self
Austin, TX

In 1965 Democrats and Republicans came together to make the 1965 Voting Rights Act the law of the land. I was there when my
father signed this historic legislation to make liberty and justice not just an empty promise but an opportunity for all.


2013 the US Supreme Court gutted the heart of this law when it deleted the right for the Federal Government to insure that States
did not impede qualified voters from voting.

Today we are at a crossroads. It is time for our generation of Democrats and Republicans alike to come together to ensure all
qualified voters this basic American freedom.

SB 1 is an impediment for voting rights especially for people of color the elderly and the poor. It is time for brave Texans of both
parties to once more come together in support of social justice and defeat this proposition and ensure justice for all our people.

Joe Libby
self/test editor
San Antonio, TX

I oppose the passage of this bill. We need to find ways to make it easier for people to vote, not harder. The last election showed
how that could be done. Thank you.
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I oppose the passage of this bill. We need to find ways to make it easier for people to vote, not harder. The last election showed
how that could be done. Thank you.
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Julia Coronado
Self
Austin, TX

I oppose this naked attempt at suppressing the vote in Texas. Harris county served as a example of how things should be done in a
democracy.

Janet Latham
Voting Rights for All Texas Citizens
Commerce, TX

All Texans (Democrat, Independent, Republican, people of color, handicapped, etc.) have the right to vote conveniently, by mail,
after work, and at locations close to them. We had no voter fraud; you seem to want to make it harder for us to vote. Why?

Armando Trevino
Self
League City, TX

I oppose any legislation that will suppress voters.

Rosayn Curry
Self, retired teacher
AUSTIN, TX

As an elderly voter with mobility issues I call on our legislature to put aside personal political ambition and vote no on this bill
that is designed to make voting difficult and/or impossible for some of us.

Jon Scott Harvey
Self
Houston, TX

It is critical to our democracy that we have elections that are fair, safe and secure. We have existing election code safeguards and
transparency and as a result we had an
extremely safe and secure election in 2020. Though much effort has been put into identifying/proving fraud, very little has been
found. Our election process worked. In spite of this, there has been talk of the need for enhanced election security and fraud
protection.
If there are changes to our election code for the sake of election security, it is important to protect the basic rights and
representation of all qualified voters. Changes that make it more difficult to vote and thereby disenfranchise voters in the guise of
preventing fraud will damage our democracy. Make it easier, not harder for qualified voters to exercise their right. The greater the
participation, the stronger we will be. The changes in the 2020 election with expanded early voting, extended polling hours, drive
through access, and greater vote by mail were positive changes that allowed more Texans to participate in the democratic process.
Electronic voter registration would make sense for ease, safety and efficiency.
There should be a complete cure process for applications for mail ballots and returned ballots. Voters should be informed of
problems and cures.
Any poll watchers should have required training and execute and oath similar to election workers. They must not be allowed to
intimidate voters or election workers. The Judiciary should not be politicized.

Thank you,
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Jon Scott Harvey

Lisa Scarlett
Self, adult literacy
Universal City, TX

I oppose this bill. There is no widespread voting fraud so there is no need for this bill. Also, we should not punish people who
vote by mistake with no malicious intent—for example someone on parole who thinks they are eligible.

Sara Gerrard
Self
Katy, TX

Many parts of this bill are unnecessary and even as ‘an insurance’ against future transgressions, which are unlikely, causes more
trouble than they would stop. Elements of this bill severely limit Texans’ ability to vote and access to ballot boxes. Unfairly.
Our counties are not homogeneous in population or need. Do not pass this bill.

Christina Sabisch
Self social worker
Austin, TX

I strongly oppose this legislation. It will create more problems and doesn’t solve any. It will have a negative impact on the voting
abilities of elderly persons and persons with disability. It also disproportionately harms the voters in large counties. The
legislative intent is to limit availability to legal voters. It does not enhance voter integrity.

Jonathan Respaldiza
self, construction
AUBREY, TX

This bill does not include accommodations for disabled people, or people whose work makes normal poll times difficult. Making
voting more secure should not include making voting more difficult for the citizens of Texas.

Maria Orozco
Self
Plano, TX

I oppose all voter suppression efforts.

Lindsay Ellis
Self, corporate partnerships manager
The colony, TX

This bill is nothing more than a transparent attempt to make it difficult for certain voters to exercise their constitutional right to
vote. Based on the "Big "Lie," it meant only to try to put up more barriers for all voters. There is virtually no election fraud. Our
elections are secure and we should be making it easier to vote not more challenging for people of color, people who work/have
kids, people without their own transportation, people who are poor etc.

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Rebecca Strain
Self retired
Boerne, TX

I oppose this bill. Voting is a right not to be taken away or made harder for a select few to be in power.

Lane Kingsbery
self, Operating Engineer
Lubbock, TX

Texans do not want this bill passed into law. This law is a direct response to the successful initiatives of the voters on Harris
County and should not stand civically or legally. Do not pass this bill!

Zachary Taffet
self
Allen, TX

This bill was created based off the false information that there was widespread fraud in the 2020 elections. There was no
widespread fraud in the 2020 election. We should be making it easier for people to vote as well as aid voters. Please vote no on
this dangerous bill.

Rose Alvarez
Self Retired
Mission, TX

I'm against this Bill ,all elegible voters have the right to vote and actions by this bill if passed will harm a lot of people ,
particularly those with disabilities and people of color. This in my opinion is unconstitutional... I do not think this bill should
pass.

Michael A Brown
Self, Director of Innovation in the Events Industry
Austin, TX

I am against the proposed restriction this bill is suggesting.

Voter fraud is NOT widespread, in fact, the only voter fraud in TEXAS in 2020 was only .0006% of votes casts - hardly any
reason to be going at such lengths to change the law. I am a big fan of SMALL GOVERNMENT and this is a case where I feel
the government is needless involving and legislating.

There is not voter fraud issues. Our elections currently have integrity. Our elections are secure - 2020 was the most secure
election yet!

Vote NO for SB1.

Chea Serda
Self
Austin, TX

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No Jim Crow in Texas!!

Kristin Graham
Self
Georgetown, TX

I am against this bill. Our elections are secure. We should be working to make voting more accessible. This bill makes it harder
for people to vote.

Shanna Bradford
Self, assessment coordinator
San Antonio, TX

Considering the rare occurrence of actual voter fraud, it seems clear that this bill is intended to disenfranchise disabled and urban
voters while unnecessarily criminalizing errant participation in the election process. This bill is merely one more step in this
state's attempts to subvert or willfully upend democracy made by a political party intent on maintaining their power at the cost of
their citizens.

Jennifer Allen-Butler
self
Austin, TX

This bill does nothing to protect our right to vote and should not get passed. This is pure voter suppression and nothing else.

Dirk Walker
self Senior Civil Designer
Kingwood, TX

The facts are that the 2020 election was one of the most secure and fair elections we've had. The fact that partisan republicans
continue to support the lie that it was not a fair election is shameful. The clearly politically motivated and anti-American SB1 is
just one of many state bills around the country that are working to truly undermine our elections and needs to be defeated. The
selfish vocal minority, who deny obvious realities on everything from Covid to elections, who think that the former President is a
 "tremendous and amazing man", is also becoming a violent and fascistic threat to our country. Republican leaders in this state,
and around the country, are pacifying these domestic terrorists and are dooming their party in the process. There is a silent and
respectful majority that will vote against the politicians in '22 and '24. Stop pandering and undermining our hard fought
democracy! You serve ALL of the people of the Great state of Texas, not just the embarrassingly racist, bigoted, and frankly,
stupid people that continue to put us all in peril for their own selfish and misguided motivations. SB1 needs to be defeated.

Amber Harper
Self
Azle, TX

Voter Suppression and gerrymandering need to be things of the past.

Aaron Derton
Self
Round Rock, TX
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Despite zero evidence of widespread, systemic fraud in our electoral system, the GQP is taking measures to suppress the votes of
people of color. This bill is a blatant attempt by them to cling to power and spite the will of the people.

Cheri Carter
Myself, a voting American.
Georgetown, TX

I was born and raised in Texas, have voted in most elections wherever I lived, and am appalled by this unnecessary piece of
restrictive legislation. I’m white, so voting was easy for me and white people in general. But EVERY American of voting age
needs to have the same advantages I’ve always taken for granted. Your Republican grab to hold onto power is plainly seen here,
and stinks like the carrion it is. I’m ashamed of all of you pushing this bill and will do my best to see that you get voted OUT for
this stinker.

Shannon Davis
Self
Clute, TX

Everyone has a right to vote. Whether you are limiting ID or the number of drop boxes. We know what you are doing. If you can't
win fair you cheat!

Sally Koellner
Self
San Antonio, TX

There was no fraud. Changing voting laws only restrict people from voting. It’s a suppression bill not a voting bill.

Daryl Wall
Self / retail manager
Lake Jackson, TX

I do not support this bill. If you have to make it so the other side have a harder time voting then you know you don't have a good
platform and that the majority knows it.

Vslerie Lynch
Self
Austin, TX

This bill should not be passed! I am against it and every patriotic citizen should be as well. Shame on the Republicans for trying
to get this in as law. We are the embarrassment of the US!

Lissa Redmond
Self
Elgin, TX

I am against this bill. I do not feel it is necessary. I think we need to make voting easier in Texas, not harder!


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Stacey Borasky
Self
Georgetown, TX

I am writing to oppose the passage of Senate bill 1. Our right to vote and have those votes counted is fundamental to a
functioning democracy. We need more access to the vote, not less. Early voting, enough polling places for the population, easy
registration are critical. I’m just horrified to see what is happening in TX with the attempts to deny the right to vote. Limiting
access, closing polling places in urban areas, taking away local control of elections, and other clear attempts to stop the vote are
appalling. I urge you to vote this bill down!!

Jeri Crisp
Self
Plano, TX

I oppose this bill.

Patricia Bancroft
Self
Austin, TX

Please reject this bill in it’s entirety.

Suja Thomas
Self
Frisco, TX

There is no evidence of fraud. Let’s stop grandstanding and work to expand voter rights.

Lisa DeVries
League of Women Voters
Victoria, TX

I request the committee focuses on solutions for all voters and help restore the level of trust in Texas elections, and acknowledges
the magnitude of existing Election Code safeguards and transparency. • The Texas COVID epidemic highlights the need for
safer methods of voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and
more options to return vote by mail ballots. These are what Texans want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, ason:
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rolls, as well as reduce  5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 405 of 554

Billie Dixon
Self
Austin, TX

Please vote no for this bill. Anything that would limit or make it harder for folks to vote is simply unconstitutional.

Robert Cash
Representing: self          Occupation: executive director, Texas Fair Trade Coalition
Austin, TX

Oppose.

Adrian Metzger
True Texas Project
Luling, TX

Election Integrity is a priority of the Republican Convention Delegates and it is a priority of the majority of Texas voters. I
believe that a Republican controlled Legislature should respect Republican Platform and Priorities as well as the majority of
Texas voters - step up Republican legislature! SB 1 (aside from amendment 6) starts Texas on a path to greater election integrity
for the following reasons: In the 2020 Ballot Propositions, 98% of Republican voters agreed that election officials should purge
illegal voters from the voter rolls and verify that each new registered voter is a US Citizen; SB1 creates criminal offenses, an
important step that is currently missing in the efforts to fight election fraud; SB1 corrects many deficiencies in the maintenance of
voter rolls, which is one of the many ways that voter fraud is accomplished.
SB1 provides a path to prosecution by the Attorney General when election fraud is detected.

Matthew Manning
self, company president
Austin, TX

The Lege should be working to INCREASE voter turnout and decrease wait times, not to make it harder to vote or to allow right-
wing thugs to harass voters and create chaos. This bill is based on the 'big lie' and is specifically designed to discourage people
from voting as part of the GOP's national effort to tarnish our democracy. It is Jim Crow 2.0 and should never become law.

Cameron nelson
Student
SUGAR LAND, TX

Voting Rights must be protected, creating roadblocks like this will only put a label of discrimination and failure to grow on the
State of Texas.

Meredith Walker
Self, public speaker
Austin, TX

Opposed ! Making voting easier and more accessible is vital to democracy.

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Opposed ! Making voting easier and more accessible is vital to democracy.
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Amy Spiess
self
Kerrville, TX

Every American citizen deserves to know that their vote will be counted. There should be stiff penalties for anyone who tries to
corrupt our system. Election fraud should be a federal offense. Voter ID and voter roles should be validated by the clerks and
officials in charge. This is America and we deserve as citizens the right to vote, to have our vote counted and to know that it is
secure. The only people who do not want election integrity are those who want a corrupt system.

Teresa Perez-Wiseley
LULAC Council 650, State Tejano Democrats and Texas Alliance for Retired Americans
Austin, TX

I have served various times during my voting life as an election clerk, Election Assistant Judge and Election Judge. At the most it
is a lowly paid volunteer position that I served in order to fill an empty position.
In Brownsville, Texas while I was living there I even was the Judge who lead a recount. A position that it took both Democratic
and Republican approval to serve. In fact it was a voting machine. Never in my many years of work as an election judge never
was my precinct questioned as to its election proceeding.

It has always been hard to get workers due to the long day and the very low pay. At times we brought food to help feed each
other or one person covered all the responsibility to feed us all day. I was one of those in each instance. No matter whether it
was democrats or republicans everyone worked honestly and followed all the rules. Even we were all democrats, everyone
followed the rules. WE would never have done anything to jeopardize the results of the elections.

The fact that this bill in advance practically accuses election workers of having the intent to fraud while conducting elections in
this state. To increase criminal penalties, creating criminal offenses and providing civil penalties. You will make it almost
impossible to totally staff the election precincts. The amount of pressure will be more severe than normal. We have a very small
training program as it is. Election Judges will need to call more frequently the County staff to get clarifications. The possibility
of having non-trained deterrents with more power than your Judges it another ludicrous action of people like Senator Hughes.

Stop trying to take the right of voters and election workers. Do not support this horrible SB 1.

Jeffery Whitsell
Self, author
Canyon, TX

Representatives—

I am a resident of Randall County, Texas. I wish to express my opposition to SB 1.

Voter fraud and security is not an issue in Texas. There is no objective proof that Texans’ votes aren’t protected, that intentional
fraud is a threat, or that our current ballot system is flawed.

Multiple sources—including an analysis cited in an October 19, 2020 article in The Texas Tribune—conclude it’s incredibly
difficult to vote in Texas. Passing SB 1 would make voting more difficult, supposedly to solve a nonexistent problem. In a
representative republic, the voting process should become easier, not harder, as technology improves.

Like many Texans, I believe that government overreach is hurting our great state. I’m hopeful that you will vote down the
overreach of SB1.

Thank you.
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Stacey Miller
SUSE
Austin, TX

I vehemently oppose this bill and will fight to upend any legislator who supports it. As the granddaughter of immigrants from
Russia and the daughter of a Marine, I was taught that as a US Citizen it is my right and my duty to vote. The fact that you want
to make it HARDER for people to vote in Texas does not represent the values that my family fought so hard for. Instead of
making it harder to vote and gerrymandering Texas so it supports a particular party, let's make it easier to vote so every eligible
person can be afforded the same opportunity. Please vote down this horrendous bill.

Malinda Spandikow
Self / Designer
Austin, TX

I ask that you do not vote for this bill. Voting should be free and fair to everybody. There is no real evidence of voter fraud in
Texas. Making it harder to vote is not what America is meant to be.

Kimberly Hill
self
Austin, TX

Texas is going in the wrong direction. We should be engaging all voters in the democratic process, not finding ways to bar entry.
SB1 hurts our poorest voters: those who work long hours and are not available to vote 9-5, Monday through Friday. The real
reason this is happening is because Republicans are fearful of losing their stranglehold on power, but in doing this they may break
Democracy itself. Vote NO on SB 1 and instead enact true reform by expanding voting options for all Texans.

Herrell Washington
Self
Arlington, TX

I have heard many of Governor Abbott's "pros" for the bill. However, I am not hearing about an increase in the number of
polling places. Secondly, what provisions or certifications are election judges going through that make any bias or illegal acts are
punishable by law. If an election judge personally knows someone who is voting, could they not cast their ballot out for personal
reasons? Yet, use the excuse of not believing it is their signature? What liability do poll watchers have for their actions? A huge
group with signs that may obstruct the pathway of voters or cause altercations to keep others from going in and voting is a form
of a "poll tax" in my opinion. Lastly, with Constitutionally carry being in effect. What provisions have been added to the bill to
prevent voter intimidation with armed poll watchers or displaying firearms as a way to dissuade people from voting at a specific
polling place or in a district?

Scott Jones
Self
League City, TX

I am opposed to this voter suppression bill. Making voting more difficult/less convenient is wrong, especially when the
provisions will not improve “election integrity.”

Tanya Goodman
Self, semiretired
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Self, semiretired
Houston, TX

Down with voter suppression. We the people have the right to vote. There was no voter fraud in the last election, as evidenced by
FBI Director Chris Wray and other officials.

Sherrell McCoy
Self
Grapeland, TX

What’s so damnant crazy bout this law? Violation of another ethic group which is definitely a constitutional right to have acces to
a vote. To find if I vote against another party as a minority the vote will not be accounted for due to violation of redistricting the
misinformation on the last election is causing people harm and no voting fraud never detected in Texas. Which the GOP needs to
be given an opportunity to cheat people so boastful and full of greed. God Have mercy

Catherine Ford
Self - Retired Teacher and Veteran
Royse City, TX

I oppose the passage of this legislation. It is unnecessary. Based on past elections, the state has not experienced fraud - or if it
has, then most of you currently sitting are doing so fraudulently. Thus, it is obviously an attempt to suppress voter turnout in the
state. This is a shameful act on the part of the sitting Texas Legislature and based on racism and a desire to retain power where
you know you no longer have the majority of Texans supporting you. As the legislation is written, you suppress the opportunity to
vote for many Texas communities, such as Texans of color, disabled veterans and other disabled Texans. For these reasons, I
vehemently oppose SB1.

Cynthia Holliday
Dallas County election Judge
Dallas, TX

SUPPORT HB 1! An election judge for Dallas County Elections Department for 15+ years, I absolutely see the need for full
support of this bill, especially election security, fraud prevention, legal penalties! Follow the law and the Election Code for
Texas!!! SUPPORT HB 1
Cynthia Holliday, Precinct Chair #2225

William Buckingham
Self
Sugar Land, TX

This bill is unnecessary and discriminatory. There is no proof of voter fraud and this is a naked attempt to disenfranchise voters
who vote blue.

Lauren Brehm Aylor
Self, Student
Pearland, TX

No voter suppression bills


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Elias Kadri
Self
Round Rock, TX

This bill, which purports to prevent fraud, is itself a fraud, in the service of a lie. The authors have not shown any way in which
drive through voting or extended voting hours would be more vulnerable to fraud. Texas is already one of the most difficult
states to vote in. This bill just makes it worse.

Abigail Maines
Sels
Cedar Park, TX

Texas republicans should be ashamed of themselves for trying to make it harder to vote. There is nothing more sacred than voting
in a democracy. Texas republicans are acting out of fear and hate.

Elizabeth Willis
Self
Houston, TX

Texans do not support making it harder to vote. Drive thru voting last year was a godsend and to redistrict in favor of Republican
wins in elections is a travesty. It's clearer than ever Republicans can't win on policy or character of a candidate so they cheat
instead. And by the way, Dan Patrick is a first class ass, as is Ted Cruz, Greg Abbott and of course the dishonorable Ken Paxton.

Brady Purnell
Self
DALLAS, TX

This bill is focused on addressing issues that are not widespread (election fraud) to add provisions to the law that make it harder
to vote in the name of reducing election fraud. While we all want fair elections, we should also be addressing the need for more
participation, not less. These restrictions hurts segments of the population that already face hurdles in voting. Coincidentally, it
also is partisan to one side of the isle. Using partisan rules to further a party over actual integrity is immoral.

Lucia Tello Alvarado
Self / nurse
Fort Worth, TX

This bill is unconstitutional, it’s against voting rights, I as a Texas resident demand the cancellation of this bill!

Reneaux Ruffin
Self
Austin, TX

Hello All,

While it's not conducive or conceivable for all voices to be heard in person, I am grateful for the power of technology that so
freely allows us to express ourselves in forums such as this. This extension of our voice must be heard, and I want to emphasize
the importance of voice and why every American must be allowed to use theirs. The intelligence and integrity of our officials has
proven time and time again that our elections are carried out in a free and fair manner. We should be excited to expand American's
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proven time and time       5:21-cv-00844-XR
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                             that our elections are carried out in 117-4
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                                                                              fair manner.      Pagebe
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                                                                                                          excited  to expand American's
rights to vote NOT be focusing on limiting them simply because some people don't want to accept the very real reality of the
results of a previous election. It baffles me that we must have these discussions in a state which claims to pride itself on American
values of which include but certainly aren't limited to life, liberty, and the pursuit of happiness. Liberty is freedom. Liberty is
using your voice as I am using mine right now to say, "do NOT speak for me." Do NOT pass bills that restrict access to
American's right to vote. Do NOT speak for me in doubling down on lies and deception for the furthering of selfish causes.
Instead I implore all present and listening to seek truth in the darkness and search your souls for the answers to why you cannot
bring yourself to do what is fair and just. While there are issues with our voting systems, the methods by which people should be
allowed to vote is NOT one of them. This is about the bill though, so we'll keep that comment there. This bill is injustice made
flesh and absolutely cannot pass and should not stand. I implore all those present and listening to vote against any bills, laws,
motions, and etc. That would seek to quiet the voices of the people. Thank you.

Steven Prather
self
Austin, TX

I oppose SB 1. The sponsors have not produced any evidence of fraud in the conduct of elections that would necessitate this
legislation. The bill creates additional government regulation to solve an invented problem at a cost to taxpayers.

Lara Pearson
Myself admin
San Antonio, TX

Stop creating criminals. Common errors are felt with by the election board and do not require criminalization. Why empower
political poll watchers?? Give more $ to election departments for training!

Cindy Dashnaw
Self - freelance copywriter for nonprofits
BURNET, TX

I am opposed to the bill. I would ask the committee to share independent, nonpartisan reports that show evidence of intentional
voter fraud with numbers, not percentages or words like "widespread,"

Angelica Herrera, Dr
Self/researcher
Austin, TX

This is an effort to suppress the votes of people of color and people with disabilities. It is morally wrong and unAmerican. There
is no evidence of election fraud. This bill will make elections harder for those of us who live in urban areas, have disabilities or
other impairments. The right to vote is scared and is a right of all Texans. This bill will harm democracy and makes it clear
Republican leaders want an apartheid state in which white men have all the power and the rest of us have nothing.

Carolyn Boyle
Self Community Volunteer/Retired
Austin, TX

SB 1 should be amended to increase voting convenience for parents. In Texas, voters ages 25-55 have much lower turnout than
older voters. Senior citizens have greater power because they can legally vote by mail. That is inequitable. An example: In the
2020 Republican primary, 50.3% of voters were 65+; voters 25-44 were only 10.5% of those voting.
? Parents with children should be eligible to request a mail ballot. If a convict "confined" in jail is eligible to vote by mail in
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? Parents with children    5:21-cv-00844-XR         Document
                                 be eligible to request           117-4
                                                        a mail ballot.       Filed "confined"
                                                                       If a convict 11/15/21 inPage     411 of to
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                                                                                                                   vote by mail in
Texas, a father or mother "confined" at home with children should be eligible as well. Adults with a disability may request a mail
ballot, and parents of a disabled child should have that right.
? SB 1 should specify that children are welcome inside polling places and may legally congregate with a parent while voting.
? Like airlines offer early boarding for parents accompanied by young children, SB 1 should say polling places must offer
accommodations for voters standing in line with children. Picture a mom holding a crying baby and a toddler having a tantrum.
? Drive-up voting should be allowed by local option. Parents with children in vehicles can more easily cast a ballot if they can
vote from their truck or car.
? Extended voting hours, including 24-hour voting, should be allowed by local option. Parents could then vote after working the
3-11 p.m. shift or when kids are asleep.
         Instead of outlawing reasonable innovation, legislators should encourage local election administrators to be creative in
expanding voting accessibility. Mobile voting locations are important in large rural counties where typically the only poll for
early voting is at the county courthouse. Parking lots, garages, and any open air settings should be legal poll locations if local
officials determine it would increase voting accessibility in the community. It is embarrassing that Texas ranks 44th for voting
percentage by population!
         Also, we do not know when the next pandemic, hurricane, tornado, deep freeze, gasoline shortage or other calamity will
occur during an election season. It would be foolhardy for legislators to pass into law restrictions on local election administrators
who must nimbly manage elections and achieve the largest voter turnout possible.

Gary Grisaffe
self
Austin, TX

As a poll worker, I am concerned about the power that poll watchers will now have that I will not able to keep under control. The
other voting restrictions make no sense. These were present in the last election and no misuse was found to have happened.
Republicans need to stop lying to the people of this state and show us the respect we deserve with regard to election integrity.

Irene Kerestes
Self
Helotes, TX

Let people vote - that's the essence of a democracy.
Why do we have the most voter suppressed state in the country?
Where are your bills to INCREASE voter turnout?

Cathy Lanitis
Self - insurance adjuster
McKinney, TX

It is a disgrace that the governor and the Texas house are working to restrict voting in Texas. I do not support the efforts in our
state to make voting harder. The is ZERO evidence that Texas has any problems that need remedying - no one is contesting the
outcome of the election in Texas. There is. O need to enact voting restrictions in our state.

Malissa Torres
Self
THREE RIVERS, TX

Legislating to curtail voters from actively participating in our democratic process goes against the US Constitution that I served
20 years to defend in the military. My county has one polling site in a county in which, 30% of working adults work outside the
county plus, shift workers. There is NO weekend early voting in my red, rural county. I vehemently oppose the limitations SB1
proposes. Getting a driver's license takes a small miracle in my county because the office is open only a few days a week. Then a
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proposes. Getting Case     5:21-cv-00844-XR
                    a driver's                       Document
                               license takes a small miracle in my117-4     Filed 11/15/21
                                                                   county because   the office is Page  412a of
                                                                                                  open only  few554
                                                                                                                 days a week. Then a
voter has to take time off to travel back to the county; if they can get off work if, an employer will agree to a leave of absence. In
addition there is no public transportation for voters without access to a vehicle. Why make our civic duty housed in the US
Constitution so difficult for the electorate and working poor? I oppose SB1 as a citizen, voter, educator, veteran and, county chair.

Melodi Weinberg
Myself
Wimberley, TX

Hello,

Why are is the legislature trying to make it so hard to vote? I have experience with vote by mail in this state before the pandemic
and it was ridiculous! I had to leave an out of state vacation early, because my ballot didn't arrive with adequate turnaround time
to ensure my vote would count. Recently I had to make 2 (two) trips to New Braunfels from Wimberley so my 92 year old mother
could obtain a Texas ID. 4 hrs round trips, plus time waiting. What if she had no one who could take her? These bills are go
against everything this country says it stands for.

Ruth Cadena, Ms.
Self
New Braunfels, TX

There's been no widespread fraud. Stop trying to make it more difficult to vote, especially the disabled. Our forebears didn't fight
for freedom just for you to make it more difficult to vote.

Alma Shackleford
My family and myself
Fort Worth, TX

Election integrity is vital to the citizen's confidence in the government. Voting is a right and privilege and actions must be taken
to ensure one legal vote by a citizen is cast and interpreted correctly. I encourage the support of SB-1 with the exception of
Amendment 6. A line needs to be drawn at a specific point of time ensuring that citizens vote in the appropriate district.
Confidence that those in office are truly the ones that the public elected and that proposals on the ballot are counted correctly.

Valerie Street
Self
Cedar Park, TX

This bill, with only slight variations ever here and there, has been the same harmful bill that Texans have been speaking out
against since the start of this year back in January when the 87th legislative session first gaveled in.
At this point, it's redundant to continue to outline the many issues with this and similar bills where the net effect is further
complicating the voting process to the degree that it makes it even more difficult for some of our most vulnerable voters. SB 1
(and similar legislation) simply does not do enough to improve Texas voting to ever negate the many harmful provisions within it.
Committee members and lawmakers have heard from voting and civil rights groups as well as Texans who stand to be most
impacted. Lawmakers have been given opportunity to address these concerns and produce a better bill for Texas voters and it's
disappointing to see that so many months later, nowhere near enough has been done to put together such a bill. Particularly at a
time when Texas faces so many other crises, it should not be the priority of this committee or this legislature to expend so much
time and resources toward policy that will impact voter access for too many Texans. I urge the committee to reject this bill once
and for all.

Vickie Pine
Self. Election worker
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Self. Election worker
Savannah, TX

I work the elections. These poll watchers regulations will hurt our elderly, disabled and take away the workers rights. You will
make it impossible to find people willing to work and put up with harassment. You should make it a better work environment not
worse. You would not believe what we have to go through already trying to enforce the rules we already have.

Karen Dodd
Self. Retired
Spring, TX

This bill does not have my approval. It is infringing on the rights of disabled and elderly voters to vote by restricting drive in
voting. Poll watchers will be allowed to ride roughshod over democracy when they can randomly accost people. This bill will not
overturn the results of the 2020 election - which is the only reason I’m assuming it’s been submitted. If there was widespread
voter fraud, wouldn’t your elections be considered invalid?

JANIS REINKEN, ATTORNEY
SELF / ATTORNEY
AUSTIN, TX

As written, I oppose SB 1 (and HB 3 if substituted).
The goal should be to provide free, fair and equal elections for all eligible voters. SB 1 would minimize voting and marginalize
voters and make it harder, not easier, for people (of any party affiliation) to exercise their Constitutional right to vote.
Free and fair elections cannot happen unless we respect and protect the clerks, election judges, and local officials managing the
election process. This critical issue should be foremost in the legislative conversation, yet Texas has rushed to create legislative
hurdles for voters. These additional restraints on registration, ballot by mail, in-person, and provisional voting should be
eliminated. There must be enough election workers to handle procedural duties; the paperwork cannot manage itself.
Nobody can vote, without reliable people willing to serve as election judges, clerks, ballot board reviewers, ballot counting and
processing teams, early voting clerks and county clerks. We depend on their availability, integrity and honesty. They must not be
denigrated, harassed, or prosecuted for actions in performing this public service.
Eliminate the amendments in Sections. 3.03, 3.04, 3.05 and 3.06 of this Bill. Partisan poll watchers must not be allowed to take
over the election process inside or outside the polling places and ballot processing centers. Observe, yes – control, no. They are
not election workers. Their oath of service is not required in Texas now, although it should be. Poll watchers should not be
allowed to “supervise” election workers by standing near enough to observe what they do or follow them around. Poll watchers
are not trained in using the software or equipment, or in the laws that apply to the election process. This oversight should be the
job of the Secretary of State and agency personnel.
Would a Committee Chair allow a person to stand in the Committee Clerk office and observe the Clerk closely while preparing
the Committee's report, using specially designed software and procedures that require specific training? The House of
Representatives would not allow someone standing closely enough to observe the Clerk and distract her (him) in preparing an
essential Committee report. Should the observer be able to follow the Clerk to the Committee Coordinator's office and watch as
the paperwork is submitted?
Federal, state and local laws are crucial for protecting election officials and workers, inside and outside the polling places, and
before, during and after an election. Intimidation or threats cannot be tolerated. The people who manage the election process from
start to finish are your guardians of democracy. Without them, no ballots can be counted, and no election results reported. Texas
laws should respect and protect election officials and workers.
Enacting this Bill would move toward eliminating public elections and allowing appointed officials to govern the people. Please
do not let that happen.

Wendy Mueller, Mrs.
Self/educator
San Antonio, TX

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Every Texan who is a registered voter should be able to cast their ballot easily and without fear of intimidation. SB 1 would put
harsh legal penalties on voters and those who help voters, if they make a simple mistake or don’t correctly jump through the
hoops the bill imposes.
My 18 year old son has severe learning disabilities and cannot read beyond a 2nd grade level, but he loves to discuss history and
politics. He worries about casting his next ballot because he doesn’t want a family member who would read the ballot to him to
get in trouble. He has enough challenges on his plate—why would you want to make him consider not voting as a way to protect
his family?
Requiring people who help voters like my son complete extra paperwork at risk of legal penalty does not protect the sanctity of
the ballot box! And this is just one small part of a very harmful bill that was proposed as a solution to a problem that is
exceedingly rare. I do not support SB 1 and I do not want my representatives to support it.

Taylor Rankin, Ms.
Self, teacher
Amarillo, TX

Voting is a fundamental American right. Instead of making it more difficult (without any evidence that the system is broken), it
must be easier. Everyone’s voice matters and should count. Please ensure that the disabled, urban voters, rural voters,, and every
other group of Texans have their voice protected by abandoning this bill.

Amanda Trammel
Self - Environmental Specialist
Beaumont, TX

SB 1 is an unnecessary attempt to “fix” a problem that doesn’t exist. There is no clear evidence of widespread election fraud in
this state. A state that already has some of the most stringent election laws in the nation. Our elected officials should be expanding
voting access to make it easier for every eligible Texan to vote, not making it harder.

Miguel Larsen
Self-Retired First Responder
Daingerfield, TX

I oppose SB1. Thank you.

Annette Ledesma
Self
El Lago, TX

Changes are predicated on a lie that the '20 election was fraught with fraud, despite lack of evidence.

Catherine Learoyd
self Home Designer
Kerrville, TX

I am Catherine Learoyd, a proud Texas voter from the Hill Country. I am very active in the League of Women Voters, but here I
am representing myself although my position is consistent with the League's. I have grave concerns about portions of SB1 on
three topics: audits, poll watchers, and voters with disabilities. First, any audit done of the voting machines or ballots and other
systems for voting must be done by certified auditors. I owned a condo in Maricopa County, Arizona, and paid taxes there. I
would be livid if I now had to pay for all new voting machines because the inexperienced people doing the audit made the current
voting machine untrustworthy and will have to be replace. This is no place for amateurs! Second, the poll watchers must be
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voting machine untrustworthy      and will have to beDocument
                                                     replace. This117-4      Filed
                                                                     is no place for 11/15/21     Page 415
                                                                                     amateurs! Second,         of 554
                                                                                                          the poll watchers must be
very clear about what they can and cannot do in the polling place especially in regards to the privacy and confidentiality, and
security of the Voters while voting. The poll watcher should not be allowed to touch a ballot or be within a certain distance of the
area where people are filling out their ballots or be able to see how someone voted as they put their ballot into the counting
machine. A criminal penalty against telling someone what they saw on a person's ballot is not sufficient. The poll watcher needs
as much certification as election workers by taking a training course similar to what election workers take so they understand the
process and are not misconstruing what is going on as they watch. A training manual is not sufficient. They must take a much
stronger oath than won't harass or intimidate! It needs to spell out that they may not in any way keep the voting from being
totally confidential and stay out of the area where voters are filling out ballots. It also feels lopsided that Election Workers are
being put under threat of criminal penalty for even questioning what a poll worker is doing while the poll worker, without
certified training, does not have equal criminal liability. Third, people with disabilities need to be better accommodated. A blind
friend of mine had her vote thrown out because her signature didn't look like a previous signature. Do you realize how hard it is
for a blind person to write their signature and do it consistently. So the curing process must take this into account. We need to
make voting for all kinds of disabilities from being breathless just walking into a polling place so having a drive-up voting option,
or having to provide another document to mail in a ballot making it complicated for for many people. Curing again must have
sufficient time to have legitimate votes count. In conclusion, I want everyone eligible to vote in Texas to have the right to vote
with their privacy, confidentiality and security intact at all times. Voting is the very essence of a democratic republic. Let's
protect that right for all of us. Thank you for considering my suggestions for improving this bill. Catherine Learoyd, Kerrville,
Texas

Annie Hartnett
Myself
Austin, TX

This is a shameless effort to suppress Texans’ votes and I am agin it!

Shannon White
Self
Benbrook, TX

I, Shannon White, oppose the SB 1 bill.

Brandon Naymola
Self
Austin, TX

This voting bill is an obstruction to our constitutional right to vote. This is meant to target people of color, young people and
people with disabilities and make it harder for them to cast their ballot. Republicans attempt to curve the election results in their
favor is so obvious. Texas is going blue and Republicans can NOT WIN without passing these laws and restrictions. I am calling
on my representatives to VOTE AGAINST SB 1!

Allison King
Self, Instructional Designer
Round Rock, TX

I oppose this bill. Voting should be easy for everyone.

Karen Jacobs
Self. Retired.
Dallas, TX
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Dallas, TX

Please do not pass this bill. We need to make it easier to vote - not harder. The partisan poll watcher rule expansion is especially
egregious.

Lori Swim
Swim family residence
McKinney, TX

Very dissatisfied with the past election. Watched the 2020 election through the night. It was a steal and cannot believe we are
allowing Biden to sit in office! It was evident that morning and it is still evident today. We the people must stand together. This
country has went to HELL IN A HANDBAG since Biden claimed office. Please clean up election integrity and drain the swamp.
How our government officials can sit back and allow this to happen is beyond me. I knew there was fraud in Texas by just
looking at numbers after election. I was on Vacation when I heard a man laughing because he voted in THREE STATES! Those
were FLORIDA, ILLINOIS and UTAH!! . American citizens should only be allowed to vote in their primary state of residence.
Many people own multiple homes, vacation rentals and such and I believe they should be personally prosecuted for voting more
than once. Do we not have a system of safety for this that would cancel out their votes? Since we now have our finger prints at
DOT why can’t we vote with a Drivers License and electronic finger print. Don’t match up we don’t have right to vote. Thank
you for hearing my rant.

GOD BLESS YOU ALL AND GOD BLESS AMERICA!!

LORI SWIM

Carolyn Lutter
Self. Licensed Clinical Social Worker & registered dietitian
FRISCO, TX

I oppose this bill.

Michael Blackard
Self, producer
Austin, TX

Do not allow further voter suppression. This violates our democracy by stripping voices from our process. Hiding ways to
disenfranchise Americans through the use of “integrity” or “security” is a betrayal of what this state and nation stands for.

Regina Cunico
Self
Humble, TX

We must preserve our democracy and vote NO for SB 1! Voter suppression is unconstitutional.

William Russell
Self
Dallas, TX

1) Include: Transparent, audit-able elections with access to all records and equipment
2) No Computers in the polling place and central counting locations
3) Voteon:
Printed tabulation
           August solely on a11:32
                   30, 2021   handAMcount of paper ballots

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3) Vote tabulationCase
                   solely 5:21-cv-00844-XR
                          on a hand count of paperDocument
                                                   ballots      117-4 Filed 11/15/21 Page 417 of 554
4) Legitimate cleaned-up voter rolls and voter registration procedures
5) Three day maximum for early voting with no gap between early voting and election day
6) No waivers to these enacted requirements by Sec of State, Courts or Governor without legislation passed by the Legislature
7) Fire Keith Ingram, Director of the Texas Elections Division - He is not trustworthy

Susan Nelson
Self -attorney
Waco, TX

We should make voting easier, not harder. This bill does not address voter fraud as claimed but voter access. My mother has
relied on Absentee voting for years as she fights cancer, and it is difficult enough to vote absentee now. Making early or Absentee
voting harder makes it more difficult for our most vulnerable to vote and will not prevent fraud.

Laura Montez
Self
Austin, TX

Ability to vote should be made easier, not harder.

David Leftwich
Self
Houston, TX

To maintain our vibrant democracy and our freedoms, we need to be finding ways to make it easier for registered voters to vote,
not harder. This bill makes its harder for the citizens of Texas to vote and is based on the lie that voter fraud played a major role in
the 2020 election. Study after study shows that election fraud in the U.S. is very rare
(https://www.brennancenter.org/issues/ensure-every-american-can-vote/vote-suppression/myth-voter-fraud). While court case
after court case, audit after audit, and review after review by Republican and Democratic officials have shown there was almost
no fraud in the 2020 election and it played absolutely no role in the outcome of 2020 elections.

This bill is bad for Texas, bad for our democracy, and bad for the United States of America. It should not be passed.

Sincerely,

David Leftwich

Sarah Castillo
Brazoria County Democrat Club
Manvel, TX

I am against this bill because it criminalizes what are most often honest mistakes that do not result in fraudulent votes being
tallied and spreads fear among the voters, suppressing voting.

Russell Livingston
Self
San Antonio, TX

I think SB 1 is exactly what Texas needs to do to keep integrity in our election system.
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I think SB 1 is exactly what Texas needs to do to keep integrity in our election system.
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Brittany Walker
Self
Dallas, TX

Please vote no on SB1. Texas should do everything in its power to expand voting rights and ensure every Texan has their chance
to vote. Don’t put into place any impediments that are unduly burdensome and unnecessary.

Paula Beard
self, retired
Ingleside, TX

State needs to stop trying to engineer our supposedly free and fair elections to whatever outcome they desire. Let the people vote
and honor the results of the outcomes without all these threats of criminal penalties. Our elections are our constitutional right to
voice our opinions about who we want to govern us. Stop this voter intimidation! Let all Texans vote and make their choice!

Mary Lousteau
Self - consultant
Houston, TX

Texas saw some of the highest levels of participation in our democratic (lower case d) voting system last year. Rather than limit
the options for citizens to vote, the legislature should be expanding them. Or at least allowing the ones that worked so flawlessly
to continue. As I’m sure you were all aware, there has been zero evidence of widespread voter fraud. In fact, I think the Attorney
General is prosecuting 12 cases. Any suggestion that this is about “election integrity” is a smokescreen, and should be called out
as the farce that it is. Please, vote AGAINST this bill, and all other efforts to restrict our most fundamental right as Americans.

Carolouise Ortiz, Ms.
Self/retired
Montgomery, TX

I OPPOSE SB 1, which places undue restrictions on voting rights in order to suppress voting and participation of the general
public in state and National elections.

Eileen Hogue
Self
Pflugerville, TX

This bill only further suppresses votes. It’s clearly targeted to hurt democratic areas of the state. The racism in Texas is
horrendous. This just makes Texas look backwards and bigoted.

Sandra Zamora, Ms
Self
Donna, TX

I’m against this bill. It is affront to all the gains made since the civil rights act of 1964.

Carlos Herrera
Self/disabled
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Self/disabled
Pearland, TX

There isn't massive voter fraud in Texas. I'm disabled and utilized drive-thru voting with my senior citizen parents. Making it
more difficult to vote for a number of Texans isn't going to help democracy.

Mollie Miller
Self and Physical Therapist
Austin, TX

I do not support this bill. I want to make it easier to vote. Longer hours and early voting. Vote by mail. I represent many disabled
patients who need to be able to vote by mail or by drive up. They need more options.

Gretchen Otto
self--book production editor
AUSTIN, TX

Please make it EASIER for all Texans to vote, not harder! We already have many rules and regulations in place that are doing a
great job of preventing voter fraud. We need to help our citizens to vote legally and not resort to intimidation or reducing access.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want. Extended polling hours and early voting days does not increase voter fraud, it allows our citizens more time to fit voting
into their schedules; they need to be able to vote after work and on the weekends. I myself always take advantage of early voting
to plan out a day and time that will work for my schedule. If the days and hours and locations were more limited, I may not be
able to vote.

Also, adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Mary Decker
Individual
Jacksonville, TX

We 30 million Texans identify with the desperate plight of the Afghani people because we, too, are fighting for our freedom-in
this case against the Republican governing majority's determination to hold onto autocratic power even if it endangers citizens'
lives, and to force us to live under rigid standards reflecting their contempt and desire to punish.

SB 1 is a major building block in the Republicans' plan to retain harsh control over the state. Should it pass, and the federal
government fails to enact legislation to overcome it, Republican rule in Texas will become more bold, more severe, and more
difficult to defeat.

PLEASE DEFEAT SB 1

Kelley Oliver
self
CHINA SPRING, TX

ALL votes need to be heard and registered and not rejected along partisan lines.

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Cammy Shay
Self
Houston, TX

Fraud is not a problem in Texas election. The right to vote should be protected and access to the polls expanded to protect all
citizens seeking to employ their voting rights

Richard Paces
self
Center Point, TX

I am glad to see the Texas legislature back at work for the people in a special session. SB1 is now a solid, clean, and very good
bill as currently written. I support SB1 as is and urge the House to adopt and support the same bill. It should not be changed or
degraded in any form.
It is the Legislature’s duty to ensure Texas voters have trust in the election process. It is our duty, as citizens, to demand that our
elected officials, pass and enforce laws that ensure elections that are free, fair, and secure. Please ensure that SB1 is passed by the
House in its current form.

Gray Ginther
Self
Austin, TX

I am in opposition to SB1 because it is in fact related neither to election integrity nor security, but instead will have the result of
disenfranchisement of many voters across Texas.

Sharon Barbosa-Crain
Self-Barbosa Professional Services
Irving, TX

I am registering my opposition to this bill and any similar bill that purports to make voting more "secure" when there is no
quantifiable showing voting is not already secure in Texas, but the rhetoric of the supporters of this bill-and the previous ones-and
the content of the bill itself do not speak to any type of enhanced security but rather to increased restrictions on the free exercise
of voting, on the customary local management of elections, and on the security of both the election rolls and election outcomes.
There may be changes from the original language which the public is not aware of, but, regardless, no improvement will make an
unnecessary set of law changes necessary. I have served as an election clerk, assistant judge, judge, more times than I can count.
I have worked in and managed campaigns. I have been an elected official. I understand the import and impact of the provisions
of this bill. If you really were interested in improving our voting experience you would have called in willing knowledgeable
participants in those efforts, participants from local Leagues of Women Voters, city secretaries, election workers, volunteers,
voters, and used them as resources for something that might have been beneficial. You didn't. You chose to simply look for ways
to grab and consolidate power on a partisan political basis no matter how much it contradicts the claim of protecting our
freedoms. Please stop a moment and reconsider this action and place your energies into areas that will benefit all Texans.

Maureen Bolton
self
Helotes, TX

OPPOSED!!!

Ernie Wittwer
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Ernie Wittwer
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NA
New Braunfels, TX

SB 1. This bill is a series of bad solutions without a problem. Our elections have been the most secure, tamper-free and successful
in memory. We have election integrity. This bill, with fewer voting options, more ID requirements, greater risks for poll-workers,
and more authority for partisan poll watchers, will only make it more difficult for old people, the disabled, minorities, and young
people to vote. It will reduce participation. some measures could have been taken to make voting easier without in any way
hurting integrity. One important example is electronic voter registration. Getting on the list of approved voters should not be
nearly as difficult as it is, but that difficulty also tends to reduce participation. Kill this bill and strengthen our democracy!

Susannah Kirby, Dr
Self (Software Engineer)
Austin, TX

I oppose this bill in the STRONGEST possible terms. There is no valid and necessary reason to pass this bill unless you are
hoping to suppress legal votes. It is a blatant power grab and vehicle for white (and moneyed) supremacy. LET OUR TEXANS
VOTE.

Preston Ferrell
Self
Carrollton, TX

I object to this bill. Anyone in favor of this bill will not get my vote. Everyone deserves the right to vote in this country. You are
trying to make it for the privileged few.

Leslie Monk
Self
McKinney, TX

The tactics used in this bill to scare voters into thinking elections are unsafe and insecure are anti-democratic. Texas is a state
with some of the most strict voting laws in the country and with this bill, it will only increase suppression measures to voters.
Voting should be MORE accessible to people, not less. Automatic voting registration should be put into place. Election Day
should be a holiday, so that more people (and not just the wealthy white ones) can vote and have the time to do it. There should be
no poll taxes (ie ID laws that make it too expensive for some to acquire an ID). If people want to vote by mail, they should have
the option and NOT just people over a certain age or those with a “legitimate” excuse.
Anyway, this bill is bad. It enhances voter suppression and is anti-democratic. Please vote no.

Tara McGuire
Self
Longview, TX

I am a life long Tx resident and I oppose this bill.

Jacquelyn Boyet
Myself
SAN Antonio, TX

This is an unnecessary and racist bill.
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This is an unnecessary and racist bill.
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George Ricks
Self retired
Midlothian, TX

In favor of bill

Linda Ricks
Self. No occupation
Midlothian, TX

In favor of this bill

Michelle Palmer
Myself
Houston, TX

Why are you making it so difficult to vote for mothers who have to take their children with them to the voting location?. Last
year's drive thru voting was the easiest time I have had as a mother voting. Please don't take it away

Kenyotta Elijah
Self; Writer
Lufkin, TX

I adamantly oppose the passage of SB1. The bill is not designed to protect the integrity of our elections, but instead designed to
disenfranchise thousands of voters. By placing restrictions on voting, the number of people who are able to participate in
elections and exercise their constitutional right to seek representation in government will be greatly diminished. This bill is
dishonest and a pathetic attempt by one party to hold onto power.

Thomas McClendon
self, retired
Georgetown, TX

My comment is very simple. In a representative system like ours, where citizens have the right to choose their representatives and
vote on other issues, the legislature should do everything it can to provide as much opportunity as possible for every citizen to
cast a ballot in state and local elections. SB 1 instead imposes obstacles and limits the ability of county governments to make
voting available to all citizens. I oppose SB 1 and hope you will reject it.

Barbara Bullock
self, professor
Austin, TX

I oppose the passage of SB1. Voting is the most important act of citizenship in the United States. The state of Texas should be
expanding voter access and encouraging all citizens over the age of 18 to participate in fair, free, and unrestricted elections.

Laura Minnigerode
Self, Educator
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Austin, TX

I am strongly opposed to this bill which limits access to voting. We should be making it easier for everyone to vote.

Lisa Cortines
Self
ALVIN, TX

Republicans are trying to make it legal to steal an election. This is fascism and criminal. Vote no on SB1!

John Andrusiak
Self, Engineer
Austin, TX

A key concern is that poll watchers need to be able to see the process of the election. Access should be similar to poll workers,
with few limitations. If a poll watcher can’t see the details, then they’re not really able to fulfill their duty to ensure a fair election.
This includes being able to see workers, materials and equipment. The bill should be extended to allow the poll watcher to be able
examine any computing infrastructure used during the election. Allowing the presiding judge to both be in charge of a polling
place, and controlling the poll watchers without a method of appeal is an obvious conflict of interest.
  It’s also important to strike a balance between poll access and security. In nearly any system, the advantage of increasing access
is that allows more opportunity, but the disadvantage is that there are more opportunities for misusing the system, and these need
to be balanced. The more critical the system, the more the balance will need be weighted toward security. One key way is limiting
the ability of a single person or small groups to take advantage of the system. In particular, increasing ballot hours or mail in
ballots allow more opportunities for a small group to take advantage of the voting system, and will need to be balanced with
security. Similarly, mail in ballots, or other opportunities that limit in person contact provide opportunities for a small group of
people to misuse the system.

Cathryn Hartt
Self/acting coach
Dallas, TX

Do not pass this bill. It is anti-voter. I will be watching my representative to see how this vote goes so I know who to vote for or
against to represent me next time.

Sharon Wilson
Self
Dallas, TX

Rather than develop policy the people can get behind, Texas Republicans try to keep the people from voting. This is despicable.

DeAnna Snyder
Self
Spring, TX

Thank you for your work to secure election integrity and security. Please amend SB1 to include HB26 to secure a full forensic
audit of the 2020 election in Texas. Our state and country are dependent upon it.

Bethany Gabbard
Self
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Self
Austin, TX

I strongly oppose the passing of SB 1. Voting fraud has been proven to be virtually nonexistent and this bill is a true threat to
democracy.

Deby Nichols, Teacher
NTA
Lubbock, TX

It should be easier to vote but Republicans are trying to make it harder

Dzann Day, Mrs.
Self
Austin, TX

I am an Austin, Texas, resident.
I hereby register my opposition to voter suppression bill SB 1.
Please vote against it.
We need more people to vote.
Do not create new hurdles to voting.
Thank you.

Scott Helms
self
Dallas, TX

This bill is not about election integrity or fraud, it is blatantly designed to deter and suppress voting in Texas’ diverse urban
centers, especially black and brown communities, because Joe Biden in 2020 and Beto O’Rourke in 2018 “got too close” to
winning those elections. Our objective should be to expand the vote to every eligible voter, not restrict it so that a shrinking
majority can cling to power. SB 1 is shameful.

Susan Barzelay
RAC TX (Reform Jewish social justice organization representing 39 Texas synagogues)
Colleyville, TX

Dear Committee Members,

My name is Susan Barzelay. As a longtime Texas resident (over 40 years) I have appreciated the open door civic involvement
encouraged by our local leaders.
RAC TX, the social justice arm of Reform Judaism, has met multiple times with our County’s Election Administrator. We have
confidence in our local leadership, security of elections that ensure our votes count. There is no documented fraud to provoke
restrictive legislation that will disenfranchise the elderly, those with disabilities, workers who work multiple jobs and late hours
and more.
Will my elderly mom be able to vote next year? Will I be able to vote in spite of hand surgery and an eye disorder?
Will my daughter who works in international finance be able to vote by mail and have notice if a problem? Rely on guidance
from trusted election administrators and local elected officials who say there elections are secure. Vote NO on this bill.

Anna Keeter
Self teacher
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Self teacher
Kingsland, TX

I do not support the efforts of the state of Texas to suppress voting rights in any way, shape, or form.

DANA Camp-Farber
Self
Houston, TX

Do not take away the rights of ALL citizens to vote by abridging their access. Your questionable history should not be forgotten!
Access to the vote MUST be enhanced and not reduced!!!

Chris Lee
self / student
Austin, TX

Against. It is a false narrative that there was fraud in the previous elections. Our elections are safe already. They were made safer
due to Russian interference of the 2016 election where votes weren't tampered with but the influence from social media greatly
biased the electorate. If the election count wasn't secure, where's the proof? There was no election fraud. So any "restrictions"
placed due to this bill amount to suppression.

Ana Rodriguez
self
Houston, TX

My name is Ana Rodriguez, I am submitting written testimony against SB 1 on behalf of myself.

As an immigrant who has volunteered to help naturalized citizens navigate our already confusing and restrictive voting systems, I
am deeply concerned with the additional restrictions that would be implemented through SB 1. The community members I have
worked with tend to be older with limited English proficiency, limited formal education, they often lack access to transportation,
and they sometimes come from countries that have made participating in voting difficult or dangerous. All of these make it
difficult for them to get to the polls and complete their ballot.

My naturalized neighbors need more access to voting by mail and they need more access to the polls, not less! Drive through
voting and expanded voting hours can make it easier for their loved ones to take these older naturalized citizens to vote.
Eliminating these options is overreach by the state and it will harm democratic participation. Additionally, the intimidating
restrictions and hurdles for voters who need assistance are cruel and will harm those who need it most. These coupled with
provisions that empower partisan poll watchers will especially intimidate and keep away naturalized citizens who have faced
violence and intimidation in their countries of birth. Instead of restricting voting access and adding vague criminal and civil
offenses like anti-democracy authoritarian governments, Texas leadership should be expanding access to democracy. For all these
reasons, I urge the committee to vote against SB 1.

David Helcel, Dr.
Self
Austin, TX

Voting needs to be made more accessible to everyone. This bill needs to be rejected. This state already has the worst election
access in the US. The only fraud happening here is the deceitful gerrymandering foisted upon us by Republicans.


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Kevin Packard
Self, Software Engineer
Cedar Park, TX

SB1 is a voter suppression bill thinly disguised as a voter security bill. Putting “integrity” in the bill description doesn’t make it
so. Please have some integer. Vote No on SB1.

Corinna Schwartz
Self
Boerne, TX

No. Guidelines and Penalties for pool wathers should be same. People should not be punished for driving those who need
assistance to polls. Drop boxes should be available in proportion to population.
You are trying to fix a problem that doesn't exist. Insteas please address problems which do: gun violence, oppression of
women's rights and for God's sake figure out how to keep the power on.

Dell Toedt, Mr.
Self - attorney
Houston, TX

Seems like a solution in search of a problem - and (to mix metaphors) the cure is worse than the disease.

Diana Sharp, RN
Democratic Women of Comal County
New Braunfels, TX

I against the passage of SB 1. This bill has many components which will discriminate against and make it more difficult for
many to vote, particularly minorities. Also, as a Poll Worker (Clerk), I am very concerned about the indiscriminate authority
given to Partisan Poll Watchers, which I believe, will serve to intimidate voters and Poll Workers alike.

Anne Lewright
DA Direct
Dallas, TX

As a longtime Texas resident and a new voter, I think we should be making it easier to vote...not more difficult. We requested (3
times) an out of state ballot for my child who attends college out of state and never received it. We started making the requests 3
months before the 2020 election. I am against any new rules or laws that make it harder to vote in Texas, and I will not vote for
any politician that supports this bill.

Angela Haran
Self
McKinney, TX

I am a Texas resident and I oppose this bill or any bill which limits voting. Voting is an American right. Access should be easier
not harder. There are many people working long hours on all shifts and you are dishonoring them by limiting their access and
assuming they follow a certain schedule. Further, you’re attacking American democracy by questioning the results of elections.
This is a waste of money and time and against everything America stands for.

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This is a waste of money and time and against everything America stands for.
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Karen Lenz
Self. Flight Attendant
Highland Village, TX

I am deeply concerned about this legislation. The 2020 election was the most scrutinized in history, held during a pandemic, and
still found to be the most secure. The amount of taxpayer money and hours spent looking for fraud that turned up nothing of note
should uphold this fact. But introducing this bill simply looks like one party doesn’t like the outcome of an election, and rather
than coming up with a platform to appeal to a broader base of voters, would rather make it harder for some people to vote. I’m
saying this as someone who would not be impeded—I’m the conservative white middle aged Republican woman. But you have
pushed too far, gone over the edge, and are trying to end what our country is supposed to be—a democracy where every vote
counts. Don’t give me that bullshit about “every legal vote”—I don’t buy that right wing crap you are spinning. Represent the
entire state, let all the legal residents vote, stop being such dysfunctional hypocrites, and actually STAND FOR SOMETHING.
Make a platform that isn’t lies, hate, and fear, and build a better Texas for all of us.

Laura Gompertz
Self
Katy, TX

I oppose this bill. I'm in favor of drive thru voting, mail in voting, voting mailboxes, and any measure that makes it easier to vote.
I don't believe there has been widespread election fraud. I believe our elections are safe and secure.

Don Griffin
self, retired
Houston, TX

As a citizen and current Volunteer Deputy Voter Registrar (VDVR), I take voting very seriously and look forward to the
Legislature and Governor taking steps to increase voter participation in a state where voter turnout is so very low. We are
typically in the bottom 10 states when it comes to voter participation and we can be better than this. Options such as electronic
voter registration, 24 hour polling, expanded early voting, more options to vote by mail and greater options for the disabled
would greatly help to increase voter turnout.
As a VDVR, I have taken a class and an oath to prepare me to effectively and legally register folks to vote. I believe that Poll
Watchers should likewise be trained to understand the law regarding their role in the polling place and should take an oath to
faithfully follow the relevant laws.
For those who are entitled to vote by mail, I strongly believe there should be a way for a voter to be notified if there is an issue
with their ballot or registration application and a appropriate means to cure the issue to ensure that every legal vote is counted.
Voting is a critical part of a every citizen's responsibility and our state should make it a priority to facilitate voter's trying to fulfill
their responsibility.
The 22,000 hours that AG Paxton's Voter Fraud Unit spend trying to identify voter fraud demonstrated that there is no widespread
fraud. Why is the state trying to make it harder to vote?

Charlynn Scott
Self
Carrollton, TX

I oppose this racist bill.

Brooke Scheibe
Self
Round Rock, TX
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Round Rock, TX

I oppose SB 1’s restrictive voting legislation. We all know the purpose of this bill restricting rights of women, people of color,
the disabled, working class citizens, etc. Probably not the best scheme.

Mary Jones
Self
Cedar Park, TX

Stop the bogus election fraud nonsense! If you can’t win by cheating, maybe change your agenda! Texas is gaining more
democrats because democratic policies are POPULAR. It’s time for the GOP to reflect the WILL of the people, and stop
confusing and manipulating the electoral process.

Kasie Cater
Self
Krum, TX

This entire bill is voter intimidation at its peak.

James Bowman
Self
Lago Vista, TX

SB 1 inherently is a voter suppression piece of legislation and NOT a voter fraud or election security piece of legislation. The
statistics of the past amount of voter fraud in the State of Texas DO NOT warrant this type of legislation. This legislation is a very
obvious attempt to impose draconian and anti-democracy measures so as to set up an authoritarian type of government in not only
the State of Texas but the United States of America. Benjamin Franklin was supposedly asked about what kind of government we
in the US had and his response is purported to have been, "A republic, if we can keep it." SB 1 seems to be putting a suicide vest
on the State of Texas for the sake of destroying the democracy of the United States of America. My father was asked to be a "poll
tender" while attending a university in Mississippi in the 1950s because he was an athletic white college boy in a well-known
national social fraternity. He was a good basketball player who had grown up in the Methodist Church. He had begun to
overcome any racism he learned partly because of now having African American teammates and classmates. Further, he was pre-
rock and roll, he loved blues. And out of conscience he knew he could not do what the city "elders" want of him, to stand at the
polls and not let African American people in, through sheer intimidation of being a white young man, to LEGALLY vote. He had
to explain this heinousness to me for I was raised to believe ALL people had an equal right to vote. He refused to take part and
promptly quit that fraternity. He had morals, something sadly lacking in the souls of most of the membership of the Texas
Legislature and Texas Government in general. If you destroy our voting rights, no matter your attempts at idiotic gaslighting, the
outcome will not result in a manner to your favor.

Jeana Foxman
Self
Dallas, TX

Please vote no on SB 1, anything less is an egregious assault on our precious democracy. There are many flaws in this bill, too
many to list for the character count permitted. Perhaps most significantly, the impact of this bill and others like it, will be
disproportionately visited upon the elderly, the disabled, the economically disadvantaged and Black, Latino and other minority
communities. I am Jewish, and our sacred Jewish texts and values, calling on us to protect the vulnerable and the stranger,
thereby call on us to oppose these bills. I appreciate and support ensuring that our elections are secure and that the process has
integrity. But the changes in law proposed in SB 1 and some of the other election bills rather than meaningfully addressing any
legitimate voting security issues, will instead create unnecessary barriers for many citizens to exercise their freedom to vote and
subject too many people to unwarranted severe criminal penalties. I urge you to vote NO on thus bill.
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subject too many people 5:21-cv-00844-XR       Document
                          unwarranted severe criminal       117-4
                                                      penalties. I urgeFiled
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                                                                               vote NO onPage  429 of 554
                                                                                         thus bill.

Eva Kiser
Self
Chandler, TX

I am not in favor of limiting access to voting with arbitrary rules designed to make it more difficult for a registered voter to cast a
ballot.

Jeremiah Scott
self/geology analyst
Richardson, TX

There should never be laws to make voting more difficult, period. Passing such laws, especially with the unexpressed intent to
prevent minority voters from voting, is anathema to democracy and those pushing them should be ashamed.

Delight Hogan
Self
Frisco, TX

As a volunteer election clerk and poll greeter, it is readily apparent what the intent of this bill is: suppress votes by making it
MORE difficult to vote in a state already ranked as one of the MOST difficult. As a parent of a out of state college student and a
geriatric disabled mother, I can testify that it is already difficult to register in this state as well as vote if you are not in a red
controlled district/precinct. It is an absolute fallacy that there is a plethora of fraud. It is minuscule in proportion to our population
and the former SOS declared out elections safe. I oppose SB 1.

Holly Doggett
Self
Temple, TX

You know there is no widespread voter fraud. You just don’t want people who aren’t just like you to vote. We see who you are.
We need to be helping every eligible Texan to easily cast their vote. Expanding vote by mail is a great start.

Mary Carter
Myself
San Antonio, TX

My husband and I both vote. We believe every citizen should be able to vote with grace and ease. It is the only way for a fair
election for which ever party a person chooses.

Gabriele Sanchez, Ms.
Self, independent contractor
San Antonio, TX

I'm urging you to oppose SB1, because it takes away voting rights that our hardest working Americans deserve. Many of us work
multiple jobs for long hours that don't match the schedule of those with regular hours or a privileged career. We need 24 hour
voting windows and drive thru options (which already required IDs, so any opposition to them is petty and obstructive).

We do not
Printed on: have many
            August 30, elections,
                       2021 11:32 which
                                   AM means every American citizen should be given the opportunity to participate when they
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We do not have many Case   5:21-cv-00844-XR
                        elections, which means every Document
                                                        American 117-4       Filedbe11/15/21
                                                                   citizen should                Page 430toofparticipate
                                                                                     given the opportunity       554     when they
happen. The needs of Texans in rural areas are not the same as those in crowded, urban and suburban areas. This isn't a change in
 "voting rules," as Lt. Gov. Patrick calls them, and making accessibility the same across all counties, especially when choosing
the most restrictive option, doesn't mean it's fair. To push for these restrictions during a 4th surge in a deadly pandemic is even
more cruel and unreasonable.

We should be concerned about hacking and other security issues in voting. However, wasting tax payers' hard earned money on a
monthly hunt for boogeymen not based on actual statistics, but instead on partisan games to terrify people is dishonest and
corrupt, and it distracts from actual threats as they grow.

Elissa Steglich
self
Austin, TX

I register my strong opposition to SB 1.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Andrew Hassell
Self, accountant
Brookshire, TX

Why are you afraid or voter turnout? Are you scared your political views are no longer the majority, so rather than change your
views with the times you try to limit voter turnout to hold on to power a few more years? The 2020 elections were extremely
secure and almost no cases of out right fraud were found. In fact, less than 50 Texans are being prosecuted out of 11 million
ballots. In these times, education and information and technology should make registering and voting as easy as anything. Please
don’t try to limit people’s right to vote just because you are afraid of changing demographics and popular beliefs. If you truly
believe in democracy, you would not be trying to limit the number of votes. Stop pushing the lie that the election was stolen just
because you don’t like the outcomes. 1 drop box for 5 million people doesn’t make the election more secure, you just hope it
limits participation. Vote no on S.B. 1

Harrison Paret
Self
Houston, TX

This bill makes it abundantly clear that the Tx GOP has fully embraced fascism and authoritarianism; it is the only explanation
that makes sense of why sb 1 blatantly targets voters ability to get to the polls.
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that makes sense of     5:21-cv-00844-XR
                    why sb                        Document
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                                                      ability to get to the Filed
                                                                            polls. 11/15/21 Page 431 of 554

I demand that anyone so still supports democracy and believes in pluralism to oppose this bill.

Veronica Garcia
Houston in Action
Houston, TX

Houston in Action opposes SB 1 as it would eliminate two critical measures that have helped keep voters safe during the
pandemic: drive-thru voting and extended early voting hours. Further, we disagree with the provision of the bill that prohibits
election officials from proactively mailing out absentee ballots or applications and have great concerns over the language that
empowers partisan poll watchers. Texas should embrace policies that make voting more accessible, as opposed to restricting
access.

CHRISTINA STEFFEY
Self
Dallas, TX

Please do not pass this bill in its current form.

Michael Webber, Dr.
Self
Austin, TX

I am opposed to this bill. We should be doing everything we can to expand the franchise of democracy to as many people as
possible. Instead of making it harder to vote, let's make it easier to vote. Instead of erecting barriers to participating in democracy,
let's invite more people to participate more readily. The more people get to be part of democracy through convenient voting, the
more people will believe in democracy and the more people believe in democracy the more likely we are to extend our freedoms
for future generations. Let's not start going backwards now--we've made too much progress to give up on it by becoming
retrograde and returning to some outdated view of who gets to vote.

Max Rocha, Mr.
Self
Boerne, TX

I object to this unnecessary, un-American bill

Cynthia Brennan, Nurse
Self- retired teacher
Georgetown, TX

I do not approve of this Jim Crow voter suppression Bill. There was no fraud in last election. This Bill is more proof that you are
trying to prevent certain voters from exercising their American rights.

Brian Dixon, Dr.
Self; Physician
Fort Worth, TX

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Anything that prevents the easy completion of a civic duty like voting should be stopped. These bills make voting more difficult
and deter excitement about the one thing guaranteed me, a Black guy, in the Constitution.

Jessica Bowen
Self- teacher
New Braunfels, TX

I am registering my opposition to this bill. This is a blatant attempt to suppress the vote so the GOP can remain in power despite
the fact that the majority of Texas citizens do not support your policies. This bill seeks to remedy an issue that was made up by
the GOP. Voter fraud is not an problem in our state. Politicians should be doing everything they can to expand voting rights and
access to the ballot, not limit it. This bill is anti democratic and a waste of time. Focus on fixing the Texas power grid instead of
suppressing the vote!

Meg Willett
Self
FORT WORTH, TX

I am opposed.

Gwynne Ash, Dr.
Self - professor
Austin, TX

This bill is a solution in search of a problem, partisan, and a waste of taxpayers time and money. Jesus did not say, “Cheat to
insure that you always win.”

Ronald Kinard
self, software engineer
Round Rock, TX

I do not believe this bill is necessary to protect elections, and believe it will disproportionately disenfranchise voters to address a
problem already managed perfectly well by existing election policy. There is insufficient evidence that the introduction of safer,
faster voting methods during the 2020 election resulted in any threat to the integrity of the election. However, introducing these
restrictions will make it more difficult and more dangerous for legitimate voters to vote, while unreasonably penalizing people
who do make a good-faith effort to help them vote. If we are to believe that voting rights are a fundamental value of our
governing system, then it is hard to see this bill as anything other than a bad-faith attack on the core values of our state and our
country. Instead, the legislature should prioritize measures to make it safer and easier to vote for everyone eligible to vote,
empowering local districts with the resources needed to protect the electoral processes they already have, thereby enabling the
leadership of the government at every level to better reflect the electorate of Texas.

Marian Cones
Self
Houston, TX

I am OPPOSED to SB1 for these reasons: (1). local governments should have the flexibility to approve voting methods that will
better accommodate the voters in their region (i.e. 24-hour voting, drive-through voting, drop-off locations, etc.), (2) online voter
registration should be allowed statewide just as many other governmental functions are carried out (such as vehicle registration),
(3) criminal penalties should be eliminated for honest errors, (4) free movement of poll watchers is just the legalization of voter
intimidation and should NOT be allowed, (5) vote-by-mail applications should be sent to ALL eligible voters on the rolls and
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intimidation and should    5:21-cv-00844-XR         Document
                                be allowed, (5) vote-by-mail       117-4 should
                                                              applications  Filed 11/15/21      Page
                                                                                    be sent to ALL      433voters
                                                                                                    eligible  of 554
                                                                                                                   on the rolls and
criminal penalties against election officials for mailing them out should be barred. This bill attempts to fix a problem that
doesn’t exist, and the risk of denying the right to vote to an eligible voter is a much greater risk to our freedom than the risk of an
ineligible vote being cast.

Jennifer Duiker-Walker
Self.
Elgin, TX

I am opposed to this bill. Giving the legislature the option of ignoring my vote or any Texan's vote is wrong.

Wilma Putnam
Self
Georgetown, TX

I support SB-1 and urge committee members to hear the bill and to it out of the committee as quickly as possible.

Corinne Smith, Pct Chair
Self - retired
Dallas, TX

Good Afternoon : First I would like to state I am in FAVOR OF the " election integrity and security , and preventing fraud bill. I
need to finish reading the complete bill.

I would like to share & address large concerns I have about fair and transparent elections in Dallas County. Through
investigations into Dallas county comm court , during Toni-Pippins Poole as Adnim in Nov 3 2020 cycle, and prior to it , an
infusion of 15 million dollars ,via CTCL was rec'd. CTCL is the Mark Zuckerburg Group - Center for Technology & Civic Life. I
have saved the copies. Also I have read Phil Klein an, Atty report on, CTCL, in which discovery of 44 Thumb Drives went
missing from Dallas County. Toni Pippins Poole was already considering her resignation prior to the completion of Nov 2020
election.

I also have the report of Chris Davis Elections Admin video @ comm's court on Nov 10, 2020 , on election issues in our county.
I will be happy to provide these pieces of information and documents of record. Please notify me of where to submit these
documents for them all to be considered by the committee and our state house and senate legislator's.

We have formed a county committee of members involved on working for election integrity and forensic audits.

We have and are working in a committee to further the efforts of citizens via our county party to further call for a Full Forensic
Audit of all the top 13 counties or the complete state of Texas. Until Nov 2020 is fully investigated , citizens can't trust the
process, and they can't trust the machines , which have separate issues. The citizens are deeply concerned about their right of one
vote, one voice. I also have a copy posted by Rasmussen Reports on their twitter account - about the ES & S , DS 200 machines ,
( like those used in our county, ) where a modem can be inserted inside the unit. This also was discovered in Antrium MI report
via Atty Matthew Deperno and Allied Securites report .

The citizens are gathering in large volume , to have their voices heard and will continue the call for a Full Forensic Audit . Thank
You for your time today. I can be reached @ corrine2941@gmail.com PS: Evidence gathering and collecting is increasing each
day . This is not about one party vs another party . Each should be concerned about facts and issues, and the affidavit 's we have
not seen , but the Atty Gen has many cases still pending. Thank You again for your help in this matter and my written testimony
today 8-23-21.

Kathryn Ledbetter
Self
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Self
Burnet, TX

This bill will make it harder for impoverished Texans and Texans of color to vote. We should not make it more difficult to vote in
a state that is already one of the most difficult to vote in because of lies about the 2020 election being stolen. It is just a power
grab by the Texas GOP.

Sheri Lapin, Ms.
Self
Houston, TX

I am against restricting voting. Put the drop boxes back, allow drive through voting and mail in voting. 1 Dropbox for all of harris
county was ridiculous.

Erika Klein
Self - business owner
THE WOODLANDS, TX

This bill is racist garbage. We do not want voter suppression in Texas. You are taking us backward. You need to be making it
easier for people to vote. If the only way you can win is to suppress voters, maybe you need to change your policies to things
people need - like dependable power

It is appalling this is what you are working on during the Covid pandemic. Our schools and hospitals are disasters and we need
reliable power.

Marla Morris
The best interests of Texans
Dallas, TX

The very bedrock of our democracy is the right to vote - for every single citizen 18 and over. As our state representatives, you
should be striving to make that right as easy to exercize as possible.

This bill does not do that. In fact it makes it more difficult and muddles the process unnecessarily based on an enormous lie.
There is no appreciable voting fraud. Most Texans know it, and we will hold you accountable at the ballot box for your decisions
regarding this bill, if our voting rights haven’t been too diluted to do so.

I implore you, please maintain the integrity of our elections by voting NO on this bill. Quite literally, the future of our sacred
democracy depends upon it.

Laura Bloemker
Self
Round Rock, TX

Please reconsider SB 1, the bill that will make it harder for Texans to vote. We don’t need the state to take over the elections
process for our counties. They do a fine job of administering elections. They should have some say in how many polling locations
and drop boxes they can support, the hours polls will be open, and the means by which people can vote. Nothing that happened in
Houston in 2020 involved voter or election fraud. We don’t need any new voting legislation based on the former president’s big
lie about that, we need solutions that ensure that more people can vote. Also, mail-in voting is not less secure than walk-in voting,
since you have to be a registered voter to get a mail-in ballot. Restricting access to mail-in voting hurts ALL voters.

You should
Printed     be working
        on: August      to ensure
                   30, 2021  11:32that
                                   AMour power grid is fixed and that the state is taking action to keep people safe in the
                                                           Page 316 of 429
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You should be working                                Document
                            ensure that our power grid             117-4
                                                         is fixed and        Filed
                                                                      that the state 11/15/21      Page
                                                                                     is taking action     435people
                                                                                                      to keep of 554safe in the
continuing pandemic. Children who can’t be vaccinated are headed back to school with no mask mandate from the governor,
putting them, their teachers, and their families at risk. When life or death issues are on the table and instead you’re taking actions
to limit voting, you show exactly what you think is the real crisis: More people voting, particularly voters of color. Stop this bill
and address the real priorities of Texans.

Donna Todd
Myself
GARRISON, TX

Texas already has the most restrictive voting laws in the nation. We don't need more laws making it harder to vote. We need laws
making it EASIER to vote. If the GOP is afraid it can't win elections unless it cheats, I'd say maybe Republicans need to change
their policies instead. Do not pass SB-1, or any other bill making it harder to vote. Go back and read the US Constitution if you
need a refresher on the work Americans have done to extend the vote to Black and Brown people, and to women. Stop trying to
take away our hard-won rights just because that's the only way you can think of to make sure you hang onto power.

Joseph Malick
self/retired
Dallas, TX

Election bills must be amended to include the following:

Auditable elections with access to all records and equipment.

No computers in polling locations or central count.

Vote tabulation that is solely based on a hand count of paper ballots.

Legitimate voter rolls and voter registration.

Three days of early voting with no gap in between early voting and election day.

No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.

Fire Keith Ingraham.

Cuong Luu
Self
Houston, TX

I oppose this bill because it doesn’t do anything for election security. It only makes it harder to vote and disproportionately affects
minorities. The claims of mass election fraud are false.

John Bruce, Mr
Self
Houston, TX

Considering we have yet to see any large scale fraud in Texas then my feeling here this is no more than voter suppression . If the
Texas state could provide examples to show this large scale voter fraud then I would change my position .


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Tiffany Holman
Self
Garland, TX

Hello!

I am appealing to this legislative body to consider amending SB1 to include HB26. There is an urgency in the air among those of
us that love this country to restore faith in our election process. The longer we wait the more apathetic I believe the American
people will become.

Thanks you so much for all that has been done and I pray you all consider my request.

God Bless

Angela Plummer
Self
Tyler, TX

No comment

Dwight Pack
Self banker
Dallas, TX

Stop with the fake voter fraud bill. This is nothing more that voter suppression.

Kim Farlow
Self
New Braunfels, TX

I am an experience election worker and I am against SB 1 for numerous reasons that would make it harder for more voters to
vote. Texas has rapidly gained population between 2010 and 2020. The census showed an increase in the people of color
communities and a decrease in the Caucasian population. Many Texans must work two or more jobs in order to earn enough
money to pay for necessities. Allowing flexible voting hours to accommodate Texans who work multiple jobs or shifts that
prevent them from voting between the times allowed in SB 1. Flexible voting hours should be decided at the county level. Below
are my recommendations to improve the SB 1 so that more Texans will actually vote.
1. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. Provide multiple
locations for voters to drop their mail in ballots in secured ballot boxes located in places that voters go to often. Several states
vote entirely by mail successfully and securely. Look to those states to provide guidance as to how to expand voting options.
These are what Texans want.
2.To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers. An election judge should have the authority to remove a poll
watcher for any inappropriate interaction with a voter without a warning and that poll watcher should not be allowed to return
during that election cycle.
3. Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.
4. Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.
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blind voters a wayCase    5:21-cv-00844-XR
                    to securely and privately vote. Document 117-4 Filed 11/15/21 Page 437 of 554
5. Adding electronic voter registration, without the need to print and return voter registration forms to the county elections, to the
omnibus bill would greatly increase the accuracy and integrity of the voter registration rolls, as well as reduce costs. Same day
voter registration should be possible for all Texans who are shown to be a registered voter in Texas.
6. Allow student IDs from a Texas college/universities and Texas high schools to be an acceptable form of ID.
Voting is the bedrock of our democracy but yet Texas has one of the lowest voter participation in the US. Changes to elections
laws should focus on increasing voter participation in Texas to where 80% of register voters vote in every election.

Susan Dietzmann
NA
Ingram, TX

Thank you for making appropriate changes to SB1. It is good to go. Do mat make any more changes to negate all the good
qualities of this bill. Thanks for all your hard work to get it right for Texans.

Wanda Longoria, Ms.
self: retired teacher
San Antonio, TX

Please do not pass what I believe to be a Texas voter suppression bill. Parts of it are subtle attacks to the election process and
could hinder access to the polls for many Texans based on a false premise that Texas elections are riddled with fraud. This has
already been proven to not be a true reason for creating this bill. I know a House committee is scheduled to consider the bill
Monday,. Please do not vote to move this bill along. It would be a travesty to our state and future elections. Our constituents need
to be given free access to legal voting as it currently stands in our great state. We have historically had safe elections and that
should be honored, upheld and secured to gain the confidence of our citizens.

Anne Freitas
Self
San Antonio, TX

This law is unnecessary. There was no risk of election fraud to justify this. Make voting easier for all Texas citizens.

August Schilling, Mr.
self
Southlake, TX

It is imperative that voting in Texas be made as easy and accessible as possible. That by no means is to imply or support
fraudulent voting (a very unusual occurrence historically), but, to provide all eligible voters the right to register and to vote
without hinderance. What have you done to facilitate such reasonable practices as drive through voting, 24 hour voting, easy
drop off of "mail-in" ballots, on-line voter registration, same day voter registration, etc. These are all practices used in many
states/localities with great security and no significant history of fraud, errors, etc. SB1 as drafted makes most or all of these
practices harder and interferes with the rights of the disabled, the elderly, the late shift worker, the student, the single parent, etc.
to be able to vote. As a poll worker, the access being granted to poll watchers, the restrictions on poll workers to protect voters
from poll watchers, the penalties for violating these overly broad poll watcher rules and the likes are unreasonable. They will
drive away the very hard to recruit poll workers/judges who give generously of their time for minimal pay to advance democracy
and subject them to possible liabilities for inadvertent mistakes and/or mistakes promoted by poll watchers intending to elicit
trouble. SB1 is a horrible piece of legislation that is without any substantive basis and must be killed.

Stephen White
Self
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Houston, TX

Please stop with the superfluous additions to current law. There was no fraud found and there is no need for this plethora of
ridiculous add ons. Stop making things worse. I’m disabled and haven’t needed to use it yet but if I do need a ballot it would
require numerous hoops I’d have to jump through in this bill. It wasn’t broken to begin with and it doesn’t need this “fix”.
Maybe you should work on the grid so I don’t die next time it’s overloaded. Don’t you have better things to work on for us than
idiotic mess that only makes our lives worse? The election was fair and DJT lost. Just like Hillary, John, and Mitt did before.
Enough is enough. Stop trying to please a particular base and go to work helping make Texas a better state.

CHARLES DAVIS
Self - Insurance
Waco, TX

There was no mass election fraud in Texas in 2020. This is a bill designed to make it harder for people to vote. There is NO
reason it should be more difficult for anyone to vote.

Jane Lesnick
Self
Houston, TX

I am a voter in Harris County, TX and I am writing to testify AGAINST SB1.
Given that the COVID crisis has gotten worse again, and we need our government to allow protections for vulnerable people, I
think that SB1 goes too far in curtailing local elections officials’ ability to protect our voting citizens’ ability to vote in safety and
with ease. Mobile voting, more voting hours, and distributing applications to vote by mail are ways to encourage people to vote in
the way that is most safe and convenient. The restrictions on all of these by SB1 are harmful to the voters of Texas and therefore
to the integrity of our elections.
Another thing that is harmful to the integrity of elections is allowing untrained, unaccountable partisan Poll “Watchers”
practically free rein in voting locations, with severe penalties instead for highly trained Poll Workers who try to protect voters’
privacy and right to vote free from harassment. Texas’s history of voter intimidation means the legislature must take great care in
matters where this harmful behavior may easily be replicated.
Please do not pass this bill.

Pamela Sonnen
Self retired social worker & educator
Castroville, TX

I am a Medina County resident. I have worked at the past two federal elections and never saw any evidence of voter fraud. I have
not seen any documented evidence of voter fraud in other Texas counties either. Making it easier to vote during a deadly
pandemic should be what we want in a democracy, not what we oppose. I strongly oppose this bill as it is clearly intimidation
and voter suppression.

Melanie Kleas
Self
Houston, TX

I am a senior voting by mail. I have earned the the right to vote by mail by getting old. Harris County voting during the
pandemic was seamless. I was able to check when my vote was received and then able to check when it was accepted. Now I am
faced with my vote being rejected if someone not even qualified deems my signature is not quite identical. I could go on and on,
just let it be known that I am horrified with voting restrictions when the percentage of voter fraud was practically nil. This is not
democracy. We should all be able to vote! It should be easier, not harder.
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Penny McDonald
Self-retired
Carrollton, TX

Not needed

Heather Farmer
Self and League of Women Voters Hill Country Texas
Center Point, TX

As an election worker in Kerr County, I have seen firsthand the need for more ways to allow voters access to safe voting. During
the 2020 election, our elderly and disabled voters, and our voters whose health is at risk benefited greatly from expanded early
voting days and hours and from easier access to drive-through and mail-in ballots. I demand that you allow ALL voters the same
expanded voting rights as these vulnerable populations.

The Texas COVID epidemic, which now includes the more highly contagious Delta variant, highlights the need for safer methods
of voting more than ever. We need the safer options of expanded early voting, extended hours at polling places, and more options
to return vote by mail ballots. These are what Texans want.

To be effective, I believe poll watchers should receive required additional training, similar to election worker training, and should
acknowledge the integrity of the polling space by executing an oath similar to election workers. During the 2020 election in Kerr
County, several poll watchers who had not reviewed the material provided by the TX SOS had to be warned about violations to
voters’ right to privacy that they were committing.

Since we have a high number of voters who utilize mail-in ballots, they would benefit from including a complete cure process for
applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure incomplete applications or ballots to
the electronic ballot tracking system approved in the 87th regular session. However, House action can add a way to alert voters of
the need for a cure and give clear instructions for making sure their vote counts; as well as make the process uniform in all
counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

I urge you to remember that the right to vote is not a partisan issue. The more accessibility voters have, the more our democracy
is strengthened.

Michael Nelson
Self
Dallas, TX

This bill keeps Texans from voting through suppression. Do NOT pass this bill.

Cynthia Graves, Dr
self
Round Rock, TX


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The beauty of a free and fair election is the ability for citizens to participate in our governance. We have trained poll workers to
monitor the electoral process as it is executed. We have technology in place to confirm the sanctity of the ballots being cast prior
to the election, during the election and after the election. As we all know the last elections in Texas had little, if any, voter fraud.
And yet, here we are with legislation that presents false facts and attempts to change laws---all to satisfy a warped political
movement. With the ability to check identities online and the online security in place, we should be moving ahead in making
voting easier and more readily accessible. I served on the Pflugerville ISD school board for a decade. I am an active voter with a
doctorate degree and a small business owner with 10 full time employees. I was a lifelong GOP voter prior to 2016. I think we
owe each citizen the opportunity to cast a ballot in each election so our representative republic stays strong.

Bryce Reed
self - musician
Bryan, TX

I am very strongly against any bill in the Texas legislature that restricts voting access, especially SB 1. The provisions in the bill
that restrict voting access have been put forth without justification or proof showing their necessity, and will serve only to make
voting more difficult for citizens, rather than restricting imagined voter fraud.

Ismael Rodriguez
Walmart
El Paso, TX

Stop making harder for people to vote.

Irene Solano
Self, Educator
San Antonio, TX

The oppression of voting rights for nonwhites has been a stain on our Democratic Republic. The Jim Crow control that has tied
the hands of legitimate voters in our state and country must end.

Kelly Mormon
Self
Austin, TX

I oppose this attempt to infringe on the voting rights of Texans. Allowing partisan poll watchers is a recipe for interference and
voter intimidation. I support mail in voting, ballot drop boxes, and extended voting hours.

El0ise Richardson
self
Plano, TX

We must provide voting opportunities for the elderly, people with disabilities, fear of exposure to the pandemic especially to those
with underlying risks. Mail-in ballots are a sensible solutions; DO NOT make it more difficult for citizens to participate in the
voting process. Voting is a responsibility, right and privilege of every American citizen.

Blakely Fernandez, Ms
None / self
San Antonio, TX
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San Antonio, TX

Texas should be innovative in drawing as many voters as possible in each and every election. Let’s put democracy above politics!

Brian Berryhill
Self / Business Process Expert
Aledo, TX

Texas already has robust voting laws and we should be making it easier to vote, rather than harder to vote. To me, this bill
conjures up partisan division across the state when the legislature should be focused on fixing the grid and ensuring our schools
can continue learning. This bill moves things in the wrong way and will backfire, making it harder for everyone on all sides to
vote.

Helen Manroe
Self / retired
Granbury, TX

I oppose all measures that make it harder to vote. Our elections already are safe and secure. None of this is needed.

Kelly Johnson
Self
Austin, TX

I oppose this bill

Justin Rock
Self
Harlingen, TX

Based on the bill as currently considered, it is clear that this is strictly designed to harm the voting process. There is scant
evidence that voter or election fraud has led to any materials change in election outcomes, nor is there evidence that voter and
election fraud is so widespread that it is an issue of import to Texas elections. Rather than narrowing voting opportunities, Texas
should focus on expanding voting rights through:
1. Expanding vote-by-mail in a common sense way like 5 other States have
2. Allow curbside voting to help older and disabled Texans
3. Allow 24 hour voting to help average, blue collar Texans who may have a tough time voting between the multiple jobs they
work

With the series of changes and amendments to the bill, it is clear that it needs more deliberation in order to make sure it is done
right. As such, I am opposed to this bill and encourage the Texas House to not move forward with this bill as written.

SHARON GREIFF
Self
Houston, TX

For the past three years I have been an election judge in Harris County and I have seen ZERO voter fraud attempted. There are
too many checks and balances for widespread fraud to happen. To limit the ability to cast a vote is not increasing integrity and
security, rather it decreases voter freedom and accessibility.

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Edward Conrad
Self, Software Engineer
San Antonio, TX

This bill is a blatant response to Trump's efforts to overturn a fair and free election last year. Efforts like this will not stand. The
more you stifle the vote, the more voters will take to the polls to show you who's in charge. But beyond that, it's your duty to
secure democracy and freedom, not to mindlessly effect limits on it. Your actions attack the very foundation of representative
democracy. Its intent is clearly to weigh the scales away from actual, non fraudulent voting. The balance instead is toward
conspiracies and distrust. You are undermining the vote, and the damage you do hurts this state. Follow freedom, not sound bites
and political convenience. Allow individuals to decide who represents them and not representatives to decide who gets to vote the
easiest.

Ayayi Eneli
Black Ladies Advancing Qualitative and Quantitative Change
Belton, TX

I am opposed to this bill. It is a vote t suppression tactic under the guise of election integrity. Vote it down. This bill is
resurrecting Texas’ racist past.

LeeAnn Derryberry
Self employed
Spring, TX

STOP SUPPRESSING THE VOTE!

Change your position(s) on policies instead of changing the rules!

NO ONE is free until EVERYONE is free ?

We're turning Texas blue so get back on board with FAIR elections or be prepared to be voted out of office ??

LeeAnn Derryberry
832-387-9572

Sylvia Cave
Self
Gainesville, TX

VOTE NO - Voter suppression is unacceptable & we don’t buy the double-speak that this bill does not promote suppression!

Hannah Bashour
Self - Sales
Austin, TX

Please vote NO on SB1.

Marcel McClinton
Self
Houston,
Printed   TX
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Houston, TX

I oppose this bill.

Theresa Reneau
Self
Frisco, TX

Voter fraud is a lie. Texas already has secure elections and needs to make it easier to vote for everyone.

David Ellis, Mr.
Self
Frisco, TX

This bill is an embarrassment to Texas. We can surely enforce security without making it HARDER for Americans to vote. I’m a
white, non-illegal, Texas resident and you’re not making it easier for me or my wife to vote. You’re making it harder. So hard,
that y’all ain’t getting my vote ever again. For as long as I live, I’ll vote for anybody and everybody who disagrees with this
disaster voting bill.

Robin Hayes, Co Chair
Eastland Co Republicans
Eastland, TX

I support SB 1 by Senator Bryan Hughes. I implore you, however, do NOT remove or weaken existing statutes designed to detect
and prevent fraud, and do NOT reduce penalties meant to discourage and punish fraud once detected. We must keep elections
transparent and trustworthy at every step. Also, there should be NO connectivity at the central counting station.

Thank you!

Sean Henry
Tweed/Houndstooth
Dallas, TX

Everyone votes! It’s a right!

Shannan Williamson
Self
Dallas, TX

The radical/fascist Reich can no longer win elections without having to cheat!!

Sean Henry
Tweed/Houndstooth
Dallas, TX

Everyone votes!

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Marvin Bennett-King
Self
Killeen, TX

I strongly oppose this bill. It is, at best, a solution in search of a problem. At worst, it is blatant voter suppression, Jim Crow
reinvented. This bill should not be considered nor passed

Darla Caesar
NA
Houston, TX

I think it's unethical and UNAMERICAN for people who are supposed to work for us to change the laws to only benefit them and
their party. How are we supposed to know who truly represents us when you don't want an honest and true vote by the people?
When racers are running you don't tape one racers legs together and call that a fair race because the other guy isn't sure he can
win otherwise! I don't think Greg Abbott and his co-horts can win honesty.
Greg Abbott is a disgraceful excuse for a governor and if this is his idea of good governance, I am ashamed to call him my
Governor, not that that bothers him!

Erin Burns
self, librarian
Lubbock, TX

This bill will hurt Texans, especially the marginalized amongst us. I am disappointed especially in the republicans, and their
 "leadership", who want to make sure they stay in power as long as possible by taking away people's ability to vote. By making it
harder to vote instead of easier, they are making sure that only the more privileged can vote, and are standing in the way of true
democracy.

Roselle Baldwin
Self
Houston, TX

I am against this bill

Susan Cummings
self/retired
Baytown, TX

This bill does not serve Texans well. It places obstacles in the way of many Texans who want to vote and are eligible to vote. That
this bill exists is testament to the misinformation spread about voter fraud, a problem that is nearly non-existent and to the degree
that it has happened has never changed an election. We must have 24-hour voting for shift workers, drive through voting is so
helpful for parents with a car full of kids and groceries. We need curbside voting. Were it not possible for me to assist my elderly
mother at the voting machine in 2019, she would not have been able to make her selections with confidence.

Democracy works for the people best when MORE people have access to the ballot box, not fewer. Do not dismiss the troubles
others face when they must find a ride to the polls or need to vote by mail. Don't compare YOUR ability to easily caste your vote
with the circumstances of most Texans.

SB 1 is a huge blow AGAINST free and open democratic elections in Texas.

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Mariah Ingram MacLean
Self
Dallas, TX

I morally oppose this bill, we should make it easier not harder for people to vote, especially for people of color, those with
disabilities, and while we are in a world wide pandemic.

Dennis Baldwin
Slef
Houston, TX

I am against this bill

GARRICK FARRIA, MR.
THE FARRIA LAW GROUP
HASLET, TX

VOTER SUPPRESSION IS EVIL, BUT IT WILL NOT STOP US. WHITE NATIPONALISM IS CIRCLING THE DRAIN.
THIS IS finL HOWL FROM THE TEXAS STORM DRAIN.

Kristen DeMaria
Self, dev apps senior analyst
Irving, TX

This bill does not help voters, but instead infringes upon our constitutional right to vote. Do not limit people's ability to vote by
increasing barriers. Increase people's access to the ballot box. If you can't do that, you don't deserve our votes or the ability to
represent us.

Janice Fishlock
self
Bulverde, TX

If I am understanding this bill correctly, I do NOT want it passed as is. I support election reform that encourages integrity in
elections (not politics), as well as voting laws that ENCOURAGE voting, such as automated voter registration, early voting 7
days per week for a minimum of 2 weeks and the option of mail in voting. There should NEVER be more than a 1 hour wait time
to vote. If we can't achieve that with in person voting (due to lack of volunteers, voting machines, or whatever), then we need
more mail in voting and more days of early voting. Polls should be located in every district, according to population. Again, if
this is not practical, more resources need to be put into mail in voting. If this can be done securely in other states, surely the
Great State of Texas can do it. I am fine with voter id, but then I believe the state must do everything it can to provide voters with
easy access to acceptable forms of id. I am fine with poll watchers provided they are back ground checked and well trained. I
believe there should be very specific rules on how votes are counted, rejected, audited, etc. with allowances for simple errors or
omissions to be corrected in a timely manner. I also believe in ranked choice voting to simplify the process of voting and reduce
the number of elections. People are busy and should not be discouraged by multiple run off elections that could be eliminated
with ranked choice.

Laura Olesen
Self
Austin, TX
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Republicans are attempting an authoritarian takeover.

William O'Brien, Mr.
Myself
San Antonio, TX

I am opposed to any bill which does not include full online voter registration, “no-excuse” vote-by-mail, two-weeks of all day
early voting, allowance of local election boards to authorize 24 hour and drive-thru early voting. Please be advised there is no
issue of voting integrity in Texas. Voting is safe, private and very secure. We need to encourage all adults to vote in each and
every election, runoff and referendum. Anything else is a sham.

Randy Williams
Self, attorney
Alvin, TX

I oppose, the legislation is not well conceived, drafted or necessary, current election laws provide more than sufficient security as
is evidenced by elections to date, and minimal amount of fraud

Sondra Brunone, Ms
Self
Lewisville, TX

Our elections in Texas are safe. They have been secure. Texas is already the hardest place to vote in the country, for no good
reason. This is nothing short of voter suppression and should not be allowed

Jaime Espinoza
myself
Houston, TX

I oppose this bill that has not rationale basis given the incredibly small amount of fraud in our election process. It stinks of a
naked power grab and takes time and attention away from real threats to the State, such as our failing electric grid, the threats of
increasingly catastrophic storms, our aging infrastructure, and the COVID health crisis. Texas deserves more from its
representatives, who are meant to serve the people of the State over themselves or their party.

Paul Courry
Mr. and Mrs.
Houston, TX

Stop the voter suppression. we don't need this. It is an attempt to keep large cities from voting.

Kurt Rheinboldt
Self
New Braunfels, TX

SB1 is just the latest attempt to limit access to the polls. The Republican Party needs to take policy positions aligned with the
majority of voters, not just a well-funded minority or corporations. Republicans know their policies and beliefs are outdated and
choose to find ways around democratic functions. They are un-American and again show themselves to be the American Taliban.
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choose to find ways     5:21-cv-00844-XR
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                                                They are un-American      11/15/21
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                                                                               show themselves    of the
                                                                                               to be 554American Taliban.

Constance Herron
Self - Real Estate Agent
GEORGETOWN, TX

I am in favor of SB 1 by Hughes to stop election fraud and secure election integrity in Texas elections and REQUIRE voter ID's!

Brenda Reeves
Self / Retired
Jourdanton, TX

I am for this bill. It isn’t racist to require an ID. I know what racism is I was beat up every day a school for my looks. It gave me a
thick skin. This country isn’t racist! You cannot change History. We need an ID to buy alcohol, go to a club, buy a house, rent an
apartment, go to school, at the drugstore, buy a car etc….

Kristen McGarvey
Self
Lake Jackson, TX

The number of fraud cases in almost non-existant. This is simply an effort to disenfranchise persons or color or the working poor.
I do not support this.

Susan Case
self, retired
Dallas, TX

I am opposed to this bill. We need to make voting in Texas easier, including more mail-in voting.

CLAUDIA A TORRES-YANEZ
Self
PFLUGERVILLE, TX

This bill is not necessary. The bill is premised on a lie. There is no widespread voter fraud in Texas. The Texas Secretary of
State indicated the 2020 election was safe and secure. Texas should be expanding voting hours up to and including 24 hour
voting, vote by mail, and drive through voting, and not limiting these processes. It is extremely short-sighted to implement these
restrictions, particularly when we are still in the midst of a pandemic and cannot predict what else the future might hold. I
believe it is also dangerous to empower partisan poll workers to the degree that this bill does, opening the door to a real problem
of voter intimidation. Furthermore, this bill does nothing to move Texas into the 21st century (an actual problem the legislature
should be solving) by offering on-line voter registration. Please amend the bill to include on-line voter registration that will
benefit ALL Texans.

Aurelia Askew
Self
Houston, TX

Anyone who supports voter suppression or rejection in the name of the Big Lie is not representing honor, courage, or true service
to the state of Texas. I am deeply opposed to your attempts to deprive me of my right to vote.
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Anyone who supports voter suppression or rejection in the name of the Big Lie is not representing honor, courage, or true service
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to the state of Texas. I am5:21-cv-00844-XR
                            deeply opposed to yourDocument     117-4 meFiled
                                                  attempts to deprive   of my11/15/21      Page 448 of 554
                                                                               right to vote.

Howard Neuwirth-Hirsch
self
Houston, TX

I am AGAINST this bill for the following reasons.

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote.

Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration
rolls, as well as reduce costs.

Gracie T
Self
Kingwood, TX

Voting for everyone has to be available

Kaitlyn Miell
Self
McAllen, TX

No! Stop voter suppression bills!

Linda Gilbert
self, retired
Austin, TX

The 2020 election was secure and safe with statistically insignificant fraud despite it being easier for everyone to vote; especially
elder Texans, disabled Texans, and working Texans. This bill is unnecessary thus presenting a false flag for reasons known to
those supporting it. As a matter of fact, the recent very secure election supports making it even easier to vote by codifying actions
taken to improve access in 2020. As an American and a Texan, I will back and vote for any measure which increases access to the
polls.

I emphatically do NOT support SB 1 and the bill should be voted down.


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Daniel Dali
Self
Denton, TX

I object to this bill. It is unnecessary and a blatant missuse of power to subvert the will of the people.

Roselyn Flannigan
self retired
Houston, TX

I am a Texas resident, taxpayer, voter, volunteer deputy voter registrar in Harris, Galveston & Brazoria Counties, and an election
worker in Harris County. . I am appalled at what SB1 is attempting to do to Texas citizens right to vote. Especially egregious is
the provision that would require voters applying for mail in ballots to remember what ID # they used when they registered to
vote. Be it 2 months ago or 40 years ago. In SB1, if the number on the mail in ballot application (Texas ID or last 4 digits of
SSN) doesn't match the number used on the registration form, their application will be rejected.

Next in awfulness is the authorization of untrained and unaffiliated poll watcher who can disrupt election sites AND the watchers
are allowed "one intimidation" before the election judge can remove them. As an elections worker, I can tell you that the work is
already very stressful and this provision is likely to make many election workers quit.

And banning voting from vehicles unless you are disabled and banning drive through is a travesty. Texas State Government
should be encouraging all citizens to vote. I spent my career in the oil industry where many people work 12 hour shifts. The
ability to vote from your car as you drive through a polling site is a huge improvement.

And a complete "ballot curing" process needs to be added to ensure that mail in votes are counted.

Do the right thing and vote NO on SB1/HB3 as currently written.

George Schwarz
self, retired journalist
Victoria, TX

preventing voter fraud is a lie. I am against the proposed voter suppresion bill..

Richard Hataway
Self/Retired teacher
San Antonio, TX

I do not believe voting fraud is as pervasive as some would lead us to believe. I think some of the measures that are being
presented are simply designed to keep certain members of the voting spectrum from accessing their constitutional rights regarding
voting. For instance, if lines are so long that people need to be provided food and water, there is a bigger issue at play here.

Abbey Clark
PxP
TYLER, TX

Stop this bill! This isn't right and yall know it


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Alicia Boyett
Concerned Voter
Kerrville, TX

I respectfully request the committee focus on solutions for all voters and help restore the level of trust in Texas elections and
acknowledge the magnitude of existing Election Code safeguards and transparency. The Texas COVID epidemic highlights the
need for safer methods of voting more than ever. We need the safer options of expanded early voting, extended hours at polling
places, and more opportunities to return vote by mail ballots. These are what Texans want. Also, to be effective, poll watchers
should receive required additional training and acknowledge the polling space's integrity by executing an oath similar to election
workers. Also included should be a complete cure process for applications for mail ballots and for the returned mail ballots.
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts, and
make the process uniform in all counties not optional. Voters with disabilities need additional refinement of SB 1. Specifically,
the House can add provisions that allow blind voters a way to securely and privately vote. Lastly, adding electronic voter
registration to the omnibus bill would greatly increase the accuracy and integrity of the voter registration rolls and reduce costs.

Chris Parker
Self cook
Wills point, TX

Dont let this pass

Adrian Wilson
Self--social worker
Lewisville, TX

There is no fraud in Texas elections. I am against this bill.. To make elections represent Texans accurately the only change made
should be to end gerrymandering.

Demetria McCain
self
Dallas, TX

As a Black Texas teenager, I anxiously awaited my eighteenth birthday so I could register and vote. Because of my understanding
of Texas History, U.S. History and Critical Race Theory, I was well aware of the struggles Blacks had over the decades when it
came to voting. As an adult and a volunteer deputy registrar, I have been able to impart the same excitement to others who had
never previously registered to vote. Voting is fundamental and we should not dial back the clock to pre-1960s by creating extra
hurdles for Blacks, Latinx, disabled, elderly and low income persons as they attempt to register and vote. We should not employ
scare tactics that keep qualified citizens from registering to vote. The state’s criminal justice system already does a poor job of
informing persons, who have completed their sentences and parole time, that their right to vote has been reinstated. Additionally,
there should be ample access to voter information, early voting, voting centers and voting polls.

I ask that you oppose the discriminatory, suppressive provisions of SB 1. And I ask that you consider legislation that encourages
more voter participation.

Susan Yoder
Self - retired
Round Rock, TX

With all due respect, I oppose the passing of SB 1. The amount of proven fraud in our Texas elections was minuscule, if any. I
cannot see
Printed on: any valid,
            August  30,legitimate reason
                         2021 11:32 AM for this bill. Please record my opposition. Thank you.
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With all due respect, I oppose the passing of SB 1. The amount of proven fraud in our Texas elections was minuscule, if any. I
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cannot see any valid,     5:21-cv-00844-XR
                      legitimate                   Document
                                 reason for this bill.           117-4
                                                       Please record     Filed 11/15/21
                                                                     my opposition.        Page 451 of 554
                                                                                    Thank you.

Stephen Ruud
Lawyer
Austin, TX

Voting is the fundamental right from which all other rights flow. Make voting easy. Same day registration. 7 days a week.

Melinda Ivie
Self
Cisco, TX

I support SB 1 by Hughes. I implore you, however, do NOT remove or weaken existing statutes designed to detect and prevent
fraud, and do NOT reduce penalties meant to discourage and punish fraud once detected. We must keep elections transparent and
trustworthy at every step. Also, there should be NO connectivity at the central counting station.

Melinda LaRoe, Ms
Self
Round Rock, TX

We are better than this!
This bill is a disgusting attempt at preventing the most vulnerable among us, especially citizens of color, from exercising their
right to vote.
This is NOT the will of the people.
Please vote NO.

Teresa Zoizack
Self
Dallas, TX

Undemocratic and racist

Hector Leyva
Self
Corpus Christi, TX

This bill should not even be an issue. There is no evidence of mass election fraud. I as a Texas resident don't want this bill to be
passed.

Jenny Lou Park
self
Austin, TX

I am against this draconian Republican bill. There is zero proof of voter fraud and Texan's know this is just a way for the Texas
Republican's to cheat in order to win. Spurred on by Governor Abbott, this legislation is against the people of Texas. The last
census shows the diversity in Texas and this bill is for white men only. I am disgusted with this right wing controlled legislature
spreading the Big Lie and continuing to act as if we are not a Democracy, but an Autocracy. Standing for suppressing any
American's right to vote is a sure fire way to lose your next election. Don't discount the anger that the people living in all the
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American's right toCase
                     vote is5:21-cv-00844-XR         Document
                             a sure fire way to lose your         117-4Don't
                                                          next election.   Filed  11/15/21
                                                                              discount        Page
                                                                                       the anger       452
                                                                                                 that the   of 554
                                                                                                          people living in all the
largest cities in Texas have about this legislation. Funny how it doesn't seem any Republican is actually representing their
constituents, but just their bank account.

Kristi Sellers
myself
Silsbee, TX

I fully support SB1 relating to election integrity and security. It was very disappointing that some Democrats have held this bill
up by refusing to do the work they have been elected to do. Texans want free, fair and transparent elections and this bill goes a
long way to provide that outcome.

Rubben Kerr
Self
Copperas Cove, TX

I oppose this bill and will not vote for anyone who supports it

Catherine Wicker, Organizer
Central Texas Interfaith
Kyle, TX

My name is Catherine wicker and I am with central texas interfaith a 10 county coalition of congregations and civic groups from
as far north as Waco and to Bryan-College Station and as far South as Hays and Bastrop Counties. We are part of the Network of
10 Texas IAF organizations. We are here today to share some concerns about provisions in SB 1.

As a 25 year old texas with a disability for the past 20 years. I have missed voting in one election already in my life due to how
our voter registration system works. The elections office could not read my handwriting and they rejected my application
meaning I was left out of the civic process. This was a rejection due to not having the ability to fully use my hands, some days
my illness has been in such a bad flare I have had to have assistance from roommates and family members to perform daily tasks
such as my roommate fixing my hair, writing assignments and even with meals, with the new provision making someone sign an
affidavit to assist in my basic constitutional rights leaves not only the person helping me and in fear with trying to assist. In
addition the poll watchers provisions would also be an added stress to the person assisting while I exercise my right.

Also, having people that are not paid staff that are trained by the elections office with the ability to walk freely in the polling
location can lead to intimidation of a process that for our new voters is already challenging enough. Poll watchers have been part
of the process and we have never needed to give them extra power to leave someone feeling intimidated and election workers
continue to be trained to the fullest extent of the law.

Central Texas Interfaith conducts non-partisan Get Out the Vote efforts to ensure members of congregations are able to participate
in civic life. We want to ensure that not just new voters, but all voters have the ability to cast their ballot.

Duane McCune
Self
Schertz, TX

Voting should be made easier and more accessible to all Texans regardless where they live. I support vote by mail for all Texans
who wish to vote that way. We should be able to vote on any day or time during early voting. Therefore I support early voting
24/7 for those Counties that can staff their election locations.


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Lesley Guilmart
self
Cypress, TX

I am opposed to SB1, the voter suppression bill. Proponents of the bill have failed to prove widespread voter fraud, so why are
you trying to make it harder to vote in Texas? The truth is, you know your days in power are numbered as Texas' demographics
continue to shift. You want to cheat so you can maintain power. No thank you. I'll take democracy.

Janina Solomon, Dr.
self
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Valerie Pearson
Self; Accountant
Flower Mound, TX

Voting is a constitutional right that should be equally available to every American citizen, regardless of party, race, disability, etc.
SB 1 purports to reduce voter fraud, but only a statistically insignificant amount of voter fraud was found in the 2020 election,
even by the Texas AG, Ken Paxton. This bill reduces the current amount of time that the polls are open in traditionally blue urban
counties while expanding the voting hours in traditionally red rural counties, significantly reduces assistance for disabled voters,
and allows voter intimidation by untrained poll watchers. Access to voting should be the same no matter where a voter lives or to
what party the voter belongs, and all voters should be able to preserve the secrecy of their ballot. If voter ID is going to be
required, the accepted ID must be free and easily obtainable to and by all Texas voters. Please preserve Texans’ constitutional
right to vote. Thank you.

Jordana Geathers, Ms.
Self - operations manager
Georgetown, TX

This bill is designed only to disenfranchise Texas constituents from their right to vote. It is unconstitutional and unethical, and has
no place in our state. I do not support this legislation.

Chris Holcomb
self
austin, TX

We should be pursuing ways to make it easier to vote, not harder. We live in a democracy. Many have died to make this possible.
This is now under attack, by the Texas GOP and President Trump.

Misha Lesley
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Self - Children’s Ministry Director
Houston, TX

As a registered voter in Texas for over 30 years, I stand in OPPOSITION to this bill, which deprives certain Texans of their right
to vote.

Brent Dunklau
self
Rockwall, TX

I support this bill. Please pass it.

Kenneth Grider
Self, Executive Assistant
Humble, TX

This is a ridiculous, power-grabbing, and wholly unnecessary bill which is SOLELY aimed at suppressing minority votes. That’s
it. Full stop. For an election that had ZERO evidence of ANY sort of widespread fraud that would have changed the outcome,
y’all sure are majorly overcompensating. In other words, you’re trying to “FIX” what isn’t broken. But, we all know the real goal:
to prevent anyone with a “D” after their name from ever winning statewide office by suppressing minority votes. By supporting
this bill, you are supporting Trump’s “big lie.” The 2020 election was not stolen, and Trump lost!! Thank GOD!! History will
NOT be kind to you OR your descendants if you support this discriminatory bill that is designed to appease Donald Trump’s
narcissism and dishonesty. I urge you to reject all of that and vote AGAINST this bill. Thanks.

Julie Kim
Self
Pflugerville, TX

I oppose this bill because it restricts voter access unnecessarily.

Myron Dornic
Self
Dallas, TX

I am opposed to this bill. I believe we must expand, not limit opportunities to vote. I think criminal penalties should be limited to
knowing violations. I believe the poll watcher provisions are dangerous.

Alejandro Villegas-Buelna
self
Houston, TX

Over the past five years I have been involved in voter registration and get out the vote efforts in Harris County. I believe it’s my
civic duty to help as many Americans participate fully in our form of representative democracy. This is a Voter suppression bill
because:

1) raises administrative barriers to make voting so cumbersome that voters get discouraged and don’t participate,

2) intimidating voters and others who participate in elections with threats to their physical safety or with criminal prosecution.
Often these
Printed      tactics are
        on: August   30, aimed at voters
                         2021 11:32  AMof color and disabled voters. SB 1 continues to feature both kinds of voter suppression.
                                                           Page 336 of 429
Often these tacticsCase  5:21-cv-00844-XR
                   are aimed at voters of color andDocument    117-4
                                                    disabled voters. SB 1Filed  11/15/21
                                                                          continues to featurePage  455 of
                                                                                               both kinds of 554
                                                                                                             voter suppression.

*Empowers the secretary of state to purge voter rolls and the attorney general to pursue baseless investigations:

? Sets up the possibility of another failed voter purge by mandating that the secretary of state use unreliable Department of Public
Safety information regarding citizenship as a basis for removing individuals from the voting rolls -- specifically disenfranchising
naturalized citizens.

? Subjects voters who lawfully move to another county to criminal investigation by the attorney general if they do not inform
their prior voter registrar of their move -- which is not required by law.

Further restricts voting by mail (pp. 16-27, 37):
? Requires a vote-by-mail (VBM) application and mail ballot to be completed using ink on paper. The application must also
include the voter’s driver license, social security number, or a statement that the voter lacks these forms of ID. If the information
provided does not match what was provided in their voter registration application, the application or mail ballot must be rejected
with no exceptions -- creating yet another bureaucratic barrier

Empowers partisan poll watchers (pp. 13-15):
? Does not contain restrictions on removing poll watchers as found in House Version
? Allows watchers “free movement” in the polling place and entitles them to position
themselves near enough to see and hear election activity.
? Makes it an offense (Class B) for an election worker to knowingly refuse a watcher’s
presence in the polling place.
? Makes it an offense (Class A) to obstruct a watcher.
? Allows watchers or candidates who appointed the watcher, who believe they were
wrongfully refused or obstructed, to seek injunctive relief and other remedies through the courts (House version does not apply to
watchers; only the candidates can seek such relief).
? Requires watchers to take an oath that they will not disrupt the voting process or harass voters.

Adds vague criminal and civil offenses (pp. 38-42) :
? Adds a third-degree felony for poorly defined “vote harvesting services,” which could be interpreted to include normal, in-
person campaign activity, and includes civil liability component that is not in House version.
? Threatens election workers with loss of their government employment and pension for unintentional mistakes (not in House
version).

Anne Gulick
Self, retired
New Braunfels, TX

I feel that all people serving as poll watchers should have to attend training and swear an oath. Election clerks have to do this and
poll watchers should be subject to the same standards.

Leslie Meyer
Self - accountant
Houston, TX

This bill adds major pressure to poll workers especially judges on a day that is always stressful enough that is a 16-18 hour shift.
Saying poll watchers have more authority than we do and trying to criminalize us who volunteeer year to year and now we will be
treated as criminals? Outrageous and a slap in the face. This also is a disgrace to confuse the disabled and their helper adding
extra paper work and more criminal charges. Also picking on big cities when the smaller cities are the ones that seem to have
errors all the time due to having less budget and less checks and balances compared to big cities that have stricter trainings etc.
this whole bill is just sad and unhelpful


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Marty Lanier Hoag
Concerned Texas Voter
North Richland Hills, TX

I oppose Senate Bill 1 and ask that you vote against it. Voting access is already harder in Texas than anywhere else in the nation.
Our legislature should be working with local towns and cities to make access to voting easier, not harder. Without open access to
voting, our country and state are doomed to having elected officials who are not held accountable and do not work to represent
their constituents. Please vote NO on SB 1 to keep democracy alive in Texas!

Vickie Ernst
N/A
San Antonio, TX

I oppose this bill and am urging senators to vote no on this bill. I believe SB 1 is an attempt to suppress the vote in order to keep
Republican and conservative candidates in power. There is no evidence that voting by mail, extending early voting or providing
more drop boxes and polling places results in voter fraud. None. Rather, making it easier for eligible citizens to vote is in be
keeping with American values. Please vote no on SB 1.

Benjamin Chou
Self
Houston, TX

Strongly oppose this voter suppression bill. Stop trying to ban Drive thru voting, 24 hour voting, and efforts to make voting by
mail eaiser

Christopher Couch
self/Software
Austin, TX

I support this bill. We need election transparency and integrity over the number of methods that can be used to vote.

Erich Baier
Self
Austin, TX

Your bill addresses a situation that has had NO impact on the outcome of past elections and all cases known were committed to
benefit Republicans. Your bill is a voter suppression
initiative to hang on to your continuously dwindling majority. You used gerrymandering to the extreme and as you see this not
being enough, you are actively trying to suppress
voters. I do oppose your Bill.

Cheryl Jackson
Self
Richardson, TX

This is a bill looking to solve a problem that doesn’t exist. It is legislated disenfranchisement and deprives Texans of our voting
rights. I am against this bill because it is a targeted response to dilute the will of Texas voters. It is wrong!

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rights. I am against this bill because it is a targeted response to dilute the will of Texas voters. It is wrong!
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Tad Preston
self
Frisco, TX

We need election integrity! We the people need to know that our votes count. If we don't have a safe and secure election system in
Texas then people will stop voting and their voices will not be heard. I know the opponents of election integrity will say that this
disenfranchises just minorities, but I disagree with them it will disenfranchise everyone that votes. If we don't ensure election
integrity then we will lose our state and lose our nation.

Marianne Denning, Mrs.
self
Mesquite, TX

Do not pass this bill. It goes against everything the State of Texas was founded for. Freedom. EVERYONE legally in the State
of Texas should EASILY have the right to vote. That means by mail, or computer, or in person. STOP TRYING TO SUPPRESS
MY CONSTITUTIONAL RIGHTS.

Johanna McCrary
Convention of States
Lubbock, TX

I support SB1 I believe it' Texans want to have a secure, fair election system, to derail any attempt to have any election be
compromised or have fraud.

William Ely
NA
Cypress, TX

I strongly support this bill. I don't necessarily agree with making it easier to vote, but certainly it should be hard to vote and for
folks committing fraud intentionally need to be prosecuted swiftly, and lose their right to vote in the future. We lose our
republican if we cannot have confidence in our sacred right and privilege to vote with integrity.

Bryan Tutt
Self
Freeport, TX

I oppose SB1. Y'all waste too much time on bills aimed at giving one party a political advantage instead of addressing real
problems.

Beth Holeman
Self
Garrison, TX

As an election clerk I feel our current law is sufficient to combat voter fraud. There is NO reason to make it harder for people to
vote. Your state election staff is trained to do their job.


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Nanette Monte
self
Fort Worth, TX

As a concerned citizen of Tarrant County, I want the state of Texas to have secure elections. Below are some recommendations
for the SB1 bill:

·      Provide allowance for paper ballots to be utilized universally during early voting periods.

·    Create signage at each polling location stating that paper ballots can be requested on Election day for voting. Insert this
signage into Election Judges packets

·   Additional language stating that a request for a forensic audit should be available for any election and any candidate/citizen
making the request should an election be won by less than one percent.

·     Establish a new division within the Texas Elections Division of the Secretary of State’s office that will be responsible for
certifying voting machines within the State of Texas. This team will define voting machine standards that align with the federal
guidelines but also define top security requirements for the State of Texas voting machines.

·    By January 1st, 2022 utilize the new division within the Texas Elections Division (see above proposal) to begin audits on the
hardware used by each Texas county to ensure there are no wireless modems installed “inside” the voting machines. This
inspection will include certified third party technicians opening the Ballot Marking Devices, tabulators and any hardware that is
involved in the counting of votes to determine if there is a wireless controller. If found, the controller will need to be physically
removed and returned to the county.

·      Enforce that Government I.D.’s must be required for every voter. If no ID is presented, the voter cannot submit a vote.

·    Within each county, add language to the bill that mandates boards of supervisors be required to cooperate with court orders
or subpoenas to provide voter data for election challenges, lawsuits or audits. Non-compliance will be punishable by law.

Brian Herod
Self
Houston, TX

I oppose this bill. It limits voting accessibility and attempts to solve a problem that occurs at minimal level.

Angela Nelson
self
Flower Mound, TX

SB1 is not election integrity. It is a bill that will make it harder for POC, students, seniors, disabled. to vote. My family has been
serving this nation since the American Revolution and voter suppression dishonors their sacrifices.

susan akins
N/a
dallas, TX

Don't prevent or make it harder for voters to vote. There was NO reason for this bill except for the Republicans knowing this bill
would benefit them.


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Sheri Dykowski
Myself - TX Citizen
Pflugerville, TX

You should be making it easier to vote vs working to rig districts to ensure minority rule. Such actions are beyond disgraceful and
it’s blatantly obvious you recognize the majority in TX is not with the GOP.

Joanne Martin
Self
Bulverde, TX

I am in SUPPORT of this bill. If we cannot trust our elections we do not have a country. We are a third world banana republic. I
think this bill is a beginning, and hopefully with subsequent legislation will bring full integrity to Texas elections.

Marisa Lopez
Self
Corpus Christi, TX

This is joke. There was no widespread voter fraud. Get off the trump train. There are people who want to vote red but not for
disgusting trumpism. Expand voting rights and allow mail in voting. We pay taxes via online methods. Why can’t law abiding
citizens who pay taxes have more flexibility with voting options?

Jennifer Haley
self
Austin, TX

It's already hard enough to vote in Texas, we don't need this bill - waste of taxpayer time and money to try to keep pushing this
through when majority of Texans don't want it. Stop grandstanding and focus on issues that matter to Texas like electric grid
reform, criminal justice reform, environment, taxes and equal justice. You're making Texas into the laughingstock of the country
by pushing these Trump bills.

Marleny Almonte, Home
Self
Houston, TX

No to this, do not agree.

Jim D. Wynn
self, retired
Austin, TX

There is no evidence of significant election fraud. All elegible voters must be able to vote without undue hindrance.

victoria wooldridge, ms
self
austin, TX
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i oppose this overreact in election restrictions. there is zero proof that the rationale for these updates are valid. this is anti-
democratic.

Sharon DeMarsais
Faith Votes
The Woodlands, TX

Thank you for this on-line forum to speak in FAVOR of SB1. I am an election clerk for Montgomery County, serving for over 7
years. I do my utmost to insure everyone who has registered to vote, find a process to help them vote, when they take the time to
exercise this basic right as a citizen, especially if they have recently moved and are confused. IF VOTERS CANNOT BE
ASSURED THAT THEIR LEGAL VOTE is Not cancelled out by an illegitimate ballot by a person who does Not follow our
Election laws, THEN HOW CAN WE MOTIVATE PEOPLE TO PARTICIPATE IN THIS BASIC RIGHT TO VOTE for the
representatives they want? We MUST continue to require Photo ID & provide them FREE for those who do Not have a TDL or
other acceptable ID. I support criminal penalties to dissuade workers from cheating in any way, because now, the courts are
overloaded with Misdemeanor cases & they never face any accountability for their illegal actions. I have listened to both sides in
your hearings & I hear nothing specific from those AGAINST about why they cannot support this Bill to allow every LEGAL
voter a time and place to Vote! We only WANT TO BE ASSURED THAT ILLEGAL VOTES ARE NOT COUNTED. There is
Nothing dis-enfranchising in this Bill if the legislators take the time to READ IT!

Mark Spoon
Self
Conroe, TX

It is vitally important that the voting process is both fair and accurate. The very heart of our Republic is founded on this
principle. I totally support SB1 and ask that it be passed in the Texas State Legislature.

Christina Dittmer
Self
The Woodlands, TX

I suppose voter suppression. I am extremely frustrated with Texas legislation voting against the will of the people over & over
again. I support the Texas Democrats

Linda Lievens
self - Program Coordinator
Austin, TX

My name is Linda Lievens and my zip code is 78736. As a Texas voter, I’m writing to oppose Senate Bill 1 and ask that you vote
against it. Voting access is already harder in Texas than anywhere else in the nation. Our legislature should be working with local
towns and cities to make access to voting easier, not harder. Without open access to voting, our country and state are doomed to
having elected officials who are not held accountable and do not work to represent their constituents. {If you have a personal
story of struggles with voting access, or can explain how the new bill would make it harder for you to vote, add those particulars
here.} Please vote NO on SB 1!

Reuben Leslie
retired
Austin, TX


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I have been a regular voter in Texas since I first registered in 1971 and an election judge or alternate judge more than 50 times
1996-2021. I have seen no instance of voter fraud and instead several instances of voters being turned away or having to vote
provisionally because of complex and restrictive rules about registration and delays in the Secretary of State's processing of voter
registration and address changes. I urge the committee to accommodate the right of all eligible citizens to vote regardless of
where they live in the state and to make restore the level of trust in Texas elections. Current Election Code safeguards protect
voting from fraud. And current laws and rules on poll watcher access are sufficient except that the prohibition against voter
intimidation and invasion of voter privacy need to be strengthened.

Susan Cummins
Self/Teacher
Tyler, TX

I object to this bill. It is voter suppression pure and simple.

Nanci Szafarz
Self
Spring, TX

Voting is a right that every American should enjoy. To use the power you have as elected officials to make it harder for some
people to vote is an abuse of your power. Allowing partisan poll workers to film voters they "deem suspicious" is voter
intimidation. I have been told the Federal Government shouldn't dictate election rules for a state, because the federal government
can't possibly know what each state needs. Why does the same not apply to States and their treatment of counties? Why would
the needs of Aransas County be the same as those of Harris County?

If you are unhappy with the direction that elections are heading...change your platform. Stop trying to choose your electorate.
You have wasted time and money while people are dying from a pandemic you choose to ignore, while the electric grid remains
inadequate. You are blatantly pandering to a former president instead of doing the work for which you were elected.

Rob Peebles
Self - retired
Dallas, TX

This bill increases the risk that partisan poll watchers will intimidate voters and election workers. The bill should address this risk
rather than increase it. Poll watchers should be required to take an oath similar to election workers.
As a VDR I continue to be amazed at how confusing and difficult it is to become registered and to vote. Texas is an outlier when
it comes to ease of voting. Voting should be made easier, not more difficult, particularly during this COVID epidemic.
Adding electronic voter registration would cut down on errors and typos from illegible handwriting and human error, and
improve access to registration. People should be able to register online regardless of whether or not they are already in the TDPS
database.
The premise of the bill is to address voter fraud. There is no record of widespread voter fraud in Texas. This presumption should
be proven for the title of this bill to be taken seriously.

Joy Preston
Self
Lake Dallas, TX

It isn't too much to ask for ID to be able to vote, it's common sense. It's important to know that our votes represent our beliefs and
desires and they are not covered up or displaced by those who are not legally entitled to vote. We want election integrity in
Texas.

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Grace Akbar
Self and TRTA and TARA retired teacher
Dallas, TX

Voting is a basic constitutional right and must not be tampered with it such a criminal manner.

Kristina Woods
Representing self; retail worker
Cypress, TX

Election fraud in TX IS fraud. SB1 gives the TX GOP carte blanche to intimidate voters & poll workers to keep CITIZENS from
exercising their RIGHT to vote. It gives poll watchers the power to intimidate poll workers AND voters since they would be able
to listen in on conversations between poll workers & voters; commit an actual crime & receive only a warning from the election
judge before being removed from the polling location. This creates a climate of conflict & stress during an event that is brand
new for many voters or that is stressful & time consuming. SB1 also punishes populous counties like Harris County for creating
innovative voting strategies during a PANDEMIC! The TX GOP are acting as though somehow making voting more accessible
for more people is fraudulent. Fraud should NOT be measured by the amount people using the systems in place. Instead, the
SUCCESS of elections should be based on how many people vote based on successful measure to get people to the polls like,
how much early voting time is offered to voters & what variety of options for voting are offered (i.e. drive through voting,
curbside voting, mass mail-in voting, extended voting hours for early voting, included late night or 24-hour voting) are offered to
voters of all types including, the disabled, people using public transit, shift workers, low-wage workers that cannot miss work to
go to the polls, seniors that benefit from getting rides to the polls, widely available drop boxes for those with mail-in ballots).
Signature matching on mail in ballots, forcing those that help voters at the polls by translating the ballot for them or even reading
a ballot for them, those that drive people to the polls, those that deliver a ballot to a mailbox or dropbox as criminal 'vote
harvester' are all VOTER SUPPRESSION tactics that should NEVER be part of free & fair elections in Texas or anywhere else in
the U.S. Stop using election fraud as a way to control our elections & keep the opposition party from voting. If one party is
capable of winning in free & fair elections then there is NO need to suppress votes.

Stephen Campbell
Self
Center Point, TX

Please do not pass this piece of garbage legislation. Let’s actually make it easier for EVERYONE to vote that is legally able to do
so. This bill will do just the opposite.

Wenona Cave Taylor
Self / Stay-at-Home Mother
Flynn, TX

Stop trying to suppress the people’s voice.

Roberto Galindo
Self
San Antonio, TX

I am absolutely AGAINST this bill. It is voter suppression. We need to EXPAND voter accessibility, not restrict it.

David Calame, Mr
Texans For Closing The Border
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Texans For Closing The Border
Moore, TX

I support this bill 100%!!

Robert Grainger
Self
San Antonio, TX

Why are we making it more difficult to vote? We need to make voting as easy as possible and still have election integrity. What
election issues drove you to make these dramatic changes? When will I be able to vote electronically from home?

Ramon Vega
Self
Pasadena, TX

So what's the Problem

Todd Brown
Self
Houston, TX

I oppose SB 1 and will vote against any elected official who supports this bill.

Michelle Austin
Self
Frisco, TX

Election Integrity FOR all Americans. Please clean up the voter rolls, enforce this requirement, Judges at Voting Polls are lax and
are the biggest culprits of voting irregularities. The penalties for these corrupt Judges at voting sites should be striped of their
ability to be a Judge.
Please do not expose us to any online voting options. We know that option keeps our vote at risk of voter fraud.
All voters need to PROVE they are a LEGAL USA Citizen in order to vote. NO EXCEPTIONS.
We also want a full Audit in Texas. We can not loose our Republic because of poor election integrity.
Please make the penalty a class A felony, for obstruction of duties for all persons involved in any criminal activity that is not our
law.
Thank you for making this a priority!!

Lori Coutré
Self
Mineola, TX

Mr Hughes you are an embarrassment to the intelligence of your constituents. You normally spend your time pandering to the
little old baptist ladies who worship you but now you’ve jumped on the trump cult bandwagon. Can’t wait til we can get you
replaced. Every one of your stupid little bills are unconstitutional. You should be ashamed of yourself for your ignorance and
shameless pandering.

Stephanie Bailey
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Self
Montgomery, TX

Our elections are secure and there is no real evidence of voter fraud. Please spend time on real issues.

Angelica Razo
Mi Familia Vota
Houston, TX

My name is Angie Razo and I am the Texas State Director for Mi Familia Vota, a national nonpartisan civic engagement
organization whose mission is to promote social and economic justice for the Latino and allied communities. Thank you for the
opportunity to speak in front of you today. I am here today to testify AGAINST SB1- relating to election integrity and security.
More specifically, I want to expand on why banning 24 hour voting hours would impact our community.

Our organization supports and empowers Latino voters to participate in our democratic processes. Our community consists of
newly naturalized citizens, English language learners, and young people who are participating in elections for the first time. The
proposed language in this bill would increase the barrier that our community and other communities of color face when trying to
cast their ballot. For example, in 2020, expanded early voting hours, including 24 hour voting, allowed many of our community
members who work long shift hours and are juggling multiple family responsibilities to cast their ballot at the time that best fit
their schedule. I remember getting a text message from a community member during Early Voting late in the evening asking
where and when they could vote. I was so happy that I could direct them to the 24 hour voting location that was underway. Within
30 minutes, they were able to pull up to an open polling location and vote.

I remember when I voted for the first time. As the first person in my family to vote, I was confused by the process and with my
busy school and work schedule and lack of transportation, I ended up voting 3 minutes before 7pm on Election Day. We have an
opportunity to create an election process that welcomes people to our democracy. Our community has suffered disportionately
during the Pandemic and Winter Storm. We should be encouraging our own elections administrators to make voting accessible for
all of us that care to vote, because we care about the future of our state. Banning 24 hour voting hours would greatly impact
several of our community members. Under HB 3, the integrity of our elections and health of our democracy will suffer due to
limiting the hours that voters have access to the ballot box.
Again, I want to make it clear that I OPPOSE SB1. Thank you very much for your time.

Bianca Gracia
Latinos for Trump President
Pasadena, TX

I support SB 1 I am precinct chair 352 and am a presiding judge and am in full support of election integrity but AM ALSO asking
for a full audit in Harris County.

Vira Garza
Latinos For Trump
Channelview, TX

Please as a Hispanic American citizen I am deeply concerned over election integrity. It should be a federal crime if someone is
caught cheating or committing election fraud. If the laws were to serve no less than 25 years in prison, I bet that will deter some
people! I will tell you that the 2020 presidential election has destroyed my trust in our system. We are still a free country, but I
feel as if we are now in a communist regime. There are zero consequences for fraud on every level. Zero consequences for
reporting lies & propaganda. Zero consequences on big tech to make up their own rules in what is truth & what is lies. We are
inching closer to communist ways of life. Don’t elected officials have children and grandchildren?! Why would you allow this to
happen to our beautiful Free America? Please pass these laws and protect our voting rights. It is not racist to do so for me & my
future generations. You have an obligation to do what’s right for our country. I have many family & friends that are praying for
this to pass.
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                     30, 2021   moneyAMand go to work FOR THE PEOPLE! Thank you!

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this to pass. Stop wasting                      Document
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                                                           PEOPLE!    11/15/21
                                                                   Thank you!  Page 465 of 554

Kellye Sandlin
Self
Coleman, TX

YES, VOTER ID AND NO GERRYMANDERING OF VOTES! NO BALLOT HARVESTING! No illegal voting! Our Republic
is at stake, if we can even hold on until the next election. ??

Dianna Cox
Self
Clear Lake Shores, TX

This bill is voter suppression at its finest and I vehemently oppose it.

Paula Herd
Self; Retired
Austin, TX

The sole impetus for these new voting regulations is placating former President Trump. He lost. President Biden won. There was
no fraud.

Kittie Perryman
self - IT Consultant
Lewisville, TX

One vote, one person. That is one of the most vital and key elements of our representative democracy; it is a key Constitutional
Right. No matter your gender, ethnic background, financial status, etc --- one vote, one person.

Every effort should be made to ensure that this Right is protected. Voting should be easily available for everyone, with more
voting locations - not fewer. Voting by mail. Longer early voting periods. We do not need to restrict voting. We need to
encourage it, support it, provide all that we can to facilitate this vital Right.

For anyone to make the claim that voting restrictions are required due to "fraud" is ludicrous. That is so rare in this country to be
practically non-existent.

Heriberto Perez
N/A
Houston, TX

If you value democracy, we should be seeking to make the ability to vote as easy as we make it to to exercise our right to free
speech. The right of the people to ensure that they can at the very least select who will represent them must be protected. We've
found no fraud and therefore there is no need to institute these limitations and restrictions that will only allow those that wish to
hinder democracy the tools to do so.

Lisa Widner
self - semi retired
HOUSTON, TX
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Please do not vote for this bill. This bill does nothing to help voter security and integrity, in fact the ones presenting this bill have
lost their integrity. Since when does the time commit fraud ? The time of day one votes has NO INFLUENCE on the security of
a vote. We should be giving people more access to voting and easier ways to register to vote... not less !! Get rid of Columbus
Day and have a holiday for Election Day each year. And the thought of giving poll watchers more access and authority is really
scary. I have been an election official for two years now and I watched a GOP poll watcher at our location violate all sorts of
social distancing, Covid protocols. He would walk in step with the guy taking out the mobile/drive up voting pad. Literally
someone asked him "if he needed a saddle". He also did the same to voters. One voter even said "Bro - get off of me." He sat and
wrote copious notes all day long trying his best to get our judge fired and/or get this particular voting location shut down. He
would even sit between the check in tables - once again leering over us and not following social distancing. I can tell you that
both parties of election workers followed all voter security rules and guidelines and the votes at this location were never in ANY
risk of a security issue. Everyone had to have their proper identification or they were not allowed to vote... period ! That is unless
of course they qualified for a provisional voting ballot. And to think of even giving the aforementioned poll watcher, and others
like him, more authority and allowing him to follow our judge or any other judge to turn in votes at the end of the day (this is
NIGHT time, people) is just plain wrong and stalking !!! Furthermore, trying to come up with all these ways that scare potential
new election officials or returning officials to work is ridiculous. It is hard enough to get enough people now... but you want to
threaten them with fines, jail etc. And let ANYONE report any little thing they think they might have seen ?!? If that is the case
bring in persons from other counties/countries who are not biased to supervise. But the most incensing thing in this bill is to
allow a vote to be overturned by a committee which is mainly composed of GOP members. If this is allowed... then why even
vote at all, as the party in power can always overturn the vote? You do realize that someday the GOP will be on the other end of
the stick with these measures ?? Bottom line is you are elected to SERVE ALL THE PEOPLE and to DEFEND
DEMOCRACY... and this bill does nothing whatsoever to do this. Please get off the re-election power trips, who you owe a favor,
giving the kickbacks and DO THE RIGHT THING. Our democracy is waiting and watching what you do with this bill. Once
again, do the RIGHT THING and vote NO for this bill.

KATHERINE WINNIFORD
I represent myself. I am an investor and a Grandmother of ten, one of whom is of voting age. I have served as an election judge.
DALLAS, TX

I support transparent the following
Auditable, transparent elections with access to all records & equipment
No computers in the polling place
Vote tabulation solely on hand counting of paper ballots
Legitimate voter rolls and registration procedures
3 days of early voting with no gap until election day
No waivers without legislation by Texas legislators
Fire Keith Ingram, Director of the Texas Elections Division for enabling electronic manipulation of electronic vote records &
results and sabotage of expert witness accounts of the same.

Sue Knight
Self, Retired
Gainesville, TX

Voter suppression is unacceptable and must not be allowed in the state of Texas.       There was no election fraud in the 2020
presidential election.

Alana Ray
Self, Nurse
Temple, TX

Stop trying to take our voting rights away. The GOP needs to stop whining about how they keep losing and voting rights need to
be taken away from us so they can win. This is totally ridiculous. Maybe if you had candidates that were concerned about the
people instead of Trump, you would win. Now there's an idea for you all. ALSO, GET VACCINATED!!
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people instead of Trump,                      Document
                         you would win. Now there's          117-4
                                                    an idea for you all.Filed 11/15/21
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                                                                                 GET VACCINATED!!

Ida Lacy
Self - Retired educator
Humble, TX

It is important to keep our elections free and clear of voter suppression tactics. Please keep accessibility, times and days open to
people who work shift work, need drive through polls and extended hours including early voting. Non essential observers do not
need to be present inside of polling places. Mail in ballots should be available upon request.

Deborah McClure
Self/MLM
The Colony, TX

We are Texans, we want integrity in our election. Texas proud.

Courtney Skott
Self
Austin, TX

Unnecessary given the negligible amount of fraud found in our elections, and far overreaching with possible effect of suppressing
legal votes and disenfranchising legal voters. NO NO NO.

Marcia Niemann, Ms.
self
Dallas, TX

I oppose SB1. I prefer that voting rights be expanded and voting made easier, not restricted! I do not believe we have widescale
fraud that demands these penalties or restrictions

Amy MacArthur
self - citizen
Coppell, TX

Texas already has some of the toughest voter laws in the country. This bill serves to make it harder for people who work
shiftwork, need childcare, and the like to get to participate in the function of democracy! This bill is an attempt to make voting
harder for working people, not making it tougher to commit voter fraud.

Connie Ratissea
CLTP, SD11, Pct Chair 0474
Friendswood, TX

I support SB1 - without election integrity, we have lost our country.

Julia Wickett
Self, Faculty
Wylie, TX
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Wylie, TX

I am concerned that this bill would disenfranchise voters and criminalize the confused instead of deterring intentional fraud. I am
strongly against its passage.

Loredana Jacobsen
US citizen
Livingston, TX

We have to have a safe and secure election by legal American citizens. Judges, poll watchers and anyone who is over seeing the
voter process. Needs to have law abiding responsibilities (voter Identification and clean up the voter rolls ASAP)

Michael Burdick
self Pastor
Fredericksburg, TX

Election fraud is occurring in Texas- there are over 500 cases of it pending in Texas courts. Election integrity is fundamental to
how our state and how are nation works. We must insure that elections can be trusted by voters. Election fraud is happening way
too much and if it is not secured it will lead to a break down of our law and order and lead to chaos. America has been able to
determine its political future, with the towering exception of the Civil War, via elections whose results are respected—
by the victors with restraint and by the losers with
unquestioned deference to the decision of the people. If loses do not respect the results then they will not defer to what they do
not believe is the decision of people. If winners do not really fear the decision of the people they are not accountable to the people
and they will not respect the people.
"To give the victory to the right, not bloody bullets, but peaceful ballots only, are necessary." —Abraham Lincoln, notes for
speeches, 1858

Robin Kyle
Self
Houston, TX

SB1

Cheryl Chapman
Citizens for Election Integrity Texas
Fort Worth, TX

Under section A85.005, we have serious concerns about voting hours lasting from 6 AM to 9 PM. Already, election workers
work 12 to 14 hour days when they work the polls. By adding more hours that require poll workers to open earlier and stay later,
this will create the need for shifts in election workers and will end the opportunity for the same person to open the polls as closes
them. We do not feel like extending the hours even more is an option.
Page 20 line 12 and Sec.A127.009. is of particular interest to me as we are fairly sure that we have electronic data fraud in our
county per the audits that we have had done and thus, the question of how to protect Texas voters from a voting hack is of utmost
concern to all of us. We are wondering if this language is enough to protect voters at every stage of the procurement of votes
through electronic data transmission and reception?
On page 22 of line 15, in Section 84.0011, regarding Mail In Ballots, a statement is made prohibiting the solicitation of mail in
ballots which is fantastic but to strengthen this statement, it would be a good idea to list the criminal offense assigned to this
violation. Additionally, on page 26, line 17-19, a type of crime and penalty should be suggested to deter those that wish to ballot
harvest.
On page 54, line 23 and 24, the time frame by which the law takes place will possibly not protect our November elections and so
the date may need to be changed.
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the date may need Case      5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 469 of 554
                     to be changed.
Another issue that was not addressed was that of the election office needing accountability to a higher authority. Who checks the
election administration and office to be sure that all of the items in this bill are followed thoroughly? This bill makes a great path
to various higher authorities should there be violations but who actually will see if there are violations? For example, several
election judges in Tarrant County have opened their polling locations only to find ballots from another election still stuck in their
bag of supplies and uncounted from the previous contested race. Provision to hold the election administration accountable for
this type of derelict of duty is greatly needed in the form of a bill. Most of what we are missing today to secure our elections is
accountability.
Finally, audits are too hard to obtain in Texas, but should be done yearly. Candidates should be able to ask for an audit as should
county officials. Forensic audits should always be allowed. Risk audits should not be considered since they only look at less than
1% of the ballots. Should a candidate lose by 3 percent of the vote, than a mandatory forensic audit should be done to authenticate
the results. This is our most important point to any election bill and it must be included to truly secure the Texas vote. Audits
should be called yearly or by many different methods to allow recourse to deal with possible fraud. Every company audits
themselves yearly to evaluate their operation, why are we not doing it as a state?

Ashley Grace
Self
Watauga, TX

I strongly oppose and am disgusted with those who work to suppress our votes in a democracy. Shameful.

Anita Kissee
Tx family values
Frisco, TX

Please enact and uphold Election integrity. If we don’t have this or consequences we have nothing!

Eydie Barnett
myself
Houston, TX

I strongly oppose SB 1.
We need to do the right thing and make it easier for folks to vote!!!

donald gooch
self
Frisco, TX

Please by this bill, to keep our elections safe and secure! Voting in person and having to show an ID isn't to much to ask. God
bless

Nikki Kelley
Self - educator
Austin, TX

Opposed.

Thomas Bazan
our family
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our family
HOUSTON, TX

Having been a voter since 1972, and have never missed an election. I could never imagine all the ways to effect vote fraud that
have been exposed over the past decade or so, and am frustrated that members of a particular political party who as a group seem
to have mastered vote fraud, do not want to limit the cheaters.

We need more safe guards, not less. There should never be illegal aliens allowed to register through the Clinton Motor Voter
scheme, nor deceased voters to remain on the voter rolls.

We must return to voting on a single day, at one's home precinct, where the opportunities to cast a vote more than once are
severely reduced.

No longer will voters be allowed to register at vacant lots, UPS boxes, or any non-residential address.

We must strictly enforce the law where citizens have 30 days to change their address on their government-issued ID with the
DPS, and to make the vote cast with a lapsed ID a Provisional Vote, to be proven by the lackadaisical citizen.

We must confirm the signatures on the absentee mail ballots as well as requests for an absentee ballot.

It should be a felony for anyone who has been convicted of forgery, ballot harvesting, or any other voter fraud activity, to attempt
to collect and/or submit any voter registration forms.

Kristi Guetersloh
Self
Fredericksburg, TX

For it

Frank VanOs
Self
Stonewall, TX

We have to election reform. We have to fix these problems. This has to be done now. I am losing faith in you all. I AM IN
FAVOR OF ELECTION INTEGRITY AND SECURITY.

Alice Barnett
Self
Dallas, TX

To the Honorable Members of the House Select Committee on Constitutional Rights and Remedies:

I am in support of election integrity; however, SB-1 is a flawed bill. I hope you will consider making changes as noted below:

Poll Watchers:
The sections on Poll Watchers are particularly disturbing because they give unfettered authority to partisan poll watchers who are
inadequately trained and face little consequence for their conduct if they are unruly and disruptive at polling places. Of course,
most poll watchers do not engage in such conduct, but a significant few do, and they should not be protected by this section. Poll
watchers should have significant training like the training received by poll workers. Second, election judges should have the
right to remove disruptive poll watchers without having to wait for a police officer to remove disruptive watchers. Intimidation at
polling places should never be tolerated. We must ensure that voting locations are calm and safe, not subject to political zealot
intimidation by any watcher or anyone else at the polls. Another disturbing provision is that election workers can be sued civilly
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intimidation by any  Case   5:21-cv-00844-XR
                       watcher  or anyone else at the Document
                                                      polls. Another117-4    Filed
                                                                     disturbing    11/15/21
                                                                                provision is thatPage   471
                                                                                                 election    of 554
                                                                                                          workers can be sued civilly
by a poll watcher or the authority who appointed the watcher. This will interfere with election administration by making it more
difficult to recruit and retain election workers if election workers are vulnerable to politically motivated lawsuits.
Disruptive persons at the polls are antithetical to our democracy, and the changes listed in SB-1 regarding poll watchers should be
rejected.

Election Administration:
Our democracy tasks election officers with awesome responsibility to provide an election process that is fair and accessible to all
voters. SB 1 takes away election administrator authority to deviate from processes during exigent circumstances such as natural
disasters and raging pandemics. Our democratic process must be able to deal with such emergency situations despite these types
of events. Election administrators need flexibility to make decisions that may deviate from processes without worry of being
prosecuted for reasonable accommodations made during emergencies.

Voters with Disabilities:
SB-1 has troubling new requirements for voter assistants. Persons who drive three or more people to the polls at the same time
would be required to complete a form with their name, address, and a statement of the type of assistance being provided. These
requirements are likely to discourage neighbors from helping neighbors get to the polls, while doing little to advance election
integrity.

Vote by Mail (VMB):
Applications should be widely available. Completed applications should be scrutinized to ensure eligibility. Don't keep the public
in the dark about the limited availability of VMB.

Thank you.

Lynie Mazzare
Republic
Austin, TX

This is NOT for the people ??it's for the Demo-rats!?? CRIMINALS need to be put away! Never to return!

Zach Jones
Self, self employed
AUSTIN, TX

I support SB 1 for the prevention of fraud in the conduct of Texas elections.

DEBORAH JONES
Jones, Deborah C.
Bastrop, TX

Voter ID required for citizens only. Please guard the boarder to promote legal crossing only.

Gary McClure
Self!
The Colony, TX

Election integrity is imperative to allowing free and fair elections in our country! It is a major right we have to vote and have our
vote count and it separates our country from all others in the world! If we lose the integrity of our voting systems and elections
are allowed to be stolen, we ALL lose! I strongly encourage passing SB1 and make violations of the voter integrity pay a VERY
heave price! Our freedom and our way of life depends on it! I will be watching very close to the vote and make my voice known
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heave price! Our freedom                        Document
                         and our way of life depends           117-4
                                                      on it! I will      Filed 11/15/21
                                                                    be watching very close toPage   472
                                                                                              the vote andofmake
                                                                                                             554my voice known
accordingly through my vote and the vote of my circle ok people I know! Thanks, Gary McClure

Madalyn Boy
Self. Musician.
Harper, TX

We want Election integrity !

Kris Bishop
Self
Fredricksburg, TX

I support this bill on Election Integrity because only legal votes should count it it should be made impossible to cheat… and if
caught cheating punishment should be swift and meaningful!

Angela McCabe
self
Lake Jackson, TX

This bill is in direct opposition to our constitution.

herb krasner
retired - none
spicewood, TX

I want to voice my objection to the bill’s clause that states that:

“A public official may not create, alter, modify, waive, or suspend any election standard, practice, or procedure mandated by law
or rule in a manner not expressly authorized by this code.”

Aside from taking away disrecentionary powers of local election officials, it does not address the situation where this law might
violate federal laws to the contrary.

Kelly McLaughlin
SELF
Farmers Branch, TX

Making voting easier for everyone is what democracy means. Everyone needs to have access to voting near their homes or by
mail, at many different hours of the day. Not everyone works 9-5. Stop suppressing voters. It's undemocratic!

Kathryn Williams, Mrs.
Indivisible TX Lege
Austin, TX

I am representing myself and Indivisible TX Lege against SB1. Although Republican leadership has been playing hide the ball
with provisions of their voter suppression bills under different titles (SB1, SB7, HB3, HB6) across three legislative sessions,
every iteration is an anathema to liberty, the ability to vote easily, safely and discriminatory to working parents and elderly
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every iteration is an      5:21-cv-00844-XR
                      anathema   to liberty, the abilityDocument     117-4
                                                         to vote easily, safelyFiled 11/15/21 Page
                                                                               and discriminatory       473 parents
                                                                                                  to working of 554and elderly
caregivers, disabled, low income and and people of color. The leadership of various committees in both houses have reneged on
agreed to amendments and compromise at every step of the way in every session of the Legislatures. This whole process has been
stacked against proponents of free and fair elections. The 87th Legislature will go down in history as the least democratic in
modern history. As a former election clerk, voter assistance hotline worker, I have many problems with these voter suppression
bill. But the process is so bad, I see no reason to continue offering intelligent comments when the fix is in.

Taiwo Oyediran
Self
Wylie, TX

I'm 100% opposing the bill. Let people vote!

Tina Pawelek
Texans Against Illegal Immigration
Poteet, TX

Election integrity is very important to our democracy. Election fraud seems to have run rampant in 2020. We must make sure our
votes count and or tabulated correctly. Voter ID must be required. Mail in voting must be strictly monitored. Poll watchers must
be allowed to observe the activities of the vote count. Anyone caught violating voter laws must be punished to the fullest extent
of the law. I don't want my vote to be canceled by fraudulent votes!

Dawn Bednarz
Myself
Magnolia, TX

I strongly support SB1. I would like to see penalties increased. I would also like to see remedy available for “Real time law
enforcement” in section 31.05. Thank you for your service and please vote YES!

Gary Meo, Mr.
Self
Austin, TX

I am against this bill and any attempts to limit or suppress voting rights in Texas. This is little more than a GOP effort to
disenfranchise voters who are more likely to be democrats. It’s anti-democracy, discriminatory against people of color, and just
plain wrong.

Paula Pozmantier
Retired
Houston, TX

I implore you NOT TO LIMIT OPTIONS FOR VOTERS. We continue to experience the pandemic, which will likely continue
through the November 2021 elections. In 2020, members of my family took advantage of the following options, which all proved
to be secure: 1) VOTING BY DRIVE THROUGH DUE TO COVID 2) VOTING BY MAIL, DUE TO DISABILITY,
AUTOMATICALLY RECEIVING MAIL BALLOTS FOR OVER 65
3) VOTING ABSENTEE FROM OUT OF STATE UNIVERSITY 4) VOTING EARLY IN PERSON WITH LONGER HOURS
AND DAYS AND NUMEROUS SITES AVAILBLE

Please do NOT BAN 24 hour early voting. Think of our doctors, nurses and essential workers who work long shifts day and
night. SB1 creates many barriers for ALL OUR CITIZENS TO VOTE. Passing SB1 is passing an ANTI-VOTER BILL.
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night. SB1 createsCase
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                        barriers for ALL OUR CITIZENS TO117-4
                                                         VOTE. Filed  11/15/21
                                                                Passing           Page
                                                                        SB1 is passing an474 of 554 BILL.
                                                                                          ANTI-VOTER

Caren Vaughn
Self/licensed massage therapist
Hutto, TX

There was no evidence of widespread fraud in the 2020 election. This bill is completely unnecessary and discriminatory. As a
Texas voter I do not want this bill to be passed. Stop wasting our money.

Kathy Stewart
Convention of States
The Colony, TX

I support this bill.

Cienna Luevano
Self/Loan Originator
Burleson, TX

I strongly oppose SB1

Julie Gilberg
5129210404
Austin, TX

Please vote no on this bill. SB1 creates new barriers that make it harder to vote, when it is already a huge challenge to register and
vote in Texas. It defines the number of hours polls can be open which disenfranchises those who cannot vote during the day. It
also severely limits drive through voting. Last year, drive through voting was a god send for my friends Beth and Carlos. On Oct
24th 2020, they were both diagnosed with COVID19. Both of my friends were very sick, but wanted to vote in the upcoming
Presidential election. They were also concerned about exposing elderly poll workers and voters to COVID19. They thought they
wouldn't be able to vote and reached out to me to help them.

 Unfortunately, it was the day after the deadline to apply to vote by mail, so they were unable to use that method to vote. I asked
if they were willing to try to get an emergency mail in ballot, which would require reaching out to the Texas Civil Rights Project.
The idea of filling out the forms and getting a lawyer to sue on their behalf was too overwhelming to them. They were both too
sick to do the paperwork involved to get an emergency ballot, in order to vote by mail.

Drive through voting ended up being their best option to vote. First, they could pick a day during early voting when they felt
more able to drive and breathe. They could limit other voters' and poll workers' exposure to COVID by being outside. They used
gloves, n95s, and hand sanitizer right before voting. The process to vote using drive through voting was simple. The poll workers
helped my friends cast their ballots while taking all possible precautions. My friends were thankful to be able to do their civic
duty.

There seems nothing more American than the freedom to vote in your own car. Drive through voting is safe, secure, and
accessible and allowed my friends to cast their vote while ill with a deadly virus. Please keep drive through voting as an option
for all Texans.

John Watson
Self
Arlington, TX
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Arlington, TX

I oppose SB1, it is in my opinion a way for texas politicians to control elections. Security is great where it is actually needed. We
as voting citizens put all of y’all in office to serve the people, not control them

Charlene Shafer, Precinct chair, election judge
Self
Cypress, TX

This bill is not related to election security as the past election was very secure. It makes it easier for partisan poll watchers to
intimidate both voters, election workers& election judges. I am 75 years old & should not be subjected to intimidation by poll
watchers or threats of prosecution for trying to maintain an orderly voting process. Please vote NO on this bill.

Rebecca Drury
Self
Portland, TX

I am absolutely against this voter discrimination bill that damages our representative democracy. Our vote is our freedom and
EVERY vote should count.

Susan Shelton
Self, Information Developer
Austin, TX

This bill is a solution in search of a problem, designed to create fear among people who assist voters (either in getting to the polls
physically, or in reading the ballot when they're at the polling location). Regardless of intent, this bill is going to suppress voters.
It does nothing to help, but everything to dissuade people from participating at all, for fear of criminal and civil prosecution. It
emboldens partisan poll-watchers to intimidate voters, and prevents election judges and clerks from defending their polling
location and voters. The bill is going to land us in the courts, where Texas will spend countless dollars defending itself against
something that should have died in committee before ever seeing the light of day. I urge my own Senator and Representative to
vote against SB1 at every opportunity, and hope the bill suffers defeat.

Peggy Robinson, Ms
self; retired Refugee Family Support Specialist, Austin ISD
Houston, TX

We all believe in "election integrity and security." However, I have grave concerns about proposed changed to the limits for poll
watchers. First, to be effective, I believe poll watchers should receive required additional training and should acknowledge the
integrity of the polling space by executing an oath similar to election workers. Second, no poll watcher should be physically
close to a citizen while voting!
As the continuing COVID epidemic illustrates, we need to implement many voting options to make voting safe for election
officials and voters. This should include expanded early voting, extended hours at polling places, and more options to return vote
by mail ballots. These are what Texans want.
Finally, it is time for Texas to join the 21st Century, and the majority of states, and add electronic voter registration to the
omnibus bill. Electronic voter registration would greatly increase the accuracy and integrity of the voter registration rolls, as well
as reduce costs.

Robyn Hicks, MS.
Self
Waco, TX
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Waco, TX

Stop voter suppression and GerryMandering. SB1 should be voted down. Vote NO and work to make sure every Texan has easy
access to the ballot!! There is no widespread fraud and SB1 continues the lie that there is. Vote NO for SB1

Terry Hopkins, Ms
Self
Dallas, TX

I have served as an election judge and election worker for over 20 years. I strenuously object to having pool watchers having the
right to “freely move” within a polling place to observe. This could include standing behind voters and could be highly
intimidating. This is an interference with a free and secret ballot. Please take that wiring of “move freely” out of SB1.
 My sincere request is that the bill is voted down and not passed for many reasons due to voter intimidation amd voter
suppression. This bill especially discriminates against disabled persons and people of color. It will also likely be challenged in
the courts and a waste of tax payer o money to defend it. Do the American and patriotic action and vote against SB 1

josepH Howell Burton, PMP | LEED® Green Associate
Self - Senior Project Manager
Austin, TX

Simple. Easy to Vote / Hard to Cheat. 'Nuff said.

Amy Sabalesky
Self Retired
Houston, TX

No significant evidence of fraud has been shown from the previous election. Cutting down access to polling locations WILL
reduce the amount of people able to vote. I know people who did drive thru because it was the only way their mom would be able
to vote. I know people who work crazy hours and need Sunday poll times. Democracy only happens when all legal citizens have
access to the vote. Stop making it tougher to vote. IF IF IF there were significant evidence of voter fraud, then I would obviously
want to ensure election integrity. There is not. In addition, I do NOT like the partisan changes for poll watchers or election
officials. This sure makes it look like the GOP is doing a power grab and messing with democracy. My grandparents would roll
over in shame at what the GOP is becoming. Also, ungerrymander the districts. Democracy shouldn't be rigged. If it is rigged, it's
not really democracy anymore.

Carol Candy
Self/ retired teacher
Spring, TX

All Texans should be given every opportunity to vote in all elections in multiple ways.

Barbara Stringer
self
Sugar Land, TX

People working overseas whether in the private sector or in a branch of the government or in the military rely on being able to
vote by mail. It is already difficult enough for these folks to vote by mail, please don't make it even more difficult.


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Erin Farmer
Self, paralegal
Houston, TX

There have almost no documented instances of voter fraud, or insecurity, in Texas for years! This bill is intended to
disenfranchise low income & minority voters. We should be heralding the expansion of voting options from 2020 instead of
shutting them down. The greater turn out proved that people want MORE options, not fewer. Expanding the scope of poll
watchers is intended to harass voters and discourage voting. It also presumes that unlawful behaviors are occurring WHICH IS
NOT ACCURATE. Stop trying to get a win through cheating. Be more transparent, not less about voting. Encourage it, rather
than discourage. Be better than this lawmakers. Just be so much better than you have been. People who believe differently from
you are not the enemy, we are your fellow Texans and we don't deserve this.

Pamela Tucker
Congregational Church of Austin; League of Women Voters;
Austin, TX

Public confidence in election integrity needs to be improved by having our public officials acknowledge that no widespread fraud
existed in the 2020 elections and that there is no reason to believe that any significant fraud will happen in future elections. The
Election Code safeguards are sufficient to produce fair elections with minimal fraud. Further, the transparency required by the
Election Code provides confidence in the process. False claims have eroded public confidence. Making penalties and criminal
offenses against helping others obtain and submit mail-in ballots, requiring signatures to look identical each time, and making it
more difficult to get those who need help to the polls is voter suppression, NOT preventing fraud.
Please focus on real solutions to restore trust and increase voter turnout.

Elizabeth Baron
Self, retired consultant
West lake hills, TX

I am writing to express my support for SB1. Some claim election fraud does not exist even while there are hundreds of cases of
election fraud lined up to be prosecuted. There is a breadth of expert testimony and individual affidavits detailing serious issues
in our elections. SB1 is the bare minimum to address some of these issues. Additionally full forensic audits must be done to
document which issues are most common and egregious to structure future election integrity initiatives.

Alice Anderson
Self
Driftwood, TX

Make it easier for all citizens to vote, please

Catherine Parson
Self
Benbrook, TX

I am a new resident to Texas. I moved here because I felt my voice as an American, a Patriot and a Conservative Republican had
a better chance of being heard. SB1 MUST be passed. Our elections are at dire risk of being federalized which goes against our
Constitution and what our Founding Fathers wanted for We the People. The power of our vote as American citizens was stolen in
the 2020 Presidential election because most Republicans in the House and Senate were asleep at the wheel while the new
Socialist Democrat Party used COVID and American's fear of it to manipulate and/or steal the duty of States Legislators. SB1
would begin to right that wrong. While I don't think it goes far enough to protect the integrity of our elections, it's a good start and
it must be
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                                     Democrats recently failed their constituents as they fled to D.C. to delay the vote on SB1 and

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it must be passed. Case
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                            of Texas Democrats recently   failed 117-4    Filed 11/15/21
                                                                 their constituents as they fledPage   478
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                                                                                                         to delay the vote on SB1 and
support the federal takeover of our elections. What a disgrace they are. Now that most or all of them are back they will be forced
to do what their constituents sent them to Austin to do. Every Republican in Austin must vote to PASS SB1 and start rebuilding
the confidence of all Texans in our elections. No bi-partisanship. No weakness. FIGHT and TAKE IT BACK!!

Peggy Brown, Individual
Self
Austin, TX

I SUPPORT SB1. We MUST have election integrity and it starts by confirming the voter ID and also the integrity of the vote as
cast by that individual voter

Thelma Pickett, Mrs.
self
Woodcreek, TX

I believe it is in the best interests of Democracy when a state makes it convenient to vote. SB1 was not crafted with that spirit in
mind. We can file our taxes electronically. Why can't we vote
electronically. The backers of SB1 are afraid of free and fair elections. I am afraid of them and will work to see that those brave
souls who gave their lives defending Democracy shall not have died in vain. God Bless a free and democratic United States of
America

Bonnie Seelig
Self retired
Spicewood, TX

I support SB 1 Secretary of State should have no power to change election laws without criminal penalties applying.No outside
money. Under penalty of law. No bureaucrats changing election rules under penalty of law.

Tiffany Beck
Self
Texarkana, TX

Opposed

Sandi Wilkenfeld
Self - graduate research assistant
Houston, TX

I oppose SB1. Stop voter suppression in Texas.

Mary Young, Mrs
Self
Texas city, TX

Vote YES


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Thomas Trevino, Mr.
Self
Harlingen, TX

Election security and integrity is essential for a Democratic Republic. One vote from One person. Sending Mail-in ballots without
the means to verify its legitimacy and preventing fraud is extremely wrong and destructive to our democracy. I support SB 1.
Elections have consequences and we are witnessing the consequences of a failed Federal Administration since January 20, 2021.

Gayle Bennett
Self
Rowlett, TX

I urge you to vote No on this Bill. In particular the clause giving extra power to partisan poll watchers! The election judge has to
actual witness the wrong doing (as opposed to 10 voters saying the poll watcher violated the rules) PLUS regardless, if the judge
does witness misconduct the judge HAS to give a warning first no matter the offense. This is unbelievable. This makes elections
LESS secure.

Most of the provisions in this bill just make it harder to vote, not more secure, but the Poll Watcher provision actually makes
voting less secure.

Please VOTE NO!

KATRINA HALEY
Retired
Corpus Christi, TX

I support this bill. We must have secure & fair elections. 1 Person 1 Vote

Pat Larkin
Self - Attorney
Dallas, TX

•       The committee should focus on solutions for all voters and help restore trust in Texas elections - using non-existent voter
fraud as an excuse for making registration and voting more difficult makes clear that the legislation is a political tactic designed
to disenfranchise voters, not a public service.
•       The Committee should acknowledge that existing Election Code safeguards and transparency are already the strictest in
the country.
•       The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

•       To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity
of the polling space by executing an oath similar to election workers.

•        Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability
to cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.

•       Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that
allow blind voters a way to securely and privately vote.
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allow blind voters Case  5:21-cv-00844-XR
                   a way to securely and privatelyDocument
                                                  vote.    117-4 Filed 11/15/21 Page 480 of 554

•        Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Donna Snodgrass
Self NEISD
SAN ANTONIO, TX

Against bill

Lisa Flores
Easterseals Central Texas
Austin, TX

Hello Chairman and Committee,
  For almost 80 years, Easterseals has been committed to providing high quality, person-centered services to children and adults
with disabilities and their families. Our mission is to promote independence and create opportunities for people with disabilities
to pursue their hopes and dreams. We strongly oppose SB1, as this legislation will have targeted and disproportionate impact for
voters with disabilities in Texas. Easterseals aligns with the Coalition for Texans with Disabilities, Disability Rights Texas, Rev
UP, ADAPT and the ARC of Texas in asking this legislation be amended, if it must be passed.
  Voters with disabilities live in every county in Texas. The impact of disability on individual Texans is a personal and vast area of
consideration. Disability voters are not a monolith. Disability should not mean voters with disabilities are required to submit any
additional effort or paperwork in order to ensure their votes count.
Voting has many steps. I would like to break down each step and illustrate how this legislation, as proposed, could impact
populations of voters with disabilities, by each step. First, a voter has to make a plan to vote- by mail, in person, or curbside. Vote
by mail has a totally inaccessible ballot for those with visual impairments. Mail in ballots require signatures to match, which is an
impossibility for many voters who have any impact from disability that impacts their ability to produce an identical signature
each time. Many people with physical disabilities use a signature stamp, but not all. For so many people, for so many
reasons,their signature will never match.
 If a voter decides to deposit their vote in a drop off box, they may not have the physical ability to open the chute or the opening
may be too high.
If a voter decides to vote in person, they may or may not have transportation. Public transportation is not consistently available.
Ride share companies have few accessible vehicles and drivers may not want to sign an affidavit if the voter also wants to use
curbside voting. There are many disabilities, unrelated to mobility that impact a person's ability to go inside a polling place to
vote. For example, those with autism or severe anxiety may not be able to enter inside to vote because of their individual impact
of disability and being in a crowd. Those with intellectual disabilities may be overwhelmed in crowds.
Last, voters with disabilities must render the same information to vote as non disabled voters. Assistance to a disabled voter may
look strange to those poll watchers who do not have any connection or training around disability. It is a question of dignity to not
have to explain why you need assistance, when non disabled voters are not subject to the same requirements. This legislation does
nothing to consider or promote the idea of self determination in voting, central to the dignity of all voters in Texas.

Gowri Stevens, Dr
Self
Houston, TX

Texas already has the toughest voter fraud protections in the country. Limiting people from voting by decreasing early voting,
stopping drive by voting, 24hr voting is fraud in itself. Every Texas should be able to vote in any way they want: mail ballet,
online, drive through, in-person and it should be protected. There is no reason to prevent Texans from voting. The heritage
foundation should not decide how we vote and dictate election laws.

Cristina Logan
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Cristina Logan
                  Case 5:21-cv-00844-XR Document 117-4 Filed 11/15/21 Page 481 of 554
Self
Lancaster, TX

Depending on how I am doing,
I use a cane,
a walker,
or an electric wheelchair.
Pain makes the decision for me.

Caregivers are a God sent
for those that can afford them.
Me, I have little to nothing,
so a caregiver is an extremely expensive need.
No caregiver access,
no voting access.

Medicaid doesn’t allow caregivers to drive me anywhere.
Medicaid says, “Use medical transportation,”
but going to vote is not a medical situation.
No transportation access,
no caregiver access,
no voting access.

Some Non-Medicaid covered caregiver companies
would allow a caregiver to drive me anywhere,
but at a cost to steep for me.
No one on Social Security Income
can afford a $50 an hour charge while waiting on a voting line.
I can’t even make it to the voting line
to be waiting for hours on end.
No transportation access,
no caregiver access,
no voting access.

But I digress,
even if I could make it to the voting poll,
all on my own.
I would need the help of my fellow humans to vote.
I would depend on the kindness of strangers
to open the door for me,
to write my name for me,
to mark my ballot choices…
without help, I cannot vote.
Without help, you are denying me the right to vote.
Without help, you are disfranchising me,
but isn’t that what you are after with your HB 3?

Don’t give any excuses!
Your rationalizations don’t pass muster.
In trying to “prevent voter fraud,”
SB 1 is actively cheating me of my right to vote.
SB 1 is dehumanizing me.

C. Logan

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KIMBERLEY LONGORIA
SELF
LAGO VISTA, TX

I FULLY SUPPORT THIS BILL. THIS BILL IS CRUCIAL TO MAKING SURE ALL OF OUR VOTES COUNT AND ARE
NOT CANCELLED DUE TO FRAUD OR ANY OTHER CRIMINAL ACTIVITY.

Brian Williamson
Collin
FRISCO, TX

I am not in support of this voter suppression bill!

Tiffany Flowers
Self, Recruiter
Houston, TX

The amount of election fraud in our election is minuscule in comparison to the number of people this bill will disenfranchise and
make voting more difficult. Safe and secure elections have been going on for decades and should continue with increased access
to the polls. As such I oppose SB1 and request you veto this bill.

Luana Martindale
Self. Writer
Plano, TX

I oppose the bill. It destroys election integrity and security, promotes election fraud, runs counter to the Texas Constitution, and
seeks to disenfranchise voters of color, the elderly, and the disabled. It is a Republican attempt to control who votes, who counts
the votes, and who determines the outcome of an election. It is a power grab. Vote NO.

Marianne Sterling
Self
San Antonio, TX

We need type controls on the election process dead people are voting or illegal immigrants!

Tim Cox
Self
Oak Point, TX

I urge you to vote to make SB1 into law. Without free and fair elections, elections the vast majority of TX citizens believe are
free and fair… our great state will devolve into chaos. The only reason to not support this bill would be to sponsor fraudulent
activities that remove the voices of TX citizens. Have courage and fight against the attacks against the American and Texan way
of life… thank you for your support. Tim

Beverly Biehl
Self/Consultant
Austin, TX
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Austin, TX

I'm very concerned about the lack of training for poll watchers. It's distressing enough to see massive displays of partisanship
walking into the polling place, but the unclear procedures for poll watchers and poll workers opens a slippery slope that will end
up with voters being discouraged from doing their civic duty. Also, the potential federal penalties for simple mistakes are
daunting. The cases of outright fraud are miniscule, and this is a solution in want of a problem.

Christopher Aldridge
Self
Katy, TX

SB 1 is simply a push take it harder for people.of color to vote. Anyone who votes for this will NOT receive any votes from me or
my family.

Raquel Rodriguez
Self retired
El Paso, TX

Please vote no, this is voter suppression and only benefits the GOP. As Senator Alvarado stated earlier this month "Senate Bill 1 is
a regressive step back in the direction of that dark and painful history." we need to increase avenues that facilitate voting not
hinder the access.

Melyssa Fratkin
self
Round Rock, TX

The 2020 Election was one of the most secure IN US HISTORY, including the mail-in ballots. Even in Texas. There is absolutely
no reason to impose extra rules and regulations on what is already a working system. Ballot handling procedures protect against
intentional or unintentional ballot destruction. Voting systems undergo testing from state and/or federal voting system testing
programs, which certify voting system hardware and software. Voter registration list maintenance and other election integrity
measures protect against voting illegally on behalf of deceased individuals -- and if anyone is falsifying voter records or purging
them unnecessarily, it's the GOP. Stop trying to rig the system because the non-white population of Texas keeps increasing, and
they're not voting Republican.

Laura McAughan
Self
Houston, TX

There is no evidence of voter fraud in texas. This bill is horrible

Marinella Murillo
AFLCIO
San Antonio, TX

I OPPOSE SB 1. This bill is an attack on our freedom to vote, it will hurt our democracy and it will silence the voices of people
like me, my family, and my neighbors.
I am especially worried that this bill will let partisan poll watchers who work for political parties and candidates roam freely
inside polling locations. I am also worried that this bill would create new criminal penalties, even for voters who make honest
mistakes when they cast their ballot or vote by mail.
I urge you
Printed on: to oppose
             August 30,this bill11:32
                         2021    and focus
                                      AM your efforts towards providing real solutions to real problems that our state is facing like
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                  Case
I urge you to oppose this 5:21-cv-00844-XR         Document
                          bill and focus your efforts           117-4 real
                                                      towards providing Filed  11/15/21
                                                                           solutions to real Page  484
                                                                                             problems   ofour
                                                                                                      that 554state is facing like
protecting workers like me and school children from COVID, and fixing the electric grid.

Cynthia Wine
self, self employed
San Antonio, TX

Voting needs to be easier, not harder. I was afraid to vote by mail in the last election because I was afraid my ballot would be
caught up in litigation, but for elderly or disabled people, including myself, standing in line is a problem. When I used to work 8-
5 Monday-Friday voting was a big deal because I didn't have time during lunch and in the evening with traffic, dinner, etc. there
wasn't time. On weekends the lines are long so having more weekends to vote would help reduce the lines. Extended hours
would help, earlier or later either or both.
I have a problem with poll watchers being allowed to go wherever they want. A secret ballot is supposed to be secret and I don't
want a partisan poll watcher looking over my shoulder and possibly attacking me when I leave the polling location or even just
giving me the evil eye with a threatening glare.
Electronic registering should be allowed, and so should automatic registration with driver's licenses or state photo ID's for those
that are eligible. Many people don't plan ahead and show up on election day to find out they can't vote because they didn't
register.
I also think electronic voting from home should be allowed. This would be easy to track and you'd just have to prove your
identity. That would make it safe and secure for elderly and disabled people who have problems with crowds and walking and
standing for long periods of time.
Since most Republicans are older it makes no sense for the Texas legislature to make it harder for old people to vote.

Mary Brower
- None -
Houston, TX

Please concentrate your efforts and our taxes on things that matter to the majority of Texans, such as covid mitigation and
medicaid expansion. This bill addresses a nonexistent issue, and it is quite obvious to most Texans that the republican state
majority is engaging in voter suppression as a power grab. Please govern for once.

Nancy Neill
Self, Retirrd
Lubbock, TX

There was no fraud in the 2020 election. This bill will inhibit voting rights for all Texans. I ask you not to pass this bill.

Rebecca Broughton
Self
Seguin, TX

For

Maria Barnes
Self retired military and educator and nurse
San Antonio, TX

Fully support this bill

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Denise Dodson, Ms
Self retired
Dallas, TX

Agree. Please pass SB1

Irma Johnson
self Interior Designer
Bastrop, TX

I am in support of election integrity, security and fraud prevention. The 2020 elections thought out our country exposed a sad but
real occurrence.....cheating happens!! From dead people voting, to vote harvesting, to internet hacking. Whether voter fraud done
by a few or by thousands this needs to stop. I do not feel my vote will ever count when there is no accountability by those in
charge. I hope this bill comes after those who perpetuate such a violation of the consciousness of free elections.

Jamie Rogers
Self
Round Rock, TX

There was no voter fraud in 2020. Where is the evidence that we had election integrity issues in Texas. We should be expanding
the right to vote and not curtailing it. This bull is misguided if it passes.

Gayle Van Leeuwen
Self
Arlington, TX

I am voicing my opposition to this bill. There have only been a very few causes of voter fraud in Texas. This bill is making
voting harder, not easier by disenfranchising
minority voters. This is not even a veiled attempt at racism. Not patriotic. If you want a true democracy, vote no.

Windy Craig
Self
Austin, TX

Please do not vote for this bill. It's voter suppression.

Michelle Reinhardt
Self
Austin, TX

Terrible bill that will limit Texans’ right to access the polls. This after we stood in line 3 hours to vote in Austin in 2020 during a
pandemic! Against

Martha Hagar, Retired
Self
Dallas, TX
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I am a 68 handicapped senior. I am concerned that the partisan monitors go beyond their reach. We are guaranteed a secret ballot.
They have no business in my space listening or observing how I vote.

College IDs should be allowed for identification. They are sophisticated and the admission for college make them expensive.
Expand their usage. I can only believe this is a form of persecuting our religious schools

SB 1 cannot guarantee 100% fraud free. Voters should be encouraged to vote and not feel intimidated. We all want secure
elections. We had secure elections. This is GOP driven not Texan driven.

Jane Van Praag
N/A
Bartlett, TX

It is shamefully absurd to prevent people from voting in the name of preventing non-existent fraud.

Shari Snyder
Self sales
Center Point, TX

SB1 is now a clean, solid and very good bill. I support the Bill as is. I dont want any degrading changes to this bill.

Caroline Simpkins, Mrs
None
San Antonio, TX

Identification is mandatory for every activity in our community; it should be mandatory for voting also. Penalties should be
quick, swift, and lasting to deter falsified voting practices.

Jennifer Kratky
Self, mother and 6th generation Texan
Magnolia, TX

I support SB1, but with the removal of Amendment #6. I want it to be very difficult to cheat in any Texas election! We
desperately need more prosecution for any election laws broken, whether it's done by harvesters or county clerks. I left Austin in
part because I witnessed such awful practices by Dana DeBeauvoir that I knew it would be extra difficult to ever vote ourselves
out of this mess. Laws without enforcement are useless!!

LaDonna Massad
Self
Austin, TX

I am opposed to SB1.

Wes Flanagan
#TEXIT
Waxahachie, TX

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I believe if this does not pass Texas will never have another true election. India requires it and they have a Uber poor society!
Wes Flanagan 181st/ALS CJRB Gt. Worth

Karen Brooks, Ms
Texas true project
Arlington, TX

We must protect our elections from fraud. If we can’t depend on the integrity of the elections then we are living in tyranny not in
a free republic.

Jane Bye
Self/retired social worker
Dallas, TX

Please do not make voting harder than it already is. Voter fraud is almost nonexistent. We should all believe in making voting
easy, not trying to prevent people from voting. What are you afraid of??

Nolan Buro
Self, marketing rep
Houston, TX

This isn't about integrity, its about suppression. The right to vote is sacred and the GOP should be ashamed at its attemps to
silence Texans.

Paul SoRelle, Mr
Self
Houston, TX

This bill should not be passed! There is no need to restrict voting features such as drive-through voting and 24-hour voting.
These voting measures were instituted by Harris County in 2020 and alllowed a record number of voters to participate without
any widespread cases of fraud. Also, the changes proposed for poll watching and increased penalties for poll workers could lead
to intimidation of voters. We do not need these proposed changes to our elections in Texas!

Karen Brooks, Ms
True Texas Project
Arlington, TX

Governor Abbott has made Election Integrity a priority for the 87th Session of the Texas Legislature.
Election Integrity is a priority of the Republican Convention Delegates.
We believe that a Republican controlled Legislature should respect Republican Platform and Priorities.
In the 2020 Ballot Propositions, 98% of Republican voters agreed that election officials should purge illegal voters from the voter
rolls and verify that each new registered voter is a US Citizen.
SB1 creates criminal offenses, an important step that is currently missing in the efforts to fight election fraud
SB1 corrects many deficiencies in the maintenance of voter rolls, which is one of the many ways that voter fraud is accomplished.
SB1 provides a path to prosecution by the Attorney General when election fraud is detected.
We believe that passage of SB1 will be an important step towards achieving the secure elections process that Texans deserve,
amendment 6 notwithstanding.


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Sessie Franceschini
Me
Devine, TX

It’s important to win back the confidence of the citizenry. As of now majority of us believe that election machines are unreliable

Tyler Beck
Self
Dripping Springs, TX

This is clearly just a political game where people are trying to restrict voters who don’t like them to stay in power. More people
voting is NEVER a problem. Oppose SB1 now.

Marc Byrd, PhD
self, Engineer
New Braunfels, TX

It should be a crime to conspire to force black people or any other targeted group to wait in line longer than others. Any such
targeting, even though hidden as in this bill, will not stand under the 14th Amendment Equal Protection Clause.

We must make it as easy as possible for every citizen of Texas to vote. We must allow every Texas citizen to vote by mail, for
any reason they like. Colorado does this, has done this for a long time, and has no problems with it.

Ruei Tuo
Self / Self
Katy, TX

I am registering my opposition to SB1. If you really is for free and fair elections, you would make it easy for thousands if not
millions of Texans to be able to vote at the time they have available. But instead you make it illegal for them to vote when they
get off from work in the early mornings. You also take away the drive-trough voting which greatly benefited moms with small
kids. Your excuses are all minor logistical issues that can be resolved easily, but just like authoritarian political parties, you use it
to suppress people and incriminating voters who simply want to exercise the constitutional right of casting a ballot.
History will judge you and your party.

Elizabeth Sanders
Self
Adkins, TX

I support SB1

Mckenzie Best
Convention of States
Highland Village, TX

We need to pass HB1 in order to secure our elections here in Texas. Voter ID for ALL!!

Darius Provost-Evans
Self
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Self
Houston, TX

I do not support this bill.

Jessica Neufeld
self
Austin, TX

I strongly oppose this bill as it is based on a lie that there is wide spread voter fraud (no such evidence has been put forth by the
bills proponents) and really is thinly veiled move to make voting harder for minorities and poor people. This is a voter
suppression bill that infringes on Texans constitutional right to vote and I do not want it to become law. Please don't limit mail in
ballots, prohibit drive through voting, 24-hour voting locations, or unfairly limit the number of polling locations or their hours for
people who have limited resources to access in-person voting. Thank you.

Rick Oliver
Self
San Antonio, TX

Stop your games. This is a disgusting attempt to hurt all Texans.

Kate Simms Painter
My self
Austin, TX

GOP is cheating and lying and solely representing their oligarchy. Your actions are criminal. Taking voting rights away is not
what leaders do. Your actions are unconstitutional and unconscionable.

Lee Nye
Self
Cedar Park, TX

Voting is a fundamental right under our constitution...how dare you take that away from people just because you can't win unless
you cheat!

Jill Yeager
Self
Houston, TX

Please do not support SB1 - voter fraud is extremely rare and there should be support for every eligible voter to cast a vote easily
and conveniently

Kenneth Wenske
Republicans
Port Lavaca, TX


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Vote for this bill please

Chris Kreif
self
Fort Worth, TX

I believe that passage of SB1 will be an important step towards achieving the secure elections process that Texans deserve,
amendment 6 notwithstanding.
Election Integrity is a priority of the Republican Convention Delegates.
Republican controlled Legislature should respect Republican Platform and Priorities.
In the 2020 Ballot Propositions, 98% of Republican voters agreed that election officials should purge illegal voters from the voter
rolls and verify that each new registered voter is a US Citizen.
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SB1 corrects many deficiencies in the maintenance of voter rolls, which is one of the many ways that voter fraud is accomplished.
SB1 provides a path to prosecution by the Attorney General when election fraud is detected.

Tammy Kreif
self, homemaker
Fort Worth, TX

I believe that passage of SB1 will be an important step towards achieving the secure elections process that Texans deserve,
amendment 6 notwithstanding.
Election Integrity is a priority of the Republican Convention Delegates.
Republican controlled Legislature should respect Republican Platform and Priorities.
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SB1 corrects many deficiencies in the maintenance of voter rolls, which is one of the many ways that voter fraud is accomplished.
SB1 provides a path to prosecution by the Attorney General when election fraud is detected.

Susan Pantell
N/A
Austin, TX

It is important that you focus on solutions for all voters and help restore the level of trust in Texas elections. I am disabled and
have to vote by mail. It is difficult to have to request a mail-in ballot each year. Once someone requests a mail-in ballot because
of age or disability, you should send it to them every year without making them re-apply. I have voted in every election. The
existing Election Code has plenty of safeguards and transparency. More restrictive measures are not necessary; you should be
making it easier for people to vote. If someone's mail-in ballot is not approved, there must be a way for them to fix the problem.
You should add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties, not optional. You should also add electronic voter registration to the bill, which would
greatly increase the accuracy and integrity of the voter registration rolls, as well as reduce costs.

JT Beebe
TX SD-13
Houston, TX

please don't suppress Texas voters.


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Sandra Kearns
“Self” Inclusion Paraprofessional
Cibolo, TX

The right to vote is enshrined in the constitution. Putting forth legislation that hinders the right to vote in any way is
unconstitutional and unethical. Voting legislation should only be concerned with making voting more accessible, easier, and
straightforward. Please keep the provisions established during the Covid-19 pandemic.

Jan Goria
Self
Frisco, TX

We have to pay attention to having election integrity or all votes will be meaningless. What we want from our elected officials
will mean nothing. Our rights will be taken from us if this bill doesn’t pass. Stand for America and the people! Do the job you
were elected to do and that does not mean bringing socialism to America.

Susan McKinley, Ms.
Self, Retired
Houston, TX

A high voter turnout contributes to a stronger democracy. Texas had very little voter fraud in the last election. This bill seeks none
other than voter suppression because those who crafted it did not like the results of a strong voter turnout. Let the people have
their say, as the Founders of this country intended.

Arjun Rao
Self
Austin, TX

There has been no notable fraud that any court has upheld, yet we are going to further threaten innocent Texans with criminal
charges for doing their most fundamental duty. Why is this legislature focused on this? We have power outages and covid and
poor health and this is the thing you all are focused on. I used to think the texas Republican Party was pragmatic and business-
oriented. Now I think it’s partisan and spreading misinformation. This bill should be abandoned.

Susan Schneider
Self
Dallas, TX

Opose

Desiree Kane
Self
San Antonio, TX

Please do not further restrict voting access in TX. As someone who worked in an elections office I can tell you that we did
everything in our power to help people to vote following the current rules. Please don’t make it harder. If anything you should be
trying to increase access and make it easier for Texans to vote.


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Ryan Suneson
self - VP Finance
Austin, TX

To start, there is no, and has been no, documented widespread or systemic election fraud in Texas. Don't take my word for it,
listen to Keith Ingram, the director of the Elections Division at the Texas Sec of State's office where he states that drive-through
and 24 hour polling places have not had "any evidence of actual fraud".

What this bill does is systematically make it more difficult for minority voters to participate in the democratic process.

I'd much rather see the State actually do something that has been an obvious failure this year, which is to fix the electric grid.

Peter Elsner
Self - Senior Technical Analyst
Caldwell, TX

I oppose this bill. Having a fair election is democratic and no one should ever interfere with that.

michelle meacham
self
Wimberley, TX

As a Texas resident and voter it’s vitally important to
make the voting process simpler and available to everyone that qualifies. The amount of gerrymandering, voter suppression and
intimidation is staggering. I’m opposed to the GOP party controlling our voting rights.

Carolyn Laivins
self/retired
Dallas, TX

please allow access to eligible voters with proper ID's in all areas of the state.

Ann Kifer
None
Taylor, TX

I am opposed to this bill. There was no fraud in the last election. Every qualified voter should have the right to vote.

Carol Wetterauer
self
Katy, TX

While traveling across the country in June my husband and I decided to take in a little history. So we drove through Selma
Alabama, across the Edmund Pettus Bridge. On one side of the bridge we met a man who told a remarkable story. On March 7,
1965, as a 4 year old, this man recalled, he took the hand of his uncle and marched alongside John Lewis. We all know what
happened on this day, bloody Sunday, but to hear it told from first hand experience was for me, quite bone chilling.
So as the story goes, this march was stopped on March 7, but resumed 2 days later. This time the marchers with the help of the
National Guard, made it all the way from Selma to Montgomery, to the state capitol steps. A few months later, a Texan, Lyndon
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National Guard, made      5:21-cv-00844-XR
                      it all the way from Selma toDocument
                                                   Montgomery, 117-4     Filedcapitol
                                                                  to the state  11/15/21
                                                                                      steps. Page  493 of later,
                                                                                             A few months  554 a Texan, Lyndon
Baines Johnson inspired by the Selma to Montgomery march, signed into law, the Voting Rights Act of 1965. SB 1 chips away at
the Voting Rights Act. Lets not go backwards in history, lets not forget what these people marched for.
Vote against SB1 and vote for the rights of all Americans.

Rene De Los Santos
self
San Antonio, TX

The Republicans have Not produced any evidence of widespread Voter fraud in Texas Elections for any cycle. What the
Republican have done is organized and implemented unfair voting practices throughout the State which is proven by how voting
districts of low populations are equaled to high populations.

Janis Brooks, Ms
Self
Denton, TX

Do. Not pass this bill. It is voter suppression. Quit trying to suppress people votes. Do not send us back to the Jim Crow era.
Let’s move forward not backwards.

Deea Emmons
Myself
Austin, TX

Voting should be easy, available and all citizens have the right to vote

Jeanne Morgan
Self
Garden Ridge, TX

Do not make any changes to the voting process. Restricting access only take rights away from those that have had to fight so
hard to get these rights. We should be doing all that is possible to increase election access not discourage it.

Megan Angelos Eunson
Self, customer success manager
Houston, TX

Please stop trying to greatly limit voting rights in Texas. Everyone who is eligible to vote should not have that right infringed
upon.

John Skeels, Esq.
Self
Kennedale, TX

There is no statistically significant fraud in elections and penalties are already steep. Voting should be encouraged and made
easier and not more difficult. Barriers to voting in any form results in disenfranchisement of voters across the political spectrum.
These restrictions are baldly political and based upon the lie of wide-spread fraud in Texas elections. I strongly oppose this
proposed legislation and believe that mail-in voting, expanded early voting times, additional polling locations, and expansion of
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proposed legislation      5:21-cv-00844-XR
                     and believe                    Document
                                  that mail-in voting,          117-4
                                                       expanded early     Filed
                                                                      voting    11/15/21
                                                                             times, additionalPage
                                                                                               polling494  of 554and expansion of
                                                                                                       locations,
the types of permissible identification should be enacted to encourage, not discourage, participation in our democracy. This
proposed legislation is shameful.

Gerald Welty, Mr.
N/A
Cibolo, TX

The criminal penalties for fraud and cheating in our election system need to be as strong as we can make them. I'm saying they
need to be felony grade penalties. George Soros and Bill Gates can pay the misdemeanor penalties all day long - a good
investment for their cause - the destruction of America. Also DPS should be called in immediately when crimes are committed
and the accused should be arrested and taken into custody. The accuser should not have to be penalized by taking a criminal to
court and then ask for re-imbursement.

Jan Bailey
Armour of God Prison Ministry
Red Oak, TX

I am in complete support of all election Integrity bills, please see that they pass it's one of the most crucial issues in our nation
today. I think it's ridiculous that we have to have identification to do anything including writing a check yet Democrats do not
want us to show identification when voting for the most crucial officials in our nation and State. Really mixed up thinking!

Kimberely Durall
Self/Teacher
Plano, TX

Creating barriers to working citizens is unethical. Providing safe access to polls without fear of intimidation from other parties is
a right, not a privilege.

Ralph Huffman
Self - Sales Manager
Frisco, TX

I am in favor of this bill because the citizens deserve fair and honest elections. The one vote per eligible voter rule should not
require debate. There is nothing discriminatory in this bill. My hope is that it will pass both the Senate and House and be signed
into law by the Governor.

Lori Mitchell
Self- Flight Attendant
Livingston, TX

Strange there was no fraud in the most recent election, yet you feel compelled to making voting more difficult (which mostly
affects minority and disabled voters), and have completely fell into the conspiracy rabbit hole with former President Trump. It’s
astonishing what you’re trying to accomplish in this regard rather than take care of the citizens in Texas by concentrating on
Medicaid expansion or the Texas power grid. This is such an embarrassment to our state. Shameful.

Glenn Meter
self
Austin, TX
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Austin, TX

This bill does not enhance election integrity, security, nor prevent fraud. Instead if blocks citizens from expressing their hard-
earned right to vote. With only 52% of eligible voters showing up in 2020, and turnout for recent gubernatorial elections in the
20s, we should be encouraging MORE people to vote instead of less. Instead SB1 is trying to limit voting. There's nothing
 "Republic"-an about that.

Jake Billingsley, Mr.
Self - Disabled Farmer
Llano, TX

It is shameful that more than thirty years after the Americans With Disabilities Act became the law of our land that the Texas
House or Representatives continues to refuse to comply with the ADA Title iI which applies to all State and Local Governments,
including their Legislatures.

The Texas House of Representatives has refuse me and all of the Texas Disability Community the ADA Civil Rights for
Accommodations and Modifications to House Rules so that we may adequately participate remotely in this hearing. This is
neither an excessive Administrative nor Financial Burden on the Texas House of Representatives. The Texas House is callously
violating our ADA Civil Rights.

This is especially egregious when this Hearing deals this Bill which would make voting for the Texas Disability Community
much more difficult and thus erodes our Right To Vote. The Texas House refuses to allow us to participate in this process in ways
which would allow us to adequately have the same impact as those who are able to personally attend hearings because they do not
have Disabilities which make it very difficult if not impossible to attend in person.

The prejudice agains the Disabled exhibited by the Texas House of Representatives by its refusal to comply with the ADA in its
own House Rules, also makes it impossible for the Texas House to craft adequate Disability legislation of any kind, as evidenced
by the prejudice towards the Disabled in this Bill. This House has almost no clue about the harm it will inflict on the Disability
Community if it passes this Bill which restricts the Right To Vote of Disabled Texans.

In order to submit this statement to this Hearing, I have to acknowledge that submitting false information could constitute a
criminal offense under Section 305.021, Government Code, and other law. Why then have the Speaker, the General Counsel, and
many esteemed Members of this House refused to reply to my Complaint to them in April 2021 that the ADA Coordinator of the
House had submitted false information to the General Counsel and House Members that I had initiated a Federal legal process,
and ADA Accommodation Request, to the ADA Coordinator?

If this House is so concerned with virtually non-existent election fraud, why are you not concerned when your ADA Coordinator
fabricates a fraud which violators my Disability Rights, should be considered a criminal offense, and which has done harm to my
condition?

This House shows the same lack of concern when it introduces Bills which deprive the Disability Community of adequate access
to Vote without unnecessary obstacles.

Please reject this Bill which is an attempt to fix what is not broken and in so doing breaks the ADA Title II \by impeding Disabled
Texans when they try to exercise their Constitutional Right to Vote.

Thank you

Dorothy Douglas
Self
Dallas, TX

We should not make it harder for people to vote. That is exactly what thousands of people fought against back when this country
was first establishing its roots. We need to make it more accessible for the population if we truly value the fairness and equality of
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was first establishing      5:21-cv-00844-XR
                       its roots. We need to make itDocument    117-4
                                                     more accessible      Filed
                                                                     for the    11/15/21
                                                                             population       Pagevalue
                                                                                        if we truly 496the
                                                                                                        of fairness
                                                                                                           554 and equality of
a democratic system.

Gail Payne
Me
Corinth, TX

I am opposed to SB 1. We do not have a problem with voting integrity in TX, and we Texans know it. We also know this bill is an
effort to pander to the Republican Right. We are not stupid. It is pretty clear.

Prerna Bhat
self
Leander, TX

This past year we had unprecedented turnout in Texas, with over 11 million voters – 66% of our 17 million registered voters -
casting their ballots. I was running a Get Out the Vote program for the Asian American and Pacific Islander community, and we
similarly saw incredible turnout from this community – over an 88% increase between 2016 and 2020, with over 470,000 AAPIs
voting – largely concentrated during Early Voting that gave increased access to members of our community to exercise their right
to vote.

The Texas COVID epidemic highlights the need for safer and accessible methods of voting more than ever. We need the safer
options of expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. Texans of all
backgrounds and parties utilized these options. This is what Texans want.

Additionally, the lack of online voter registration in Texas makes it incredibly challenging to ensure that the right to vote is
availed of by all those Constitutionally able to do so. Significant resources – volunteer time, public funding – are expended to
train VDRs (who work incredibly hard and without compensation under our current system) and physically go out into
communities and register individuals. Texas is one of just 10 states that do not offer online voter registration, pushing us towards
the end of the list of voter accessibility. We should take this opportunity to lead in voter access, rather than trailing behind so
many other states. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the
voter registration rolls, as well as reduce costs. Our system of registration and voting is antiquated and presents clear barriers –
and rather than building these barriers higher we should be working to dismantle them, to ensure the right to vote to all who are
eligible.

Additionally, we should not let innocent and simple mistakes prevent a voter from being able to make their voice heard – voting
is tricky, and folks from young to old may fill out their ballot incorrectly. To that end, we should provide ample opportunity for
individuals to correct said ballots. I hope to see this legislation create a complete cure process for applications for mail ballots and
for returned mail ballots. SB 1 added the ability to cure incomplete applications or ballots to the electronic ballot tracking system
approved in the 87th regular session. However, House action can add a way to alert voters of the need for a cure and give clear
instructions for making sure their vote counts; as well as make the process uniform in all counties.

Overall, I request that the committee acknowledge the magnitude of existing Election Code safeguards and transparency, and
focus on solutions for all voters that help restore the level of trust in Texas elections and increase participation in our elections
and thereby our democracy.

Tom Lennon
Self
Katy, TX

Stop the madness. Keep the focus on making it easier for Texans to vote. Make Texas the state that others admire for having the
highest voter turnout. This bill does not make it happen.

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Mary James
Self
Wylie, TX

I taught in a title I school in TX and saw the impact having access to a polling place made on our community. Limiting times,
locations, and putting up further barriers to our amendment right to vote is unacceptable. Texas can and must do better than this
bill

Margaret Uthman, MD
None
Houston, TX

As a longtime resident of Texas, I am voicing my strong opposition to SB1 and will remember this the next time I vote.

Kathy Countiss
Self citizen of USA
El Paso, TX

I am for easy to vote and hard to cheat!

Laura Perez-Boston
Workers Defense
Houston, TX

Against

Ana Gonzalez
Mi Familia Vota
Houston, TX

I am testifying in opposition of SB1 and HB3 today because it is ridiculous that we are wasting valuable time and money
discussing bills that aim to suppress our democracy, rather than focusing on the Texans that are dying daily from Covid-19,
supporting our overwhelmed healthcare providers, and improving our failing education system. Students are risking their health
and their family’s well-being in order to receive an education during a global pandemic and frontline workers have been risking
their lives for over a year, yet many of our lawmakers and state “leaders” are fixating on an issue created by the hateful and
partisan rhetoric of those who fear the political power of Latino, Black, AAPI, and allied communities.

I thank all of our Texas legislators and their teams that are working tirelessly to protect our voice and right to vote, while at the
same time trying to guide us out of this pandemic. All others will be remembered as those who stood in the way of progress and
neglected the well-being of their constituents in an attempt to hold on to their power. Texans will remember who stood by them
and who dedicated their time in state office working to silencing our communities.

We need the ability to voice our concerns and demand accountability through equitable voting practices. This attempt to suppress
our right to vote has only made our commitment and community partnerships stronger. We will continue to work against
discriminatory practices until SB 1 and HB 3 are disregarded and the focus is shifted to making voting more accessible and other
urgent issues. Thank you for your tim

Katherine Hoover
Self, retired
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Self, retired
Galveston, TX

I am a Texas resident, taxpayer, voter, volunteer deputy voter registrar in Galveston county . I am outraged at what SB1 is
attempting to do to Texas citizens right to vote.

The provision that would require voters applying for mail in ballots to remember what ID # they used when they registered to
vote is ridulously burdensome. Be it 2 months ago or 40 years ago. In SB1, if the number on the mail in ballot application (Texas
ID or last 4 digits of SSN) doesn't match the number used on the registration form, their application will be rejected.

The authorization of untrained and unaffiliated poll watchers who can disrupt election sites AND the watchers are allowed "one
intimidation" before the election judge can remove them is an invitation to disruption and heightened stress. At a minimum, poll
watchers should be trained and be "hands off" actual ballots which must be handled only by authorized election workers.

And banning voting from vehicles unless you are disabled and banning drive through is a travesty. Texas State Government
should be encouraging all citizens to vote. I spent my career in the oil industry where many people work 12 hour shifts. The
ability to vote from your car as you drive through a polling site is a huge improvement.

And a complete "ballot curing" process needs to be added to ensure that mail in votes are counted.

Do the right thing and vote NO on SB1/HB3 as currently written.

Carlos Montana, Mr.
self, computer systems administrator
El Paso, TX

Dear sirs:
I would like to register my opposition to the measures being discussed and voted on in the current legislative session to limit the
right to vote.
In any true democracy the ability to vote should be expanded, not limited based on arbitrary considerations based on partisan
advantage. That is completely shameful. Please act with civic responsabilty.

Sade Udoetuk, Dr.
Self
Pearland, TX

I am in opposition to this bill as it is a tactic of voter suppression and is antidemocracy and anti American.

Yvonne Myles
Self, wellness coach
Houston, TX

Texas needs election laws that enable all eligible voters to cast ballots. Democracy is best served when more people participate in
the process. Current voting laws are effective in preventing fraud and prosecuting uneligible voters who cast ballots. With the
spread of COVID and the most recent variant, jurisdictions need flexibility to ensure voter safety and health. Innovative
approaches such as extended early voting, longer voting hours and centralized drop-off boxes are common sense solutions that
will build voter participation and confidence in outcomes. I urge consideration of these measures to make elections fair.

MICHAEL MILLER
Self
AUSTIN,
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AUSTIN, TX

This is an unnecessary burden on the voters of Texas. I vehemently oppose this voter suppression effort. Do not restrict Texans
voting rights and limit our abilities to select who we want to represent us.

Lesa Schaffer
Self
Burleson, TX

It is very important to have accurate voting rolls, and it’s vital to have voter identification. We are required to have ID’s to get into
amusement parks, open a bank account, cash a check, and a plethora of other everyday activities. There is no voter suppression
asking for an ID. That is only an excuse that is being used to oppose voter integrity.

Debora Herron
Self
Arlington, TX

I’m so against this bill. I feel that minorities will be left behind. After the most secure election and audited election ever this bill
actually is a joke.

Rosa Brand
Self
Conroe, TX

We have I.D. and protocols for driving a car, traveling on an airplane, applying for social security, and even for employment. So
why wouldn't our elections require protocols with checks and balances and I.D.? We have to have a way to secure our elections,
so that we can know our votes count and are not nullified by bad actors. I am in full support of this bill, and request that those
involved in moving this measure forward to consider the citizens who just want the truth, wherever it may lie. Election integrity
isn't just about one party or one election. It's about the truth.

Joelle Foley
Self - Retired
Kingwood, TX

I am strongly opposed to added baloney that will impede the rights of all Texans to equal and easy access to vote in all elections
in the State of Texas. Your job as elected officials in this state is to make it easier for everyone to vote, rights granted to all of us
by the United States.

My family has been in this state since 1832 on a land grant from Stephen F. Austin. Although not part of the Original 300, my
ancestor was in the next phase of settlers. We fought then for the freedom at the Battle of San Jacinto, and I spent my early years
having free access to the Alamo after hours when my grandmother was the receptionist there. I’ve got Texas blood, sweat and
tears in my DNA. It’s YOUR job to protect that, not try to take it away.

So I can see a clear path for all of the Texas legislature - both houses - to make it easier for Texans to vote…..easy access, more
access, longer hours, drop boxes! Sit in the car and vote! Anything yiu can think of to make it easier, not harder. No impediments.
Your job is to be a good citizen. Please start that process now. Thank you.

Gilbert Deanda, Mr
Self
San Antonio, TX
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San Antonio, TX

I’m against the idea to have the Republican government watching over my vote and to have them to have the authorities to
overwrite my or anyone else vote just because they feel there was a voter fraud. I trust the people who work with the voting
machine then I do with the Republican.

Elizabeth Hanks
Self
Houston, TX

I am writing in opposition to SB1. There was no evidence of significant voter fraud in the past elections, so there’s nothing
needing to be address here. Moreover, we should be making it easier for people to vote, not harder. Texas already has extremely
restrictive voting laws and this bill will hurt disabled communities tremendously. As a poll worker and a volunteer voter
protection attorney, I am especially opposed to the new requirements for people to request help when reading their ballot. Please
do not pass this harmful law.

Julie Ford
Self/ taxpayer
Fort Worth, TX

No gerrymandering and make it easier to vote. Safe ,secure elections

Rishia Phillips
Self/ teacher
Denton, TX

Voting should be made easier, not harder. No one should be able to intimidate election workers or voters. Urban areas need more
access to places to vote, not less.

Barbara Mason, Dr
Self, retired
Austin, TX

There should be required training for poll watchers.

Peggy Johnson
Self - Marketing
San Antonio, TX

This bill is a blatant Republican power grab and a travesty. The 2020 elections had no provable fraud; this bill is an overreaction
and a tacit support of Trump’s Big Lie. Texas Republican legislators should be ashamed.

Mary Levien
Self
Woodsboro, TX

Secure the election across the state!!
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Secure the election across the state!!
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John Walker
Mr. and Mrs.
Austin, TX

I firmly support SB 1. No bill is perfect and this bill is not strong enough. HOWEVER, it is a much needed improvement so I
urge that you pass this bill out immediately.

Thank you.

Steven Meadows
Self
Santa Fe, TX

I opposed this bill and how it is absolutely unnecessary.

James Friedley
Self
Plano, TX

I oppose SB 1. This bill is based on a lie and is being used to suppress the voting rights of minorities. There hasn't been any
credible evidence that the 2020 election cycle was subject to tampering.

Amy Bennett
Self—healthcare worker
McKinney, TX

I am opposed to this bill because it limits the rights of Texans to vote. Voting rights are the most important rights of all. They are
the foundation upon which all of our other rights depend. I support leaders who fight FOR my voting rights. SB1 is voter
suppression.

Mindy Lee
RAC-TX
Austin, TX

I am writing you to share my concern and strong opposition to SB1. The first election I was eligible to vote for was when I turned
18 years old while I was an undergraduate student at George Washington University in Washington, DC. I remember the ease of
voting the same day at a local polling station near campus and the excitement to take part in the democratic process. This is a
value that has been instilled in my by generations of my Jewish American family who resettled in the U.S. following the pogroms
in Easter Europe in the late 19th century.

The first election (federal, state or local) that I missed was when I moved back to my home-state of Texas in October 2014 and I
missed the voter registration cut-off deadline to vote that November. I was confused by TX voting laws and the barriers to
registering to vote. While I was able to vote in future elections as a Travis county resident, I also committed to being trained as a
volunteer deputy registrar and election worker to ensure that no matter who my neighbors intend to vote for, they understand and
are able to have access to the ballot and carry out their sacred duty as citizens. In my professional life, I have worked on many
State Department grant programs with international students, scholars, and professionals. In addition to promoting mutual
understanding between people of the United States and other countries, the programs almost always emphasize , one of the goals
is always share American values of democracy and civic engagement. It is disappointing and an embarrassment that Texas leads
in voter suppression and that SB1 is part of a coordinated effort to inhibit rather than enable participation in our democracy.
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in voter suppression      5:21-cv-00844-XR
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                              SB1 is part of a coordinated effort117-4
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                                                                                               participation   our democracy.

I know from personal experience and scientific research that SB1 will make voting more difficult for many people, most
especially people with disabilities, the elderly, people who lack access to transportation, working people who do not have control
over their schedules, and people of color. The Committee on Constitutional Rights and Remedies should be working to protect the
right to vote, rather than attacking it, and remedy the barriers to voting rather than creating new ones. Please show that you are
committed to truth and justice by killing this bill and committing yourselves to strengthening American democracy rather than
dismantling it.

Deborah Riordan
Self
Bandera, TX

Vote No. Protect Our Voting Rights

Deboir Quick
Self
Houston, TX

There was no election fraud or interference in the past 2020 election. This SB 1 is a display of white fear. This SB 1 is a display
of voter suppression. Republicans are openly showing their white fear by changing the rules to block People of Color, mainly
African Americans, from voting. They are frightened because the last census shows that as they are shrinking in population as
POC are growing in their population. They realize that the only way to hold onto their white majority rule is to gerrymander,
cheat and outright lie to keep Texas red/Republican. They cannot offer election platforms and/or policies that will attract more
people of color because they know that their hate and fear is unappealing so their only course of action is to lie, cheat and steal in
order to hold onto Republican rule. The 2020 election, particularly in Texas, was certified as being legitimate. There were very
few cases of attempted election fraud and, ironically, they were from Republicans. It is ironic that these so-called Christians are
lying, cheating and stealing their way to hold onto majority control. Obviously, their so-called Christian faith is being revealed as
hypocrisy. One cannot propose to love their neighbor in the name of Jesus and in the same breath boldly lie in the face of facts.
One cannot openly lie, cheat and steal and expect that God/Christ will remain silent. These Republicans who wrongly think that
these efforts to lie, cheat and steal the next election have successfully revealed themselves as enemies of Christ. Their fraud and
hypocrisy will not give them the advantages that they think they will gain. Sadly, by their own efforts, they have lost their
majority rule in Texas but Our Lord has not revealed this yet. Every action has a reaction as basic physics teaches us. Their
actions of hate and fear will destroy themselves. I would think that campaigning with a platform of love rather than hate and fear
would increase their numbers. Maybe they should consider that love rather than separation and fear can increase their population.
Their Christian teaching should remind them that nothing grows in hate and fear. I truly pray that these hate-filled and
manipulated people have their eyes opened and embrace the truth rather than the evil lie that there was fraud and interference in
this past election.

Kim Pollard-Smith
Self. Voter.
Austin, TX

NO to SB1. Keep what was in place in 2020 elections. Those practices resulted in the greatest voter turn out (which IS what we
want) and the “most secure election in history” (which IS ALSO what we want). Don’t fix what’s not broken. Please don’t use a
big lie as an excuse to pull a power play; instead legislate with integrity. 2020 gave us the recipe for best practices, turnout and
voting security. A true democracy demands People Over Party. Again, vote NO on SB1.

Claire Armstrong
Self
League City, TX
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Vote. To support voters rights.

diana donatti, Mrs
Self
Houston, TX

This is a NON-Issue, clearly Republicans now fear urban and minority voters.
This also hinders the ability of elderly, poor, pregnant and disabled voters, in the MIDST of COVID19 pandemic.
Majority of Texans oppose this sham bill, GOP clearly TRANSPARENTLY has become the anti-democracy party.
DO BETTER, Texas has real problems: solve those!

Lisa OToole
Self
Richmond, TX

I am voicing my opinion in opposition of this restrictive house bill. It is in no way representative of our constitutional voting
rights and a clear message from the GOP the intention of manipulation of the voter process.

Melinda Luevanos
Self
El Paso, TX

There is absolutely no need for this bill. This bill is nothing but a ploy by one political party to stay in power. It does not represent
all of Texas and it is not in the best interest of Texas citizens. All it is doing is making it harder for those who are in lower income
tax brackets to vote. This bill directly affects people of color. Why shouldn’t we make it easier to vote? Why should it be so hard
to do some thing that we value so highly in this country? We pride ourselves on being the land of the free and the home of the
brave and yet you’re trying to make it harder to vote. We are proud to tell people about our voting rights and yet this year when
we celebrate 101 years of women being given the right to vote the Texas legislature decides to make it harder to vote? There is
absolutely no reason for poll watchers to have so much authority over the right to vote. I deserve to be able to vote at a time that
works best for me and not have to be intimidated by someone who wants me to vote like them. Stop pandering to only half of the
state. We are not all Republicans. We are not all white. We are not all upper middle class. We are not all like you. I am asking
you to vote against this bill to not pass it on the committee and to do the right thing for every single Texan, not just the ones that
look and vote like you.

Lucinda Yeglin
Myself
Spring, TX

Horrible - what we have now works. By changing the rules for handicap voting you have in effect hindered my voting- an old
white lady

Ruben Paquian
None
El Paso, TX

Oppose


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Ian Mckee, Mr.
Self Maintenance worker for Alvin ISD
Alvin, TX

I Support SB1 and protecting our election integrity

Adrian O'Toole, Mr.
Self Cyber Security
Richmond, TX

This is opposed to our right to vote. This is a clear and present danger to our democracy. Furthermore, it is absolutely imperative
that we do NOT allow our elected officials to manipulate the voting process to what they believe will help them win. It is
disgusting to see voter suppression in action with this attempted silencing of our voices. We as Texans will NOT STAND FOR
THIS AT ALL.

charles solomon jr
self movie producer
dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Patricia Chinn
Self
Irving, TX

This is a voter suppression bill and has NOTHING to do with election integrity. Might I suggest to the GOP to come up with
popular policies rather than having to stoop so low as to rig a vote through voter suppression.

Lilly Miles
Self
Richardson, TX

Please do not pass the most awful bill!

Eileen Roybal
Self
Georgetown, TX

Ridiculous! Vote no


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Patricia Sumrow
Self
Frisco, TX

Please do not support this bill. (1) There was no evidence of significant voter fraud in the past elections, so there’s nothing to fix,
(2) we should be making it easier for people to vote, not harder, (3) Texas already has some of the most restrictive voting laws in
the country. The narrative that this bill makes it “easy to vote and hard to cheat” is a sad PR spin based on falsehoods and bad
faith political agendas. There are numerous problems to solve in our state. Voter fraud isn’t one of them.

Eileen Wolfard
Self
Lago Vista, TX

I am against SB1. SB1 is a voter suppression bill that is based on the big lie. Our 2020 election was fair and valid. Ruling in favor
of this bill condones the lie!

Cindy Noland
Faith Action for Women in Need
Austin, TX

This bill in not about election integrity, and more than Abbott's anti-mask mandate is about caring for the lives of Texans.
Republicans can only hold power by cheating voters out of the power of the vote. Thus Texas is the most gerrymandered state in
the Union, thus they will constantly seek to limit voting where there's absolutely no reason to. It undermines our Freedom and
Liberty. We are Patriots and we want our right to vote available and accessible.

Mathew Bartley
Self - teacher
Leander, TX

I do not understand how limiting options for voting has anything to do with election integrity. We need to provide more
opportunities for people to vote - we need to hear every voice. There is just no good reason to pass this bill.

Scott McCarter
Disabled Voters
Austin, TX

If you believe that voting is a right (as well as the presumption of innocence) why not extend both to the disabled voters in Texas?
I’m afraid that this bill infringes on the rights of disabled people by requiring that they explain (to whom? and who decides if the
explanation is insufficient?) their disabilities in order to cast their ballot. Please oppose this bill!

Amy Burton
self - retired
Houston, TX

I am completely opposed to this effort to make voting more difficult. With no significant voter fraud found in the 2020 elections,
why are you wasting time and money doing this? Totally opposed.


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Jean Genevie
Myself
Laguna Park, TX

HB1 is nothing but a voter suppression bill. Put it aside and allow for free and fair elections. No Jim Crow 2 for Texas!

Francene Rose, Miss
Self, Educator
Seguin, TX

Proposed bill SB1 is a waste of resources and time as it goes against best practices in election management and judicial
precedent. There has been no meaningful evidence of election fraud and is a thinly- veiled attempt to fustrated lawful voting and
public engagement.
I would like to go on record in opposition of this bill.
Texas as a state that most closely mirrors a Direct Democracy in it's goverance has a responsibility to be fair and equitable in it's
voting guidance. This bill is in no way fair and equitable and instead falls back on the same bias in voting policy evident in the
Jim Crow era. Lawmakers supporting these measures will be a footnote in history for their regressive records, just like the Bull
Conners before them.

Sandra Marchant
Self
Dallas, TX

#1 request the committee to focus on solutions for all voters and help restore the level of trust.

#2 acknowledge the magnitude of existing election code safeguards and transparency

#3 Make the process of every voter simply without deliberate provisions to exclude

#4 Include a complete process for applications for mail ballots and for the return mail ballots

Robert Lewis
Self technology coach
Frisco, TX

There is no need for this bill which will restrict voter rights, there is virtually no voter fraud in Texas.

richard wetterauer
self
katy, TX

Just to be clear......I am AGAINST this bill.......Voting Rights are an important part of America.......I guess you don't think that,
since your bill is targeted at reducing the rights of selected voters. Trying to say that your bill improves voting security is PURE
BS, and I believe that you know it

Why not just let everyone vote without hinderance and let the chips fall

Valerie Ceciliano
Self
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Self
San Antonio, TX

No voter suppression

Anita Leonard
Self
Beaumont, TX

Support SB 1
Texan here ??

Deborah Manes
Self/retired ADA
Lumberton, TX

I strenuously object to "my" elected officials making any efforts that might restrict the right of any Texan to vote. This is racist
and hateful and blatantly unamerican. Such cowardly behavior is sadly what I have come to expect from the Texas legislature.
Please be assured I VOTE.

Joyce Doyle
self
New Braunfels, TX

Please vote against SB1. I am an Election Judge and am concerned about the power of partisan poll watchers. They should
recevie non-partisan training and take an oath to not interfere with voting and to remain completely non-partisan at the polls.
Also there should be way for individual voters to cure their votes if necessary.

Jeni Marcotte, Mrs.
Self
Pinehurst, TX

An ID with a legally vetted signature should be used for in person and mail in voting. No carrier envelopes should be returnable
so signature defects can be corrected. Should be unlawful to distribute unsolicited applications for mail in ballots that have any
portion already filled in. Attendants and caregivers should not be exempt from signing the carrier envelope. This should be
removed from the bill.

Margarita Brashear
Self - speech language pathologist
Brownsville, TX

I oppose the bill as it suppresses voting from minorities

Jacinda Valencia
Self
Pearland, TX

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I live in Brazoria County and I’ve worked the elections as an election judge, poll worker, ballot board, etc. I’ve also volunteered
to get voters engaged by knocking on my neighbors doors and reminding them about critical dates. Civic engagement is what
pulled me into getting involved with my community and caring about our right to vote while getting engaged in the community.
The criminal offenses could easily be applied to local community, students, and volunteers who are genuinely trying to get more
people interested in getting involved in the process. The elections process is built with checks and balances to assure a fair
election. I urge you to oppose this bill since it is an attack on our voting rights.

Ellen Theilen
Self/PA
Farmers Branch, TX

I do not want our mighty Republic to be a memory and sung about in ballads to our grandchildren and great grandchildren. That
is what will happen if we do not stop the globalists with the help of big pockets to destroy our liberties and our right to choose our
own path. Elections are key to maintaining the govt our forefathers envisioned: we shall have a voice and it shall be a nation ruled
by these voices. Those that would illegallly constrain this precious right should have the most severe penalties imaginable. Would
it not be treason to take away our voice, our liberty and our right to elect those that we see the most fit? Paper ballots only, closely
guarded process by both parties and severe penalties to those caught defrauding our right to vote and our elections.

Sandra McBride
Self
San Antonio, TX

Support

Judith Reynolds
Self—retired
Austin, TX

Hello, I am a trained VDR in Texas, I have been a poll worker in Texas, and I worked a number of elections as an election judge
in my former state, Oklahoma. My grandmother was a poll worker in Iowa for many years. Based on my experience, and on my
30+ years as a member of the League of Women Voters, I believe that widespread election fraud is not a problem in our
country—in fact, voter fraud is rare. However, I am concerned about allowing poll watchers without training or limitations into
the polling place. As a worker, I want to feel safe on Election Day, and I do not want voters to be discouraged from voting or
intimidated while at the polling site. As SB 1is amended in the Texas legislature, I hope provisions that limit the number and
activity of poll watchers will be included. I also hope that encouraging full-participation in all elections by all Texans will be the
goal that guides crafting this important voting legislation.
Sincerely,
Judith Reynolds
Austin, TX

Glenda Peters
Self
Grandview, TX

I have worked elections for decades, and have only seen a few things that made me uncomfortable. My biggest problem with SB
1 is the poll watcher change. Strangers should not have free rein inside polls. They can sit against wall out of the way like they
have done for the 5 decades I have worked. Republicans only want this change to suppress voter turn out. I am so disappointed
in Republicans in Texas .


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Lindsey Boyd
Self
Georgetown, TX

Data shows us that there is no widespread voter fraud and our leadership knows this but continues to peddle lies to constituents.
We should be looking for ways to expand the ability for people to vote and not ways to suppress this. Not to mention, create
criminal penalties when we already have a broken justice system. This will scare away voters that don’t understand the rules and
implications.

Hala Selby
Self
Wylie, TX

The right to vote is a right l. Stop efforts to suppress voices that don’t agree with your ideology

SHARON DORMAN
Self
DALLAS, TX

Our system of democracy depends on honor and integrity. Working to steal an election because your party wont win except by
illegal activities, such as gerrymandering, proves you are not worthy of citizenship, much less the honor of representing any
constituent

Lee Daugherty
Self
Dallas, TX

You fucking fascists

Jessica Johnson
Self, Preschool Director
Austin, TX

This bill is extreme and unnecessary and damaging to the democratic process in Texas. Please do not pass this bill.

Erika Hatfield
self
Heath, TX

I support this bill.
In Texas the AG has 534 Successfully prosecuted election fraud offenses against 155 individuals by the Office of the Attorney
General since 2005.
In Texas 510 is the number of pending offenses against 43 defendants, currently pending prosecution.
In Texas, 386 is the number of currently active election fraud investigations.
Election fraud is REAL and both parties are culprits.
It MUST end and the penalties need to dramatically increase for it to stop.


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Susan Jones
Self, teacher
Waco, TX

I oppose this bill. Participation in our democratic society is for all the people, not just the ones we choose to allow or agree with.
We must encourage voters from all walks of life, regardless of age, employment, gender, race, etc., and ensure they are able to
vote in the manner best suited to their needs and community. Our state is too large and diverse to fit into simple solutions.

Billy Williams
Self/retired
Amarillo, TX

I am in opposition of SB1. Texas already has the most restrictive voting obstacles in the United States. If this bill passes, we will
be slipping more and more into authoritarian rule. Free and fair elections should be easily accessible to all. There are many states
that have mail in voting with no voter fraud. Come on Texas Republicans, do better.

Sammi Hammers
self
LaPorte, TX

RE SB1 It is certainly unfortunate that I must send my comments AGAIN for these really important issues. I support election
integrity. Having been an election judge for many years - and poll watcher, as well.... I have seen many of the attempts to distort
the vote totals to favor one side. This must be stopped and punishment be instituted for those who break the law. Harris County
is one of the most "fraud capitals in Texas". Being an accountant for most of my life, I understand the necessity of having an audit
to verify results. Most businesses do them annually. Since we see the Democrats fighting so hard to kill this bill, tells me it is of
even greater importance to get it done.

RE HB20 The Constitution's 1st Amendment guarantees our God-given rights to Freedom of speech. No One (especially E-Mail
providers and Social Media) should be able to infringe on that right. We regulate and have controls on other utilities - They
should have restrictions, as well

Carl Hilberg
Self
Fort Worth, TX

There is no evidence of mass voter fraud that occurred in any election. This is nothing but an attempt to suppress the voting rights
of Texans to lock in rule by the party minority of registered voters. TX AG Paxton (R), said the GQP would have lost in Texas in
the 2020 election if his office had not successfully suppressed voting during the pandemic by blocking counties from mailing out
applications for mail-in ballots to all registered voters.
 https://www.newsweek.com/texas-ag-says-trump-wouldve-lost-state-if-it-hadnt-blocked-mail-ballots-applications-being-
1597909

Margaret Dunaway
Self
Austin, TX

Standing with House Democrats in opposition to this bill, the effect of which will lead to broader voter suppression in the state of
Texas. “Preventing voter fraud” is purely a pretext being used here to obfuscate the true motives of the Texas Legislature: to
make it harder for certain constituencies to vote.
I therefore oppose this bill, and expect elected officials in Texas to respect people’s right to vote and not suppress this right under
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I therefore opposeCase     5:21-cv-00844-XR
                   this bill,                       Document
                              and expect elected officials in Texas117-4    Filed
                                                                    to respect    11/15/21
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                                                                                                 vote and notof 554 this right under
                                                                                                             suppress
the guise of reducing voter fraud (a cause for which there is no demonstrated need).

Lorraine Burkhalter
Self
Rockwall, TX

I have not seen any evidence of voter fraud. The 2020 Election was not stolen. This law is an attempt to take peoples voting right
away and make it harder to vote. In the end it won’t save the GOP

David Judd, Rev
Presbyterian Church USA
Longview, TX

As a lifelong Republican I am so appalled that our core principles and encouraging full engagement in our political process, at
being hijacked. We are not tRump disciples or corrupt el voted officials… vote this down. It is not a problem. Our foolishness and
insecurity is so obvious. Stop suppression!!!

Ondine Cleaver
self
Dallas, TX

20,000 new covid cases a day in Texas but Greg Abbott, who just tested positive, banning cities & schools from requiring masks.

16 false addresses on voter registration forms out of 11 million votes in 2020 and you all act like there's a massive fraud problem.
But we know there isn't. Time after time, these claims of fraud have been disproven. See:
https://www.houstonchronicle.com/politics/texas/article/Fact-checking-Texas-lawmaker-s-claim-of-400-16095858.php

If you really love America, and its democracy, do NOT make it harder for people to vote. You should stand tall for your ideas, and
if people don't like them, accept that. The only rigging I see is from law makers trying to take my right to vote away. I am very
angry about this. I hope this Bill does NOT pass.

Crystal Williams
Self
Amarillo, TX

I oppose SB 1.

Massiel Haro
Self
El Paso, TX

Stop trying to make it hard to vote. some people need more allowances than others. By restricting them, you are disenfranchising
the elderly, the poor and discouraging the young from exercising their voice. Let us vote!

Vincent Bradley
Self
Rowlett, TX
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I oppose this bill, due to its provisions that aid in suppressing the votes of all Texans. There was no fraud, and therefore this bill is
not needed. We should expand voting rights, not limit them.

Beverly Hicks
Self
Plano, TX

I oppose SB1. It’s purposely making voting less accessible to Texas citizens. It’s suppressing votes. It’s allowing voter
intimidation. Please do not pass this horrible bill.

Donna Boucher
Self
Houston, TX

Our emphasis should be on making voting more accessible, with appropriate safeguards. I am very much opposed to this bill.

Teri Wylie
Self, Controller/ small business owner
Humble, TX

This year has seen a myriad of change to our nation, including a divisive America. The election numbers don’t make sense to
many of us with forensic an/or math backgrounds. The good news is that this matter is easy to prove through a forensic audit of
the data. We require businesses to have this type of third party audit. It is time to also require a standard check on our elections.
This is a matter that transcends party affiliations and should be one that is supported by all who are interested in fair outcomes.
Because of this, I strongly support this bill and hope that you will hear the voices of the people of the great state of Texas. Let’s
set the bar high for all the other states, leading as we always do. Because it’s not only the best thing for Texas, it’s needed for our
United States to help get integrity back into our elections. Whether you believe integrity to still be there is irrelevant if the people
don’t. And The People don’t. Be on the right side of history with us.

Judith Wenzel, Ms
Self/retired
DALE, TX

Why are you doing this. You KNOW the whole thing is a lie. Shame on them

Dot Haight
Self
Terrell, TX

Show us the proof of fraud. No evidence provided to date. Just fear mongering. Stop this madness. Every citizen has a right to
vote and his/her vote is his/her voice. Do not pass the ‘election integrity’ bill (LOL). Dangerous to a democracy.

Heather Garza
Self
Rosenberg, TX


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I oppose the restrictions placed on Texas citizens by this bill.

George Lutch
Self
North Richland Hills, TX, USA, TX

As a Texas voter, I oppose Senate Bill 1 and ask that you vote against it.
Voting access is already harder in Texas than anywhere else in the nation.
Our legislature should be working with local towns and cities to make access to voting easier, not harder.
Without open access to voting, our country and state are doomed to having elected officials who are not held accountable and do
not work to represent their constituents.
{If you have a personal story of struggles with voting access, or can explain how the new bill would make it harder for you to
vote, add those particulars here.}
Please vote NO on SB 1!

Joey Gidseg, Chair
Texas Democrats with Disabilities Caucus
Austin, TX

Good evening Chair Ashby, Vice-chair Thompson, and members of the committee. Thank you for the opportunity to speak with
you today. I'm Joey Gidseg, and I represent the Texas Democrats with Disabilities Caucus and myself in opposition to SB1. As a
multiply disabled person, I want to remind you that Texas is already one of the hardest places for us to vote and SB1 would make
it even harder. There are many disabilities that can lead to someone misremembering their ID or last 4 digits of their social
security number, transposing one or more digits, or not remembering any of their identifiers altogether. I know both of these
things have been true for me. Additionally, voters may have had an ID or social security card at one point in their lives, but don't
remember what the digits were on it. They can't say that they don't have one, because they did at one point and still do, but not in
their possession, the specifics escaping their memory. Furthermore, voters may remember the digits in all of their identifying
documents but include the last 4 digits of their social security number on their application and their driver's license on their ballot.
There are countless ways this could lead to identifiers that don't match, are left off, or are - or appear to be - inaccurate. All of
these scenarios will lead to disabled voters, voters experiencing homelessness, and voters who are incarcerated but otherwise
eligible to vote to lose this right altogether, and be disenfranchised. The second problem with this provision is that Texans aiming
to vote by mail won't know to include these digital identifiers as there is no requirement that explicit instructions about this
requirement be included on both documents. There is a pattern here in Texas, one that is predatory and cruel. Rather than
celebrate those that take great lengths to fulfill their civic duty to participate in their government by voting, even if it means
waiting until the middle of the night or venturing out to vote at the height of the pandemic in texas, new bills are drafted, with
new barriers, penalties, and punishments for those doing the best with the information they have. These provisions will lead to
nonpartisan discriminatory disenfranchisement of elderly and disabled Texans who have a right to participate and have their votes
count. We should want all eligible voters to participate in our government not work to homogenize Texas voters. We are moving
in the wrong direction - but it doesn't have to be this way. Amend SB1 by adding a requirement for the inclusion of explicit
instructions, written in plain language, for people who want to and plan to vote by mail. Include a cure provision for missing,
misremembered, mismatched, and inaccurate identifiers. Expand 24-hour poll access and drive-through voting throughout the
state - and listen to and collaborate with Disabled Texans. If these are not included, SB1 must be opposed. Thank you.

Chris Cantu
Self
Austin, TX

This is voter suppression. Currently, there is not widespread fraud. There are better ways to have a secure election than what is
being proposed.

Marsha Lutch
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Self
North Richland Hills, TX

As a Texas voter, I oppose Senate Bill 1 and ask that you vote against it.
Voting access is already harder in Texas than anywhere else in the nation.
Our legislature should be working with local towns and cities to make access to voting easier, not harder.
Without open access to voting, our country and state are doomed to having elected officials who are not held accountable and do
not work to represent their constituents.
{If you have a personal story of struggles with voting access, or can explain how the new bill would make it harder for you to
vote, add those particulars here.}
Please vote NO on SB 1!

Jacob Cavazos
Self
San Antonio, TX

This bill is an egregious attempt at voter suppression. Every individual who votes in favor of this bill is the complete opposite of
what the US represents. You all should be passing bills based on infrastructure and on COVID-19 relief but instead you are trying
to pass something that has been proven time and time again as null.

Terri Camara
Self
Dallas, TX

I urge a no vote on this bill. Our elections are already very secure and this bill only seeks to disenfranchise voters, especially
voters of color and the disabled. Also shift workers, who had easier access due to 24 hour voting would be adversely affected.
This is a vote suppression bill and should not be allowed to pass.

Juliana Coffey, Mrs
Self
Bulverde, TX

Do not invent a voter fraud crisis where there is none. Make it easier & more efficient to vote. Open more voting sites. Enable
easier voting by mail. Make Election Day a holiday. Do not make Partisan games out of our right to vote.

Phil Suitt
Self Retired
BUDA, TX

Just want to let my representatives know I support. this Bill

Lakishya Mendoza Greer
Self
Fort Worth, TX

If the election was the most secure in history please leave things as they are. This will put hurdles in front of a lot of citizens
wanting to vote. But, you know that. We should want it easier to vote not harder. More 24 polling places. More poling places.
Auto voter registration for citizens like other countries. Why do we need to register for something we have a right to do
inherently? We should be fixing and making things easier to access. If you can’t to that, leave things alone.
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inherently? We should                          Document
                        fixing and making things             117-4If you
                                                 easier to access.    Filed 11/15/21
                                                                         can’t             Page
                                                                               to that, leave      515
                                                                                              things    of 554
                                                                                                     alone.

Deborah Bailey
NA
Dallas, TX

I vehemently against SB1

Sara Tarver
Self
Richmond, TX

I oppose this bill

Auna Riggs
Self
Dallas, TX

Election bills must be amended to include the following:
Auditable elections with access to all records and equipment.
No computers in polling locations or central count.
Vote tabulation that is solely based on a hand count of paper ballots.
Legitimate voter rolls and voter registration.
Three days of early voting with no gap in between early voting and election day.
No waivers by Secretary of State, Courts, or Governor without legislation voted on by the Texas Legislature.
Fire Keith Ingraham.

Denise Gordon
Self and TX Democratic Veterans
Round Rock, TX

SB1 is unnecessary and is a blatant attempt at Voter Suppression in 2021. Substitute HB3 is a more balanced attempt, but it still
limits the hours for voting, limits drive thru voting for those who need it. Both SB1 and HB 3 attempt to address the issues of
Poll Watchers. From listening to some of the testimony, it seems that there is concern about Central Count and the validity of the
counting process. Dr. Pressley spoke of training 350 Poll Watchers in a two hour training; I am unimpressed with two hours of
training. We poll workers spend at a minimum of 4 hours of training, before each election to perform out duties legally and to the
best of our abilities. I have experienced two poll watchers sent by the same candidate in the November 2020 election; both were
polite, sat in the seat assigned to them, and went to the restroom as needed. The thought of having a poll watcher who is able to
interact with voters, especially harassing' or intimidating them, is totally unacceptable. As a poll worker, we routinely contact the
Elections Office in Williamson County if we have any questions. Please do NOT limit voting hours, Please do NOT limit Drive
through voting! Please do not permit poll watchers to have the ability to cause problems during elections or at Central Count!
We need to make voting easier for all in Texas. Voter fraud, if any exists, is minimal in TX. We do not need to threaten to jail or
fine, or increase penalties for those who attempt to perform their duties while working at polls or during Central Count.
Of note, I did work one election when a person asked to vote, informed us they were not a citizen, but were anxious to vote. We
dutifully gave that person a Provisional Ballot which they used; then we marked the ballot envelope in large, red ink that they
were not a Citizen. Per the law, the ballot was not counted (I asked later), but they got to cast the ballot. Why should that
individual be penalized for wanting to vote; when the ballot wasn't counted? Again, we need to make voting easier, not harder. I
only hope the non-citizen we encountered will one day be able to become a citizen and legally vote, without having been
penalized, jailed, fined, etc., for being enthusiastic and telling the truth about their status. I have been privileged as a VDR to
register several new citizens to vote; they are always very proud!
Final Comment: It was disappointing to note how few committee members actually listened to the testimony today. Are your
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Final Comment: ItCase  5:21-cv-00844-XR
                 was disappointing to note how Document   117-4
                                               few committee       Filed
                                                             members     11/15/21
                                                                      actually listenedPage   516 of 554
                                                                                       to the testimony today. Are your
minds already made up about how you will vote on HB3? Thanks to those members who also asked thoughtful questions.

Michael Tolbert
Smith County Democratic Party
Tyler, TX

The provision allowing poll watchers to interfere with voters will promote more voter intimidation.
The malicious intent of this bill is evident in actions to suppress access to voting in Harris County where minority voters voted in
higher numbers utizing procedures that were safe and secure.
Please voters NAY on SB1.

Kemeiun Finney
Myself
Sulphur Springs, TX

I am opposed to state laws the will have the affect of limiting voting hours, voting days, early voting and methods by which an
American citizen is able to vote. The objective should to increase turnout, not decrease it and the negative affect these so called
 "election integrity" will have that precise effect.

Nicole Polk, Mrs
Self
Lakehills, TX

I am against this bill. It will make it more difficult for Texans to vote. There is no reason to pass this law with these restrictions
because there was no voter fraud in 2020. This bill discriminates against people with disabilities, POC, women, and people who
work odd hours.

Corinne Smith, Pct Chair
Self   Retired
Dallas, TX

Good Evening , I am still watching the public hearing, and I was getting ready to send my documents from my earlier testimony
submitted via a written process. I have a CORRECTION , to the earlier testimony, where I found an error . The atty name was
mis-spelled as Phil Klein > THE CORRECTION IS : By Phill Kline, Director, The Amistad Project of the Thomas More
Society. Time is running out before the committee adjourns, Also a second correction - Texas Voter Alliance and Mention of JJ
Koch on the 44 thumb drives. Hurrying so please forgive me. I wanted to correct my earlier testimony

Zenobia C. Joseph, U.S. Citizen
Self
Austin, TX

1. Technical Recommendation: The Chair closed testimony; refused to re-open; and then asked after the last witness if anyone
wanted to testify on, for, or against the bill. Recommend posting the closing time on future notice(s).

2. SB 1 Recommendations: Replace “near enough to see and hear” with sit or stand 6 feet from voters and election workers to see
and hear the observed activity.

   a. Justification: COVID-19 (2019 Novel Coronavirus) resulted in 6 feet becoming the new norm since on or about March 2020.
Most people comply with distance markers. They can see and hear the activity in grocery stores without incident. An HEB
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Most people comply  Case
                       with5:21-cv-00844-XR
                             distance markers. They Document     117-4
                                                    can see and hear      Filed 11/15/21
                                                                     the activity              Page
                                                                                  in grocery stores   517 of
                                                                                                    without    554 An HEB
                                                                                                            incident.
manager, for example (akin to a poll watcher), stands about 6 feet away watching the line but not obstructing the checkout
process. The same could apply to the polling place. Military members stand an arm’s length apart (“dress-right-dress”) and can
still see and hear the activity.

   b. Implementation: Through Texas Secretary of State, require tape measures and neon or orange tape (like orange cones) as part
of Election Day materials to mark an observation area in the polling place with photos included in the Presiding Judge Manual. A
clearly marked observation zone, square perhaps, would alleviate a poll watcher from looking over a voter’s shoulder in his/her
personal space. Voters would also see the marked area and feel less intimidated if the poll watcher enters the nearby space.

3. Also conduct bipartisan training for poll workers and election workers. See Memorandum sent via email to bill author: From:
zcjsph@aol.com

To: andrew.murr@house.texas.gov <andrew.murr@house.texas.gov>
Cc: Logan.Harrison@house.texas.gov <Logan.Harrison@house.texas.gov>; trent.ashby@house.texas.gov
<trent.ashby@house.texas.gov>; Senfronia.Thompson@house.texas.gov <Senfronia.Thompson@house.texas.gov>;
John.Bucy@house.texas.gov <John.Bucy@house.texas.gov>; Travis.Clardy@house.texas.gov
<Travis.Clardy@house.texas.gov>; Charlie.Geren@house.texas.gov <Charlie.Geren@house.texas.gov>;
jacey.jetton@house.texas.gov <jacey.jetton@house.texas.gov>; ann.johnson@house.texas.gov <ann.johnson@house.texas.gov>;
Stephanie.Klick@house.texas.gov <Stephanie.Klick@house.texas.gov>; brooks.landgraf@house.texas.gov
<brooks.landgraf@house.texas.gov>; Oscar.Longoria@house.texas.gov <Oscar.Longoria@house.texas.gov>;
jm.lozano@house.texas.gov <jm.lozano@house.texas.gov>; joe.moody@house.texas.gov <joe.moody@house.texas.gov>;
victoria.neave@house.texas.gov <victoria.neave@house.texas.gov>; matt.shaheen@house.texas.gov
<matt.shaheen@house.texas.gov>; James.White@house.texas.gov <James.White@house.texas.gov>;
scstate.affairs@senate.texas.gov <scstate.affairs@senate.texas.gov>
Sent: Mon, Jul 12, 2021 8:40 pm

Subject: HB 3 (Election): Title VI Testimony and Poll Watcher Recommendations

Thanks.~zcj

Rick Edwards, Battalion Chief
Self. Fire fighter
Converse, TX

Pass these two pieces of legislation so we can feel secure in the election results.

Ann Palmer
Self retired
El Paso, TX

Stop making it harder to vote! In Texas

Lamar Lawson
Condon of states and self
Windcrest, TX

Please protect our elections.

Penny Kidwell
self SPED Educator
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Killeen, TX

I approve and support all legislation to prevent fraudulent voting in Texas! Please stand behind this bill and pass it!

Edra Bogucki, Mrs
Self, retired
Beaumont, TX

Please ensure that protections are provided for all voters so that we have access to as many ways to vote as possible. I’m in my
late 70’s and often help my older sister, driving her places. So far I’ve been able to drive myself to early voting. It’s getting harder
to get my sister there and voting by mail would really help people like us.

Christopher Doremus
Self
Friendswood, TX

This bill must not pass. Elections must be free and fair and not unfairly disadvantage urban voters, as it currently does.
Partisanship has absolutely no place in conducting and reviewing elections. Both major parties must agree, instead of only one.

Gwendolyn Pauloski, Dr.
self - high school English teacher
Houston, TX

I am a resident of Harris County, which of course is the target of the oddly specific prohibitions and constructions on voting in
this bill. It has been admitted by proponents of this legislation is to suppress the “urban” vote. We had incidents of attempted
intimidation at Black neighborhood polling sites in Houston un 2020 - white folks with guns and pickup trucks. This legislation
seeks to legitimize “poll watcher” vigilantes — perhaps armed to the teeth — breathing down the necks of voters in
neighborhoods they decide need to be “watched.” This behavior — reminiscent of the Texas of a hundred years ago - confederate
Texas - White Man’s Union Texas — Jim Crow Texas — is now plain for all to see, caught on cell phone videos and broadcast to
the world. We will be known as the Southern state that did the most to turn back the hands of time to an uglier, more ignorant
time. You are fooling no one with your “voter fraud” talk — everyone knows you are grasping to maintain control of the state, no
matter the cost. Disabled voters, shift workers, elderly voters, voters without transportation — all will be harmed. I don’t have to
ask what you’re so afraid of; we all know.

Brock Horton
Self
San Antonio, TX

We do not have voter fraud. We are Texas. Elections are safe, secure, and well organized. The purpose of this bill is to suppress
votes. Texas must move beyond the White Supremacy of the last two centuries. This is Texas for All Texans. We have enough
room and opportunity for ALL

Patrick Turner
Self
Fort worth, TX

Making it harder for Texans to vote is abhorrent to democracy. We will remember and vote you out of office


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Victoria Wheeler
Intelligent people in Texas
Victoria, TX

Spend your time on issues that matter and stop this total waste of our money! Elections have integrity so stop pandering to the
crooked base!

Carol Mlak, Ms
Self
McKinney, TX

The only voter suppression in Texas is this bill. Period!

Brianna Higgins, MSSW
self, social worker
Austin, TX

All US citizens have the right to participate in ACCESSIBLE elections and have their vote counted. Rates of fraud are negligible
and often mistakes, so restricting access to voting simply makes it harder for citizens with fewer resources to participate in our
democracy. Please do not allow this bill out of committee.
Restore the Voting Rights Act of 1965!

Anna Turner
Muse
Uvalde, TX

This bill is founded on white supremacy. It needs to be burned.

Janis Linville
Self
Wichita Falls, TX

My right to vote in private should not be taken away by some person who just is there to cause trouble. The elections are secure
and fraud free. I have been voting for 50 years and for the first time I feel threatened just going to the polls. You are just trying to
create problems to keep people from voting. Please do not pass these bills.

Karen Simpson
Self
Houston, TX

Please vote yes for SB 1 to increase election integrity.

Clifford Spencer
Self
Wimberley, TX

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Elections are no longer secure, fair, and honest in our nation and our state. This bill is necessary to protect honest voting by real
registered voters. Only registered legal Americans should be voting. Because of the real voter fraud from the past national
elections people are not longer confident in our election system. If the true will of the voters is so easily manipulated then we
will lose our most important right which is that of being governed by the people. We need this bill to strengthen our election laws
but we must also see severe punishment for those who attempted to steal elections. Please pass this bill.

Michelle Kordak
Self
McKinney, TX

Absolutely against and we are appalled that THIS is the nonsense the TxLg is focusing on! Fix the grid and focus on real things
that matter!

Alan Williams
Self
McKinney, TX

This bill is a disgrace. It is a solution looking for a problem. I was a Republican but no longer. There is nothing more anti
American than making it harder for citizens to vote.

XAVIER RIOS
self teaching
Edinburg, TX

hshzjshaban

Beryl Blalock, Mrs.
Self Retired
Missouri City, TX

This Bill will negatively affect the voting rights of our elderly and minorities who vote by mail and need to have greater access to
ballot and voting opportunities . The 2020 election was the most era free election and does not need these new election
oversights..

Rita Wade
Self. Retired
Humble, TX

We desperately need to preserve voting rights. Polls need to be available and open to everyone when they can go. It’s not safe
voting to restrict places and hours open. It’s restrictive.

Chris Abramson
Self
Spicewood, TX

Why are the members of the Constitutional Rights and Remedies Committee so against local election officials being able to allow
in-person voting before 6am or after 9pm? Is there some reason why farm workers, shift workers, workers with more than one
job, etc.on:
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                               the hours
                                    AM that you are putting into law?
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job, etc. must be restricted                         Document
                             to the hours that you are putting into117-4
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Juan Cruz, SSgt.
educator and retired Air Force veteran
Victoria, TX

The 2020 election was free and fair. There was no massive fraud or stealing of the election results. This bill is a solution without a
problem. Work on fixing our power grid! Remember 2022 and 2024 is coming and the electorate is alot more ethnically diverse.
We are ready to vote each of you out!

Laura Siemers-Kennedy
self
Houston, TX

I am opposed to this bill. We should be making it easier to vote not harder. It is now easier to carry a gun in public than vote in
this State. What does that teach our kids about how to resolve differences? We should be resolving our differences through
civilized debate and democracy. We should be encouraging more people to vote. I have lived in another state where the voter
registration process was simpler and easier. Why do we expire voter registration in this State? Why do we have to show voter ID?
Why does it take a month to get your voter registration instead of instantaneous at the DPS? When is the online registration portal
coming? Why can't we vote by mail in this State? In another state in 2020, I voted by ballot drop box and it was great and so
convenient for working parents. I also voted by mail during the pandemic in another state, which was also very convenient. Why
don't you allow sample ballots to be mailed to all voters? I haven't seen any compelling evidence of election fraud. It is clear that
the goal of SB 1 is to make it more difficult for citizens to vote. As a Harris County resident, I am concerned that the purpose of
this bill is to hinder the efforts of our elected officials in Harris County to expand voting access and make voting convenient for
those who have demanding work schedules. Isn't more people voting the point of democracy?

Ed Sunderland
Ed Sunderland
Flower Mound, TX

I've worked the polls during the last two presidential elections. Democrat and republican leadership don't seen to give a tinkers
dam about our votes and complaints about election fraud. We see it, we complain about it, the Secretary of State ignores us,
Attorney General pushes us aside and those in paid law enforcement throw us out of their offices refusing to give a written
explanation. The GOP Legal department states that a candidate for president "qualify themselves by the fact they swear they are
qualified on the face of the ballot application!" No one checks to see if they have an American mother and father discounting the
US Constitution that requires the candidate be qualified under the article 2 section 1 clause 5. The definition of a natural-born
citizen according to the Law of Nations says in section 212 "the natives or natural-born citizens, are children born of parents, who
are citizens in the country". Read Texas Election Code 273.001 and anywhere you read the word "shall" with regard to "action"
by the Attorney General regarding election fraud, insert the words "at his discretion", or "maybe", or "if I am in the mood", or I
don't deal with the "common man', they are to sit down and shut the hell up! We will run elections how we want to and refuse to
be moved by agitators or complainers. Keith Ingram at the SOS is well known to those of us who have had issues with fraudulent
elections. We know now through data collected and looking at the election numbers in Texas we have been getting hosed for
years. Our votes are thrown away through neglect and apathy and some people wonder why folks don't get involved, now I know
why, what is the point of block walking, making candidate phone calls, sending money when short on cash only to find our votes
are being overwritten electronically and we know it, others know it, but only the tiny front line fraudsters get caught once in a
blue moon and the leaders get away. Someone has to be told to fill out a dead voters ballot to cancel out my vote. Someone has to
get paid who is illegal to fill out a ballot cancelling out another vote and the leaders walk. This has destroyed election integrity
and maybe this will make something happen but after watching years of illegals pour across the Texas border now at an invasion
rate I have doubts about the outcome of this effort. To be effective there has to be criminal consequences for violating the US
Constitution and the problem I see here is I don't think making new laws for a damned thing will be worth a shit if you don't
enforce the laws on the books now!

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susanne theis, Ms
Self
Houston, TX

This bill will take local authority away and allow Political appointees or elected officials to change the will of the voter. It is the
worst kind of voter suppression.

Gordon Love
none
San Marcos, TX

I have not seen any proof of voter fraud in Texas. This bill will make it more difficult for people with disabilities to cast their
vote. Please vote it down.
           GORDON A. LOVE

Jerry Walker, Retired
Convention Of States
Brookeland, TX

With out fair elections none of you have been legally elected..

Sherri Zapinski
Self
Southlake, TX

There was no fraud so why would you take away benefits of easy voting? I oppose this bill

Madison Gallagher
Self teacher
Dayton, TX

Ridiculous nobody wants this

Vanessa Nava
self
houston, TX

No want

Vanessa Nava
self
houston, TX

No want


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Terri Robson
Self
austin, TX

It is outrageous that citizens are being targeted to make ot harder to vote. Everyone should have mandatory voting instead of
restrictions. There is no basis to further restrict as no issues were brought to bear in the last election. There is no fact that supports
additional precautions from something that did not occur. It is a conviction without a crime. Stop the politics and work for your
constituents and not big money doners.

Kathleen O'Connor, Dr.
self - retired
El Paso, TX

There was no fraud. The fixation on nonexistent voter fraud is either delusional or grossly cynical. The only fraud was a handful
of Republicans using their dead mother's absentee ballot. I demand that Texas legislators spend their time, which I pay for,
making it EASIER to vote, not harder. Restrictions on mail-in voting, drive-through voting, 24-hour voting are examples of
Republican efforts to make voting inconvenient. The increased "freedom" of poll watchers is an invitation to voter intimidation:
Texas already had lax restrictions on poll watchers, making this bill a waste of time. Stop wasting the tax dollars of Texans with
these egregious, time-wasting measures. Be real Americans and promote more voting, not less.

Bonnie Mathias
N/A
Dallas, TX

On Monday I listened to the testimony of people FOR the enactment of the voter suppression laws. The Republican appointed
Secretary of State testified the 2020 election was the most secure election in Texas ever!

I heard Senator's quote dialog from 2003 and 2013 and compare them to the current situation. Absolutely NOTHING is the same
as it was 18 years ago or 8 years ago or even 1 year ago. Most of the people testifying against these measures are from rural
counties. Many spoke of cases of voter fraud they witnessed while working the polls. Are these being investigated by that County
or the State? As an election official did that person report the irregularities they witnessed? That is part of the oath an election
officer takes – Section 62.003, Texas Election Code.

There were a few speakers AGAINST the proposals today. Rose Clouston had the best questions and answers as she consistently
turned the question back on the Senator. Strangely enough the Senator had no answers. I heard HOURS of testimony in the House
Committee from people AGAINST the draconian HB20. Many of my friends waited all night to speak. That is how important
our voting rights are. I hope the Senators of this committee will go back and watch the House Committee testimonies of 400 +
constituents. They will hear a much different point of view than they heard today.

As someone quite familiar with elections in Texas I am very concerned about the effects of free reign for poll watchers. Have you
considered what the result will be on our over worked, under paid election officials and on our elections? As the bill is currently
written you will give control of our polling locations and election headquarters to partisan poll watchers. This may not affect
smaller counties but it will most certainly cause upheaval in urban areas. There are a fair number of election judges in Dallas
County that will resign their long-standing positions. Many of our judges are in their 70's and 80's and they no longer are up for
the fight this will surely become. It is increasingly difficult to recruit and retain younger election officials (and by younger, I
mean 40's, 50's and 60's). These election restrictions put more pressure on these officials, now they can go to jail if they say the
wrong thing to a poll watcher. That’s a lot to ask of someone working election day for $18 an hour.

I thought the goal of democracy was participation; to make it simpler for people to register and vote. I am sure that is what many
have fought and died for, the simple right to vote. Think of the Freedom Riders from the 60’s. What if they had given up? Where
would we be now? What if the women suffragettes had given up? Where would we be now? Why do we need these changes?

The Republican
Printed         appointed
        on: August 30, 2021Secretary
                            11:32 AM of State testified the 2020 election was the most secure election in Texas ever!

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The Republican appointed                         Document
                         Secretary of State testified the 2020 117-4    Filed
                                                               election was the11/15/21
                                                                                most securePage   524
                                                                                           election    of 554
                                                                                                    in Texas ever!

Heather Hughes
Self
Houston, TX

I worked as a Precinct Judge in Harris County on election day. There was no election fraud. The extended hours, 24 hour voting
and drive-through voting benefitted shift workers, first responders, elderly voters and people with mobility issues from both
parties. We do not need any new voting restrictions.

Jackie Gaskamp
Self
Houston, TX

I oppose this bill due to its extremely discriminatory and racist roots. The facts have proven fraud is and was minimal and would
not change the outcome of the election. Allowing for 24 hour voting simply gives more voices an opportunity to be heard. This
bill essentially says we only want to hear voices that agree with us and do our best to restrict the opposition. That is not
democracy.

Jennifer Hill
Self
McKinney, TX

There should be NO barriers making it hard for registered citizens to vote. Give up the big lie.

Amanda Erickson
None
Austin, TX

SB1 is nothing more than a supposed solution to a nonexistent problem, written by dark money groups that are trying to retain
power. Texas is notoriously difficult to vote in and this would only make it worse. We see you republicans trying to hold onto
power using voter suppression, gerrymandering, and the like as you have ZERO policies that actually help your constituents. The
Republican Party is seems is actively trying to kill people by weaponizing COVID as well by trying to ban mask mandates. Are
you seriously trying to kill your constituents? It sure seems like it! While allowing for variants to run free here in Texas and
making another more deadly variant likely…. But I digress. We see you and your dark money masters who are pulling the strings
to keep power to those who they pay… the Republican puppets who care about nothing but their pocketbooks and will
disenfranchise more than just the democratic voters who they are targeting but their own constituents who you supposedly serve.
Officially, you people suck.

Elva Curl
Self, self-employed
Dallas, TX

I am opposed to this bill. There has been no evidence of systemic voter fraud and creating more Big Government rules for a
problem that doesn’t exist is not good governance.

Clancy Garvey
Self
Austin, on:
Printed TX August 30, 2021 11:32 AM

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Austin, TX

Disgusting that conservatives in this state can't respect the right to vote. These are not the people that have made Texas great.

Lucy Netherton
Self legal
Houston, TX

I am unequivocally against. Texas has no proven voter fraud as the drafters of this bill know. This is a clear and blatant attempt to
stifle voting in Texas and make unconstitutional bars to equal and fair access to the ballot box by the poor and by minorities.
Shame on you all who vote for this bill.

Shubhada Hooli
Self/pediatric ER physician
Houston, TX

I wish out state spent more time and money doing things to help Texans rather than attacking made up problems. This bill limits
the ability of people like me - your healthcare heroes- from voting. I’m working in one of our state’s busiest ERs. If this bill is
enacted people like me will be seriously hindered from voting because we will be working to save the lives of our fellow Texans
and won’t be off during poll hours to vote. I don’t care if I could apply to vote by mail, I shouldn’t have to. In Florida, where I’m
from, I could apply online for a mail in ballot. I don’t understand why we can’t do this in Texas. Honestly we should want to
make it easier for everyone to vote. We should be doing everything possible to protect the voices of all Texans and encourage
civic participation.

Cori Ferraro
Self.
San Antonio, TX

I strongly oppose this bill. It is unnecessary because there has been no evidence of significant voter fraud in past elections.
Moreover, our state already has restrictive voting laws, and to protect democracy we should be making it easier for people to
vote, not more difficult.

Steve Sapoznik
Self
Houston, TX

Defend democracy in our country.

Kimberly LeBlanc
Self
Austin, TX

To our Texas elected officials:

The Texas COVID epidemic has highlighted the need for safer methods of voting more than ever. We need safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots to ensure all Texans have
access to do the very thing that generations of US military sacrificed their lives in pursuit of protecting: the sacred foundation of
democracy: the vote. Increased access (not reduced access) to practice our enshrined right to vote is what Texans want.

To be effective
Printed         and30,
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                       2021 11:32   serving as a deterrent to voters, it is common sense that all "poll watchers" should receive

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To be effective andCase   5:21-cv-00844-XR
                     to avoid                      Document
                              simply serving as a deterrent      117-4
                                                            to voters, it is Filed
                                                                             common11/15/21
                                                                                     sense that Page
                                                                                                all "poll526 of 554should receive
                                                                                                          watchers"
required additional training and should acknowledge the integrity of the polling space by executing an oath to democracy, similar
to election workers.

As a Texan, I am requesting the committee focus on solutions for ALL Texas voters and help restore the level of trust in Texas
elections. While acknowledging the magnitude of existing Election Code safeguards and transparency that have already made it
so that voter fraud is virtually non-existent in a widespread fashion in Texas. It is clear as day to all Texans paying attention that
SB1 is little more than Shakespearean Theater of the worst kind: it is a solution in search of a problem that quite simply does not
exist.

If our Elected Officials are truly interested in maintaining election integrity and protecting voting rights, as a Texan I am
requesting the following priorities:

Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to cure
incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However, House
action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as well as
make the process uniform in all counties not optional.

Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow blind
voters a way to securely and privately vote. Can you imagine how hard it is to simply cross a busy street if you are blind? Elected
officials should be doing everything they can to make it easier for blind Texans and Texans with disabilities to vote. They should
not be making it harder, especially for voters with disabilities. To ignore this oversight is a voting rights violation that is quite
simply unconscionable.

Last but not least, adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the
voter registration rolls, as well as reduce costs. If increasing the integrity of elections, the accuracy and cost efficiency are the true
motivations behind SB1, it would be absurd for our elected officials to not add electronic voter registration to the omnibus bill.

Brian Shimek
Self
San Antonio, TX

Strongly AGAINST

Brittany Irle
Self
Austin, TX

I oppose this bill, do not pass.

Mari Fontanez
Self - learning facilitator
San Antonio, TX

Limiting mail in voting is a tactic to Surpress votes. There’s no good reason that it shouldn’t be done except that Republicans
have admitted they will lose if they allow it. In a Democratic republic the people should get their chance to vote, with the
majority having the representation. How have we strayed from this ideal so far? Not only that, but rural voters have the luxury
of no lines and ample opportunity where urban voters often wait for hours. It should be mandatory that there are enough polling
places for urban voters to have no wait to vote. And if an identification is required to fulfill our basic duty and right to vote, one
should be provided for us... so as to not cause an undue burden/ poll tax on the less fortunate


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Trevor Moore
Self
Austin, TX

Do not pass this bill. It targets minorities, makes it harder to vote and get to the polls. It makes it even more confusing to register
to vote. I’ve encouraged many people to register in the past and so many of them didn’t even know where to start. Imagine if we
make it harder to help people do so.

Jennifer McGarity
Self
McKinney, TX

Voter fraud is not a legitimate problem. Making it harder for people to vote is wrong. Period.

Tami Zeiner
Self
Arlington, TX

Firmly opposed to SB 1 which will suppress votes and undermine democracy.

Joe Price
Myself and numerous very disappointed friends.
Salado, TX

As has been clearly demonstrated, there was no meaningful fraud or mismanagement in the 2020 election in Texas or any other
state for that matter. Any effort on the part of Republican legislators to sow doubt about " election integrity" is cynical, as every
one of them knows the truth about our elections. Seeking to make it more difficult for the minority populations to exercise their
franchise is destructive to our democracy at its very core. Anyone who supports those efforts needs to examine his or her self and
decide whether they really want to be party to damaging our Constitution, perhaps irreversibly. Our founding fathers would be
appalled as would be any Christian who actually respected the gospel of Christ. Where we need integrity is in the hearts of those
who claim to represent us in our government.

Kathleen Tolbert
Self, operatoe
Bacliff, TX

This bill is very undemocratic and those that support it ate undermining our democracy. We should not be interfering.or.making it
more difficult.for.Texans to vote. There is no verified election fraud to address. Texans should not be cheaters.

Angelica Garcia
Self
Corpus Christi, TX

I want you to STOP suppressing voters!!!

Linda Siemers
Self. Retired
Printed on: August 30, 2021 11:32 AM
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Self. Retired
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Houston, TX

It is unAmerican to make it difficult to vote. We need to expand access. Vote no to SB1.

Steve Maikell
Self
Sweetwater, TX

This is voter suppression and should never pass. Only Hitler would vote for something like this!

Barbara Smith
Self retired
garland, TX

I oppose this bill which is intended to deprive Texans of their constitutionally protected right to vote. There is zero evidence of
election fraud in Texas

Duke Keith
Self / Director of Creative Services
EL PASO, TX

SB 1 is a blatant attempt to influence elections by the party in power in the State legislature. lt allows politics to influence what *
must * be a non-partisan bureaucratic process. The GOP may have a majority in both houses now, but what if it doesn't in the
future? Allowing this influence, regardless of which party runs the legislature, is wrong. This bill must be denied passage.

Paul Thomas
Self
Lancaster, TX

There has never been a more secure election. The amount of hypocrisy is mind-numbing. Whomever vite for this bill is not in
favor of one person one vote, but totally in favor of a particular party winning.

David Crisford
Myself
Clarksville, TX

We have the RIGHT TO VOTE!
ALL OF US!

Angelia Driver
Self, house wife
Richmond, TX

As a concerned citizen of Texas, I do not support this bill. It will make voting harder for the majority of us Texans. Especially the
Texans that are Hispanic and Black citizens. Texans that have to work two or three jobs to make ends meet. This would cancel
their votes out and it’s not okay. I want everyone here in Texas to have the same opportunities and a way to voice their opinions
by voting instead of trying to silence Texans. Please vote against this bill and let’s make Texas a great place instead of a punch
line of aon:
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Vickie Parker
Democratic Precinct chair #125
Richardson, TX

I oppose SB 1

Dee Taylor
Mom
Missouri City, TX

Stoxp screwing around with my voting rights because you're friggin sore losers. This isn't about voting integrity it's about trying
to maintain power as a minority who can't accept losing!!

Debbie Courtney
Self
Fort Worth, TX

I oppose any bill that suppresses votes/voting in any way. Voting in Texas should be just as easy as it is to buy a gun. The people
of Texas should be able to pick the people who represent them, not the other way around. Gerrymandering here is ridiculous and
disgusting. Politicians should win fairly, not by cheating.

Deanna Jeffers
Self
Cleburne, TX

I support this bill

Robert Bokemeyer
Self
Splendora, TX

I oppose this voter suppression bill. One person, one vote. Instead we should be making it easier for citizens to vote. End partisan
gerrymandering, institute a national voting day holiday.

Virginia Vigmostad
Self, unemployed, retired
Haltom City, TX

I am OPPOSED to SB1 and any Bill that looks, acts, or smells like it. We do not need these kinds of laws on our books. Vote NO!

Sandra Boston
Self
Humble, TX


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I believe this bill is not fair for the people. All Americans should have the right to vote.

Michael Meehan
Self
League City, TX

I support the effort to improve the integrity of elections. Both the voting processes and the counting processes should be
improved to ensure that elections are open, fair, and verifiable/auditable. Quoting Joseph Stalin, “Those who vote decide
nothing. Those who count the vote decide everything.”

Susan Strong
Self Caregiver
Houston, TX

There was no election fraud in Texas. This bill is yet another attempt by the GOP to disenfranchise voters (Jim Crow 2.0). Stop
this immediately.

Kevin Haft
Registered faithful and consistent voting citizen
Lewisvillw, TX

Wide spread voter fraud in the 2020 election was a fantasy designed to enable an attempted overthrow of our government on Jan
6. Changing rules instead of working to win hearts and minds is cowardice. Make voting easier and more accessible to all people
everywhere. Encourage participation. Provide for online registration. Make Weekend voting the rule not the exception. Expand
mail in voting efforts. Fight FOR voting NOT against it.

Ali Duffy
self, educator
Lubbock, TX

This is a voter suppression bill, plain and simple. I strongly oppose any measure which would prevent people from being able to
exercise their right to vote. SB1 is wrong. Vote no.

Richard Hirton
Self
Austin, TX

I vehemently oppose this bill of voter suppression and even partisan election tampering wrapped in a disguise of “integrity”.
Texas should be a beacon of democracy making it easier to vote and not engaging in this partisan hackery. More early voting,
more voting stations, more vote by mail, longer hours, drive thru hours and help register all eligible Texans to vote. Mandate an
ID card but make it free for all Texans.

Teresa Barnard
Self
Dallas, TX

Let Texas voters be sacred and not put in the hands of electors.
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Let Texas voters be sacred and not put in the hands of electors.
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Terri Benavides
Self
Mission, TX

I do not support these bills. Nothing should prevent a US citizen from voting. Please vote No.
i do not support SB6 or Sb 20, please vote No.
Thank you.

Angela Webster
Self. Attorney.
Coppell, TX

I object to this bill purporting to promote election security. There has been no evidence of even small spread fraud in our
elections. Making it harder for legitimate people to vote is anti democratic. There are far more pressing issues facing our state.
Like the raging pandemic endangering my small unvaccinated children.

Charles Floyd
Self, an educator
Austin, TX

I oppose SB1 as do the majority of Texans.

Mary Phillips, Ms.
Self Retired
North RICHLAND HILLS, TX

Since there has been NO EVIDENCE of voter fraud in the 2020 election in Texas, passings law that alleges to “prevent fraud” is
an ignorant and ludicrous waste of time. In fact, SB 1 does nothing to prevent any potential fraud, and instead adds burdensome
and unnecessary restrictions on voters in the state already known to be rife with idiotic restrictions. This bill is an embarrassment,
frankly. If the Texas legislators have excess time and don’t know what their jobs are, voters need to replace them ASAP with
legislators who have some semblance of common sense—perhaps we could see something done about the failed Texas power
grid, or the feral pig invasion, or gerrymandered districts, for example. For fucks sake, there are REAL problems in our state that
need immediate attention.

Chris Fancher, CDR USNR, retired
Self
Round Rock, TX

Instead of putting up barriers we should be making it easier to vote. We need a state (national) holiday and extended hours. We
need vote by mail for all. We need voting to be a required part of being a citizen. Not enough people vote.

Kara Dahm
Self / HR Director
Frisco, TX

How about we expand the right to vote instead? This is ridiculous.

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How about we expand the right to vote instead? This is ridiculous.
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Anuradha Koli
Self
Austin, TX

This is nothing but a voter suppression bill and I am completely against it. There is zero evidence of voter fraud coming out of the
2020 election. SB1 is a power grab by the GOP who know they cannot win without cheating. This bill restricts voting access for
Black, Brown, Differently-abled people and the Poor. What the GOP has shown is that they will go to any length to maintain
systemic racism and sexism in our state. Vote NO on SB1.

Michael Hall
Self Night Security
Mesquite, TX

This bill directly attacks the rights of our black and brown citizens along with the working poor. Every part of the bill directly
makes it harder for our black and brown citizens to vote. Limiting access the hour to when they are working and poll locations to
as few as 1 for the location. Vote No to protect the right to vote in a free and fair election.

Gordon Martinez
Self
RICHARDSON, TX

I am a Texan and proudly vote in every election. Expanding the ability of as many Texans to vote as possible without restriction
or intimidation should be top of mind for a truly representative democracy. SB1 is the exact opposite of that ideal. In short, voters
should select their representatives and not the other way around and the fact that out Secretary of State declared the 2020 General
Election one of the most secure ever run informs me SB1 is unnecessary, repeated special sessions have been a waste of my tax
dollars and ask the bill be defeated and never be allowed to ever see the light of day ever again.

Cathy Sweeney
Sweeneys on the Creek
Richardson, TX

I oppose this bill because it makes it harder for those who are legally able to vote to cast their vote
 There is no evidence of widespread voter fraud. Make it easier for individuals to participate in the democratic process of voting,
not harder!

Lisa Fleury
Self
Dallas, TX

This bill is an egregious civil rights violation based on no real data of voter fraud.

Stacey Berg
self/physician
Houston, TX

The primary goal of voting regulation should be to ensure the ability of all Texans to participate with ease in the voting process.
Rumors of voting fraud should be treated as the gossip that they are; fear of fraud should be a lesser consideration than fear of
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Rumors of voting Case      5:21-cv-00844-XR
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obstruction the right to vote. The standard for acceptable barriers to voting should be much higher than merely "not proven to
discriminate"; the law should actively protect vulnerable voters of all kinds and provide active solutions for potential difficulties
such as lack of transportation, distance to polls, disability, and need to avoid crowds during outbreaks of infectious disease.
Furthermore, penalties for ineligible voting should never be imposed on those who make an unintentional error or who act based
on information provided by election officials.

Randal Martin
Self
Denton, TX

Suppressing voting rights of Texans is deplorable. Hiding behind the blanket of election security is a travesty. The only reported
voter fraud was by Republicans in the previous election. You need to be making voting more accessable to the citizens of the state
rather than making it harder to vote.

Anne Bergman
Self - Real Estate Agent
New Braunfels, TX

It is already so difficult to vote, there is no reason to make it even harder for people like me who live in the country and who
work full-time. Everyone should be given equal opportunity to participate in our democracy. If there were any evidence of
rampant voter fraud, I might feel differently but there is no fraud, only individuals exercising their right to vote.
I urge you to think about what this country was founded on and what democracy means. If we limit voting rights, we dismantle
yet another pillar of our democracy.

Chloe Walker
self
Houston, TX

I oppose this bill that restricts the voting rights of Texans.

Adrienne Inglis
self / musician
Lago Vista, TX

This bill suppresses votes and discourages voters. Instead, make voting and voter registration as easy and safe as possible with
automatic registration, generous early voting, no-excuses mail in ballots, welcoming plentiful polling places, no ID required
besides voter registration card, no intimidation at polls, and guidelines for poll watchers so ballots can be cast and counted
calmly, safely and securely. Do not criminalize anything but intentional fraud. Allow elections officials to take necessary steps to
ensure health protocols. Make election day a holiday. Voting is the backbone of our democracy. Voters should choose their
representatives, not the other way around.

Susan Taylor
self
Canyon Lake, TX

Urging you all to vote this bill down. It is an un-necessary solution in seaech of a non-existent problem, as the Republican official
in charge of the recent past election had certified the accuracy and smooth operations of the election. There was no voting
irregularity. The idea that poll watchers would have unfettered access to voters' proximity and be able to intimidate thusly, is
unacceptable. Privacy in voting is a sacred right here in this country, as I obsered from an early age going to polls with my
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unacceptable. Privacy      5:21-cv-00844-XR
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parents having curtained space.
I also think the covid pandemic has shown we need to have enough flexibility in our system to allow safe voting methods such as
were available in the 2020 election. I greatly object to the invalid purging of voter rolls as well.

Beth Benjamin
Self
The Woodlands, TX

Voter integrity is the single most important issues as the right to vote distinguishes us as a free society. I am for voter ID, against
ballot harvesting, against drop boxes, for authentic poll watchers,against drive up voting, surrogate voting, mail in voting with out
the voter’s request for a ballot. iD should be required for every way of voting. I have been judge of elections and know the ways
people can defraud the system and each other.

kanika juneja
Self
Frisco, TX

I am against SB 1. Do not make it more difficult for people to register to vote. There are more than enough protections- we
already show DL, etc

Amy Wilson
Self
Plano, TX

Unnecessary and an over reach of legislation based on a non existing problem.

Tammy Thompson
Myself
Round Rock, TX

There was no voter fraud. GOP is just in a panic because so many POC voted. These bills are nothing more than voter
suppression. Shame on you! This native Texan will work to make sure Abbott and Patrick and that crook Paxton never hold office
again.

Susan Kelly
Self; Retired journalist
Austin, TX

I am against SB 1 for the following reasons: There was no evidence of significant voter fraud in the past elections, so there’s
nothing to fix. Also, we should be making it easier for people to vote, not harder; Texas already has extremely restrictive voting
laws.

Katherine Sanders
Progressive Democrats of America
Cleburne, TX


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What comes around goes around. Where has the Democratic Party been for the last 30 years. This isn't going to change until
Rural Democratic Voters show up to Vote . We can't expect that Black People can carry the Ball forever.

Deborah Bahme
Self, Special Education Consultant
Lubbock, TX

Election fraud is exceedingly rare and has never had ANY appreciable impact on election results in Texas. This bill is an excuse
to make it more difficult for certain people to vote.

Roxanne Hodges
Self - Conferences
Conroe, TX

Why in good faith would you try and suppress any legal American vote? It's funny how all of the sudden their is a need to change
the voting laws.. I oppose this bill!

Mary Herr Tally
Self
Austin, TX

Please do not support SB1 as it is a severe and extreme overreach to criminalize the rare voting errors that are just that, human
errors.

Janet Dudding
Self
Bryan, TX

I oppose this bill.

Republican state officials are on record saying the last election was tight and secure. Statistically 0 fraud occurred (0.0006%) with
record turn out. Election security is not an issue. Please vote no on this bill.

The bill strips local control from our local governments by mandating the hours and methods of executing elections. Texas is a
big state and none of its 254 counties are exactly the same. To explicitly require a county with under a 1000 residents to have the
same hours of voting as a county with over 1,000,000 is not smart nor is it equitable.

This is a bad bill.

Please vote no.

Justin Schultz
Self
Dallas, TX

Strongly object to this bill. It is a fear monger attempt to limit access to the people’s voting rights. Enough lies from the people
who are supposed to represent us!


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Lynda Rousseau, Mrs.
Self (homemaker)
Houston, TX

Texas is a state made up of 252 counties ranging in population from less than 100 to over 4 million. You cannot treat them all as
having the same needs. Higher density puts additional pressure n county clerks and voting locations. Banning 24-hour voting,
drive through voting and mailing out information on mail-in ballots to voters only serves to disenfranchise many. In addition,
allowing partisans watchers more ability to roam and possibly intimidate voters or the staff does not serve the voters of Texas.

Arnetta Murray
Self
Rosharon, TX

This is so unfortunate that because voters turned out in the 2020 election they are being penalized. There were no issues with
voting until Trump lost and the Census showed how communities are becoming diverse. It's sad to the see the slow erosion of
our democracy by means of claiming voter integrity. It appears to me those Legislators during the 1960's or 1970's were more
compassions than the current Legislators. It's so clear that you are showing since you can't stop the growth of voters you will
make it harder to have access to voting. This is a wrong bill and the world knows Texas has the strictest voting mechanism
already in place. I am so glad the nation sees it and it shows how other states are doing the same thing. This a nationwide effort
to restrict voting. This is a nationwide to wipe out the voices of the people of color. Remember your children and grandchildren
will know what you have done. What a horrible legacy to leave behind.

Carolyn OlsenLandis
n/a
Austin, TX

The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote by mail ballots. These are what Texans
want.

Our democracy gets STRONGER by EXPANDING voting, not limiting it. I strongly oppose this bill and every bit of
discrimination it represents. I've lived in Texas since 1996, and have seen the politics here get increasingly bold about its
discrimination in many areas. This bill is absolutely one of the worst.

This bill caters to people who have jobs that allow them to make these election times work for them. I am one of those lucky ones
who does have one of those jobs, and I STILL waited in line for hours to vote. This bill is completely unacceptable.

 IF this legislature believes in the fundamentals of democracy, and there have been plenty of bills you've passed that speak to the
fact that you don't, you'll vote this down and not allow it to become law.

Michael Belsick
Self
Fredericksburg, TX

I am 100% in favor of the rights of all citizens to vote with accommodations made for people with disabilities. I am 100% in
favor of election integrity which include voter ID, signature required or last four Social Security numbers on the envelop of
mailed in ballots, plus the rights of poll watchers to do their job but without interfering with the overall process. My one
concern/complaint about SB 1 is the reduction of penalties for the crime of interfering with the poll watchers. An election judge
knows that they will never be punished for tossing all poll watchers out of the polling place. Once done, one never will know if
election fraud took place at the polling location.

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Monica Carson
self
Bastrop, TX

I support this Bill especially with increased penalties.

Nannette Ford, Mrs.
Self
Houston, TX

I am against voter suppression.

Michael McDonald
self
Dallas, TX

As a native Texan and lifelong conservative leaning voter I believe that voting integrity is very important, but I also believe that
everyone should have the same, easy access to cast their vote. I believe that SB1 accomplishes the exact opposite of that and
should be voted against.

Kashif Ahmed
Self
Allen, TX

This is voter suppression. The legislation should be making efforts to create mlrw opportunities for people to vote, not less. You
shoube working to make sure that voter participation is close to 100%. Not the orhwr way around

MaryKay NeumannDuncan
Self
San Antonio, TX

Every single person deserves to Vote easily & conveniently. Stop sabotaging Democracy.

Claude Bitner
Self, computer consultant
Bellaire, TX

I would like to record my opposition to SB 1, a bill which purports to address a virtually non-existent problem - that of voting
fraud, a phenomenon that has been proven to occur in single digit quantities and has not influenced the outcome of a single
election.

Instead of improving voting outcomes, SB 1 will:

1) Negate the votes of the elderly or handicapped voters, not to mention any other voter who requires a ballot by mail, by
imposing the screening of signatures by non-experts in handwriting analysis.

2) Incite a level of interference by poll "observers" that hasn't been seen since the era of Jim Crow, deprive election judges of the
Printed on: August 30, 2021 11:32 AM
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2) Incite a level ofCase   5:21-cv-00844-XR
                    interference by poll "observers"Document      117-4
                                                     that hasn't been seen Filed  11/15/21
                                                                           since the era of JimPage
                                                                                               Crow, 538  of 554
                                                                                                     deprive election judges of the
ability to maintain an orderly in-person voting process, and discourage volunteers with the threat of criminal sanctions for minor
procedural errors.

3) Deprive voters of safe and accurate means of voting during an ongoing pandemic by interfering with the ability of counties to
conduct drive-through and 24-hour voting.

Nichole Mansfield
Next Generation Action Network (NGAN)
Dallas, TX

Creating a new state jail felony offense against election judges who provide a voter with a form for an affidavit required by
Section 63.001 (which creates the reasonable impediment declaration and substantially similar name affidavit) “if the form
contains information that the judge entered on the form knowing it was false.” This section of SB 1 refers specifically to “an
affidavit,” suggesting it is meant to apply only to substantially similar name affidavits, but it may be that this section was also
meant to cover reasonable impediment declarations. Section 6.01 (identical to Section 7.01 of HB 3).

Extending the current limited exemption for employees to take time off work to go vote on Election Day to early vote as well.
However it isn’t clear whether this change now means that a voter can or cannot take time off work if any portion of the early
voting period takes place for at least two consecutive hours outside of the voter’s working hours. Section 6.02 (identical to
Section 7.02 of HB 3)

Creating a new “vote harvesting” criminal offense. Section 6.03
The following constitute criminal “vote harvesting,” a third degree felony, if a person knowingly does one of the following
(identical to Section 7.04 of HB 3):
Providing or offering “vote harvesting services in exchange for compensation or other benefit.”
Providing or offering “compensation or other benefit to another person in exchange for vote harvesting services.”
Collecting or possessing “a mail ballot or official carrier envelope in connection with vote harvesting services.”
For these offenses:

Susan Rowland
Self
McKinney, TX

Full forensic audit please!

Kim Nowak
Self
Denton, TX

SUPPORT SB1

James St Laurent
Self
Houston, TX

This bill is built on a lie…there was no fraud, there is no evidence of fraud, and you’re making it more difficult to go out and
vote. Republicans can’t win with their ideas so they gerrymander districts, try to hinder access to voting and generally distrust the
voters. I’ve been a republican my entire life and will vote straight ticket democrat until MY party regains it sanity. Do not pass
this bill!

Printed on: August 30, 2021 11:32 AM
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this bill!
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Wilma Putnam
Self
Georgetown, TX

I urge you to support this Bill. In view of all of the fraud that took place in the Six counties of the Six States with the worst fraud
PLUS the mathematically proven fraud in 30 TX counties, if Texans do no believe out election results can be trusted, we cannot
expect them to VOTE. Passing this bill is demonstrating by your actions that you are trying to ensure ELECTION INTEGRITY
WITHIN TEXAS.

My only recommendation is that the bill restrict the Texas Secretary of State's ability to grant waivers to Texas election laws
passed by the LEGISLATURE -- which he evidently has routinely done.

Jennifer Royal
Self, e-commerce
Dallas, TX

I oppose SB 1 along with any other bill written for the false purpose of election integrity or controlling voter fraud which has
proven to be nonexistent. I oppose any bill that results in fewer Texans participating in the democratic process.

Diane Tucker
Self/Writer
Austin, TX

I object to passage of this bill. We all should be working to make voting easier, so there is greater participation. And we all should
be working on creating a more informed electorate.

Marie Gonzales
Individual
Spring, TX

I oppose SB1 vehemently

Tracy Smith
Self, homemaker
Houston, TX

SB 1 will not help Texans. There is simply no evidence of of any significant voter fraud. Furthermore, we should be making
voting accessible for all eligible voters - not creating more obstacles. Let’s get back to the work of Texas’ future — not get
distracted by power grabs by a few smarmy politicians.

Michael Landry
self Vintage furniture dealer
Austin, TX

This entire bill is nothing more than voter suppression, as the 2020 election was the most secure election in our history. This is
merely a ploy to disenfranchise people of color specifically and Democrats generally from their constitutional right to vote.
VOTE NO ON SB1!
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VOTE NO ON SB1!

Madeleine Crouch
self - association management
Dallas, TX

By restricting the times and ways that citizens can vote, some of our elected representatives are causing harm to those who are
hourly workers , who work shifts other than 9 to 5, and/or do not own a vehicle and must depend on public transportation. Hourly
workers must already take time off from jobs to vote, so effectively, it is costing them money to exercise their constitutional right
to vote. The harder that some of our elected legislators make it to vote, the more rights they are stripping away from those who
must work 7 days a week, who are working multiple jobs to make ends meet, who struggle to find childcare, and who must rely
on public transportation that takes hours. Everyone who can legally cast a ballot must be given ample opportunity to do so. It
shouldn't cost anyone a dime to exercise the right to vote. Think about the bad old days of the poll tax, which was used to keep
certain classes of citizens from voting. Rights flow to us from the constitution, our laws should not take away rights. Please don't
look the other way. It's time to take a stand. Working class voters who get paid by the hour, who work at night and must sleep
during the day, and those who are without their own transportation should not be made to live in the shadows while others get to
make all the decisions. It's not the American way, and it should not be the Texas way. I have confidence in our poll workers and
would like to see the sacred opportunity to vote made more widely available to all, not restricted as SB1 will do. Please be good
and true stewards of all citizens' right to vote.

Gretchen Polnac
Self, retired professor
Austin, TX

Please reserve the sanctity of voting for ALL people by getting rid of any hindrance that will help Texans vote. I’m still waiting
for the drop boxes to return to East Austin, where most minorities live. I will continue to vote by mail because at 73 I cannot
stand in line for hours.

John Hayden Crawford
self
Corsicana, TX

We MUST get to fair and trusted election results. It is no good to have local, state, and national elections when one side or the
other of the political spectrum mistrust the results.

Shaun Smith
self, software devloper
Dallas, TX

Election integrity is important, but should not impede a person's right to vote until additional help is needed. There has been no
evidence of significance requiring the levels of restrictions this bill is trying to make law. This is a political show response that
has real consequences that does not make Texas a better place.

Kevin Prince
self
Friendswood, TX

I fully support this bill. Ensuring election integrity outweighs expansion of access. This bill does both.


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Karon Hopkins
Self
Houston, TX

Relating to election integrity and security, including by preventing fraud in the conduct of elections in this state; increasing
criminal penalties; creating criminal offenses; providing civil penalties.

Pedro Rodriguez
Self
LAREDO, TX

I oppose this racist voter suppressor bill. Vote NO!

Kerri Wilson
Myself
Livingston, TX

As a registered voter in the great State of Texas, I believe voting should be made easier and more convenient so that more people
will be compelled to vote and have their voices heard. Trying to make it harder with the sole intent of blocking certain groups of
people is not hoe democracy works. MAKE VOTING EASIER FOR ALL. Thank you.

Brent Rich
Private citizen
Nacogdoches, TX

A democracy grows when the right to vote expands.
Authoritarianism grows when voting access is restricted

Melissa James
Self
Richardson, TX

This is another problem that does not exist! Quit stacking the deck in the Republicans favor. This is a partisan lie created by
Donald Trump to delegitimize our voting system. It is outrageous to make people pay for voting mistakes when Dan Paxton our
attorney General has flaunted his fraud charges and has yet to be held accountable for his crimes! THe State of Texas is going the
way of the Dodo bird!
We need the electrical grid fixed..
There is NO integrity in this bill…just cheating which is regular order for the crooked Texas Republicans.
Vote no on this bill or better yet toss out the bill before it is voted on. Shameless Republicans devoid of integrity strike again with
horrible leadership.

Deborah Tomlinson, Ms
Self/retired
Dallas, TX

This is a highly partisan voter suppression bill created as red meat for disgruntled and unhappy Republican voters. As the public
record indicates, the 2020 election in Texas was secure with no measurable fraud. Many, if not most of the measures in this bill
are clearly targeted at the larger cities where the bulk of minority voters live. It is designed to intimidate and discourage minority
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are clearly targetedCase
                     at the 5:21-cv-00844-XR         Document
                            larger cities where the bulk          117-4
                                                         of minority voters Filed
                                                                            live. It11/15/21     Page
                                                                                    is designed to      542 of
                                                                                                   intimidate and554
                                                                                                                  discourage minority
voters. It creates outrageously punitive fines and punishment for election workers, other officials and voters who make
inadvertent errors.

Any voting reforms should have a reason and justification that those proposing them should at a minimum be able to articulate.
That is most certainly not the case here, where the answers to legitimate concerns has been incoherent. Most importantly,
election reform should never be a partisan issue. Without even the most cursory attempt at reaching bipartisan support, as
happened here, all you are accomplishing is further division, distrust and anger.

Marilyn Turnage
Self. payroll tax administrator
Irving, TX

Vote NO on the voter “integrity” bill, it is a vehicle for voter suppression.

Christine Allard
self, retired
Austin, TX

Don't you do it. UnUn, don't pass this. You will be on the wrong side of history, as they say. Don't be a bigot. Flee the republican
party while you still have a shred of integrity. Save us all.

Catherine Ziegler
my household
Richardson, TX

Please do not enact any legislation that will make it more difficult for voters to vote. Please do not enact any legislation that will
intimidate voters.

Helen Zimba, Programs Manager
The Afiya Center
Irving, TX

Limiting voting times to traditional hours does not serve black people because most people work after 5 and having flexible
hours would be better.

Kelli Fereday
Self
Houston, TX

I am strongly against this bill which impinges on The freedom to vote and the rights of local governments. Please DO NOT pass
this bill.

Antoinette Hunter
Self, attorney
Austin, TX


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We should be making voting easier, not harder. There is no meaningful fraud in Texas elections to remedy. Republicans are
engaging in lies to rig future elections.

Allen Kirby
self. Registered Nurse.
Dallas, TX

Protect our right to vote!!

Lesli Tutt
Self
New Braunfels, TX

I oppose SB 1

Jennifer Jagger Johnson, MS
self retired
Spring Branch, TX

1. The Texas COVID epidemic highlights the need for safer methods of voting more than ever. We need the safer options of
expanded early voting, extended hours at polling places, and more options to return vote-by-mail ballots. These are what Texans
want.

2. To be effective, I believe poll watchers should receive required additional training and should acknowledge the integrity of the
polling space by executing an oath similar to election workers.

3. Include a complete cure process for applications for mail ballots and for the returned mail ballots. SB 1 added the ability to
cure incomplete applications or ballots to the electronic ballot tracking system approved in the 87th regular session. However,
House action can add a way to alert voters of the need for a cure and give clear instructions for making sure their vote counts; as
well as make the process uniform in all counties not optional.

4. Similarly, voters with disabilities need additional refinement of SB 1. Specifically, the House can add provisions that allow
blind voters a way to securely and privately vote.

5. Adding electronic voter registration to the omnibus bill would greatly increase the accuracy and integrity of the voter
registration rolls, as well as reduce costs.

Monica Breaux
self
Cleburne, TX

Please pass SB 1 for election integrity. We need the security of a fraud free and valid election. I would also be for audits after
every election. I believe those that oppose this being passed are for fraud in the election process. If you can not win an election on
honesty and merit, then maybe you should not be in office to represent the people in your district. Remember you work for WE
THE PEOPLE!

Anne Baumgardner, Ms.
self
Houston, TX
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Houston, TX

This bill aims to make voting harder for every Texan living in a big city. There were 15,426,651 votes cast in the 2020 election.
There have been only 272 charges for offenses between 2015 and 2021. This is infinitesimal evidence of voter fraud. Stop using
the legislature to undermine the voting rights of Texans!

Danielle Vega
Self
New Braunfels, TX

Do not pass voter suppression legislation! It’s hard enough to vote in Texas already.

Eoin Stewart
Texas Vigilance Committee
Houston, TX

No Texas ID that proves citizenship within the Great Republic of Texas, no vote period!

lance erickson
lance erickson
CEDAR PARK, TX

I agree that there should be integrity in the election process but not at the cost of making voting more difficult for anyone. Voting
is a right and it is fundamental to our democracy. Using your power as a congressman to make voting more difficult will only
undermine the faith in our system.
 I know there exissts lots ot talk of fraud but whenever proof is asked for it is never (or extremely rarely) found. PLEASE help
keep our democracy safe and help make everyone feel that it is.a democracy they can call their own. Do NOT make it harder for
people to vote.

Stroman Ullman, Mr.
Self
Victoria, TX

We should not be over complicating something as simple as voting. One vote per registered person, preferably by mail for the
security of a paper trail, convenience, safety for voters, as well as cost savings from not having to set up and man poling stations.
If fraud was really a problem, enhanced criminal penalties would be a solution, but, where is the fraud? S.B.1 is guaranteed to
cause future conflict, because the majority Americans expect better. How about you guys taking a 21 century approach to this
problem?

Peter Sorenson
Self
Bedford, TX

I have not seen any evidence of widespread voter fraud that imperils our elections in Texas. I see the provisions of SB 1 as
destructive of our democratic election process. What we need is election regulations that promote voting rather than suppress
voting. And we need to give local election boards the freedom to enact measures that will increase voting based on their
knowledge of their jurisdictions. We need 24-hour voting. We need mobile voting. We need expanded voting by mail. We need
expanded voting hours. And if partisan poll watchers harass me I will be in their faces! You need to keep partisan poll watchers at
bay! I will not tolerate partisan poll watchers interfering with my right to vote! As legislators you need to promote liberty,
freedom,
Printed on:and a strong
             August  30,democratic
                         2021 11:32process.
                                     AM      Do not seek for power and your own political preservation.

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freedom, and a strong   5:21-cv-00844-XR
                      democratic process. Do notDocument    117-4
                                                seek for power       Filed
                                                               and your own11/15/21      Page 545 of 554
                                                                            political preservation.

I also support mandatory vaccination and mandatory masking. We need to get and keep Covid under control and protect our
children. That is THE right to life issue!

GARY TURNBULL
Atascosa County Democrats Precinct 8 Chair
Poteet, TX

Our election process is an important part of our democracy and keeping it safe and secure is very important. However this bill is
more about voter suppression then it is about keeping our elections honest. We are in the middle of a pandemic were mobile
voting is a nessesay part of voting by providing a safe and convenient method to keep our citizens safe from the spread of
COVID-19. Also providing citizens with options such as mail in ballots for those that have weakened immune systems, the
elderly and citizens that have covid-19 a safer and more convenient way to vote. This bill is a action to fix a system that isn't
broken. When the candidate that you voted for don't win the election that don't mean the system is broken or there is fraudulent
activity a-foot, it just means your candidate lost.

Marc Ruby
Retired
Spring, TX

We are Losing Our Country Without a Shot being Fired ....Enemies Foreign and Domestic have Manipulated/Rigged Our Election
Process...
Imperative SB-1 is Passed and Made Law...A Strong ..'Voter Integrity '..Bill Must Exist or We as a Nation will Cease to Exist....
The 2020 Election was a Outright Travesty....!!!...Our Country was essentially ..'Overthrown'..in a 'Coup'...and is now in Free
Fall....Please Pass SB-1.....!!!

Mike Hamilton
Self
Wylie, TX

FULL FORENSIC AUDITS NOW! We the people are sick of you all. Do it. Now.

Avni Bhalakia
Self -physician
Houston, TX

This bill is being framed to stop fraud that does not exist and will give partisan poll watchers power over elections. It makes it
hard to vote absentee, impossible to vote via drive through and will affect the working class and people with disabilities
disproportionately. Voting is a fundamental right that should be made easier to access. This bill does the opposite and is simply
unnecessary. Please fix the electric grid, high maternal mortality rates, our underfunded public schools and the high uninsured
rate.

Jamil White
Self
HUTTO, TX

Do not pass this bill! This bill is opposed by millions of honest, hard working Texans with the right to vote. Stop suppressing the
vote in Texas now!
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Do not pass this bill! This bill is opposed by millions of honest, hard working Texans with the right to vote. Stop suppressing the
vote in Texas now!
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Alisha Enox
Self/manager
Anna, TX

This bill does nothing for election security. It's only purpose is to make it harder for normal people to vote and have their voices
counted in government. You should be making it easier for everyone one to vote! 24hour voting is a good thing. No excuse mail
in voting is a good thing. Weekend voting is a good thing. Drive up voting is a good thing. The incidents of so called voter fraud
are negligible and not worth legislating. Our current safeguards are adequate. Legislators are better served trying to fix our
failing electrical grid!

Lisa Williams
Self, attorney
Austin, TX

Passing this bill needs to be top priority. If we don't have election integrity, we cease to function as a state and as a nation. We
must protect the democratic process at all costs. This bill is fair and provides common-sense safeguards for the election process.

Betsy Greenberg
self - retired.
Austin, TX

All voters should have convenient access to the right to vote. This bill proposes to undermine that right for Texas citizens. The
bill would impose unnecessary restrictions on voting by mail, curbside voting, and the receipt and provision of voting assistance.
It would target for elimination the common-sense methods of voting, such as “drive-thru” voting and 24-hour early voting, that
proved valuable to Texas’s largest cities in 2020. SB 1 will make voting more difficult for elderly (and other) Texas voters.
PLEASE oppose SB 1.

Candy Ellard
Self - teacher
Austin, TX

I am SO strongly opposed to SB 1. You could not have drafted a more clever voter suppression bill. This bill is specifically
intended to prevent certain types of Texans from voting. How dare you take this right away from me and others...I am an
American and I have the right to my vote..
Do what is right and fair - end this bill NOW.

Bria Williamson
Self
Frisco, TX

This bill is racist and should be illegal to pass. I will never support any law maker that supports this egregious bill. This is and has
always been about race. Try winning elections properly instead of excluding people from voting and eliminating a fair chance for
ANY candidate to win.

Nancy Poulo, Ms.
myself
Fort Worth, TX
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So far, I have not seen any proof of fraud shown by anyone. Your changes to the voting law definitely discriminate low income
working people, especially those paid by the hour, who lose money waiting in long lines to vote, and who you will not qualify for
a mail in vote. Time restrictions and mail ballot restrictions are meant to keep legal American citizens from voting. I don't mind
you making more check on who is voting, but to make it harder for a qualilfied voter is cheating pure an simple. If you want
more republican voters, the Republican Party needs to convince the public that it is serving the public good. I don't think the
Republican Party is interested in serving the public good anymore. The RNC is only interested in power and wealthy
constituents. Shame on you.

Hearing Date: August 21, 2021 - 8:00 A.M.

Jais Munoz
Self
Midlothian, TX

We absolutely must have a forensic audit, required ID, Paper Ballots and the harshest laws for election fraud. No mail in, ever. In
person only.

Jimmie Lamb, Retired
Self / Retired
Oak Leaf, TX

I fully support having a strong voter ID. If you have to show a drivers license to enter a restaurant in NYC, then it is not
unreasonable to show ID to get an absentee ballot.
Voting hours should should be reasonable and uniform across the state.
Poll watchers should not be denied access to any area in the voting station, nor should they interfere with any voter.




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                                            WITNESS LIST



SB 1
HOUSE COMMITTEE REPORT
Constitutional Rights & Remedies, Select Committee
August 23, 2021 - 8:00 AM

       For :
               Belsick, Michael (Self)
               Bolgiano, John (Self)
               Bowen, Wesley (Self; DCRP Election Integrity Committee)
               Carter, David (Self)
               Chambless, Diana (Self)
               Chandler, Dan (Self)
               Daniels, Robyn (Self)
               Deininger, Susan (Self)
               Dickey, James (Self)
               Durnin, Linda (Self)
               Eller, Andrew (Self)
               Eyles, Donna (Self)
               Flanagan, Shawn (Self; Election integrity project of nuecs county)
               Garner, Donald (Texas Faith & Freedom Coalition)
               Green, Robert L. (Self; Travis Co. Republican Party Election Integrity Committee)
               Guthrie, Rynda (Self)
               Hodson, Paul (Self; Grassroots Gold)
               Holley, Dee (Self)
               Jacoby, Robert (Dallas Co. Republican Party Election Integrity Committee)
               Lawrence, Steven (Self)
               Licciardi, Craig (Self)
               Mariani, Janet (Self)
               Moore, Kenneth (Self)
               OBrien, Melissa (Self)
               Ocker, Kathleen (Self; We the People liberty in Action)
               Robinson, Anne (Self; Paralyzed Veterans of America)
               Rodriguez, Sheena (Latinos for America First, Texans Against Illegal Immirgration)
               Rust, Shanon (Self)
               Sargent, Bill (Self)
               Seri, Lucila (Self)
               Smith, Stephanie (Self)
               Vera, Alan (Harris County Republican Party Ballot Securita Committee)
               Vera, Colleen (Self)

       Against :
             Bearden, Chase (Self; Coalition of Texans with Disabilities)
             Billings, David (Self; Stand Up Republic Texas)
             Boisseau, Theresa (Self)
             Bonner, Charlie (Self)
             Carranza, Susana (Self)
             Clouston, Rose (Texas Democratic Party)
             Ehresman, Katya (Self; Common Cause Texas)
             Figueroa, Luis (Every Texan formerly CPPP)
             Goldenberg, Josh (Self)
             Gomez, Stephanie (Common Cause)
             Guio, Alexandra (Self)
             Hall, Ash (Self)
             Hays, Susan (Self)
             Houston, Candis (Self)
             Kafka, Bob (Self; REV UP Texas and ADAPT of Texas)
             Kothmann, Paula (Self)
             Lara, Rene (Texas AFL-CIO)
             Maxey, Glen (Self)

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                                            WITNESS LIST



SB 1
HOUSE COMMITTEE REPORT
Constitutional Rights & Remedies, Select Committee
             Miller, Jeff (Disability Rights Texas)
             Nazor, Craig (Self; Lone Star Chapter, Sierra Club)
             Olivares, Patricia (Self)
             Perez, Rene (Self; Libertarian Party of Texas)
             Pugh, Courtney (Self; The Arc of Texas)
             Reed, Cyrus (Lone star chapter sierra club)
             Rogers, Corisha (Self)
             Sanchez, Roy (Self; AFSCME HOPE Local 123)
             Shelley, Adrian (Public Citizen)
             Slattery, James (Texas Civil Rights Project)
             Vasquez, Chris (Self)
             Weatherby, Cinde (Self; League of Women Voters of Texas)
             Weinberg, David (Brennan Center for Justice)
             Yoli Ferla, Claudia (Self)

       On :
               Brehm, Cynthia (Self)
               Carey, Jennifer (Erath County; Tax Assesor Collectors Association of Texas)
               Foster, Lynn (Self)
               Ingram, Keith (Texas secretary of state)
               Jaster, Cathy (Self)
               Keller, James (Self)
               Mostert, Michelle (Self; Grassroots Gold)
               Pressley, Laura (True texas elections LLC)
               Schaffner, Russell (Tarrant County)
               Strickler, Marcia (Wilco We The People)
       Registering, but not testifying:

       For :
               Aguirre, Jane (Self)
               Clark, Paula (Self)
               Covey, Jonathan (Texas Values Action)
               DeVore, Chuck (Texas Public Policy Foundation)
               Ennis, Chad (Texas Public Policy Foundation)
               Fry, Pat (Self)
               Garrett, Phyllis (Self)
               Guthrie, Gerald (Self)
               Holman, Cheryl (Self)
               Holman, Tom (Self)
               Jones, Judith (Self)
               Krenek, Mary (Self)
               Mccrory, Monica (Self)
               O'Brien, George (Self)
               Rightmyer, Kathryn (Self; Grass roots gold)
               Simmons, Carrie (Opportunity Solutions Project)
               Simmons, Charles (Self; Grassroots Gold)
               Simmons, Inda (Self; Grassroots Gold)
               Snelson, Marianne (Self)
               Tempel, Curtis (Self)
               Wall, Kathaleen (Self)
               Watson, Jon (Self)
               Weisman, Craig (Self; Grassroots Gold)
               Whisenhunt, Wesley (Self; Grassroots Gold)

       Against :
             Abbott, Kathleen (Self)

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HOUSE COMMITTEE REPORT
Constitutional Rights & Remedies, Select Committee
             Asher, Kayden (Self)
             Atlas Kravitz, Laura (Texas State Teachers Association)
             Basha, Nicholas (Self; Texas Rising)
             Bradley, Brandon (Self; Texas College Democrats)
             Bratteng, Quinn (Self)
             Carranza, Sergio (Self)
             Clarke, Margot (Self)
             Clemmons, Jeffrey (Self; Huston-Tillotson NAACP, Texas Rising, Austin College Student
             Commission)
             Cogan, Alex (The Arc of Texas)
             Derheimer, Sam (Hart InterCivic)
             Donaldson, Dena (Texas American Federation of Teachers)
             Eby, Emily (Self)
             Espinosa, John (Greater Austin Hispanic Chamber of Commerce)
             Fletcher, Christa (Self)
             Fletcher, Nicholas (Self)
             Flores, Lisa (Self; Easterseals Central Texas)
             Floyd, Beaman (Texas Impact)
             Fodell, Nanette (Self)
             Franco, Brie (City of Austin)
             Galvan, Ric (Texas Rising)
             Gharakhanian, Stephanie (Workers Defense Action Fund)
             Goldenberg, Marisa (Self)
             Griffith, Idona (Self)
             Guild, Lauren (AFSCME San Antonio Local 2021, Harris County Local 1550, HOPE
             Local 123, Austin/Travis County Local 1624, El Paso Local 59)
             Guy, Linda (Self)
             Haden, Lorri (Self)
             Hardin, Dionna (Self; Black Voters Matter)
             Herrera, Isabel (Self; Texas Rising)
             Hoffman, Stephanie (Self)
             Jaimes Perez, Zenen (Self)
             Jones, Carl (Self)
             Kennedy, Thomas (Texas state building trades)
             Lee, Linda (Self)
             Lopez, Carisa (Self; Texas Freedom Network)
             Lyons, Caitriona (Self)
             MacDougal, Vanessa (Self)
             Menendez, Fatima (MALDEF)
             Mills, Amber (Self)
             Mitterhoff, Tessa (Self)
             Mohr Boleware, Alison (Self; National Association of Social Workers - Texas Chapter)
             Perry, Courtney (Self)
             Reed, Charles (Dallas County Commissioners Court)
             Rice, Judah (Self)
             Shannon, Melissa (Bexar County Commissioners Court)
             Simpson, Matt (ACLU of Texas)
             Smith, Mark (Self)
             Stern, Maggie (Self; Children's Defense Fund - Texas)
             Sugg, Paul (Harris County Commissioners Court)
             Tamayo, Elisa (Self)
             Vaughn, Joanna (Self)
             Vunderink, Gregg (Self)
             Wall, Catharine (Self)
             Wheeler, Julie (Travis County Commissioners Court)
             Wright, Christine (City of San Antonio)

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Constitutional Rights & Remedies, Select Committee

       On :
              Parkinson, Thomas (Self)
              White, Jonathan (Office of the Attorney General)




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Senate Committee Report
State Affairs

August 9, 2021 - 9:00 AM
      FOR:
                   Belsick, Michael       (Self) , Fredericksburg, TX
                   Bolgiano, John      (Self) , Llano, TX
                   Bowen, Wesley        (Self; Dallas Co Election Integrity Committee), Dallas, TX
                   Coleman, Tanya        (Self) , Texas, TX
                   DeVore, Chuck VP of Policy (Texas Public Policy Foundation), Austin, TX
                   DeVore, Chuck VP of Policy (Texas Public Policy Foundation), Austin, TX
                   Garner, Donald Executive Director (Texas Faith & Freedom Coalition), Austin, TX
                   Glass, Tom      (Self; Texas Election Integrity), Hockley, TX
                   Mostert, Michelle        (Self) , Dripping Springs, TX
                   Murphy, Joseph       (Self) , Texas, TX
                   Nilsson, Lisa     (Self) , Boerne, TX
                   Pressley, Dr laura       (True Texas Electionc), Copperas cove, TX
                   Sargent, Bill Former Chief Deputy Clerk Elections, Galveston Cty (also providing
                   written testimony) (Self) , Galveston, TX
                   Tyner, Kay      (Self) , Houston, TX
                   Van der Pol, Kathryn        (Self) , Houston, TX
                   Vera, Alan Chairman (Harris County Republican Party Ballot Security Committee),
                   Houston, TX
                   Vera, Colleen      (also providing written testimony) (Self) , Houston, TX
      AGAINST:
                   Ávila- Dickson, Denae         (Self; Common Cause Texas), Austin, TX
                   Batson, Sarah      (Self; Common Cause), Belton, TX
                   Bearden, Chase Deputy Executive Director (also providing written testimony) (Self;
                   Coalition of Texans with Disabilities), Austin, TX
                   Carranza, Susana        (also providing written testimony) (Self; League of Women Voter of
                   Texas), Austin, TX
                   Clouston, Rose Voter Protection Director (Self; Texas Democratic Party), Austin, TX
                   Cogan, Alex LMSW (also providing written testimony) (The Arc of Texas), Austin, TX
                   Eby, Emily      (also providing written testimony) (Self; Texas Civil Rights Project),
                   Houston, TX
                   Ehresman, Katya        (Self) , Austin, TX
                   Figueroa, Luis Legislative and Policy Director (Every Texan ( formerly cppp)), Austin,
                   TX
                   Gomez, Stephanie          (Common Cause Texas), Houston, TX
                   Goodman, Chloe         (Self; Workers Defense Action Fund), Austin, TX
                   Jaimes Perez, Zenen Managing Director (Self) , Austin, TX
                   Kafka, Bob      (Self; REV UP Texas), Austin Texa, TX
                   Longoria, Isabel Administrator (Harris County Elections Administrator), Houston, TX
                   Maxey, Glen       (Self) , Austin, TX
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State Affairs

                 Miller, Jeff Policy Specialist (also providing written testimony) (Disability Rights
                 Texas), Austin, TX
                 Oliver, Julie    (Self) , Austin, TX
                 Ramirez, Jessica m       (Self; Pinche vote), Austin, TX
                 Slattery, James Senior Staff Attorney (also providing written testimony) (Texas Civil
                 Rights Project), Austin, TX
                 Sterling, Karen     (Self) , Cedar Creek, TX
                 Stern, Maggie Youth Civic Education & Engagement Coordinator (Self; Children's
                 Defense Fund - Texas), Austin, TX
                 Yoli Ferla, Claudia Executive Director (Self) , Austin, TX
      ON:
                  Ingram, Keith Director, Elections Division (Texas secretary of state), Austin, TX
                  White, Jonathan Election Integrity Division Chief (Office of the Attorney General),
                  Austin, TX
     Registering, but not testifying:
      FOR:
                  Covey, Jonathan Policy Director (Self; Texas Values Action), Austin, TX
                  Eller, Andrew        (Self) , Temple, TX
                  Fry, Pat      (Self) , Rd mtn, TX
                  Holman, Tom          (Self) , Austim, TX
      AGAINST:
                  Anderson, Michelle Policy Associate (Self; The Afiya Center), Dallas,Texas, TX
                  Atlas kravitz, Laura        (TSTA), Austin, TX
                  Clemmons, Jeffrey Mr. (Self; Texas NAACP), AUSTIN, TX
                  Floyd, Beaman          (Texas Impact), Austin, TX
                  Fodell, Nanette        (Self) , Austin, TX
                  Franco, Brie COA IGRO Officer (City of Austin), Austin, TX
                  Griffith, Idona       (Self) , Austin, TX
                  Guy, Linda RN,PNP (Self) , Austin, TX
                  Haynes, Adam Policy Director (Conference of Urban Counties), Austin, TX
                  Kafka, Robert        (Self; ADAPT of Texas), Austin Texas, TX
                  Kennedy, Thomas           (Texas state building trades), Austin, TX
                  Kerr, Lonzo State Staff Texas NAACP (Texas NAACP), Austin, Texas, TX
                  Lara, Rene Legislative Dir. (Self; Texas AFL-CIO), Austin, TX
                  Litzinger, Amy         (Self; Texas Parent to Parent), Austin, TX
                  Litzinger, Linda        (Self; Texas Parent to Parent), Austin, TX
                  Lopez, Carisa Political Director (Self; Texas Freedom Network), Austin, TX
                  Lovitt, Matthew Social Worker (National Alliance on Mental Illness (NAMI) Texas),
                  Austin, TX
                  Menendez, Fatima Legislative Attorney (MALDEF), San Antonio, TX

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State Affairs

                 Mohr Boleware, Alison Government Relations Director (Self; National Association of
                 Social Workers - Texas Chapter), Austin, TX
                 Monaghan, Matt       (Self) , Austin, TX
                 Perry, Courtney     (Self) , Austin, TX
                 Quinzi, Patty Legislative Counsel, TX American Fed. Of Teachers (Self; TX-American
                 Federation of Teachers), Austin, TX
                 Reed, Ender Intergovernmental Affairs Director (Harris County Commissioners Court),
                 Houston, TX
                 Shannon, Melissa Director of Governmental Affairs (Bexar County Commissioners
                 Court), San Antonio, TX
                 Shelley, Adrian Director (Public Citizen), Austin, TX
                 Stewart, Kevin     (American Association of University Women of Texas), Austin, TX
                 Tamayo, Elisa     (Self) , Austin, TX
                 Vunderink, Gregg      (Self) , TX, TX
                 Wheeler, Julie Intergovernmental Relations (Travis County Commissioners Court),
                 Austin, TX
                 Wright, Christine Legislative Mgr (City of San Antonio), San Antonio, TX
      ON:
                 Chapa, Janine    (Self) , Georgetown, TX
     Providing written testimony:
      FOR:
                 Simmons, Carrie     (Opportunity Solutions Project), Austin, TX
      AGAINST:
                 Bennett, Joey    (Secure Democracy), Austin, TX
                 Joseph, Zenobia Ms. (Self) , Austin, TX
                 Reed, Cyrus Conservation director (Lone star chapter sierra club), Austin, TX
                 Simpson, Matt     (ACLU of Texas), Austin, TX
      ON:
                 Green, Kathy Director of Advocacy (AARP), Austin, TX




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